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                        Nos. 23-1362, 23-1667, 23-2041


              United States Court of Appeals
                 for the Federal Circuit
             VROOM, INC., VROOM AUTOMOTIVE, LLC, dba
              Vroom, dba Texas Direct Auto, CARSTORY, LLC,
                      VAST.COM, INC., dba CarStory,
                            Plaintiffs-Appellees

                                        v.

                      SIDEKICK TECHNOLOGY, LLC,
                           Defendant-Appellant

  Appeal from the United States District Court for the District of New Jersey in
            No. 2:21-cv-06737-WJM-JSA, Judge William J. Martini.

    DEFENDANT-APPELLANT SIDEKICK TECHNOLOGY, LLC’S
                               OPENING BRIEF


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December 5, 2023
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Claim 1 of the ’984 Patent:

A method comprising:
  storing, on a computer readable medium, automobile market data which is
     representative of recent automobile market characteristics, including at least
     pricing data and inventory data, wherein the automobile market data includes
     information received from at least one manufacturer, a plurality of dealers, and
     a plurality of consumers, wherein at least a portion of the automobile market
     data is updated in real-time;
  receiving, via a consumer interface, a first request for a response regarding a first
     automobile, which is manufactured by a first manufacturer, the first request
     made by a consumer located at a first location and including geolocation
     information of the consumer;
  executing instructions, by at least one processing device, to:
     determine current inventory data of the first automobile, wherein the current
        inventory data of the first automobile includes a plurality of dealer
        inventories of a plurality of dealers, with each respective dealer of the
        plurality of dealers having a respective dealer inventory, and wherein the
        current inventory data indicates that a first dealer of the plurality of dealers
        does not currently have the first automobile in a first inventory of the first
        dealer;
     provide first automobile market data including the current inventory data of the
        first automobile to the first manufacturer, based on the first request, via a
        manufacturer interface, wherein the first automobile market data is based on
        real-time automobile market data;
     generate, based on the first automobile market data including the current
        inventory data of the first automobile, via the manufacturer interface, at least
        one of a verification indicating that the first automobile can be provided for
        the consumer, a confirmation indicating that the first automobile can be
        provided for the consumer, and an offer indicating that the first automobile
        can be provided for the consumer;
     determine, using the geolocation information, that the consumer is located at
        the first location;
     generate, based on the first location, an in-market dealer area proximately
        located to the first location;
     determine that the first dealer is located at a second location within the in-
        market dealer area;
     provide a first manufacturer response via the consumer interface, the first
        manufacturer response including the at least one of the verification
        indicating that the first automobile can be provided for the consumer, the
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       confirmation indicating that the first automobile can be provided for the
       consumer, and the offer indicating that the first automobile can be provided
       for the consumer;
   request, from the first dealer, via a dealer interface, an inventoryless bid to sell
       the first automobile based on the first manufacturer response;
   receive, from the first dealer located at the second location and engaging in
       inventoryless bidding, the inventoryless bid to provide the first automobile,
       which is at least one of yet to be manufactured and in the inventory of
       another entity;
   generate driving directions from the first location to the second location; and
   provide the inventoryless bid and the driving directions to the consumer
       interface, the inventoryless bid including at least a price and a delivery
       option; and
 receiving a consumer selection of the inventoryless bid including a first delivery
   option which specifies a pickup location at the first dealer, wherein the
   consumer selection indicates a consumer intention to purchase the first
   automobile.

Appx891




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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2023-1362, 2023-1667, 2023-2041
   Short Case Caption Vroom, Inc. v. Sidekick Technology, LLC
   Filing Party/Entity Sidekick Technology, LLC



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        12/05/2023
  Date: _________________                   Signature:    /s/ Devon C. Beane

                                            Name:         Devon C. Beane
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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable




Sidekick Technology, LLC




                                  ‫܆‬      Additional pages attached
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FORM 9. Certificate of Interest                                                           Form 9 (p. 3)
                                                                                           March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable                     ‫܆‬         Additional pages attached

Loly G. Tor (K&L Gates LLP)

Thomas P. Scrivo (O'Toole Scrivo, LLC)




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No           ✔
                                                                  ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable                     ‫܆‬         Additional pages attached
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                       STATEMENT OF RELATED CASES
      Pursuant to FCR 28(a)(4) and 47.5(a), besides the appeals consolidated herein,

there are no other appeals in or from the same civil action in the lower court that was

previously before this or any other appellate court. Pursuant to FCR 47.5(b), there is

no other case to be pending in this or any other court that will directly affect or be

directly affected by this Court’s decision in the pending appeal.




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                        STATEMENT OF JURISDICTION

       Pursuant to Fed. R. App. P. 28(a)(4) and FCR 28(a)(5), the district court had

subject matter jurisdiction under 28 U.S.C. §§ 2201 and 2202, as Vroom sought

declarations of non-infringement and Sidekick asserted counterclaims of

infringement. This Court has jurisdiction over this appeal under 28 U.S.C.

§1295(a)(1), which provides exclusive appellate jurisdiction of any “appeal from a

final decision of a district court . . . in any civil action arising under . . . any Act of

Congress relating to patents . . . .”




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                        STATEMENT OF THE ISSUES

      1.     Whether the Court erred when it found claim 1 of the ’984 Patent

representative of all 405 claims among the Patents-in-Suit.

      2.     Whether the Court erred when it found all 405 claims are directed to an

abstract idea.

      3.     Whether the Court erred when it failed to accept as true Appellant’s

factual allegations and resolved factual disputes against Appellant on a motion

pursuant to Fed. R. Civ. P. 12(c) in favor of the moving party.




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                           STATEMENT OF THE CASE

 I.   FACTUAL AND PROCEDURAL BACKGROUND

      On March 25, 2021, Vroom filed a declaratory judgment complaint that

included 12 counts, each seeking a declaration that Vroom did not infringe each of

the Patents-in-Suit. Appx37-87. On August 9, 2021, Sidekick answered and asserted

12 counterclaims, each alleging that Vroom infringed one of the same 12 patents

addressed in the complaint. Appx266-290.

      On December 22, 2021, Vroom moved the district court to dismiss Sidekick’s

counterclaims of infringement pursuant Fed. R. Civ. P. 12(c) (the “Rule 12(c)

Motion”), asserting that all 405 claims across the 12 Patents-in-Suit were ineligible

under 35 U.S.C. § 101. Appx336. On June 28, 2022, the district court entered an

order granting Vroom’s Rule 12(c) Motion and dismissed all 12 of Sidekick’s

counterclaims with prejudice. Appx1. In the related opinion, the district court found

all 405 claims of the 12 Patents-in-Suit ineligible under § 101 based on a single claim

of one patent. Appx2-17.

      Following the district court’s grant of Vroom’s Rule 12(c) Motion, Sidekick

filed a motion for reconsideration on July 26, 2022, Appx829-845, which was denied

by the district court on October 18, 2022. Appx846-850.

      After the district court denied Vroom’s motion for reconsideration, the case

sat dormant. Eventually, on January 4, 2023, the district court unexpectedly and

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without warning administratively closed the case. Therefore, on the same day,

Sidekick filed a motion for entry of final judgment on Sidekick’s counterclaims

pursuant to Fed. R. Civ. P. 54(b), Appx856-857, and a notice of appeal seeking

review of the district court’s Rule 12(c) Order. Appx852-866.

      As to the motion for entry of final judgment, the district court denied this

motion on March 21, 2023, stating that the district court had “already entered final

judgment on the merits” by granting Vroom’s Rule 12(c) Motion. Appx851.

However, on April 11, 2023, a panel of this Court held the opposite: the district court

had failed to enter final judgment because Vroom’s request for injunctive relief

remained pending as the date of the panel’s order. Vroom, Inc. v. Sidekick Tech.,

LLC, No. 23-1362, Dkt. 14 at 3 (Fed. Cir. Apr. 11, 2023). Vroom then filed a Petition

for Rehearing and Rehearing En Banc of the panel’s April 11 Order, which was

ultimately denied. Vroom, No. 23-1362, Dkts. 19 & 24.

      Because Sidekick did not have the benefit of this Court’s April 11 Order,

Sidekick sought review from this Court of the district court’s denial of Sidekick’s

motion for entry of final judgment by filing a notice of appeal on March 22, 2023

Appx867-868, which gave rise to Sidekick’s second appeal, Appeal No. 23-1667.

Sidekick also filed a motion to reopen time to file an appeal on March 29, 2023, in

response to the district court’s denial of Sidekick’s motion for entry of final

judgment. Appx868-869.

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      However, upon issuance of this Court’s April 11 Order, Sidekick requested

that the district court enter an order denying the motion to reopen time as moot and

also moot any relief requested by Vroom that was not previously granted. Appx870-

871. The district court entered an order mooting the still pending injunctive relief

thereby resolving the case in its entirety. Appx872. This order serves as final

judgment in the district court below. Therefore, Sidekick filed a notice of appeal of

this final judgment, Appx18-19, which initiated the third appeal, Appeal No. 23-

2041. This Court consolidated all three appeals in its October 6, 2023 order and

directed Sidekick to file its opening brief no later than 60 days from entry of the

order. Vroom, Nos. 23-1362, 23-1667, 23-2041, Dkts. 26, 15, 13 respectively.

II.   OVERVIEW OF THE ASSERTED PATENTS

      The following are the patents at issue on appeal: U.S. Patent Nos. 8,744,925

(“the ’925 Patent”); 9,141,984 (“the ’984 Patent”); 8,650,093 (“the ’093 Patent”);

9,123,075 (“the ’075 Patent”); 9,147,216 (“the ’216 Patent”); 9,460,467 (“the ’467

Patent”); 9,665,897 (“the ’897 Patent”); 9,626,704 (“the ’704 Patent”); 10,140,655

(“the ’655 Patent”); 10,223,722 (“the ’722 Patent”); 10,223,720 (“the ’720 Patent”);

and 10,796,362 (“the ’362 Patent”) (collectively, the “Patents-in-Suit”).

      The Patents-in-Suit are related, share a specification, and comprise three

lineages stemming from the earliest filings, the ’925 and ’984 Patents, filed on July

5, 2011. The ’925 Patent lineage includes three continuations, the ’216, ’704, and


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’722 Patents. The ’984 Patent lineage includes two continuations, the ’897 and ’720

Patents. The third lineage stems from the ’093 Patent, which is a continuation-in-

part of both the ’925 and ’984 Patents. The ’093 Patent lineage includes four

continuations, the ’075, ’467, ’655, and ’362 Patents.

      Sidekick’s patents are directed to novel methods and systems that reflect an

improved automobile sales platform that facilitates automobile transactions using

specific data integration, message flow, and geolocation-based processing, among

various types of users via specific user interfaces. Most importantly, the Patents-in-

Suit permit interactions between consumers, dealers, and manufacturers that were

not typical of conventional automobile transaction networks.

                           SUMMARY OF ARGUMENT

      At bottom, the district court erred by not accepting as true Sidekick’s factual

allegations—which were comprised of citations to specific limitations recited in the

claims, portions of the common specification, and statements made in the

prosecution history—and resolved factual disputes in favor of Vroom, the movant

and not Sidekick, the non-movant. The failure to apply the correct Rule 12(c)

standard is most apparent at Alice step two, where the district court disregarded

Sidekick’s factual allegations and instead found that claim 1 of the ’984 Patent

contained no inventive concept. On de novo review of the limited record before the

district court, it is clear that Sidekick provided enough factual allegations to

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 plausibly show that the claims possess an inventive concept. Sidekick respectfully

 asks that this Court reverse the decision of the district court based on the district

 court applying the wrong standard when resolving a motion pursuant to Rule 12(c).

 This will allow Sidekick to develop a more fulsome record that clearly supports the

 eligibility of the asserted claims.

                                       ARGUMENT

I.     UNDER DE NOVO REVIEW, THE DISTRICT COURT ERRED
       WHEN IT RESOLVED FACTUAL DISPUTES ON A RULE 12
       MOTION AND FOUND ALL 405 CLAIMS INELIGIBLE

       This Court applies regional circuit law when reviewing a district court’s

 judgment on the pleadings. Koninklijke KPN N.V. v. Gemalto M2M GmbH, 942 F.3d

 1143, 1149 (Fed. Cir. 2019). Under Third Circuit law, a district court’s grant of a

 motion for judgment on the pleadings is reviewed de novo, accepting as true all facts

 pleaded by the non-movant and drawing all reasonable inferences in favor of the

 non-movant. Allstate Prop. & Cas. Ins. Co. v. Squires, 667 F.3d 388, 390 (3d Cir.

 2012). Patent eligibility under § 101 is a question of law that may contain underlying

 questions of fact. Interval Licensing LLC v. AOL, Inc., 896 F.3d 1335, 1342 (Fed.

 Cir. 2018) (citing Berkheimer v. HP Inc., 881 F.3d 1360, 1365 (Fed. Cir. 2018)). A

 district court’s ultimate conclusion on patent eligibility is reviewed de novo. Id.

       This Court has stated on numerous occasions that, “[w]hile the ultimate

 determination of eligibility under § 101 is a question of law, like many legal


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questions, there can be subsidiary fact questions which must be resolved en route to

the ultimate legal determination.” Aatrix Software, Inc. v. Green Shades Software,

Inc., 882 F.3d 1121, 1128 (Fed. Cir. 2018). Because subsidiary fact questions exists,

this Court has held time and time again that “[p]atent eligibility can be determined

on the pleadings under Rule 12(c) when there are no factual allegations that, when

taken as true, prevent resolving the eligibility question as a matter of law.” Data

Engine Techs. LLC v. Google LLC, 906 F.3d 999, 1007 (Fed. Cir. 2018); see also

Visual Memory LLC v. NVIDIA Corp., 867 F.3d 1253, 1261-62 (Fed. Cir. 2017);

CardioNet, LLC v. InfoBionic, Inc., 955 F.3d 1358, 1369 (Fed. Cir. 2020); Nat.

Alternatives Int'l, Inc. v. Creative Compounds, LLC, 918 F.3d 1338, 1349 (Fed. Cir.

2019); Aatrix, 882 F.3d at 1125-27 (Fed. Cir. 2018); Cellspin Soft, Inc. v. Fitbit, Inc.,

927 F.3d 1306, 1316–18 (Fed. Cir. 2019); Berkheimer, 881 F.3d at 1368-70. Put

plainly, a district cannot grant a motion under Rule 12(c) if a party provides factual

allegations that create a factual dispute as to any of the subsidiary fact questions en

route to determining eligibility.

      Here, the district court committed legal error when it found all 405 claims

invalid given the fact disputes that existed at each step of the § 101 analysis. As an

initial matter, Sidekick consistently pointed to the plain language of the claims,

portions of the specification, and statements in the prosecution histories of the




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Patents-in-Suit, all of which are factual allegations that a court may considered when

resolving a Rule 12(c) motion. Data Engines, 906 F.3d at 1008 n.2.

       In response, Vroom largely ignored Sidekick’s factual allegations and failed

to explain how these allegations did not created a dispute of fact which would

preclude a judgement on the pleadings. When Vroom did decide to address

Sidekick’s allegations, Vroom only offered irrelevant arguments and non-

precedential authority. For example, Vroom responded to Sidekick’s citations to the

prosecution history by arguing these statements were “not in response to rejections

under § 101.” Appx545. In fact, Vroom even recognized that, in the cited portions

of the prosecution history, “Sidekick opined on the advantages of the invention.”

Appx545.1 Thus, Vroom failed to cite to any portion of the specification or

prosecution histories that contradicted Sidekick’s allegations. Sidekick provided

factual allegations relevant to each step of the eligibility analysis that plausibly

demonstrate the eligibility of the claims. Given this, it is clear that the district court

erred when, it not only resolved these factual disputes on a Rule 12(c) motion, but

resolved the disputes in favor of Vroom. Therefore, Sidekick respectfully requests




1
    Although Vroom characterizes these statements as “self-serving,” Vroom’s
    inaccurate characterization does not change the fact that these statements are
    factual allegations that the district court must accept as true on a Rule 12(c)
    motion.
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that this Court reverse the district court’s finding that all of the claims are ineligible

and remand for further development of the record before addressing eligibility.

       A.       THE DISTRICT COURT ERRED WHEN IT DISREGARDED
                STATEMENTS MADE IN THE PROSECUTION HISTORIES

       Based on the district court’s Rule 12(c) Order, it appears that the district court

improperly failed to consider statements made in the prosecution histories when

determining eligibility. Compare Appx412-413 (listing citations to the prosecution

histories in support of Sidekick’s opposition), with Appx8-16 (providing no analysis

addressing any of the cited portions of the prosecution histories when determining

eligibility).

       As an initial matter, this Court has explicitly stated that the prosecution history

can be considered when deciding eligibility on a Rule 12(c) motion:

       On a motion for judgment on the pleadings, however, the court may
       consider “matters of public record.” Prosecution histories constitute
       public records. We consider this evidence relevant in our de novo
       review because it is part of the [Patents-In-Suit] prosecution histories
       and was relied on in [Patent Owner’s] opposition to [Accused
       Infringer’s] Rule 12(c) motion.

Data Engine, 906 F.3d at 1008 n.2. Moreover, this Court has confirmed the

relevance of prosecution histories at step one. CardioNet, 955 F.3d at 1372-1373

(“In determining what the claims are directed to and whether they are directed to an

abstract idea, a court may well consult the plain claim language, written description,

and prosecution history . . . .”). And prosecution histories have been considered


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relevant to determining whether claims contain an inventive concept. Cooperative

Entertainment, Inc. v. Kollective Tech., Inc., 50 F.4th 127, 135 (Fed. Cir. 2022).

      If these statements are taken as true, which a court must do on a Rule 12(c)

motion, it becomes clear that the district court erred at each step of the eligibility

analysis as these statements are relevant to the eligibility determination. Specifically,

these statements are relevant to determining which claims are representative,

whether the claims are directed to eligible subject matter at step one, and whether

the claims contain an inventive concept at step two. Thus, on de novo review of the

district court’s decision, the statements in the prosecution history should be

considered, and when considered, it is clear that it was error to find the all 405 claims

ineligible given factual allegations existed that “when taken as true, prevent

resolving the eligibility question as a matter of law.” Data Engine, 906 F.3d at 1007.

      To better address the effects of the district court’s disregard of the prosecution

histories, and Sidekick’s other factual allegations, Sidekick will proceed through the

eligibility analysis step-by-step beginning with determining which claims are

representative.

      B.     THE DISTRICT COURT ERRONEOUSLY FOUND ONE
             CLAIM REPRESENTATIVE OF ALL 405 CLAIMS

      From the start of its analysis, the district court demonstrated its willingness to

resolve factual disputes between the parties on a Rule 12(c) motion. In the section

of the district court’s Rule 12 Order determining which claims were representative,

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the district court disregarded not only Sidekick’s arguments as to which claims were

representative, but also disregarded Vroom’s arguments. See Appx4-8. In its Motion,

Vroom argued that claim 1 of the ’362 Patent was representative of all 405 claims

among the Patents-In-Suit. See Appx332-341. To support its arguments, Vroom

provided factual allegations as to how claim 1 of the ’362 Patent is allegedly

representative, which are summarized in a table included in Vroom’s Motion.

Appx336-340.

      In its Opposition, Sidekick argued that there are three representative claims,

one for each lineage of continuations: claim 1 of the ’925 Patent, claim 1 of the ’984

Patent, and claim 1 of the ’075 Patent. Appx404-409 (adding emphasis to specific

claim limitations to identify material distinctions between the lineages). For

example, unlike claim 1 of the ’984 Patent, claim 1 of the ’925 Patent recites that the

“first request” is made using a mobile device that recognizes the vehicle

identification number using “optical character recognition.” Appx933. This

distinction was highlighted in Sidekick’s Opposition before the district court.

Appx405; see also Appx417. Additionally, claim 1 of the ’075 Patent is distinct from

claim 1 of the ’984 Patent as it recites an entirely different interface—“the used

automobile consumer seller interface”—than the interface recited in claim 1 of the

’984 Patent. Appx957. This distinction between the claims of the ’075 Patent and

’984 Patent was also highlighted in Sidekick’s Opposition. Appx408.

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       When faced with these distinctions, the district court marginalized the

differences between the claims, stating the differences “simply relate to the parties

involved in a given process or transaction or narrow the focus to a specific kind of

automobile transaction (i.e., new vs. used).” Appx7 at n. 3. This reasoning is based

on an improper generalization of the claims that strips away key limitations recited

in the claims—such as the optical character recognition, the manufacturer interface,

and the used automobile consumer seller interface—that distinguish the three

lineages from one another.

       Thus, Sidekick asserts that it was error to not accept as true Sidekick’s

identified representative claims, especially in such a cursory manner, and proceed

through the analysis accordingly.2 This is error because this Court has stated that,

when addressing analogous subsidiary factual disputes on a Rule 12 motion, a

district court is to adopt the non-moving party’s position. See Aatrix, 882 F.3d at

1125 (stating that “[i]f there are claim construction disputes at the Rule 12(b)(6)

stage, we have held that either the court must proceed by adopting the non-moving

party’s constructions, or the court must resolve the disputes to whatever extent is

needed to conduct the § 101 analysis”). As representativeness is critical to



2
    Although Sidekick did identify claim 1 of the ’984 Patent as a representative
    claim, Sidekick did not identify it as representative of all 405 claims; therefore,
    Sidekick disagrees with the district court’s finding that claim 1 of the ’984 as
    representative of all 405 claims.
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invalidating more than one claim based on the invalidity of a single claim, the district

court committed error by not accepting Sidekick’s position. Although it was error to

find claim 1 of the ’984 representative of all claims, Sidekick will focus its

arguments below on the district court’s analysis of claim 1 of the ’984 Patent as

Sidekick asserts that the district court erred in its analysis of this claim as well.

However, Sidekick will identify where material distinctions exist between claim 1

of the ’984 Patent and the other representative claims identified by Sidekick.

      C.     ALICE STEP 1

      When addressing subject-matter eligibility, this Court applies a two-step

framework. Alice Corp. Pty. Ltd., v. CLS Bank Int’l, 573 U.S. 208, 217 (2014). The

first step is to “determine whether the claim at issue is ‘directed to’ a judicial

exception, such as an abstract idea.” McRO, Inc. v. Bandai Namco Games Am. Inc.,

837 F.3d 1299, 1312 (Fed. Cir. 2016). The step one inquiry looks to “whether the

claims in these patents focus on a specific means or method that improves the

relevant technology or are instead directed to a result or effect that itself is the

abstract idea and merely invoke generic processes and machinery.” McRO, 837 F.3d

at 1314. Stated more succinctly, the step one “directed to” inquiry asks “what the

patent asserts to be the focus of the claimed advance over the prior art.” TecSec, Inc.

v. Adobe Inc., 978 F.3d 1278, 1292 (Fed. Cir. 2020) (internal citations omitted).




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      The district court found that claim 1 of the ’984 Patent is “directed towards

the abstract idea of collecting and using automobile market and user data to facilitate

automobile transactions.” Appx9. This is not an accurate characterization of the

claims. Although claim 1 does recite this concept, it is incorrect to state that these

claims are solely directed towards collecting and using automobile market data.

      Instead, the focus of claim 1 of the ’984 Patent is allowing the manufacturer

to interact directly with the consumer via the recited systems and methods in the

claims, specifically the manufacturer interface. This is the “claimed advance over

the prior art” and it is specifically found in the claims, specification, and the

prosecution history. Thus, the district court erred at step one, when it failed to

consider the claims as a whole in light of the specification and the prosecution

history, all of which are relevant in the “determined to” analysis. CardioNet, 955

F.3d at 1372-73.

      Beginning with claim 1, it specifically claims the claimed advance by reciting

a “manufacturer interface,” which allows the manufacturer to interact with the

consumer, and a “manufacturer response,” which is communicated from the

manufacturer to the consumer via the consumer interface. Claim 1 of the ’984 Patent

is as follows:

  A method comprising:

  storing, on a computer readable medium, automobile market data which is
     representative of recent automobile market characteristics, including at
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  least pricing data and inventory data, wherein the automobile market data
  includes information received from at least one manufacturer, a plurality
  of dealers, and a plurality of consumers, wherein at least a portion of the
  automobile market data is updated in real-time;
receiving, via a consumer interface, a first request for a response regarding
  a first automobile, which is manufactured by a first manufacturer, the
  first request made by a consumer located at a first location and including
  geolocation information of the consumer;
executing instructions, by at least one processing device, to:
  determine current inventory data of the first automobile, wherein the
      current inventory data of the first automobile includes a plurality of
      dealer inventories of a plurality of dealers, with each respective dealer
      of the plurality of dealers having a respective dealer inventory, and
      wherein the current inventory data indicates that a first dealer of the
      plurality of dealers does not currently have the first automobile in a
      first inventory of the first dealer;
  provide first automobile market data including the current inventory
      data of the first automobile to the first manufacturer, based on the
      first request, via a manufacturer interface, wherein the first
      automobile market data is based on real-time automobile market data;
  generate, based on the first automobile market data including the current
      inventory data of the first automobile, via the manufacturer
      interface, at least one of a verification indicating that the first
      automobile can be provided for the consumer, a confirmation
      indicating that the first automobile can be provided for the consumer,
      and an offer indicating that the first automobile can be provided for
      the consumer;
  determine, using the geolocation information, that the consumer is
      located at the first location;
  generate, based on the first location, an in-market dealer area proximately
      located to the first location;
  determine that the first dealer is located at a second location within the
      in-market dealer area;
  provide a first manufacturer response via the consumer interface, the
      first manufacturer response including the at least one of the
      verification indicating that the first automobile can be provided for
      the consumer, the confirmation indicating that the first automobile
      can be provided for the consumer, and the offer indicating that the
      first automobile can be provided for the consumer;

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    request, from the first dealer, via a dealer interface, an inventoryless bid
        to sell the first automobile based on the first manufacturer response;
    receive, from the first dealer located at the second location and engaging
        in inventoryless bidding, the inventoryless bid to provide the first
        automobile, which is at least one of yet to be manufactured and in the
        inventory of another entity;
    generate driving directions from the first location to the second location;
        and
    provide the inventoryless bid and the driving directions to the consumer
        interface, the inventoryless bid including at least a price and a delivery
        option; and
  receiving a consumer selection of the inventoryless bid including a first
    delivery option which specifies a pickup location at the first dealer,
    wherein the consumer selection indicates a consumer intention to
    purchase the first automobile.

Appx891 at claim 1 (emphasis added). Thus, the claimed advance is clearly recited

in the claims.

      Turning to the specification, it makes clear that allowing the manufacturer to

participate in the automobile transaction solves a problem with previous systems

designed to facilitate an automobile transaction found in the prior art. Starting with

the Background, the ’984 Patent provides that when purchasing an automobile, “the

negotiation process is a zero sum process, and because the consumer and the dealer

are each trying to get a better deal, there is typically some lack of trust during the

negotiation.” Appx882 at 1:25-27. Furthermore, the background recognizes that

“automobile manufacturer also have an interest in the market prices for automobiles,

because the market activity captured as automobile market information may allow

the manufacturer to, for example, more profitably determine which automobiles to


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manufacture, what prices the manufacture should offer to dealers, and whether

manufacturer incentives should be offered on existing dealer automobile inventory.”

Appx882 at 1:44-51. Thus, the prior art was a zero sum struggle between the

consumer and the dealer with the manufacturer sitting on the sidelines without any

means of participating.

      To resolve this problem in the prior art, the specification discloses a specific

means of improving the relevant technology: a “new and innovative system, methods

and apparatus for providing automobile market information and performing

automobile transactions” that allows a consumer to “provide a request for a

manufacturer response indicating whether a specific automobile can be provided.”

Appx882 at 1:55-64. The new and innovative systems allows for the manufacturer

to receive market data and then provide a response to the consumer directly. See

Appx882 at 1:64-2:1. By allowing a consumer, dealer, and manufacturer to

participate in the negotiation process via a manufacturer interface, the ’984 Patent

provides a specific improvement to previous networks that facilitated automobile

transactions. According to the specification, this improvement provides tangible

benefits to the consumer as a consumer “may benefit from more competition pricing,

piece of mind knowing that a fair market price is being offered for prospective

purchases, and improved delivery options that allow the consumer to weigh the

benefits and drawbacks of different delivery options, pricing, and other variables.”

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Appx889 at 15:11-16. Finally, the specification provides that the recited system and

methods lead to benefits over the prior art: “The integration of the various types of

automobile market data 506 received from the consumer interface 304, dealer

interface 306, and manufacturer interface 308 may provide a synergistic and optimal

resource for consumers, dealers, and manufacturers alike.” Appx889 at 16:29-33.

Thus, the specification clearly shows that the claimed advanced over the prior art is

allowing the manufacturer to participate in the network that facilitates an automobile

transaction.

      Next, the portions of the prosecution history cited in Sidekick’s Opposition

only reinforce that allowing the manufacturer to participate in the network is the

claimed advance. See Appx424 (citing Appx509). In an appeal brief filed during the

prosecution of the ’984 Patent, Sidekick explained that:

      [T]he present application discloses a system that includes a consumer
      interface 304, a dealer interface 306, and a manufacturer interface 308,
      which allows consumers, dealers, and manufacturers, to affirmatively
      interact with each other, rather than passively provide information to
      the system. For example, this system allows a manufacturer, using the
      manufacturer interface 308, to provide a response that guarantees that
      a consumer can actually obtain a specific automobile, in contrast to the
      cited prior art, in which a manufacturer does not ensure that a consumer
      can actually obtain the specific automobile.




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Appx509. 3 Thus, the prosecution history provides further support that the claims are

directed to allowing a manufacturer to participate in the network that facilities an

automobile transaction, which is the claimed advance over the prior art. Overall, the

claims, specification, and prosecution history of the ’984 Patent clearly show that

the claims are directed to a system that allows the manufacturer to participate in the

network.4

       Turning to the district court’s Rule 12(c) Order, the district court

acknowledged the problem identified in the Background of the ’984 Patent, Appx11-

12. However, the district court disregarded the claimed advance over the prior art

because, according to the district court, the claims were not directed to a

“technological improvement or advance in computer or network functionality.”

Appx10. Thus, the district court concluded that claim 1 was not eligible at step one




3
    This Court has been adamant not to blur the lines between § 101 and the other
    patentability requirements, such as §§ 102 or 103. E.g., CardioNet, 955 F.3d at
    1372; see also Data Engine, 906 F.3d at 1011. Thus, Sidekick wants to be explicit
    that it is not arguing that claim 1 of the ’984 Patent is eligible because it overcame
    a § 102 rejection during prosecution, but rather, the statement made by the
    applicant—in which it clarified what the claimed advance over the prior art
    was—is relevant to the § 101 analysis because the “directed to” inquiry asks
    “what the patent asserts to be the ‘focus of the claimed advance over the prior
    art.’” TecSec, 978 F.3d at 1292.
4
    To the extent Vroom argues that the manufacturer has always participated in the
    negotiation process or some variation of the claimed advance not being new or
    obvious, this Court has stated that this does not matter for “[t]hat question is
    reserved for §§ 102 and 103.” Data Engine, 906 F.3d at 1011.
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because it was directed to resolving an a problem not “in either data collection or

storage, user interface construction, computer processing ability, or network

functionality which has, until now, prevented efficient automobile transactions.”

Appx11.

      Sidekick disagrees with the district court’s conclusion: incorporating the

manufacturer into the negotiation process via a manufacture interface is an

improvement in the network designed to facilitate an automobile transaction.

Sidekick concedes that claim 1 is not directed to an improvement specifically in the

underlying technology of a computer (e.g., a faster processor or computer).

However, the ’984 Patent facilitates interactions in an automobile transaction

network that were not accounted for in the prior art. Therefore, the manufacturer

interface is a specific advance over the prior art that improves the functioning of a

network designed to facilitate an automobile transaction.

      In sum, when properly considered, the plain language of the claims, the

specification, and the prosecution history of the ’984 Patent all demonstrate that the

claims across all 12 Patents-In-Suit are directed towards a specific purported

advancement over the prior art. Therefore, on the record before the district court, it

erred when, on a rule 12(c) motion, it found claim 1 of the ’984 Patent is directed to

an abstract idea.




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      D.     ALICE STEP 2

      The district court clearly erred at step two when it found the asserted claims

only included features that were “well-understood, routine, and conventional” based

on the record before it.

      At step two, this Court “consider[s] the elements of each claim both

individually and ‘as an ordered combination’ to determine whether the additional

elements ‘transform the nature of the claim’ into a patent eligible application.” Alice,

573 U.S. at 217. Step two is “a search for an ‘inventive concept’—i.e., an element

or combination of elements that is ‘sufficient to ensure that the patent in practice

amounts to significantly more than a patent upon the [ineligible concept] itself.’” Id.

at 217-18 (quoting Mayo Collaborative Servs. v. Prometheus Lab’ys., Inc., 566 U.S.

66, 72 (2012)). Importantly, step two is not satisfied by simply determining whether

the components themselves are conventional or generic, for “an inventive concept

can be found in the non-conventional and non-generic arrangement of known,

conventional pieces.” BASCOM Global Internet Services, Inc. v. AT&T Mobility

LLC, 827 F.3d 1341, 1350 (Fed. Cir. 2016).

      On a Rule 12 motion, this Court has held that “[w]hether the claim elements

or the claimed combination are well-understood, routine, conventional is a question

of fact.” Aatrix, 882 F.3d at 1128. Here, as in Aatrix, step two “cannot be answered

adversely to [Sidekick] based on the sources properly considered on a motion to

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dismiss, such as the complaint, the patent, and materials subject to judicial notice.”

Id. As prosecution histories are subject to judicial notice and therefore are “sources

properly considered,” the statements from specification and the prosecution history

cited by Sidekick must be considered and, on a Rule 12 motion, taken as true. Data

Engine, 906 F.3d 1007, 1008 n.2. Given this, Sidekick plausibly alleged—and cited

to items in the factual record demonstrating—that claim 1 of the ’984 Patent

possessed an inventive concept. Even if the district court disagreed with Sidekick’s

position, it is clear that, at a minimum, a disputed fact existed that precluded the

district court from granting a motion for judgment on the pleadings. Data Engine,

906 F.3d at 1007; also Aatrix, 882 F.3d at 1125-27; Visual Memory LLC, 867 F.3d

at 1261-62; Cellspin, 927 F.3d at 1316-18.

      Upon reviewing the record before the district court, Vroom failed to cite any

portions of the specification or the prosecution histories that contradicted the

evidence cited by Sidekick in its Opposition. Besides a single citation to the

specification, Appx16, the district court’s step two analysis fails to cite any factual

allegations that contradict the factual allegations provided by Sidekick. Thus, the

district court erred when it failed to accept as true the factual allegations provided

by Sidekick and determined that the claims did not contain an inventive concept.

      Overall, the district court’s step two analysis on a Rule 12 motion disregards

this Court’s jurisprudence regarding analyzing step two on a Rule 12 motion.

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Starting with BASCOM, this Court found that the patent owner sufficiently alleged

that the challenged claims included the inventive concept of installing “a filtering

tool at a specific location, remote from the end-users, with customizable filtering

features specific to each end user.” BASCOM, 827 F.3d at 1350. Also, the patent

owner did not assert that it invented “local computers, ISP servers, networks,

network accounts, or filtering. Nor [did] the specification describe those elements as

inventive.” Id. at 1349. Rather, this Court found, on the limited record before it, “this

specific method of filtering Internet content cannot be said, as a matter of law, to

have been conventional or generic.” Id. at 1350.

      Here, Sidekick does not assert that it invented a new computer or a new

computer network. Nor does the specification asserts this. Rather, the inventive

concept is a specific improvement to the network that facilitates automobile

transactions. More specifically, the inventive concept is the arrangement of

interfaces that allows for the manufacturer to interact with consumers and dealers as

part of the network that facilitates automobile transactions. On the limited record

before the district court, there is no evidence to demonstrate that, as a matter of law,

this is conventional or generic.

      Turning next to Weisner v. Google LLC, this Court held that the one of the

disputed claims “plausibly captures an inventive concept in the form of a specific

technique for using physical location history data to improve computerized search

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results.” 51 F.4th 1073, 1086 (Fed. Cir. 2022). This holding was based on the claim’s

“specificity as to the mechanism through which they achieve improved search

results” based on the “location relationship” with a “reference individual.” Id. at

1085. “Stated another way, disclosing a new search engine algorithm is not

necessary as these claims do not per se concern searching for new information, but

rather concern a new technique for prioritizing the results of the conventional

search.” Id. at 1085-86.

      Furthermore, the specification of the patent in Weisner stated that the problem

was that the prior art “process of searching the world wide web does not adequately

take cognizance of the unique characteristics and tastes of the searching person,” and

that the patents-in-suit solved this problem by disclosing an “improved method of

searching the world wide web . . . that makes use of digital histories.” Id. at 1087.

After reviewing the factual allegations (i.e., the specification), this Court concluded

that, the disputed claim plausibly contained an inventive concept at step two when

those statements in the specification were accepted as true. Id. at 1088.

      Like the disputed claim in Weisner, claim 1 of the ’984 Patent is specific to a

mechanism that improves the network that facilitates an automobile transaction—

inclusion of the manufacturer via the manufacturer interface. Thus, claim 1 is not

trying to claim the automobile transaction itself, but rather claiming a specific

improvement to the network. Furthermore, as stated above in the step one analysis,

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the problem with the typical automobile transaction was that it was a zero sum

negotiation between the consumer and the dealer. The invention recited in the claims

solves this problem by allowing the manufacturer to participate in the network that

facilitates an automobile transaction via the manufacturer interface. Thus, based on

the record before the district court, Sidekick plausibly alleged that inclusion of the

manufacturer via the manufacturer interface is an inventive concept.

      Finally, in Cooperative Entertainment, this Court held that the challenged

claim contained an inventive concept by reciting “a specific type of content-sharing

network and delineates both the network's structure and function” 50 F.4th at 131

(2022). This holding was based on statements in the specification that explained how

the disputed claim’s “dynamic P2P network structure [was] different from and

improved upon the prior art . . . .” Id. at 132. According to the specification of the

patent-in-suit in Cooperative Entertainment, “[t]his allegedly new claimed P2P

network provides more efficient and reduced cost of delivery for the content, and

enables new content-delivery system functionality by providing live streaming for

video and/or audio content as well as data, files, analytics, and combinations

thereof.” Id. (internal quotation marks and citations omitted). Thus, this Court stated:

      Drawing all inferences in favor of Cooperative, as we must on a motion
      to dismiss, we conclude that claim 1 recites a specific technical solution
      that is an inventive concept: it recites a particular arrangement of peer
      nodes for distributing content . . . which did not exist in the prior art.
      This is not an ‘abstract idea implemented on a generic computer,’ and
      it is alleged to improve the performance of the content delivery network
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      with reductions in costs and improvements in several aspects of system
      performance.

Id. at 133 (collecting cases). Furthermore, this Court admonished the district court,

stating: “At a minimum, the district court should have denied the motion to dismiss

because Cooperative's allegations in the complaint regarding the claims and the

[patent-in-suit’s] written description create a plausible factual issue regarding the

inventiveness of the dynamic P2P configuration of claim 1.” Id. Finally,

“[d]etermining whether the claimed network is well-understood, routine, or

conventional is a question of fact that cannot be resolved at the Rule 12(b) (6) stage,

and the district court erred in resolving this factual issue against Cooperative.” Id.

      Here, the district court erred when it determined that claim 1 of the ’984 Patent

did not contain an inventive concept. Sidekick specifically identified the

manufacturer interface as an inventive concept in its Opposition. Appx424-425.

Thus, by finding the claim ineligible, the district court effectively resolved a factual

dispute and determined that the manufacturer interface was well-understood,

routine, and convention. On the record before the district court, it should have, at a

minimum, denied Vroom’s Rule 12(c) Motion because Sidekick’s allegations

regarding the claims and the written description created a plausible factual issue

regarding the inventiveness of incorporating the manufacturer interface into the

automobile transaction. Cooperative Entertainment, 50 F.4th at 133.



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      Another source of error in the district court’s step two analysis is its reliance

on case law to determine what was well-known, routine, or convention. Consistently,

the district court focused on a single claim limitation and cited case law to find that

the limitation was well-understood, routine, or conventional. This Court has stated

that reliance on past case law is not dispositive when determining whether something

is well-understood, routine, or conventional:

      While prior cases can be helpful in analyzing eligibility, whether
      particular claim limitations are abstract or, as an ordered combination,
      involve an inventive concept that transforms the claim into patent
      eligible subject matter, must be decided on a case-by-case basis in light
      of the particular claim limitations, patent specification, and invention at
      issue.

CosmoKey Solutions GmbH & Co. KG v. Duo Security LLC, 15 F.4th 1091, 1099

(Fed. Cir. 2021). Again, the district court only cited to one portion of the

specification that addressed the processing device. Appx16 (citing Appx891(19:20-

20:3)). However, Sidekick does not assert that it invented a new processor; therefore,

this portion of the specification has little relevance when determining eligibility at

step two.

      In sum, based on the record before the district court, it is clear that, at a

minimum, a fact dispute existed as to whether claim 1 contained an inventive

concept. Vroom failed to identify any statements in the specification, prosecution

histories, or the claims themselves that contradicts the evidence cited by Sidekick as

to how the asserted claims recite limitations that were not well-understood, routine,

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or conventional. Furthermore, the district court failed to address Sidekick’s

evidence, and instead, relied on case law. For these reasons, the district court erred

when, on the limited record before the district, it determined that claim 1, and thus

all 405 claims across the 12 Patents-In-Suit, failed to recite an inventive concept.

                                  CONCLUSION

      As the district court’s applied the wrong standard for a Rule 12(c) motion at

each step of the eligibility analysis, Sidekick respectfully requests that this Court

reverse and remand to the district court in order for discovery to proceed. This will

allow the Court to determine the eligibility of the asserted claims with the benefit of

fact and expert discovery.




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Dated: December 5, 2023            Respectfully submitted,

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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


  VROOM INC.; VROOM AUTOMOTIVE,
  LLC d/b/a VROOM, d/b/a TEXAS
  DIRECT AUTO; CARSTORY, LLC; and                      Case No.: 2:21-cv-06737-WJM-JSA
  VAST.COM, INC. d/b/a CARSTORY,
                                                       ORDER
                 Plaintiffs,

         v.

  SIDEKICK TECHNOLOGY, LLC,

                 Defendant.

 WILLIAM J. MARTINI, U.S.D.J.:
        THIS MATTER comes before the Court on plaintiffs Vroom, Inc., Vroom
 Automotive, LLC d/b/a Texas Direct Auto, CarStory, LLC, and Vast.com, Inc. d/b/a
 CarStory’s (collectively, “Vroom” or “Plaintiffs”) motion (the “Motion”) for judgment on
 the pleadings pursuant to Rule 12(c) of the Federal Rules of Civil Procedure. ECF No. 33.
 For the reasons set forth in the accompanying Opinion, IT IS on this 27th day of June 2022,
 ORDERED as follows:
        1. Plaintiffs’ Motion is GRANTED.
        2. Defendant Sidekick Technology, LLC’s Counterclaims are DISMISSED
           WITH PREJUDICE.




                                                             /s/ William J. Martini
                                                       WILLIAM J. MARTINI, U.S.D.J.




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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


     VROOM INC.; VROOM AUTOMOTIVE,
     LLC d/b/a VROOM, d/b/a TEXAS
     DIRECT AUTO; CARSTORY, LLC; and                        Case No.: 2:21-cv-06737-WJM-JSA
     VAST.COM, INC. d/b/a CARSTORY,
                                                            OPINION
                  Plaintiffs,

          v.

     SIDEKICK TECHNOLOGY, LLC,

                  Defendant.

 WILLIAM J. MARTINI, U.S.D.J.:
        Plaintiffs Vroom, Inc., Vroom Automotive, LLC d/b/a Texas Direct Auto, CarStory,
 LLC, and Vast.com, Inc. d/b/a CarStory (collectively, “Vroom” or “Plaintiffs”) brought
 this declaratory judgment action against defendant Sidekick Technology, LLC (“Sidekick”
 or “Defendant”) seeking a declaration that they do not infringe certain of Sidekick’s
 patents. Before the Court is Plaintiffs’ motion (the “Motion”) for judgment on the pleadings
 pursuant to Rule 12(c) of the Federal Rules of Civil Procedure on the basis that each of
 Sidekick’s relevant patents is directed to ineligible subject matter under 35 U.S.C. § 101.
 ECF No. 33. For the reasons set forth below, Plaintiffs’ Motion is GRANTED.
 I.     BACKGROUND
        A.      The Patents-in-Suit
        Sidekick is the owner of U.S. Patent Nos. 9,141,984 (the “’984 Patent”), 8,744,925
 (the “’925 Patent”), 8,650,093 (the “’093 Patent”), 9,123,075 (the “’075 Patent”),
 9,147,216 (the “’216 Patent”), 9,460,467 (the “’467 Patent”), 9,665,897 (the “’897
 Patent”), 9,626,704 (the “’704 Patent”), 10,140,655 (the “’655 Patent”), 10,223,722 (the
 “’722 Patent”), 10,223,720 (the “’720 Patent”), and 10,796,362 (the “’362 Patent”, and,
 collectively, the “Patents-in-Suit”). 1 Broadly speaking, each of the 12 Patents-in-Suit
 describe systems, methods, and apparatuses for providing automobile market information

 1
   Each of the 12 Patents-In-Suit was attached as an exhibit to Plaintiffs’ Complaint, ECF No. 1.
 See ’984 Patent, Compl., Ex. 5; ’925 Patent, Compl., Ex. 6; ’093 Patent, Compl. Ex. 7; ’075 Patent,
 Compl., Ex. 8; ’216 Patent, Compl., Ex. 9; ’467 Patent, Compl., Ex. 10; ’897 Patent, Compl., Ex.
 11; ’704 Patent, Compl., Ex. 12; ’655 Patent, Compl., Ex. 13; ’722 Patent, Compl., Ex. 14; ’720
 Patent, Compl., Ex. 15; ’362 Patent, Compl., Ex. 16. All citations to any of the 12 Patents-in-Suit
 in this Opinion will be cited simply to the Patents themselves.



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 and performing or facilitating automobile transactions. See, e.g., ’984 Patent 1:55-57; ’925
 Patent 1:54-56; ’093 Patent 1:66-2:1. The Patents-in-Suit are related, share a specification,
 and can be categorized across three distinct “lineages” that can be identified by the earliest
 filed patent in each such lineage: (1) the ’984 Patent lineage, titled “Automobile
 Transaction Facilitation Using a Manufacturer Response,” includes two continuations – the
 ’897 Patent and the ’720 Patent; (2) the ’925 Patent lineage, titled “Automobile Transaction
 Facilitation Based on Customer Selection of a Specific Automobile,” includes three
 continuations – the ’216 Patent, the ’704 Patent, and the ’722 Patent; and (3) the ’093 Patent
 lineage, which is itself a continuation-in-part of both the ’925 and ’984 Patents, is titled
 “Used Automobile Transaction Facilitation for a Specific Used Automobile” and includes
 four continuations – the ’075 Patent, the ’467 Patent, the ’655 Patent, and the ’362 Patent.
         The Patents-in-Suit broadly describe flaws and inefficiencies in typical automobile
 transactions caused, chiefly, by a lack of available information and market data by each of
 the participants involved. Specifically, the Patents-in-Suit state that automobile
 transactions are routinely plagued by uncertainty, imperfect information, and mistrust that
 interferes with the ability to efficiently complete such transactions. See ’984 Patent 1:23-
 34. For consumers, this may result from a lack of knowledge about specific automobiles,
 the relevant market, and what may be considered a fair price for a given automobile. See
 id. at 1:35-38. Dealers or sellers, in turn, may lack information about a consumer’s capacity
 or willingness to pay a price for a given automobile in a way that would maximize their
 profits. See id. at 1:38-44. Similarly, manufacturers may lack sufficient market data which
 would be useful in optimizing production, delivery, and pricing of their automobile
 inventory. See id. at 1:44-51.
         The Patents-in-Suit purport to solve these inefficiencies by creating a platform
 through which consumers, dealers, and manufacturers can input, access, or filter through a
 range of available automobile market data and use that data to complete automobile
 transactions. See id. at 1:57-62. For example, the Patents-in-Suit explain that automobile
 manufacturers and dealers may input data related to current offers, automobile
 specifications and availability, and suggested retail prices in order to generate reports or
 offers to consumers. See id. at 7:34-40, 15:64-16:12. That market data is then stored and
 used to generate search results or recommendations for consumers who request information
 about certain kinds of automobiles based on a wide array of qualifications or specifications,
 including, for example, geographic location, pricing, and inventory data. See id. at 5:41-
 6:4. This system is designed to efficiently match consumers with dealers, manufacturers,
 or other consumer automobile sellers in order to facilitate automobile transactions.
        B.      Procedural History
        On March 25, 2021, Plaintiffs commenced this action by filing their 12 count
 Complaint against Defendant seeking a declaratory judgment that they are not infringing
 on any of the 12 Patents-in-Suit. ECF No. 1. On August 9, 2021, Defendant filed its Answer
 to the Complaint and asserted 12 counterclaims for patent infringement covering each of
 the Patents-in-Suit. ECF No. 15. On September 27, 2021, Plaintiffs answered Defendant’s



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 counterclaims and asserted several affirmative defenses thereto, including that the Patents-
 in-Suit were each directed to ineligible subject matter under 25 U.S.C. § 101. ECF No. 26.
 Following the close of the pleadings, Plaintiffs filed the instant Motion seeking a
 determination on whether the Patents-in-Suit are directed to eligible subject matter within
 the meaning of § 101.
 II.    LEGAL STANDARD
         Rule 12(c) of the Federal Rules of Civil Procedure provides that a party may move
 for judgment on the pleadings “[a]fter the pleadings are closed – but early enough not to
 delay trial.” Fed. R. Civ. P. 12(c). Motions made under Rule 12(c) are analyzed under the
 same standard as those made under Rule 12(b)(6). Trendx Enters., Inc. v. All-Luminum
 Prods., Inc., 856 F. Supp. 2d 661, 664 (D.N.J. 2012). That is, a Rule 12(c) motion will be
 granted where the movant “establishes that there are no material issues of fact, and he is
 entitled to judgment as a matter of law.” Zimmerman v. Corbett, 873 F.3d 414, 417 (3d Cir.
 2017) (quotations omitted). “In considering a motion for judgment on the pleadings, a court
 must accept all of the allegations in the pleadings of the party against whom the motion is
 addressed as true and draw all reasonable inferences in favor of the non-moving party.” Id.
 at 417-18. The Court need not accept as true “legal conclusions,” and “[t]hreadbare recitals
 of the elements of a cause of action, supported by mere conclusory statements, do not
 suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see also Trendx, 856 F. Supp. 2d at
 664. In ruling on a 12(c) motion, the Court is ordinarily limited to the facts as alleged in
 the nonmoving party’s pleadings, the exhibits attached thereto, and matters of public
 record. Pension Benefit Guar. Corp. v. White Consol. Indus., 998 F.2d 1192, 1996 (3d Cir.
 1993). The Court may, however, look outside the pleadings and also consider “document[s]
 integral to or explicitly relied upon in the [pleadings]” or any “undisputedly authentic
 document that a defendant attaches as an exhibit to a motion to dismiss if the plaintiff’s
 claims are based on the document.” In re Asbestos Prod. Liability Litig. (No. VI), 822 F.3d
 125, 134 n.7 (3d Cir. 2016).
         “Patent eligibility under § 101 is a question of law that may contain underlying
 questions of fact.” CosmoKey Sols. GmbH & Co. KG v. Duo Sec. LLC, 15 F.4th 1091, 1095
 (Fed. Cir. 2021). As such, “[p]atent eligibility can be determined on the pleadings under
 Rule 12(c) when there are no factual allegations that, when taken as true, prevent resolving
 the eligibility question as a matter of law.” Data Engine Techs. LLC v. Google, LLC, 906
 F.3d 999, 1007 (Fed. Cir. 2018).
 III.   DISCUSSION
        A.     Representative Claims
        The threshold issue in this case which the Court must address before determining
 whether the Patents-in-Suit are directed to eligible subject matter is which claim or claims
 are representative of the four-hundred and five (405) claims included across the twelve
 Patents-in-Suit. Plaintiffs assert that claim 1 of the ’362 Patent is representative of all
 claims. Defendant, however, disagrees and suggests that representative claims are needed
 as to each of the three separate patent lineages which comprise the Patents-in-Suit, with


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 claim 1 of the ’925 Patent representing the ’925 Patent lineage, claim 1 of the ’984 Patent
 representing the ’984 Patent lineage, and claim 1 of the ’075 Patent representing the ’093
 Patent lineage. 2
         It is well established that, in determining questions of patent eligibility or invalidity,
 the Court may treat some claims as representative rather than address each claim
 individually where the claims are “substantially similar and linked to the same abstract
 idea.” Content Extraction and Transmission LLC v. Wells Fargo Bank, N.A., 776 F.3d
 1343, 1348 (Fed. Cir. 2014). This includes the treatment of a single claim as representative
 of all claims across multiple patents. See e.g., Elec. Power Grp., LLC v. Alstrom S.A., 830
 F.3d 1350, 1351 (Fed. Cir. 2016) (treating one claim as representative of sixteen asserted
 claims across three patents). Indeed, it is also clear that the Court may treat claims as
 representative even where the parties do not agree or stipulate to such treatment. See, e.g.,
 Context Extraction, 776 F.3d at 1348 (treating two claims from two patents as
 representative of 242 claims at issue across four patents over patentee’s objection on
 appeal).
         Less established, however, is the appropriate framework for resolving disputes over
 which claims are in fact representative. More specifically, it is not clear which party bears
 the burden of establishing, or contesting, the representativeness of a certain claim or claims,
 and courts have articulated different approaches and considerations in making this
 determination. Compare Berkheimer v. HP Inc., 881 F.3d 1360, 1365 (Fed. Cir. 2018)
 (noting that courts may treat claims as representative where “the patentee does not present
 any meaningful argument for the distinctive significance of any claim limitations not found
 in the representative claim”) with Mortg. Grader, Inc. v. First Choice Loan Servs. Inc., 811
 F.3d 1314, 1324 n.6 (Fed. Cir. 2016) (treating asserted claims together rather than
 individually despite no arguments, agreements, or findings as to representative claims
 because “there [was] no contention that the claims differ[ed] in any manner that [was]
 material to the patent-eligibility inquiry) and with PPS Data, LLC v. Jack Henry & Assoc’s,
 Inc., 404 F. Supp. 3d 1021, 1031-32 (E.D. Tex. 2019) (applying burden shifting framework
 in which party asserting representativeness must offer a substantial rationale for treating
 claim as representative, and, if able to do so, the party opposing representative claim
 designation must then “identify limitations that are presented in the asserted claims but that
 are not represented by the allegedly representative claim”).
       The Court is not convinced that either party has offered a particularly compelling
 argument in support of their respective proposed representative claims. On the one hand,

 2
   Elsewhere in its brief, Defendant appears to argue that independent analysis of eligibility under
 § 101 with respect to all four-hundred and five claims is necessary. The Court disagrees. Defendant
 specifically asserts claim 1 of the ’925 Patent, claim 1 of the ’984 Patent, and claim 1 of the ’075
 Patent as representative claims. Having done so, Defendant cannot also ask that, should the Court
 find these claims ineligible under § 101, the remaining four-hundred and two claims each be
 analyzed individually. See Maxell, Ltd. v. Fandango Media, LLC, No. CV 17-07534 AG (SSX),
 2018 WL 4502492, at *4 (C.D. Cal. Sept. 11, 2018).



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 aside from it being the most recently filed of the Patents-in-Suit, and thus the Patent-in-
 Suit with the longest lineage, Plaintiffs have not explained why claim 1 of the ’362 Patent
 is an adequate representative of the remaining four hundred and four claims. On the other
 hand, however, Defendant has not offered any explanation why the three claims it offers
 as representative of the three lineages are either any more representative of the body of
 claims at issue than claim 1 of the ’362 Patent or are sufficiently distinct from each other
 in any way that might alter the eligibility analysis so as to necessitate three separate
 representative claims. Indeed, it is worth noting that Defendant does not even analyze its
 proposed representative claims separately in arguing in favor of eligibility, and instead
 more generally references aspects of the Patents-in-Suit with citations to one or two of its
 proposed representative claims.
        Having reviewed the Patents-in-Suit, their claims and claim elements, and the
 specifications, the Court will treat claim 1 of the ’984 Patent as representative. Claim 1 of
 the ’984 Patent recites:
        1. A method comprising:
           storing, on a computer readable medium, automobile market data which
                  is representative of recent automobile market characteristics,
                  including at least pricing data and inventory data, wherein the
                  automobile market data includes information received from at
                  least one manufacturer, a plurality of dealers, and a plurality of
                  consumers, wherein at least a portion of the automobile market
                  data is updated in real-time;
           receiving, via a consumer interface, a first request for a response
                  regarding a first automobile, which is manufactured by a first
                  manufacturer, the first request made by a consumer located at a
                  first location and including geolocation information of the
                  consumer;
           executing instructions, by at least one processing device, to:
               determine current inventory data of the first automobile, wherein the
                      current inventory data of the first automobile includes a
                      plurality of dealer inventories of a plurality of dealers, with
                      each respective dealer of the plurality of dealers having a
                      respective dealer inventory, and wherein the current inventory
                      data indicates that a first dealer of the plurality of dealers does
                      not currently have the first automobile in a first inventory of
                      the first dealer;
               provide first automobile market data including the current inventory
                      data of the first automobile to the first manufacturer, based on
                      the first request, via a manufacturer interface, wherein the first
                      automobile market data is based on real-time automobile
                      market data;




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               generate, based on the first automobile market data including the
                       current inventory data of the first automobile, via the
                       manufacturer interface, at least one of a verification indicating
                       that the first automobile can be provided for the consumer, a
                       confirmation indicating that the first automobile can be
                       provided for the consumer, and an offer indicating that the first
                       automobile can be provided for the consumer;
               determine, using the geolocation information, that the consumer is
                       located at the first location;
               generate, based on the first location, an in-market dealer area
                       proximately located to the first location;
               determine that the first dealer is located at a second location within
                       the in-market dealer area;
               provide a first manufacturer response via the consumer interface, the
                       first manufacturer response including the at least one of the
                       verification indicating that the first automobile can be provided
                       for the consumer, the confirmation indicating that the first
                       automobile can be provided for the consumer, and the offer
                       indicating that the first automobile can be provided for the
                       consumer;
               request, from the first dealer, via a dealer interface, an inventory less
                       bid to sell the first automobile based on the first manufacturer
                       response;
               receive, from the first dealer located at the second location and
                       engaging in inventoryless bidding, the inventoryless bid to
                       provide the first automobile, which is at least one of yet to be
                       manufactured and in the inventory of another entity;
               generate driving directions from the first location to the second
                       location; and provide the inventoryless bid and the driving
                       directions to the consumer interface, the inventoryless bid
                       including at least a price and a delivery option; and
            receiving a consumer selection of the inventoryless bid including a first
                   delivery option which specifies a pickup location at the first dealer,
                   wherein the consumer selection indicates a consumer intention to
                   purchase the first automobile.
        The reasons for treating claim 1 of the ’984 Patent as representative are
 straightforward. Unlike claim 1 of the ’362 Patent proposed by Plaintiffs, claim 1 of the
 ’984 Patent includes the additional element of storing automobile market data. Moreover,
 with minor exceptions that no party has suggested bears on the eligibility analysis, 3 claim

 3
   For example, claim 1 of the ’984 Patent recites a process in which the automobile manufacturer
 is involved in receiving and responding to a consumer request for a response pertaining to a
 specific automobile made by that manufacturer. Neither claim 1 of the ’925 Patent nor claim 1 of



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 1 of the ’984 Patent includes the major elements and limitations argued by the parties for
 and against eligibility, including, for example, the use of geolocation data and driving
 directions. Because claim 1 of the ’925 Patent and claim 1 of the ’075 Patent are themselves
 substantially similar and, as explained below, are all linked to the same abstract idea as
 claim 1 of the ’984 Patent, the Court sees no reason to analyze those claims, or the claims
 of any of the other Patents-in-Suit, separately.
        B.      Patent Ineligibility
        Section 101 of the Patent Act provides that anyone who “invents or discovers any
 new and useful process, machine, manufacture, or composition of matter, or any new and
 useful improvement thereof, may obtain a patent therefor.” 35 U.S.C. § 101.
 Notwithstanding the breadth of § 101, the Supreme Court has long recognized that the
 provision “contains an important implicit exception: Laws of nature, natural phenomena,
 and abstract ideas are not patentable.” Alice Corp. Pty. Ltd. V. CLS Bank Int’l, 573 U.S.
 208, 216 (2014) (quotations omitted). In Alice, the Supreme Court set forth a two-step test
 used to determine whether a patent claim is directed to ineligible subject matter under §
 101. Id. at 217. At step one, the Court considers “whether the claims at issue are directed
 to a patent-ineligible concept.” Id. at 218. If so, the Court proceeds to step two, in which it
 must “examine the elements of the claim to determine whether it contains an ‘inventive
 concept’ sufficient to ‘transform’ the claimed abstracted idea into a patent-eligible
 application.” Id. at 222.
                1.      Alice Step One
        In deciding whether a patent claim is “directed to” ineligible subject matter at step
 one, the Court looks primarily to “what the patent asserts to be the ‘focus of the claimed
 advance over the prior art.’” Solutran, Inc. v. Elavon, Inc., 931 F.3d 1161, 1168 (Fed. Cir.
 2019) (quoting Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253, 1257 (Fed.
 Cir. 2016)). In so doing, the Court focuses on the language of the claims themselves
 considered in light of the specification. See TecSec, Inc. v. Adobe Inc., 978 F.3d 1278,
 1292-93 (Fed. Cir. 2020) (quotations omitted). The critical inquiry is whether the claims
 “focus on a specific means or method that improves the relevant technology or are instead
 directed to a result or effect that itself is the abstract idea and merely invoke generic
 processes and machinery.” McRO Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299
 (Fed. Cir. 2016). In the context of computer software innovations, the inquiry “often turns
 on whether the claims focus on specific asserted improvements in computer capabilities or
 instead on a process or system that qualifies [as] an abstract idea for which computers are


 the ’075 Patent directly requires manufacturer participation in this manner. Similarly, unlike either
 claim 1 of the ’984 Patent or claim 1 of the ’925 Patent, the ’075 Patent is specifically focused on
 used automobile transactions from the perspective of a consumer seller. Neither of these
 differences is material to the eligibility analysis. Rather, they simply relate to the parties involved
 in a given process or transaction or narrow the focus to a specific kind of automobile transaction
 (i.e., new vs. used).



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 invoked merely as tools.” Uniloc USA, Inc. v. LG Elecs. USA, Inc., 957 F.3d 1303, 1306-
 07 (Fed. Cir. 2020).
         Although the Supreme Court has not defined the “precise contours of the ‘abstract
 ideas’ category,” courts have identified certain categories of claims that are generally found
 to be directed towards abstract ideas. See Content Extraction, 776 F.3d at 1347. For
 example, claims focused on “collecting information, analyzing it, and displaying certain
 results of the collection and analysis are directed to an abstract idea” and thus ineligible for
 patent protection. SAP Am., Inc. v. Investpic, LLC, 898 F.3d 1161, 1167 (Fed. Cir. 2018).
 Claims focused on longstanding and fundamental economic practices are likewise directed
 to ineligible subject matter within the meaning of § 101. Alice, 561 U.S. at 611.
         Here, claim 1 of the ’984 Patent is directed towards the abstract idea of collecting
 and using automobile market and user data to facilitate automobile transactions. With
 respect to the use of automobile market data, claim 1 of the ’984 Patent recites no more
 than the sort of collection and storage of information that courts have routinely found
 abstract at Alice step one. See, e.g., Content Extraction, 776 F.3d at 1347 (finding claims
 for method of extracting data from hard copy documents, recognizing and categorizing
 such data, and storing data in computer memory “drawn to basic concept of data
 recognition and storage”); Elec. Power Grp., 830 F.3d at 1353-54 (finding claims for
 method of collecting, analyzing, and displaying electric power grid data directed to abstract
 idea); Move, Inc. v. Real Estate Alliance Ltd., 721 F. App’x 950, 954-55 (Fed. Cir. 2018)
 (finding claims for method of searching for available real estate properties within given
 geographical area directed to abstract idea of “collecting and organizing information about
 available real estate properties and displaying this information on a digital map that can be
 manipulated by the user”); Audatex N. Am., Inc. v. Mitchell Int’l, Inc., 703 F. App’x 986,
 989-90 (Fed. Cir. 2017) (finding claims for method of generating vehicle valuation reports
 direct to abstract idea of “providing a vehicle valuation through the collection and use of
 vehicle information”).
        The remaining elements of claim 1 of the ’984 Patent do no more than recite a
 computerized method of performing the basic steps in an automobile transaction.
 Specifically, claim 1 recites a process in which (1) a consumer requests information about
 a specific automobile, which includes the consumer’s geolocation information; (2) an
 automobile manufacturer reviews real-time market data for the requested automobile,
 including inventory data from a plurality of dealers to determine whether the automobile
 can be provided to the consumer; (3) based on the manufacturer’s response to the
 consumer’s request, a dealer in an area proximately located to the consumer submits an
 inventoryless bid to sell the requested automobile; and (4) the consumer receives the bid,
 which includes at least price and delivery options, as well as driving directions to the dealer
 making the bid, and then selects a bid indicating an intent to purchase the automobile. See
 ’984 Patent 19:15-20:9. These claim elements fall well within the category of claims found
 to be directed to patent-ineligible economic concepts and business practices. See, e.g.,
 Mortg. Grader, 811 F.3d at 1324 (claim directed at abstract idea of “anonymous loan
 shopping” where claim merely recited steps of completing loan transaction); cxLoyalty,



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 Inc. v. Maritz Holdings Inc., 986 F.3d 1367, 1376 (Fed. Cir. 2021) (claim for method of
 using consumer loyalty or reward points to make purchases directly from third-party
 vendors directed to abstract idea of “facilitating, or brokering, a commercial transaction”);
 OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1362 (Fed. Cir. 2015) (claim directed
 at abstract idea of “offer-based price optimization” where claim recited a method of pricing
 a product for sale); Source Search Techs., LLC v. Kayak Software Corp., 111 F. Supp. 3d
 603, 608 (D.N.J. 2015) (finding that concept of “obtaining quotes for goods or services
 from selected vendors” fell squarely within abstract category of fundamental economic
 practices).
        In short, claim 1 of the ’984 Patent merely combines abstract concepts and processes
 to describe the longstanding and fundamental practice of searching for and using available
 market information to complete automobile transactions. See Elec. Power Grp., 830 F.3d
 at 1154; see also FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1094 (Fed. Cir.
 2016) (claims for system and method of detecting fraud or misuse in use of computers by
 analyzing user or performance data directed to combination of abstract ideas of “collecting
 and analyzing information to detect misuse and notifying a user when misuse is detected”).
        That claim 1 of the ’984 Patent provides for the implementation of this ordinary
 practice on a computer through an online platform does not make its focus any less abstract.
 See Two-Way Media Ltd. v. Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1337 (Fed.
 Cir. 2017). First, claim 1 of the ’984 Patent does not focus on or describe any specific
 technological improvement or advance in computer or network functionality. Rather, the
 claims describe, in purely functional terms, the use of only generic computer components
 and conventional computer functions as tools to be used to accomplish abstract concepts.
 See Affinity Labs, 838 F.3d at 1258-59 (claims directed to abstract idea where they claimed
 “the function of wirelessly communicating regional broadcast content to an out-of-region
 recipient, not a particular way of performing that function”). For example, the first element
 of claim 1 of the ’984 Patent recites the basic function of storing automobile market data
 in a format that can be accessed through a computer, without any mention of any new or
 improved process for collecting, analyzing, organizing, presenting, or storing that data. See
 BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1288 (Fed. Cir. 2018) (noting that “an
 improvement to the information stored by database is not equivalent to an improvement in
 the database’s functionality”). Similarly, the remaining claim elements recite (1) various
 user interfaces through which users navigate the platform to request information about
 automobiles or respond to such requests using the stored market data, and (2) the use of a
 processing device to enable these interactions. However, the claim elements neither
 describe any specific improvements in the creation or functionality of any such user
 interfaces or processing devices nor provide a technical explanation of how these elements
 are to be implemented on a computer. See Move, 721 F. App’x at 955-56 (claim directed
 to abstract idea where it “broadly recite[d] the commercial practice of ‘using a computer
 for locating available real estate properties’” without any “technical details or explanation
 of how to implement the claimed abstract idea using the computer”); cf. Data Engine
 Techs., 906 F.3d at 1010-11 (distinguishing claims “simply directed to displaying a



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  graphical user interface or collecting, manipulating, or organizing information” from those
  reciting a “specific improvement to the way computers . . . operate” (alterations in original)
  (quotations omitted)). 4
          Second, each of the elements of claim 1 of the ’984 Patent recite a process that
  humans have long been able to do on their own without the use of a computer. See
  Intellectual Ventures I LLC v. Symantec Corp., 838 F.3d 1307, 1318 (Fed. Cir. 2016). For
  example, as the specification itself acknowledges, there is no question that parties to a
  prospective automobile transaction searched for and took into account automobile market
  data, including price, availability, and other qualities such as mileage or safety features,
  before completing a transaction. See Context Extraction, 776 F.3d at 1347 (noting that
  humans have always performed functions of data collection, recognition, and storage); see
  also ’984 Patent 1:35-51 (noting development of products used to assist parties to
  automobile transaction in tracking market prices). Similarly, notwithstanding Defendant’s
  contention to the contrary, it is obvious that the use of “geolocation data” has always been
  implicitly taken into account by parties to a transaction, whether it be by consumers who
  only visit stores in their local area or by businesses which advertise locally. See British
  Telecommunications PLC v. IAC/InteraActive Corp., 813 F. App’x 584, 587 (Fed. Cir.
  2020) (tailoring information or content based on the characteristics of a user, including
  location data, is itself an abstract idea); see also Intellectual Ventures I LLC v. Capital One
  Bank (USA), 792 F.3d 1363, 1369 (noting that information tailoring based on consumer
  characteristics is a fundamental practice). And, of course, humans have long been able to
  complete the steps inherent in automobile transactions described by the Patents-in-Suit –
  inquiring about a specific automobile, negotiating prices or weighing competing offers,
  and selecting an offer and physically going to a car dealership to pick up the purchased
  automobile – without a computer. See Mortg. Grader, 811 F.3d at 1324.
         The specification confirms that claim 1 of the ’984 Patent is directed to an abstract
  idea rather than any patentable improvement in technology. At the outset, the specification
  makes clear that the problem the Patents-in-Suit are designed to address is not one in either
  data collection or storage, user interface construction, computer processing ability, or
  network functionality which has, until now, prevented efficient automobile transactions.
  Rather, the specification identifies the problem as one of imperfect information: consumers


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    For this same reason, Sidekick’s reliance on Judge Martinotti’s decision in Nasdaq, Inc. v. IEX
  Grp., Inc., Civil Action No. 18-3014-BRM-DEA, 2019 WL 102408 (D.N.J. Jan. 4, 2019), is
  misplaced. That case, which Judge Martinotti acknowledged was a “close question of eligibility,”
  involved claims directed to solving “bottleneck and other latency issues associated with
  transmission of large data sets” in the context of electronic securities trading. Id. at *6. Judge
  Martinotti found the claims at issue in Nasdaq were “directed as resolving an existing
  technological problem” that was specific to computer network functionality and were thus patent-
  eligible. Id. at *6-7. By contrast, there is nothing in the record of this case which indicates that
  representative claim 1 of the ’984 Patent is directed towards the resolution of any such specific
  technological problem.



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  and dealers in the physical world lack the full body of relevant, real-time data needed to
  make optimally efficient transactions. See ’984 Patent 1:17-51.
          Moreover, in describing how to implement the claimed improvement, the
  specification, like the claim itself, describes the new systems and methods in “purely
  functional terms” using generic computer components. In re TLI Commc’ns LLC Patent
  Litig., 823 F.3d 607, 612 (Fed. Cir. 2016). Indeed, the specification makes clear that the
  systems and methods claimed in the ’984 Patent “can be implemented using one or more
  computer programs or components” which “may be provided as a series of computer
  instructions on any conventional computer-readable medium, including RAM, ROM, flash
  memory, magnetic or optical disks, optical memory, or other storage media” that are
  “configured to be executed by a processor.” ’984 Patent 18:40-46. Further, the specification
  describes the various computer components needed to carry out the basic steps of the
  claimed systems and methods in broad, general terms. See, e.g., id. at 2:64-3:4 (noting that
  system may include variety of client devices with displays, including desktop computers,
  mobile phones, or tablet computers), 3:5-9 (stating that client and host devices may
  communicate over any suitable wide area network or local area network), 3:50-53
  (describing processor as “any suitable processor”), 3:63-65 (stating that interface circuit
  “may be implemented using any suitable interface standard, such as an Ethernet interface
  and/or a Universal Serial Bus interface”), 3:65-4:7 (noting variety of input devices that
  may be used to input data or commands, including a keyboard, mouse, touch screen, or
  voice recognition system, and output devices that may be used to receive information, such
  as displays, printers, speakers, or other output devices), 4:20-23 (stating that “one or more
  storage devices may be connected to the main unit via the interface circuit” including “a
  hard drive, CD drive, DVD drive, and/or other storage devices”), 4:30-45 (noting that
  network devices may include multiple servers which may include “any kind of data” and
  may “store and operate various applications relating to receiving, transmitting, processing,
  and storing” data, and that “various configurations of one or more servers may be used to
  support and maintain the system”), 4:63-65 (stating that “various options for managing
  data located within the computing device and/or in a server may be implemented”). These
  general descriptions of conventional computer and network components make clear that
  the components themselves are merely “conduits for the abstract idea” of collecting and
  using automobile market and user data to facilitate automobile transactions. See In re TLI
  Commc’ns Patent Litig., 823 F.3d at 612-13.
         Defendant makes a number of arguments against finding the claims of the Patents-
  in-Suit directed to an abstract idea, none of which is persuasive. First, the recited claim
  elements belie Defendant’s contention that the performance of automobile transactions is
  simply the result of the non-abstract claimed steps and processes described in the Patents-
  in-Suit rather than their focus. As the Court has already noted, the claimed steps and
  processes are no more than the computerized method of performing the basic and essential
  steps of an automobile transaction. The abstract concept of automobile transactions does
  not become any less abstract simply because the Patents-in-Suit use generic technology to
  conduct such transactions over an online platform rather than in person. See Capital One,



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  792 F.3d at 1370 (“Steps that do nothing more than spell out what it means to ‘apply it on
  a computer’ cannot confer patent-eligibility”); FairWarning, 839 F.3d at 1094
  (“FairWarning’s claims merely implement an old practice in a new environment.”).
         Further, the Court is not persuaded by Defendant’s argument that the Patents-in-
  Suit improve existing technology for at least two reasons. For one, in support of this
  contention, Defendant cites only conclusory statements in the specification that the Patents-
  in-Suit set forth a “new and innovative” method for providing automobile market
  information and facilitating automobile transactions, and that the “integration of various
  types of automobile market data . . . may provide a synergistic and optimal resource” for
  users rather than any specific technological improvements. Indeed, these statements
  support the Court’s conclusion that the claimed improvement is in the abstract idea itself
  through the use of generic technology rather than any improvement in the function of
  technology as such. See Customedia Techs., 951 F.3d at 1363. Claim 1 of the ’984 Patent
  may recite improvements in how automobile transactions are performed, but nothing in the
  claim suggests that it is an improvement in the technology used to perform those
  transactions itself. Move, 721 F. App’x at 956. Beyond that, however, even if the Court
  were to accept Defendant’s assertions, they describe only the sort of data synthesis and
  improved efficiency that courts have regularly found insufficient to render a claim
  nonabstract. See FairWarning, 839 F.3d at 1097 (“The mere combination of data sources,
  however, does not make the claims patent eligible.”); Capital One, 792 F.3d at 1370
  (“[M]erely adding computer functionality to increase the speed or efficiency of the process
  does not confer patent eligibility on an otherwise abstract idea.”).
          Finally, Defendant argues that the claim limitations in claim 1 of the ’984 Patent
  for, among other things, the use of real-time market data, geolocation information, optical
  character recognition, driving directions from consumers to dealers, or the precise nature
  of the interactions between various users ensure that the Patents-in-Suit do not preempt the
  entire field of performing automobile transactions and thus ought to be patent-eligible. “A
  narrow claim directed to an abstract idea, however, is not necessarily patent-eligible, for
  ‘[w]hile preemption may signal patent ineligible subject matter, the absence of complete
  preemption does not demonstrate patent eligibility.’” Symantec, 838 F.3d at 1320-21
  (quoting Ariosa Diagnostics, Inc. v. Sequenom, Inc., 788 F.3d 1371, 1379 (Fed. Cir. 2015));
  OIP Techs., 788 F.3d at 1362-63 (“And that the claims do not preempt all price
  optimization or may be limited to price optimization in the e-commerce setting do not make
  them any less abstract.”). The question, rather, becomes whether those additional features
  and limitations add the necessary “inventive concept” at step two of the Alice framework
  to take an otherwise abstract concept and place it in the realm of patent-eligible subject
  matter.
         The Court concludes that the Patents-in-Suit are directed to an abstract idea. As
  such, the Court must proceed to step two of the Alice framework.




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                2.     Alice Step Two
          At step two of the Alice framework, the Court must consider whether the claim
  elements, considered both individually and ‘as an ordered combination,’ include an
  “inventive concept” sufficient to transform an abstract idea into a patent-eligible
  application. Alice, 573 U.S. at 217. To confer patent-eligibility, this ‘inventive concept’
  must be “sufficient to ensure that the patent in practice amounts to significantly more than
  a patent upon the [ineligible concept] itself.” Alice, 573 U.S. at 217 (quoting Mayo
  Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S. 66, 72-73 (2012)). “Claim
  limitations that recite ‘conventional, routine and well understood applications in the art’
  are insufficient to ‘supply an inventive concept.’” BSG Tech, 899 F.3d at 1289 (quoting
  Ariosa Diagnostics, 788 F.3d at 1378).
          The Court finds that the elements of claim 1 of the ’984 Patent, considered
  individually and in combination, fail to recite a sufficiently inventive concept to confer
  patent eligibility. Sidekick’s recitation of the advantages and improvements provided by
  the patented systems and methods are unpersuasive. While Sidekick may be correct that
  the claimed systems and methods do indeed confer advantages in the realm of automobile
  transactions over the prior art, “provid[ing] a distinct advantage over alternatives is not the
  test for eligibility.” Smartflash LL v. Apple Inc., 680 F. App’x 977, 984 (Fed. Cir. 2017).
  Indeed, the Court “may assume that the techniques claimed are ‘[g]roundbreaking,
  innovative, or even brilliant,’ but that is not enough for eligibility.” SAP Am., 898 F.3d at
  1163 (quoting Ass’n for Molecular Pathology v. Myriad Genetics, Inc., 569 U.S. 576, 591
  (2013)). Instead, there must be an inventive concept recited in the claims themselves.
         On this point, as the Court has already noted, Sidekick relies almost entirely on
  conclusory statements made in the specification that the claimed systems and methods are
  “new and innovative” or offer “a synergistic and optimal resource” for users which fail to
  identify any such inventive concept. Some of the specific claim limitations highlighted by
  Sidekick are routine, well understood features which, absent some specific improved
  technological process in implementation that is not claimed or otherwise described in the
  Patents-in-Suit, do not render the claims patent eligible. See Move, 721 F.3d at 957 (finding
  map zoom feature failed to supply inventive concept where neither claim language nor
  specification explained how feature or its implementation was inventive or non-generic);
  see also, e.g., Content Extraction, 776 F.3d at 1349 (dependent claims reciting additional
  steps such as optical character recognition technology were insufficient to render claim
  patent eligible); Elec. Power Grp., 830 F.3d at 1355 (collection and display of real-time
  data not inventive concept). Defendant has not pointed to any language in the claims or the
  specification that suggests any unconventional or nonroutine implementation of these
  various features. Moreover, other elements, such as the limitation with respect to
  inventoryless bidding or inclusion of a manufacturer response are simply insignificant
  additional steps in the automobile transaction process that do not “meaningfully limit” the
  abstract idea or add to it an inventive concept. See OIP Techs., 788 F.3d at 1364; Alice,
  573 U.S. at 222.




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          Because claim 1 of the ’984 Patent does not recite any new process, technique, or
  method in performing any of the claimed features or limitations, the Court turns to consider
  whether the claim includes an inventive concept in the required computer implementation
  of its various steps. It does not. As the Court has already noted, it is clear that claim 1 of
  the ’984 Patent recites the use of only generic computer components performing their
  conventional and routine functions as a means of carrying out the claimed steps. Just as the
  use of generic computer components and functions is insufficient to alter the “abstract idea”
  analysis at step one, the use of such generic components and functions is unable to provide
  the “inventive concept” necessary to transform that abstract idea into a patent-eligible
  application at step two. Elec. Power Grp., 898 F.3d at 1170; see also Content Extraction,
  776 F.3d at 1348 (noting that attempt to limit application of abstract idea to particular
  technological environment does not add requisite inventive concept).
         Nor is there any inventive concept in the ordered combination of the elements of
  claim 1 of the ’984 Patent. Rather, the steps are ordered in an entirely conventional way
  familiar to every automobile purchaser: a consumer seeks information on an automobile or
  type of automobile with certain features from a manufacturer, the manufacturer confirms
  whether that automobile is available in the consumer’s area, dealers in the consumer’s area
  which sell the desired automobile submit offers to the consumer, and the consumer
  evaluates the competing offers, accepts the most favorable one, and goes to the dealership
  to pick up their purchased automobile when it is available. See Two-Way Media, 874 F.3d
  at 1341. These are simply the ordinary steps of many automobile transactions. Boom!
  Payments, Inc. v. Stripe, Inc., 839 F. App’x 528, 533 (Fed. Cir. 2021) (“[T]he order and
  timing of the claim elements are merely the necessary steps of executing payment escrow
  and so do not constitute an inventive concept.”). Implementing these steps through the use
  of a data storage system and a processing device that enables interactions between
  consumers, dealers, and manufacturers is “no more than the sort of ‘perfectly conventional’
  generic computer components employed in a customary manner” that is insufficient to
  transform an abstract idea into a patent-eligible invention. Audatex, 703 F. App’x at 990.
          Sidekick’s attempts to argue that the claims require anything other than routine,
  well-understood, or conventional computer components and functions are unavailing. First,
  while Sidekick is correct that, on a motion for judgment on the pleadings, the Court must
  accept its factual allegations as plead in its counterclaims as true, this does not apply to
  conclusory statements. As such, the Court is not required to accept as true Sidekick’s
  conclusory allegations in its counterclaims, repeated for each of the twelve Patents-in-Suit,
  that the written description for each such Patent describes “how the non-conventional and
  non-generic combination of claim limitations is patentably distinct from and improved
  upon what may have been considered conventional or generic in the art at the time of the
  invention.” Counterclaims ¶¶ 51, 65, 79, 93, 107, 121, 134, 147, 160, 170, 186, 199. Simply
  put, neither the allegations in the counterclaims nor the Patents-in-Suit themselves describe
  any sort of non-generic or not well-understood computer component, function, or
  combination thereof in the implementation of the claimed steps.




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         Sidekick also argues that claim construction is required as to the use of the term
  “processing device” in the claims before the question of eligibility can be determined, and,
  therefore, resolution of eligibility on a 12(c) motion in the absence of a developed factual
  record is inappropriate. The Court again disagrees. The claim itself states that the necessary
  processing device is used to execute instructions that utilize stored market data in enabling
  interactions between users through various interfaces. See ’984 Patent 19:20-20:3. In
  describing the processing device recited in the claim, the specification makes clear that the
  necessary processor “may be any suitable processor” which may execute a stored software
  program to interact with other necessary devices “in any suitable manner.” ’984 Patent
  3:50-57. There is nothing in either the claim or the specification that suggests the
  processing device is anything other than a generic processor used to perform a basic,
  routine, and well-understood function of conventional computers.
          Sidekick argues that, properly construed, the term “processing device” may refer to
  the “automobile market information processing system” described in the specification.
  However, Sidekick does not explain how this proposed construction would alter the
  eligibility analysis. See Simio, 983 F.3d at 1365. There is nothing in either the claim or the
  specification that suggests that the “automobile market information processing system” is
  a non-generic or unconventional use of technology. See SAP Am., 898 F.3d at 1170 (finding
  claimed use of parallel processing computing architecture generic where “neither the claim
  nor the specification call[ed] for any parallel processing architectures different from those
  available in existing systems”). Indeed, the opposite appears to be true. According to the
  specification, the system stores automobile market data in a database, provides that data to
  various users who interact with the system through their respective interfaces, facilitates
  interactions between users (i.e., processes communications between consumers,
  manufacturers, and dealers), and then stores and integrates user inputs (such as bids from
  dealers, completed transaction details, or other prior interactions with the system) to update
  the automobile market data in real time. These are ordinary data storage and processing
  functions of a computer unaccompanied by any description or explanation of a specific or
  unconventional development or implementation thereof. In other words, what Sidekick
  characterizes as hardware specifically programmed to perform the claimed steps is “purely
  functional and generic.” Alice, 573 US at 226. 5


  5
    On this point, Sidekick’s reliance on the out-of-district case eBuddy Techs. B.V. v. LinkedIn
  Corp., No. 20-1501-RGA-CJB, 2021 WL 7209517 (D. Del. Nov. 29, 2021), report and
  recommendation adopted, 2022 WL 733996 (D. Del. Mar. 11, 2022) is unpersuasive. There, in
  denying a motion to dismiss patent infringement claims on the basis of patent-ineligible subject
  matter, the court relied on specific, detailed, and plausible allegations in the patentee’s complaint
  demonstrating how and why the claimed invention was not conventional. Id. at *7-9. Here, by
  contrast, as the Court has noted, representative claim 1 of the ’984 Patent and its specification
  recite only generic computer components and functions, and Sidekick’s counterclaims merely
  reference, in conclusory fashion, how the written description of each Patent-in-Suit demonstrates
  the “non-conventional and non-generic combination of claim limitations” provided for therein.



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                                         *      *      *
          Accordingly, claim 1 of the ’984 Patent is directed to the abstract idea of collecting
  and using automobile market and user data to facilitate automobile transactions and fails
  to include any inventive concept that sufficiently transforms that abstract idea into a patent
  eligible application. Because the remaining claims of the ’984 Patent do not meaningfully
  limit this central abstract idea or otherwise provide an inventive concept with respect
  thereto, those claims too are similarly patent-ineligible. Finally, as the Court has already
  noted, the claims of the other Patents-in-Suit include immaterial variations on the central
  abstract idea that do not add supply any inventive concept and thus do not alter the
  eligibility analysis. As such, each of the claims of the twelve Patents-in-Suit is directed
  towards ineligible subject matter under § 101.
  IV.    CONCLUSION
      For the reasons set forth above, Plaintiffs’ Motion for judgment on the pleadings is
  GRANTED. An appropriate order follows.




                                                    /s/ William J. Martini
                                                    William J. Martini, U.S.D.J.


  Date: June 27, 2022




                                             Appx17
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                                                                                                            US009141984B2


c12)   United States Patent                                                           (10) Patent No.:                    US 9,141,984 B2
       Seergy et al.                                                                  (45) Date of Patent:                         *Sep.22,2015

(54)    AUTOMOBILE TRANSACTION                                                           6,868,388 Bl         3/2005   Millsap et al.
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(75) Inventors: Michael J. Seergy, Pine Brook, NJ (US);                                  7,636,574 B2        12/2009   Poosala
                Benjamin N. S. Brown, Pine Brook, NJ                                     8,160,929 Bl         4/2012   Park et al.
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(73) Assignee: Sidekick Technology LLC, Pine Brook,                                  2002/0099628 Al          7/2002   Takaoka et al.
               NJ (US)                                                               2002/0111877 Al          8/2002   Nelson

( *) Notice:          Subject to any disclaimer, the term ofthis                                               (Continued)
                      patent is extended or adjusted under 35                                           OTHER PUBLICATIONS
                      U.S.C. 154(b) by 491 day s.
                                                                                 International Search Report issued Sep. 21, 2012 corresponding to
                      This patent is subject to a terminal dis­                  Intl. Application No. PCT/US2012/045546.
                      claimer.                                                                                 (Continued)
(21) Appl. No.: 13/176,497
                                                                                Primary Examiner - Brandy A Zukanovich
(22) Filed:           Jul. 5, 2011                                              (74) Attorney, Agent, or Firm - K&L Gates LLP

(65)                    Prior Publication Data                                  (57)                           ABSTRACT
        US 2012/0109770 Al             May 3, 2012                              A sy stem, methods, and apparatus for performing automobile
                                                                                transactions are disclosed. In an example embodiment, auto­
(51) Int. Cl.                                                                   mobile market data representative ofcurrent automobile mar­
     G06Q30/00                       (2012.01)                                  ket characteristics is stored. The automobile market data may
     G06Q30/06                       (2012.01)                                  include pricing, inventory, and consumer interest information
(52) U.S. Cl.                                                                   received from manufacturers, dealers, and consumers. A con­
     CPC .................................. G06Q 30/0605 (2013.01)              sumer may provide a request for a manufacturer response
(58) Field of Classification Search                                             indicating whether a specific automobile can be provided.
     USPC ....................................... 705/26.1, 26.3, 27.1          Automobile market data may be provided to a manufacturer
     See application file for complete search history.                          based on the request and a manufacturer response provides a
                                                                                verification, confirmation, or offer indicating that the specific
(56)                    References Cited                                        automobile can be provided for the consumer. Bids to sell the
                                                                                specific automobile may be requested from dealers based on
                 U.S. PATENT DOCUMENTS                                          the manufacturer response. Dealer bids may be provided to
                                                                                the consumer with prices and a delivery options. The con­
       5,970,472 A      10/ 1999   Allsop et al.
       6,006,201 A      12/1999    Berent et al.                                sumer may select a bid which specifies a pickup location at a
       6,321,221 Bl     11/2001    Bieganski                                    first dealer.
       6,463,431 Bl     10/2002    Schmitt
       6,533,173 B2      3/2003    Benyak                                                           39 Claims, 7 Drawing Sheets




                                                   Consumer               Dealer             Manufacturer
                                                    Interface            Interface            Interface




                                                   User114                                    User114



                                                                 Appx873
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                                                               Appx874
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                        System no-                                                                                                               �
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                     Client Device
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Appx875
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              --                                                 Client                                                                        _."-0
                                                                 Device                                                                        "'""'
           fA
          User 114                                                                      Fig. 1                                                 �
                                                                                                                                               "'""'
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                                Case: 23-1362           Document: 30       Page: 63        Filed: 12/05/2023




                                                                      Computng Device
                                                        ,-214       � 102,104
                                       Keytx>ard, mouse,
                                       and/or other input
                                           device(s)
                                                                         220        Network
          Main Unit                                                                  device
                                      206
            Other PC
             circuits
                                                                                                                                        N
                                                                   106                                                                  0
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             Memory                         Interface                    :nternet a-id/or other
                                             circuits                         net:v.ork(s)
                                                                                              ,_/                                       rJJ
            Processor                                                                                                                   ('D
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                                                                                                                                        ('D
                                                                                                                            226         .....




Appx876
                                                                                                                                        N
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                                                                                                                                        -....J



                                112                       216                                          ------ J
                                           Printer(s)              Hard drive(s),                                   224
                      Display          speaker(s), and/or         CD(s), DVD(s),                          Databases, prO!Jams,
                                          other output              and/or other                       flies, configuration, index,
                                            devices               storage devices                          tags.�ccess, usage,
                                                                                                         statistical, security data

                                                                Fig. 2
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                    300�

                                                                               302
            Automobile Market Information Processing System
                                   0                                     12

           Database System                      Recommendation Engine

                              314                                      316
          Vehicle Identification                   Interface Generation Unit
           Number Processor




                    304                              306                        308


       Consumer                         Dealer                   Manufacturer
        Interface                      Interface                  Interface




       User 114                        User 114                    User 114




                                       Fig. 3


                                        Appx877
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                                       (    Start                       400
                                             •                     ;-
                                                                            ,402
      Automobile market data including at least pricing data and inventory data is
       stored in a database system (e.g., data from manufacturers, dealers, and     ◄
    consumers regarding pricing, lot inventory, production scheduling, and shipment

                                             •
                    scheduling is collected and stored in a database)
                                                                               ,404
     A request for a response of whether an automobile can be provided is received
    from a consumer (e.g., a car buyer fills i'l a request form on a website or takes a r--il"'
    picture of a VIN to receive a verification that a car can be produced or delivered)
                                             •
     Automobile market data is provided to a manufacturer based on the consumer
                                                                                ,406

     request (e.g., the car maker receives a realwtime report induding local car sales
    data, inventory data, car delivery data, and car build time data of the subject car)
                                             •
         A manufacturer response is provided to the consumer indicating that the
                                                                                ,408

     automobile can be provided for the consumer (e.g., the car maker provides a
    verification that e car can be produced, shipped, or is already in inventory based �


                                             +
        on current pricing data, car locations, and build times for the subject car)
                                                                                ,410
    A bid to sell the automobile to the consumer is requested from dealers based on
      the manufacturer response (e.g., several dealers provide bids based on the
    verification, current pricing data, dealer pickup locations, and potential add-ons)
                                             •                               ,412
    Dealer bids are provided to the consumer (e.g., several dealers provide bids, so �
    several different prices and delivery options may be available to the car buyer)
                                             •                                  ,414
    The consumer selects a bid including a delivery option which specifies a pickup
                                                                                      �
     location {e.g., the car buyer chooses tc pickup at a nearby dealer in five days)
                                             •                                    ,416
     The manufacturer is instructed to provide the automobile to a dealer according
    to the consumer bid selection (e.g., the car maker is instructed to re-route a car
    already in transit to the dealer pickup location for delivery in less than five days)
                                             +                                 ,418
    The consumer and dealer execute the sale of the automobile (e.g., the car buyer�
       e�signs a loan application and contract, and electronically transfers funds)
                                             +
                  Fig. 4A              ( Fig,48 )




                                            Appx878
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                                         Fig.4A               ;-400
                                                                                   420
    The manufacturer provides the dealer with the purchased automobile according
      to the consumer bid selection (e.g., the car maker re-routes a car en route to
    delivery at another dealer to the dealer pickup location selected by the car buyer
       or transports the car directly from              the

     The consumer picks up the purchased automobile according to the consumer
    selected delivery option at the dealer (e.g., the car buyer picks up the car at the
                 nearby dealer five days attar the car sale is executed)

                                       Fig. 4B




                                       Appx879
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                                                 ;-soo
                             '     502                                               504
           Interface Data                                      Administrative Data


                     G                                     §§
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                  '.                                                    '
                  1f                            ,506                    ,,
                                Automobile Market Data
                            ,sos                                      ,s10


              Executed Sales Data                           Consumer Data


                            ,512                                       ,-514


                  Dealer Data                              Manufacturer Data


                            ,516                                       ,-518


                Statistical Data                            Historical Data




                                              Fig. 5




                                              Appx880
                            Case: 23-1362         Document: 30                        Page: 68        Filed: 12/05/2023




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                                  604\!                                    1                                       ,, __ "_r 610-
                                                     System receives
                                                                                                              ____Manufacturer
                                   Consumer                                       Request and\
                                                       request and                                          determines that an
                                    Request                                       aub market
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                                                         prepares                                           autorrobile can be
                                                                                   information / ·
                                        I           automobile market                                          pro•,ided anc
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                                        I           data based on the                                            p·epares
                                        I                 request                                               verification
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                            618         I                                                          ,612
                                                   ... System          ----·c 614
                                                       --------· ·-· · receives ·--·                          consumer and           N
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                                        : 1616
          Consumer receives                                                                 Veriftcation          dealers            ....
                                   Verification       and processes                                                                  Ul
          verification that the                                                                  .
                                                                                                 l
                                                       manufacturer
          automobile can be
                                                       response with
                provided                j             vttr iliccdiun 1:111d
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                                        I                                                        I                  ,306
                                        I              prepares and                              I                                   rJJ
                                        I                                                 620,:                                      ('D
                                        I                  provides                                                           622
                                                                                                                                     =­
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                                        I             information for                                                                ....




Appx881
                                        j                                                  Bid request      Dealers receive bid      -....J
                                        I             consumer and                                             reQuest and
               Fig. 6                   I                                                                                            0
                                        I                    dealers                                         detemine prices         ....
                                        I                                                                                            -....J
                                        ! ,628                                                                 and delivery
                                                                                   626               ,624
                                   Dealer bids                                                                options for the
                                                     System receives
                     ". ..L-630
                           .         and auto                                               Dealer bid        autornobile arxl
                                                      and processes
          Consumer receives           market                                                     l             prepare and
                                                     dealer bids and                             l
           dealer bids based       information                                                   l          provide bids for the
           on the verification         I
                                                    prepares bids and                            I              consumer
           and selects a bid           I            automobile market                            I
                                       I                                                         I
                                                    data for consumer                            I
          including a delivery                                                                   I
                                632\;
            option based on                                                r--634 636,:                                      638
          automobile market        Selection         System receives                                        Dealer receives bid
               information                          and processes bid                       S9lection         selection anc
                                                        selection                                           coordnates a sale
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                                                     US 9,141,984 B2
                               1                                                                   2
          AUTOMOBILE TRANSACTION                                      for the consumer. Bids to sell the specific automobile may be
     FACILITATION USING A MANUFACTURER                                requested from dealers based on the manufacturer response.
                  RESPONSE                                            Dealer bids may be provided to the consumer with prices and
                                                                      a delivery options. The consumer may select a bid which
            CROSS REFERENCE TO RELATED                             5 specifies a pickup location at a particular dealer.
                         APPLICATIONS                                    Additional features and advantages of the disclosed
                                                                      method and apparatus are described in, and will be apparent
   This application is related to the co-pending commonly­            from, the following Detailed Description and the Figures.
owned patent application filed on Jul. 5, 2011, entitled
"AUTOMOBILE              TR ANSACTION           FACILITATION 10                BRIEF DESCRIPTION OF THE FIGURES
BASED ON CUSTOMER SELECTION OF A SPECIFIC
AUTOMOBILE," the entire contents of which is incorpo­                    FIG. 1 is a high level block diagram of an example network
rated by reference herein.                                            communicating system, according to an example embodi­
                                                                      ment of the present invention.
                        BACKGROUND                                 15    FIG. 2 is a detailed block diagram showing an example of
                                                                      a computing device, according to an example embodiment of
   In the automobile industry, consumers typically purchase           the present invention.
automobiles from dealers or dealerships. Dealers often pur­              FIG. 3 is a block diagram showing an example automobile
chase new automobiles from several manufacturers, to sell to          transaction network structure, according to an example
consumers. Consumers typically negotiate a lower price than 20 embodiment of the present invention.
the manufacturer suggested retail price typically referred to            FIG. 4 includes a flowchart illustrating an example process
as the "sticker price" and/or the price the dealer initially          for facilitating an automobile transaction, according to an
offers. In many cases, the negotiation process for an automo­         example embodiment of the present invention.
bile may include a large degree of uncertainty for the con­              FIG. 5 is a block diagram showing an example data archi-
sumer. Generally, the negotiation process is a zero sum pro­ 25 tecture, according to an example embodiment of the present
cess, and because the consumer and the dealer are each trying         invention.
to get a better deal, there is typically some lack of trust during       FIG. 6 is flow diagram illustrating an example process for
the negotiation. Accordingly, both dealers and consumers              facilitating an automobile transaction, according to an
often base the negotiations on established market prices.             example embodiment of the present invention.
However, market prices can fluctuate rapidly depending a 30
variety of factors. For example, consumer demand may be                        DETAILED DESCRIPTION OF EXAMPLE
affected by economic factors, such as changes in gasoline                                    EMBODIMENTS
prices, unemployment rates, government sponsored tax
rebates for automobile purchases, etc.                                   The present disclosure relates in general to a system for
   In many cases, a consumer may have concerns that a dealer 35 facilitating automobile transactions and, in particular, to auto­
may not offer a fair and competitive price. Various products          mobile transaction facilitation using a manufacturer
and services have become available that allow consumers to            response. Briefly, in an example embodiment, a system is
perform research on market prices for automobiles. Similarly,         provided which allows a consumer to request a verification
dealers negotiating an automobile sale generally do not know          that a specific car can be obtained. For example, a consumer
the maximum price a consumer will be willing to pay for a 40 may use a mobile device to take a picture of a vehicle identi­
particular automobile, or how long it will take to sell an            fication number and using optical character recognition,
automobile in inventory for a given price. Accordingly, deal-         request real-time information on that automobile. For
ers also use products and services for determining and/or             example, a manufacturer can provide a verification to the
tracking market prices. Further, automobile manufacturers             consumer and dealers that the automobile can be provided,
may also have an interest in the market prices for automo- 45 along with specific logistics for delivery. Dealers may provide
biles, because the market activity captured as automobile             bids based on the consumer request and the manufacturer
market information may allow the manufacturer to, for                 verification, including intrabrand bids and interbrand bids. A
example, more profitably determine which automobiles to               consumer may select a dealer bid to purchase or lease an
manufacture, what prices the manufacture should offer to              automobile based on the prices and delivery options avail­
dealers, and whether manufacturer incentives should be 50 able. Also, the presently disclosed system may advanta­
offered on existing dealer automobile inventory.                      geously allow for inventoryless bidding by dealers. For
                                                                      example, a dealer does not need to have an automobile in its
                           SUMM ARY                                   inventory (e.g., on the dealer lot), but can make a bid to sell
                                                                      that automobile anyways, and then have that automobile pro-
   The present disclosure provides a new and innovative sys­ 55 duced by a manufacturer or transported to the dealer lot. In a
tem, methods and apparatus for providing automobile market            non-limiting example embodiment, certain features disclosed
information and performing automobile transactions. In an             in the present patent application may be commercially
example embodiment, automobile market data representative             embodied in products and services offered by Sidekick Tech-
of recent automobile market characteristics is stored. The            nology LLC, the assignee of the present application.
automobile market data may include pricing, inventory, and 60            The present system may be readily realized in a network
consumer interest information received from manufacturers,            communications system. A high level block diagram of an
dealers, and consumers. A consumer may provide a request              example network communications system 100 is illustrated
for a manufacturer response indicating whether a specific             in FIG. 1. The illustrated system 100 includes one or more
automobile can be provided. Automobile market data may be             client devices 102, and one or more host devices 104. The
provided to a manufacturer based on the request and a manu­ 65 system 100 may include a variety of client devices 102, such
facturer response may provide a verification, confirmation, or        as desktop computers and the like, which typically include a
offer indicating that the specific automobile can be provided         display 112, which is a user display for providing information

                                                           Appx882
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                              3                                                                   4
to users 114, and various interface elements as will be dis­       example, the input device 214 may be a keyboard, mouse,
cussed in further detail below. A client device 102 may be a       touch screen, track pad, track ball, isopoint, image sensor,
mobile device 103, which may be a cellular phone, a personal       character recognition, barcode scanner, and/or a voice recog-
digital assistant, a laptop computer, a tablet computer, etc.      nition system.
The client devices 102 may communicate with the host device 5          One or more displays 112, printers, speakers, and/or other
104 via a connection to one or more communications chan­           output devices 216 may also be connected to the main unit
nels 106 such as the Internet or some other data network,          202 via the interface circuit 212. The display 112 may be a
including, but not limited to, any suitable wide area network      cathode ray tube (CRTs), a liquid crystal display (LCD), or
or local area network. It should be appreciated that any of the    any other type of display. The display 112 generates visual
devices described herein may be directly connected to each 10 displays generated during operation of the computing device
other instead of over a network. Typically, one or more servers    102, 104. For example, the display 112 may provide a user
108 may be part of the network communications system 100,          interface, which will be described in further detail below, and
and may communicate with host servers 104 and client               may display one or more web pages received from a comput­
devices 102.                                                       ing device 102, 104. A user interface may include prompts for
   One host device 104 may interact with a large number of 15 human input from a user 114 including links, buttons, tabs,
users 114 at a plurality of different client devices 102.          checkboxes, thumbnails, text fields, drop down boxes, etc.,
Accordingly, each host device 104 is typically a high end          and may provide various outputs in response to the user
computer with a large storage capacity, one or more fast           inputs, such as text, still images, videos, audio, and anima­
microprocessors, and one or more high speed network con­           tions.
nections. Conversely, relative to a typical host device 104, 20        One or more storage devices 218 may also be connected to
each client device 102 typically includes less storage capac­      the main unit 202 via the interface circuit 212. For example,
ity, a single microprocessor, and a single network connection.     a hard drive, CD drive, DVD drive, and/or other storage
It should be appreciated that a user 114 as described herein       devices may be connected to the main unit 202. The storage
may include any person or entity which uses the presently          devices 218 may store any type of data, such as pricing data,
disclosed system and may include a wide variety of parties. 25 transaction data, operations data, inventory data, commission
For example, as will be discussed in further detail below,         data, manufacturing data, image data, video data, audio data,
users 114 of the presently disclosed system may include a          tagging data, historical access or usage data, statistical data,
consumer, a dealer, and/or a manufacturer.                         security data, etc., which may be used by the computing
   Typically, host devices 104 and servers 108 store one or        device 102, 104.
more of a plurality of files, programs, databases, and/or web 30       The computing device 102, 104 may also exchange data
pages in one or more memories for use by the client devices        with other network devices 220 via a connection to the net­
102, and/or other host devices 104 or servers 108. A host          work 106. Network devices 220 may include one or more
device 104 or server 108 may be configured according to its        servers 226, which may be used to store certain types of data,
particular operating system, applications, memory, hardware,       and particularly large volumes of data which may be stored in
etc., and may provide various options for managing the 35 one or more data repository 222. A server 226 may include
execution of the programs and applications, as well as various     any kind of data 224 including databases, programs, files,
administrative tasks. A host device 104 or server may interact     libraries, pricing data, transaction data, operations data,
via one or more networks with one or more other host devices       inventory data, commission data, manufacturing data, con­
104 or servers 108, which may be operated independently.           fi guration data, index or tagging data, historical access or
For example, host devices 104 and servers 108 operated by a 40 usage data, statistical data, security data, etc. A server 226
separate and distinct entities may interact together according     may store and operate various applications relating to receiv-
to some agreed upon protocol.                                      ing, transmitting, processing, and storing the large volumes of
   A detailed block diagram of the electrical systems of an        data. It should be appreciated that various configurations of
example computing device (e.g., a client device 102, and a         one or more servers 226 may be used to support and maintain
host device 104) is illustrated in FIG. 2. In this example, the 45 the system 100. For example, servers 226 may be operated by
computing device 102, 104 includes a main unit 202 which           various different entities, including automobile manufactur-
preferably includes one or more processors 204 electrically        ers, brokerage services, automobile information services, etc.
coupled by an address/data bus 206 to one or more memory           Also, certain data may be stored in a client device 102 which
devices 208, other computer circuitry 210, and one or more         is also stored on the server 226, either temporarily or perma­
interface circuits 212. The processor 204 may be any suitable 50 nently, for example in memory 208 or storage device 218. The
processor, such as a microprocessor from the INTEL PEN­            network connection may be any type of network connection,
TIUM® family of microprocessors. The memory 208 pref­              such as an Ethernet connection, digital subscriber line (DSL),
erably includes volatile memory and non-volatile memory.           telephone line, coaxial cable, wireless connection, etc.
Preferably, the memory 208 stores a software program that              Access to a computing device 102, 104 can be controlled
interacts with the other devices in the system 100 as described 55 by appropriate security software or security measures. An
below. This program may be executed by the processor 204 in        individual users' 114 access can be defined by the computing
any suitable manner. In an example embodiment, memory              device 102, 104 and limited to certain data and/or actions.
208 may be part of a "cloud" such that cloud computing may         Accordingly, users 114 of the system 100 may be required to
be utilized by a computing devices 102, 104. The memory            register with one or more computing devices 102, 104. For
208 may also store digital data indicative of documents, files, 60 example, registered users 114 may be able to request or
programs, web pages, etc. retrieved from a computing device        manipulate data, such as submitting requests for pricing
102, 104 and/or loaded via an input device 214.                    information or providing an offer or a bid.
   The interface circuit 212 may be implemented using any              As noted previously, various options for managing data
suitable interface standard, such as an Ethernet interface and/    located within the computing device 102, 104 and/or in a
or a Universal Serial Bus (USB) interface. One or more input 65 server 226 may be implemented. A management system may
devices 214 may be connected to the interface circuit 212 for      manage security of data and accomplish various tasks such as
entering data and commands into the main unit 202. For             facilitating a data backup process. A management system

                                                           Appx883
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                              5                                                                    6
may be implemented in a client 102, a host device 104, and a        mobile market information processing system 302 may inte­
server 226. The management system may update, store, and            grate data received from consumer interface 304, dealer inter­
back up data locally and/or remotely. A management system           face 306, and manufacturer interface 308 to provide current
may remotely store data using any suitable method of data           and accurate information relating to the automobile market.
transmission, such as via the Internet and/or other networks 5         It should be appreciated that the consumer interface 304
106.                                                                may be specific to one particular manufacturer or may pro­
   FIG. 3 is a block diagram showing an example automobile          vide information for multiple different manufacturers. For
transaction network structure 300 which includes an automo­         example, a consumer interface 304 may be a website with
bile market information processing system 302, a consumer           information on many manufacturers, and further, the con-
interface 304, a dealer interface 306, and a manufacturer 10 sumer interface 304 may access or link to the manufacturer
interface 308. The example automobile market information            specific websites (e.g., Ford). Also, for example, a consumer
processing system 302 may be implemented on one or more             interface 304 may be implemented as an automobile manu­
host devices 104 accessing one or more servers 108, 226. In         facturer's website. Typically, a manufacturer's website may
an example embodiment, the automobile market information            provide consumers with a catalog like feature that provides
processing system 302 includes a database system 310, a 15 information on different automobile models with any avail­
recommendation engine 312, a vehicle identification number          able options or features. For example, a manufacturer website
processor 314, and an interface generation unit 316. A user         may allow a consumer to select options that are desired to
114 may be a consumer, a dealer, or a manufacturer that             "build" a particular automobile, and may provide price com­
interacts with the consumer interface 304, dealer interface         parisons using suggested retail prices, which may consumers
306, or manufacturer interface 308, respectively. A database 20 use for initial research into what pricing the dealer may offer
system 310 may include a wide variety of automobile market          for a particular automobile with a particular feature set. Also,
data. A recommendation engine 312 may provide recommen­             typically, the consumer may enter information, including, for
dations for consumers, dealers, and manufacturers. A vehicle        example, name, an address or zip code, and telephone num­
identification number processor 314 may be used for making          ber. This information may be passed on from the manufac-
requests regarding specific automobiles and automobiles 25 turer to a nearby dealer and/or nearby dealer information may
with specific sets of features. For example, a vehicle identi­      be provided to the consumer (e.g., the dealer in or nearest to
fication number processor 314 may determine a specific set of       the consumer's entered zip code). Accordingly, the dealer
features that a specific car has based on a picture of that         may contact the consumer, or the consumer may inquire with
specific car's vehicle identification number. Interface genera­     the dealer, regarding the specific automobiles available on
tion unit 316 may provide, for example, HTML files which 30 that dealer's lot and particular pricing being offered, etc. In
are used at the consumer interface 304, dealer interface 306,       many cases, consumers may not inquire with dealers that the
and manufacturer interface 308 interface to provide informa­        manufacturer may recommend, and similarly, dealers may
tion to the users 114. It should be appreciated that he the         not diligently follow up with consumers that have an interest
consumer interface 304, dealer interface 306, and manufac­          in purchasing an automobile. Further, it should be appreciated
turer interface 308 may be considered to be part of the auto­ 35 that the information provided via a consumer interface 304
mobile market information processing system 302, however,           and/or a manufacturer website may be very useful to consum­
for discussion purposes, the consumer interface 304, dealer         ers. For example, in the past, dealers often provided brochures
interface 306, and manufacturer interface 308 may be                with all the information on a manufacturer's available car
referred to as separate from the automobile market informa­         models, including all the features and options information.
tion processing system 302.                                      40 However, dealers typically do not provide comprehensive
   For example, a user 114 may interact with a consumer             information brochures, which may be relatively expensive to
interface 304 to research automobiles the user 114 is inter­        produce, and rather, that information is typically located on a
ested in buying. For example, a consumer may be looking for         manufacturer website and/or a consumer interface 304.
a four door sedan with specific features, including a global           Accordingly, the consumer interface 304 may provide a
positioning system (GPS), a sunroof, tinted windows, rated 45 wide range of information, for example, based on any
for at least thirty miles per gallon, four wheel drive, etc. The    searches or queries performed by a user 114. In an example
consumer may interact with the consumer interface 304 by            embodiment, based on a user search or request for a response,
inputting required and/or desired features, monthly budget or       the consumer interface 304 will display a quality index or
full price, etc. The consumer interface 304 may provide a           value index based on normalized calculations for an automo-
wide variety of features and specifications which the con­ 50 bile. The recommendation engine 312 may provide recom­
sumer may choose from in providing a request. Based on the          mendations to a consumer based on the current automobile
information put into the consumer interface 304 from the            market data stored in the automobile market information
consumer, the consumer interface 304 may provide one or             processing system 302. For example, metrics on gas mileage,
more reports or offers to the consumer. As will be discussed in     emissions, operating and maintenance costs, safety ratings,
further detail below, the information provided by the con- 55 etc. may be benchmarked against comparable automobiles of
sumer interface 304 may include current market prices for           the same and different manufacturers. Similar purchase
automobiles, including information relating to additional fea­      options to a specific search may also be provided, based on
tures, and may include information on specific automobiles,         feature matching, price range, consumer popularity, etc.
for example, which may be en route to a dealer near the             Information including price ranges, including MSRP, invoice
consumer's present location. The automobile market infor- 60 prices, inventory levels, the user's 114 credit ratings (e.g.,
mation processing system 302 may process data received by           FICO score), may be provided which may include monthly
the consumer interface 304, as well as the dealer interface 306     payment estimates or projections. For example, a financing
and/or the manufacturer interface 308, to respond to a request      calculator may help a user 114 determine what financing rate
from a consumer. For example, data from database system             is appropriate. It should be appreciated that dealers may mis­
310 may be queried for use in a report, or a recommendation 65 lead consumers into believing that a higher financing rate will
may be provided by recommendation engine 312 according              be required to secure a loan. Further, for example, a lease vs.
to the consumer request and current market data. The auto-          buy calculator may be provided which may use current mar-

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ket data including prices, interest rates, incentives, estimated   number associated with the particular consumer request may
mileage per year, etc. for providing an analysis for a particular  be provided for the consumer. Also, a recommendation may
consumer regarding purchasing or leasing. Also, the con­           be provided from the recommendation engine 312 to the
sumer interface 304 may provide a purchase checklist, for          manufacturer in relation to automobile pricing, responding to
example, often steps to buying a car. A qualitative checklist 5 a specific request, manufacturer incentives, inventory man­
may allow a user to ask the right questions and get the right      agement, production schedules, shipping schedules, etc. It
answers from a dealer. Additional tips may be provided, such       should be appreciated that a manufacturer may be referred to
as a list ofproducts or services dealers may attempt to sell to    as an OEM or original equipment manufacturer. The manu­
a consumer with an analysis ofthe value ofthese products or        facturer interface 308 may provide a manufacturer with a
services and a recommendation to accept or decline these 10 real-time lens into the automobile market which may allow
dealer offers. Further, beyond analysis relating to automo­        the manufacturer to adjust production schedules, pricing
biles, additional analysis or reports may be provided, for         plans, marketing activities, etc., which may provide a signifi­
example, relating to dealer reviews, other supplemental prod­      cant advantage for manufacturers.
ucts, financial entities that may provide financing, etc. For         Accordingly, information may be provided to the automo-
example, dealer reviews may provide a consumer with infor­ 15 bile market information processing system 302 from consum­
mation the consumer may use in addition to automobile pric­        ers, dealers, and manufacturers with a very high degree of
ing and delivery options. Moreover, the consumer interface         granularity, as every transaction that occurs and even every
304 may provide a wide variety of useful information to a          request or search may be stored and used by the automobile
consumer, for at home research and preparation, and/or in a        market information processing system 302. This allows the
dealer location while shopping as a negotiating tool that may 20 automobile market information processing system 302 to use
provide confirmation on pricing, useful tips, and the like.        the most current automobile market data to provide informa­
   In an example embodiment, a dealer interface 306 may            tion to consumers, dealers, and manufacturers. It should be
provide a user 114, such as a dealer employee, information         appreciated that market prices can change relatively quickly,
relating to the current automobile market. The dealer inter­       particularly when major events drive consumer behavior or
face 306 allows a dealer to interact with automobile market 25 manufacturer production, such as natural disasters. Accord­
information processing system 302 to provide the dealer with       ingly, reports and recommendations provided by the automo­
a wide variety ofinformation, including, for example, current      bile market information processing system 302 may be highly
market pricing. Other automobile market information a              accurate, reliable, and sensitive to market changes.
dealer may receive on a dealer interface 306 includes infor­          It should be appreciated that certain functions described as
mation relating to lot inventory, turnover rates, automobile 30 performed, for example, at automobile market information
transportation and/or shipping costs, incentives, and various      processing system 302, may instead be performed locally at
ratings, such as ratings relating to quality, safety, insurance, a consumer interface 304, dealer interface 306, and manufac­
consumer credit score, dealer ratings, residual or resale val­     turer interface 308, or vice versa. Further, in certain cases,
ues, etc. A dealer may input information into dealer interface     tasks may be performed using consumer interface 304, dealer
306 relating to sales data, including current pricing offered, 35 interface 306, and manufacturer interface 308 or, for
special sales offers, actual transaction data, inventory data,     example, performed in person, such as a consumer signing
etc. In an example embodiment, the dealer may provide infor­       documents at a dealer location, or a dealer communicating
mation through dealer interface 306 which will be used by          with a manufacturer using a telephone. It should be appreci­
automobile market information processing system 302 to             ated that the consumer interface 304, dealer interface 306, and
prepare reports or offers to consumers and/or manufacturers. 40 manufacturer interface 308 may be implemented, for
It should be appreciated that a dealer is typically a franchise    example, in a web browser using an HTML file received from
entity, while a distribution location may not be a franchise       the automobile market information processing system 302. In
entity. For brevity, throughout this specification, the term       an example embodiment, the consumer interface 304, dealer
dealer may be used to describe both franchise entity dealers       interface 306, and manufacturer interface 308 may be located
and non-franchise entity distribution location. Accordingly, 45 on a website, and may further be implemented as a secure
as used in this disclosure, the term dealer does not indicate      website. Also, consumer interface 304, dealer interface 306,
whether an entity is a franchise entity. Moreover, a franchise     and manufacturer interface 308 may require a local applica­
dealer or a non-franchise distribution location may utilize a      tion, for example, which a manufacturer may pay for to have
dealer interface 306 as described herein.                          access to, for example, information from the automobile mar-
   In an example embodiment, a manufacturer interface 308 50 ket information processing system 302 such as requests from
may provide a user 114, such as a manufacturer employee,           consumers.
information relating to the current automobile market,                FIG. 4 is a flowchart ofan example process 400 for facili­
including consumer requests. For example, an manufacturer          tating an automobile transaction. Although the process 400 is
interface 308 may provide a manufacturer a request received        described with reference to the flowchart illustrated in FIG. 4,
from a consumer interface 304. Additionally, the manufac- 55 it will be appreciated that many other methods ofperforming
turer interface 308 may provide information such as a report       the acts associated with the process 400 may be used. For
that allows the manufacturer to provide a response to the          example, the order of many of the blocks may be changed,
requesting consumer. A report may include information from         certain blocks may be combined with other blocks, and many
database system 310 relating to current market pricing, recent     ofthe blocks described are optional.
sales figures and trends, current manufacturer incentives, cur- 60    The example process 400 for facilitating an automobile
rent inventory, including dealer inventory, inventory in tran-     transaction may allow users 114, including manufacturers
sit, and/or build times or lead times for a desired automobile,    and consumers, as well as dealers, to efficiently sell and
etc. The manufacturer may use this information to provide a        purchase automobiles, respectively. The example process 400
response to a consumer request. The manufacturer may pro­          may begin with automobile market data including at least
vide the manufacturer interface 308 with information to pro- 65 pricing data and inventory data stored in a database system
vide a confirmation, a verification, or an offer to a consumer     (block 402). For example, automobile market data from
via consumer interface 304. For example, a confirmation            manufacturers, dealers, and consumers regarding pricing, lot

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inventory, production scheduling, and shipment scheduling is      parked in the street as the buyer walks down the street. Any
collected and stored in a database. In an example embodi­         request or query communicated from the consumer interface
ment, a wide variety ofdata is stored in a database system 310.   304 may be stored, for example, in database system 310,
Automobile market data may include various relevant ratings,      thereby updating the automobile market information process-
reports, awards, or other information, including quality infor­ 5 ing system 302 with current automobile market data.
mation, safety information, insurance information, consumer          The example process 400 may continue with providing
credit information, dealer rating information, incentive infor­   automobile market data to a manufacturer based on the con­
mation, residual value information, and/or any other data         sumer request (block 406). For example, the car manufacturer
which may be relevant to consumers. For example, ratings          receives a real-time report including local car sales data,
data may include information from the National Highway 10 inventory data, car delivery data, and car build time data ofthe
Traffic Safety Administration (NHTSA), the Environmental          consumer's requested car. In an example embodiment, a
Protection Agency (EPA), and/or the Insurance Institute for       report may include quality information, safety information,
Highway Safety (IIHS). The data may include information           insurance information, consumer credit information (e.g.,
from a consumer interface 304, such as data in consumer           buyer FICO score), dealer rating information, incentive infor­
searches or requests, information from a dealer interface 306, 15 mation, residual value information, and/or any other data
such as currently offered dealer pricing, transaction data for    which may be relevant to consumers. The report may be
finalized sales, current inventory data, shipping costs, and      provided through manufacturer interface 308 and include the
information from a manufacturer interface 308, such as cur­       consumer requirements and preferences. The request and/or
rent manufacturer prices and suggested pricing, manufacturer      the report may be provided in real-time and may provide
incentives, and current inventory including finished inventory 20 real-time data. Data reported based on a real-time updates in
on hand, production scheduling, shipment scheduling, inven­       the automobile market information processing system 302
tory in transit, and manufacturing lead times. The automobile     may provide significant advantages, for example, when pric­
market data may be comprised solely of information received       ing conditions may change quickly due to unforeseen market
from the consumer interface 304, dealer interface 306, and        conditions. The recommendation engine 312 may provide
manufacturer interface 308, or may include additional infor- 25 recommendations to a manufacturer based on the current
mation received from other sources. It should be appreciated      automobile market data. For example, a report may indicate
that various methods of storing the automobile market data        various estimated sales probabilities for different prices that a
may be employed according to the system requirements. For         dealer may offer or bid, which can be very useful information
example, database system 310 may be organized according to        for a manufacturer. In an example embodiment, a probability
different manufacturers, automobile make and model, differ- 30 for a manufacturer or dealer to sell a certain lot ofautomobiles
ent information categories (e.g., suggested pricing, market       within a time frame may be provided. Such information may
prices, production, shipping, lot inventory), etc., and may       be illustrated in various ways, such as a bell curve graph or a
consist of one or more databases on one or more servers 108,      chart. Further, the recommendation engine may provide sug­
226 which may be remotely located from each other and/or a        gestions regarding manufacturer incentives or other factors
host device 104 of the automobile market information pro- 35 which affect the automobile market. Manufacturers may use
cessing system 302. As will be discussed further below, the       such information in making important decisions, such as
automobile market data may be continually updated as new          setting pricing, setting or modifying production schedules,
data is provided to the automobile market information pro­        marketing directives, future product features and focus, and
cessing system 302.                                               the like. Also, in an example embodiment, the manufacturer
   The example process 400 continues with a consumer pro- 40 interface 308 may provide information that is limited to cars
viding a request to a manufacturer for a response of whether      which meet the consumer request requirements. The manu-
an automobile can be provided (block 404). For example, a         facturer may customize the manufacturer interface 308 to
car buyer fills in a request form on a website to receive a       provide information in a pre-specified manner to suit the
verification that a car can be produced or delivered. In this     manufacturers needs.
example embodiment, the buyer's request may be transmitted 45        A manufacturer response is provided to the consumer indi­
from consumer interface 304 via the internet to the automo­       cating that the automobile can be provided for the consumer
bile market information processing system 302. In another         (block 408). For example, the car maker provides a verifica­
example embodiment, a car buyer may be located at a dealer        tion that a car can be produced, shipped, or is already in
location and take a picture of a vehicle identification number    inventory based on current pricing data, car locations, and
(VIN) on a car that the buyer would like to receive informa- 50 build times for the subject car. The manufacturer interface
tion for. For example, using an application stored on a mobile    308 may be used to communicate a verification, or a confir-
device 103, the buyer may take a picture of the VIN on a car.     mation or offer to a buyer. For example, a verification may
The buyer may want information on that specific car or on         state that a particular car with specific features may be pro­
other comparable cars with the same or similar features and/      duced within forty-five days if the buyer purchases that car
or options. The picture of the VIN may be processed using 55 and may provide a confirmation number associated with the
optical character recognition, which allows the automobile        verification. In another example, a particular car currently
market information processing system 302 to determine the         being shipped to New York may be re-routed to Illinois. The
make and model of the car, along with various other charac­       automobile market data may include, for example, shipping
teristics of the car. It should be appreciated that the VIN may   costs that the manufacturer may use for determining if an
include human readable characters, a bar code, or any other 60 automobile should be re-routed. An offer to produce or ship a
graphical or machine readable information which acts as a         particular car to a dealer location near a consumer may be
vehicle identification number. Accordingly, the buyer may         authorized through the manufacturer interface 308. In an
perform research, for example, while at home or while shop­       example embodiment, the automobile market information
ping at a dealer location. Further, for example, the buyer may    processing system 302 may be pre-authorized by a manufac­
take a picture of a VIN anywhere, including at automobile 65 turer to provide a confirmation ofspecific model with specific
trade shows, mall displays, or anywhere new cars or cars for      feature sets. A manufacturer may determine whether it is
sale are displayed. The buyer may even take a picture of a car    profitable to produce a car from scratch based on the automo-

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bile market data such as current market pricing, current inven­     example, a price of$26,000 to pick up the car at an out of state
tory levels, and the like. Accordingly, a manufacturer              dealership the next day, a price of $26,000 to pick up the car
response may be adjusted by current automobile market con­          at a local dealer in two months, or a price of $26,500 to pick
ditions. In an example embodiment, a manufacturer response          up the car at a local dealer in five days. For example, the costs
may not require the use of manufacturer interface 308, for 5 of re-routing a car already in shipment may be factored into
example, a manufacturer may otherwise provide a consumer            dealer bids. Inventoryless bidding may be highly beneficial
with a verification, which may be provided by the consumer          when dealers that do not have a requested automobile in
for use in the automobile market information processing sys­        inventory can still profitably provide a bid. Further, for
tem 302. Any verification, confirmation, offer, and/or              example, cars that are not exactly what the buyer requested
response communicated from a manufacturer interface 308 10 may also be offered to the buyer. For example, the buyer may
may be stored, for example, in database system 310, to further      request a four wheel drive car, but if a two wheel drive car that
update the automobile market information processing system          meets all the other buyer criteria is immediately available at a
302 with current automobile market data.                            nearby dealer, the dealer may provide an offer to the buyer for
   Then, a bid to sell the automobile to the consumer is            this car, possibly at a si gnificantly lower price, such as $23,
requested from dealers based on the manufacturer response 15 000 instead of$26,000 for a four wheel drive car as requested.
(block 410). For example, several dealers provide bids based        Further, for example, dealers may use information such as
on the verification, current pricing data, dealer pickup loca­      ratings data to optimize their bids. For example, if gasoline
tions, and potential add-ons. Each dealer's bid may include a       prices are increasing, mileage ratings for a particular car may
price, for example, a price with no additional add-on products      dictate increasing or decreasing a bid. If a vehicle has very
or services, such as service contracts, warranties, aftermarket 20 good gas mileage, and gas prices are skyrocketing, that car
accessories, etc. For example, add-on products may provide          may have an increasing demand as gas prices increase, or vice
substantial value to a dealer, above and beyond the profit          versa. Similarly, safety ratings of vehicles may be important
margin for the sale of the requested car. A dealer may profit       to consumer demand if high profile problems have appeared
from selling financing options, for example, if a consumer          for a particular automobile style, make, or model. As dis-
needs financing, the financier may pay the dealer for sourcing 25 cussed above, various automobile market information may be
the loan. A dealer may sell service plans or maintenance            used by a dealer including safety information, insurance
packages (e.g., an extended service contract), selling warran­      information, consumer credit information, dealer rating
ties (e.g., a lifetime warranty), or selling insurance plans (e.g., information, incentive information, residual value informa-
life, accident, and health insurance, liability insurance, com­     tion, and/or any other data which may be relevant to consum­
prehensive insurance, etc.). Also, a dealer may also sell vari- 30 ers.
ous hard add accessories, for example, bicycle racks, hitches,         The consumer interface 304 may organize dealer bids
commercial accessories (e.g., lights and sirens), or any after­     based on a variety of factors and may provide supplemental
market products or modifications (e.g., sunroof).                   information. For example, certain dealer bids may be selected
   One or more dealer bids are provided to the consumer             as the best options, all dealer bids may be summarized, vari­
(block 412). For example, several dealers provide bids, so 35 ous additional ratings, reviews, or popularity information,
several different prices and delivery options may be available      financing information, etc. may also be provided to a con-
to the car buyer. Typically, the bid will include at least a        sumer along with any dealer bids. The recommendation
specified price and pickup time and location. Typically, a          engine 312 may provide recommendations to a consumer
pickup location will be a dealer lot or distribution location. In   based on the current automobile market data. For example, of
an example embodiment, a buyer that has taken a picture of a 40 ten dealer bids provided with a response, three bids may be
VIN with a mobile device may receive dealer bids within             recommended, for example, as "Great Deals!" It should be
minutes or seconds on the mobile device. Accordingly, the           appreciated that in some cases, a particular consumer search
bids may be used in real-time as the buyer may be actively          may not return any dealer bids, for example, if consumer
shopping for a car on a dealer lot. It should be appreciated that   search requirements are unrealistic for the consumer's
some dealers may have multiple locations which could serve 45 required price range. Also, for example, if only one or two
as a pickup location. In an example embodiment, the auto­           bids are received, the recommendation engine 312 may rec-
mobile market data may indicate that the particular car             ommend that a consumer wait for a better bid because the bids
requested by a consumer should be priced at, for example,           provided are not competitive offers based on the current auto­
$26,000. However, various factors may affect the bid or offer       mobile market data stored in the database system 310. Fur­
that a dealer will make for the particular car. For example, the 50 ther, in an example embodiment, dealer bids may be orga­
potential for forming a customer relationship, the value of         nized according to distance to a dealer pickup location, lowest
potential add-on products and services, or competition with         price, closest match to the consumer entered criteria, a nor­
other dealers may cause a dealer to bid lower than normal. In       malized quality index or value index, etc. The consumer may
such a case, the dealer may bid $25,000 in an effort to create      be able to toggle between different viewing options for dealer
a customer relationship, sell add-on products, and/or under- 55 bids or search results.
cut the competition pricing. Other factors, such as the buyer's        Further, in an example embodiment, a buyer may be at a
credit score (e.g., FICO score), may be used by a dealer in         dealer lot (e.g., a Nissan dealer) and take a picture of a VIN on
determining a bid, as this may affect the profitability of a sale.  a car ( e.g., a Maxima). A bid from a competing dealer ( e.g., a
   Further, for example, the particular automobile requested        Toyota dealer) across the street may be received on the mobile
may not be available for immediate pickup near the buyer, and 60 device within seconds and include information for a compa­
various alternative delivery options may be provided from           rable car (e.g., an Avalon) relating to, for example, gas mile-
several dealers' bids. A car that is in transit to an out of state  age, safety ratings, price comparisons, residual value, driving
dealer may be re-routed to a dealer near the buyer, or a new car    directions to the competing dealer, etc. In an example
may be built to the buyer's desired specifications and deliv­       embodiment, a dealer may use the geolocation of the buyer,
ered to a dealer near the buyer. Therefore, for example, the 65 such as in instances when the buyer is physically located close
consumer interface 304 may provide several different bids           to the dealer. Accordingly, competing dealer bids may be
with different delivery options and prices to the buyer, for        interbrand or intrabrand in nature, and may be tailored to the

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buyer's particular situation, which a consumer may find             financing approval, etc. Further, the consumer may be
highly advantageous. For example, the buyer may have a bid          required to send an instruction message from the consumer
for a car the buyer wants to test drive as well as a bid for a      interface 304 to the manufacturer interface 308 affirming that
comparable car across the street before a salesman from the         the buyer has agreed to purchase the car from the dealer.
dealer even introduces himself. Accordingly, a consumer may 5           The consumer and the dealer execute the sale of the auto­
weigh the pros and cons of various dealer bids, based on            mobile (block 418). For example, the consumer electroni­
delivery options, pricing, and any other relevant variants. Any     cally signs documentation such as loan application and a
bids communicated from a dealer interface 306 may be                contract and performs an electronic funds transfer or credit
stored, for example, in database system 310, to further update      card payment. After the delivery option is selected, an elec­
the automobile market information processing system 302 10 tronic contract may be provided by the manufacturer for the
with current automobile market data.                                buyer who may e-si gn the contract, and/or any other loan
   The consumer selects a bid including a delivery option           applications or other documentation as needed. In another
which specifies a pickup location (block 414). For example,         example embodiment, paper copies of a contract may be
the car buyer chooses a delivery option of picking up the car       signed, for example, after the buyer prints them or receives
at a nearby dealer in five days. As noted above, a dealer may 15 them from a nearby dealer or through the mail. In an example
be a franchise dealer entity or a non-franchise distribution        embodiment, the buyer may provide cash or a paper check. It
location. The buyer may select an offer with a specified deliv­     should be appreciated that the process of executing a contract
ery option on the consumer interface 304. The car buyer may         may take some time. For example, the process may occur in
have been weighing two or more different delivery options           several steps, as loan processing may be required prior to
and/or different features, price differences, etc., based on the 20 executing a contract for sale of a car. Also, it should be
response(s) received through the consumer interface 304. As         appreciated that, for example, the consumer selection of a bid
noted above, the consumer interface 304 may organize bids           discussed above (see, e.g., block 414) may occur simulta­
and other helpful information in a variety of ways, which may       neously with the consumer executing the sale. Once the sale
make the information easier for a consumer to digest. It            is completed, the actual transaction data including the final
should be appreciated that a buyer will typically want to pick 25 negotiated price, may be provided to and stored in database
up a new car at a convenient location, often near the buyer's       system 310. Accordingly, the automobile market information
home. Accordingly, dealers may attempt to provide delivery          processing system 302 may be updated with current automo­
options tailored towards maximizing profit for the dealer           bile market data from every step in the negotiation process
while also maximizing convenience to the buyer, while also          between a consumer and a manufacturer. In an example
providing a superior bid to other dealers. By providing mul­ 30 embodiment, the updates provided to the automobile market
tiple bids with different delivery options, the buyer may be        information processing system 302 are provided in real-time,
allowed to save time or money based on the buyer's particular       for example, data may be transmitted and processed within
needs. In an example embodiment, the buyer may provide a            seconds or minutes. Further, for example, it should be appre­
counter offer or different request via the consumer interface       ciated that certain data may be provided to the automobile
304 to a dealer via the dealer interface 306. Accordingly, the 35 market information processing system 302 according to a
dealer may respond in kind, and may update delivery options         batch processing schedule.
or other terms. It should be appreciated that the consumer              Next, the manufacturer provides the dealer with the pur­
selection of a bid may, for example, occur simultaneously           chased automobile according to the consumer bid selection
with the consumer executing the sale or providing a deposit or      (block 420). For example, the car maker re-routes a car en
down payment, or the like (see, e.g., block 418). Accordingly, 40 route to delivery at another dealer to the dealer pickup loca­
in an example embodiment, once the buyer selects a bid, the         tion selected by the car buyer or transports the car directly
buyer has effectively purchased the car, and the dealer does        from the factory to the dealer pickup location. If a buyer
need to worry about the buyer backing out of the deal. Any          chooses a quicker delivery option, the car may need to be
consumer selections, counter offers, or additional requests or      re-routed from a different destination to the selected dealer
responses may be stored in database system 310, as the com­ 45 pickup location. If a buyer does not urgently need to have a
munications are processed by automobile market information          car, a new car may be built to the buyer's exact specifications
processing system 302, providing further data updates.              and delivered to the selected dealer pickup location. Also, for
Accordingly, in an example embodiment, a consumer may               example, a purchased car may be already at a dealer which the
select a bid to purchase a car, and that purchase information       buyer has agreed to pick the car up, in which case, the car does
may then be provided to another consumer searching for the 50 not need to be provided to the dealer. A dealer may interact
same type of car with similar features, for example, the next       with the automobile market information processing system
day.                                                                302 using dealer interface 306, for example, to receive noti­
   Once a bid with a specific delivery option has been              fication that a car will be picked up by a buyer, and to report
selected, the manufacturer is instructed to provide the auto­       that a car has been delivered to the dealer. A notification may
mobile to a dealer according to the consumer bid selection 55 also be sent via consumer interface 304 to the buyer that the
(block 416). For example, the car maker is instructed to re­        car is available for pickup at the specified dealer.
route a car already in transit to the dealer pickup location for        Finally, the consumer picks up the purchased automobile
delivery in less than five days. In an example embodiment, the      according to the consumer selected delivery option at the
dealer may be required to send an instruction message from          dealer (block422). For example, the car buyer picks up the car
the dealer interface 306 to the manufacturer interface 308. It 60 at the nearby dealer five days after the car sale is executed.
should be appreciated that the specific manner of instruction       The buyer may pick up the car without ever having to talk to
may be changed based on the particular application, for             or negotiate, in person or over the telephone, with the dealer.
example, the automobile market information processing sys­          For example, the buyer may arrive at the dealer, show iden­
tem 302 may automatically provide an instruction to a manu­         tification and proof of purchase, and be provided the keys to
facturer to produce a car or re-route a car. It should also be 65 the car. The buyer may sign paperwork indicating the car has
appreciated that particular events may be required to trigger       been picked up. Also, the dealer may offer or provide addi­
instructing a car to be delivered to a dealer, such as a deposit,   tional products or services to the buyer when the buyer goes

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to the dealer to pick up the car. For example, the dealer may       received, foot traffic activity, and dealer inventory data,
offer financing options, warranties, service plans, insurance       including current on location data, automobile turnover rates,
plans, and hard add accessories to the buyer, as discussed in       etc. Manufacturer data 514 may include manufacturer pric­
further detail above.                                               ing, including suggested pricing, preferred dealer pricing,
   Accordingly, it should be appreciated that manufacturers, 5 etc., manufacturer incentives including cash rebates, special
consumers, and dealers may receive significant benefits from        lease rates, special APR rates, zero down offers, lifetime
the method of facilitating an automobile transaction disclosed      warranties, guaranteed trade-in offers, etc., and inventory
herein. For example, production scheduling, price setting,          information including dealer inventory, inventory by loca­
inventory management, may be greatly improved for manu­             tion, inventory in transit, manufacturing or production lead
facturers and dealers by utilizing the disclosed system and 10
                                                                    times or build times, production scheduling, shipping sched­
method. Consumers may benefit from more competitive pric­
                                                                    uling, etc. Statistical data 516 may include information used
ing, piece of mind knowing that a fair market price is being
                                                                    for providing reports including graphs, forecasts, recommen­
offered for prospective purchases, and improved delivery
options that allow the consumer to weigh the benefits and           dations,  calculators, depreciation schedules, tax information,
drawbacks of different delivery options, pricing, and other 15 etc., including equations and other data used for statistical
variables. In an example embodiment, consumers can view             analysis. Historical data 508 may include past sales data, such
prices paid for comparable cars in specific locations based on      as historical list prices, actual sale prices, manufacturer and
the automobile market data in the automobile market infor­          dealer  margins, operating costs, service costs or profitability,
mation processing system 302, for example, within a certain         loyalty information, etc. It should be appreciated that data
time frame such as one month and within a certain proximity 20 may fall under multiple categories of automobile market data
to the consumer. Moreover, various inefficiencies in the auto­      506, or change with the passage of time. It should also be
mobile industry may be minimized utilizing the presently            appreciated that automobile market data 506 may be tailored
disclosed system and method.                                        for a particular manufacturer or dealer, for example, a manu­
   FIG. 5 illustrates a block diagram of an example data            facturer may request that a specific type of data that is not
architecture 500. In the example data architecture 500, inter­ 25 normally stored or used be stored in the database system 310.
face data 502, administrative data 504, and automobile mar­         Accordingly, for example, customized reports may be pro­
ket data 506 interact with each other, for example, based on        vided to a manufacturer interface 308 using that specific data
user commands or requests. The interface data 502, adminis­         for the manufacturer.
trative data 504, and automobile market data 506 may be                The integration of the various types of automobile market
stored on any suitable storage medium (e.g., server 226). It 30 data 506 received from the consumer interface 304, dealer
should be appreciated that different types of data may use          interface 306, and manufacturer interface 308 may provide a
different data formats, storage mechanisms, etc. Further, vari­     synergistic and optimal resource for consumers, dealers, and
ous applications may be associated with processing interface        manufacturers alike. In an example embodiment, a consumer
data 502, administrative data 504, and automobile market            may benefit greatly from using an application in a mobile
data 506. Various other or different types of data may be 35 device 103 to receive both intrabrand information and inter­
included in the example data architecture 500.                      brand information in real-time, based only on taking a picture
   Interface data 502 may include input and output data of          of VIN. Dealers and manufacturers may be able to provide
various kinds. For example, input data may include mouse            information to the consumer in a manner that highlights the
click data, scrolling data, hover data, keyboard data, touch        benefits of the products the respective dealer or manufacturer
screen data, voice recognition data, etc., while output data 40 would like to sell. The intrabrand and interbrand information
may include image data, text data, video data, audio data, etc.     provided on a consumer interface 304 may allow the best
Interface data 502 may include data relating to formatting,         automobile options for a particular consumer to be provided
user interface options, links or access to other websites or        to that consumer, may allow manufacturers to better follow
applications, and the like. Interface data 502 may include          through with opportunities for sales, and may allow dealers to
applications used to provide or monitor interface activities 45 compete with other dealers taking into account a greater
and handle input and output data.                                   amount of automobile market information, all of which may
   Administrative data 504 may include data and applications        result in a more efficient automobile market.
regarding project data or data related to project compensa­            Automobile market data 506 may be maintained in various
tion. For example, administrative data 504 may include infor­       servers 108, in databases or other files. It should be appreci­
mation used for updating accounts, such as creating or modi- 50 ated that, for example, a host device 104 may manipulate
fying manufacturer accounts or dealer accounts. Further,            automobile market data 506 in accordance with the adminis-
administrative data 504 may include access data and/or secu­        trative data 504 and interface data 502 to provide requests or
rity data. Administrative data 504 may interact with interface      reports to users 114 including consumers, dealers, and manu­
data in various manners, providing a user interface 304, 306,       facturers, and perform other associated tasks. It should also be
308 with administrative features, such as implementing a user 55 appreciated that automobile market data 506 represents auto­
login and the like.                                                 mobile market information, and that these terms may be used
   Automobile market data 506 may include, for example,             interchangeably in this disclosure depending upon the con­
executed sales data 508, consumer data 510, dealer data 512,        text.
manufacturer data 514, statistical data 516, and/or historical         FIG. 6 is flow diagram illustrating an example process 600
data 518. Executed sales data 508 may include actual nego- 60 for facilitating an automobile transaction, according to an
tiated prices for manufacturer and dealer sales, differences in     example embodiment of the present invention. Although the
list prices to negotiated prices, sales demographics, etc. Con­     process 600 is described with reference to the flow diagram
sumer data 510 may include consumer search activity, con­           illustrated in FIG. 6, it will be appreciated that many other
sumer requests and offers, consumer feedback, etc. Dealer           methods of performing the acts associated with the process
data 512 may include dealer pricing, including list prices, sale 65 600 may be used. For example, the order of many of the
prices for limited time dealer offers or deals of the day, nego­    blocks may be changed, certain blocks may be combined with
tiation information such as bottom line pricing, offers             other blocks, and many of the blocks described are optional.

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   In the example process 600, data may flow between the        consumer interface 304 (block 628). It should be appreciated
automobile market information processing system 302 and a       that automobile market information may be provided to the
consumer interface 304, a manufacturer interface 308, and a     consumer before dealer bids are provided, and/or concur-
dealer interface 306, as discussed above based on consumer,     rently with dealer bids. Also, it should be appreciated that
manufacturer, and dealer interaction with the automobile 5 blocks 616 and 628 may be combined, particularly if the
market information processing system 302. It should be          dealer bidding process can occur quickly, for example, in
appreciated that the automobile market information process­     real-time. The consumer may receive dealer bids based on the
ing system 302 may update the automobile market informa­        verification and select a bid including a delivery option based
tion stored in the database system 310 when automobile mar­     on automobile market information (block 630). The con­
ket information is received from a consumer, a dealer, or a 10
                                                                sumer interface 304 may send to the automobile market infor­
manufacturer, or from any other information source. Accord­
                                                                mation processing system 302 a selection of a bid indicating
ingly, the automobile market information may remain current
                                                                that the consumer wants to purchase or lease the automobile
and/or provide sufficiently recent data for the benefit of con­
sumers, dealers, and/or manufacturers.                          based  on the selected bid (block 632). The automobile market
   The example process 600 may begin with a consumer 15 information processing system 302 receives and processes
taking a picture of a VIN using a mobile phone application      the consumer bid selection (block 634). For example, the
(block 602). The consumer interface 304 may use OCR to          automobile market information processing system 302 may
determine and provide the VIN to the automobile market          send  the bid selection to the dealer interface 306 (block 636).
information processing system 302 to provide a consumer         The dealer may receive the bid selection and coordinate a sale
request (block 604). It should be appreciated that OCR may 20 by, for example, instructing the manufacturer to produce and
occur in the automobile market information processing sys­      ship the automobile to the dealer location for delivery to the
tem 302 or at the consumer interface 304. The automobile        consumer (block 638). Also, for example, the dealer may
market information processing system 302 receives the con­      provide contract or loan documents, collect a deposit or down
sumer request and prepares automobile market information        payment, or the like. As discussed above, in each of blocks
based on the request (block 606). The automobile market 25 606, 614, 626, and 634, the automobile market information
information processing system 302 may send the consumer         processing system 302 may update the automobile market
request and automobile market information based on the con­     information in the database system 310 based on the infor­
sumer request to the manufacturer interface 308 (block 608).    mation received from the consumer, dealer, and/or manufac-
It should be appreciated that while the consumer request is     turer.
automobile market information, typically, additional automo- 30    For exempl ary purposes, the present disclosure discusses a
bile market information would be provided with the con­
                                                                various examples relating to a purchase of a car. However, it
sumer request. For example, typically, data relating to recent
                                                                should be appreciated that the disclosed system, methods, and
sales of the requested automobile and/or comparable automo­
                                                                apparatus may be advantageously used in relation to various
biles may be provided. In an example embodiment, a target
price or "true" value of the requested automobile may be 35     automobiles    other than cars including, for example, trucks,
provided. The manufacturer receives the request, determines     vans, sport utility vehicles, jeeps, motorcycles, commercial
that an automobile can be provided and prepares and provides    vehicles, and/or automobiles that have a VIN and require a
verification information for consumer and dealers (block        license plate to operate.
610). A manufacturer response with the verification informa­       It will be appreciated that all of the disclosed methods and
tion may be provided from the manufacturer interface 308 to 40 procedures described herein can be implemented using one or
the automobile market information processing system 302         more computer programs or components. These components
(block 612). The automobile market information processing       may be provided as a series of computer instructions on any
system 302 receives and processes the manufacturer response     conventional computer-readable medium, including RAM,
with the verification and prepares and provides information     ROM, flash memory, magnetic or optical disks, optical
for consumer and dealers (block 614). The manufacturer 45 memory, or other storage media. The instructions may be
response with a verification may be sent from the automobile    configured to be executed by a processor, which when execut-
market information processing system 302 to the consumer        ing the series of computer instructions performs or facilitates
interface 304 (block 616). It should be appreciated that other  the performance of all or part of the disclosed methods and
automobile market information may be provided to the con­       procedures.
sumer interface 304 with a verification, for example, sug- 50      Further, it will be appreciated that the presently disclosed
gested pricing, ratings information, etc. The consumer inter­   system, methods, and apparatus for performing automobile
face 304 receives the verification that the automobile can be   transactions may be utilized in conjunction with other sys­
provided, for example, as a confirmation message on the         tems or methods. For example, the presently disclosed sys­
mobile device (block 618).                                      tem, methods, and apparatus may be used in conjunction with
   The automobile market information processing system 302 55 the disclosure in the co-pending commonly-owned patent
may also send to the dealer interface 306 a bid request for one application filed on Jul. 5, 2011, entitled "AUTOMOBILE
or more dealers (block 620). One or more dealers receive a bid  TRANSACTION FACILITATION BASED ON C US­
request, determine prices and delivery options for the auto­    TOMER SELECTION OF A SPECIFIC AUTOMOBILE,"
mobile, and prepare and provide bids for the consumer (block    the entire contents of which are hereby incorporated by ref-
622). A dealer bid may be sent from the dealer interface 306 60 erence herein, and in an example embodiment, the features of
to the automobile market information processing system 302      which may be combined with the features of the present
for each dealer that wants to provide a bid (block 624). The    disclosure.
automobile market information processing system 302                It should be understood that various changes and modifi­
receives and processes dealer bids and prepares the bids and    cations to the example embodiments described herein will be
automobile market data for the consumer (block 626). The 65 apparent to those skilled in the art. Such changes and modi­
automobile market information processing system 302 may         fications can be made without departing from the spirit and
send dealer bids and automobile market information to the       scope of the present subject matter and without diminishing

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its intended advantages. It is therefore intended that such               provide the inventoryless bid and the driving directions
changes and modifications be covered by the appended                         to the consumer interface, the inventoryless bid
claims.                                                                      including at least a price and a delivery option; and
                                                                       receiving a consumer selection of the inventoryless bid
  The invention is claimed as follows:                            5       including a first delivery option which specifies a pickup
  1. A method comprising:                                                 location at the first dealer, wherein the consumer selec­
  storing, on a computer readable medium, automobile mar­                 tion indicates a consumer intention to purchase the first
     ket data which is representative of recent automobile                automobile.
     market characteristics, including at least pricing data           2. A method comprising:
     and inventory data, wherein the automobile market data 10
                                                                       storing, on a computer readable medium, automobile mar­
     includes information received from at least one manu­
                                                                          ket data which is representative of recent automobile
     facturer, a plurality of dealers, and a plurality of con­
                                                                          market characteristics, including at least pricing data
     sumers, wherein at least a portion of the automobile
     market data is updated in real-time;                                 and inventory data, wherein the automobile market data
  receiving, via a consumer interface, a first request for a 15           includes information received from at least one manu­
     response regarding a first automobile, which is manu­                facturer, a plurality of dealers, and a plurality of con­
     factured by a first manufacturer, the first request made by          sumers;
     a consumer located at a first location and including              receiving, via a consumer interface, a first request for a
     geolocation information of the consumer;                             response regarding a first automobile, which is manu­
  executing instructions, by at least one processing device, 20           factured by a first manufacturer, the first request made by
     to:                                                                  a consumer located at a first location and including
     determine current inventory data of the first automobile,            geolocation information of the consumer;
         wherein the current inventory data of the first auto­         executing instructions, by at least one processing device,
        mobile includes a plurality of dealer inventories of a            to:
        plurality of dealers, with each respective dealer of the 25       determine current inventory data of the first automobile,
        plurality of dealers having a respective dealer inven­                wherein the current inventory data of the first auto­
        tory, and wherein the current inventory data indicates               mobile includes a plurality of dealer inventories of a
        that a first dealer of the plurality of dealers does not             plurality of dealers, with each respective dealer of the
        currently have the first automobile in a first inventory             plurality of dealers having a respective dealer inven­
        of the first dealer;                                      30         tory, and wherein the current inventory data indicates
     provide first automobile market data including the cur­                 that a first dealer of the plurality of dealers does not
        rent inventory data of the first automobile to the first             currently have the first automobile in a first inventory
        manufacturer, based on the first request, via a manu­                of the first dealer;
         facturer interface, wherein the first automobile market          provide first automobile market data including the cur­
        data is based on real-time automobile market data;        35         rent inventory data of the first automobile to the first
     generate, based on the first automobile market data                     manufacturer, based on the first request, via a manu­
         including the current inventory data of the first auto­             facturer interface;
        mobile, via the manufacturer interface, at least one of           generate, based on the first automobile market data
        a verification indicating that the first automobile can               including the current inventory data of the first auto­
        be provided for the consumer, a confirmation indicat- 40             mobile, via the manufacturer interface, at least one of
         ing that the first automobile can be provided for the               a verification indicating that the first automobile can
        consumer, and an offer indicating that the first auto­               be provided for the consumer, a confirmation indicat­
        mobile can be provided for the consumer;                             ing that the first automobile can be provided for the
     determine, using the geolocation information, that the                  consumer, and an offer indicating that the first auto­
        consumer is located at the first location;                45         mobile can be provided for the consumer;
     generate, based on the first location, an in-market dealer           determine, using the geolocation information, that the
        area proximately located to the first location;                      consumer is located at the first location;
     determine that the first dealer is located at a second               generate, based on the first location, an in-market dealer
        location within the in-market dealer area;                           area proximately located to the first location;
     provide a first manufacturer response via the consumer 50            determine that the first dealer is located at a second
         interface, the first manufacturer response including                location within the in-market dealer area;
        the at least one of the verification indicating that the          provide a first manufacturer response via the consumer
        first automobile can be provided for the consumer, the               interface, the first manufacturer response including
        confirmation indicating that the first automobile can                the at least one of the verification indicating that the
        be provided for the consumer, and the offer indicating 55            first automobile can be provided for the consumer, the
        that the first automobile can be provided for the con­               confirmation indicating that the first automobile can
         sumer;                                                              be provided for the consumer, and the offer indicating
     request, from the first dealer, via a dealer interface, an              that the first automobile can be provided for the con­
         inventoryless bid to sell the first automobile based on             sumer;
        the first manufacturer response;                          60      request, from the first dealer, via a dealer interface, an
     receive, from the first dealer located at the second loca­              inventoryless bid to sell the first automobile based on
        tion and engaging in inventoryless bidding, the inven­               the first manufacturer response;
        toryless bid to provide the first automobile, which is at         receive, from the first dealer located at the second loca­
        least one of yet to be manufactured and in the inven-                tion and engaging in inventoryless bidding, the inven­
        tory of another entity;                                   65         toryless bid to provide the first automobile, which is at
     generate driving directions from the first location to the              least one of yet to be manufactured and in the inven­
        second location; and                                                 tory of another entity;

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      generate driving directions from the first location to the        20. The method of claim 2, wherein the inventoryless bid
         second location; and                                        includes a first price corresponding to the first delivery option
      provide the inventoryless bid and the driving directions       and a second price corresponding to a second delivery option.
         to the consumer interface, the inventoryless bid               21. A system comprising:
         including at least a price and a delivery option; and 5       a computer readable medium storing automobile market
   receiving a consumer selection of the inventoryless bid                data which is representative ofrecent automobile market
      including a first delivery option which specifies a pickup          characteristics, including at least pricing data and inven­
      location at the first dealer.                                       tory data, wherein the automobile market data includes
   3. The method ofclaim 2, wherein the pricing data includes             information received from at least one manufacturer, a
normal listing prices, sale prices, manufacturer incentives, 10
                                                                          plurality of dealers, and a plurality of consumers; and
actual prices of executed transactions, and consumer offers.
                                                                       at least one processing device operably coupled to the
   4. The method of claim 2, wherein the inventory data
                                                                          computer readable medium, the at least one processing
includes at least one of inventory data by location, inventory
in transit data, production lead time data, production schedule           device executing instructions to:
data, and shipping schedule data.                                 15      receive, via a consumer interface, a first request for a
   5. The method of claim 2, wherein the first request is made               response regarding a first automobile, which is manu­
by a consumer on a website using a request form including at                 factured by a first manufacturer, the first request made
least one of a text box and a drop down list.                                by  a consumer located at a first location and including
   6. The method of claim 2, wherein the first request is made               geolocation information of the consumer;
by a consumer using a mobile device which takes a picture of 20           determine current inventory data of the first automobile,
a vehicle identification number.                                             wherein the current inventory data of the first auto­
   7. The method of claim 6, wherein the vehicle identifica­                 mobile includes a plurality of dealer inventories of a
tion number is recognized using optical character recogni­                   plurality of dealers, with each respective dealer ofthe
tion.                                                                        plurality of dealers having a respective dealer inven­
   8. The method of claim 2, wherein the first automobile is 25              tory, and wherein the current inventory data indicates
one of a particular type of car with a specific set of features              that a first dealer of the plurality of dealers does not
and a particular car with a specific vehicle identification num­             currently have the first automobile in a first inventory
ber.                                                                         of the first dealer;
   9. The method of claim 2, wherein the first automobile                 provide first automobile market data including the cur­
market data provided to the first manufacturer consists of at 30             rent inventory data of the first automobile to the first
least one of the first request and a suggested bid price.                    manufacturer, based on the first request, via a manu­
   10. The method of claim 2, wherein the first automobile                   facturer interface;
market data is based on real-time automobile market data.                 generate, based on the first automobile market data
   11. The method ofclaim 2, wherein the consumer selection                  including the current inventory data of the first auto­
of the inventoryless bid indicates that the consumer intends to 35           mobile, via the manufacturer interface, at least one of
one of purchase the first automobile and lease the first auto­               a verification indicating that the first automobile can
mobile.                                                                      be provided for the consumer, a confirmation indicat­
   12. The method of claim 2, further comprising:                            ing that the first automobile can be provided for the
   causing the at least one processing device to process the                 consumer, and an offer indicating that the first auto­
      consumer selection ofthe first inventoryless bid to facili- 40         mobile can be provided for the consumer;
      tate:                                                               determine, using the geolocation information, that the
      instructing the first manufacturer to provide the first                consumer is located at the first location;
         automobile to the first dealer based on the consumer             generate, based on the first location, an in-market dealer
         selection of the inventoryless bid; and                             area proximately located to the first location;
      executing a sale, including at least one of providing for 45        determine that the first dealer is located at a second
         electronic si gnature of documents and providing for                location within the in-market dealer area;
         an electronic funds transfer.                                    provide a first manufacturer response via the consumer
   13. The method ofclaim 12, wherein the first automobile is                interface, the first manufacturer response including
made available for pickup at the first dealer according to the               the at least one of the verification indicating that the
consumer selected first delivery option.                          50         first automobile can be provided for the consumer, the
   14. The method ofclaim 2, wherein the manufacturer inter­                 confirmation indicating that the first automobile can
face allows a manufacturer to request data via the consumer                  be provided for the consumer, and the offer indicating
interface from a plurality of consumers.                                     that the first automobile can be provided for the con­
   15. The method ofclaim 2, wherein the manufacturer inter­                 sumer;
face allows a manufacturer to request data via the dealer 55              request, from the first dealer, via a dealer interface, an
interface from a plurality of dealers.                                       inventoryless bid to sell the first automobile based on
   16. The method of claim 2, wherein the first dealer at least              the first manufacturer response;
one of provides and offers at least one of a financing plan, a            receive, from the first dealer located at the second loca­
service plan, an insurance plan, a warranty, and a hard add                  tion and engaging in inventoryless bidding, the inven­
accessory, for at least the first automobile.                     60         toryless bid to provide the first automobile, which is at
   17. The method of claim 2, wherein the first dealer is at                 least one of yet to be manufactured and in the inven­
least one ofa franchise dealer and a non-franchise distribution              tory of another entity;
location.                                                                 generate driving directions from the first location to the
   18. The method of claim 2, wherein the automobile market                  second location;
data includes consumer interest data.                             65      provide the inventoryless bid and the driving directions
   19. The method of claim 2, wherein the first manufacturer                 via the consumer interface, the inventoryless bid
response includes an acknowledgement of interest.                            including at least a price and a delivery option; and

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      receive a consumer selection of the inventoryless bid           39. A non-transitory computer readable medium storing
         including a first delivery option which specifies a        software instructions which, when executed, cause an infor­
         pickup location at the first dealer.                       mation processing apparatus to:
   22. The system of claim 21, wherein the pricing data               store automobile market data which is representative of
includes normal listing prices, sale prices, manufacturer 5              recent automobile market characteristics, including at
                                                                         least pricing data and inventory data, wherein the auto­
incentives, actual prices of executed transactions, and con­
                                                                         mobile market data includes information received from
sumer offers.                                                            at least one manufacturer, a plurality of dealers, and a
   23. The system of claim 21, wherein the inventory data                plurality of consumers;
includes at least one of inventory data by location, inventory        receive, via a consumer interface, a first request for a
                                                                 10
in transit data, production lead time data, production schedule          response regarding a first automobile, which is manu­
data, and shipping schedule data.                                        factured by a first manufacturer, the first request made by
   24. The system of claim 21, wherein the request is made by            a consumer located at a first location and including
a consumer on a website using a request form including at                geolocation information of the consumer
least one of a text box and a drop down list.                         determine current inventory data of the fir�t automobile
                                                                 15      wherein the current inventory data of the first automo�
   25. The system of claim 21, wherein the request is made by
                                                                         bile includes a plurality of dealer inventories of a plural­
a consumer using a mobile device which takes a picture of a              ity ofdealers, with each respective dealer ofthe plurality
vehicle identification number.                                           of de�lers having a respective dealer inventory, and
   26. The system of claim 25, wherein the vehicle identifi­             wherem the current inventory data indicates that a first
cation number is recognized using optical character recogni- 20          dealer of the plurality of dealers does not currently have
tion.                                                                    the first automobile in a first inventory of the first dealer
   27. The system of claim 21, wherein the first automobile is        provide first automobile market data including the current
one of a particular type of car with a specific set of features          inventory data of the first automobile to the first manu­
and a particular car with a specific vehicle identification num-         facturer, based on the first request, via a manufacturer
ber.                                                             25      interface;
   28. The system of claim 21, wherein the first automobile           generate, based on the first automobile market data includ­
market data provided to the first manufacturer consists of at            ing the current inventory data of the first automobile, via
least one of the first request and a suggested bid price.                the manufacturer interface, at least one of a verification
   29. The system of claim 21, wherein the first automobile              indicating that the first automobile can be provided for
market data is based on real-time automobile market data.        30      the consumer, a confirmation indicating that the first
   30. The system of claim 21, wherein the consumer selec­               automobile can be provided for the consumer, and an
tion of the inventoryless bid indicates that the consumer                offer indicating that the first automobile can be provided
intends to one of purchase the first automobile and lease the            for  the consumer;
first automobile.                                                     determine,    using the geolocation information, that the con­
   31. The system of claim 21, wherein the at least one pro- 35          sumer is located at the first location;
cessing device executes instructions to process the consumer          generate, based on the first location, an in-market dealer
selection of the first bid to facilitate:                                area proximately located to the first location;
   instructing the first manufacturer to provide the first auto­      determine    that the first dealer is located at a second location
      mobile to the first dealer based on the consumer selec-            within the in-market dealer area;
      tion of the inventoryless bid; and                         40   provide a first manufacturer response via the consumer
   executing a sale, including at least one of providing for             interface, the first manufacturer response including the
      electronic signature of documents and providing for an             at least one of the verification indicating that the first
      electronic funds transfer.                                         automobile can be provided for the consumer, the con­
   32. The system of claim 31, wherein the first automobile is           firmation indicating that the first automobile can be pro­
made available for pickup at the first dealer according to the 45        vided for the consumer, and the offer indicating that the
consumer selected first delivery option.                                 first automobile can be provided for the consumer;
   33. The system of claim 21, wherein the manufacturer               request, from the first dealer, via a dealer interface, an
interface allows a manufacturer to request data via the con­             inventory less bid to sell the first automobile based on the
sumer interface from a plurality of consumers.                           first manufacturer response;
   34. The system of claim 21, wherein the manufacturer 5         0   receive,  from the first dealer located at the second location
interface allows a manufacturer to request data via the dealer           and engaging in inventory less bidding, the inventoryless
interface from a plurality of dealers.                                   bid to provide the first automobile, which is at least one
   35. The system of claim 21, wherein the first dealer at least         of yet to be manufactured and in the inventory of another
one ?f provides and offers at least one of a financing plan, a           entity;
service plan, an insurance plan, a warranty, and a hard add 55        generate driving directions from the first location to the
accessory, for at least the first automobile.                            second location;
   36. The system of claim 21, wherein the first dealer is at         provide the inventoryless bid and the driving directions via
least one ofa franchise dealer and a non-franchise distribution          the consumer interface, the inventoryless bid including
location.                                                                at least a price and a delivery option; and
   37. The system of claim 21, wherein the automobile market 60       receive a consumer selection of the inventoryless bid
data includes consumer interest data.                                    including a first delivery option which specifies a pickup
   38. The system of claim 21, wherein the first manufacturer            location at the first dealer.
response includes an acknowledgement of interest.                                             * * * * *



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c12)   United States Patent                                                                                                            (IO) Patent No.:                                      US 8,650,093 B2
       Seergy et al.                                                                                                                  (45) Date of Patent:                                          Feb. 11, 2014

(54) USED AUTOMOBILE TRANSACTION                                                                                                    6,533,173 B2  3/2003 Benyak
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     AUTOMOBILE                                                                                                                     7,395,223 Bl  7/2008 Buzzell et al.
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(75)    Inventors: M ichael J. Seergy, Pine Brook, NJ (US);                                                                         7,479,949 B2  1/2009 Jobs et al.
                   Benjamin N. S. Brown, Pine Brook, NJ                                                                             7,636,574 B2 12/2009 Poosala
                   (US)                                                                                                         2002/0065707 Al   5/2002 Lancaster et al.
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(73) Assignee: Sidekick Technology LLC, Pine Brook,                                                                             2002/0111877 Al   8/2002 Nelson
               NJ (US)                                                                                                          2003/0088435 Al   5/2003 King
                                                                                                                                2003/0200151 Al* 10/2003 Ellenson et al. ................ 705/26
( *) Notice:          Subject to any disclaimer, the term ofthis                                                                                                                     (Continued)
                      patent is extended or adjusted under 35
                      U.S.C. 154(b) by 76 days.                                                                                                                               OTHER PUBLICATIONS

(21) Appl. No.: 13/207,858                                                                                                  Anonymous, "instaVIN to offer free auto accident history reports for
                                                                                                                            mobile phones," Wireless News, Jun. 2, 2010.*
(22) Filed:           Aug. 11, 2011
                                                                                                                                                                                     (Continued)
(65)                    Prior Publication Data
                                                                                                                            Primary Examiner - Brandy A Zukanovich
        US 2012/0036033 Al            Feb. 9, 2012                                                                          (74) Attorney, Agent, or Firm - K&L Gates LLP
                Related U.S. Application Data                                                                               (57)                                                    ABSTRACT
(63) Continuation-in-part of application No. 13/176,497,                                                                    A system, methods, and apparatus for performing used auto­
     filed on Jul. 5, 2011, and a continuation-in-part of                                                                   mobile transactions are disclosed. In an example embodi­
     application No. 13/176,525, filed on Jul. 5, 2011.                                                                     ment, automobile market data representative ofcurrent auto­
                                                                                                                            mobile market characteristics is stored. The automobile
(51) Int. Cl.                                                                                                               market data may include pricing and consumer interest infor­
     G06Q 30/00                    (2012.01)                                                                                mation received from consumers, dealers, and manufacturers.
(52) U.S. Cl.                                                                                                               A consumer seller or manufacturer off-lease seller may pro­
     USPC ......................................... 705/26.4; 705/26.1                                                      vide a request for a response regarding a specific used auto­
(58) Field of Classification Search                                                                                         mobile with a specific a vehicle identification number. Auto­
     USPC ....................................... 705/26.1, 27.1, 26.4                                                      mobile market data may be provided to a used automobile
     See application file for complete search history.                                                                      buyer based on the request. Bids to purchase the specific used
                                                                                                                            automobile may be requested from used automobile buyers
(56)                    References Cited                                                                                    based on the request. Buyer bids may be provided to the
                                                                                                                            consumer seller or manufacturer off-lease seller with prices
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       to !he consumer seller bid selection (e.g., the seller drw:ea the used car to- the
          pickup location if the pickup t:ocation ts not the used car seller's !or.:at�::io)

        n� used automobl!e buyer teceives lhe purchai;.ed used automobile according
           to the consumer seller selected delivery cpHon (e,g,, the used car buyar
        receives the- used car at the pi-ckup focatinn the sarr� day the sale 1$. -executed)                                                                                                                                                                                                                                                                                      Fig. 4



                                                                                                                                                                                   Appx900
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              and ei1ters pricing                                                                                                                        pt(*Pf1tt'Jtt                                                  market /                      and autornobHe
                 pararrit�ten,,                                                                                                   autorr1:obile mm'k-et                                                              inkmnation /                   market information
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                                                                                                                              !. . . . . . .�:'.'::�.i'.?.�.............J                                                               coordinates a sale




                                                                                                                                           Fig. 6
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                                                      US 8,650,093 B2
                               1                                                                    2
        USED AUTOMOBILE TRANSACTION                                  information and facilitating used automobile transactions. In
       FACILITATION FOR A SPECIFIC USED                              an example embodiment, automobile market data represen­
                 AUTOMOBILE                                          tative of current automobile market characteristics is stored.
                                                                     The automobile market data may include pricing and con-
             CROSS REFERENCE TO RELATED                           5 sumer interest information received from consumers, dealers,
         APPLICATIONS AND PRIORITY CLAIM
                                                                     and manufacturers. A consumer seller or manufacturer off­
                                                                     lease seller may provide a request for a response regarding a
   This application is a continuation-in-part of the following
co-pending commonly-owned patent applications filed on               specific used automobile with a specific a vehicle identifica­
Jul. 5, 2011, entitled "AUTOMOBILE TRANSACTION                       tion number. Automobile market data may be provided to a
                                                                  10 used automobile buyer based on the request.Bids to purchase
FACILITATION            USING        A      MANUFACTURER
RESPONSE," application Ser. No. 13/176,497, and entitled             the specific used automobile may be requested from used
"AUTOMOBILE             TRANSACTION            FACILITATION          automobile buyers based on the request. Buyer bids may be
BASED ON CUSTOMER SELECTION OF A SPECIFIC                            provided to the consumer seller or manufacturer off-lease
AUTOMOBILE," application Ser. No.13/176,525, the entire              seller with prices and a delivery options. The consumer seller
contents of each of which is incorporated by reference herein. 15 or manufacturer off-lease seller may select a bid to sell the
                                                                     specific used automobile based on the bid.
                        BACKGROUND                                      Additional features and advantages of the disclosed
                                                                     method and apparatus are described in, and will be apparent
   In the used automobile market, consumers typically sell or        from, the following Detailed Description and the Figures.
trade in used automobiles to dealers or dealerships, or pri- 20
vately sell to other consumers, for example, through personal                  BRIEF DESCRIPTION OF THE FIGURES
advertisements. Dealers often purchase used automobiles
from consumers as part of a deal for a new automobile,                  FIG. 1 is a high level block diagram of an example network
typically referred to as a trade in.Typically, a description of a    communicating system, according to an example embodi­
used automobile in a personal advertisement may include the 25 ment of the present invention.
make, model, and mileage of an automobile, but certain other            FIG. 2 is a detailed block diagram showing an example of
relevant descriptive information may not be available to a           a computing device, according to an example embodiment of
potential buyer.Further, a dealer making a trade in offer for a      the present invention.
used automobile may not have certain relevant descriptive               FIGS. 3A and 3B provide a block diagram showing an
information on that used automobile. In many cases, the 30 example automobile transaction network structure, according
negotiation process for a used automobile may include a large        to an example embodiment of the present invention.
degree of uncertainty for consumers, including both a selling           FIG. 4 is a flowchart illustrating an example process for
consumer and a purchasing consumer.A consumer seller may             facilitating a used automobile transaction, according to an
be particularly disadvantaged when negotiating with a dealer         example embodiment of the present invention.
for a trade in value, as dealers typically have great knowledge 35      FIG. 5 is a block diagram showing an example data archi­
and experience with the process, while consumers typically           tecture, according to an example embodiment of the present
do not.Generally, the negotiation process is a zero sum pro­         invention.
cess, and because a consumer seller of a used automobile and            FIG. 6 is flow diagram illustrating an example process for
a used automobile buyer are each trying to get a better deal,        facilitating a used automobile transaction, according to an
there is typically some lack of trust during the negotiation. 40 example embodiment of the present invention.
Accordingly, used automobile buyers and sellers, including
consumers and dealers, often base the negotiations on estab­                  DETAILED DESCRIPTION OF EXAMPLE
lished market prices. However, market prices can fluctuate                                  EMBODIMENTS
rapidly depending a variety of factors. For example, con­
sumer demand may be affected by economic factors, such as 45            The present disclosure relates in general to a system for
changes in gasoline prices, unemployment rates, government           facilitating used automobile transactions and, in particular, to
sponsored tax rebates for automobile purchases, etc.                 an automobile transaction for a specific used automobile.
   In many cases, a consumer seller of a used automobile may         Briefly, in an example embodiment, a system is provided
have concerns that a buyer may not offer a fair and competi­         which allows a consumer seller or a manufacturer off-lease
tive price.Various products and services have become avail- 50 seller of a used automobile to request bids and information
able that allow sellers and buyers, including consumers and          regarding a specific automobile identified with a specific
dealers, to perform research on market prices for used auto­         vehicle identification number.For example, a consumer may
mobiles. Typically, the highest possible value available to a        use a mobile device to take a picture of a vehicle identification
consumer seller may be through a sale to another consumer,           number and may enter a desired price range or minimum
as opposed to trading in the used automobile to a dealer.         55 asking price.The specific automobile may be identified using
   In addition to consumers and dealers, automobile manu­            optical character recognition to provide, for example, a full
facturers may also have an interest in the resale values of used     list of the original manufacturer features and options, and the
automobiles. Further, in many cases, a manufacturer may              original manufacturer suggested retail price and invoice
want to sell used off-lease automobiles which have been              information, for that specific used automobile based on the
returned by consumer lessees.In many cases, a manufacturer 60 vehicle identification number. Accordingly, the consumer
off-lease seller may not be able to receive the full market          seller need not enter all of this information, but may request
value of a used off-lease automobile.                                bids and information in real-time for that specific used auto­
                                                                     mobile.Used automobile buyers may include consumers and/
                          SUMM ARY                                   or dealers which may provide bids based on the consumer
                                                                  65 seller request using real-time automobile market information.
   The present disclosure provides a new and innovative sys­         A consumer seller may select a buyer bid to sell a used
tem, methods and apparatus for providing automobile market           automobile based on the prices and delivery options avail-

                                                            Appx903
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able. Accordingly, typically unavailable or difficult to obtain    administrative tasks. A host device 104 or server may interact
data may be provided for offering a used automobile for sale,      via one or more networks with one or more other host devices
including a full listing of the manufacturer features and          104 or servers 108, which may be operated independently.
options, EPA mileage, safety ratings, recalls, quality reports,    For example, host devices 104 and servers 108 operated by a
estimated insurance costs, etc. In an example embodiment, a 5 separate and distinct entities may interact together according
manufacturer off-lease seller may select a buyer bid based on      to some agreed upon protocol.
the prices and delivery options to maximize value, for                A detailed block diagram of the electrical systems of an
example, by reducing costs typically associated with selling       example computing device (e.g., a client device 102, and a
an off-lease automobile. The used automobile market is pres­       host device 104) is illustrated in FIG. 2. In this example, the
ently approximately three times the size of the new automo­ 10 computing device 102, 104 includes a main unit 202 which
bile market in the United States, as approximately 40 million      preferably includes one or more processors 204 electrically
used automobiles are sold each year. Accordingly, the present      coupled by an address/data bus 206 to one or more memory
disclosure may be helpful for facilitating large numbers of        devices 208, other computer circuitry 210, and one or more
used automobile transactions. In an example embodiment,            interface circuits 212. The processor 204 may be any suitable
the disclosed system matches seller and buyer parameters, 15 processor, such as a microprocessor from the INTEL PEN­
such as price and pickup location, to facilitate a live bidding    TIUM® family of microprocessors. The memory 208 pref­
process, which allows a used automobile seller to accept or        erably includes volatile memory and non-volatile memory.
reject bids using a great deal of information not typically        Preferably, the memory 208 stores a software program that
available. In a non-limiting example embodiment, certain           interacts with the other devices in the system 100 as described
features disclosed in the present patent application may be 20 below. This program may be executed by the processor 204 in
commercially embodied in products and services offered by          any suitable manner. In an example embodiment, memory
Sidekick Technology LLC, the assignee of the present appli­        208 may be part of a "cloud" such that cloud computing may
cation.                                                            be utilized by a computing devices 102, 104. The memory
   The present system may be readily realized in a network         208 may also store digital data indicative of documents, files,
communications system. A high level block diagram of an 25 programs, web pages, etc. retrieved from a computing device
example network communications system 100 is illustrated           102, 104 and/or loaded via an input device 214.
in FIG. 1. The illustrated system 100 includes one or more            The interface circuit 212 may be implemented using any
client devices 102, and one or more host devices 104. The          suitable interface standard, such as an Ethernet interface and/
system 100 may include a variety of client devices 102, such       or a Universal Serial Bus (USB) interface. One or more input
as desktop computers and the like, which typically include a 30 devices 214 may be connected to the interface circuit 212 for
display 112, which is a user display for providing information     entering data and commands into the main unit 202. For
to users 114, and various interface elements as will be dis­       example, the input device 214 may be a keyboard, mouse,
cussed in further detail below. A client device 102 may be a       touch screen, track pad, track ball, isopoint, image sensor,
mobile device 103, which may be a cellular phone, a personal       character recognition, barcode scarmer, microphone, and/or a
digital assistant, a laptop computer, a tablet computer, etc. 35 speech/voice recognition system.
The client devices 102 may communicate with the host device           One or more displays 112, printers, speakers, and/or other
104 via a connection to one or more communications chan­           output devices 216 may also be connected to the main unit
nels 106 such as the Internet or some other data network,          202 via the interface circuit 212. The display 112 may be a
including, but not limited to, any suitable wide area network      cathode ray tube (CRTs), a liquid crystal display (LCD), or
or local area network. It should be appreciated that any of the 40 any other type of display. The display 112 generates visual
devices described herein may be directly connected to each         displays generated during operation of the computing device
other instead of over a network. Typically, one or more servers    102, 104. For example, the display 112 may provide a user
108 may be part of the network communications system 100,          interface, which will be described in further detail below, and
and may communicate with host servers 104 and client               may display one or more web pages received from a comput-
devices 102.                                                    45 ing device 102, 104. A user interface may include prompts for
   One host device 104 may interact with a large number of         human input from a user 114 including links, buttons, tabs,
users 114 at a plurality of different client devices 102.          checkboxes, thumbnails, text fields, drop down boxes, etc.,
Accordingly, each host device 104 is typically a high end          and may provide various outputs in response to the user
computer with a large storage capacity, one or more fast           inputs, such as text, still images, videos, audio, and anima-
microprocessors, and one or more high speed network con­ 50 tions.
nections. Conversely, relative to a typical host device 104,          One or more storage devices 218 may also be connected to
each client device 102 typically includes less storage capac­      the main unit 202 via the interface circuit 212. For example,
ity, a single microprocessor, and a single network connection.     a hard drive, CD drive, DVD drive, and/or other storage
It should be appreciated that a user 114 as described herein       devices may be connected to the main unit 202. The storage
may include any person or entity which uses the presently 55 devices 218 may store any type of data, such as pricing data,
disclosed system and may include a wide variety of parties.        transaction data, operations data, inventory data, commission
For example, as will be discussed in further detail below,         data, manufacturing data, image data, video data, audio data,
users 114 of the presently disclosed system may include a          tagging data, historical access or usage data, statistical data,
consumer, a dealer, and/or a manufacturer.                         security data, etc., which may be used by the computing
   Typically, host devices 104 and servers 108 store one or 60 device 102, 104.
more of a plurality of files, programs, databases, and/or web         The computing device 102, 104 may also exchange data
pages in one or more memories for use by the client devices        with other network devices 220 via a connection to the net­
102, and/or other host devices 104 or servers 108. A host          work 106. Network devices 220 may include one or more
device 104 or server 108 may be configured according to its        servers 226, which may be used to store certain types of data,
particular operating system, applications, memory, hardware, 65 and particularly large volumes of data which may be stored in
etc., and may provide various options for managing the             one or more data repository 222. A server 226 may include
execution of the programs and applications, as well as various     any kind of data 224 including databases, programs, files,

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libraries, pncmg data, transaction data, operations data,         may be considered to be part of the automobile market infor­
inventory data, connnission data, manufacturing data, con­        mation processing system 302, however, for discussion pur­
figuration data, index or tagging data, historical access or      poses, the consumer interface 304, dealer interface 306, and
usage data, statistical data, security data, etc. A server 226    manufacturer interface 308 may be referred to as separate
may store and operate various applications relating to receiv­ 5 from the automobile market information processing system
ing, transmitting, processing, and storing the large volumes of   302.
data. It should be appreciated that various configurations of        For example, a user 114 may interact with a consumer
one or more servers 226 may be used to support and maintain       interface 304 to research new or used automobiles the user
the system 100. For example, servers 226 may be operated by       114 is interested in buying and/or selling. For example, a
various different entities, including automobile manufactur- 10 consumer may be looking for a four door sedan with specific
ers, brokerage services, automobile information services, etc.    features, including a global positioning system (GPS), a sun-
Also, certain data may be stored in a client device 102 which     roof, tinted windows, rated for at least thirty miles per gallon,
is also stored on the server 226, either temporarily or perma­    four wheel drive, etc. The consumer may interact with the
nently, for example in memory 208 or storage device 218. The      consumer interface 304 by inputting required and/or desired
network connection may be any type of network connection, 15 features, monthly budget or full price, etc. The consumer
such as an Ethernet connection, digital subscriber line (DSL),    interface 304 may provide a wide variety of features and
telephone line, coaxial cable, wireless connection, etc.          specifications which the consumer may choose from in pro­
   Access to a computing device 102, 104 can be controlled        viding a request. Based on the information put into the con­
by appropriate security software or security measures. An         sumer interface 304 from the consumer, the consumer inter­
individual users' 114 access can be defined by the computing 20 face 304 may provide one or more reports or offers to the
device 102, 104 and limited to certain data and/or actions.       consumer. As will be discussed in further detail below, the
Accordingly, users 114 of the system 100 may be required to       information provided by the consumer interface 304 may
register with one or more computing devices 102, 104. For         include current market prices for automobiles, including
example, registered users 114 may be able to request or           information relating to additional features, and may include
manipulate data, such as submitting requests for pricing 25 information on specific automobiles, for example, which may
information or providing an offer or a bid.                       be en route to a dealer near the consumer's present location or
   As noted previously, various options for managing data         may be already owned by the consumer. The automobile
located within the computing device 102, 104 and/or in a          market information processing system 302 may process data
server 226 may be implemented. A management system may            received by the consumer interface 304, as well as the dealer
manage security of data and accomplish various tasks such as 30 interface 306 and/or the manufacturer interface 308, to
facilitating a data backup process. A management system           respond to a request from a consumer. For example, data from
may be implemented in a client 102, a host device 104, and a      database system 310 may be queried for use in a report, or a
server 226. The management system may update, store, and          reconnnendation may be provided by reconnnendation
back up data locally and/or remotely. A management system         engine 312 according to the consumer request and current
may remotely store data using any suitable method of data 35 market data. The automobile market information processing
transmission, such as via the Internet and/or other networks      system 302 may integrate data received from consumer inter-
106.                                                              face 304, dealer interface 306, and manufacturer interface
   FIGS. 3A and 3B provide a block diagram showing an             308 to provide current and accurate information relating to
example automobile transaction network structure 300. As          the automobile market.
illustrated in FIG. 3A, the example automobile transaction 40        It should be appreciated that the consumer interface 304
network structure 300 includes an automobile market infor-        may be specific to one particular manufacturer or may pro­
mation processing system 302, a consumer interface 304, a         vide information for automobiles manufactured by multiple
dealer interface 306, and a manufacturer interface 308. The       different manufacturers. For example, a consumer interface
example automobile market information processing system           304 may be a website with information for many manufac-
302 may be implemented on one or more host devices 104 45 turers. For example, the consumer interface 304 may access
accessing one or more servers 108, 226. In an example             or link to the manufacturer specific websites (e.g., Ford),
embodiment, the automobile market information processing          particularly with regard to new automobile information, but
system 302 includes a database system 310, a reconnnenda­         also for used automobile information. Also, for example, a
tion engine 312, a vehicle identification number processor        consumer interface 304 may be implemented as an automo-
314, and an interface generation unit 316. A user 114 may be 50 bile manufacturer's website. Typically, a manufacturer's
a consumer, a dealer, or a manufacturer that interacts with the   website may provide consumers with a catalog like feature
consumer interface 304, dealer interface 306, or manufac­         that provides information on different automobile models
turer interface 308, respectively. A database system 310 may      with any available options or features. For example, a manu­
include a wide variety of automobile market data. A recom­        facturer website may allow a consumer to select options that
mendation engine 312 may provide reconnnendations for 55 are desired to "build" a particular new automobile, and may
consumers, dealers, and manufacturers. A vehicle identifica­      provide price comparisons using suggested retail prices,
tion number processor 314 may be used for making requests         which may consumers use for initial research into what pric­
regarding specific automobiles and automobiles with specific      ing the dealer may offer for a particular automobile with a
sets of features. For example, a vehicle identification number    particular feature set. Also, typically, the consumer may enter
processor 314 may determine a specific set of features that a 60 information, including, for example, name, an address or zip
specific car has based on a picture ofthat specific car's vehicle code, and telephone number. This information may be passed
identification number. Interface generation unit 316 may pro­     on from the manufacturer to a nearby dealer and/or nearby
vide, for example, HTML files which are used at the con­          dealer information may be provided to the consumer ( e.g., the
sumer interface 304, dealer interface 306, and manufacturer       dealer in or nearest to the consumer's entered zip code).
interface 308 interface to provide information to the users 65 Accordingly, the dealer may contact the consumer, or the
114. It should be appreciated that he the consumer interface      consumer may inquire with the dealer, regarding the specific
304, dealer interface 306, and manufacturer interface 308         automobiles available on that dealer's lot and particular pric-

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ing being offered, etc. In many cases, consumers may not              consumer, for at home research and preparation, and/or in a
inquire with dealers that the manufacturer may recommend,             dealer location while shopping as a negotiating tool that may
and similarly, dealers may not diligently follow up with con­         provide confirmation on pricing, useful tips, and the like. As
sumers that have an interest in purchasing an automobile.             will be discussed in FIG. 3B in further detail below, the
Further, it should be appreciated that the information pro- 5 consumer interface 304 may include a used automobile seller
vided via a consumer interface 304 and/or a manufacturer              interface 318 and a used automobile buyer interface 320.
website may be very useful to consumers. For example, in the             In an example embodiment, a dealer interface 306 may
past, dealers often provided brochures with all the informa­          provide a user 114, such as a dealer employee, information
tion on a manufacturer's available car models, including all          relating to the current automobile market. The dealer inter­
the features and options information. However, dealers typi- 10 face 306 allows a dealer to interact with automobile market
cally do not provide comprehensive information brochures,             information processing system 302 to provide the dealer with
which may be relatively expensive to produce, and rather, that        a wide variety ofinformation, including, for example, current
information is typically located on a manufacturer website            market pricing. Other automobile market information a
and/or a consumer interface 304. It should also be appreciated        dealer may receive on a dealer interface 306 includes infor­
that information on a manufacturer website and/or a con- 15 mation relating to lot inventory, turnover rates, automobile
sumer interface 304 may be directed to both new and used              transportation and/or shipping costs, incentives, and various
automobiles. For example, historical and statistical informa­         ratings, such as ratings relating to quality, safety, insurance, a
tion which demonstrates favorable safety ratings, quality and         consumer credit score, dealer ratings, residual or resale val­
reliability data, low maintenance costs, low insurance prices,        ues, etc. A dealer may input information into dealer interface
low emissions, high gas mileage, etc. based on specific mod- 20 306 relating to sales data, including current pricing offered,
els for specific years, and/or groups ofmodels and years may          special sales offers, actual transaction data, inventory data,
be provided on a manufacturer website and/or a consumer               etc. In an example embodiment, the dealer may provide infor­
interface 304.                                                        mation through dealer interface 306 which will be used by
   Accordingly, the consumer interface 304 may provide a              automobile market information processing system 302 to
wide range of information, for example, based on any 25 prepare reports or offers to consumers and/or manufacturers.
searches or queries performed by a user 114. In an example            It should be appreciated that a dealer is typically a franchise
embodiment, based on a user search or request for a response,         entity, while a distribution location may not be a franchise
the consumer interface 304 will display a quality index or            entity. For brevity, throughout this specification, the term
value index based on normalized calculations for an automo­           dealer may be used to describe both franchise entity dealers
bile. The recommendation engine 312 may provide recom­ 30 and non-franchise entity distribution location. Accordingly,
mendations to a consumer based on the current automobile              as used in this disclosure, the term dealer does not indicate
market data stored in the automobile market information               whether an entity is a franchise entity. Moreover, a franchise
processing system 302. For example, metrics on gas mileage,           dealer or a non-franchise distribution location may utilize a
emissions, operating and maintenance costs, safety ratings,           dealer interface 306 as described herein.
etc. may be benchmarked against comparable automobiles of 35             In an example embodiment, a manufacturer interface 308
the same and different manufacturers. Similar purchase                may provide a user 114, such as a manufacturer employee,
options to a specific search may also be provided, based on           information relating to the current automobile market,
feature matching, price range, consumer popularity, etc.              including consumer requests. For example, an manufacturer
Information including price ranges, including MSRP, invoice           interface 308 may provide a manufacturer a request received
prices, inventory levels, the user's 114 credit ratings (e.g., 40 from a consumer interface 304. Additionally, the manufac­
FICO score), may be provided which may include monthly                turer interface 308 may provide information such as a report
payment estimates or projections. It should be appreciated            that allows the manufacturer to provide a response to the
that such data may be provided for both new and used auto­            requesting consumer. A report may include information from
mobiles. For example, a financing calculator may help a user          database system 310 relating to current market pricing, recent
114 determine what financing rate is appropriate for an auto- 45 sales figures and trends, current manufacturer incentives, cur­
mobile purchase. It should be appreciated that dealers may            rent inventory, including dealer inventory, inventory in tran-
mislead consumers into believing that a higher financing rate         sit, and/or build times or lead times for a desired automobile,
will be required to secure a loan. Further, for example, a lease      etc. The manufacturer may use this information to provide a
vs. buy calculator may be provided which may use current              response to a consumer request. The manufacturer may pro­
market data including prices, interest rates, incentives, esti- 50 vide the manufacturer interface 308 with information to pro­
mated mileage per year, etc. for providing an analysis for a          vide a confirmation, a verification, or an offer to a consumer
particular consumer regarding purchasing or leasing. Also,            via consumer interface 304. For example, a confirmation
the consumer interface 304 may provide a purchase checklist,          number associated with the particular consumer request may
for example, often steps to buying a car. A qualitative check­        be provided for the consumer. Also, a recommendation may
list may allow a user to ask the right questions and get the right 55 be provided from the recommendation engine 312 to the
answers from a dealer. Additional tips may be provided, such          manufacturer in relation to automobile pricing, responding to
as a list of products or services dealers may attempt to sell to      a specific request, manufacturer incentives, inventory man­
a consumer with an analysis ofthe value ofthese products or           agement, production schedules, shipping schedules, etc. It
services and a recommendation to accept or decline these              should be appreciated that a manufacturer may be referred to
dealer offers. Further, beyond analysis relating to automo- 60 as an OEM or original equipment manufacturer. Further, it
biles, additional analysis or reports may be provided, for            should be appreciated that a manufacturer may include vari-
example, relating to dealer reviews, other supplemental prod­         ous related affiliate entities all doing business as, or operating
ucts, financial entities that may provide financing, etc. For         under, the same manufacturer name. For example, a manu­
example, dealer reviews may provide a consumer with infor­            facturer typically may include a manufacturing company
mation the consumer may use in addition to automobile pric- 65 (e.g., operating the manufacturing plant), a sales company
ing and delivery options. Moreover, the consumer interface            (e.g., operating automobile sales activities), and a captive
304 may provide a wide variety of useful information to a             finance company (e.g., operating financing and leasing activi-

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ties). The manufacturer interface 308 may provide a manu­           that the used automobile seller interface 318 may be used by
facturer with a real-time lens into the automobile market           consumers. It should be appreciated that, a manufacturer
which may allow the manufacturer to adjust production               off-lease seller may have limited options to sell a used off­
schedules, pricing plans, marketing activities, etc., which         lease automobile and may have time constraints that are may
may provide a significant advantage for manufacturers.           5 be typically imposed on a consumer seller of a used automo­
   As illustrated in FIG. 3B, a consumer interface 304 may          bile. Typically, an off-lease automobile may be dropped off
include a used automobile seller interface 318 and a used           by a consumer lessee at any one of a variety of dealer loca­
automobile buyer interface 320. The used automobile seller          tions. The manufacturer lessor may then wish to sell the used
interface 318 may be used by consumer sellers to sell used          off-lease automobile, however, the dealer where the off-lease
automobiles, while the used automobile buyer interface 320 10 automobile was dropped off may have a significant bargain­
may be used by consumers to buy used automobiles. It should         ing advantage to purchase that automobile, as the manufac­
be appreciated that consumers may be able to access both            turer may need to sell the off-lease automobile quickly and
interfaces 318 and 320 from consumer interface 304. In an           may have limited options. Typically, the dealer may not offer
example embodiment, the used automobile seller interface            the manufacturer off-lease seller full market value for the
318 and a used automobile buyer interface 320 may be inte- 15 off-lease automobile. It should be appreciated that the manu­
grated within a single website or application, or for example,      facturer off-lease seller may transport the car to an auction in
may be implemented as distinct websites. Similarly, in an           an attempt to obtain a higher price. However, transportation
example embodiment, a used automobile buyer interface 320           costs, auction fees, and delay in selling the off-lease automo­
may be integrated with features of a consumer interface 304         bile may cause the manufacturer off-lease seller to accept less
for searching both new and used automobiles for purchase, or 20 than market value for the off-lease automobile from the
new and used automobiles may not be simultaneously search­          dealer, or otherwise not maximize the value of the off-lease
able on a particular implementation of a consumer interface         automobile. For example, typically, an off-lease automobile
304. As will be discussed further below, a used automobile          sold at auction for near or even above the current market value
seller interface 318 may be used by a consumer seller of a          is significantly offset by transportation costs and auction fees.
specific used automobile to receive information on the spe- 25         The off-lease seller interface 324 may provide a manufac-
cific automobile and request bids for the specific automobile.      turer off-lease seller with leverage, not only through the abil­
Similarly, a used automobile buyer interface 320 may be used        ity to obtain bids to purchase the off-lease automobile, but
for used automobile buyers to receive information on a used         through the ability to determine the number of matches or
automobile and place a bid on that specific automobile.             search hits for an off-lease automobile. The dealer that has the
   It should be appreciated that, for example, a consumer 30 off-lease automobile may know that the manufacturer may
seller of a used automobile may be considered different than        have the ability to track searches for the off-lease automobile
a dealer seller of a used automobile in some respects. For          performed by consumers and/or other dealers. The manufac­
example, a consumer seller of a used automobile is often            turer off-lease seller may provide the dealer in possession of
selling through different charmels, such as offering for sale in    an off-lease automobile with matches and/or bids, which may
classified advertisements versus from a dealer lot. It should be 35 provide the dealer with firm evidence of current demand or
appreciated that such differences may be relevant to the abil-      interest in the off-lease automobile. The dealer may be able to
ity to maximize the value of a sale or purchase of a used           use this information to determine an appropriate price, and
automobile. Accordingly, where appropriate, the present dis­        possibly even more profitably than the manufacturer. Accord­
closure may distinguish a consumer seller from a dealer             ingly, a dealer may often be inclined to make a significantly
seller, or distinguish a consumer buyer from a dealer buyer. 40 more competitive bid for an off-lease automobile. It should be
Also, as discussed in further detail below, a manufacturer          appreciated that the manufacturer may use the off-lease seller
off-lease seller of a used automobile may also be considered        interface 324 to identify in-market buyers, and even without
different from a consumer seller and/or a dealer seller.            receiving bids from those buyers, the manufacturer's bargain­
   A dealer interface 306 may include a used automobile             ing power may improve, resulting in a greater value for off-
buyer interface 322. For example, a typical dealer may use a 45 lease sales.
dealer interface 306 primarily for facilitating sales of new and       Accordingly, information may be provided to the automo­
used automobiles, however, the dealer interface 306 may also        bile market information processing system 3 02 from consum­
be used to facilitate purchasing used automobiles. For              ers, dealers, and manufacturers with a very high degree of
example, a used automobile buyer interface 322 may be used          granularity, as every transaction that occurs and even every
by dealers similarly to the way that the used automobile buyer 50 request or search may be stored and used by the automobile
interface 320 may be used by consumers. It should be appre­         market information processing system 302. This allows the
ciated that in an example embodiment, the used automobile           automobile market information processing system 302 to use
buyer interfaces 320, 322 may be similar or the same, and/or        the most current automobile market data to provide informa­
may integrated as part of single website or application. In an      tion to consumers, dealers, and manufacturers. It should be
example embodiment, a dealer may use the used automobile 55 appreciated that market prices can change relatively quickly,
buyer interface 322 to facilitate bringing a consumer in to         particularly when major events drive consumer behavior or
purchase a new automobile based on providing a competitive          manufacturer production, such as natural disasters. Accord­
bid to purchase a used automobile as a trade in.                    ingly, reports and recommendations provided by the automo­
   A manufacturer interface 308 may include a used automo­          bile market information processing system 302 may be highly
bile off-lease interface 324. For example, a manufacturer may 60 accurate, reliable, and sensitive to market changes.
use a manufacturer interface 308 primarily for facilitating            It should be appreciated that the users 114 of the automo­
sales of new automobiles, however, the manufacturer inter­          bile market information processing system 302, including
face 308 may also be used to facilitate selling off-lease auto­     consumers, dealers, and manufacturers, and buyers and sell­
mobiles which have been returned by a consumer lessor               ers of new and used automobiles, may be required to agree to
whose lease is expiring. For example, an off-lease seller inter­ 65 and/or execute a terms of use agreement or terms of service
face 324 may be used by a manufacturer, typically, a captive        agreement. Various forms of enforcing the agreement may be
finance company of the manufacturer, similarly to the way           implemented, including a transaction deposit policy, which

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may require a deposit or a credit card hold, or the like, and a    sit, and manufacturing lead times. The automobile market
standard schedule of fees or default payment schedule for          data may be comprised solely of information received from
infractions such as improper condition of an automobile,           the consumer interface 304, dealer interface 306, and manu­
delay in delivery, etc. Accordingly, all parties may be pro­       facturer interface 308, or may include additional information
tected from another party breaching the agreement.               5 received from other sources, for example, industry analysts,
   It should be appreciated that certain functions described as    consumer reports groups, govermnent agencies, etc. It should
performed, for example, at automobile market information           be appreciated that various methods of storing the automobile
processing system 302, may instead be performed locally at         market data may be employed according to the system
consumer interface 304, dealer interface 306, and manufac­         requirements. For example, database system 310 may be
turer interface 308, or vice versa. Further, in certain cases, 10
                                                                   organized according to different manufacturers or dealers,
tasks may be performed using consumer interface 304, dealer
                                                                   automobile make and model, different information categories
interface 306, and manufacturer interface 308 or, for
                                                                   (e.g., suggested pricing, market prices, production, shipping,
example, performed in person, such as a consumer signing
documents at a dealer location, or a dealer communicating          lot inventory), etc., and may consist of one or more databases
with a manufacturer using a telephone. It should be appreci- 15 on one or more servers 108, 226 which may be remotely
ated that the consumer interface 304, dealer interface 306, and    located from each other and/or a host device 104 of the
manufacturer interface 308 may be implemented, for                 automobile market information processing system 302. As
example, in a web browser using an HTML file received from         will be discussed further below, the automobile market data
the automobile market information processing system 302. In        may be continually updated as new data is provided to the
an example embodiment, the consumer interface 304, dealer 20 automobile market information processing system 302.
interface 306, and manufacturer interface 308 may be located          The automobile market data may be used by any or all
on a website, and may further be implemented as a secure           parties involved in a used automobile transaction, including
website. Also, consumer interface 304, dealer interface 306,       used automobile sellers including consumer sellers and
and manufacturer interface 308 may require a local applica­        manufacturer off-lease sellers, and used automobile buyers
tion, for example, which a manufacturer or dealer may pay for 25 including consumer buyers and dealer buyers. In the example
to have access to, for example, information from the automo­       process 400, as discussed further below, the used automobile
bile market information processing system 302 such as              seller described by way of example as a consumer seller. It
requests from consumers.                                           should be appreciated that the example process 400 may work
   FIG. 4 is a flowchart of an example process 400 for facili­     similarly or the same for a manufacturer off-lease seller. In an
tating a used automobile transaction. Although the process 30 example embodiment, the consumer used automobile seller
400 is described with reference to the flowchart illustrated in    interface 318 and manufacturer off-lease seller interface 324
FIG. 4, it will be appreciated that many other methods of          may be provided as a combined interface. Certain aspects of
performing the acts associated with the process 400 may be         the disclosed example process 400 may be of greater or lesser
used. For example, the order of many of the blocks may be          advantage to a manufacturer off-lease seller compared with a
changed, certain blocks may be combined with other blocks, 35 consumer seller. For example, consumer sellers typically sell
and many of the blocks described are optional.                     used automobiles infrequently, while manufacturer off-lease
   The example process 400 for facilitating a used automobile      sellers may be selling thousands of used off-lease automo­
transaction may allow users 114 to efficiently sell and pur­       biles each month. Accordingly, the goals of the user 114 may
chase automobiles. The example process 400 may begin with          vary between consumer sellers and manufacturer off-lease
automobile market data including at least pricing data is 40 sellers. Certain notable aspects that may be distinguishable
stored in a database system (block 402). For example, auto­        between a consumer seller and manufacturer off-lease seller
mobile market data from dealers, consumers, and manufac­           will be discussed below.
turers regarding pricing, inventory, insurance information,           The example process 400 continues with a consumer seller
quality ratings, safety ratings, and other ratings is collected    providing a request for a response (block 404). For example,
and stored in a database. For example, inventory data may 45 a used car seller takes a picture of the vehicle identification
include data regarding off-lease automobiles, including            number (VIN) of a used car and fills in price parameters and
scheduled drop off dates of automobiles with expiring leases.      other information into a mobile application to receive a
In an example embodiment, a wide variety of data is stored in      response based on current market data. In an example
a database system 310. Automobile market data may include          embodiment, the seller's request may be transmitted from
various relevant ratings, reports, awards, or other informa- 50 used automobile seller interface 318, 324 via the internet to
tion, including quality information, safety information, insur­    the automobile market information processing system 302.
ance information, consumer credit information, dealer rating       For example, using an application stored on a mobile device
information, incentive information, residual value informa­        103, the used car seller takes a picture of the VIN on the used
tion, and/or any other data which may be relevant to consum­       car and fills in a minimum bid price, delivery parameters, etc.
ers. For example, ratings data may include information from 55 The seller's parameters may specify a pickup location by
the National Highway Traffic Safety Administration                 distance from an address, an area code, etc., which allows for
(NHTSA), the Environmental Protection Agency (EPA), and/           matching the seller with buyers that are in-market. The pic­
or the Insurance Institute for Highway Safety (IIHS). The          ture of the VIN may be processed using optical character
data may include information from a consumer interface 304,        recognition, which allows the automobile market information
such as data in consumer searches or requests, information 60 processing system 302 to determine the make and model of
from a dealer interface 306, such as currently offered dealer      the car, along with various other characteristics of the car.
pricing, transaction data for finalized sales, current inventory   Also, for example, the used car seller may take a picture of the
data, transport or shipping costs, and information from a          odometer, and the mileage may be determined using optical
manufacturer interface 308, such as current manufacturer           character recognition. It should be appreciated that the VIN
prices and suggested pricing, manufacturer incentives, and 65 may include human readable characters, a bar code, or any
current inventory including finished inventory on hand, pro­       other graphical or machine readable information which acts
duction scheduling, shipment scheduling, inventory in tran-        as a vehicle identification number.

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   Also, the used car seller may input into a mobile applica­      specific used car which is identified based on the VIN. The
tion or website a wide variety of additional information about     group of consumers and dealers that receive a real-time report
the used car. For example, pictures of the used car may be         may be based on prior searches conducted by consumers on
uploaded with the request. In an example embodiment, pic­          used automobile buyer interface 320 and searches conducted
tures of the exterior, interior, dashboard, and/or odometer 5 by dealers with used automobile buyer interface 322. In an
may be provided. Also, for example, service records, owner­        example embodiment, a report may include quality informa­
ship records, and other documents or information may be            tion, safety information, insurance information, recall infor­
included with a request. Further, a written description of the     mation, EPA gas mileage and emissions information, con-
car may be provided. Accordingly, because the used car seller      sumer credit information (e.g., buyer FICO score), dealer
can provide information such as pictures, in addition to infor- 10
                                                                   rating information, incentive information, residual value
mation which the seller may not have access to, such as the
                                                                   information, and/or any other data which may be relevant to
original manufacturer specifications of the used car, potential
                                                                   consumers and/or dealers. In an example embodiment, a
buyers may have access to a great deal of information on the
used car. Further, in an example embodiment, a mobile appli­       report may include a specific history information for the
cation may include the geolocation of a used car seller, so the 15 specific used car, such as a CARFAX report. The request
seller does not need to enter such information. Accordingly,       and/or the report may be provided in real-time and may also
the buyer may perform research, for example, while at home         provide real-time data. Data reported based on a real-time
or while shopping at a dealer location. It should be appreci­      updates   in the automobile market information processing
ated that certain used car buyers may be highly interested in      system 302 may provide significant advantages, for example,
the geolocation of the consumer seller. For example, a dealer 20 when pricing conditions may change quickly due to unfore­
may find the consumer seller's geolocation to be more impor­       seen market conditions. The recommendation engine 312
tant than a consumer buyer, because a dealer may require a         may provide recommendations to a used automobile buyer
minimal cost for picking up a car to ensure profitability, and     based on the current automobile market data. For example, a
to optimize the opportunity for creating a new customer rela­      report may indicate various estimated sales probabilities for
tionship. Similarly, certain used automobile sellers may be 25 different prices that the used automobile buyer may offer or
very interested in the geolocation of the used automobile          bid. In an example embodiment, a estimated sale price or
buyer. For example, a manufacturer off-lease seller may have       range may be provided. For example, a probability analysis
a high interest in determining the amount ofin-market interest     may be provided with prices and corresponding probabilities
or demand for an off-lease automobile.                             may be estimated as, e.g., 80% chance to purchase at $6,000;
   In an example embodiment, a manufacturer off-lease seller 30 60% chance to purchase at $5,500; 30% chance to purchase at
may provide a request for a response for an automobile that        $5,000; 10% chance to purchase at $4,500. Such information
will be dropped off by a consumer lessee in the near future.       may be illustrated in various ways, such as a bell curve graph
For example, a manufacturer user 114 may input a VIN into          or a chart. Further, for example, the recommendation engine
off-lease seller interface 324 by typing, speaking, or provid­     may provide daily suggestions (e.g., a deal of the day) for
ing an image of the VIN. The manufacturer off-lease seller 35 dealers and/or consumers. Consumers may use such sugges­
may provide a parameter that the used off-lease automobile         tions to save money or get a better value on a used car pur­
will be available only after a certain date. The manufacturer      chase by buying from another consumer rather than a dealer.
off-lease seller may find that providing a request for a           Dealers may use such suggestions to purchase used cars at
response prior to the consumer lessee actually dropping off an     good deals, and/or to attract consumers to visit the dealer in
off-lease automobile may significantly improve the value of 40 person or online, as well as prepare responses or bids to other
off-lease automobiles. It should be appreciated that the dealer    consumer requests. Dealers or consumers may customize the
where the consumer lessee drops off the off-lease automobile       used automobile buyer interface 320, 322 to provide infor­
may be bargaining without any particular advantage because         mation in a pre-specified manner to suit the particular needs
the manufacturer off-lease seller may have multiple inter­         of the specific dealer or consumer. In an example embodi-
ested used automobile buyers that, based on search param­ 45 ment, a manufacturer off-lease seller may receive automobile
eters, have received the off-lease automobile as a match,          market data including inventory information including data
and/or bids from used automobile buyers.                           regarding off-lease cars which have been dropped off at
   Used car buyers may perform a search with used automo­          dealer locations and cars which will soon be coming off­
bile buyer interfaces 320, 322, and may typically include          lease. Further, dealers and/or consumers may be able to
parameters limiting the search to a specific automobile type, 50 receive information regarding off-lease cars as well. For
make, or model, certain options or features, a price range, and    example, information may include a specific automobile
a pickup location or area. Further, for example, the buyer may     identified by a VIN with an expected drop off location and
take a picture of a VIN anywhere or manually type in a VIN         date based on a lease expiration.
number, including at automobile trade shows, mall displays,           A bid to purchase the used automobile from the consumer
or anywhere new or used cars are for sale. The buyer may even 55 seller is requested from used automobile buyers (block 408).
take a picture of a car parked in the street as the buyer walks    For example, a group of consumers and dealers within a
down the street. Any request or query communicated from the        certain radius of the used car seller location may receive a bid
consumer interface 304 may be stored, for example, in data­        request based on used automobile buyer searches via used
base system 310, thereby updating the automobile market            automobile buyer interfaces 320, 322. Each used automobile
information processing system 302 with current automobile 60 buyer's bid may include, for example, a price and a delivery
market data.                                                       option or delivery suggestion. The used automobile buyer
   The example process 400 may continue with providing             interfaces 320, 322 may provide for simple input of necessary
automobile market data to used automobile buyers based on          and optional data. Further, a used automobile buyer's bid may
the consumer seller request (block 406). For example, a group      contain certain limitations, restrictions, or conditions. For
of consumers and dealers receive a real-time report including 65 example, a dealer may provide a bid with the condition that a
local used car sales data, inventory data, quality and safety      new car be purchased and the used car be traded in at the bid
ratings data, insurance data, and gas mileage data of the          price.

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   In an example embodiment, the request may provide one or          tures or looks, convenience, insurance implications, gas mile­
more options, products, services, or add-ons for a used auto­        age, and/or service records, may play a large role in pricing a
mobile buyer to select from. For example, used automobile            bid above or below a suggested bid price. For example, for a
buyers may be able to select financing options, warranties,          dealer, the potential for forming a customer relationship, the
extended service contracts, insurance plans, or other hard add 5 value of potential other sales, add-on products, and/or ser­
accessories. These selectable options may be offered directly        vices, or competition with other parties. All used automobile
from the used automobile seller or may be offered through the        buyers that are interested may place a bid for a used car
AMIPS 302. Accordingly, a seller may not be offering any             seller's consideration.
options for a buyer to select, but the system may automati­             It should be appreciated that various alternative delivery
cally provide the option to purchase further add-ons. In an 10 options may be provided from several used automobile buy­
example embodiment, AMIPS 302 may provide for third                  ers' bids, for example, based on preferences or parameters
party providers of add-ons to provide live auction bids for a        indicated by the consumer seller of the used automobile. For
used automobile buyer to select for inclusion in a bid. Accord­      example, the used automobile seller interface 318 may pro­
ingly, for example, several insurance companies may provide          vide several different bids with different delivery options and
a bid for key insurance, or several financial companies may 15 prices to the used car seller, for example, a price of$6,000 to
provide bids for a loan. It should be appreciated that certain       drop off the car at an out of state dealer the next day or a price
bids may depend on the particular buyer, so for example, a           of$5,500 to drop off the car at a local consumer buyer loca­
buyer's credit or driving record may cause different buyers to       tion in five days. For example, a consumer buyer may deter­
receive different third party bids for add-ons. For example, a       mine the cost of picking up the used car from the consumer
particular buyer may be able to increase a bid to purchase a 20 seller and provide two pricing and delivery options, for
used automobile ifthird party add-ons are particularly advan­        example, $5,500 to pick up the used car from the consumer
tageous, which may benefit a consumer seller or manufac­             seller or $5,800 to have the used car delivered to the consumer
turer off-lease seller. For example, a buyer may receive a           buyer's home. For example, a manufacturer off-lease seller
better than expected interest rate and insurance price, and          may review bid prices and delivery options on a number
therefore be able to offer an additional $1,000 to the seller, 25 factors on used automobile seller interface 324, but may be
while staying within the buyer's predetermined monthly bud­          very interested in finding an in-market buyer to eliminate
get. It should be appreciated that third parties may include         transportation costs. A manufacturer off-lease seller may
dealers which may be otherwise involved in a transaction.            often have somewhat different concerns than a consumer
Also, in an example embodiment, the AMIPS 302 may pro­               seller. For example, to meet a quarterly budget, a manufac­
vide at no charge to the buyers or sellers, certain add-ons, such 30 turer off-lease seller may be primarily interested eliminating
as a limited thirty day warranty. Accordingly, the AMIPS 302         a high back log of off-lease cars even if selling cars at a
may gain trust from buyers even ifthe buyers generally do not        significant discount is required.
trust the sellers. It should also be appreciated that a buyer may       Further, for example, used automobile buyers may use
not select any add-ons offered by third parties and/or the           information such as ratings data to optimize their bids. For
AMIPS 302. A used automobile seller may have no interest in 35 example, ifgasoline prices are increasing, mileage ratings for
whether a buyer selects any add-ons, or the seller may receive       a particular car may dictate increasing or decreasing a bid. If
additional compensation if an add-on is selected, so a buyer         a vehicle has very good gas mileage, and gas prices are
selection of add-ons may or may not affect a seller's value          skyrocketing, that car may have an increasing demand as gas
associated with the buyer's bid.                                     prices increase, or vice versa. Similarly, safety ratings of
   One or more buyer bids are provided to the consumer seller 40 vehicles may be important to consumer demand ifhigh profile
(block 410). For example, several consumers and dealers              problems have appeared for a particular automobile style,
provide bids based on current pricing data, options informa­         make, or model. As discussed above, various automobile
tion ofthe specific used car, and potential pickup locations, so     market information may be used by a used automobile buyer
several different prices and delivery options may be available       including safety information, insurance information, con­
to the used car seller via the used automobile seller interface 45 sumer credit information, dealer rating information, incentive
318. Typically, the bid will include at least a specified price      information, residual value information, and/or any other data
and pickup time and location. In an example embodiment, a            which may be relevant.
used car seller that has taken a picture ofa VIN with a mobile          The used automobile seller interface 318, 324 may orga­
device and entered some basic information such as an odom­           nize used automobile buyer bids based on a variety of factors
eter reading may receive used car buyer bids within minutes 50 and may provide supplemental information. For example,
or seconds on the mobile device. Accordingly, the bids may           certain buyer bids may be selected as the best options, all
be used in real-time as the consumer seller may be actively          buyer bids may be summarized, various additional ratings,
selling a used car or shopping for a new or used car, for            reviews, or popularity information, special offers, etc. may
example, on a dealer lot. Typically, a pickup location will be       also be provided to a consumer along with any used automo-
at the consumer seller location, a consumer buyer location, or 55 bile buyer bids. The recommendation engine 312 may pro­
at a dealer lot or distribution location. In an example embodi­      vide recommendations to a consumer seller based on the
ment, the consumer buyer location may be determined using            current automobile market data. For example, of ten used
the geolocation ofthe buyer's mobile device 103. It should be        automobile buyer bids provided with a response, three bids
appreciated that some consumers may be flexible as to the            may be recommended, for example, as "Great Deals!" It
delivery options and that some dealers may have multiple 60 should be appreciated that in some cases, a particular used car
locations which could serve as a pickup location. In an              seller request may not return any buyer bids, for example, if
example embodiment, the automobile market data may indi­             the used car for sale is in low demand or a unique item with a
cate that the particular used car that a consumer seller has         limited market. Also, for example, if only one or two bids are
requested bids for should be priced at, for example, $6,000.         received, the recommendation engine 312 may recommend
However, various factors may affect the bid or offer that a 65 that a consumer seller wait for a better bid because the bids
consumer or dealer may make for the specific used car. For           provided are not competitive offers based on the current auto­
example, for a consumer, personal preference for certain fea-        mobile market data stored in the database system 310. Fur-

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ther, in an example embodiment, buyer bids may be organized           sellers. For example, the automobile market information pro­
according to distance to a pickup location, highest price,            cessing system 302 may provide and/or require the use of a
closest match to the consumer seller entered criteria, a nor­         terms of service agreement, which the consumer seller or
malized quality index or value index, etc. The consumer seller        manufacturer off-lease seller and the used automobile buyer
or manufacturer off-lease seller may be able to toggle 5 may sign and agree to the terms provided therein. For
between different viewing options for buyer bids.                     example, a credit card could be charged a default payment in
   Further, in an example embodiment, a consumer seller may           the event that either party breaches the terms of service agree­
be at a dealer lot (e.g., a Nissan dealer) and take a picture of a    ment. In an example embodiment, a schedule of various
VIN on a used car (e.g., a Maxima), which the consumer                breaches may require different default payments, for
seller intends to trade in. A bid from a competing dealer (e.g., 10 example, if a buyer determines a headlight does not work, a
a Toyota dealer) across the street may be received on the             standard $30 fee may be assessed from the consumer seller.
mobile device within seconds and include information for a            Also, a variable default agreement may be based on a distance
competing trade in value, and may have further information            between a seller and a buyer, so that a party which travels a
relating to other new or used cars which may be intended to           great distance may be compensated if the other party breaches
cause the consumer seller to go to the competing dealer, for 15 the agreement. Also, for example, a time period for inspection
example, including various price comparisons, gas mileage             may be specified in a request and/or a bid. A bid may be
ratings, safety ratings, residual value, driving directions to the    conditional based on one or more seller representations.
competing dealer, etc. Accordingly, a consumer seller may             Moreover, a terms of service agreement may provide assur­
weigh the pros and cons of various used automobile buyer              ances for any issues which may arise in the sale of a used car,
bids from consumers and/or dealers, based on delivery 20 and may provide one or more options based on a breach,
options, pricing, and any other relevant variants. Any bids           including payment of fees or nullification of a bid acceptance
communicated from used automobile buyer interfaces 320,               and/or sale execution. Any consumer seller selections,
322 may be stored, for example, in database system 310, to            counter offers, or additional requests or responses may be
further update the automobile market information processing           stored in database system 310, as the communications are
system 302 with current automobile market data.                    25 processed by automobile market information processing sys­
   The consumer seller selects a buyer bid including a price          tem 302, providing further data updates. Accordingly, in an
and a delivery option (block 412). For example, the used car          example embodiment, a consumer seller may select a bid in
seller chooses to sell the used car based on the price and the        order to sell the used car, and that sale information may then
pickup location of a consumer buyer bid. The seller may               be provided to another consumer searching for information
select an offer with a specified price and delivery option on 30 regarding the same type of car with similar features, for
the used automobile seller interface 318, 324. The used car           example, the next day.
seller may have been weighing two or more different delivery             The consumer seller and the used automobile buyer
options, price differences, etc., based on the response(s)            execute the sale of the used automobile (block 414). For
received through the used automobile seller interface 318,            example, the used automobile buyer electronically signs a
324. As noted above, the used automobile seller interface 318 35 contract and performs an electronic funds transfer or credit
may organize received bids and other helpful information in a         card payment. After a buyer bid is selected, an electronic
variety of ways, which may make the information easier for a          contract may be prepared by the automobile market informa­
consumer seller to digest. It should be appreciated that a            tion processing system 302 and provided for the used auto­
consumer seller will typically want to deliver a used car at a        mobile buyer who may e-sign the contract or other documen-
convenient location, often at or near the seller's home. 40 tation as needed. Similarly, the consumer seller may e-sign
Accordingly, used automobile buyers may attempt to provide            the contract or other documentation as needed, either prior to
delivery options tailored towards maximizing profit and con­          selecting a bid, at the time of selecting a bid, or at a later time.
venience, while still providing a superior bid to other used          A contract may be e-signed through the used automobile
automobile buyers. By providing multiple bids with different          seller interface 318, 324, and the used automobile buyer
delivery options, the consumer seller may be allowed to make 45 interface 320,322, respectively. In another example embodi­
extra money or save time based on the seller's particular             ment, paper copies of a contract may be signed, for example,
situation. It should be appreciated that the consumer seller          after the used automobile buyer prints them or receives them
selection of a bid may, for example, occur simultaneously             through the mail. In an example embodiment, the used auto­
with the consumer seller and used automobile buyer execut­            mobile buyer may provide cash or a paper check. It should be
ing the sale or providing a deposit or down payment, or the 50 appreciated that the process of executing a contract may take
like (see, e.g., block 414). Accordingly, in an example               some time. Also, it should be appreciated that, for example,
embodiment, once a consumer seller or manufacturer off­               the consumer seller selection of a bid discussed above (see,
lease seller selects a bid, the used automobile buyer has effec­      e.g., block 412) may occur simultaneously with the consumer
tively purchased the car, and both parties do not need to worry       executing the sale. Once the sale is completed, the actual
about the other party backing out of the deal.                     55 transaction data including the final sale price, may be pro­
   It should be appreciated that a consumer seller may not            vided to and stored in database system 310. Accordingly, the
want to drive to a distant pickup location without first receiv­      automobile market information processing system 302 may
ing some form of deposit, or likewise, a used automobile              be updated with current automobile market data from every
buyer may not want to go to a distant pickup location to              step in the used car sales process between a consumer seller or
without assurance that the used automobile will actually be 60 manufacturer off-lease seller and a used automobile buyer. In
available for pickup and in good working order. Likewise, a           an example embodiment, the updates provided to the auto­
manufacturer off-lease seller may be concerned with obtain­           mobile market information processing system 302 are pro­
ing maximum value for an off-lease automobile within the              vided in real-time, for example, data may be transmitted and
required time constraints, but transportation costs may be            processed within seconds or minutes. Further, for example, it
strictly budgeted. The automobile market information pro­ 65 should be appreciated that certain data may be provided to the
cessing system 302 may accommodate for deposits to provide            automobile market information processing system 302
any reasonable or necessary assurances to both buyers and             according to a batch processing schedule.

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   Next, the consumer seller makes the purchased used auto­             Accordingly, it should be appreciated that consumers,
mobile available according to the consumer seller bid selec­         manufacturers, and dealers, may receive significant benefits
tion (block416). For example, the seller drives the used car to      from the method of facilitating a used automobile transaction
the pickup location if the pickup location is not the used car       disclosed herein. Consumers that are selling and buying used
seller's location. It should be appreciated that the consumer 5 automobiles may benefit from more competitive pricing,
seller or a manufacturer off-lease seller and the used automo­       piece of mind knowing that a fair market price is being offered
bile buyer may use a wide variety of locations as a pickup           for prospective purchases or sales, and improved delivery
location, and may work out a delivery option which is con­           options that allow the consumer to weigh the benefits and
venient for both parties. A consumer seller may interact with        drawbacks of different delivery options, pricing, and other
                                                                  10 variables. In an example embodiment, consumers can view
the automobile market information processing system 302
                                                                     prices paid for comparable cars in specific locations based on
using used automobile seller interface 318, for example, to
                                                                     the automobile market data in the automobile market infor­
provide notification that a car is at the pickup location and
                                                                     mation processing system 302, for example, within a certain
ready for delivery. A manufacturer off-lease seller may inter-       time frame such as one month and within a certain proximity
act with the automobile market information processing sys- 15 to the consumer. Manufacturers selling off-lease automobiles
tern 302 using used automobile seller interface 324, for             may benefit from reduced transportation costs, saving auction
example, to provide notification that a car has been dropped         fees, and an improved bargaining position with a dealer in
off by a consumer lessee and is at the pickup location and           possession of an off-lease automobile. For example, the abil­
ready for delivery to the buyer. Similarly, a notification may       ity to identify in-market buyers may be particularly advanta­
be sent via used automobile buyer interface 322, 322 to the 20 geous to manufacturer off-lease sellers, which may be able to
used car buyer that the used car is available for pickup at the      identify matching searches of in-market buyers. Also, dealers
specified location.                                                  and/or various third parties may benefit from the opportunity
   Finally, the used automobile buyer receives the purchased         to sell insurance, credit, service contracts, hard add accesso­
used automobile according to the consumer seller selected            ries, and other add-ons with used automobiles. Moreover,
delivery option (block 418). For example, the used car buyer 25 various inefficiencies in the automobile industry may be
receives the used car at the pickup location the same day the        minimized utilizing the presently disclosed system and
sale is executed. The used car buyer may pick up the car             method.
without ever having to talk to or negotiate, in person or over          FIG. 5 illustrates a block diagram of an example data
the telephone, with the consumer seller or manufacturer off­         architecture 500. In the example data architecture 500, inter­
lease seller. For example, the used car buyer may arrive at the 30 face data 502, administrative data 504, and automobile mar­
pickup location, show identification and provide a proof of          ket data 506 interact with each other, for example, based on
purchase, and be provided the keys to the car by the seller. The     user commands or requests. The interface data 502, adminis­
parties may sign paperwork indicating or confirming the car          trative data 504, and automobile market data 506 may be
has been picked up. Proof of purchase documentation may              stored on any suitable storage medium (e.g., server 226). It
include any or all documents that are legally required for an 35 should be appreciated that different types of data may use
automobile sale for a given jurisdiction, for example, the title,    different data formats, storage mechanisms, etc. Further, vari-
odometer statement, or any other document required by the            ous applications may be associated with processing interface
Department of Motor Vehicles. For example, the consumer              data 502, administrative data 504, and automobile market
seller or manufacturer off-lease seller may be required to           data 506. Various other or different types of data may be
provide any legally required documents to fully execute and 40 included in the example data architecture 500.
record the sale of the used car.                                        Interface data 502 may include input and output data of
   Further, in an example embodiment, a consumer seller or           various kinds. For example, input data may include mouse
manufacturer off-lease seller may offer various insurance            click data, scrolling data, hover data, keyboard data, touch
policies or service contracts to a used car buyer, for example,      screen data, voice recognition data, etc., while output data
etch insurance, key insurance, gap insurance, or a ninety day 45 may include image data, text data, video data, audio data, etc.
warranty may be provided. For example, a consumer seller or          Interface data 502 may include formatting, user interface
manufacturer off-lease seller may purchase insurance                 options, links or access to other websites or applications, and
through the automobile market information processing sys­            the like. Interface data 502 may include applications used to
tem 302 in placing a request for bids, which may increase            provide or monitor interface activities and handle input and
interest from buyers. Also, for example, an insurance policy 50 output data.
or service contract may be provided for a used car being sold           Administrative data 504 may include data and applications
at no charge to the consumer seller or manufacturer off-lease        regarding user accounts. For example, administrative data
seller, for example, as a convenience to all users 114 using the     504 may include information used for updating accounts,
disclosed system. For example, key insurance may be pro­             such as creating or modifying consumer accounts and/or
vided at no cost to both the consumer seller and the used car 55 dealer accounts. Further, administrative data 504 may include
buyer. It should be appreciated that, for example, using             access data and/or security data. Administrative data 504 may
options provided through the automobile market information           include a terms of service agreement. Administrative data 504
processing system 302, a consumer seller or manufacturer             may interact with interface data in various manners, provid­
off-lease seller may sell or provide any add-on products or          ing a user interface 304, 306, 308 with administrative fea-
services that a dealer would typically offer or provide in the 60 tures, such as implementing a user login and the like.
sale of a used automobile. Also, if the used automobile buyer           Automobile market data 506 may include, for example,
is a dealer, additional products or services may be offered to       executed sales data 508, consumer data 510, dealer data 512,
the consumer seller at the time of pickup. For example, the          manufacturer data 514, statistical data 516, and/or historical
dealer may offer new or used cars, including related financing       data 518. Executed sales data 508 may include actual nego-
options, warranties, service plans, insurance plans, and hard 65 tiated prices for manufacturer and dealer sales, differences in
add accessories to the buyer, as discussed in further detail         list prices to negotiated prices, sales demographics, etc. Con­
above.                                                               sumer data 510 may include consumer search activity, con-

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sumer requests and offers, consumer feedback, etc. Dealer               receive benefits from the presently disclosed system. Also, as
data 512 may include dealer pricing, including list prices, sale        discussed above, manufacturer off-lease sellers may benefit
prices for limited time dealer offers or deals of the day, nego­        greatly from the presently disclosed system, for example,
tiation information such as bottom line pricing, offers                 using bids and/or matches or search hits for an off-lease
received, foot traffic activity, and dealer inventory data, 5 automobile to improve bargaining power with a dealer in
including current on location data, automobile turnover rates,          possession of the off-lease automobile and other dealers and/
etc. Manufacturer data 514 may include manufacturer pric­               or consumers.
ing, including suggested pricing, preferred dealer pricing,                Automobile market data 506 may be maintained in various
etc., manufacturer incentives including cash rebates, special           servers 108, in databases or other files. It should be appreci­
lease rates, special APR rates, zero down offers, lifetime 10 ated that, for example, a host device 104 may manipulate
warranties, guaranteed trade-in offers, etc., and inventory             automobile market data 506 in accordance with the adminis­
information including dealer inventory, inventory by loca­              trative data 504 and interface data 502 to provide requests or
tion, inventory in transit, manufacturing or production lead            reports to users 114 including consumers, dealers, and manu­
times or build times, production scheduling, shipping sched­            facturers, and perform other associated tasks. It should also be
uling, lease information, etc. Statistical data 516 may include 15 appreciated that automobile market data 506 represents auto­
information used for providing reports including graphs,                mobile market information, and that these terms may be used
forecasts, recommendations, calculators, depreciation sched­            interchangeably in this disclosure depending upon the con­
ules, tax information, etc., including equations and other data         text.
used for statistical analysis. Historical data 518 may include             FIG. 6 is flow diagram illustrating an example process 600
past sales data, such as historical list prices, actual sale prices, 20 for facilitating a used automobile transaction, according to an
manufacturer and dealer margins, operating costs, service               example embodiment of the present invention. Although the
costs or profitability, loyalty information, etc. It should be          process 600 is described with reference to the flow diagram
appreciated that data may fall under one or more categories of          illustrated in FIG. 6, it will be appreciated that many other
automobile market data 506, and/or change with the passage              methods of performing the acts associated with the process
of time. For example, industry analyst data may include his- 25 600 may be used. For example, the order of many of the
torical data 518 and statistical data 516 relating to safety or         blocks may be changed, certain blocks may be combined with
quality reports, efficiency data, recall data, and the like for         other blocks, and many of the blocks described are optional.
used automobiles, which may be organized or re-organized                   In the example process 600, data may flow between the
under various categories of automobile market data 506 as               automobile market information processing system 302 and a
time passes or as supplemental data is provided to the auto- 30 used automobile seller interface 318, 324 and a used automo­
mobile market information processing system 302. It should              bile buyer interface 320, 322, as discussed above based on
be appreciated that a system administrator may load data into           used automobile seller and buyer interaction with the auto­
the automobile market information processing system 302 as              mobile market information processing system 302. As dis­
it becomes available. For example, arnmal, quarterly, and/or            cussed above, a used automobile seller interface 318 and used
monthly reports relating to safety, insurance, etc., may be 35 automobile buyer interface 320 may be included in a con­
input into automobile market data 506 on a regular basis. It            sumer interface 304, a used automobile buyer interface 322
should also be appreciated that automobile market data 506              may be included a dealer interface 306, and a used automobile
may be tailored for a particular manufacturer and/or dealer,            seller interface 324 may be included in a manufacturer inter­
for example, a manufacturer may request that a specific type            face 308. It should be appreciated that the automobile market
of data that is not normally stored or used be stored in the 40 information processing system 302 may update the automo­
database system 310. Accordingly, for example, customized               bile market information stored in the database system 310
reports may be provided to a manufacturer interface 308                 when automobile market information is received from a
using that specific data for the manufacturer, for example,             buyer or seller, and/or a consumer, a dealer, a manufacturer,
relating to resale values of used automobiles.                          an industry analyst, and/or from any other information
   The integration of the various types of automobile market 45 source. Accordingly, the automobile market information may
data 506 received from the consumer interface 304, dealer               remain current and/or provide sufficiently recent data for the
interface 306, and manufacturer interface 308 may provide a             benefit of consumers, dealers, and/or manufacturers.
synergistic and optimal resource for consumers, dealers, and               The example process 600 may begin with a consumer seller
manufacturers alike. In an example embodiment, a used auto­             or a manufacturer off-lease seller of a used automobile taking
mobile seller and a used automobile buyer may benefit greatly 50 a picture of the VIN using a mobile phone application and
from using an application in a mobile device 103 to provide a           entering in information such as pricing parameters (block
request for buyer bids on a used automobile by taking a                 602). The used automobile seller interface 318, 324 may use
picture of the VIN of the used automobile, for example, using           OCR to determine and provide the VIN and pricing param­
used automobile seller interface 318, 324. Used automobile              eters to the automobile market information processing system
buyers may search for used automobiles for sale by consumer 55 302 as a consumer seller request or a manufacturer off-lease
sellers, for example, using used automobile buyer interface             seller request (block 604). It should be appreciated that OCR
320. The used automobile buyers may receive intrabrand                  may occur in the automobile market information processing
and/or interbrand seller request information in real-time. The          system 302 or at the used automobile seller interface 318,
intrabrand and interbrand information provided on the used              324. The automobile market information processing system
automobile buyer interface 320 may allow the best automo- 60 302 receives the seller request and prepares automobile mar­
bile options for a particular consumer to be provided to that           ket information based on the seller request (block 606). The
consumer, and may allow consumer sellers, manufacturer                  automobile market information processing system 302 may
off-lease sellers, and dealers to compete with each other tak­          send a bid request and automobile market information based
ing into account a greater amount of automobile market infor­           on the seller request to the used auto buyer interface 320, 322
mation, which may result in a more efficient automobile 65 for one or more consumers and/or dealers (block 608). It
market. Consumers that are selling used automobiles and                 should be appreciated that while the seller request is automo­
consumers that are buying used automobiles may similarly                bile market information, typically, additional automobile

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market information would be provided with the seller request.      may be provided as a series of computer instructions on any
For example, typically, data relating to recent sales of similar   conventional computer-readable medium, including RAM,
used automobiles and/or comparable automobiles may be              ROM, flash memory, magnetic or optical disks, optical
provided. In an example embodiment, a target price or "true"       memory, or other storage media. The instructions may be
value of the used automobile, or an expected price range, may 5 configured to be executed by a processor, which when execut­
be provided. Also, for example, various gas mileage data,          ing the series of computer instructions performs or facilitates
safety ratings, recall information, quality reports, estimated     the performance of all or part of the disclosed methods and
insurance costs, and the like may be provided. Further, add-on     procedures.
products or services, such as insurance, credit, warranties,          Further, it will be appreciated that the presently disclosed
service contracts, or hard add accessories, which may be 10 system, methods, and apparatus for performing used automo­
determined based on a third party bidding process, may also        bile transactions may be utilized in conjunction with other
be provided. One or more used automobile buyers, including         systems or methods. For example, the presently disclosed
consumers and/or dealers, receive the bid request and auto­        system, methods, and apparatus may be used in conjunction
mobile market information, determine prices and delivery           with the disclosure in the co-pending commonly-owned
options for the used automobile using the automobile market 15 patent applications filed on Jul. 5, 2011, entitled "AUTOMO­
information, and prepare and provide bids for the consumer         BILE TRANSACTION FACILITATION USING A MANU-
seller or a manufacturer off-lease seller (block 610). A buyer     FACTURER RESPONSE," application Ser. No. 13/176,497,
bid may be sent from the used automobile buyer interface           and entitled "AUTOMOBILE TRANSACTION FACILITA­
320, 322 to the automobile market information processing           TION BASED ON CUSTOMER SELECTION OF A SPE­
system 302 for each consumer and/or dealer that wants to 20 CIFIC AUTOMOBILE," application Ser. No. 13/176,525,
provide a bid (block 612). The automobile market informa­          the entire contents of each of which is incorporated by refer­
tion processing system 302 receives and processes buyer bids       ence herein, and in an example embodiment, the features of
and prepares the bids and automobile market data for the           which may be combined with the features of the present
consumer seller or manufacturer off-lease seller (block 614).      disclosure.
   The automobile market information processing system 302 25         It should be understood that various changes and modifi­
may send buyer bids and automobile market information to           cations to the example embodiments described herein will be
the used automobile seller interface 318, 324 (block 616). It      apparent to those skilled in the art. Such changes and modi­
should be appreciated that automobile market information           fications can be made without departing from the spirit and
may be provided to the consumer seller or manufacturer             scope of the present subject matter and without diminishing
off-lease seller before buyer bids are provided, and/or con- 30 its intended advantages. It is therefore intended that such
currently with buyer bids. The seller may receive the buyer        changes and modifications be covered by the appended
bids and automobile market information and may select a bid        claims.
including a delivery option based on the automobile market            The invention is claimed as follows:
information (block 618). The used automobile seller interface         1. A method comprising:
318, 324 may send to the automobile market information 35             storing, on a computer readable medium, automobile mar­
processing system 302 a selection of a bid indicating that the           ket data which is representative of recent automobile
consumer seller or manufacturer off-lease seller wants to sell           market characteristics, including at least pricing data
the used automobile based on the selected bid (block 620).               and inventory data, wherein the automobile market data
The automobile market information processing system 302                  includes information received from at least one manu­
receives and processes the seller bid selection (block 622). 40          facturer, a plurality of dealers, and a plurality of con­
For example, the automobile market information processing                sumers, wherein at least a portion of the automobile
system 302 may send the bid selection to the used automobile             market data is updated in real-time;
buyer interface 320, 322 (block 624). The used automobile             receiving, via a used automobile consumer seller interface,
buyer may receive the bid selection and coordinate a sale by,            a first request for a response regarding a first used auto­
for example, setting up a pick up time and location for the 45           mobile, wherein the first request is made by a consumer
used automobile at the seller location or the buyer location             seller using a mobile device which takes a picture of a
(block 626). Also, for example, the automobile market infor­             vehicle identification number and the vehicle identifica­
mation processing system 302 may provide contract or loan                tion number is recognized using optical character rec­
documents, collect a deposit or down payment, or the like,               ognition, and the first request includes data provided
from the consumer seller, the manufacturer off-lease seller, 50          with at least one graphical user interface component;
and/or the used automobile buyer. As discussed above, in              causing at least one processing device to:
each of blocks 606, 614, and 622, the automobile market                  provide first automobile market data, based on the first
information processing system 302 may update the automo­                    request, via a used automobile buyer interface,
bile market information in the database system 310 based on                 wherein the first automobile market data is based on
the information received from the consumer, manufacturer, 55                real-time automobile market data and actual sales
and/or dealer.                                                              data for comparable automobiles within a specified
   For exemplary purposes, the present disclosure discusses a               time period and within a specified geographic area;
various examples relating to a purchase of a used car. How­              request, via the used automobile buyer interface from at
ever, it should be appreciated that the disclosed system, meth­             least two used automobile buyers, a bid to purchase
ods, and apparatus may be advantageously used in relation to 60             the first used automobile based on the first request,
various used automobiles other than cars including, for                     wherein the at least two used automobile buyers
example, trucks, vans, sport utility vehicles, jeeps, motor­                include at least one dealer and at least one consumer;
cycles, commercial vehicles, and/or automobiles that have a              provide the response including at least two bids via the
VIN and require a license plate to operate.                                 used automobile consumer seller interface, the at least
   It will be appreciated that all of the disclosed methods and 65          two bids each including at least a price and a delivery
procedures described herein can be implemented using one or                 option for the first used automobile, the at least two
more computer programs or components. These components                      bids based on the first automobile market data; and

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   receiving a consumer seller selection of a first bid including          characteristics, including at least pricing data and inven­
      a first delivery option which specifies a first pickup loca­         tory data, wherein the automobile market data includes
      tion and a second delivery option which specifies a dif­             information received from at least one manufacturer a
      ferent second pickup location, wherein the consumer                  plurality of dealers, and a plurality of consume�s
      seller selection indicates a consumer seller intention to 5          wherein at least a portion of the automobile market dat�
      sell the first used automobile based on the first bid to a           is updated in real-time;
      first used automobile buyer and specifies one of the first        at least one processing device operably coupled to the
      delivery option and the second delivery option.                      computer readable medium, the at least one processing
   2. The method of claim 1, wherein the first used automobile             device executing instructions to:
buyer is one of a consumer and a dealer.                           10      receive, via a used automobile consumer seller interface
   3. The method of claim 1, wherein the at least one graphical               a first request for a response regarding a first used
user interface component includes at least one of a text box, a               automobile, wherein the first request is made by a
drop down list, a list box, a radio button, a checkbox, and a                 consumer seller using a mobile device which takes a
slider bar.                                                                   picture of a vehicle identification number and the
   4. The method of claim 1, wherein the first request includes 15            vehicle identification number is recognized using
a picture of at least one of the exterior of the automobile the               optical character recognition, and the first request
interior of the automobile, the dashboard of the automobile                   includes data provided with at least one graphical user
the odometer of the automobile, service records of the auto�                  interface component;
mobile, and ownership records of the automobile.                           provide first automobile market data, based on the first
   5. The method of claim 1, wherein the first request includes 20            request, via a used automobile buyer interface,
geolocation information of the consumer used automobile                       wherein the first automobile market data is based on
seller.                                                                       real-time automobile market data and actual sales
   6. The method of claim 1, wherein the first request includes               data for comparable automobiles within a specified
at least one price parameter.                                                 time period and within a specified geographic area;
   7. The method of claim 1, wherein the pricing data includes 25          request, via the used automobile buyer interface from at
used automobile data and new automobile data, including                       least two used automobile buyers, a bid to purchase
actual prices of executed transactions, dealer listing prices,                the first used automobile based on the first request,
dealer sale prices, manufacturer incentives, dealer bids, con­                wherein the at least two used automobile buyers
sumer bids, and consumer pricing parameters.                                  include at least one dealer and at least one consumer
   8. The method of claim 1, further comprising:                   30      provide the response including at least two bids via th�
   causing the at least one processing device to process the                  used automobile consumer seller interface, the at least
      consumer seller selection of the first bid to facilitate                two bids each including at least a price and a delivery
      executing a sale including at least one of providing for                option for the first used automobile, the at least two
      electronic signature of documents and providing for an                  bids based on the first automobile market data; and
      electronic funds transfer.                                   35      receive a consumer seller selection of a first bid includ­
   9. The method of claim 1, wherein an add-on, including at                  ing a first delivery option which specifies a first
least one of insurance, financing, a service contract, a war­                 pickup location and a second delivery option which
ranty, and a hard-add accessory, is provided by a third party                 specifies a different second pickup location, wherein
with the first request, via the used automobile buyer interface.              the consumer seller selection indicates a consumer
   10. The method of claim 9, wherein the add-on is selected 40               seller intention to sell the first used automobile based
for inclusion in the first bid by the first used automobile buyer.            on the first bid to a first used automobile buyer and
   11. A system comprising:                                                   specifies one of the first delivery option and the sec­
   a computer readable medium storing automobile market                       ond delivery option.
      data which is representative of recent automobile market                              * * * * *




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c12)   United States Patent                                                                             (IO) Patent No.:     US 8,744,925 B2
       Seergy et al.                                                                                    (45) Date of Patent:       Jun.3,2014

(54)    AUTOMOBILE TRANSACTION                                                                      2002/0065707 Al                  5/2002   Lancaster et al.
        FACILITATION BASED ON CUSTOMER                                                              2002/0082978 Al                  6/2002   Ghouri et al.
                                                                                                    2002/0099628 Al                  7/2002   Takaoka et al.
        SELECTION OF A SPECIFIC AUTOMOBILE                                                          2002/0111877 Al                  8/2002   Nelson
                                                                                                    2003/0088435 Al                  5/2003   King
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                Benjamin N. S. Brown, Pine Brook, NJ                                                2003/0229577 Al                 12/2003   Nabel
                (US)                                                                                2004/0034544 Al                  2/2004   Fields et al.
                                                                                                    2004/0059626 Al                  3/2004   Smallwood
                                                                                                    2005/0004819 Al                  1/2005   Etzioni et al.
(73) Assignee: Sidekick Technology Inc., Pine Brook,                                                2005/0050097 Al                  3/2005   Yeh et al.
               NJ (US)                                                                              2005/0108112 Al                  5/2005   Ellenson et al.
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( *) Notice:          Subject to any disclaimer, the term ofthis                                    2006/0020477 Al                  1/2006   Retzbach et al.
                      patent is extended or adjusted under 35                                       2007/0150362 Al                  6/2007   Sharma et al.
                      U.S.C. 154(b) by 359 days.                                                    2007 /0255663 Al                11/2007   Jordan et al.
                                                                                                                                      (Continued)
(21) Appl. No.: 13/176,525
                                                                                                                               OTHER PUBLICATIONS
(22)    Filed:        Jul. 5, 2011                                                                AutoTrader.com, Inc. .- Private Company Information-Business
                                                                                                  Week, http://investing.businessweek.com/research/stocks/private/
(65)                    Prior Publication Data                                                    snapshot.asp?privcapid�92642.
        US 2011/0264552 Al            Oct. 27, 2011
                                                                                                                                      (Continued)
(51) Int. Cl.
                                                                                                  Primary Examiner - Brandy A Zukanovich
     G06Q 30/00                    (2012.01)
                                                                                                  (74) Attorney, Agent, or Firm - K&L Gates LLP
(52) U.S. Cl.
     USPC ......................................... 705/26.4; 705/26.1                            (57)                                ABSTRACT
(58) Field of Classification Search
     USPC .............................. 705/26.1, 26.3, 27.1, 26.4                               A system, methods, and apparatus for performing automobile
     See application file for complete search history.                                            transactions are disclosed. In an example embodiment, auto­
                                                                                                  mobile market data representative ofcurrent automobile mar­
(56)                    References Cited                                                          ket characteristics is stored. The automobile market data may
                                                                                                  include pricing, inventory, and consumer interest information
                 U.S. PATENT DOCUMENTS                                                            received from dealers, manufacturers, and consumers. A con­
                                                                                                  sumer may provide a request for a response regarding a spe­
       5,970,472 A      10/1999 Allsop et al.                                                     cific automobile using an image of a vehicle identification
       6,006,201 A      12/1999 Berent et al.
       6,321,221 Bl     11/2001 Bieganski                                                         number or a graphical user interface. Automobile market data
       6,463,431Bl      10/2002 Schmitt                                                           may be provided to a dealer based on the request. Bids to sell
       6,533,173 B2      3/2003 Benyak                                                            the specific automobile may be requested from dealers based
       6,868,388Bl       3/2005 Simpson et al.                                                    on the request. Dealer bids may be provided to the consumer
       6,868,389Bl       3/2005 Wilkins et al.                                                    with prices and a delivery options. The consumer may select
       7,395,223 Bl      7/2008 Buzzell et al.
       7,406,436 Bl      7/2008 Reisman                                                           a bid which specifies a pickup location at a first dealer.
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       7,636,574B2      12/2009 Poosala                                                                                      56 Claims, 7 Drawing Sheets

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                                                        Automobile Market Information Processing System
                                                                               310                                   312
                                                   ,----�---,
                                                       Database System                       Recommendation Engine


                                                                               314                                   316

                                                      Vehicle Identification
                                                                                                 Interface Generation Unit
                                                       Number Processor




                                                                                                                             308




                                                     u u u
                                                   Consumer                           Dealer                   Manufacturer
                                                    Interface                        Interface                  Interface




                                                    User 114                         User114                     User 114




                                                                               Appx916
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                                                   Page 2


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                                                 Appx917
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                                                                      Computing Device
                                                      214       � 102,104
                                   Keyboard, mouse,
                                   and/or other input
                                       device(s)
                                                                     220        Network
                                                                                 device

                                  206
          Other PC
           circuits
                      208                                      106
          Memory                        Interface                    Internet and/or other
                                         circuits                         network(s)
                      204
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          Processor
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Appx919
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                                       Printer(s ),            Hard drive(s),
                Display            speaker(s), and/or         CD(s), DVD(s),                    Databases, programs,
                                      other output              and/or other                 files, configuration, index,
                                        devices               storage devices                    tags, access, usage,
                                                                                               statistical, security data

                                                            Fig. 2
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           Automobile Market Information Processing System
                       1310                             1312

          Database System                   Recommendation Engine


                         1314                                  1 3 16
         Vehicle Identification
                                              Interface Generation Unit
          Number Processor


          a                          a                            h




          1J
               1304                  p     1306                   1'   r3 08


      Consumer                     Dealer                   Manufacturer
       Interface                  Interface                  Interface




       User 114                   User 114                    User114




                                  Fig. 3



                                   Appx920
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                                           Start                400
                                                              ;-
                                                                                  402
     Automobile market data including at least pricing data and inventory data is
       stored in a database system (e.g., data from dealers, consumers, and
    manufacturers, regarding pricing, lot inventory, turnover rates, transport costs,
     and quality, safety, and other ratings is collected and stored in a database)
                                                                                   404
    A request for a response regarding an automobile is received from a consumer
    (e.g., a car buyer fills in a request form on a website or takes a picture of a VIN
             at a dealer to receive a response based on current market data)
                                                                                   406
    Automobile market data is provided to dealers based on the consumer request
     (e.g., a group of dealers receives a real-time report including local car sales
     data, inventory data, ratings data, and transport cost data of the subject car)
                                                                                   408
    A bid to sell the automobile to the consumer is requested from dealers (e.g., a
      group of dealers within a certain radius of the buyer receive a bid request)
                                                                                   410
     Dealer bids are provided to the consumer (e.g., several dealers provide bids
   based on current pricing data, dealer pickup locations, and potential add-ons, so
    several different prices and delivery options may be available to the car buyer)
                                                                                   412
    The consumer selects a bid including a delivery option which specifies a pickup
     location (e.g., the car buyer chooses to pickup at a nearby dealer in five days)
                                                                                   414
    The dealer provides the automobile at the dealer according to the consumer bid
     selection (e.g., the dealer notifies a commonly owned dealer that the car must
     be transported to the dealer pickup location for delivery in less than five days)
                                                                                   416
   The consumer and dealer execute the sale of the automobile (e.g., the car buyer
      e-signs a loan application and contract, and electronically transfers funds)



                  Fig.4A                 Fig. 48




                                           Appx921
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                                          •
                                       Fig. 4A                ;-400
                                                                           /418
      The dealer makes the purchased automobile available according to the
   consumer bid selection (e.g., the dealer transports the car from the commonly
   owned dealer location to the dealer pickup location selected by the car buyer if


                                          •
           the car is not already located at the dealer pickup location)
                                                                             r-420
   The consumer picks up the purchased automobile according to the consumer
  selected delivery option at the dealer (e.g., the car buyer picks up the car at the
               nearby dealer five days after the car sale is executed)

                                     Fig. 4B




                                        Appx922
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                                           r-500


        Interface Data
                           '     502
                                                         Administrative Data
                                                                                    504


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                                                �
                                                      Account          Access and
                                                    Information         Security

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               ,.                                                  '
                                                                  j�




                                         ,506
                             Automobile Market Data

                         /508                                     /510


          Executed Sales Data                        Consumer Data



                         ,s12                                     ,514


               Dealer Data                          Manufacturer Data



                         ,516                                     ,518


              Statistical Data                       Historical Data




                                       Fig. 5




                                       Appx923
                            Case: 23-1362             Document: 30     Page: 111          Filed: 12/05/2023




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                                  604                                         �?8�;1 \\
                                                           System receives            Bid request\       Dealers receive bid
          Consumer takes a               Consumer            request and                and auto             request and
           picture of a VIN               Request              prepares                  market          automobile market

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                                                          automobile market           information/          information to
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                                                          data based on the                    - !! //
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                                                                                                          determine prices
                                                                request                    I    !/'
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                                                                                                             and delivery
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                                                                                                           options for the
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                                                                                                           automobile and
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                                                                                                         provide bids for the
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                                                           System receives            Dealer bid
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Appx924
          Consumer receives
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                                  ·,                      automobile market
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            dealer bids and
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                                                          data for consumer
          automobile market           \J°T
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            information and
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              selects a bid
                                                I                                          I                          /626
                                  6 20
          including a delivery
                                                I                     ;-622 624
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            option based on
           automobile market                               System receives                               Dealer receives bid
                                          Selection
                                   ---    ---   -T
               information                                and processes bid     Selection                  selection and
                                                 I
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                                                              selection                                  coordinates a sale
                                                 I
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                                                I             Fig. 6
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                                                      US 8,744,925 B2
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         AUTOMOBILE TRANSACTION                                     options. The consumer may select a bid which specifies a
      FACILITATION BASED ON CUSTOMER                                pickup location at a particular dealer.
    SELECTION OF A SPECIFIC AUTOMOBILE                                 Additional features and advantages of the disclosed
                                                                    method and apparatus are described in, and will be apparent
           CROSS REFERENCE TO RELATED                             5 from, the following Detailed Description and the Figures.
                  APPLICATIONS
                                                                                BRIEF DESCRIPTION OF THE FIGURES
   This application is related to the co-pending commonly­
owned patent application filed on Jul. 5, 2011, entitled                 FIG. 1 is a high level block diagram of an example network
"AUTOMOBILE              TR ANSACTION           FACILITATION 10 communicating system, according to an example embodi­
USING A MANUFACTURER RESPONSE," the entire con­                       ment of the present invention.
tents of which is incorporated by reference herein.                      FIG. 2 is a detailed block diagram showing an example of
                                                                      a computing device, according to an example embodiment of
                        BACKGROUND                                    the present invention.
                                                                   15    FIG. 3 is a block diagram showing an example automobile
   In the automobile industry, consumers typically purchase           transaction network structure, according to an example
automobiles from dealers or dealerships. Dealers often pur­           embodiment of the present invention.
chase new automobiles from several manufacturers, to sell to             FIG. 4 includes a flowchart illustrating an example process
consumers. Consumers typically negotiate a lower price than           for facilitating an automobile transaction, according to an
the manufacturer suggested retail price typically referred to 20 example embodiment of the present invention.
as the "sticker price" and/or the price the dealer initially             FIG. 5 is a block diagram showing an example data archi­
offers. In many cases, the negotiation process for an automo­         tecture, according to an example embodiment of the present
bile may include a large degree of uncertainty for the con­           invention.
sumer. Generally, the negotiation process is a zero sum pro­             FIG. 6 is flow diagram illustrating an example process for
cess, and because the consumer and the dealer are each trying 25 facilitating an automobile transaction, according to an
to get a better deal, there is typically some lack of trust during    example embodiment of the present invention.
the negotiation. Accordingly, both dealers and consumers
often base the negotiations on established market prices.                      DETAILED DESCRIPTION OF EXAMPLE
However, market prices can fluctuate rapidly depending a                                     EMBODIMENTS
variety of factors. For example, consumer demand may be 30
affected by economic factors, such as changes in gasoline                The present disclosure relates in general to a system for
prices, unemployment rates, government sponsored tax                  facilitating automobile transactions and, in particular, to auto­
rebates for automobile purchases, etc.                                mobile transaction based on a consumer selection of a spe­
   In many cases, a consumer may have concerns that a dealer          cific automobile. Briefly, in an example embodiment, a sys­
may not offer a fair and competitive price. Various products 35 tem is provided which allows a consumer to request
and services have become available that allow consumers to            information regarding a specific car including dealer bids. For
perform research on market prices for automobiles. Similarly,         example, a consumer may use a mobile device to take a
dealers negotiating an automobile sale generally do not kuow          picture of a vehicle identification number. The specific
the maximum price a consumer will be willing to pay for a             vehicle may be identified using optical character recognition
particular automobile, or how long it will take to sell an 40 to request real-time information on that automobile. Dealers
automobile in inventory for a given price. Accordingly, deal-         may provide bids based on the consumer request using real-
ers also use products and services for determining and/or             time automobile market information, including intrabrand
tracking market prices. Further, automobile manufacturers             bids and interbrand bids. A consumer may select a dealer bid
may also have an interest in the market prices for automo­            to purchase or lease an automobile based on the prices and
biles, because the market activity captured as automobile 45 delivery options available. Also, the presently disclosed sys­
market information may allow the manufacturer to, for                 tem may advantageously allow for inventoryless bidding by
example, more profitably determine which automobiles to               dealers. For example, a dealer that does not have an automo­
manufacture, what prices the manufacture should offer to              bile in its inventory (e.g., on the dealer lot) can make a bid to
dealers, and whether manufacturer incentives should be                sell that automobile, and then have that automobile produced
offered on existing dealer automobile inventory.                   50 by a manufacturer or transported to the dealer lot. In a non­
                                                                      limiting example embodiment, certain features disclosed in
                           SUMMARY                                    the present patent application may be commercially embod­
                                                                      ied in products and services offered by Sidekick Technology
   The present disclosure provides a new and innovative sys­          LLC, the assignee of the present application.
tem, methods and apparatus for providing automobile market 55            The present system may be readily realized in a network
information and performing automobile transactions. In an             communications system. A high level block diagram of an
example embodiment, automobile market data representative             example network communications system 100 is illustrated
of recent automobile market characteristics is stored. The            in FIG. 1. The illustrated system 100 includes one or more
automobile market data may include pricing, inventory, and            client devices 102, and one or more host devices 104. The
consumer interest information received from dealers, manu­ 60 system 100 may include a variety of client devices 102, such
facturers, and consumers. A consumer may provide a request            as desktop computers and the like, which typically include a
for a response regarding a specific automobile using an image         display 112, which is a user display for providing information
of a vehicle identification number or a graphical user inter­         to users 114, and various interface elements as will be dis­
face. Automobile market data may be provided to a dealer              cussed in further detail below. A client device 102 may be a
based on the request. Bids to sell the specific automobile may 65 mobile device 103, which may be a cellular phone, a personal
be requested from dealers based on the request. Dealer bids           digital assistant, a laptop computer, a tablet computer, etc.
may be provided to the consumer with prices and a delivery            The client devices 102 may communicate with the host device

                                                            Appx925
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                                                     US 8,744,925 B2
                              3                                                                   4
104 via a connection to one or more communications chan­               One or more displays 112, printers, speakers, and/or other
nels 106 such as the Internet or some other data network,          output devices 216 may also be connected to the main unit
including, but not limited to, any suitable wide area network      202 via the interface circuit 212. The display 112 may be a
or local area network. It should be appreciated that any of the    cathode ray tube (CRTs), a liquid crystal display (LCD), or
devices described herein may be directly connected to each 5 any other type of display. The display 112 generates visual
other instead of over a network. Typically, one or more servers    displays generated during operation of the computing device
108 may be part of the network communications system 100,          102, 104. For example, the display 112 may provide a user
and may communicate with host servers 104 and client               interface, which will be described in further detail below, and
devices 102.                                                       may display one or more web pages received from a comput-
                                                                lO
   One host device 104 may interact with a large number of         ing device 102, 104. A user interface may include prompts for
users 114 at a plurality of different client devices 102.          human input from a user 114 including links, buttons, tabs,
Accordingly, each host device 104 is typically a high end          checkboxes, thumbnails, text fields, drop down boxes, etc.,
computer with a large storage capacity, one or more fast           and may provide various outputs in response to the user
microprocessors, and one or more high speed network con­ 15 inputs, such as text, still images, videos, audio, and anima-
nections. Conversely, relative to a typical host device 104,       tions.
each client device 102 typically includes less storage capac­          One or more storage devices 218 may also be connected to
ity, a single microprocessor, and a single network connection.     the main unit 202 via the interface circuit 212. For example,
It should be appreciated that a user 114 as described herein       a hard drive, CD drive, DVD drive, and/or other storage
may include any person or entity which uses the presently 20 devices may be connected to the main unit 202. The storage
disclosed system and may include a wide variety of parties.        devices 218 may store any type of data, such as pricing data,
For example, as will be discussed in further detail below,         transaction data, operations data, inventory data, commission
users 114 of the presently disclosed system may include a          data, manufacturing data, image data, video data, audio data,
consumer, a dealer, and/or a manufacturer.                         tagging data, historical access or usage data, statistical data,
   Typically, host devices 104 and servers 108 store one or 25 security data, etc., which may be used by the computing
more of a plurality of files, programs, databases, and/or web      device 102, 104.
pages in one or more memories for use by the client devices            The computing device 102, 104 may also exchange data
102, and/or other host devices 104 or servers 108. A host          with other network devices 220 via a connection to the net­
device 104 or server 108 may be configured according to its        work 106. Network devices 220 may include one or more
particular operating system, applications, memory, hardware, 30 servers 226, which may be used to store certain types of data,
etc., and may provide various options for managing the             and particularly large volumes of data which may be stored in
execution of the programs and applications, as well as various     one or more data repository 222. A server 226 may include
administrative tasks. A host device 104 or server may interact     any kind of data 224 including databases, programs, files,
via one or more networks with one or more other host devices       libraries, pricing data, transaction data, operations data,
104 or servers 108, which may be operated independently. 35 inventory data, commission data, manufacturing data, con­
For example, host devices 104 and servers 108 operated by a        fi guration data, index or tagging data, historical access or
separate and distinct entities may interact together according     usage data, statistical data, security data, etc. A server 226
to some agreed upon protocol.                                      may store and operate various applications relating to receiv­
   A detailed block diagram of the electrical systems of an        ing, transmitting, processing, and storing the large volumes of
example computing device (e.g., a client device 102, and a 40 data. It should be appreciated that various configurations of
host device 104) is illustrated in FIG. 2. In this example, the    one or more servers 226 may be used to support and maintain
computing device 102, 104 includes a main unit 202 which           the system 100. For example, servers 226 may be operated by
preferably includes one or more processors 204 electrically        various different entities, including automobile manufactur­
coupled by an address/data bus 206 to one or more memory           ers, brokerage services, automobile information services, etc.
devices 208, other computer circuitry 210, and one or more 45 Also, certain data may be stored in a client device 102 which
interface circuits 212. The processor 204 may be any suitable      is also stored on the server 226, either temporarily or perma­
processor, such as a microprocessor from the INTEL PEN­            nently, for example in memory 208 or storage device 218. The
TIUM® family of microprocessors. The memory 208 pref­              network connection may be any type of network connection,
erably includes volatile memory and non-volatile memory.           such as an Ethernet connection, digital subscriber line (DSL),
Preferably, the memory 208 stores a software program that 50 telephone line, coaxial cable, wireless connection, etc.
interacts with the other devices in the system 100 as described        Access to a computing device 102, 104 can be controlled
below. This program may be executed by the processor 204 in        by appropriate security software or security measures. An
any suitable manner. In an example embodiment, memory              individual users' 114 access can be defined by the computing
208 may be part of a "cloud" such that cloud computing may         device 102, 104 and limited to certain data and/or actions.
be utilized by a computing devices 102, 104. The memory 55 Accordingly, users 114 of the system 100 may be required to
208 may also store digital data indicative of documents, files,    register with one or more computing devices 102, 104. For
programs, web pages, etc. retrieved from a computing device        example, registered users 114 may be able to request or
102, 104 and/or loaded via an input device 214.                    manipulate data, such as submitting requests for pricing
   The interface circuit 212 may be implemented using any          information or providing an offer or a bid.
suitable interface standard, such as an Ethernet interface and/ 60     As noted previously, various options for managing data
or a Universal Serial Bus (USB) interface. One or more input       located within the computing device 102, 104 and/or in a
devices 214 may be connected to the interface circuit 212 for      server 226 may be implemented. A management system may
entering data and commands into the main unit 202. For             manage security of data and accomplish various tasks such as
example, the input device 214 may be a keyboard, mouse,            facilitating a data backup process. A management system
touch screen, track pad, track ball, isopoint, image sensor, 65 may be implemented in a client 102, a host device 104, and a
character recognition, barcode scanner, and/or a voice recog­      server 226. The management system may update, store, and
nition system.                                                     back up data locally and/or remotely. A management system

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may remotely store data using any suitable method of data           face 306, and manufacturer interface 308 to provide current
transmission, such as via the Internet and/or other networks        and accurate information relating to the automobile market.
106.                                                                   It should be appreciated that the consumer interface 304
   FIG. 3 is a block diagram showing an example automobile          may be specific to one particular manufacturer or may pro­
transaction network structure 300 which includes an automo- 5 vide information for multiple different manufacturers. For
bile market information processing system 302, a consumer           example, a consumer interface 304 may be a website with
interface 304, a dealer interface 306, and a manufacturer           information on many manufacturers, and further, the con­
interface 308. The example automobile market information            sumer interface 304 may access or link to the manufacturer
processing system 302 may be implemented on one or more             specific websites (e.g., Ford). Also, for example, a consumer
                                                                 10 interface 304 may be implemented as an automobile manu­
host devices 104 accessing one or more servers 108, 226. In
                                                                    facturer's website. Typically, a manufacturer's website may
an example embodiment, the automobile market information
                                                                    provide consumers with a catalog like feature that provides
processing system 302 includes a database system 310, a
                                                                    information on different automobile models with any avail­
recommendation engine 312, a vehicle identification number          able options or features. For example, a manufacturer website
processor 314, and an interface generation unit 316. A user 15 may allow a consumer to select options that are desired to
114 may be a consumer, a dealer, or a manufacturer that             "build" a particular automobile, and may provide price com­
interacts with the consumer interface 304, dealer interface         parisons using suggested retail prices, which may consumers
306, or manufacturer interface 308, respectively. A database        use for initial research into what pricing the dealer may offer
system 310 may include a wide variety of automobile market          for a particular automobile with a particular feature set. Also,
data. A recommendation engine 312 may provide recommen­ 20 typically, the consumer may enter information, including, for
dations for consumers, dealers, and manufacturers. A vehicle        example, name, an address or zip code, and telephone num­
identification number processor 314 may be used for making          ber. This information may be passed on from the manufac­
requests regarding specific automobiles and automobiles             turer to a nearby dealer and/or nearby dealer information may
with specific sets of features. For example, a vehicle identi­      be provided to the consumer (e.g., the dealer in or nearest to
fication number processor 314 may determine a specific set of 25 the consumer's entered zip code). Accordingly, the dealer
features that a specific car has based on a picture of that         may contact the consumer, or the consumer may inquire with
specific car's vehicle identification number. Interface genera­     the dealer, regarding the specific automobiles available on
tion unit 316 may provide, for example, HTML files which            that dealer's lot and particular pricing being offered, etc. In
are used at the consumer interface 304, dealer interface 306,       many cases, consumers may not inquire with dealers that the
and manufacturer interface 308 interface to provide informa­ 30 manufacturer may recommend, and similarly, dealers may
tion to the users 114. It should be appreciated that he the         not diligently follow up with consumers that have an interest
consumer interface 304, dealer interface 306, and manufac­          in purchasing an automobile. Further, it should be appreciated
turer interface 308 may be considered to be part of the auto­       that the information provided via a consumer interface 304
mobile market information processing system 302, however,           and/or a manufacturer website may be very useful to consum-
for discussion purposes, the consumer interface 304, dealer 35 ers. For example, in the past, dealers often provided brochures
interface 306, and manufacturer interface 308 may be                with all the information on a manufacturer's available car
referred to as separate from the automobile market informa­         models, including all the features and options information.
tion processing system 302.                                         However, dealers typically do not provide comprehensive
   For example, a user 114 may interact with a consumer             information brochures, which may be relatively expensive to
interface 304 to research automobiles the user 114 is inter- 40 produce, and rather, that information is typically located on a
ested in buying. For example, a consumer may be looking for         manufacturer website and/or a consumer interface 304.
a four door sedan with specific features, including a global           Accordingly, the consumer interface 304 may provide a
positioning system (GPS), a sunroof, tinted windows, rated          wide range of information, for example, based on any
for at least thirty miles per gallon, four wheel drive, etc. The    searches or queries performed by a user 114. In an example
consumer may interact with the consumer interface 304 by 45 embodiment, based on a user search or request for a response,
inputting required and/or desired features, monthly budget or       the consumer interface 304 will display a quality index or
full price, etc. The consumer interface 304 may provide a           value index based on normalized calculations for an automo­
wide variety of features and specifications which the con­          bile. The recommendation engine 312 may provide recom­
sumer may choose from in providing a request. Based on the          mendations to a consumer based on the current automobile
information put into the consumer interface 304 from the 50 market data stored in the automobile market information
consumer, the consumer interface 304 may provide one or             processing system 302. For example, metrics on gas mileage,
more reports or offers to the consumer. As will be discussed in     emissions, operating and maintenance costs, safety ratings,
further detail below, the information provided by the con­          etc. may be benchmarked against comparable automobiles of
sumer interface 304 may include current market prices for           the same and different manufacturers. Similar purchase
automobiles, including information relating to additional fea- 55 options to a specific search may also be provided, based on
tures, and may include information on specific automobiles,         feature matching, price range, consumer popularity, etc.
for example, which may be en route to a dealer near the             Information including price ranges, including MSRP, invoice
consumer's present location. The automobile market infor­           prices, inventory levels, the user's 114 credit ratings (e.g.,
mation processing system 302 may process data received by           FICO score), may be provided which may include monthly
the consumer interface 304, as well as the dealer interface 306 60 payment estimates or projections. For example, a financing
and/or the manufacturer interface 308, to respond to a request      calculator may help a user 114 determine what financing rate
from a consumer. For example, data from database system             is appropriate. It should be appreciated that dealers may mis­
310 may be queried for use in a report, or a recommendation         lead consumers into believing that a higher financing rate will
may be provided by recommendation engine 312 according              be required to secure a loan. Further, for example, a lease vs.
to the consumer request and current market data. The auto- 65 buy calculator may be provided which may use current mar­
mobile market information processing system 302 may inte­           ket data including prices, interest rates, incentives, estimated
grate data received from consumer interface 304, dealer inter-      mileage per year, etc. for providing an analysis for a particular

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consumer regarding purchasing or leasing. Also, the con­              be provided from the recommendation engine 312 to the
sumer interface 304 may provide a purchase checklist, for             manufacturer in relation to automobile pricing, responding to
example, often steps to buying a car. A qualitative checklist         a specific request, manufacturer incentives, inventory man­
may allow a user to ask the right questions and get the right         agement, production schedules, shipping schedules, etc. It
answers from a dealer. Additional tips may be provided, such 5 should be appreciated that a manufacturer may be referred to
as a list ofproducts or services dealers may attempt to sell to       as an OEM or original equipment manufacturer. The manu­
a consumer with an analysis ofthe value ofthese products or           facturer interface 308 may provide a manufacturer with a
services and a recommendation to accept or decline these              real-time lens into the automobile market which may allow
dealer offers. Further, beyond analysis relating to automo­           the manufacturer to adjust production schedules, pricing
biles, additional analysis or reports may be provided, for 10 plans, marketing activities, etc., which may provide a signifi­
example, relating to dealer reviews, other supplemental prod­         cant advantage for manufacturers.
ucts, financial entities that may provide financing, etc. For            Accordingly, information may be provided to the automo­
example, dealer reviews may provide a consumer with infor­            bile market information processing system 302 from consum­
mation the consumer may use in addition to automobile pric­           ers, dealers, and manufacturers with a very high degree of
ing and delivery options. Moreover, the consumer interface 15 granularity, as every transaction that occurs and even every
304 may provide a wide variety of useful information to a             request or search may be stored and used by the automobile
consumer, for at home research and preparation, and/or in a           market information processing system 302. This allows the
dealer location while shopping as a negotiating tool that may         automobile market information processing system 302 to use
provide confirmation on pricing, useful tips, and the like.           the most current automobile market data to provide informa-
   In an example embodiment, a dealer interface 306 may 20 tion to consumers, dealers, and manufacturers. It should be
provide a user 114, such as a dealer employee, information            appreciated that market prices can change relatively quickly,
relating to the current automobile market. The dealer inter­          particularly when major events drive consumer behavior or
face 306 allows a dealer to interact with automobile market           manufacturer production, such as natural disasters. Accord­
information processing system 302 to provide the dealer with          ingly, reports and recommendations provided by the automo-
a wide variety ofinformation, including, for example, current 25 bile market information processing system 302 may be highly
market pricing. Other automobile market information a                 accurate, reliable, and sensitive to market changes.
dealer may receive on a dealer interface 306 includes infor­             It should be appreciated that certain functions described as
mation relating to lot inventory, turnover rates, automobile          performed, for example, at automobile market information
transportation and/or shipping costs, incentives, and various         processing system 302, may instead be performed locally at
ratings, such as ratings relating to quality, safety, insurance, a 30 consumer interface 304, dealer interface 306, and manufac­
consumer credit score, dealer ratings, residual or resale val­        turer interface 308, or vice versa. Further, in certain cases,
ues, etc. A dealer may input information into dealer interface        tasks may be performed using consumer interface 304, dealer
306 relating to sales data, including current pricing offered,        interface 306, and manufacturer interface 308 or, for
special sales offers, actual transaction data, inventory data,        example, performed in person, such as a consumer signing
etc. In an example embodiment, the dealer may provide infor­ 35 documents at a dealer location, or a dealer communicating
mation through dealer interface 306 which will be used by             with a manufacturer using a telephone. It should be appreci­
automobile market information processing system 302 to                ated that the consumer interface 304, dealer interface 306, and
prepare reports or offers to consumers and/or manufacturers.          manufacturer interface 308 may be implemented, for
It should be appreciated that a dealer is typically a franchise       example, in a web browser using an HTML file received from
entity, while a distribution location may not be a franchise 40 the automobile market information processing system 302. In
entity. For brevity, throughout this specification, the term          an example embodiment, the consumer interface 304, dealer
dealer may be used to describe both franchise entity dealers          interface 306, and manufacturer interface 308 may be located
and non-franchise entity distribution location. Accordingly,          on a website, and may further be implemented as a secure
as used in this disclosure, the term dealer does not indicate         website. Also, consumer interface 304, dealer interface 306,
whether an entity is a franchise entity. Moreover, a franchise 45 and manufacturer interface 308 may require a local applica­
dealer or a non-franchise distribution location may utilize a         tion, for example, which a manufacturer may pay for to have
dealer interface 306 as described herein.                             access to, for example, information from the automobile mar­
   In an example embodiment, a manufacturer interface 308             ket information processing system 302 such as requests from
may provide a user 114, such as a manufacturer employee,              consumers.
information relating to the current automobile market, 50                FIG. 4 is a flowchart ofan example process 400 for facili­
including consumer requests. For example, an manufacturer             tating an automobile transaction. Although the process 400 is
interface 308 may provide a manufacturer a request received           described with reference to the flowchart illustrated in FIG. 4,
from a consumer interface 304. Additionally, the manufac­             it will be appreciated that many other methods ofperforming
turer interface 308 may provide information such as a report          the acts associated with the process 400 may be used. For
that allows the manufacturer to provide a response to the 55 example, the order of many of the blocks may be changed,
requesting consumer. A report may include information from            certain blocks may be combined with other blocks, and many
database system 310 relating to current market pricing, recent        ofthe blocks described are optional.
sales figures and trends, current manufacturer incentives, cur­          The example process 400 for facilitating an automobile
rent inventory, including dealer inventory, inventory in tran-        transaction may allow users 114, including dealers and con­
sit, and/or build times or lead times for a desired automobile, 60 sumers, as well as manufacturers, to efficiently sell and pur­
etc. The manufacturer may use this information to provide a           chase automobiles, respectively. The example process 400
response to a consumer request. The manufacturer may pro­             may begin with automobile market data including at least
vide the manufacturer interface 308 with information to pro­          pricing data and inventory data stored in a database system
vide a confirmation, a verification, or an offer to a consumer        (block 402). For example, automobile market data from deal­
via consumer interface 304. For example, a confirmation 65 ers, consumers, and manufacturers regarding pricing, lot
number associated with the particular consumer request may            inventory, turnover rates, transport costs, and quality, safety,
be provided for the consumer. Also, a recommendation may              and/or other ratings is collected and stored in a database. In an

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example embodiment, a wide variety of data is stored in a          take a picture of a VIN anywhere, including at automobile
database system 310. For example, transport costs may              trade shows, mall displays, or anywhere new cars or cars for
include manufacturer to dealer shipping costs and/or dealer to     sale are displayed. The buyer may even take a picture of a car
dealer costs for shipping or transporting an automobile (e.g.,     parked in the street as the buyer walks down the street. Any
a dealer with multiple locations may drive automobiles 5 request or query communicated from the consumer interface
between locations ifnecessary). Automobile market data may         304 may be stored, for example, in database system 310,
include various relevant ratings, reports, awards, or other        thereby updating the automobile market information process­
information, including quality information, safety informa­        ing system 302 with current automobile market data.
tion, insurance information, consumer credit information,             The example process 400 may continue with providing
dealer rating information, incentive information, residual 10 automobile market data to dealers based on the consumer
value information, and/or any other data which may be rel­         request (block 406). For example, a group of dealers receives
evant to consumers. For example, ratings data may include          a real-time report including local car sales data, inventory
information from the National Highway Traffic Safety               data, ratings data, and transport cost data of the consumer's
Administration (NHTSA), the Environmental Protection               requested car. In an example embodiment, a report may
Agency (EPA), and/or the Insurance Institute for Highway 15 include quality information, safety information, insurance
Safety (IIHS). The data may include information from a con­        information, consumer credit information (e.g., buyer FICO
sumer interface 304, such as data in consumer searches or          score), dealer rating information, incentive information,
requests, information from a dealer interface 306, such as         residual value information, and/or any other data which may
currently offered dealer pricing, transaction data for finalized   be relevant to consumers. The report may be provided
sales, current inventory data, transport or shipping costs, and 20 through dealer interface 306 and include the consumer
information from a manufacturer interface 308, such as cur­        requirements and preferences. The request and/or the report
rent manufacturer prices and suggested pricing, manufacturer       may be provided in real-time and may provide real-time data.
incentives, and current inventory including finished inventory     Data reported based on a real-time updates in the automobile
on hand, production scheduling, shipment scheduling, inven­        market information processing system 302 may provide sig-
tory in transit, and manufacturing lead times. The automobile 25 nificant advantages, for example, when pricing conditions
market data may be comprised solely of information received        may change quickly due to unforeseen market conditions.
from the consumer interface 304, dealer interface 306, and         The recommendation engine 312 may provide recommenda­
manufacturer interface 308, or may include additional infor­       tions to a dealer based on the current automobile market data.
mation received from other sources. It should be appreciated       For example, a report may indicate various estimated sales
that various methods of storing the automobile market data 30 probabilities for different prices that the dealer may offer or
may be employed according to the system requirements. For          bid. In an example embodiment, a probability to sell within a
example, database system 310 may be organized according to         time frame may be provided, for example, for a 24 hour
different manufacturers or dealers, automobile make and            period, probabilities and prices may be estimated as, e.g.,
model, different information categories (e.g., suggested pric­     80% chance to sell at $22,000; 60% chance to sell at $23,000;
ing, market prices, production, shipping, lot inventory), etc., 35 50% chance to sell at $24,000; 20% chance to sell at $25,000.
and may consist of one or more databases on one or more            Such information may be illustrated in various ways, such as
servers 108, 226 which may be remotely located from each           a bell curve graph or a chart. Further, the recommendation
other and/or a host device 104 of the automobile market            engine may provide daily suggestions (e.g., a deal of the day).
information processing system 302. As will be discussed            Dealers may use such information to attract consumers to
further below, the automobile market data may be continually 40 visit the dealer in person or online as well as prepare
updated as new data is provided to the automobile market           responses or bids to consumer requests. In an example
information processing system 302.                                 embodiment the dealer interface 306 may provide informa­
   The example process 400 continues with a consumer pro­          tion that is limited to cars which meet the consumer request
viding a request for a response of whether an automobile can       requirements. Dealers may customize the dealer interface 306
be provided (block 404). For example, a car buyer fills in a 45 to provide information in a pre-specified manner to suit the
request form on a website or takes a picture of a VIN at a         dealers particular needs.
dealer to receive a response based on current market data. In         A bid to sell the automobile to the consumer is requested
an example embodiment, the buyer's request may be trans­           from dealers (block 408). For example, a group of dealers
mitted from consumer interface 304 via the internet to the         within a certain radius of the buyer location may receive a bid
automobile market information processing system 302. In 50 request. Each dealer's bid may include a price, for example, a
another example embodiment, a car buyer takes a picture of a       price with no additional add-on products or services, such as
vehicle identification number (VIN) on a car that the buyer        service contracts, warranties, aftermarket accessories, etc.
would like to receive information for. For example, using an       For example, add-on products may provide substantial value
application stored on a mobile device 103, the buyer may be        to a dealer, above and beyond the profit margin for the sale of
located at a dealer location and take a picture of the VIN on a 55 the requested car. A dealer may profit from selling financing
car. The buyer may want information on that specific car or on     options, for example, if a consumer needs financing, the fin­
other comparable cars with the same or similar features and/       ancier may pay the dealer for sourcing the loan. A dealer may
or options. The picture of the VIN may be processed using          sell service plans or maintenance packages (e.g., an extended
optical character recognition, which allows the automobile         service contract), selling warranties (e.g., a lifetime war-
market information processing system 302 to determine the 60 ranty), or selling insurance plans (e.g., life, accident, and
make and model of the car, along with various other charac­        health insurance, liability insurance, comprehensive insur­
teristics of the car. It should be appreciated that the VIN may    ance, etc.). Also, a dealer may also sell various hard add
include human readable characters, a bar code, or any other        accessories, for example, bicycle racks, hitches, commercial
graphical or machine readable information which acts as a          accessories (e.g., lights and sirens), or any aftermarket prod-
vehicle identification number. Accordingly, the buyer may 65 ucts or modifications (e.g., sunroof).
perform research, for example, while at home or while shop­           One or more dealer bids are provided to the consumer
ping at a dealer location. Further, for example, the buyer may     (block 410). For example, several dealers provide bids based

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on current pricing data, dealer pickup locations, and potential         The consumer interface 304 may organize dealer bids
add-ons, so several different prices and delivery options may        based on a variety of factors and may provide supplemental
be available to the car buyer. Typically, the bid will include at    information. For example, certain dealer bids may be selected
least a specified price and pickup time and location. In an          as the best options, all dealer bids may be summarized, vari­
example embodiment, a buyer that has taken a picture of a 5 ous additional ratings, reviews, or popularity information,
VIN with a mobile device may receive dealer bids within              financing information, etc. may also be provided to a con-
minutes or seconds on the mobile device. Accordingly, the            sumer along with any dealer bids. The recommendation
bids may be used in real-time as the buyer may be actively           engine 312 may provide recommendations to a consumer
shopping for a car on a dealer lot. Typically, a pickup location     based on the current automobile market data. For example, of
will be a dealer lot or distribution location. It should be 10 ten dealer bids provided with a response, three bids may be
appreciated that some dealers may have multiple locations            recommended, for example, as "Great Deals!" It should be
which could serve as a pickup location. In an example                appreciated that in some cases, a particular consumer search
embodiment, the automobile market data may indicate that             may not return any dealer bids, for example, if consumer
the particular car requested by a consumer should be priced          search requirements are unrealistic for the consumer's
at, for example, $26,000. However, various factors may affect 15 required price range. Also, for example, if only one or two
the bid or offer that a dealer will make for the particular car.     bids are received, the recommendation engine 312 may rec­
For example, the potential for forming a customer relation­          ommend that a consumer wait for a better bid because the bids
ship, the value of potential add-on products and services, or        provided are not competitive offers based on the current auto-
competition with other dealers may cause a dealer to bid             mobile market data stored in the database system 310. Fur­
lower than normal. In such a case, the dealer may bid $25,000 20 ther, in an example embodiment, dealer bids may be orga­
in an effort to create a customer relationship, sell add-on          nized according to distance to a dealer pickup location, lowest
products, and/or undercut the competition pricing. Other fac­        price, closest match to the consumer entered criteria, a nor­
tors, such as the buyer's credit score (e.g., FICO score), may       malized quality index or value index, etc. The consumer may
be used by a dealer in determining a bid, as this may affect the     be able to toggle between different viewing options for dealer
profitability of a sale.                                          25 bids or search results.
   Further, for example, the particular automobile requested            Further, in an example embodiment, a buyer may be at a
may not be available for immediate pickup near the buyer, and        dealer lot (e.g., a Nissan dealer) and take a picture of a VIN on
various alternative delivery options may be provided from            a car (e.g., a Maxima). A bid from a competing dealer (e.g., a
several dealers' bids. For example, a car that is located at an      Toyota dealer) across the street may be received on the mobile
out of state dealer may be transported to a dealer near the 30 device within seconds and include information for a compa­
buyer. Therefore, for example, the consumer interface 304            rable car (e.g., an Avalon) relating to, for example, gas mile-
may provide several different bids with different delivery           age, safety ratings, price comparisons, residual value, driving
options and prices to the buyer, for example, a price of $26,        directions to the competing dealer, etc. In an example
000 to pick up the car at an out of state dealer the next day or     embodiment, a dealer may use the geolocation of the buyer,
a price of $26,500 to pick up the car at a local dealer in five 35 such as in instances when the buyer is physically located close
days. For example, a dealer may determine a cost to transport        to the dealer. Accordingly, competing dealer bids may be
a car from one dealer location to another based on the auto­         interbrand or intrabrand in nature, and may be tailored to the
mobile market data such as current market pricing, current           buyer's particular situation, which a consumer may find
inventory levels, current shipping costs, and the like. Accord­      highly advantageous. For example, the buyer may have a bid
ingly, a dealer response may be adjusted by current automo­ 40 for a car the buyer wants to test drive as well as a bid for a
bile market conditions. An offer to provide or ship a particular     comparable car across the street before a salesman from the
car to a dealer location near a consumer may be authorized           dealer even introduces himself. Accordingly, a consumer may
through the dealer interface 306. Inventoryless bidding may          weigh the pros and cons of various dealer bids, based on
be highly beneficial when dealers that do not have a requested       delivery options, pricing, and any other relevant variants. Any
automobile in inventory can still profitably provide a bid. 45 bids communicated from a dealer interface 306 may be
Further, for example, cars that are not exactly what the buyer       stored, for example, in database system 310, to further update
requested may also be offered to the buyer. For example, the         the automobile market information processing system 302
buyer may request a four wheel drive car, but if a two wheel         with current automobile market data.
drive car that meets all the other buyer criteria is immediately        The consumer selects a bid including a delivery option
available at a nearby dealer, the dealer may provide an offer to 50 which specifies a pickup location (block 412). For example,
the buyer for this car, possibly at a significantly lower price,     the car buyer chooses a delivery option of picking up the car
such as $23,000 instead of $26,000 for a four wheel drive car        at a nearby dealer in five days. As noted above, a dealer may
as requested. Further, for example, dealers may use informa­         be a franchise dealer entity or a non-franchise distribution
tion such as ratings data to optimize their bids. For example,       location. The buyer may select an offer with a specified deliv-
if gasoline prices are increasing, mileage ratings for a par- 55 ery option on the consumer interface 304. The car buyer may
ticular car may dictate increasing or decreasing a bid. If a         have been weighing two or more different delivery options
vehicle has very good gas mileage, and gas prices are sky­           and/or different features, price differences, etc., based on the
rocketing, that car may have an increasing demand as gas             response(s) received through the consumer interface 304. As
prices increase, or vice versa. Similarly, safety ratings of         noted above, the consumer interface may organize bids and
vehicles may be important to consumer demand if high profile 60 other helpful information in a variety of ways, which may
problems have appeared for a particular automobile style,            make the information easier for a consumer to digest. It
make, or model. As discussed above, various automobile               should be appreciated that a buyer will typically want to pick
market information may be used by a dealer including safety          up a new car at a convenient location, often near the buyer's
information, insurance information, consumer credit infor­           home. Accordingly, dealers may attempt to provide delivery
mation, dealer rating information, incentive information, 65 options tailored towards maximizing profit for the dealer
residual value information, and/or any other data which may          while also maximizing convenience to the buyer, while also
be relevant to consumers.                                            providing a superior bid to other dealers. By providing mu!-

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tiple bids with different delivery options, the buyer may be        system 302 may be updated with current automobile market
allowed to save time or money based on the buyer's particular       data from every step in the negotiation process between a
needs. In an example embodiment, the buyer may provide a            consumer and a manufacturer. In an example embodiment,
counter offer or different request via the consumer interface       the updates provided to the automobile market information
304 to a dealer via the dealer interface 306. Accordingly, the 5 processing system 302 are provided in real-time, for example,
dealer may respond in kind, and may update delivery options         data may be transmitted and processed within seconds or
or other terms. It should be appreciated that the consumer          minutes. Further, for example, it should be appreciated that
selection of a bid may, for example, occur simultaneously           certain data may be provided to the automobile market infor­
with the consumer executing the sale or providing a deposit or      mation processing system 302 according to a batch process-
down payment, or the like (see, e.g., block 416). Accordingly, 10 ing schedule.
in an example embodiment, once the buyer selects a bid, the            Next, the dealer makes the purchased automobile available
buyer has effectively purchased the car, and the dealer does        according to the consumer bid selection (block 418). For
need to worry about the buyer backing out of the deal. Any          example, the dealer transports the car from the commonly
consumer selections, counter offers, or additional requests or      owned dealer location to the dealer pickup location selected
responses may be stored in database system 310, as the com­ 15 by the car buyer if the car is not already located at the dealer
munications are processed by automobile market information          pickup location. When a purchased car is already at the dealer
processing system 302, providing further data updates.              location where the buyer has agreed to pick the car up, the car
Accordingly, in an example embodiment, a consumer may               does not need to be transported. Many dealers have multiple
select a bid to purchase a car, and that purchase information       locations under the same ownership, and these dealers may
may then be provided to another consumer searching for the 20 drive or ship cars from one dealer location to another if the
same type of car with similar features, for example, the next       cost of transporting the car is justifiable. If a buyer chooses a
day.                                                                quicker delivery option, the car may then be transported from
   Once a bid with a specific delivery option has been              a different dealer location to the selected dealer pickup loca­
selected, the dealer provides the automobile at the selected        tion. A dealer may interact with the automobile market infor-
dealer according to the consumer bid selection (block 414). 25 mation processing system 302 using dealer interface 306, for
For example, the dealer notifies a commonly owned dealer            example, to receive notification that a car will be picked up by
that the car must be transported to the dealer pickup location      a buyer, and to report that a car has been delivered to the dealer
for delivery in less than five days. In a typical example, the      pickup location. A notification may also be sent via consumer
dealer may already have the car in question on the dealer lot,      interface 304 to the buyer that the car is available for pickup
so the car would not need to be transported. In an example 30 at the specified dealer.
embodiment, the dealer may send a notification or instruction          Finally, the consumer picks up the purchased automobile
message through the dealer interface 306, which would be            according to the consumer selected delivery option at the
received by a commonly owned dealer in another city or state.       dealer (block420). For example, the car buyer picks up the car
It should be appreciated that the specific manner of notifica­      at the nearby dealer five days after the car sale is executed.
tion or instruction may be changed based on the particular 35 The buyer may pick up the car without ever having to talk to
application, for example, the automobile market information         or negotiate, in person or over the telephone, with the dealer.
processing system 302 may automatically provide a notifica­         For example, the buyer may arrive at the dealer, show iden­
tion or instruction to a dealer to produce or transport a car       tification and proof of purchase, and be provided the keys to
based on inventory data. It should also be appreciated that         the car. The buyer may sign paperwork indicating the car has
particular events may be required to trigger instructing a car 40 been picked up. Also, the dealer may offer or provide addi­
to be delivered to a dealer, such as a deposit, financing           tional products or services to the buyer when the buyer goes
approval, etc. Further, the consumer may be required to send        to the dealer to pick up the car. For example, the dealer may
an instruction message from the consumer interface 304 to the       offer financing options, warranties, service plans, insurance
dealer interface 306 affirming that the buyer has agreed to         plans, and hard add accessories to the buyer, as discussed in
purchase the car from the dealer.                                45 further detail above.
   The consumer and the dealer execute the sale of the auto­           Accordingly, it should be appreciated that consumers,
mobile (block 416). For example, the consumer electroni­            dealers, and manufacturers may receive significant benefits
cally signs documentation such as loan application and a            from the method of facilitating an automobile transaction
contract and performs an electronic funds transfer or credit        disclosed herein. For example, price setting, inventory man­
card payment. After the delivery option is selected, an elec- 50 agement, and production scheduling, may be greatly
tronic contract may be provided by the dealer for the buyer         improved for dealers and manufacturers by utilizing the dis­
who may e-sign the contract, and/or any other loan applica­         closed system and method. Consumers may benefit from
tions or other documentation as needed. In another example          more competitive pricing, piece of mind knowing that a fair
embodiment, paper copies of a contract may be signed, for           market price is being offered for prospective purchases, and
example, after the buyer prints them or receives them from a 55 improved delivery options that allow the consumer to weigh
nearby dealer or through the mail. In an example embodi­            the benefits and drawbacks of different delivery options, pric­
ment, the buyer may provide cash or a paper check. It should        ing, and other variables. In an example embodiment, consum­
be appreciated that the process of executing a contract may         ers can view prices paid for comparable cars in specific loca­
take some time. For example, the process may occur in sev­          tions based on the automobile market data in the automobile
eral steps, as loan processing may be required prior to execut­ 60 market information processing system 302, for example,
ing a contract for sale of a car. Also, it should be appreciated    within a certain time frame such as one month and within a
that, for example, the consumer selection of a bid discussed        certain proximity to the consumer. Moreover, various ineffi­
above (see, e.g., block 412) may occur simultaneously with          ciencies in the automobile industry may be minimized utiliz­
the consumer executing the sale. Once the sale is completed,        ing the presently disclosed system and method.
the actual transaction data including the final negotiated 65          FIG. 5 illustrates a block diagram of an example data
price, may be provided to and stored in database system 310.        architecture 500. In the example data architecture 500, inter­
Accordingly, the automobile market information processing           face data 502, administrative data 504, and automobile mar-

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ket data 506 interact with each other, for example, based on        Accordingly, for example, customized reports may be pro­
user commands or requests. The interface data 502, adminis­         vided to a manufacturer interface 308 using that specific data
trative data 504, and automobile market data 506 may be             for the manufacturer.
stored on any suitable storage medium (e.g., server 226). It           The integration of the various types of automobile market
should be appreciated that different types of data may use 5 data 506 received from the consumer interface 304, dealer
different data formats, storage mechanisms, etc. Further, vari­     interface 306, and manufacturer interface 308 may provide a
ous applications may be associated with processing interface        synergistic and optimal resource for consumers, dealers, and
data 502, administrative data 504, and automobile market            manufacturers alike. In an example embodiment, a consumer
data 506. Various other or different types of data may be           may benefit greatly from using an application in a mobile
                                                                 10 device 103 to receive both intrabrand information and inter­
included in the example data architecture 500.
                                                                    brand information in real-time, based only on taking a picture
   Interface data 502 may include input and output data of
                                                                    of VIN. Dealers and manufacturers may be able to provide
various kinds. For example, input data may include mouse
                                                                    information to the consumer in a manner that highlights the
click data, scrolling data, hover data, keyboard data, touch        benefits of the products the respective dealer or manufacturer
screen data, voice recognition data, etc., while output data 15 would like to sell. The intrabrand and interbrand information
may include image data, text data, video data, audio data, etc.     provided on a consumer interface 304 may allow the best
Interface data 502 may include formatting, user interface           automobile options for a particular consumer to be provided
options, links or access to other websites or applications, and     to that consumer, may allow dealers to compete with other
the like. Interface data 502 may include applications used to       dealers taking into account a greater amount of automobile
provide or monitor interface activities and handle input and 20 market information, and may allow manufacturers to better
output data.                                                        follow through with opportunities for sales, which may result
   Administrative data 504 may include data and applications        in a more efficient automobile market.
regarding project data or data related to project compensa­            Automobile market data 506 may be maintained in various
tion. For example, administrative data 504 may include infor­       servers 108, in databases or other files. It should be appreci­
mation used for updating accounts, such as creating or modi- 25 ated that, for example, a host device 104 may manipulate
fying manufacturer accounts or dealer accounts. Further,            automobile market data 506 in accordance with the adminis­
administrative data 504 may include access data and/or secu­        trative data 504 and interface data 502 to provide requests or
rity data. Administrative data 504 may interact with interface      reports to users 114 including consumers, dealers, and manu­
data in various manners, providing a user interface 304, 306,       facturers, and perform other associated tasks. It should also be
308 with administrative features, such as implementing a user 30 appreciated that automobile market data 506 represents auto­
                                                                    mobile market information, and that these terms may be used
login and the like.
                                                                    interchangeably in this disclosure depending upon the con­
   Automobile market data 506 may include, for example,
                                                                    text.
executed sales data 508, consumer data 510, dealer data 512,
                                                                       FIG. 6 is flow diagram illustrating an example process 600
manufacturer data 514, statistical data 516, and/or historical 35 for facilitating an automobile transaction, according to an
data 518. Executed sales data 508 may include actual nego­          example embodiment of the present invention. Although the
tiated prices for manufacturer and dealer sales, differences in     process 600 is described with reference to the flow diagram
list prices to negotiated prices, sales demographics, etc. Con­     illustrated in FIG. 6, it will be appreciated that many other
sumer data 510 may include consumer search activity, con­           methods of performing the acts associated with the process
sumer requests and offers, consumer feedback, etc. Dealer 40 600 may be used. For example, the order of many of the
data 512 may include dealer pricing, including list prices, sale    blocks may be changed, certain blocks may be combined with
prices for limited time dealer offers or deals of the day, nego­    other blocks, and many of the blocks described are optional.
tiation information such as bottom line pricing, offers                In the example process 600, data may flow between the
received, foot traffic activity, and dealer inventory data,         automobile market information processing system 302 and a
including current on location data, automobile turnover rates, 45 consumer interface 304 and a dealer interface 306, as dis­
etc. Manufacturer data 514 may include manufacturer pric­           cussed above based on consumer and dealer interaction with
ing, including suggested pricing, preferred dealer pricing,         the automobile market information processing system 302. It
etc., manufacturer incentives including cash rebates, special       should be appreciated that the automobile market information
lease rates, special APR rates, zero down offers, lifetime          processing system 302 may update the automobile market
warranties, guaranteed trade-in offers, etc., and inventory 50 information stored in the database system 310 when automo­
information including dealer inventory, inventory by loca­          bile market information is received from a consumer, a dealer,
tion, inventory in transit, manufacturing or production lead        or a manufacturer, or from any other information source.
times or build times, production scheduling, shipping sched­        Accordingly, the automobile market information may remain
uling, etc. Statistical data 516 may include information used       current and/or provide sufficiently recent data for the benefit
for providing reports including graphs, forecasts, recommen- 55 of consumers, dealers, and/or manufacturers.
dations, calculators, depreciation schedules, tax information,         The example process 600 may begin with a consumer
etc., including equations and other data used for statistical       taking a picture of a VIN using a mobile phone application
analysis. Historical data 508 may include past sales data, such     (block 602). The consumer interface 304 may use OCR to
as historical list prices, actual sale prices, manufacturer and     determine and provide the VIN to the automobile market
dealer margins, operating costs, service costs or profitability, 60 information processing system 302 to provide a consumer
loyalty information, etc. It should be appreciated that data        request (block 604). It should be appreciated that OCR may
may fall under multiple categories of automobile market data        occur in the automobile market information processing sys­
506, or change with the passage of time. It should also be          tem 302 or at the consumer interface 304. The automobile
appreciated that automobile market data 506 may be tailored         market information processing system 302 receives the con­
for a particular manufacturer or dealer, for example, a manu- 65 sumer request and prepares automobile market information
facturer may request that a specific type of data that is not       based on the request (block 606). The automobile market
normally stored or used be stored in the database system 310.       information processing system 302 may send a bid request

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and automobile market information based on the consumer               Further, it will be appreciated that the presently disclosed
request to the dealer interface 306 for one or more dealers        system, methods, and apparatus for performing automobile
(block 608). It should be appreciated that while the consumer      transactions may be utilized in conjunction with other sys­
request is automobile market information, typically, addi­         tems or methods. For example, the presently disclosed sys-
tional automobile market information would be provided 5 tern, methods, and apparatus may be used in conjunction with
with the consumer request. For example, typically, data relat­     the disclosure in the co-pending commonly-owned patent
ing to recent sales of the requested automobile and/or com­        application filed on Jul. 5, 2011, entitled "AUTOMOBILE
parable automobiles may be provided. In an example embodi­         T RANSAC TION FACILI TATION USING A MANUFAC­
ment, a target price or "true" value of the requested              TURER RE SPONSE," the entire contents of which are
                                                                10 hereby incorporated by reference herein, and in an example
automobile may be provided. One or more dealers receive the
                                                                   embodiment, the features ofwhich may be combined with the
bid request and automobile market information, determine
                                                                   features of the present disclosure.
prices and delivery options for the automobile using the auto­
                                                                      It should be understood that various changes and modifi­
mobile market information, and prepare and provide bids for        cations to the example embodiments described herein will be
the consumer (block 610). A dealer bid may be sent from the 15 apparent to those skilled in the art. Such changes and modi­
dealer interface 306 to the automobile market information          fications can be made without departing from the spirit and
processing system 302 for each dealer that wants to provide a      scope of the present subject matter and without diminishing
bid (block 612). The automobile market information process­        its intended advantages. It is therefore intended that such
ing system 302 receives and processes dealer bids and pre­         changes and modifications be covered by the appended
pares the bids and automobile market data for the consumer 20 claims.
(block 614).
   The automobile market information processing system 302            The invention is claimed as follows:
may send dealer bids and automobile market information to             1. A method comprising:
the consumer interface 304 (block 616). It should be appre­           storing, on a computer readable medium, automobile mar­
ciated that automobile market information may be provided 25             ket data which is representative of recent automobile
to the consumer before dealer bids are provided, and/or con­             market characteristics, including at least pricing data
currently with dealer bids. The consumer may receive the                 and inventory data, wherein the automobile market data
dealer bids and automobile market information and may                    includes information received from at least one manu­
select a bid including a delivery option based on the automo­            facturer, a plurality of dealers, and a plurality of con­
bile market information (block 618). The consumer interface 30           sumers, wherein at least a portion of the automobile
304 may send to the automobile market information process­               market data is updated in real-time;
ing system 302 a selection of a bid indicating that the con­          receiving, via a consumer interface, a first request for a
sumer wants to purchase or lease the automobile based on the             response regarding a first automobile, wherein the first
selected bid (block 620). The automobile market information              request is made by a consumer using a mobile device
processing system 302 receives and processes the consumer 35             which takes a picture of a vehicle identification number
bid selection (block 622). For example, the automobile mar­              and the vehicle identification number is recognized
ket information processing system 302 may send the bid                   using optical character recognition;
selection to the dealer interface 306 (block 624). The dealer         causing at least one processing device to:
may receive the bid selection and coordinate a sale by, for              provide first automobile market data, based on the first
example, transporting the automobile from one dealer loca- 40               request, via a dealer interface, wherein the first auto­
tion to the dealer location selected for delivery (block 626).              mobile market data is based on real-time automobile
Also, for example, the dealer may provide contract or loan                  market data and actual sales data for comparable auto­
documents, collect a deposit or down payment, or the like. As               mobiles within a predetermined time period and
discussed above, in each ofblocks 606, 614, 626, and 634, the               within a predetermined geographic area;
automobile market information processing system 302 may 45               request, via a dealer interface from at least two dealers,
update the automobile market information in the database                    a bid to sell the first automobile based on the first
system 310 based on the information received from the con­                  request, wherein the at least two dealers engage in
sumer, dealer, and/or manufacturer.                                         inventoryless bidding by providing a bid on the first
   For exemplary purposes, the present disclosure discusses a               automobile when the first automobile is at least one of
various examples relating to a purchase of a car. However, it 50            yet to be manufactured and in the inventory ofanother
should be appreciated that the disclosed system, methods, and               entity;
apparatus may be advantageously used in relation to various              provide the response including at least two bids via the
automobiles other than cars including, for example, trucks,                 consumer interface, the at least two bids each includ­
vans, sport utility vehicles, jeeps, motorcycles, commercial                ing at least a price and a delivery option for the first
vehicles, and/or automobiles that have a VIN and require a 55               automobile, the at least two bids based on the first
license plate to operate.                                                   automobile market data; and
   It will be appreciated that all of the disclosed methods and       receiving a consumer selection of a first bid including a first
procedures described herein can be implemented using one or              delivery option which specifies a first pickup location at
more computer programs or components. These components                   a first dealer and a second delivery option which speci­
may be provided as a series of computer instructions on any 60           fies a different second pickup location, wherein the con­
conventional computer-readable medium, including RAM,                    sumer selection indicates a consumer intention to pur­
ROM, flash memory, magnetic or optical disks, optical                    chase the first automobile based on the first bid and
memory, or other storage media. The instructions may be                  specifies one of the first delivery option and the second
configured to be executed by a processor, which when execut­             delivery option, wherein the first bid is an inventoryless
ing the series of computer instructions performs or facilitates 65       bid requiring the first automobile to be at least one of
the performance of all or part of the disclosed methods and              manufactured and transferred from the inventory of
procedures.                                                              another entity to the first dealer.

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  2. A method comprising:                                                  a sale including at least one of providing for electronic
   storing, on a computer readable medium, automobile mar­                 si gnature of documents and providing for an electronic
      ket data which is representative of recent automobile                funds transfer.
      market characteristics, including at least pricing data           13. The method of claim 12, wherein the first automobile is
      and inventory data, wherein the automobile market data 5 made available for pickup at the first dealer according to the
      includes information received from a plurality ofdealers       consumer selected first delivery option.
      and a plurality of consumers;                                     14. The method of claim 2, wherein the dealer interface
   receiving, via a consumer interface, a first request for a        allows a dealer to request data via a consumer interface from
      response regarding a first automobile, the first request       a plurality of consumers.
                                                                  10    15. The method of claim 2, wherein the dealer interface
      including a vehicle identification number;
                                                                     allows a dealer to request data via a manufacturer interface
   causing at least one processing device to:
                                                                     from at least one manufacturer.
      provide first automobile market data, based on the first
                                                                        16. The method of claim 2, wherein the first dealer at least
         request, via a dealer interface, wherein the first auto­    one of provides and offers at least one of a financing plan, a
         mobile market data is based on real-time automobile 15 service plan, an insurance plan, a warranty, and a hard add
         market data and actual sales data for comparable auto­      accessory, for at least the first automobile.
         mobiles within a predetermined time period and                 17. The method of claim 2, wherein the first dealer is at
         within a predetermined geographic area;                     least one ofa franchise dealer and a non-franchise distribution
      request, via a dealer interface from at least two dealers,     location.
         a bid to sell the first automobile based on the first 20       18. The method of claim 2, wherein the automobile market
         request;                                                    data includes consumer interest data.
      provide the response including at least two bids via the          19. The method of claim 2, further comprising:
         consumer interface, the at least two bids each includ­         causing the at least one processing device to provide a
         ing at least a price and a delivery option for the first          manufacturer response via the consumer interface
         automobile, the at least two bids based on the first 25           including an acknowledgement of interest.
         automobile market data; and                                    20. The method of claim 2, further comprising:
   receiving a consumer selection ofa first bid including a first       causing the at least one processing device to provide a
      delivery option which specifies a first pickup location at           manufacturer response via the consumer interface
      a first dealer and a second delivery option which speci­             including at least one of a verification, a confirmation,
      fies a different second pickup location, wherein the con- 30         and an offer indicating that the first automobile can be
                                                                           provided for the consumer.
      sumer selection indicates a consumer intention to one of
                                                                        21. The method of claim 2, wherein the first automobile
      purchase the first automobile and lease the first automo­
                                                                     market data provides a recommended deal of the day.
      bile based on the first bid and specifies one of the first
                                                                        22. A method comprising:
      delivery option and the second delivery option.             35    storing, on a computer readable medium, automobile mar­
   3. The method of claim 2, wherein the pricing data includes             ket data which is representative of recent automobile
normal listing prices, sale prices, manufacturer incentives,               market characteristics, including at least pricing data
actual prices of executed transactions, and consumer offers.               and inventory data, wherein the automobile market data
   4. The method of claim 2, wherein the inventory data                    includes information received from a plurality ofdealers
includes at least one of inventory data by location, inventory 40          and a plurality of consumers;
in transit data, production lead time data, production schedule         receiving, via a consumer interface, a first request for a
data, and shipping schedule data.                                          response regarding a first automobile, the first request
   5. The method of claim 2, wherein the first request is made             including data provided with at least one graphical user
by a consumer using a mobile device which takes a picture of               interface component;
a vehicle identification number.                                  45    causing at least one processing device to:
   6. The method of claim 5, wherein the vehicle identifica­               provide first automobile market data, based on the first
tion number is recognized using optical character recogni­                     request, via a dealer interface, wherein the first auto­
tion.                                                                          mobile market data is based on real-time automobile
   7. The method of claim 2, wherein the first request includes                market data and actual sales data for comparable auto­
geolocation information of the consumer.                          50           mobiles within a predetermined time period and
   8. The method of claim 2, wherein the first automobile is                   within a predetermined geographic area;
one of a particular type of car with a specific set of features            request, via a dealer interface from at least two dealers,
and a particular car with a specific vehicle identification num­               a bid to sell the first automobile based on the first
ber.                                                                           request;
   9. The method of claim 2, wherein the first automobile 55               provide the response including at least two bids via the
market data provided to the first manufacturer consists of at                  consumer interface, the at least two bids each includ­
least one of the first request and a suggested bid price.                      ing at least a price and a delivery option for the first
   10. The method of claim 2, wherein the first bid is an                      automobile, the at least two bids based on the first
inventoryless bid requiring the first automobile to be at least                automobile market data; and
one of manufactured and transferred from the inventory of 60            receiving a consumer selection of a first bid including a first
another entity to the first dealer.                                        delivery option which specifies a first pickup location at
   11. The method of claim 2, wherein the consumer selection               a first dealer and a second delivery option which speci­
of the first bid indicates that the consumer intends to lease the          fies a different second pickup location, wherein the con­
first automobile.                                                          sumer selection indicates a consumer intention to one of
   12. The method of claim 2, further comprising:                 65       purchase the first automobile and lease the first automo­
   causing the at least one processing device to process the               bile based on the first bid and specifies one of the first
      consumer selection of the first bid to facilitate executing          delivery option and the second delivery option.

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  23. The method of claim 22, wherein the first request is                     automobile, the at least two bids based on the first
made by a consumer on a website.                                               automobile market data; and
   24. The method of claim 23, wherein the at least one                    receive a consumer selection of a first bid including a
graphical user interface component includes at least one of a                  first delivery option which specifies a first pickup
text box, a drop down list, a list box, a radio button, a check- 5             location at a first dealer and a second delivery option
box, and a slider bar.                                                         which specifies a different second pickup location,
   25. The method of claim 22, wherein the first bid is an                     wherein the consumer selection indicates a consumer
inventoryless bid requiring the first automobile to be at least                intention to one of purchase the first automobile and
one of manufactured and transferred from the inventory of                      lease the first automobile based on the first bid and
                                                                  10
another entity to the first dealer.                                            specifies one of the first delivery option and the sec­
   26. The method of claim 22, further comprising:                             ond delivery option.
   causing the at least one processing device to process the            35. The system of claim 34, wherein the pricing data
      consumer selection of the first bid to facilitate executing    includes normal listing prices, sale prices, manufacturer
      a sale including at least one of providing for electronic 15 incentives, actual prices of executed transactions, and con­
      signature of documents and providing for an electronic         sumer offers.
      funds transfer.                                                   36. The system of claim 34, wherein the inventory data
   27. The method ofclaim 26, wherein the first automobile is        includes at least one of inventory data by location, inventory
made available for pickup at the first dealer according to the       in transit data, production lead time data, production schedule
consumer selected first delivery option.                          20 data, and shipping schedule data.
   28. The method of claim 22, wherein the dealer interface             37. The system of claim 34, wherein the first request is
allows a dealer to request data via a consumer interface from        made by a consumer using a mobile device which takes a
a plurality of consumers.                                            picture of a vehicle identification number.
   29. The method of claim 22, wherein the dealer interface             38. The system of claim 37, wherein the vehicle identifi-
allows a dealer to request data via a manufacturer interface 25 cation number is recognized using optical character recogni­
from at least one manufacturer.                                      tion.
   30. The method ofclaim 22, wherein the first dealer at least         39. The method of claim 34, wherein the first request
one of provides and offers at least one of a financing plan, a       includes geolocation information of the consumer.
service plan, an insurance plan, a warranty, and a hard add             40. The method ofclaim 34, wherein the first automobile is
accessory, for at least the first automobile.                     30 one of a particular type of car with a specific set of features
   31. The method of claim 22, further comprising:
                                                                     and a particular car with a specific vehicle identification num­
   causing the at least one processing device to provide a
                                                                     ber.
      manufacturer response via the consumer interface
                                                                        41. The method of claim 34, wherein the first automobile
      including an acknowledgement of interest.
   32. The method of claim 22, further comprising:                35 market    data provided to the first manufacturer consists of at
   causing the at least one processing device to provide a           least one of the first request and a suggested bid price.
      manufacturer response via the consumer interface                  42. The method of claim 34, wherein the first bid is an
      including at least one of a verification, a confirmation,      inventoryless bid requiring the first automobile to be at least
      and an offer indicating that the first automobile can be       one of manufactured and transferred from the inventory of
      provided for the consumer.                                  40 another entity to the first dealer.
   33. The method of claim 22, wherein the first automobile             43. The method of claim 34, wherein the consumer selec­
market data provides a recommended deal of the day.                  tion ofthe first bid indicates that the consumer intends to lease
   34. A system comprising:                                          the first automobile.
   a computer readable medium storing automobile market                 44. The system of claim 34, further comprising:
      data which is representative ofrecent automobile market 45        causing the at least one processing device to process the
      characteristics, including at least pricing data and inven­          consumer selection of the first bid to facilitate executing
      tory data, wherein the automobile market data includes               a sale including at least one of providing for electronic
      information received from a plurality of dealers and a               si gnature of documents and providing for an electronic
      plurality of consumers;                                              funds transfer.
   at least one processing device operably coupled to the 50            45. The system of claim 44, wherein the first automobile is
      computer readable medium, the at least one processing          made available for pickup at the first dealer according to the
      device executing instructions to:                              consumer selected first delivery option.
      receive, via a consumer interface, a first request for a          46. The system of claim 34, wherein the dealer interface
         response regarding a first automobile, the first request    allows a dealer to request data via a consumer interface from
         including a vehicle identification number;               55 a plurality of consumers.
      provide first automobile market data, based on the first          47. The system of claim 34, wherein the dealer interface
         request, via a dealer interface, wherein the first auto­    allows a dealer to request data via a manufacturer interface
         mobile market data is based on real-time automobile         from at least one manufacturer.
         market data and actual sales data for comparable auto­         48. The system of claim 34, wherein the first dealer at least
         mobiles within a predetermined time period and 60 one of provides and offers at least one of a financing plan, a
         within a predetermined geographic area;                     service plan, an insurance plan, a warranty, and a hard add
      request, via a dealer interface from at least two dealers,     accessory, for at least the first automobile.
         a bid to sell the first automobile based on the first          49. The system of claim 34, wherein the first dealer is at
         request;                                                    least one ofa franchise dealer and a non-franchise distribution
      provide the response including at least two bids via the 65 location.
         consumer interface, the at least two bids each includ­         50. The system ofclaim 34, wherein the automobile market
         ing at least a price and a delivery option for the first    data includes consumer interest data.

                                                            Appx935
               Case: 23-1362                Document: 30               Page: 123            Filed: 12/05/2023


                                                     US 8,744,925 B2
                              23                                                                  24
  51. The system of claim 34, further comprising:                     receive, via a consumer interface, a first request for a
  causing the at least one processing device to provide a                  espo°:se regarding a first automobile, the first request
                                                                         7
     manufacturer response via the consumer interface                    mcludmg a vehicle identification number
     including an acknowledgement of interest.                        provide first automobile market data, bas�d on the first
  52. The system of claim 34, further comprising:                5       request, via a dealer interface, wherein the first automo­
                                                                         bile market data is based on real-time automobile market
  causing the at least one processing device to provide a
                                                                         data and actual sales data for comparable automobiles
     manufacturer response via the consumer interface                    within a predetermined time period and within a prede­
     including at least one of a verification a confirmation             termined geographic area;
     and an offer indicating that the first a�tomobile can b�         request, via a dealer interface from at least two dealers a
                                                                 10
     provided for the consumer.                                          bi� to sell the first automobile based on the first reque�t;
  53. The system of claim 34, wherein the first automobile            provide the response including at least two bids via the
market data provides a recommended deal of the day.                      consumer i°:terface, the a! least two bids each including
  54. A system comprising:                                               at least a pnce and a delivery option for the first auto­
  a computer readable medium storing automobile market 15                mobile, the at least two bids based on the first automo­
     data which is representative ofrecent automobile market             bile market data; and
     characteristics, including at least pricing data and inven­      receive a consumer selection of a first bid including a first
     tory data, wherein the automobile market data includes              delivery option which specifies a first pickup location at
     information received from a plurality of dealers and a              a first dealer and a second delivery option which speci­
     plurality of consumers;                                             fies a different second pickup location, wherein the con­
  at least one processing device operably coupled to the
                                                                 20      sumer selection indicates a consumer intention to one of
     computer readable medium, the at least one processing               purchase   the first automobile and lease the first automo­
     device executing instructions to:                                   bile based on the first bid and specifies one of the first
     receive, via a consumer interface, a first request for a            delivery option and the second delivery option.
        response regarding a first automobile, the first request 25   56. A non-transitory computer readable medium storing
        including data provided with at least one graphical         software instructions which, when executed, cause an infor­
        user interface component;                                   mation processing apparatus to:
     provide first automobile market data, based on the first         store automobile market data which is representative of
        request, via a dealer interface, wherein the first auto­         recent automobile market characteristics, including at
        mobile market data is based on real-time automobile 30           least pricing data and inventory data, wherein the auto­
        market data and actual sales data for comparable auto-           mobile market data includes information received from
        mobiles within a predetermined time period and                   a plurality of dealers and a plurality of consumers·
        within a predetermined geographic area;                       receive, via a consumer interface, a first request for a
     request, via a dealer interface from at least two dealers           response regarding a first automobile, the first request
        a bid to sell the first automobile based on the firs� 35         including data provided with at least one graphical user
        request;                                                         interface component;
     provide the response including at least two bids via the         provide first automobile market data, based on the first
        consumer interface, the at least two bids each includ­           request, via a dealer interface, wherein the first automo­
        ing at least a price and a delivery option for the first         bile market data is based on real-time automobile market
        automobile, the at least two bids based on the first 40          data and actual sales data for comparable automobiles
        automobile market data; and                                      within a predetermined time period and within a prede­
     receive a consumer selection of a first bid including a             termined geographic area;
        first delivery option which specifies a first pickup          request, via a dealer interface from at least two dealers a
        location at a first dealer and a second delivery option          bi� to sell the first automobile based on the first reque�t;
        which specifies a different second pickup location, 45        provide the response including at least two bids via the
               _                                                         consumer interface, the at least two bids each including
        wherem the consumer selection indicates a consumer
        intention to one of purchase the first automobile and            at least a price and a delivery option for the first auto­
        lease the first automobile based on the first bid and            mobile, the at least two bids based on the first automo­
        specifies one of the first delivery option and the sec­          bile market data; and
        ond delivery option.                                          receive  a consumer selection of a first bid including a first
                                                                 50      delivery option which specifies a first pickup location at
  55. A non-transitory computer readable medium storing
software instructions which, when executed, cause an infor­              a first dealer and a second delivery option which speci­
mation processing apparatus to:                                          fies a different second pickup location, wherein the con­
  store automobile market data which is representative of                sumer selection indicates a consumer intention to one of
     recent automobile market characteristics, including at 55           purchase the first automobile and lease the first automo­
     least pricing data and inventory data, wherein the auto­            bile based on the first bid and specifies one of the first
     mobile market data includes information received from               delivery option and the second delivery option.
     a plurality of dealers and a plurality of consumers;                                   * * * * *




                                                            Appx936
                                                                            I 11111 1 111111 1 1 1111 lllll 1111111111 1 111 1 1 1 1111 11111 lll1111111 1 111111
                Case: 23-1362             Document: 30                                  Page: 124                Filed: 12/05/2023

                                                                                                              US009123 07 5B2


c12)   United States Patent                                                                  (IO) Patent No.:                  US 9,123,075 B2
       Seergy et al.                                                                         (45) Date of Patent:                          Sep.1,2015

(54) USED AUTOMOBILE TRANSACTION                                                               USPC ....................................... 705/26.1, 27.1, 26.4
     FACILITATION FOR A SPECIFIC USED                                                          See application file for complete search history.
     AUTOMOBILE
                                                                                    (56)                        References Cited
(71) Applicant: Sidekick Technology LLC, Pine Brook,
                NJ (US)                                                                                  U.S. PATENT DOCUMENTS
(72)   Inventors: M ichael J. Seergy, Pine Brook, NJ (US);                                    5,970,472 A       10/1999 Allsop et al.
                  Benjamin N. S. Brown, Pine Brook, NJ                                        6,006,201 A       l 2/1999 Berent et al.
                  (US)                                                                                              (Continued)
(73)   Assignee: Sidekick Technology LLC, Pine Brook,                                                      OTHER PUBLICATIONS
                 NJ (US)
                                                                                   AutoTrader.com, Inc.. · Private Company Information-Business
( *) Notice:       Subject to any disclaimer, the term ofthis                      Week, http://investing.businessweek.corn/research/stocks/private/
                   patent is extended or adjusted under 35                         snapshot.asp?privcapid�92642.
                   U.S.C. 154(b) by O days.                                                                         (Continued)
(21)   Appl. No.: 14/176,700
                                                                                   Primary Examiner - Brandy A Zukanovich
(22)   Filed:       Feb.10,2014                                                    (74) Attorney, Agent, or Firm - K&L Gates LLP
(65)                  Prior Publication Data
                                                                                    (57)                           ABSTRACT
       US 2014/0156445 Al         Jun. 5, 2014
                                                                                   A system, methods, and apparatus for performing used auto­
                Related U.S. Application Data                                      mobile transactions are disclosed. In an example embodi­
(63) Continuation of application No. 13/207,858, filed on                          ment, automobile market data representative ofcurrent auto­
     Aug. 11, 2011, now Pat. No. 8,650,093, which is a                             mobile market characteristics is stored. The automobile
     continuation-in-part of application No. 13/176,497,                           market data may include pricing and consumer interest infor­
     filed on Jul. 5, 2011, and a continuation-in-part of                          mation received from consumers, dealers, and manufacturers.
     application No. 13/176,525, filed on Jul. 5, 2011, now                        A consumer seller or manufacturer off-lease seller may pro­
     Pat. No. 8,744,925.                                                           vide a request for a response regarding a specific used auto­
                                                                                   mobile with a specific a vehicle identification number. Auto­
(51) Int. Cl.                                                                      mobile market data may be provided to a used automobile
     G06Q30/00                (2012.01)                                            buyer based on the request. Bids to purchase the specific used
     G06Q30/08                (2012.01)                                            automobile may be requested from used automobile buyers
     G06Q30/06                (2012.01)                                            based on the request. Buyer bids may be provided to the
(52) U.S. Cl.                                                                      consumer seller or manufacturer off-lease seller with prices
     CPC ................ G06Q30/08 (2013.01); G06Q30/06                           and a delivery options. The consumer seller or manufacturer
                                                 (2013.01)                         off-lease seller may select a bid to sell the specific used
                                                                                   automobile based on the bid.
(58) Field of Classification Search
     CPC ... G06Q 30/08; G06Q 30/02; G06Q 30/0275;
                                            G06Q 30/0605                                                 18 Claims, 7 Drawing Sheets




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              Case: 23-1362                     Document: 30                  Page: 125            Filed: 12/05/2023


                                                           US 9,123,075 B2
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                                                                  Appx938
                                       Case: 23-1362                         Document: 30         Page: 126   Filed: 12/05/2023




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                          Mobile Device           \'---                                  Host Device                                               rJJ
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Appx939
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           ft:_,...--.�                                                      Client
            1/\j          t____                                              Device
          User 114                                                                                   Fig. 1
                               Case: 23-1362                   Document: 30                          Page: 127               Filed: 12/05/2023




                                                                                                  Computing Device
                                                                ;-214                      .¥.,,- 102, 104

                                          Keyboard, mouse,
                                          and/or other input
                                              device(s}
                                                                                               22 0               Network
          Main Unit 202 �,                                                                                         device
                    1210           r206
             Other PC
                           �
              circuits
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                                            circuits                                       �
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            Processor      �                   J11,            •ll                                                                                               ('D
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                                              Printer(s),                          Hard dri ve( s),
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                   Display                speaker(s), and/or                      CD(s), D\/O(s),                                    Databases, programs,
                                             other output                           and/or other                                  files, configuration, index,
                                               devices                            storage devices                                     tags, access, usage,
                                                                               ...._                                                statistical, security data


                                                                             Fig. 2
      Case: 23-1362          Document: 30      Page: 128     Filed: 12/05/2023


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                                                                         /302

                  Automobile Market Information Processing System
                              1310                                1312

              Database System                    Recommendation Engine


                              ;314                                1 316

          Vehicle Identification
                                                 Interface Generation Unit
           Number Processor


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                                                                     I
              '                          Jl




              1,      r304               1f    ;306                       t 3 08


       Consumer                       Dealer                   Manufacturer
        Interface                    Interface                  Interface




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                                        If'\



        User 114                     User 114                    User 114




                                     Fig. 3A



                                      Appx941
      Case: 23-1362         Document: 30       Page: 129      Filed: 12/05/2023


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                                                                           r- 302
                 Automobile Market Information Processing System
                             ;---- 310                        r-312

                 Database System                Recommendation Engine


                                   1-314                          , 316

              Vehicle identification
                                                Interface Generation Unit
               Number Processor


                     ,l                            �                   l



                     ,,       /304                 1•     ,306        ,,  ;3 08
                                                                 Manufacturer
          Consumer Interface               Dealer Interface
                                                                  Interface

              1318             ;320                 ,322               ;324
        Used Auto         Used Auto           Used Auto           Off-Lease
           Seller            Buyer               Buyer              Seller
         Interface         interface           Interface          lntertace




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                                       Fig. 3B




                                       Appx942
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                                              Start    )
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                                                                                     ;--402
      Automobile market data including at least pricing data is stored in a database
        system (e.g., data from consumers, dealers. manufacturers, and industry
                                                                                      �
      analysts, regarding pricing, inventory, insurance information, quality ratings,


                                                '
         safety ratings, and other ratings is collected and stored in a database)
                                                                                     ;--404
        A request for a response regarding a used automobile is received from a
     consumer seller (e.g., a used car seller takes a picture of the VIN of a used car
      and fills in price parameters and otller information into a mobile application to
                                                                                        -------,..

                                                '
                      receive a response based on current market data)
                                                                                     ;--406
      Automobile market data is provided to used automobile buyers based on the
    consumer seller request (e.g., a group of consumers and dealers receive a real-
    time report including local used car sales data, inventory data, quality and safety


                                                '
       ratings data, insurance data, and gas mileage data of the specific used car)
                                                                                    /408
      A bid to purchase the automobile from the consumer seller is requested from
    used automobile buyers (e.g., a group of consumers and dealers vvithin a certain ...............


                                                •
      radius of the used car seller receive a bid request based on buyer searches)

                                                                                    i
                                                                                     r·-- 410
      Buyer bids are provided to the consumer seller (e.g., several consumers and
      dealers provide bids based on current pricing data, options information on trie
     specific used car, and potential pickup locations, so several different prices and
                                                                                        -------,..

                                                '
                 delivery options may be available to the used car seller)
                                                                                     ;--412
     The consumer seller selects a buyer bid including a price and a delivery option
    (e.g., the used car seller chooses to sell tile used car based on the price and tile -------,..


                                                '
                         pickup location of a consumer buyer bid)
                                                                                    /414
        The consumer seller and used automobile buyer execute the sale of the
        automobile (e.g., the used car buyer e-signs a contract and electronically              ...............
           transfers funds to the used car seller based on the consumer bid)


    The consumer seller makes the purchased used automobile available according
     to the consumer seller bid selection (e.g., the seller drives the used car to the
        pickup location if the pickup location is not the used car seller's location)


     Ttle used automobile buyer receives the purchased used automobile according
         to the consumer seller selected delivery option (e.g., ttle used car buyer
     receives the used car at the pickup location the same day the sale is executed)                    Fig. 4



                                               Appx943
      Case: 23-1362         Document: 30      Page: 131        Filed: 12/05/2023


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                                              f                                     ·······504
              Interface Data                                 Adrninislrative Data



      BB
                                                  -        Account          Access and
                                                         Information         Security

                    a                                                  'I

                    ,.                       r-506                      •
                                  Automobile Market Data

                               /508                                    I-510


               Executed Sales Data                        Consumer Data



                               ;512                                    ;514


                    Dealer Data                       Manufacturer Data



                               /516                                    i-518


                  Statistical Data                        Historical Data




                                         Fig. 5




                                       Appx944
                                Case: 23-1362          Document: 30          Page: 132             Filed: 12/05/2023




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                            r- 318,324                              r-302                                            ,� 320,322
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                            602                                             606 608- :
                       ;           604                                                       \                               ;610
            Seller takes a                                  System receives     , ..... Bid. reqLi est\         Used auto buyers
           picture of a VIN               Seller           seller request and             and auto             receive bid request
          and enters pricing             Request                prepares                   market                and automobile
             parameters                                    automobile market            information/            market information
                                                                                               I
                                                           data based on the                   I               to determine prices
                                                                 request                                           and delivery
                                                                                               : ,/
                                                                                               I                  options for the
                                                                                               I                                      N
                                                                                               I                  used auto and       0
                                                                              614              I         612       prepare and
                                                                                                                                      ....
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                                                            System receives                                    provide bids for the
                                                     616                                   Buyer bid
                                                             and processes                                       used auto seller
                       ,r- 618         Buyer bids            buyer bids and                                                           rJJ
                                        and auto           prepares bids and                                                          ('D
             Seller receives
                                         market
                                                                                                                                      =­
                                                                                                                                      ('D
                                                           automobile market                                                          .....




Appx945
             buyer bids and
                                      information            data for seller                                                          -....J
           automobile market                                                                                                          0
            information and                                                                                                           ....
                                                                                                                                      -....J
              selects a bid
          including a delivery
                                   620                                   ;622                                               r-626
            option based on                                                          624
           automobile market                                System receives                                    Buyer receives bid
                                         Selection         and processes bid               Selection             selection and
               infom1ation
                                                               selection                                       coordinates a sale




                                                                Fig. 6
               Case: 23-1362                 Document: 30                Page: 133            Filed: 12/05/2023


                                                       US 9,123,075 B2
                               1                                                                      2
        USED AUTOMOBILE TRANSACTION                                    information and facilitating used automobile transactions. In
       FACILITATION FOR A SPECIFIC USED                                an example embodiment, automobile market data represen­
                 AUTOMOBILE                                            tative of current automobile market characteristics is stored.
                                                                       The automobile market data may include pricing and con-
             CROSS REFERENCE TO RELATED                            5 sumer interest information received from consumers, dealers,
         APPLICATIONS AND PRIORITY CLAIM
                                                                       and manufacturers. A consumer seller or manufacturer off­
                                                                       lease seller may provide a request for a response regarding a
   This application is a continuation of U.S. patent applica­
tion Ser. No. 13/207,858, filed on Aug. 11, 2011, which is a           specific used automobile with a specific a vehicle identifica­
continuation-in-part of the following co-pending commonly­             tion number. Automobile market data may be provided to a
                                                                    0
owned patent applications filed on Jul. 5, 2011, entitled 1 used automobile buyer based on the request. Bids to purchase
"AUTOMOBILE             TR ANSACTION            FACILITATION           the specific used automobile may be requested from used
USING A MANUFACTURER RESPONSE," application                            automobile buyers based on the request. Buyer bids may be
Ser. No. 13/176,497, and entitled "AUTOMOBILE TR ANS­                  provided to the consumer seller or manufacturer off-lease
ACTION FACILITATION BASED ON CUSTOMER                                  seller with prices and a delivery options. The consumer seller
SELECTION OF A SPECIFIC AUTOMOBILE," application 15 or manufacturer off-lease seller may select a bid to sell the
Ser. No. 13/176,525, the entire contents of each of which is           specific used automobile based on the bid.
incorporated by reference herein.                                         Additional features and advantages of the disclosed
                                                                       method and apparatus are described in, and will be apparent
                        BACKGROUND                                     from, the following Detailed Description and the Figures.
                                                                   20
   In the used automobile market, consumers typically sell or                    BRIEF DESCRIPTION OF THE FIGURES
trade in used automobiles to dealers or dealerships, or pri­
vately sell to other consumers, for example, through personal             FIG. 1 is a high level block diagram of an example network
advertisements. Dealers often purchase used automobiles                communicating system, according to an example embodi­
from consumers as part of a deal for a new automobile, 25 ment of the present invention.
typically referred to as a trade in. Typically, a description of a
                                                                          FIG. 2 is a detailed block diagram showing an example of
used automobile in a personal advertisement may include the
                                                                       a computing device, according to an example embodiment of
make, model, and mileage of an automobile, but certain other
relevant descriptive information may not be available to a             the present invention.
potential buyer. Further, a dealer making a trade in offer for a          FIGS. 3A and 3B provide a block diagram showing an
used automobile may not have certain relevant descriptive          3 0 example    automobile transaction network structure, according
information on that used automobile. In many cases, the                to an example embodiment of the present invention.
negotiation process for a used automobile may include a large             FIG. 4 is a flowchart illustrating an example process for
degree of uncertainty for consumers, including both a selling          facilitating a used automobile transaction, according to an
consumer and a purchasing consumer. A consumer seller may              example embodiment of the present invention.
be particularly disadvantaged when negotiating with a dealer 35           FIG. 5 is a block diagram showing an example data archi­
for a trade in value, as dealers typically have great knowledge        tecture, according to an example embodiment of the present
and experience with the process, while consumers typically             invention.
do not. Generally, the negotiation process is a zero sum pro­             FIG. 6 is flow diagram illustrating an example process for
cess, and because a consumer seller of a used automobile and           facilitating a used automobile transaction, according to an
a used automobile buyer are each trying to get a better deal, 40 example embodiment of the present invention.
there is typically some lack of trust during the negotiation.
Accordingly, used automobile buyers and sellers, including                      DETAILED DESCRIPTION OF EXAMPLE
consumers and dealers, often base the negotiations on estab­                                  EMBODIMENTS
lished market prices. However, market prices can fluctuate
rapidly depending a variety of factors. For example, con- 45              The present disclosure relates in general to a system for
sumer demand may be affected by economic factors, such as              facilitating used automobile transactions and, in particular, to
changes in gasoline prices, unemployment rates, government
                                                                       an automobile transaction for a specific used automobile.
sponsored tax rebates for automobile purchases, etc.
                                                                       Briefly, in an example embodiment, a system is provided
   In many cases, a consumer seller of a used automobile may
have concerns that a buyer may not offer a fair and competi­           which allows a consumer seller or a manufacturer off-lease
tive price. Various products and services have become avail- 50 seller of a used automobile to request bids and information
able that allow sellers and buyers, including consumers and            regarding a specific automobile identified with a specific
dealers, to perform research on market prices for used auto­           vehicle identification number. For example, a consumer may
mobiles. Typically, the highest possible value available to a          use a mobile device to take a picture of a vehicle identification
consumer seller may be through a sale to another consumer,             number and may enter a desired price range or minimum
as opposed to trading in the used automobile to a dealer.          55 asking price. The specific automobile may be identified using
   In addition to consumers and dealers, automobile manu­              optical character recognition to provide, for example, a full
facturers may also have an interest in the resale values of used       list of the original manufacturer features and options, and the
automobiles. Further, in many cases, a manufacturer may                original manufacturer suggested retail price and invoice
want to sell used off-lease automobiles which have been                information, for that specific used automobile based on the
returned by consumer lessees. In many cases, a manufacturer 60 vehicle identification number. Accordingly, the consumer
off-lease seller may not be able to receive the full market            seller need not enter all of this information, but may request
value of a used off-lease automobile.                                  bids and information in real-time for that specific used auto­
                                                                       mobile. Used automobile buyers may include consumers and/
                           SUMMARY                                     or dealers which may provide bids based on the consumer
                                                                   65 seller request using real-time automobile market information.
   The present disclosure provides a new and innovative sys­           A consumer seller may select a buyer bid to sell a used
tem, methods and apparatus for providing automobile market             automobile based on the prices and delivery options avail-

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able. Accordingly, typically unavailable or difficult to obtain    administrative tasks. A host device 104 or server may interact
data may be provided for offering a used automobile for sale,      via one or more networks with one or more other host devices
including a full listing of the manufacturer features and          104 or servers 108, which may be operated independently.
options, EPA mileage, safety ratings, recalls, quality reports,    For example, host devices 104 and servers 108 operated by a
estimated insurance costs, etc. In an example embodiment, a 5 separate and distinct entities may interact together according
manufacturer off-lease seller may select a buyer bid based on      to some agreed upon protocol.
the prices and delivery options to maximize value, for                A detailed block diagram of the electrical systems of an
example, by reducing costs typically associated with selling       example computing device (e.g., a client device 102, and a
an off-lease automobile. The used automobile market is pres­       host device 104) is illustrated in FIG. 2. In this example, the
ently approximately three times the size of the new automo­ 10 computing device 102, 104 includes a main unit 202 which
bile market in the United States, as approximately 40 million      preferably includes one or more processors 204 electrically
used automobiles are sold each year. Accordingly, the present      coupled by an address/data bus 206 to one or more memory
disclosure may be helpful for facilitating large numbers of        devices 208, other computer circuitry 210, and one or more
used automobile transactions. In an example embodiment,            interface circuits 212. The processor 204 may be any suitable
the disclosed system matches seller and buyer parameters, 15 processor, such as a microprocessor from the INTEL PEN­
such as price and pickup location, to facilitate a live bidding    TIUM® family of microprocessors. The memory 208 pref­
process, which allows a used automobile seller to accept or        erably includes volatile memory and non-volatile memory.
reject bids using a great deal of information not typically        Preferably, the memory 208 stores a software program that
available. In a non-limiting example embodiment, certain           interacts with the other devices in the system 100 as described
features disclosed in the present patent application may be 20 below. This program may be executed by the processor 204 in
commercially embodied in products and services offered by          any suitable manner. In an example embodiment, memory
Sidekick Technology LLC, the assignee of the present appli­        208 may be part of a "cloud" such that cloud computing may
cation.                                                            be utilized by a computing devices 102, 104. The memory
   The present system may be readily realized in a network         208 may also store digital data indicative of documents, files,
communications system. A high level block diagram of an 25 programs, web pages, etc. retrieved from a computing device
example network communications system 100 is illustrated           102, 104 and/or loaded via an input device 214.
in FIG. 1. The illustrated system 100 includes one or more            The interface circuit 212 may be implemented using any
client devices 102, and one or more host devices 104. The          suitable interface standard, such as an Ethernet interface and/
system 100 may include a variety of client devices 102, such       or a Universal Serial Bus (USB) interface. One or more input
as desktop computers and the like, which typically include a 30 devices 214 may be connected to the interface circuit 212 for
display 112, which is a user display for providing information     entering data and commands into the main unit 202. For
to users 114, and various interface elements as will be dis­       example, the input device 214 may be a keyboard, mouse,
cussed in further detail below. A client device 102 may be a       touch screen, track pad, track ball, isopoint, image sensor,
mobile device 103, which may be a cellular phone, a personal       character recognition, barcode scarmer, microphone, and/or a
digital assistant, a laptop computer, a tablet computer, etc. 35 speech/voice recognition system.
The client devices 102 may communicate with the host device           One or more displays 112, printers, speakers, and/or other
104 via a connection to one or more communications chan­           output devices 216 may also be connected to the main unit
nels 106 such as the Internet or some other data network,          202 via the interface circuit 212. The display 112 may be a
including, but not limited to, any suitable wide area network      cathode ray tube (CRTs), a liquid crystal display (LCD), or
or local area network. It should be appreciated that any of the 40 any other type of display. The display 112 generates visual
devices described herein may be directly connected to each         displays generated during operation of the computing device
other instead of over a network. Typically, one or more servers    102, 104. For example, the display 112 may provide a user
108 may be part of the network communications system 100,          interface, which will be described in further detail below, and
and may communicate with host servers 104 and client               may display one or more web pages received from a comput-
devices 102.                                                    45 ing device 102, 104. A user interface may include prompts for
   One host device 104 may interact with a large number of         human input from a user 114 including links, buttons, tabs,
users 114 at a plurality of different client devices 102.          checkboxes, thumbnails, text fields, drop down boxes, etc.,
Accordingly, each host device 104 is typically a high end          and may provide various outputs in response to the user
computer with a large storage capacity, one or more fast           inputs, such as text, still images, videos, audio, and anima-
microprocessors, and one or more high speed network con­ 50 tions.
nections. Conversely, relative to a typical host device 104,          One or more storage devices 218 may also be connected to
each client device 102 typically includes less storage capac­      the main unit 202 via the interface circuit 212. For example,
ity, a single microprocessor, and a single network connection.     a hard drive, CD drive, DVD drive, and/or other storage
It should be appreciated that a user 114 as described herein       devices may be connected to the main unit 202. The storage
may include any person or entity which uses the presently 55 devices 218 may store any type of data, such as pricing data,
disclosed system and may include a wide variety of parties.        transaction data, operations data, inventory data, commission
For example, as will be discussed in further detail below,         data, manufacturing data, image data, video data, audio data,
users 114 of the presently disclosed system may include a          tagging data, historical access or usage data, statistical data,
consumer, a dealer, and/or a manufacturer.                         security data, etc., which may be used by the computing
   Typically, host devices 104 and servers 108 store one or 60 device 102, 104.
more of a plurality of files, programs, databases, and/or web         The computing device 102, 104 may also exchange data
pages in one or more memories for use by the client devices        with other network devices 220 via a connection to the net­
102, and/or other host devices 104 or servers 108. A host          work 106. Network devices 220 may include one or more
device 104 or server 108 may be configured according to its        servers 226, which may be used to store certain types of data,
particular operating system, applications, memory, hardware, 65 and particularly large volumes of data which may be stored in
etc., and may provide various options for managing the             one or more data repository 222. A server 226 may include
execution of the programs and applications, as well as various     any kind of data 224 including databases, programs, files,

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libraries, pncmg data, transaction data, operations data,         may be considered to be part of the automobile market infor­
inventory data, connnission data, manufacturing data, con­        mation processing system 302, however, for discussion pur­
figuration data, index or tagging data, historical access or      poses, the consumer interface 304, dealer interface 306, and
usage data, statistical data, security data, etc. A server 226    manufacturer interface 308 may be referred to as separate
may store and operate various applications relating to receiv­ 5 from the automobile market information processing system
ing, transmitting, processing, and storing the large volumes of   302.
data. It should be appreciated that various configurations of        For example, a user 114 may interact with a consumer
one or more servers 226 may be used to support and maintain       interface 304 to research new or used automobiles the user
the system 100. For example, servers 226 may be operated by       114 is interested in buying and/or selling. For example, a
various different entities, including automobile manufactur- 10 consumer may be looking for a four door sedan with specific
ers, brokerage services, automobile information services, etc.    features, including a global positioning system (GPS), a sun-
Also, certain data may be stored in a client device 102 which     roof, tinted windows, rated for at least thirty miles per gallon,
is also stored on the server 226, either temporarily or perma­    four wheel drive, etc. The consumer may interact with the
nently, for example in memory 208 or storage device 218. The      consumer interface 304 by inputting required and/or desired
network connection may be any type of network connection, 15 features, monthly budget or full price, etc. The consumer
such as an Ethernet connection, digital subscriber line (DSL),    interface 304 may provide a wide variety of features and
telephone line, coaxial cable, wireless connection, etc.          specifications which the consumer may choose from in pro­
   Access to a computing device 102, 104 can be controlled        viding a request. Based on the information put into the con­
by appropriate security software or security measures. An         sumer interface 304 from the consumer, the consumer inter­
individual users' 114 access can be defined by the computing 20 face 304 may provide one or more reports or offers to the
device 102, 104 and limited to certain data and/or actions.       consumer. As will be discussed in further detail below, the
Accordingly, users 114 of the system 100 may be required to       information provided by the consumer interface 304 may
register with one or more computing devices 102, 104. For         include current market prices for automobiles, including
example, registered users 114 may be able to request or           information relating to additional features, and may include
manipulate data, such as submitting requests for pricing 25 information on specific automobiles, for example, which may
information or providing an offer or a bid.                       be en route to a dealer near the consumer's present location or
   As noted previously, various options for managing data         may be already owned by the consumer. The automobile
located within the computing device 102, 104 and/or in a          market information processing system 302 may process data
server 226 may be implemented. A management system may            received by the consumer interface 304, as well as the dealer
manage security of data and accomplish various tasks such as 30 interface 306 and/or the manufacturer interface 308, to
facilitating a data backup process. A management system           respond to a request from a consumer. For example, data from
may be implemented in a client 102, a host device 104, and a      database system 310 may be queried for use in a report, or a
server 226. The management system may update, store, and          reconnnendation may be provided by reconnnendation
back up data locally and/or remotely. A management system         engine 312 according to the consumer request and current
may remotely store data using any suitable method of data 35 market data. The automobile market information processing
transmission, such as via the Internet and/or other networks      system 302 may integrate data received from consumer inter-
106.                                                              face 304, dealer interface 306, and manufacturer interface
   FIGS. 3A and 3B provide a block diagram showing an             308 to provide current and accurate information relating to
example automobile transaction network structure 300. As          the automobile market.
illustrated in FIG. 3A, the example automobile transaction 40        It should be appreciated that the consumer interface 304
network structure 300 includes an automobile market infor-        may be specific to one particular manufacturer or may pro­
mation processing system 302, a consumer interface 304, a         vide information for automobiles manufactured by multiple
dealer interface 306, and a manufacturer interface 308. The       different manufacturers. For example, a consumer interface
example automobile market information processing system           304 may be a website with information for many manufac-
302 may be implemented on one or more host devices 104 45 turers. For example, the consumer interface 304 may access
accessing one or more servers 108, 226. In an example             or link to the manufacturer specific websites (e.g., Ford),
embodiment, the automobile market information processing          particularly with regard to new automobile information, but
system 302 includes a database system 310, a reconnnenda­         also for used automobile information. Also, for example, a
tion engine 312, a vehicle identification number processor        consumer interface 304 may be implemented as an automo-
314, and an interface generation unit 316. A user 114 may be 50 bile manufacturer's website. Typically, a manufacturer's
a consumer, a dealer, or a manufacturer that interacts with the   website may provide consumers with a catalog like feature
consumer interface 304, dealer interface 306, or manufac­         that provides information on different automobile models
turer interface 308, respectively. A database system 310 may      with any available options or features. For example, a manu­
include a wide variety of automobile market data. A recom­        facturer website may allow a consumer to select options that
mendation engine 312 may provide reconnnendations for 55 are desired to "build" a particular new automobile, and may
consumers, dealers, and manufacturers. A vehicle identifica­      provide price comparisons using suggested retail prices,
tion number processor 314 may be used for making requests         which may consumers use for initial research into what pric­
regarding specific automobiles and automobiles with specific      ing the dealer may offer for a particular automobile with a
sets of features. For example, a vehicle identification number    particular feature set. Also, typically, the consumer may enter
processor 314 may determine a specific set of features that a 60 information, including, for example, name, an address or zip
specific car has based on a picture ofthat specific car's vehicle code, and telephone number. This information may be passed
identification number. Interface generation unit 316 may pro­     on from the manufacturer to a nearby dealer and/or nearby
vide, for example, HTML files which are used at the con­          dealer information may be provided to the consumer ( e.g., the
sumer interface 304, dealer interface 306, and manufacturer       dealer in or nearest to the consumer's entered zip code).
interface 308 interface to provide information to the users 65 Accordingly, the dealer may contact the consumer, or the
114. It should be appreciated that he the consumer interface      consumer may inquire with the dealer, regarding the specific
304, dealer interface 306, and manufacturer interface 308         automobiles available on that dealer's lot and particular pric-

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ing being offered, etc. In many cases, consumers may not              consumer, for at home research and preparation, and/or in a
inquire with dealers that the manufacturer may recommend,             dealer location while shopping as a negotiating tool that may
and similarly, dealers may not diligently follow up with con­         provide confirmation on pricing, useful tips, and the like. As
sumers that have an interest in purchasing an automobile.             will be discussed in FIG. 3B in further detail below, the
Further, it should be appreciated that the information pro- 5 consumer interface 304 may include a used automobile seller
vided via a consumer interface 304 and/or a manufacturer              interface 318 and a used automobile buyer interface 320.
website may be very useful to consumers. For example, in the             In an example embodiment, a dealer interface 306 may
past, dealers often provided brochures with all the informa­          provide a user 114, such as a dealer employee, information
tion on a manufacturer's available car models, including all          relating to the current automobile market. The dealer inter­
the features and options information. However, dealers typi- 10 face 306 allows a dealer to interact with automobile market
cally do not provide comprehensive information brochures,             information processing system 302 to provide the dealer with
which may be relatively expensive to produce, and rather, that        a wide variety ofinformation, including, for example, current
information is typically located on a manufacturer website            market pricing. Other automobile market information a
and/or a consumer interface 304. It should also be appreciated        dealer may receive on a dealer interface 306 includes infor­
that information on a manufacturer website and/or a con- 15 mation relating to lot inventory, turnover rates, automobile
sumer interface 304 may be directed to both new and used              transportation and/or shipping costs, incentives, and various
automobiles. For example, historical and statistical informa­         ratings, such as ratings relating to quality, safety, insurance, a
tion which demonstrates favorable safety ratings, quality and         consumer credit score, dealer ratings, residual or resale val­
reliability data, low maintenance costs, low insurance prices,        ues, etc. A dealer may input information into dealer interface
low emissions, high gas mileage, etc. based on specific mod- 20 306 relating to sales data, including current pricing offered,
els for specific years, and/or groups ofmodels and years may          special sales offers, actual transaction data, inventory data,
be provided on a manufacturer website and/or a consumer               etc. In an example embodiment, the dealer may provide infor­
interface 304.                                                        mation through dealer interface 306 which will be used by
   Accordingly, the consumer interface 304 may provide a              automobile market information processing system 302 to
wide range of information, for example, based on any 25 prepare reports or offers to consumers and/or manufacturers.
searches or queries performed by a user 114. In an example            It should be appreciated that a dealer is typically a franchise
embodiment, based on a user search or request for a response,         entity, while a distribution location may not be a franchise
the consumer interface 304 will display a quality index or            entity. For brevity, throughout this specification, the term
value index based on normalized calculations for an automo­           dealer may be used to describe both franchise entity dealers
bile. The recommendation engine 312 may provide recom­ 30 and non-franchise entity distribution location. Accordingly,
mendations to a consumer based on the current automobile              as used in this disclosure, the term dealer does not indicate
market data stored in the automobile market information               whether an entity is a franchise entity. Moreover, a franchise
processing system 302. For example, metrics on gas mileage,           dealer or a non-franchise distribution location may utilize a
emissions, operating and maintenance costs, safety ratings,           dealer interface 306 as described herein.
etc. may be benchmarked against comparable automobiles of 35             In an example embodiment, a manufacturer interface 308
the same and different manufacturers. Similar purchase                may provide a user 114, such as a manufacturer employee,
options to a specific search may also be provided, based on           information relating to the current automobile market,
feature matching, price range, consumer popularity, etc.              including consumer requests. For example, an manufacturer
Information including price ranges, including MSRP, invoice           interface 308 may provide a manufacturer a request received
prices, inventory levels, the user's 114 credit ratings (e.g., 40 from a consumer interface 304. Additionally, the manufac­
FICO score), may be provided which may include monthly                turer interface 308 may provide information such as a report
payment estimates or projections. It should be appreciated            that allows the manufacturer to provide a response to the
that such data may be provided for both new and used auto­            requesting consumer. A report may include information from
mobiles. For example, a financing calculator may help a user          database system 310 relating to current market pricing, recent
114 determine what financing rate is appropriate for an auto- 45 sales figures and trends, current manufacturer incentives, cur­
mobile purchase. It should be appreciated that dealers may            rent inventory, including dealer inventory, inventory in tran-
mislead consumers into believing that a higher financing rate         sit, and/or build times or lead times for a desired automobile,
will be required to secure a loan. Further, for example, a lease      etc. The manufacturer may use this information to provide a
vs. buy calculator may be provided which may use current              response to a consumer request. The manufacturer may pro­
market data including prices, interest rates, incentives, esti- 50 vide the manufacturer interface 308 with information to pro­
mated mileage per year, etc. for providing an analysis for a          vide a confirmation, a verification, or an offer to a consumer
particular consumer regarding purchasing or leasing. Also,            via consumer interface 304. For example, a confirmation
the consumer interface 304 may provide a purchase checklist,          number associated with the particular consumer request may
for example, often steps to buying a car. A qualitative check­        be provided for the consumer. Also, a recommendation may
list may allow a user to ask the right questions and get the right 55 be provided from the recommendation engine 312 to the
answers from a dealer. Additional tips may be provided, such          manufacturer in relation to automobile pricing, responding to
as a list of products or services dealers may attempt to sell to      a specific request, manufacturer incentives, inventory man­
a consumer with an analysis ofthe value ofthese products or           agement, production schedules, shipping schedules, etc. It
services and a recommendation to accept or decline these              should be appreciated that a manufacturer may be referred to
dealer offers. Further, beyond analysis relating to automo- 60 as an OEM or original equipment manufacturer. Further, it
biles, additional analysis or reports may be provided, for            should be appreciated that a manufacturer may include vari-
example, relating to dealer reviews, other supplemental prod­         ous related affiliate entities all doing business as, or operating
ucts, financial entities that may provide financing, etc. For         under, the same manufacturer name. For example, a manu­
example, dealer reviews may provide a consumer with infor­            facturer typically may include a manufacturing company
mation the consumer may use in addition to automobile pric- 65 (e.g., operating the manufacturing plant), a sales company
ing and delivery options. Moreover, the consumer interface            (e.g., operating automobile sales activities), and a captive
304 may provide a wide variety of useful information to a             finance company (e.g., operating financing and leasing activi-

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ties). The manufacturer interface 308 may provide a manu­           that the used automobile seller interface 318 may be used by
facturer with a real-time lens into the automobile market           consumers. It should be appreciated that, a manufacturer
which may allow the manufacturer to adjust production               off-lease seller may have limited options to sell a used off­
schedules, pricing plans, marketing activities, etc., which         lease automobile and may have time constraints that are may
may provide a significant advantage for manufacturers.           5 be typically imposed on a consumer seller of a used automo­
   As illustrated in FIG. 3B, a consumer interface 304 may          bile. Typically, an off-lease automobile may be dropped off
include a used automobile seller interface 318 and a used           by a consumer lessee at any one of a variety of dealer loca­
automobile buyer interface 320. The used automobile seller          tions. The manufacturer lessor may then wish to sell the used
interface 318 may be used by consumer sellers to sell used          off-lease automobile, however, the dealer where the off-lease
automobiles, while the used automobile buyer interface 320 10 automobile was dropped off may have a significant bargain­
may be used by consumers to buy used automobiles. It should         ing advantage to purchase that automobile, as the manufac­
be appreciated that consumers may be able to access both            turer may need to sell the off-lease automobile quickly and
interfaces 318 and 320 from consumer interface 304. In an           may have limited options. Typically, the dealer may not offer
example embodiment, the used automobile seller interface            the manufacturer off-lease seller full market value for the
318 and a used automobile buyer interface 320 may be inte- 15 off-lease automobile. It should be appreciated that the manu­
grated within a single website or application, or for example,      facturer off-lease seller may transport the car to an auction in
may be implemented as distinct websites. Similarly, in an           an attempt to obtain a higher price. However, transportation
example embodiment, a used automobile buyer interface 320           costs, auction fees, and delay in selling the off-lease automo­
may be integrated with features of a consumer interface 304         bile may cause the manufacturer off-lease seller to accept less
for searching both new and used automobiles for purchase, or 20 than market value for the off-lease automobile from the
new and used automobiles may not be simultaneously search­          dealer, or otherwise not maximize the value of the off-lease
able on a particular implementation of a consumer interface         automobile. For example, typically, an off-lease automobile
304. As will be discussed further below, a used automobile          sold at auction for near or even above the current market value
seller interface 318 may be used by a consumer seller of a          is significantly offset by transportation costs and auction fees.
specific used automobile to receive information on the spe- 25         The off-lease seller interface 324 may provide a manufac-
cific automobile and request bids for the specific automobile.      turer off-lease seller with leverage, not only through the abil­
Similarly, a used automobile buyer interface 320 may be used        ity to obtain bids to purchase the off-lease automobile, but
for used automobile buyers to receive information on a used         through the ability to determine the number of matches or
automobile and place a bid on that specific automobile.             search hits for an off-lease automobile. The dealer that has the
   It should be appreciated that, for example, a consumer 30 off-lease automobile may know that the manufacturer may
seller of a used automobile may be considered different than        have the ability to track searches for the off-lease automobile
a dealer seller of a used automobile in some respects. For          performed by consumers and/or other dealers. The manufac­
example, a consumer seller of a used automobile is often            turer off-lease seller may provide the dealer in possession of
selling through different charmels, such as offering for sale in    an off-lease automobile with matches and/or bids, which may
classified advertisements versus from a dealer lot. It should be 35 provide the dealer with firm evidence of current demand or
appreciated that such differences may be relevant to the abil-      interest in the off-lease automobile. The dealer may be able to
ity to maximize the value of a sale or purchase of a used           use this information to determine an appropriate price, and
automobile. Accordingly, where appropriate, the present dis­        possibly even more profitably than the manufacturer. Accord­
closure may distinguish a consumer seller from a dealer             ingly, a dealer may often be inclined to make a significantly
seller, or distinguish a consumer buyer from a dealer buyer. 40 more competitive bid for an off-lease automobile. It should be
Also, as discussed in further detail below, a manufacturer          appreciated that the manufacturer may use the off-lease seller
off-lease seller of a used automobile may also be considered        interface 324 to identify in-market buyers, and even without
different from a consumer seller and/or a dealer seller.            receiving bids from those buyers, the manufacturer's bargain­
   A dealer interface 306 may include a used automobile             ing power may improve, resulting in a greater value for off-
buyer interface 322. For example, a typical dealer may use a 45 lease sales.
dealer interface 306 primarily for facilitating sales of new and       Accordingly, information may be provided to the automo­
used automobiles, however, the dealer interface 306 may also        bile market information processing system 3 02 from consum­
be used to facilitate purchasing used automobiles. For              ers, dealers, and manufacturers with a very high degree of
example, a used automobile buyer interface 322 may be used          granularity, as every transaction that occurs and even every
by dealers similarly to the way that the used automobile buyer 50 request or search may be stored and used by the automobile
interface 320 may be used by consumers. It should be appre­         market information processing system 302. This allows the
ciated that in an example embodiment, the used automobile           automobile market information processing system 302 to use
buyer interfaces 320, 322 may be similar or the same, and/or        the most current automobile market data to provide informa­
may integrated as part of single website or application. In an      tion to consumers, dealers, and manufacturers. It should be
example embodiment, a dealer may use the used automobile 55 appreciated that market prices can change relatively quickly,
buyer interface 322 to facilitate bringing a consumer in to         particularly when major events drive consumer behavior or
purchase a new automobile based on providing a competitive          manufacturer production, such as natural disasters. Accord­
bid to purchase a used automobile as a trade in.                    ingly, reports and recommendations provided by the automo­
   A manufacturer interface 308 may include a used automo­          bile market information processing system 302 may be highly
bile off-lease interface 324. For example, a manufacturer may 60 accurate, reliable, and sensitive to market changes.
use a manufacturer interface 308 primarily for facilitating            It should be appreciated that the users 114 of the automo­
sales of new automobiles, however, the manufacturer inter­          bile market information processing system 302, including
face 308 may also be used to facilitate selling off-lease auto­     consumers, dealers, and manufacturers, and buyers and sell­
mobiles which have been returned by a consumer lessor               ers of new and used automobiles, may be required to agree to
whose lease is expiring. For example, an off-lease seller inter­ 65 and/or execute a terms of use agreement or terms of service
face 324 may be used by a manufacturer, typically, a captive        agreement. Various forms of enforcing the agreement may be
finance company of the manufacturer, similarly to the way           implemented, including a transaction deposit policy, which

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may require a deposit or a credit card hold, or the like, and a    sit, and manufacturing lead times. The automobile market
standard schedule of fees or default payment schedule for          data may be comprised solely of information received from
infractions such as improper condition of an automobile,           the consumer interface 304, dealer interface 306, and manu­
delay in delivery, etc. Accordingly, all parties may be pro­       facturer interface 308, or may include additional information
tected from another party breaching the agreement.               5 received from other sources, for example, industry analysts,
   It should be appreciated that certain functions described as    consumer reports groups, govermnent agencies, etc. It should
performed, for example, at automobile market information           be appreciated that various methods of storing the automobile
processing system 302, may instead be performed locally at         market data may be employed according to the system
consumer interface 304, dealer interface 306, and manufac­         requirements. For example, database system 310 may be
turer interface 308, or vice versa. Further, in certain cases, 10
                                                                   organized according to different manufacturers or dealers,
tasks may be performed using consumer interface 304, dealer
                                                                   automobile make and model, different information categories
interface 306, and manufacturer interface 308 or, for
                                                                   (e.g., suggested pricing, market prices, production, shipping,
example, performed in person, such as a consumer signing
documents at a dealer location, or a dealer communicating          lot inventory), etc., and may consist of one or more databases
with a manufacturer using a telephone. It should be appreci- 15 on one or more servers 108, 226 which may be remotely
ated that the consumer interface 304, dealer interface 306, and    located from each other and/or a host device 104 of the
manufacturer interface 308 may be implemented, for                 automobile market information processing system 302. As
example, in a web browser using an HTML file received from         will be discussed further below, the automobile market data
the automobile market information processing system 302. In        may be continually updated as new data is provided to the
an example embodiment, the consumer interface 304, dealer 20 automobile market information processing system 302.
interface 306, and manufacturer interface 308 may be located          The automobile market data may be used by any or all
on a website, and may further be implemented as a secure           parties involved in a used automobile transaction, including
website. Also, consumer interface 304, dealer interface 306,       used automobile sellers including consumer sellers and
and manufacturer interface 308 may require a local applica­        manufacturer off-lease sellers, and used automobile buyers
tion, for example, which a manufacturer or dealer may pay for 25 including consumer buyers and dealer buyers. In the example
to have access to, for example, information from the automo­       process 400, as discussed further below, the used automobile
bile market information processing system 302 such as              seller described by way of example as a consumer seller. It
requests from consumers.                                           should be appreciated that the example process 400 may work
   FIG. 4 is a flowchart of an example process 400 for facili­     similarly or the same for a manufacturer off-lease seller. In an
tating a used automobile transaction. Although the process 30 example embodiment, the consumer used automobile seller
400 is described with reference to the flowchart illustrated in    interface 318 and manufacturer off-lease seller interface 324
FIG. 4, it will be appreciated that many other methods of          may be provided as a combined interface. Certain aspects of
performing the acts associated with the process 400 may be         the disclosed example process 400 may be of greater or lesser
used. For example, the order of many of the blocks may be          advantage to a manufacturer off-lease seller compared with a
changed, certain blocks may be combined with other blocks, 35 consumer seller. For example, consumer sellers typically sell
and many of the blocks described are optional.                     used automobiles infrequently, while manufacturer off-lease
   The example process 400 for facilitating a used automobile      sellers may be selling thousands of used off-lease automo­
transaction may allow users 114 to efficiently sell and pur­       biles each month. Accordingly, the goals of the user 114 may
chase automobiles. The example process 400 may begin with          vary between consumer sellers and manufacturer off-lease
automobile market data including at least pricing data is 40 sellers. Certain notable aspects that may be distinguishable
stored in a database system (block 402). For example, auto­        between a consumer seller and manufacturer off-lease seller
mobile market data from dealers, consumers, and manufac­           will be discussed below.
turers regarding pricing, inventory, insurance information,           The example process 400 continues with a consumer seller
quality ratings, safety ratings, and other ratings is collected    providing a request for a response (block 404). For example,
and stored in a database. For example, inventory data may 45 a used car seller takes a picture of the vehicle identification
include data regarding off-lease automobiles, including            number (VIN) of a used car and fills in price parameters and
scheduled drop off dates of automobiles with expiring leases.      other information into a mobile application to receive a
In an example embodiment, a wide variety of data is stored in      response based on current market data. In an example
a database system 310. Automobile market data may include          embodiment, the seller's request may be transmitted from
various relevant ratings, reports, awards, or other informa- 50 used automobile seller interface 318, 324 via the internet to
tion, including quality information, safety information, insur­    the automobile market information processing system 302.
ance information, consumer credit information, dealer rating       For example, using an application stored on a mobile device
information, incentive information, residual value informa­        103, the used car seller takes a picture of the VIN on the used
tion, and/or any other data which may be relevant to consum­       car and fills in a minimum bid price, delivery parameters, etc.
ers. For example, ratings data may include information from 55 The seller's parameters may specify a pickup location by
the National Highway Traffic Safety Administration                 distance from an address, an area code, etc., which allows for
(NHTSA), the Environmental Protection Agency (EPA), and/           matching the seller with buyers that are in-market. The pic­
or the Insurance Institute for Highway Safety (IIHS). The          ture of the VIN may be processed using optical character
data may include information from a consumer interface 304,        recognition, which allows the automobile market information
such as data in consumer searches or requests, information 60 processing system 302 to determine the make and model of
from a dealer interface 306, such as currently offered dealer      the car, along with various other characteristics of the car.
pricing, transaction data for finalized sales, current inventory   Also, for example, the used car seller may take a picture of the
data, transport or shipping costs, and information from a          odometer, and the mileage may be determined using optical
manufacturer interface 308, such as current manufacturer           character recognition. It should be appreciated that the VIN
prices and suggested pricing, manufacturer incentives, and 65 may include human readable characters, a bar code, or any
current inventory including finished inventory on hand, pro­       other graphical or machine readable information which acts
duction scheduling, shipment scheduling, inventory in tran-        as a vehicle identification number.

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   Also, the used car seller may input into a mobile applica­      specific used car which is identified based on the VIN. The
tion or website a wide variety of additional information about     group of consumers and dealers that receive a real-time report
the used car. For example, pictures of the used car may be         may be based on prior searches conducted by consumers on
uploaded with the request. In an example embodiment, pic­          used automobile buyer interface 320 and searches conducted
tures of the exterior, interior, dashboard, and/or odometer 5 by dealers with used automobile buyer interface 322. In an
may be provided. Also, for example, service records, owner­        example embodiment, a report may include quality informa­
ship records, and other documents or information may be            tion, safety information, insurance information, recall infor­
included with a request. Further, a written description of the     mation, EPA gas mileage and emissions information, con-
car may be provided. Accordingly, because the used car seller      sumer credit information (e.g., buyer FICO score), dealer
can provide information such as pictures, in addition to infor- 10
                                                                   rating information, incentive information, residual value
mation which the seller may not have access to, such as the
                                                                   information, and/or any other data which may be relevant to
original manufacturer specifications of the used car, potential
                                                                   consumers and/or dealers. In an example embodiment, a
buyers may have access to a great deal of information on the
used car. Further, in an example embodiment, a mobile appli­       report may include a specific history information for the
cation may include the geolocation of a used car seller, so the 15 specific used car, such as a CARFAX report. The request
seller does not need to enter such information. Accordingly,       and/or the report may be provided in real-time and may also
the buyer may perform research, for example, while at home         provide real-time data. Data reported based on a real-time
or while shopping at a dealer location. It should be appreci­      updates   in the automobile market information processing
ated that certain used car buyers may be highly interested in      system 302 may provide significant advantages, for example,
the geolocation of the consumer seller. For example, a dealer 20 when pricing conditions may change quickly due to unfore­
may find the consumer seller's geolocation to be more impor­       seen market conditions. The recommendation engine 312
tant than a consumer buyer, because a dealer may require a         may provide recommendations to a used automobile buyer
minimal cost for picking up a car to ensure profitability, and     based on the current automobile market data. For example, a
to optimize the opportunity for creating a new customer rela­      report may indicate various estimated sales probabilities for
tionship. Similarly, certain used automobile sellers may be 25 different prices that the used automobile buyer may offer or
very interested in the geolocation of the used automobile          bid. In an example embodiment, a estimated sale price or
buyer. For example, a manufacturer off-lease seller may have       range may be provided. For example, a probability analysis
a high interest in determining the amount ofin-market interest     may be provided with prices and corresponding probabilities
or demand for an off-lease automobile.                             may be estimated as, e.g., 80% chance to purchase at $6,000;
   In an example embodiment, a manufacturer off-lease seller 30 60% chance to purchase at $5,500; 30% chance to purchase at
may provide a request for a response for an automobile that        $5,000; 10% chance to purchase at $4,500. Such information
will be dropped off by a consumer lessee in the near future.       may be illustrated in various ways, such as a bell curve graph
For example, a manufacturer user 114 may input a VIN into          or a chart. Further, for example, the recommendation engine
off-lease seller interface 324 by typing, speaking, or provid­     may provide daily suggestions (e.g., a deal of the day) for
ing an image of the VIN. The manufacturer off-lease seller 35 dealers and/or consumers. Consumers may use such sugges­
may provide a parameter that the used off-lease automobile         tions to save money or get a better value on a used car pur­
will be available only after a certain date. The manufacturer      chase by buying from another consumer rather than a dealer.
off-lease seller may find that providing a request for a           Dealers may use such suggestions to purchase used cars at
response prior to the consumer lessee actually dropping off an     good deals, and/or to attract consumers to visit the dealer in
off-lease automobile may significantly improve the value of 40 person or online, as well as prepare responses or bids to other
off-lease automobiles. It should be appreciated that the dealer    consumer requests. Dealers or consumers may customize the
where the consumer lessee drops off the off-lease automobile       used automobile buyer interface 320, 322 to provide infor­
may be bargaining without any particular advantage because         mation in a pre-specified manner to suit the particular needs
the manufacturer off-lease seller may have multiple inter­         of the specific dealer or consumer. In an example embodi-
ested used automobile buyers that, based on search param­ 45 ment, a manufacturer off-lease seller may receive automobile
eters, have received the off-lease automobile as a match,          market data including inventory information including data
and/or bids from used automobile buyers.                           regarding off-lease cars which have been dropped off at
   Used car buyers may perform a search with used automo­          dealer locations and cars which will soon be coming off­
bile buyer interfaces 320, 322, and may typically include          lease. Further, dealers and/or consumers may be able to
parameters limiting the search to a specific automobile type, 50 receive information regarding off-lease cars as well. For
make, or model, certain options or features, a price range, and    example, information may include a specific automobile
a pickup location or area. Further, for example, the buyer may     identified by a VIN with an expected drop off location and
take a picture of a VIN anywhere or manually type in a VIN         date based on a lease expiration.
number, including at automobile trade shows, mall displays,           A bid to purchase the used automobile from the consumer
or anywhere new or used cars are for sale. The buyer may even 55 seller is requested from used automobile buyers (block 408).
take a picture of a car parked in the street as the buyer walks    For example, a group of consumers and dealers within a
down the street. Any request or query communicated from the        certain radius of the used car seller location may receive a bid
consumer interface 304 may be stored, for example, in data­        request based on used automobile buyer searches via used
base system 310, thereby updating the automobile market            automobile buyer interfaces 320, 322. Each used automobile
information processing system 302 with current automobile 60 buyer's bid may include, for example, a price and a delivery
market data.                                                       option or delivery suggestion. The used automobile buyer
   The example process 400 may continue with providing             interfaces 320, 322 may provide for simple input of necessary
automobile market data to used automobile buyers based on          and optional data. Further, a used automobile buyer's bid may
the consumer seller request (block 406). For example, a group      contain certain limitations, restrictions, or conditions. For
of consumers and dealers receive a real-time report including 65 example, a dealer may provide a bid with the condition that a
local used car sales data, inventory data, quality and safety      new car be purchased and the used car be traded in at the bid
ratings data, insurance data, and gas mileage data of the          price.

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   In an example embodiment, the request may provide one or        requested bids for should be priced at, for example, $6,000.
more options, products, services, or add-ons for a used auto­      However, various factors may affect the bid or offer that a
mobile buyer to select from. For example, used automobile          consumer or dealer may make for the specific used car. For
buyers may be able to select financing options, warranties,        example, for a consumer, personal preference for certain fea-
extended service contracts, insurance plans, or other hard add 5 tures or looks, convenience, insurance implications, gas mile­
accessories. These selectable options may be offered directly      age, and/or service records, may play a large role in pricing a
from the used automobile seller or may be offered through the      bid above or below a suggested bid price. For example, for a
automobile market information processing system 302.               dealer, the potential for forming a customer relationship, the
Accordingly, a seller may not be offering any options for a        value of potential other sales, add-on products, and/or ser-
buyer to select, but the system may automatically provide the 10 vices, or competition with other parties. All used automobile
option to purchase further add-ons. In an example embodi­          buyers that are interested may place a bid for a used car
ment, automobile market information processing system 302          seller's consideration.
may provide for third party providers of add-ons to provide           It should be appreciated that various alternative delivery
live auction bids for a used automobile buyer to select for        options may be provided from several used automobile buy-
inclusion in a bid. Accordingly, for example, several insur­ 15 ers' bids, for example, based on preferences or parameters
ance companies may provide a bid for key insurance, or             indicated by the consumer seller of the used automobile. For
several financial companies may provide bids for a loan. It        example, the used automobile seller interface 318 may pro­
should be appreciated that certain bids may depend on the          vide several different bids with different delivery options and
particular buyer, so for example, a buyer's credit or driving      prices to the used car seller, for example, a price of$6,000 to
record may cause different buyers to receive different third 20 drop off the car at an out of state dealer the next day or a price
party bids for add-ons. For example, a particular buyer may be     of$5,500 to drop off the car at a local consumer buyer loca­
able to increase a bid to purchase a used automobile if third      tion in five days. For example, a consumer buyer may deter­
party add-ons are particularly advantageous, which may ben­        mine the cost of picking up the used car from the consumer
efit a consumer seller or manufacturer off-lease seller. For       seller and provide two pricing and delivery options, for
example, a buyer may receive a better than expected interest 25 example, $5,500 to pick up the used car from the consumer
rate and insurance price, and therefore be able to offer an        seller or $5,800 to have the used car delivered to the consumer
additional $1,000 to the seller, while staying within the buy­     buyer's home. For example, a manufacturer off-lease seller
er's predetermined monthly budget. It should be appreciated        may review bid prices and delivery options on a number
that third parties may include dealers which may be otherwise      factors on used automobile seller interface 324, but may be
involved in a transaction. Also, in an example embodiment, 30 very interested in finding an in-market buyer to eliminate
the automobile market information processing system 302            transportation costs. A manufacturer off-lease seller may
may provide at no charge to the buyers or sellers, certain         often have somewhat different concerns than a consumer
add-ons, such as a limited thirty day warranty. Accordingly,       seller. For example, to meet a quarterly budget, a manufac­
the automobile market information processing system 302            turer off-lease seller may be primarily interested eliminating
may gain trust from buyers even ifthe buyers generally do not 35 a high back log of off-lease cars even if selling cars at a
trust the sellers. It should also be appreciated that a buyer may  significant discount is required.
not select any add-ons offered by third parties and/or the            Further, for example, used automobile buyers may use
automobile market information processing system 302. A             information such as ratings data to optimize their bids. For
used automobile seller may have no interest in whether a           example, ifgasoline prices are increasing, mileage ratings for
buyer selects any add-ons, or the seller may receive additional 40 a particular car may dictate increasing or decreasing a bid. If
compensation if an add-on is selected, so a buyer selection of     a vehicle has very good gas mileage, and gas prices are
add-ons may or may not affect a seller's value associated with     skyrocketing, that car may have an increasing demand as gas
the buyer's bid.                                                   prices increase, or vice versa. Similarly, safety ratings of
   One or more buyer bids are provided to the consumer seller      vehicles may be important to consumer demand ifhigh profile
(block 410). For example, several consumers and dealers 45 problems have appeared for a particular automobile style,
provide bids based on current pricing data, options informa­       make, or model. As discussed above, various automobile
tion ofthe specific used car, and potential pickup locations, so   market information may be used by a used automobile buyer
several different prices and delivery options may be available     including safety information, insurance information, con­
to the used car seller via the used automobile seller interface    sumer credit information, dealer rating information, incentive
318. Typically, the bid will include at least a specified price 50 information, residual value information, and/or any other data
and pickup time and location. In an example embodiment, a          which may be relevant.
used car seller that has taken a picture ofa VIN with a mobile        The used automobile seller interface 318, 324 may orga­
device and entered some basic information such as an odom­         nize used automobile buyer bids based on a variety of factors
eter reading may receive used car buyer bids within minutes        and may provide supplemental information. For example,
or seconds on the mobile device. Accordingly, the bids may 55 certain buyer bids may be selected as the best options, all
be used in real-time as the consumer seller may be actively        buyer bids may be summarized, various additional ratings,
selling a used car or shopping for a new or used car, for          reviews, or popularity information, special offers, etc. may
example, on a dealer lot. Typically, a pickup location will be     also be provided to a consumer along with any used automo­
at the consumer seller location, a consumer buyer location, or     bile buyer bids. The recommendation engine 312 may pro-
at a dealer lot or distribution location. In an example embodi­ 60 vide recommendations to a consumer seller based on the
ment, the consumer buyer location may be determined using          current automobile market data. For example, of ten used
the geolocation ofthe buyer's mobile device 103. It should be      automobile buyer bids provided with a response, three bids
appreciated that some consumers may be flexible as to the          may be recommended, for example, as "Great Deals!" It
delivery options and that some dealers may have multiple           should be appreciated that in some cases, a particular used car
locations which could serve as a pickup location. In an 65 seller request may not return any buyer bids, for example, if
example embodiment, the automobile market data may indi­           the used car for sale is in low demand or a unique item with a
cate that the particular used car that a consumer seller has       limited market. Also, for example, if only one or two bids are

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received, the recommendation engine 312 may recommend                 required time constraints, but transportation costs may be
that a consumer seller wait for a better bid because the bids         strictly budgeted. The automobile market information pro­
provided are not competitive offers based on the current auto­        cessing system 302 may accommodate for deposits to provide
mobile market data stored in the database system 310. Fur­            any reasonable or necessary assurances to both buyers and
ther, in an example embodiment, buyer bids may be organized 5 sellers. For example, the automobile market information pro­
according to distance to a pickup location, highest price,            cessing system 302 may provide and/or require the use of a
closest match to the consumer seller entered criteria, a nor­         terms of service agreement, which the consumer seller or
malized quality index or value index, etc. The consumer seller        manufacturer off-lease seller and the used automobile buyer
or manufacturer off-lease seller may be able to toggle                may sign and agree to the terms provided therein. For
between different viewing options for buyer bids.                  10 example, a credit card could be charged a default payment in
   Further, in an example embodiment, a consumer seller may           the event that either party breaches the terms of service agree­
be at a dealer lot (e.g., a Nissan dealer) and take a picture of a    ment. In an example embodiment, a schedule of various
VIN on a used car (e.g., a Maxima), which the consumer                breaches may require different default payments, for
seller intends to trade in. A bid from a competing dealer (e.g.,      example, if a buyer determines a headlight does not work, a
a Toyota dealer) across the street may be received on the 15 standard $30 fee may be assessed from the consumer seller.
mobile device within seconds and include information for a            Also, a variable default agreement may be based on a distance
competing trade in value, and may have further information            between a seller and a buyer, so that a party which travels a
relating to other new or used cars which may be intended to           great distance may be compensated if the other party breaches
cause the consumer seller to go to the competing dealer, for          the agreement. Also, for example, a time period for inspection
example, including various price comparisons, gas mileage 20 may be specified in a request and/or a bid. A bid may be
ratings, safety ratings, residual value, driving directions to the    conditional based on one or more seller representations.
competing dealer, etc. Accordingly, a consumer seller may             Moreover, a terms of service agreement may provide assur­
weigh the pros and cons of various used automobile buyer              ances for any issues which may arise in the sale of a used car,
bids from consumers and/or dealers, based on delivery                 and may provide one or more options based on a breach,
options, pricing, and any other relevant variants. Any bids 25 including payment of fees or nullification of a bid acceptance
communicated from used automobile buyer interfaces 320,               and/or sale execution. Any consumer seller selections,
322 may be stored, for example, in database system 310, to            counter offers, or additional requests or responses may be
further update the automobile market information processing           stored in database system 310, as the communications are
system 302 with current automobile market data.                       processed by automobile market information processing sys-
   The consumer seller selects a buyer bid including a price 30 tern 302, providing further data updates. Accordingly, in an
and a delivery option (block 412). For example, the used car          example embodiment, a consumer seller may select a bid in
seller chooses to sell the used car based on the price and the        order to sell the used car, and that sale information may then
pickup location of a consumer buyer bid. The seller may               be provided to another consumer searching for information
select an offer with a specified price and delivery option on         regarding the same type of car with similar features, for
the used automobile seller interface 318, 324. The used car 35 example, the next day.
seller may have been weighing two or more different delivery             The consumer seller and the used automobile buyer
options, price differences, etc., based on the response(s)            execute the sale of the used automobile (block 414). For
received through the used automobile seller interface 318,            example, the used automobile buyer electronically signs a
324. As noted above, the used automobile seller interface 318         contract and performs an electronic funds transfer or credit
may organize received bids and other helpful information in a 40 card payment. After a buyer bid is selected, an electronic
variety of ways, which may make the information easier for a          contract may be prepared by the automobile market informa­
consumer seller to digest. It should be appreciated that a            tion processing system 302 and provided for the used auto­
consumer seller will typically want to deliver a used car at a        mobile buyer who may e-sign the contract or other documen­
convenient location, often at or near the seller's home.              tation as needed. Similarly, the consumer seller may e-sign
Accordingly, used automobile buyers may attempt to provide 45 the contract or other documentation as needed, either prior to
delivery options tailored towards maximizing profit and con­          selecting a bid, at the time of selecting a bid, or at a later time.
venience, while still providing a superior bid to other used          A contract may be e-signed through the used automobile
automobile buyers. By providing multiple bids with different          seller interface 318, 324, and the used automobile buyer
delivery options, the consumer seller may be allowed to make          interface 320,322, respectively. In another example embodi-
extra money or save time based on the seller's particular 50 ment, paper copies of a contract may be signed, for example,
situation. It should be appreciated that the consumer seller          after the used automobile buyer prints them or receives them
selection of a bid may, for example, occur simultaneously             through the mail. In an example embodiment, the used auto­
with the consumer seller and used automobile buyer execut­            mobile buyer may provide cash or a paper check. It should be
ing the sale or providing a deposit or down payment, or the           appreciated that the process of executing a contract may take
like (see, e.g., block 414). Accordingly, in an example 55 some time. Also, it should be appreciated that, for example,
embodiment, once a consumer seller or manufacturer off­               the consumer seller selection of a bid discussed above (see,
lease seller selects a bid, the used automobile buyer has effec­      e.g., block 412) may occur simultaneously with the consumer
tively purchased the car, and both parties do not need to worry       executing the sale. Once the sale is completed, the actual
about the other party backing out of the deal.                        transaction data including the final sale price, may be pro-
   It should be appreciated that a consumer seller may not 60 vided to and stored in database system 310. Accordingly, the
want to drive to a distant pickup location without first receiv­      automobile market information processing system 302 may
ing some form of deposit, or likewise, a used automobile              be updated with current automobile market data from every
buyer may not want to go to a distant pickup location to              step in the used car sales process between a consumer seller or
without assurance that the used automobile will actually be           manufacturer off-lease seller and a used automobile buyer. In
available for pickup and in good working order. Likewise, a 65 an example embodiment, the updates provided to the auto­
manufacturer off-lease seller may be concerned with obtain­           mobile market information processing system 302 are pro­
ing maximum value for an off-lease automobile within the              vided in real-time, for example, data may be transmitted and

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processed within seconds or minutes. Further, for example, it        options, warranties, service plans, insurance plans, and hard
should be appreciated that certain data may be provided to the       add accessories to the buyer, as discussed in further detail
automobile market information processing system 302                  above.
according to a batch processing schedule.                               Accordingly, it should be appreciated that consumers,
   Next, the consumer seller makes the purchased used auto­ 5 manufacturers, and dealers, may receive significant benefits
mobile available according to the consumer seller bid selec­         from the method of facilitating a used automobile transaction
tion (block416). For example, the seller drives the used car to      disclosed herein. Consumers that are selling and buying used
the pickup location if the pickup location is not the used car       automobiles may benefit from more competitive pricing,
seller's location. It should be appreciated that the consumer        piece of mind kuowing that a fair market price is being offered
seller or a manufacturer off-lease seller and the used automo­ 10 for prospective purchases or sales, and improved delivery
bile buyer may use a wide variety of locations as a pickup           options that allow the consumer to weigh the benefits and
location, and may work out a delivery option which is con­           drawbacks of different delivery options, pricing, and other
venient for both parties. A consumer seller may interact with        variables. In an example embodiment, consumers can view
the automobile market information processing system 302              prices paid for comparable cars in specific locations based on
using used automobile seller interface 318, for example, to 15 the automobile market data in the automobile market infor-
provide notification that a car is at the pickup location and        mation processing system 302, for example, within a certain
ready for delivery. A manufacturer off-lease seller may inter-       time frame such as one month and within a certain proximity
act with the automobile market information processing sys­           to the consumer. Manufacturers selling off-lease automobiles
tem 302 using used automobile seller interface 324, for              may benefit from reduced transportation costs, saving auction
example, to provide notification that a car has been dropped 20 fees, and an improved bargaining position with a dealer in
off by a consumer lessee and is at the pickup location and           possession of an off-lease automobile. For example, the abil-
ready for delivery to the buyer. Similarly, a notification may       ity to identify in-market buyers may be particularly advanta­
be sent via used automobile buyer interface 322, 322 to the          geous to manufacturer off-lease sellers, which may be able to
used car buyer that the used car is available for pickup at the      identify matching searches of in-market buyers. Also, dealers
specified location.                                               25 and/or various third parties may benefit from the opportunity
   Finally, the used automobile buyer receives the purchased         to sell insurance, credit, service contracts, hard add accesso­
used automobile according to the consumer seller selected            ries, and other add-ons with used automobiles. Moreover,
delivery option (block 418). For example, the used car buyer         various inefficiencies in the automobile industry may be
receives the used car at the pickup location the same day the        minimized utilizing the presently disclosed system and
sale is executed. The used car buyer may pick up the car 30 method.
without ever having to talk to or negotiate, in person or over          FIG. 5 illustrates a block diagram of an example data
the telephone, with the consumer seller or manufacturer off­         architecture 500. In the example data architecture 500, inter­
lease seller. For example, the used car buyer may arrive at the      face data 502, administrative data 504, and automobile mar­
pickup location, show identification and provide a proof of          ket data 506 interact with each other, for example, based on
purchase, and be provided the keys to the car by the seller. The 35 user commands or requests. The interface data 502, adminis­
parties may sign paperwork indicating or confirming the car          trative data 504, and automobile market data 506 may be
has been picked up. Proof of purchase documentation may              stored on any suitable storage medium (e.g., server 226). It
include any or all documents that are legally required for an        should be appreciated that different types of data may use
automobile sale for a given jurisdiction, for example, the title,    different data formats, storage mechanisms, etc. Further, vari­
odometer statement, or any other document required by the 40 ous applications may be associated with processing interface
Department of Motor Vehicles. For example, the consumer              data 502, administrative data 504, and automobile market
seller or manufacturer off-lease seller may be required to           data 506. Various other or different types of data may be
provide any legally required documents to fully execute and          included in the example data architecture 500.
record the sale of the used car.                                        Interface data 502 may include input and output data of
   Further, in an example embodiment, a consumer seller or 45 various kinds. For example, input data may include mouse
manufacturer off-lease seller may offer various insurance            click data, scrolling data, hover data, keyboard data, touch
policies or service contracts to a used car buyer, for example,      screen data, voice recognition data, etc., while output data
etch insurance, key insurance, gap insurance, or a ninety day        may include image data, text data, video data, audio data, etc.
warranty may be provided. For example, a consumer seller or          Interface data 502 may include formatting, user interface
manufacturer off-lease seller may purchase insurance 50 options, links or access to other websites or applications, and
through the automobile market information processing sys­            the like. Interface data 502 may include applications used to
tem 302 in placing a request for bids, which may increase            provide or monitor interface activities and handle input and
interest from buyers. Also, for example, an insurance policy         output data.
or service contract may be provided for a used car being sold           Administrative data 504 may include data and applications
at no charge to the consumer seller or manufacturer off-lease 55 regarding user accounts. For example, administrative data
seller, for example, as a convenience to all users 114 using the     504 may include information used for updating accounts,
disclosed system. For example, key insurance may be pro­             such as creating or modifying consumer accounts and/or
vided at no cost to both the consumer seller and the used car        dealer accounts. Further, administrative data 504 may include
buyer. It should be appreciated that, for example, using             access data and/or security data. Administrative data 504 may
options provided through the automobile market information 60 include a terms of service agreement. Administrative data 504
processing system 302, a consumer seller or manufacturer             may interact with interface data in various manners, provid­
off-lease seller may sell or provide any add-on products or          ing a user interface 304, 306, 308 with administrative fea­
services that a dealer would typically offer or provide in the       tures, such as implementing a user login and the like.
sale of a used automobile. Also, if the used automobile buyer           Automobile market data 506 may include, for example,
is a dealer, additional products or services may be offered to 65 executed sales data 508, consumer data 510, dealer data 512,
the consumer seller at the time of pickup. For example, the          manufacturer data 514, statistical data 516, and/or historical
dealer may offer new or used cars, including related financing       data 518. Executed sales data 508 may include actual nego-

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tiated prices for manufacturer and dealer sales, differences in      mation, which may result in a more efficient automobile
list prices to negotiated prices, sales demographics, etc. Con­      market. Consumers that are selling used automobiles and
sumer data 510 may include consumer search activity, con­            consumers that are buying used automobiles may similarly
sumer requests and offers, consumer feedback, etc. Dealer            receive benefits from the presently disclosed system. Also, as
data 512 may include dealer pricing, including list prices, sale 5 discussed above, manufacturer off-lease sellers may benefit
prices for limited time dealer offers or deals of the day, nego­     greatly from the presently disclosed system, for example,
tiation information such as bottom line pricing, offers              using bids and/or matches or search hits for an off-lease
received, foot traffic activity, and dealer inventory data,          automobile to improve bargaining power with a dealer in
including current on location data, automobile turnover rates,       possession of the off-lease automobile and other dealers and/
etc. Manufacturer data 514 may include manufacturer pric- 10 or consumers.
ing, including suggested pricing, preferred dealer pricing,             Automobile market data 506 may be maintained in various
etc., manufacturer incentives including cash rebates, special        servers 108, in databases or other files. It should be appreci­
lease rates, special APR rates, zero down offers, lifetime           ated that, for example, a host device 104 may manipulate
warranties, guaranteed trade-in offers, etc., and inventory          automobile market data 506 in accordance with the adminis-
information including dealer inventory, inventory by loca- 15 trative data 504 and interface data 502 to provide requests or
tion, inventory in transit, manufacturing or production lead         reports to users 114 including consumers, dealers, and manu­
times or build times, production scheduling, shipping sched­         facturers, and perform other associated tasks. It should also be
uling, lease information, etc. Statistical data 516 may include      appreciated that automobile market data 506 represents auto­
information used for providing reports including graphs,             mobile market information, and that these terms may be used
forecasts, recommendations, calculators, depreciation sched- 20 interchangeably in this disclosure depending upon the con­
ules, tax information, etc., including equations and other data      text.
used for statistical analysis. Historical data 518 may include          FIG. 6 is flow diagram illustrating an example process 600
past sales data, such as historical list prices, actual sale prices, for facilitating a used automobile transaction, according to an
manufacturer and dealer margins, operating costs, service            example embodiment of the present invention. Although the
costs or profitability, loyalty information, etc. It should be 25 process 600 is described with reference to the flow diagram
appreciated that data may fall under one or more categories of       illustrated in FIG. 6, it will be appreciated that many other
automobile market data 506, and/or change with the passage           methods of performing the acts associated with the process
of time. For example, industry analyst data may include his­         600 may be used. For example, the order of many of the
torical data 518 and statistical data 516 relating to safety or      blocks may be changed, certain blocks may be combined with
quality reports, efficiency data, recall data, and the like for 30 other blocks, and many of the blocks described are optional.
used automobiles, which may be organized or re-organized                In the example process 600, data may flow between the
under various categories of automobile market data 506 as            automobile market information processing system 302 and a
time passes or as supplemental data is provided to the auto­         used automobile seller interface 318, 324 and a used automo-
mobile market information processing system 302. It should           bile buyer interface 320, 322, as discussed above based on
be appreciated that a system administrator may load data into 35 used automobile seller and buyer interaction with the auto­
the automobile market information processing system 302 as           mobile market information processing system 302. As dis-
it becomes available. For example, annual, quarterly, and/or         cussed above, a used automobile seller interface 318 and used
monthly reports relating to safety, insurance, etc., may be          automobile buyer interface 320 may be included in a con­
input into automobile market data 506 on a regular basis. It         sumer interface 304, a used automobile buyer interface 322
should also be appreciated that automobile market data 506 40 may be included a dealer interface 306, and a used automobile
may be tailored for a particular manufacturer and/or dealer,         seller interface 324 may be included in a manufacturer inter-
for example, a manufacturer may request that a specific type         face 308. It should be appreciated that the automobile market
of data that is not normally stored or used be stored in the         information processing system 302 may update the automo­
database system 310. Accordingly, for example, customized            bile market information stored in the database system 310
reports may be provided to a manufacturer interface 308 45 when automobile market information is received from a
using that specific data for the manufacturer, for example,          buyer or seller, and/or a consumer, a dealer, a manufacturer,
relating to resale values of used automobiles.                       an industry analyst, and/or from any other information
   The integration of the various types of automobile market         source. Accordingly, the automobile market information may
data 506 received from the consumer interface 304, dealer            remain current and/or provide sufficiently recent data for the
interface 306, and manufacturer interface 308 may provide a 50 benefit of consumers, dealers, and/or manufacturers.
synergistic and optimal resource for consumers, dealers, and            The example process 600 may begin with a consumer seller
manufacturers alike. In an example embodiment, a used auto­          or a manufacturer off-lease seller of a used automobile taking
mobile seller and a used automobile buyer may benefit greatly        a picture of the VIN using a mobile phone application and
from using an application in a mobile device 103 to provide a        entering in information such as pricing parameters (block
request for buyer bids on a used automobile by taking a 55 602). The used automobile seller interface 318, 324 may use
picture of the VIN of the used automobile, for example, using        OCR to determine and provide the VIN and pricing param-
used automobile seller interface 318, 324. Used automobile           eters to the automobile market information processing system
buyers may search for used automobiles for sale by consumer          302 as a consumer seller request or a manufacturer off-lease
sellers, for example, using used automobile buyer interface          seller request (block 604). It should be appreciated that OCR
320. The used automobile buyers may receive intrabrand 60 may occur in the automobile market information processing
and/or interbrand seller request information in real-time. The       system 302 or at the used automobile seller interface 318,
intrabrand and interbrand information provided on the used           324. The automobile market information processing system
automobile buyer interface 320 may allow the best automo­            302 receives the seller request and prepares automobile mar­
bile options for a particular consumer to be provided to that        ket information based on the seller request (block 606). The
consumer, and may allow consumer sellers, manufacturer 65 automobile market information processing system 302 may
off-lease sellers, and dealers to compete with each other tak­       send a bid request and automobile market information based
ing into account a greater amount of automobile market infor-        on the seller request to the used auto buyer interface 320, 322

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for one or more consumers and/or dealers (block 608). It              It will be appreciated that all of the disclosed methods and
should be appreciated that while the seller request is automo­     procedures described herein can be implemented using one or
bile market information, typically, additional automobile          more computer programs or components. These components
market information would be provided with the seller request.      may be provided as a series of computer instructions on any
For example, typically, data relating to recent sales of similar 5 conventional computer-readable medium, including RAM,
used automobiles and/or comparable automobiles may be              ROM, flash memory, magnetic or optical disks, optical
provided. In an example embodiment, a target price or "true"       memory, or other storage media. The instructions may be
value of the used automobile, or an expected price range, may      configured to be executed by a processor, which when execut­
be provided. Also, for example, various gas mileage data,          ing the series of computer instructions performs or facilitates
safety ratings, recall information, quality reports, estimated 10 the performance of all or part of the disclosed methods and
insurance costs, and the like may be provided. Further, add-on     procedures.
products or services, such as insurance, credit, warranties,          Further, it will be appreciated that the presently disclosed
service contracts, or hard add accessories, which may be           system, methods, and apparatus for performing used automo­
determined based on a third party bidding process, may also        bile transactions may be utilized in conjunction with other
be provided. One or more used automobile buyers, including 15 systems or methods. For example, the presently disclosed
consumers and/or dealers, receive the bid request and auto­        system, methods, and apparatus may be used in conjunction
mobile market information, determine prices and delivery           with the disclosure in the co-pending commonly-owned
options for the used automobile using the automobile market        patent applications filed on Jul. 5, 2011, entitled "AUTOMO­
information, and prepare and provide bids for the consumer         BILE TRANSACTION FACILITATION USING A MANU-
seller or a manufacturer off-lease seller (block 610). A buyer 20 FACTURER RESPONSE," application Ser. No. 13/176,497,
bid may be sent from the used automobile buyer interface           and entitled "AUTOMOBILE TRANSACTION FACILITA­
320, 322 to the automobile market information processing           TION BASED ON CUSTOMER SELECTION OF A SPE­
system 302 for each consumer and/or dealer that wants to           CIFIC AUTOMOBILE," application Ser. No. 13/176,525,
provide a bid (block 612). The automobile market informa­          the entire contents of each of which is incorporated by refer­
tion processing system 302 receives and processes buyer bids 25 ence herein, and in an example embodiment, the features of
and prepares the bids and automobile market data for the           which may be combined with the features of the present
consumer seller or manufacturer off-lease seller (block 614).      disclosure.
   The automobile market information processing system 302            It should be understood that various changes and modifi­
may send buyer bids and automobile market information to           cations to the example embodiments described herein will be
the used automobile seller interface 318, 324 (block 616). It 30 apparent to those skilled in the art. Such changes and modi­
should be appreciated that automobile market information           fications can be made without departing from the spirit and
may be provided to the consumer seller or manufacturer             scope of the present subject matter and without diminishing
off-lease seller before buyer bids are provided, and/or con­       its intended advantages. It is therefore intended that such
currently with buyer bids. The seller may receive the buyer        changes and modifications be covered by the appended
bids and automobile market information and may select a bid 35 claims.
including a delivery option based on the automobile market            The invention is claimed as follows:
information (block 618). The used automobile seller interface         1. A method comprising:
318, 324 may send to the automobile market information                storing, on a computer readable medium, automobile mar­
processing system 302 a selection of a bid indicating that the           ket data which is representative of recent automobile
consumer seller or manufacturer off-lease seller wants to sell 40        market characteristics, including at least pricing data,
the used automobile based on the selected bid (block 620).               wherein the automobile market data includes informa-
The automobile market information processing system 302                  tion received from at least a plurality of consumers;
receives and processes the seller bid selection (block 622).          receiving, via a used automobile consumer seller interface,
For example, the automobile market information processing                a first request for a response regarding a first used auto­
system 302 may send the bid selection to the used automobile 45          mobile, the first request made by a consumer used auto­
buyer interface 320, 322 (block 624). The used automobile                mobile seller located at a first location and including a
buyer may receive the bid selection and coordinate a sale by,            vehicle identification number and geolocation informa­
for example, setting up a pick up time and location for the              tion of the consumer used automobile seller;
used automobile at the seller location or the buyer location          executing instructions, by at least one processing device,
(block 626). Also, for example, the automobile market infor- 50          to:
mation processing system 302 may provide contract or loan                determine, using on the geolocation information, that
documents, collect a deposit or down payment, or the like,                  the consumer used automobile seller is located at the
from the consumer seller, the manufacturer off-lease seller,                first location;
and/or the used automobile buyer. As discussed above, in                 generate, based on the determined first location, an in­
each of blocks 606, 614, and 622, the automobile market 55                  market used automobile buyer area;
information processing system 302 may update the automo­                 determine that at least one used automobile buyer is
bile market information in the database system 310 based on                 located within the in-market used automobile buyer
the information received from the consumer, manufacturer,                   area;
and/or dealer.                                                           provide first automobile market data, based on the first
   For exemplary purposes, the present disclosure discusses a 60            request, via a used automobile buyer interface;
various examples relating to a purchase of a used car. How­              request, via the used automobile buyer interface from
ever, it should be appreciated that the disclosed system, meth­             the at least one used automobile buyer, a bid to pur­
ods, and apparatus may be advantageously used in relation to                chase the first used automobile based on the first
various used automobiles other than cars including, for                      request;
example, trucks, vans, sport utility vehicles, jeeps, motor- 65          receive, via the used automobile buyer interface, at least
cycles, commercial vehicles, and/or automobiles that have a                 one bid from at least one used automobile buyer, the at
VIN and require a license plate to operate.                                 least one bid including a first bid from a first used

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         automobile buyer located at a second location within               characteristics, including at least pricing data, wherein
         the in-market used automobile buyer area;                          the automobile market data includes information
      generate, based on receiving the first bid, driving direc­            received from at least a plurality of consumers;
         tions from the first location to the second location; and       at least one processing device operably coupled to the
      provide the response including the first bid via the used 5           computer readable medium, the at least one processing
         automobile consumer seller interface, the first bid                device executing instructions to:
         including at least a price for the first used automobile,          receive, via a used automobile consumer seller interface,
         and the response including the driving directions from                a first request for a response regarding a first used
         the first location to the second location; and                        automobile, the first request made by a consumer used
   receiving a consumer used automobile seller selection of 10
                                                                               automobile seller located at a first location and includ­
      the first bid, wherein the consumer used automobile
                                                                               ing a vehicle identification number and geolocation
      seller selection indicates a consumer used automobile
                                                                               information of the consumer used automobile seller;
      seller intention to sell the first used automobile based on
      the first bid to the first used automobile buyer.                     determine,    using on the geolocation information, that
   2. The method of claim 1, wherein the first request is made 15              the consumer used automobile seller is located at the
by a consumer on a website.                                                    first location;
   3. The method of claim 1, wherein the vehicle identifica­                generate, based on the determined first location, an in­
tion number is manually entered by a consumer.                                 market used automobile buyer area;
   4. The method of claim 1, wherein the first request is made              determine that at least one used automobile buyer is
by a consumer using a mobile device which takes a picture of 20                located within the in-market used automobile buyer
a vehicle identification number.                                               area;
   5. The method of claim 4, wherein the vehicle identifica­                provide first automobile market data, based on the first
tion number is recognized using optical character recogni­                     request, via a used automobile buyer interface;
tion.                                                                       request, via the used automobile buyer interface from
   6. The method of claim 1, wherein the first request is made 25              the at least one used automobile buyer, a bid to pur­
by a consumer using a mobile device including a microphone,                    chase the first used automobile based on the first
and the vehicle identification number is input via the micro­                  request;
phone.                                                                      receive, via the used automobile buyer interface, at least
   7. The method of claim 6, wherein the vehicle identifica-                   one bid from at least one used automobile buyer, the at
tion number is recognized using speech recognition.                30          least one bid including a first bid from a first used
   8. The method ofclaim 1, wherein the first used automobile                  automobile buyer located at a second location within
buyer is one of a consumer and a dealer.                                       the in-market used automobile buyer area;
   9. The method of claim 1, wherein the first automobile                   generate, based on receiving the first bid, driving direc­
market data is based on real-time automobile market data.                      tions from the first location to the second location; and
   10. The method of claim 1, wherein the first request 35                  provide the response including the first bid via the used
includes a picture of at least one of the exterior of the auto­                automobile consumer seller interface, the first bid
mobile, the interior of the automobile, the dashboard of the                   including at least a price for the first used automobile,
automobile, the odometer of the automobile, service records                    and the response including the driving directions from
of the automobile, and ownership records of the automobile.                    the first location to the second location; and
   11. The method of claim 1, wherein the first request 40                  receive a consumer used automobile seller selection of
includes data provided with at least one graphical user inter­                 the first bid, wherein the consumer used automobile
face component.                                                                seller selection indicates a consumer used automobile
   12. The method of claim 1, wherein the first request                        seller intention to sell the first used automobile based
includes at least one price parameter.                                         on the first bid to the first used automobile buyer.
   13. The method of claim 1, wherein the pricing data 45                18. A non-transitory computer readable medium storing
includes used automobile data and new automobile data,                instructions which, when executed, are configured to cause an
including actual prices ofexecuted transactions, dealer listing       information processing apparatus to:
prices, dealer sale prices, manufacturer incentives, dealer             store automobile market data which is representative of
bids, consumer bids, and consumer pricing parameters.                       recent automobile market characteristics, including at
   14. The method of claim 1, further comprising:                  50       least pricing data, wherein the automobile market data
   causing the at least one processing device to process the                includes information received from at least a plurality of
      consumer used automobile seller selection of the first                consumers;
      bid to facilitate executing a sale including at least one of       receive, via a used automobile consumer seller interface, a
      providing for electronic signature ofdocuments and pro-               first request for a response regarding a first used auto­
      viding for an electronic funds transfer.                     55       mobile, the first request made by a consumer used auto­
   15. The method of claim 1, wherein an add-on, including at               mobile seller located at a first location and including a
least one of insurance, financing, a service contract, a war­               vehicle identification number and geolocation informa­
ranty, and a hard-add accessory, is provided by a third party to            tion of the consumer used automobile seller;
the first used automobile buyer with the first request, via the          determine, using on the geolocation information, that the
used automobile buyer interface, wherein the third party is 60              consumer used automobile seller is located at the first
different from the consumer used automobile seller and the                  location;
first used automobile buyer.                                             generate, based on the determined first location, an in­
   16. The method of claim 15, wherein the add-on is selected               market used automobile buyer area;
for inclusion in the first bid by the first used automobile buyer.       determine that at least one used automobile buyer is located
   17. A system comprising:                                        65       within the in-market used automobile buyer area;
   a computer readable medium storing automobile market                  provide first automobile market data, based on the first
      data which is representative ofrecent automobile market               request, via a used automobile buyer interface;

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request, via the used automobile buyer interface from the at
   least one used automobile buyer, a bid to purchase the
   first used automobile based on the first request;
receive, via the used automobile buyer interface, at least
   one bid from at least one used automobile buyer, the at 5
   least one bid including a first bid from a first used auto­
   mobile buyer located at a second location within the
   in-market used automobile buyer area;
generate, based on receiving the first bid, driving directions
   from the first location to the second location; and         10
provide the response including the first bid via the used
   automobile consumer seller interface, the first bid
  including at least a price for the first used automobile,
   and the response including the driving directions from
   the first location to the second location; and              15
receive a consumer used automobile seller selection of the
   first bid, wherein the consumer used automobile seller
   selection indicates a consumer used automobile seller
   intention to sell the first used automobile based on the
   first bid to the first used automobile buyer.               20
                    * * * * *




                                                         Appx959
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c12)   United States Patent                                                                      (IO) Patent No.:                           US 9,147,216 B2
       Seergy et al.                                                                             (45) Date of Patent:                              *Sep.29,2015

(54)   AUTOMOBILE TRANSACTION                                                                         USPC ................................................ 705/26.1, 27.1
       FACILITATION BASED ON CUSTOMER                                                                 See application file for complete search history.
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(73)   Assignee: Sidekick Technology LLC, Pine Brook,
                 NJ (US)                                                                                                         (Continued)

( *) Notice:        Subject to any disclaimer, the term ofthis                                                              OTHER PUBLICATIONS
                    patent is extended or adjusted under 35
                                                                                          AutoTrader.com, Inc. .- Private Company Information-Business
                    U.S.C. 154(b) by O days.
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                    This patent is subject to a terminal dis­                             snapshot.asp?privcapid�92642.
                    claimer.                                                                                                     (Continued)
(21)   Appl. No.: 14/293,665
                                                                                          Primary Examiner - Brandy A Zukanovich
(22)   Filed:       Jun.2,2014                                                            (74) Attorney, Agent, or Firm - K&L Gates LLP
(65)                  P rior Publication Data
                                                                                          (57)                                  ABSTRACT
       US 2015/0032562 Al          Jan. 29, 2015
                                                                                          A system, methods, and apparatus for performing automobile
                Related U.S. App lication Data                                            transactions are disclosed. In an example embodiment, auto­
(63)   Continuation ofapplication No. 13/176,525, filed on                                mobile market data representative ofcurrent automobile mar­
       Jul. 5, 2011, now Pat. No. 8,744,925.                                              ket characteristics is stored. The automobile market data may
                                                                                          include pricing, inventory, and consumer interest information
(51) Int. Cl.                                                                             received from dealers, manufacturers, and consumers. A con­
     G06Q30/00                (2012.01)                                                   sumer may provide a request for a response regarding a spe­
     G06Q30/08                (2012.01)                                                   cific automobile using an image of a vehicle identification
     G06Q30/06                (2012.01)                                                   number or a graphical user interface. Automobile market data
(52) U.S. Cl.                                                                             may be provided to a dealer based on the request. Bids to sell
     CPC ................ G06Q30/08 (2013.01); G06Q30/06                                  the specific automobile may be requested from dealers based
                                                 (2013.01)                                on the request. Dealer bids may be provided to the consumer
                                                                                          with prices and a delivery options. The consumer may select
(58) Field of Classification Search
                                                                                          a bid which specifies a pickup location at a first dealer.
     CPC ..... G06Q 30/08; G06Q 30/06; G06Q 10/087;
                     G06Q 30/0275; G06Q 30/0283; G06Q
                                                   30/0625                                                           25 Claims, 7 Drawing Sheets

                                                            300
                                                                  \

                                                                                                                     302



                                              �---� Automobile Market Information Processing System



                                                    Database System
                                                                    - 340

                                                                                       Recommendation Engine
                                                                                                            ., 312




                                                                       314                                   316

                                                   Vehicle Identification
                                                                                         Interface Generation Unit
                                                    Number Processor




                                                            304                            306                        308



                                              Consumer                        Dealer                   Manufacturer
                                               Interface                     Interface                  Interface




                                                 1A                           1A                           1A
                                                   Q


                                               User 114                      User 114                    User 114




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                                                  Appx961
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                           System 100
                                         �



                                                                                              108
                                                                                                        f-----------
                                                                                                                      I
                                                                                                        I
                     Client Device                                                                      I        108 II
                                                                                     Server             I            I
                                                                                                        I            I
                                                                                                        I            I
                                                                         106
                     103                                                                                :   Server         :
                                                                                                        I
                                                                                                        I                  I
                                                                                                                     108   I
                                                 Internet and/or other                                  I                  I
                                                                                               f4----il�                   I
                                                      network(s)                                                           I
                                                                                                                           I
                      Mobile Device                                                  Host Device            Server         I   rJJ
                                                                                                                           I
                                                                                                                               ('D
                                                                                                                           I
                                                                                                                               =­
                                                                                                                               ('D
                                                                                                                      I
                                                                                                                     108       .....




Appx962
                                                                                                                      I        ....
                                                                                                                      I        0
                                                                                                                      I        ....
                                                                                                                               -....J
                                                                                                                      I
                                                                                                            Server    I
                                                                                                                      I
                                                                                                        I             I
                                 112
                                                                                                        I____________ I



                           Display

                                                     Client
                                                     Device
          User 114                                                          Fig. 1
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                                                                    Computing Device
                                                    214       � 102,104
                                 Keyboard, mouse,
                                 and/or other input
                                     device(s)
                                                                   220        Network
                                                                              device

                                206
          Other PC
           circuits

                                                             106
          Memory                      Interface                    Internet and/or other
                                       circuits                         network(s)
                                                                                                                          rJJ
                                                                                                                          ('D
          Processor
                                                                                                                          =­
                                                                                                                          ('D
                                                                                                                          .....




Appx963
                                                                                                                          N
                                                                                                                226
                                                                                                                          0
                                                                                                                          ....
                                                                                                                          -....J



                          112                       216
                                     Printer(s),             Hard drive(s),                          /224
                Display          speaker(s), and/or         CD(s), DVD(s),                    Databases, programs,
                                    other output              and/or other                 files, configuration, index,
                                      devices               storage devices                    tags, access, usage,
                                                                                             statistical, security data

                                                          Fig. 2
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                    300
                       \
                                                                              302

            Automobile Market Information Processing System
                        ;310                             ;312

           Database System                       Recommendation Engine


                          ;314                                    ;316
          Vehicle Identification
                                                 Interface Generation Unit
           Number Processor


           '"                         '   .                          Jl




           1•   ;304                      r     ;306                 1J
                                                                            ;308


       Consumer                      Dealer                    Manufacturer
        Interface                  Interface                    Interface




       User 114                    User 114                      User 114




                                   Fig. 3



                                    Appx964
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                                           Start                400
                                                              ;-
                                                                                   402
     Automobile market data including at least pricing data and inventory data is
       stored in a database system (e.g., data from dealers, consumers, and
    manufacturers, regarding pricing, lot inventory, turnover rates, transport costs,
     and quality, safety, and other ratings is collected and stored in a database)
                                                                                   404
    A request for a response regarding an automobile is received from a consumer
    (e.g., a car buyer fills in a request form on a website or takes a picture of a VIN
             at a dealer to receive a response based on current market data)
                                                                                   406
    Automobile market data is provided to dealers based on the consumer request
     (e.g., a group of dealers receives a real-time report including local car sales
     data, inventory data, ratings data, and transport cost data of the subject car)
                                                                                   408
    A bid to sell the automobile to the consumer is requested from dealers (e.g., a
      group of dealers within a certain radius of the buyer receive a bid request)
                                                                                   410
     Dealer bids are provided to the consumer (e.g., several dealers provide bids
   based on current pricing data, dealer pickup locations, and potential add-ons, so
    several different prices and delivery options may be available to the car b uyer)
                                                                                   412
    The consumer selects a bid including a delivery option which specifies a pickup
     location (e.g., the car buyer chooses to pickup at a nearby dealer in five days)
                                                                                   414
    The dealer provides the automobile at the dealer according to the consumer bid
     selection (e.g., the dealer notifies a commonly owned dealer that the car must
     be transported to the dealer pickup location for delivery in less than five days)
                                                                                   416
   The consumer and dealer execute the sale of the automobile (e.g., the car buyer
      e-signs a loan application and contract, and electronically transfers funds)


                  Fig. 4A                Fig. 48




                                             Appx965
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                                            •
                                         Fig. 4A                    400
                                                               ;-
                                                                            /418
       The dealer makes the purchased automobile available according to the
    consumer bid selection (e.g., the dealer transports the car from the commonly
    owned dealer location to the dealer pickup location selected by the car buyer if


                                            +
            the car is not already located at the dealer pickup location)
                                                                               ;-420
     The consumer picks up the purchased automobile according to the consumer
    selected delivery option at the dealer (e.g., the car buyer picks up the car at the
                 nearby dealer five days after the car sale is executed)

                                       Fig. 48




                                        Appx966
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                                                     500
                               ; 502                                               ; 504
              Interface Data                                 Administrative Data
                                       -
       BG           j
                                                         Account
                                                       Information

                                                                       l
                                                                           Access and
                                                                            Security



                    1                         /506                     '
                                  Automobile Market Data
                               ;508                                   ;510


               Executed Sales Data                         Consumer Data



                               /512                                  /514



                    Dealer Data                        Manufacturer Data



                               /516                                  /518


                  Statistical Data                         Historical Data




                                           Fig. 5




                                      Appx967
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          600
             �                     304                        302                                    3 06
                                                        1
                           602                                    606 608                                   610
                                  604
                                                   System receives       Bid             Dealers receive bid
          Consumer takes a          Consumer         request and          and auto           request and
           picture of a VIN          Request           prepares             market       automobile market
                                                  automobile market      information        information to
                                                  data based on the                       determine prices
                                                        request                              and delivery
                                                                                           options for the
                                                                                           automobile and
                                                                 614               612       prepare and
                                                   System receives                       provide bids for the
                                                                          Dealer bid
                                           /616     and processes                             consumer
                            618     Dealer bids    dealer bids and                                                rJJ
                                      and auto    prepares bids and
          Consumer receives                                                                                       ('D
                                                                                                                  =­
                                       market     automobile market                                               ('D
            dealer bids and                                                                                       .....




Appx968
                                    information   data for consumer                                               -....J
           automobile market
                                                                                                                  0
            information and                                                                                       ....
                                                                                                                  -....J
              selects a bid
          including a delivery
            option based on                                   /622 624                                /626
          automobile market                        System receives                       Dealer receives bid
               information                        and processes bid    Selection           selection and
                                                      selection                          coordinates a sale




                                                      Fig. 6
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                                                      US 9,147,216 B2
                               1                                                                     2
          AUTOMOBILE TRANSACTION                                    be requested from dealers based on the request. Dealer bids
       FACILITATION BASED ON CUSTOMER                               may be provided to the consumer with prices and a delivery
     SELECTION OF A SPECIFIC AUTOMOBILE                             options. The consumer may select a bid which specifies a
                                                                    pickup location at a particular dealer.
     PRIORITY CLAIM AND CROSS REFERENCE                           5    Additional features and advantages of the disclosed
           TO RELATED APPLICATIONS                                  method and apparatus are described in, and will be apparent
                                                                    from, the following Detailed Description and the Figures.
   This application is a continuation of U.S. patent applica­
tion Ser. No. 13/176,525, filed on Jul. 5, 2011, which is                       BRIEF DESCRIPTION OF THE FIGURES
related to co-pending commonly-owned patent application, 10
also filed on Jul. 5, 2011, entitled "AUTOMOBILE TR ANS­                 FIG. 1 is a high level block diagram of an example network
ACTION FACILITATION USING A MANUFACTURER                              communicating system, according to an example embodi­
RESPONSE," U.S. application Ser. No. 13/176,497, the                  ment of the present invention.
entire content of which is incorporated by reference herein.             FIG. 2 is a detailed block diagram showing an example of
                                                                   15 a computing device, according to an example embodiment of
                        BACKGROUND                                    the present invention.
                                                                         FIG. 3 is a block diagram showing an example automobile
   In the automobile industry, consumers typically purchase           transaction network structure, according to an example
automobiles from dealers or dealerships. Dealers often pur­           embodiment of the present invention.
chase new automobiles from several manufacturers, to sell to 20          FIGS. 4A and 4B include a flowchart illustrating an
consumers. Consumers typically negotiate a lower price than           example process for facilitating an automobile transaction,
the manufacturer suggested retail price typically referred to         according to an example embodiment of the present inven­
as the "sticker price" and/or the price the dealer initially          tion.
offers. In many cases, the negotiation process for an automo­            FIG. 5 is a block diagram showing an example data archi­
bile may include a large degree of uncertainty for the con- 25 tecture, according to an example embodiment of the present
sumer. Generally, the negotiation process is a zero sum pro­          invention.
cess, and because the consumer and the dealer are each trying            FIG. 6 is flow diagram illustrating an example process for
to get a better deal, there is typically some lack of trust during    facilitating an automobile transaction, according to an
the negotiation. Accordingly, both dealers and consumers              example embodiment of the present invention.
often base the negotiations on established market prices. 30
However, market prices can fluctuate rapidly depending a                       DETAILED DESCRIPTION OF EXAMPLE
variety of factors. For example, consumer demand may be                                      EMBODIMENTS
affected by economic factors, such as changes in gasoline
prices, unemployment rates, government sponsored tax                     The present disclosure relates in general to a system for
rebates for automobile purchases, etc.                             35 facilitating automobile transactions and, in particular, to auto­
   In many cases, a consumer may have concerns that a dealer          mobile transaction based on a consumer selection of a spe­
may not offer a fair and competitive price. Various products          cific automobile. Briefly, in an example embodiment, a sys­
and services have become available that allow consumers to            tem is provided which allows a consumer to request
perform research on market prices for automobiles. Similarly,         information regarding a specific car including dealer bids. For
dealers negotiating an automobile sale generally do not kuow 40 example, a consumer may use a mobile device to take a
the maximum price a consumer will be willing to pay for a             picture of a vehicle identification number. The specific
particular automobile, or how long it will take to sell an            vehicle may be identified using optical character recognition
automobile in inventory for a given price. Accordingly, deal-         to request real-time information on that automobile. Dealers
ers also use products and services for determining and/or             may provide bids based on the consumer request using real­
tracking market prices. Further, automobile manufacturers 45 time automobile market information, including intrabrand
may also have an interest in the market prices for automo­            bids and interbrand bids. A consumer may select a dealer bid
biles, because the market activity captured as automobile             to purchase or lease an automobile based on the prices and
market information may allow the manufacturer to, for                 delivery options available. Also, the presently disclosed sys­
example, more profitably determine which automobiles to               tem may advantageously allow for inventoryless bidding by
manufacture, what prices the manufacture should offer to 50 dealers. For example, a dealer that does not have an automo­
dealers, and whether manufacturer incentives should be                bile in its inventory (e.g., on the dealer lot) can make a bid to
offered on existing dealer automobile inventory.                      sell that automobile, and then have that automobile produced
                                                                      by a manufacturer or transported to the dealer lot. In a non­
                           SUMMARY                                    limiting example embodiment, certain features disclosed in
                                                                   55 the present patent application may be commercially embod­
   The present disclosure provides a new and innovative sys­          ied in products and services offered by Sidekick Technology
tem, methods and apparatus for providing automobile market            LLC, the assignee of the present application.
information and performing automobile transactions. In an                The present system may be readily realized in a network
example embodiment, automobile market data representative             communications system. A high level block diagram of an
of recent automobile market characteristics is stored. The 60 example network communications system 100 is illustrated
automobile market data may include pricing, inventory, and            in FIG. 1. The illustrated system 100 includes one or more
consumer interest information received from dealers, manu­            client devices 102, and one or more host devices 104. The
facturers, and consumers. A consumer may provide a request            system 100 may include a variety of client devices 102, such
for a response regarding a specific automobile using an image         as desktop computers and the like, which typically include a
of a vehicle identification number or a graphical user inter­ 65 display 112, which is a user display for providing information
face. Automobile market data may be provided to a dealer              to users 114, and various interface elements as will be dis­
based on the request. Bids to sell the specific automobile may        cussed in further detail below. A client device 102 may be a

                                                            Appx969
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                                                     US 9,147,216 B2
                              3                                                                   4
mobile device 103, which may be a cellular phone, a personal       touch screen, track pad, track ball, isopoint, image sensor,
digital assistant, a laptop computer, a tablet computer, etc.      character recognition, barcode scanner, and/or a voice recog­
The client devices 102 may communicate with the host device        nition system.
104 via a connection to one or more communications chan­               One or more displays 112, printers, speakers, and/or other
nels 106 such as the Internet or some other data network, 5 output devices 216 may also be connected to the main unit
including, but not limited to, any suitable wide area network      202 via the interface circuit 212. The display 112 may be a
or local area network. It should be appreciated that any of the    cathode ray tube (CRTs), a liquid crystal display (LCD), or
devices described herein may be directly connected to each         any other type of display. The display 112 generates visual
other instead of over a network. Typically, one or more servers    displays generated during operation of the computing device
                                                                10 102, 104. For example, the display 112 may provide a user
108 may be part of the network communications system 100,
                                                                   interface, which will be described in further detail below, and
and may communicate with host servers 104 and client
                                                                   may display one or more web pages received from a comput­
devices 102.
                                                                   ing device 102, 104. A user interface may include prompts for
   One host device 104 may interact with a large number of         human input from a user 114 including links, buttons, tabs,
users 114 at a plurality of different client devices 102. 15 checkboxes, thumbnails, text fields, drop down boxes, etc.,
Accordingly, each host device 104 is typically a high end          and may provide various outputs in response to the user
computer with a large storage capacity, one or more fast           inputs, such as text, still images, videos, audio, and anima­
microprocessors, and one or more high speed network con­           tions.
nections. Conversely, relative to a typical host device 104,           One or more storage devices 218 may also be connected to
each client device 102 typically includes less storage capac­ 20 the main unit 202 via the interface circuit 212. For example,
ity, a single microprocessor, and a single network connection.     a hard drive, CD drive, DVD drive, and/or other storage
It should be appreciated that a user 114 as described herein       devices may be connected to the main unit 202. The storage
may include any person or entity which uses the presently          devices 218 may store any type of data, such as pricing data,
disclosed system and may include a wide variety of parties.        transaction data, operations data, inventory data, commission
For example, as will be discussed in further detail below, 25 data, manufacturing data, image data, video data, audio data,
users 114 of the presently disclosed system may include a          tagging data, historical access or usage data, statistical data,
consumer, a dealer, and/or a manufacturer.                         security data, etc., which may be used by the computing
   Typically, host devices 104 and servers 108 store one or        device 102, 104.
more of a plurality of files, programs, databases, and/or web          The computing device 102, 104 may also exchange data
pages in one or more memories for use by the client devices 30 with other network devices 220 via a connection to the net-
102, and/or other host devices 104 or servers 108. A host          work 106. Network devices 220 may include one or more
device 104 or server 108 may be configured according to its        servers 226, which may be used to store certain types of data,
particular operating system, applications, memory, hardware,       and particularly large volumes of data which may be stored in
etc., and may provide various options for managing the             one or more data repository 222. A server 226 may include
execution of the programs and applications, as well as various 35 any kind of data 224 including databases, programs, files,
administrative tasks. A host device 104 or server may interact     libraries, pricing data, transaction data, operations data,
via one or more networks with one or more other host devices       inventory data, commission data, manufacturing data, con­
104 or servers 108, which may be operated independently.           fi guration data, index or tagging data, historical access or
For example, host devices 104 and servers 108 operated by a        usage data, statistical data, security data, etc. A server 226
separate and distinct entities may interact together according 40 may store and operate various applications relating to receiv­
to some agreed upon protocol.                                      ing, transmitting, processing, and storing the large volumes of
   A detailed block diagram of the electrical systems of an        data. It should be appreciated that various configurations of
example computing device (e.g., a client device 102, and a         one or more servers 226 may be used to support and maintain
host device 104) is illustrated in FIG. 2. In this example, the    the system 100. For example, servers 226 may be operated by
computing device 102, 104 includes a main unit 202 which 45 various different entities, including automobile manufactur­
preferably includes one or more processors 204 electrically        ers, brokerage services, automobile information services, etc.
coupled by an address/data bus 206 to one or more memory           Also, certain data may be stored in a client device 102 which
devices 208, other computer circuitry 210, and one or more         is also stored on the server 226, either temporarily or perma­
interface circuits 212. The processor 204 may be any suitable      nently, for example in memory 208 or storage device 218. The
processor, such as a microprocessor from the INTEL PEN- 50 network connection may be any type of network connection,
TIUM® family of microprocessors. The memory 208 pref­              such as an Ethernet connection, digital subscriber line (DSL),
erably includes volatile memory and non-volatile memory.           telephone line, coaxial cable, wireless connection, etc.
Preferably, the memory 208 stores a software program that              Access to a computing device 102, 104 can be controlled
interacts with the other devices in the system 100 as described    by appropriate security software or security measures. An
below. This program may be executed by the processor 204 in 55 individual users' 114 access can be defined by the computing
any suitable manner. In an example embodiment, memory              device 102, 104 and limited to certain data and/or actions.
208 may be part of a "cloud" such that cloud computing may         Accordingly, users 114 of the system 100 may be required to
be utilized by a computing devices 102, 104. The memory            register with one or more computing devices 102, 104. For
208 may also store digital data indicative of documents, files,    example, registered users 114 may be able to request or
programs, web pages, etc. retrieved from a computing device 60 manipulate data, such as submitting requests for pricing
102, 104 and/or loaded via an input device 214.                    information or providing an offer or a bid.
   The interface circuit 212 may be implemented using any              As noted previously, various options for managing data
suitable interface standard, such as an Ethernet interface and/    located within the computing device 102, 104 and/or in a
or a Universal Serial Bus (USB) interface. One or more input       server 226 may be implemented. A management system may
devices 214 may be connected to the interface circuit 212 for 65 manage security of data and accomplish various tasks such as
entering data and commands into the main unit 202. For             facilitating a data backup process. A management system
example, the input device 214 may be a keyboard, mouse,            may be implemented in a client 102, a host device 104, and a

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                              5                                                                    6
server 226. The management system may update, store, and            grate data received from consumer interface 304, dealer inter­
back up data locally and/or remotely. A management system           face 306, and manufacturer interface 308 to provide current
may remotely store data using any suitable method of data           and accurate information relating to the automobile market.
transmission, such as via the Internet and/or other networks           It should be appreciated that the consumer interface 304
106.                                                             5 may be specific to one particular manufacturer or may pro­
   FIG. 3 is a block diagram showing an example automobile          vide information for multiple different manufacturers. For
transaction network structure 300 which includes an automo­         example, a consumer interface 304 may be a website with
bile market information processing system 302, a consumer           information on many manufacturers, and further, the con­
interface 304, a dealer interface 306, and a manufacturer           sumer interface 304 may access or link to the manufacturer
interface 308. The example automobile market information 10 specific websites (e.g., Ford). Also, for example, a consumer
processing system 302 may be implemented on one or more             interface 304 may be implemented as an automobile manu­
host devices 104 accessing one or more servers 108, 226. In         facturer's website. Typically, a manufacturer's website may
an example embodiment, the automobile market information            provide consumers with a catalog like feature that provides
processing system 302 includes a database system 310, a             information on different automobile models with any avail-
recommendation engine 312, a vehicle identification number 15 able options or features. For example, a manufacturer website
processor 314, and an interface generation unit 316. A user         may allow a consumer to select options that are desired to
114 may be a consumer, a dealer, or a manufacturer that             "build" a particular automobile, and may provide price com­
interacts with the consumer interface 304, dealer interface         parisons using suggested retail prices, which may consumers
306, or manufacturer interface 308, respectively. A database        use for initial research into what pricing the dealer may offer
system 310 may include a wide variety of automobile market 20 for a particular automobile with a particular feature set. Also,
data. A recommendation engine 312 may provide recommen­             typically, the consumer may enter information, including, for
dations for consumers, dealers, and manufacturers. A vehicle        example, name, an address or zip code, and telephone num­
identification number processor 314 may be used for making          ber. This information may be passed on from the manufac­
requests regarding specific automobiles and automobiles             turer to a nearby dealer and/or nearby dealer information may
with specific sets of features. For example, a vehicle identi­ 25 be provided to the consumer (e.g., the dealer in or nearest to
fication number processor 314 may determine a specific set of       the consumer's entered zip code). Accordingly, the dealer
features that a specific car has based on a picture of that         may contact the consumer, or the consumer may inquire with
specific car's vehicle identification number. Interface genera­     the dealer, regarding the specific automobiles available on
tion unit 316 may provide, for example, HTML files which            that dealer's lot and particular pricing being offered, etc. In
are used at the consumer interface 304, dealer interface 306, 30 many cases, consumers may not inquire with dealers that the
and manufacturer interface 308 interface to provide informa­        manufacturer may recommend, and similarly, dealers may
tion to the users 114. It should be appreciated that the con­       not diligently follow up with consumers that have an interest
sumer interface 304, dealer interface 306, and manufacturer         in purchasing an automobile. Further, it should be appreciated
interface 308 may be considered to be part of the automobile        that the information provided via a consumer interface 304
market information processing system 302, however, for dis­ 35 and/or a manufacturer website may be very useful to consum­
cussion purposes, the consumer interface 304, dealer inter­         ers. For example, in the past, dealers often provided brochures
face 306, and manufacturer interface 308 may be referred to         with all the information on a manufacturer's available car
as separate from the automobile market information process­         models, including all the features and options information.
ing system 302.                                                     However, dealers typically do not provide comprehensive
   For example, a user 114 may interact with a consumer 40 information brochures, which may be relatively expensive to
interface 304 to research automobiles the user 114 is inter-        produce, and rather, that information is typically located on a
ested in buying. For example, a consumer may be looking for         manufacturer website and/or a consumer interface 304.
a four door sedan with specific features, including a global           Accordingly, the consumer interface 304 may provide a
positioning system (GPS), a sunroof, tinted windows, rated          wide range of information, for example, based on any
for at least thirty miles per gallon, four wheel drive, etc. The 45 searches or queries performed by a user 114. In an example
consumer may interact with the consumer interface 304 by            embodiment, based on a user search or request for a response,
inputting required and/or desired features, monthly budget or       the consumer interface 304 will display a quality index or
full price, etc. The consumer interface 304 may provide a           value index based on normalized calculations for an automo­
wide variety of features and specifications which the con­          bile. The recommendation engine 312 may provide recom-
sumer may choose from in providing a request. Based on the 50 mendations to a consumer based on the current automobile
information put into the consumer interface 304 from the            market data stored in the automobile market information
consumer, the consumer interface 304 may provide one or             processing system 302. For example, metrics on gas mileage,
more reports or offers to the consumer. As will be discussed in     emissions, operating and maintenance costs, safety ratings,
further detail below, the information provided by the con­          etc. may be benchmarked against comparable automobiles of
sumer interface 304 may include current market prices for 55 the same and different manufacturers. Similar purchase
automobiles, including information relating to additional fea­      options to a specific search may also be provided, based on
tures, and may include information on specific automobiles,         feature matching, price range, consumer popularity, etc.
for example, which may be en route to a dealer near the             Information including price ranges, including MSRP, invoice
consumer's present location. The automobile market infor­           prices, inventory levels, the user's 114 credit ratings (e.g.,
mation processing system 302 may process data received by 60 FICO score), may be provided which may include monthly
the consumer interface 304, as well as the dealer interface 306     payment estimates or projections. For example, a financing
and/or the manufacturer interface 308, to respond to a request      calculator may help a user 114 determine what financing rate
from a consumer. For example, data from database system             is appropriate. It should be appreciated that dealers may mis­
310 may be queried for use in a report, or a recommendation         lead consumers into believing that a higher financing rate will
may be provided by recommendation engine 312 according 65 be required to secure a loan. Further, for example, a lease vs.
to the consumer request and current market data. The auto­          buy calculator may be provided which may use current mar­
mobile market information processing system 302 may inte-           ket data including prices, interest rates, incentives, estimated

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mileage per year, etc. for providing an analysis for a particular     be provided for the consumer. Also, a recommendation may
consumer regarding purchasing or leasing. Also, the con­              be provided from the recommendation engine 312 to the
sumer interface 304 may provide a purchase checklist, for             manufacturer in relation to automobile pricing, responding to
example, of ten steps to buying a car. A qualitative checklist        a specific request, manufacturer incentives, inventory man-
may allow a user to ask the right questions and get the right 5 agement, production schedules, shipping schedules, etc. It
answers from a dealer. Additional tips may be provided, such          should be appreciated that a manufacturer may be referred to
as a list of products or services dealers may attempt to sell to      as an OEM or original equipment manufacturer. The manu­
a consumer with an analysis of the value ofthese products or          facturer interface 308 may provide a manufacturer with a
services and a recommendation to accept or decline these              real-time lens into the automobile market which may allow
dealer offers. Further, beyond analysis relating to automo­ 10 the manufacturer to adjust production schedules, pricing
biles, additional analysis or reports may be provided, for            plans, marketing activities, etc., which may provide a signifi­
example, relating to dealer reviews, other supplemental prod­         cant advantage for manufacturers.
ucts, financial entities that may provide financing, etc. For            Accordingly, information may be provided to the automo­
example, dealer reviews may provide a consumer with infor­            bile market information processing system 302 from consum-
mation the consumer may use in addition to automobile pric­ 15 ers, dealers, and manufacturers with a very high degree of
ing and delivery options. Moreover, the consumer interface            granularity, as every transaction that occurs and even every
304 may provide a wide variety of useful information to a             request or search may be stored and used by the automobile
consumer, for at home research and preparation, and/or in a           market information processing system 302. This allows the
dealer location while shopping as a negotiating tool that may         automobile market information processing system 302 to use
provide confirmation on pricing, useful tips, and the like.        20 the most current automobile market data to provide informa­
   In an example embodiment, a dealer interface 306 may               tion to consumers, dealers, and manufacturers. It should be
provide a user 114, such as a dealer employee, information            appreciated that market prices can change relatively quickly,
relating to the current automobile market. The dealer inter­          particularly when major events drive consumer behavior or
face 306 allows a dealer to interact with automobile market           manufacturer production, such as natural disasters. Accord-
information processing system 302 to provide the dealer with 25 ingly, reports and recommendations provided by the automo­
a wide variety ofinformation, including, for example, current         bile market information processing system 302 may be highly
market pricing. Other automobile market information a                 accurate, reliable, and sensitive to market changes.
dealer may receive on a dealer interface 306 includes infor­             It should be appreciated that certain functions described as
mation relating to lot inventory, turnover rates, automobile          performed, for example, at automobile market information
transportation and/or shipping costs, incentives, and various 30 processing system 302, may instead be performed locally at
ratings, such as ratings relating to quality, safety, insurance, a    consumer interface 304, dealer interface 306, and manufac­
consumer credit score, dealer ratings, residual or resale val­        turer interface 308, or vice versa. Further, in certain cases,
ues, etc. A dealer may input information into dealer interface        tasks may be performed using consumer interface 304, dealer
306 relating to sales data, including current pricing offered,        interface 306, and manufacturer interface 308 or, for
special sales offers, actual transaction data, inventory data, 35 example, performed in person, such as a consumer signing
etc. In an example embodiment, the dealer may provide infor­          documents at a dealer location, or a dealer communicating
mation through dealer interface 306 which will be used by             with a manufacturer using a telephone. It should be appreci­
automobile market information processing system 302 to                ated that the consumer interface 304, dealer interface 306, and
prepare reports or offers to consumers and/or manufacturers.          manufacturer interface 308 may be implemented, for
It should be appreciated that a dealer is typically a franchise 40 example, in a web browser using an HTML file received from
entity, while a distribution location may not be a franchise          the automobile market information processing system 302. In
entity. For brevity, throughout this specification, the term          an example embodiment, the consumer interface 304, dealer
dealer may be used to describe both franchise entity dealers          interface 306, and manufacturer interface 308 may be located
and non-franchise entity distribution location. Accordingly,          on a website, and may further be implemented as a secure
as used in this disclosure, the term dealer does not indicate 45 website. Also, consumer interface 304, dealer interface 306,
whether an entity is a franchise entity. Moreover, a franchise        and manufacturer interface 308 may require a local applica­
dealer or a non-franchise distribution location may utilize a         tion, for example, which a manufacturer may pay for to have
dealer interface 306 as described herein.                             access to, for example, information from the automobile mar-
   In an example embodiment, a manufacturer interface 308             ket information processing system 302 such as requests from
may provide a user 114, such as a manufacturer employee, 50 consumers.
information relating to the current automobile market,                   FIGS. 4A and 4B are a flowchart ofan example process 400
including consumer requests. For example, an manufacturer             for facilitating an automobile transaction. Although the pro­
interface 308 may provide a manufacturer a request received           cess 400 is described with reference to the flowchart illus­
from a consumer interface 304. Additionally, the manufac­             trated in FIGS. 4A and 4B, it will be appreciated that many
turer interface 308 may provide information such as a report 55 other methods of performing the acts associated with the
that allows the manufacturer to provide a response to the             process 400 may be used. For example, the order of many of
requesting consumer. A report may include information from            the blocks may be changed, certain blocks may be combined
database system 310 relating to current market pricing, recent        with other blocks, and many of the blocks described are
sales figures and trends, current manufacturer incentives, cur­       optional.
rent inventory, including dealer inventory, inventory in tran- 60        The example process 400 for facilitating an automobile
sit, and/or build times or lead times for a desired automobile,       transaction may allow users 114, including dealers and con­
etc. The manufacturer may use this information to provide a           sumers, as well as manufacturers, to efficiently sell and pur­
response to a consumer request. The manufacturer may pro­             chase automobiles, respectively. The example process 400
vide the manufacturer interface 308 with information to pro­          may begin with automobile market data including at least
vide a confirmation, a verification, or an offer to a consumer 65 pricing data and inventory data stored in a database system
via consumer interface 304. For example, a confirmation               (block 402). For example, automobile market data from deal-
number associated with the particular consumer request may            ers, consumers, and manufacturers regarding pricing, lot

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inventory, turnover rates, transport costs, and quality, safety,  perform research, for example, while at home or while shop­
and/or other ratings is collected and stored in a database. In an ping at a dealer location. Further, for example, the buyer may
example embodiment, a wide variety of data is stored in a         take a picture of a VIN anywhere, including at automobile
database system 310. For example, transport costs may             trade shows, mall displays, or anywhere new cars or cars for
include manufacturer to dealer shipping costs and/or dealer to 5 sale are displayed. The buyer may even take a picture of a car
dealer costs for shipping or transporting an automobile (e.g.,    parked in the street as the buyer walks down the street. Any
a dealer with multiple locations may drive automobiles            request or query communicated from the consumer interface
between locations ifnecessary). Automobile market data may        304 may be stored, for example, in database system 310,
include various relevant ratings, reports, awards, or other       thereby updating the automobile market information process­
information, including quality information, safety informa- 10 ing system 302 with current automobile market data.
tion, insurance information, consumer credit information,            The example process 400 may continue with providing
dealer rating information, incentive information, residual        automobile market data to dealers based on the consumer
value information, and/or any other data which may be rel­        request (block 406). For example, a group of dealers receives
evant to consumers. For example, ratings data may include         a real-time report including local car sales data, inventory
information from the National Highway Traffic Safety 15 data, ratings data, and transport cost data of the consumer's
Administration (NHTSA), the Environmental Protection              requested car. In an example embodiment, a report may
Agency (EPA), and/or the Insurance Institute for Highway          include quality information, safety information, insurance
Safety (IIHS). The data may include information from a con­       information, consumer credit information (e.g., buyer FICO
sumer interface 304, such as data in consumer searches or         score), dealer rating information, incentive information,
requests, information from a dealer interface 306, such as 20 residual value information, and/or any other data which may
currently offered dealer pricing, transaction data for finalized  be relevant to consumers. The report may be provided
sales, current inventory data, transport or shipping costs, and   through dealer interface 306 and include the consumer
information from a manufacturer interface 308, such as cur­       requirements and preferences. The request and/or the report
rent manufacturer prices and suggested pricing, manufacturer      may be provided in real-time and may provide real-time data.
incentives, and current inventory including finished inventory 25 Data reported based on a real-time updates in the automobile
on hand, production scheduling, shipment scheduling, inven­       market information processing system 302 may provide sig-
tory in transit, and manufacturing lead times. The automobile     nificant advantages, for example, when pricing conditions
market data may be comprised solely of information received       may change quickly due to unforeseen market conditions.
from the consumer interface 304, dealer interface 306, and        The recommendation engine 312 may provide recommenda­
manufacturer interface 308, or may include additional infor- 30 tions to a dealer based on the current automobile market data.
mation received from other sources. It should be appreciated      For example, a report may indicate various estimated sales
that various methods of storing the automobile market data        probabilities for different prices that the dealer may offer or
may be employed according to the system requirements. For         bid. In an example embodiment, a probability to sell within a
example, database system 310 may be organized according to        time frame may be provided, for example, for a 24 hour
different manufacturers or dealers, automobile make and 35 period, probabilities and prices may be estimated as, e.g.,
model, different information categories (e.g., suggested pric­    80% chance to sell at $22,000; 60% chance to sell at $23,000;
ing, market prices, production, shipping, lot inventory), etc.,   50% chance to sell at $24,000; 20% chance to sell at $25,000.
and may consist of one or more databases on one or more           Such information may be illustrated in various ways, such as
servers 108, 226 which may be remotely located from each          a bell curve graph or a chart. Further, the recommendation
other and/or a host device 104 of the automobile market 40 engine may provide daily suggestions (e.g., a deal of the day).
information processing system 302. As will be discussed           Dealers may use such information to attract consumers to
further below, the automobile market data may be continually      visit the dealer in person or online as well as prepare
updated as new data is provided to the automobile market          responses or bids to consumer requests. In an example
information processing system 302.                                embodiment the dealer interface 306 may provide informa-
   The example process 400 continues with a consumer pro­ 45 tion that is limited to cars which meet the consumer request
viding a request for a response of whether an automobile can      requirements. Dealers may customize the dealer interface 306
be provided (block 404). For example, a car buyer fills in a      to provide information in a pre-specified manner to suit the
request form on a website or takes a picture of a VIN at a        dealers particular needs.
dealer to receive a response based on current market data. In        A bid to sell the automobile to the consumer is requested
an example embodiment, the buyer's request may be trans­ 50 from dealers (block 408). For example, a group of dealers
mitted from consumer interface 304 via the internet to the        within a certain radius of the buyer location may receive a bid
automobile market information processing system 302. In           request. Each dealer's bid may include a price, for example, a
another example embodiment, a car buyer takes a picture of a      price with no additional add-on products or services, such as
vehicle identification number (VIN) on a car that the buyer       service contracts, warranties, aftermarket accessories, etc.
would like to receive information for. For example, using an 55 For example, add-on products may provide substantial value
application stored on a mobile device 103, the buyer may be       to a dealer, above and beyond the profit margin for the sale of
located at a dealer location and take a picture of the VIN on a   the requested car. A dealer may profit from selling financing
car. The buyer may want information on that specific car or on    options, for example, if a consumer needs financing, the fin­
other comparable cars with the same or similar features and/      ancier may pay the dealer for sourcing the loan. A dealer may
or options. The picture of the VIN may be processed using 60 sell service plans or maintenance packages (e.g., an extended
optical character recognition, which allows the automobile        service contract), selling warranties (e.g., a lifetime war­
market information processing system 302 to determine the         ranty), or selling insurance plans (e.g., life, accident, and
make and model of the car, along with various other charac­       health insurance, liability insurance, comprehensive insur­
teristics of the car. It should be appreciated that the VIN may   ance, etc.). Also, a dealer may also sell various hard add
include human readable characters, a bar code, or any other 65 accessories, for example, bicycle racks, hitches, commercial
graphical or machine readable information which acts as a         accessories (e.g., lights and sirens), or any aftermarket prod­
vehicle identification number. Accordingly, the buyer may         ucts or modifications (e.g., sunroof).

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   One or more dealer bids are provided to the consumer              mation, dealer rating information, incentive information,
(block 410). For example, several dealers provide bids based         residual value information, and/or any other data which may
on current pricing data, dealer pickup locations, and potential      be relevant to consumers.
add-ons, so several different prices and delivery options may           The consumer interface 304 may organize dealer bids
be available to the car buyer. Typically, the bid will include at 5 based on a variety of factors and may provide supplemental
least a specified price and pickup time and location. In an          information. For example, certain dealer bids may be selected
example embodiment, a buyer that has taken a picture of a            as the best options, all dealer bids may be summarized, vari­
VIN with a mobile device may receive dealer bids within              ous additional ratings, reviews, or popularity information,
minutes or seconds on the mobile device. Accordingly, the            financing information, etc. may also be provided to a con-
                                                                  10 sumer along with any dealer bids. The recommendation
bids may be used in real-time as the buyer may be actively
                                                                     engine 312 may provide recommendations to a consumer
shopping for a car on a dealer lot. Typically, a pickup location
                                                                     based on the current automobile market data. For example, of
will be a dealer lot or distribution location. It should be
                                                                     ten dealer bids provided with a response, three bids may be
appreciated that some dealers may have multiple locations            recommended, for example, as "Great Deals!" It should be
which could serve as a pickup location. In an example 15 appreciated that in some cases, a particular consumer search
embodiment, the automobile market data may indicate that             may not return any dealer bids, for example, if consumer
the particular car requested by a consumer should be priced          search requirements are unrealistic for the consumer's
at, for example,$26,000. However, various factors may affect         required price range. Also, for example, if only one or two
the bid or offer that a dealer will make for the particular car.     bids are received, the recommendation engine 312 may rec-
For example, the potential for forming a customer relation­ 20 ommend that a consumer wait for a better bid because the bids
ship, the value of potential add-on products and services, or        provided are not competitive offers based on the current auto­
competition with other dealers may cause a dealer to bid             mobile market data stored in the database system 310. Fur­
lower than normal. In such a case, the dealer may bid$25,000         ther, in an example embodiment, dealer bids may be orga-
in an effort to create a customer relationship, sell add-on          nized according to distance to a dealer pickup location, lowest
products, and/or undercut the competition pricing. Other fac- 25 price, closest match to the consumer entered criteria, a nor­
tors, such as the buyer's credit score (e.g., FICO score), may       malized quality index or value index, etc. The consumer may
be used by a dealer in determining a bid, as this may affect the     be able to toggle between different viewing options for dealer
profitability of a sale.                                             bids or search results.
   Further, for example, the particular automobile requested            Further, in an example embodiment, a buyer may be at a
may not be available for immediate pickup near the buyer, and 30 dealer lot (e.g., a Nissan dealer) and take a picture of a VIN on
various alternative delivery options may be provided from            a car (e.g., a Maxima). A bid from a competing dealer (e.g., a
several dealers' bids. For example, a car that is located at an      Toyota dealer) across the street may be received on the mobile
out of state dealer may be transported to a dealer near the          device within seconds and include information for a compa­
buyer. Therefore, for example, the consumer interface 304            rable car (e.g., an Avalon) relating to, for example, gas mile-
may provide several different bids with different delivery 35 age, safety ratings, price comparisons, residual value, driving
options and prices to the buyer, for example, a price of $26,        directions to the competing dealer, etc. In an example
000 to pick up the car at an out of state dealer the next day or     embodiment, a dealer may use the geolocation of the buyer,
a price of $26,500 to pick up the car at a local dealer in five      such as in instances when the buyer is physically located close
days. For example, a dealer may determine a cost to transport        to the dealer. Accordingly, competing dealer bids may be
a car from one dealer location to another based on the auto- 40 interbrand or intrabrand in nature, and may be tailored to the
mobile market data such as current market pricing, current           buyer's particular situation, which a consumer may find
inventory levels, current shipping costs, and the like. Accord­      highly advantageous. For example, the buyer may have a bid
ingly, a dealer response may be adjusted by current automo­          for a car the buyer wants to test drive as well as a bid for a
bile market conditions. An offer to provide or ship a particular     comparable car across the street before a salesman from the
car to a dealer location near a consumer may be authorized 45 dealer even introduces himself. Accordingly, a consumer may
through the dealer interface 306. Inventoryless bidding may          weigh the pros and cons of various dealer bids, based on
be highly beneficial when dealers that do not have a requested       delivery options, pricing, and any other relevant variants. Any
automobile in inventory can still profitably provide a bid.          bids communicated from a dealer interface 306 may be
Further, for example, cars that are not exactly what the buyer       stored, for example, in database system 310, to further update
requested may also be offered to the buyer. For example, the 50 the automobile market information processing system 302
buyer may request a four wheel drive car, but if a two wheel         with current automobile market data.
drive car that meets all the other buyer criteria is immediately        The consumer selects a bid including a delivery option
available at a nearby dealer, the dealer may provide an offer to     which specifies a pickup location (block 412). For example,
the buyer for this car, possibly at a significantly lower price,     the car buyer chooses a delivery option of picking up the car
such as$23,000 instead of$26,000 for a four wheel drive car 55 at a nearby dealer in five days. As noted above, a dealer may
as requested. Further, for example, dealers may use informa­         be a franchise dealer entity or a non-franchise distribution
tion such as ratings data to optimize their bids. For example,       location. The buyer may select an offer with a specified deliv­
if gasoline prices are increasing, mileage ratings for a par­        ery option on the consumer interface 304. The car buyer may
ticular car may dictate increasing or decreasing a bid. If a         have been weighing two or more different delivery options
vehicle has very good gas mileage, and gas prices are sky- 60 and/or different features, price differences, etc., based on the
rocketing, that car may have an increasing demand as gas             response(s) received through the consumer interface 304. As
prices increase, or vice versa. Similarly, safety ratings of         noted above, the consumer interface may organize bids and
vehicles may be important to consumer demand if high profile         other helpful information in a variety of ways, which may
problems have appeared for a particular automobile style,            make the information easier for a consumer to digest. It
make, or model. As discussed above, various automobile 65 should be appreciated that a buyer will typically want to pick
market information may be used by a dealer including safety          up a new car at a convenient location, often near the buyer's
information, insurance information, consumer credit infor-           home. Accordingly, dealers may attempt to provide delivery

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options tailored towards maximizing profit for the dealer           the actual transaction data including the final negotiated
while also maximizing convenience to the buyer, while also          price, may be provided to and stored in database system 310.
providing a superior bid to other dealers. By providing mul­        Accordingly, the automobile market information processing
tiple bids with different delivery options, the buyer may be        system 302 may be updated with current automobile market
allowed to save time or money based on the buyer's particular 5 data from every step in the negotiation process between a
needs. In an example embodiment, the buyer may provide a            consumer and a manufacturer. In an example embodiment,
counter offer or different request via the consumer interface       the updates provided to the automobile market information
304 to a dealer via the dealer interface 306. Accordingly, the      processing system 302 are provided in real-time, for example,
dealer may respond in kind, and may update delivery options         data may be transmitted and processed within seconds or
or other terms. It should be appreciated that the consumer 10 minutes. Further, for example, it should be appreciated that
selection of a bid may, for example, occur simultaneously           certain data may be provided to the automobile market infor-
with the consumer executing the sale or providing a deposit or      mation processing system 302 according to a batch process­
down payment, or the like (see, e.g., block 416). Accordingly,      ing schedule.
in an example embodiment, once the buyer selects a bid, the            Next, the dealer makes the purchased automobile available
buyer has effectively purchased the car, and the dealer does 15 according to the consumer bid selection (block 418). For
need to worry about the buyer backing out of the deal. Any          example, the dealer transports the car from the commonly
consumer selections, counter offers, or additional requests or      owned dealer location to the dealer pickup location selected
responses may be stored in database system 310, as the com­         by the car buyer if the car is not already located at the dealer
munications are processed by automobile market information          pickup location. When a purchased car is already at the dealer
processing system 302, providing further data updates. 20 location where the buyer has agreed to pick the car up, the car
Accordingly, in an example embodiment, a consumer may               does not need to be transported. Many dealers have multiple
select a bid to purchase a car, and that purchase information       locations under the same ownership, and these dealers may
may then be provided to another consumer searching for the          drive or ship cars from one dealer location to another if the
same type of car with similar features, for example, the next       cost of transporting the car is justifiable. If a buyer chooses a
day.                                                             25 quicker delivery option, the car may then be transported from
   Once a bid with a specific delivery option has been              a different dealer location to the selected dealer pickup loca­
selected, the dealer provides the automobile at the selected        tion. A dealer may interact with the automobile market infor­
dealer according to the consumer bid selection (block 414).         mation processing system 302 using dealer interface 306, for
For example, the dealer notifies a commonly owned dealer            example, to receive notification that a car will be picked up by
that the car must be transported to the dealer pickup location 30 a buyer, and to report that a car has been delivered to the dealer
for delivery in less than five days. In a typical example, the      pickup location. A notification may also be sent via consumer
dealer may already have the car in question on the dealer lot,      interface 304 to the buyer that the car is available for pickup
so the car would not need to be transported. In an example          at the specified dealer.
embodiment, the dealer may send a notification or instruction          Finally, the consumer picks up the purchased automobile
message through the dealer interface 306, which would be 35 according to the consumer selected delivery option at the
received by a commonly owned dealer in another city or state.       dealer (block420). For example, the car buyer picks up the car
It should be appreciated that the specific manner of notifica­      at the nearby dealer five days after the car sale is executed.
tion or instruction may be changed based on the particular          The buyer may pick up the car without ever having to talk to
application, for example, the automobile market information         or negotiate, in person or over the telephone, with the dealer.
processing system 302 may automatically provide a notifica- 40 For example, the buyer may arrive at the dealer, show iden­
tion or instruction to a dealer to produce or transport a car       tification and proof of purchase, and be provided the keys to
based on inventory data. It should also be appreciated that         the car. The buyer may sign paperwork indicating the car has
particular events may be required to trigger instructing a car      been picked up. Also, the dealer may offer or provide addi­
to be delivered to a dealer, such as a deposit, financing           tional products or services to the buyer when the buyer goes
approval, etc. Further, the consumer may be required to send 45 to the dealer to pick up the car. For example, the dealer may
an instruction message from the consumer interface 304 to the       offer financing options, warranties, service plans, insurance
dealer interface 306 affirming that the buyer has agreed to         plans, and hard add accessories to the buyer, as discussed in
purchase the car from the dealer.                                   further detail above.
   The consumer and the dealer execute the sale of the auto­           Accordingly, it should be appreciated that consumers,
mobile (block 416). For example, the consumer electroni- 50 dealers, and manufacturers may receive significant benefits
cally signs documentation such as loan application and a            from the method of facilitating an automobile transaction
contract and performs an electronic funds transfer or credit        disclosed herein. For example, price setting, inventory man­
card payment. After the delivery option is selected, an elec­       agement, and production scheduling, may be greatly
tronic contract may be provided by the dealer for the buyer         improved for dealers and manufacturers by utilizing the dis-
who may e-sign the contract, and/or any other loan applica- 55 closed system and method. Consumers may benefit from
tions or other documentation as needed. In another example          more competitive pricing, piece of mind knowing that a fair
embodiment, paper copies of a contract may be signed, for           market price is being offered for prospective purchases, and
example, after the buyer prints them or receives them from a        improved delivery options that allow the consumer to weigh
nearby dealer or through the mail. In an example embodi­            the benefits and drawbacks of different delivery options, pric­
ment, the buyer may provide cash or a paper check. It should 60 ing, and other variables. In an example embodiment, consum­
be appreciated that the process of executing a contract may         ers can view prices paid for comparable cars in specific loca-
take some time. For example, the process may occur in sev­          tions based on the automobile market data in the automobile
eral steps, as loan processing may be required prior to execut­     market information processing system 302, for example,
ing a contract for sale of a car. Also, it should be appreciated    within a certain time frame such as one month and within a
that, for example, the consumer selection of a bid discussed 65 certain proximity to the consumer. Moreover, various ineffi­
above (see, e.g., block 412) may occur simultaneously with          ciencies in the automobile industry may be minimized utiliz­
the consumer executing the sale. Once the sale is completed,        ing the presently disclosed system and method.

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   FIG. 5 illustrates a block diagram of an example data           normally stored or used be stored in the database system 310.
architecture 500. In the example data architecture 500, inter­     Accordingly, for example, customized reports may be pro­
face data 502, administrative data 504, and automobile mar­        vided to a manufacturer interface 308 using that specific data
ket data 506 interact with each other, for example, based on       for the manufacturer.
user commands or requests. The interface data 502, adminis- 5         The integration of the various types of automobile market
trative data 504, and automobile market data 506 may be            data 506 received from the consumer interface 304, dealer
stored on any suitable storage medium (e.g., server 226). It       interface 306, and manufacturer interface 308 may provide a
should be appreciated that different types of data may use         synergistic and optimal resource for consumers, dealers, and
different data formats, storage mechanisms, etc. Further, vari­    manufacturers alike. In an example embodiment, a consumer
ous applications may be associated with processing interface 10 may benefit greatly from using an application in a mobile
data 502, administrative data 504, and automobile market           device 103 to receive both intrabrand information and inter­
data 506. Various other or different types of data may be          brand information in real-time, based only on taking a picture
included in the example data architecture 500.                     of VIN. Dealers and manufacturers may be able to provide
   Interface data 502 may include input and output data of         information to the consumer in a manner that highlights the
various kinds. For example, input data may include mouse 15 benefits of the products the respective dealer or manufacturer
click data, scrolling data, hover data, keyboard data, touch       would like to sell. The intrabrand and interbrand information
screen data, voice recognition data, etc., while output data       provided on a consumer interface 304 may allow the best
may include image data, text data, video data, audio data, etc.    automobile options for a particular consumer to be provided
Interface data 502 may include formatting, user interface          to that consumer, may allow dealers to compete with other
options, links or access to other websites or applications, and 20 dealers taking into account a greater amount of automobile
the like. Interface data 502 may include applications used to      market information, and may allow manufacturers to better
provide or monitor interface activities and handle input and       follow through with opportunities for sales, which may result
output data.                                                       in a more efficient automobile market.
   Administrative data 504 may include data and applications          Automobile market data 506 may be maintained in various
regarding project data or data related to project compensa- 25 servers 108, in databases or other files. It should be appreci­
tion. For example, administrative data 504 may include infor­      ated that, for example, a host device 104 may manipulate
mation used for updating accounts, such as creating or modi­       automobile market data 506 in accordance with the adminis­
fying manufacturer accounts or dealer accounts. Further,           trative data 504 and interface data 502 to provide requests or
administrative data 504 may include access data and/or secu­       reports to users 114 including consumers, dealers, and manu­
rity data. Administrative data 504 may interact with interface 30 facturers, and perform other associated tasks. It should also be
data in various manners, providing a user interface 304, 306,      appreciated that automobile market data 506 represents auto­
308 with administrative features, such as implementing a user      mobile market information, and that these terms may be used
login and the like.                                                interchangeably in this disclosure depending upon the con­
   Automobile market data 506 may include, for example,            text.
executed sales data 508, consumer data 510, dealer data 512, 35       FIG. 6 is flow diagram illustrating an example process 600
manufacturer data 514, statistical data 516, and/or historical     for facilitating an automobile transaction, according to an
data 518. Executed sales data 508 may include actual nego­         example embodiment of the present invention. Although the
tiated prices for manufacturer and dealer sales, differences in    process 600 is described with reference to the flow diagram
list prices to negotiated prices, sales demographics, etc. Con­    illustrated in FIG. 6, it will be appreciated that many other
sumer data 510 may include consumer search activity, con- 40 methods of performing the acts associated with the process
sumer requests and offers, consumer feedback, etc. Dealer          600 may be used. For example, the order of many of the
data 512 may include dealer pricing, including list prices, sale   blocks may be changed, certain blocks may be combined with
prices for limited time dealer offers or deals of the day, nego­   other blocks, and many of the blocks described are optional.
tiation information such as bottom line pricing, offers               In the example process 600, data may flow between the
received, foot traffic activity, and dealer inventory data, 45 automobile market information processing system 302 and a
including current on location data, automobile turnover rates,     consumer interface 304 and a dealer interface 306, as dis­
etc. Manufacturer data 514 may include manufacturer pric­          cussed above based on consumer and dealer interaction with
ing, including suggested pricing, preferred dealer pricing,        the automobile market information processing system 302. It
etc., manufacturer incentives including cash rebates, special      should be appreciated that the automobile market information
lease rates, special APR rates, zero down offers, lifetime 50 processing system 302 may update the automobile market
warranties, guaranteed trade-in offers, etc., and inventory        information stored in the database system 310 when automo­
information including dealer inventory, inventory by loca­         bile market information is received from a consumer, a dealer,
tion, inventory in transit, manufacturing or production lead       or a manufacturer, or from any other information source.
times or build times, production scheduling, shipping sched­       Accordingly, the automobile market information may remain
uling, etc. Statistical data 516 may include information used 55 current and/or provide sufficiently recent data for the benefit
for providing reports including graphs, forecasts, recommen­       of consumers, dealers, and/or manufacturers.
dations, calculators, depreciation schedules, tax information,        The example process 600 may begin with a consumer
etc., including equations and other data used for statistical      taking a picture of a VIN using a mobile phone application
analysis. Historical data 508 may include past sales data, such    (block 602). The consumer interface 304 may use OCR to
as historical list prices, actual sale prices, manufacturer and 60 determine and provide the VIN to the automobile market
dealer margins, operating costs, service costs or profitability,   information processing system 302 to provide a consumer
loyalty information, etc. It should be appreciated that data       request (block 604). It should be appreciated that OCR may
may fall under multiple categories of automobile market data       occur in the automobile market information processing sys­
506, or change with the passage of time. It should also be         tem 302 or at the consumer interface 304. The automobile
appreciated that automobile market data 506 may be tailored 65 market information processing system 302 receives the con­
for a particular manufacturer or dealer, for example, a manu­      sumer request and prepares automobile market information
facturer may request that a specific type of data that is not      based on the request (block 606). The automobile market

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information processing system 302 may send a bid request              Further, it will be appreciated that the presently disclosed
and automobile market information based on the consumer            system, methods, and apparatus for performing automobile
request to the dealer interface 306 for one or more dealers        transactions may be utilized in conjunction with other sys­
(block 608). It should be appreciated that while the consumer      tems or methods. For example, the presently disclosed sys-
request is automobile market information, typically, addi­ 5 tern, methods, and apparatus may be used in conjunction with
tional automobile market information would be provided             the disclosure in the co-pending commonly-owned patent
with the consumer request. For example, typically, data relat­     application filed on Jul. 5, 2011, entitled "AUTOMOBILE
ing to recent sales of the requested automobile and/or com­        TRANSAC TION FACILI TATION USING A MANUFAC-
parable automobiles may be provided. In an example embodi­         TURER RESPONSE," U.S. application Ser. No. 13/176,497,
ment, a target price or "true" value of the requested 10 the entire contents of which are hereby incorporated by ref­
automobile may be provided. One or more dealers receive the        erence herein, and in an example embodiment, the features of
bid request and automobile market information, determine           which may be combined with the features of the present
prices and delivery options for the automobile using the auto­     disclosure.
mobile market information, and prepare and provide bids for           It should be understood that various changes and modifi­
the consumer (block 610). A dealer bid may be sent from the 15 cations to the example embodiments described herein will be
dealer interface 306 to the automobile market information          apparent to those skilled in the art. Such changes and modi­
processing system 302 for each dealer that wants to provide a      fications can be made without departing from the spirit and
bid (block 612). The automobile market information process­        scope of the present subject matter and without diminishing
ing system 302 receives and processes dealer bids and pre­         its intended advantages. It is therefore intended that such
pares the bids and automobile market data for the consumer 20 changes and modifications be covered by the appended
(block 614).                                                       claims.
   The automobile market information processing system 302
may send dealer bids and automobile market information to             The invention is claimed as follows:
the consumer interface 304 (block 616). It should be appre­           1. A method comprising:
ciated that automobile market information may be provided 25          storing, on a computer readable medium, automobile mar­
to the consumer before dealer bids are provided, and/or con­             ket data which is representative of recent automobile
currently with dealer bids. The consumer may receive the                 market characteristics, including at least pricing data
dealer bids and automobile market information and may                    and inventory data, wherein the automobile market data
select a bid including a delivery option based on the automo­            includes information received from a plurality of dealers
bile market information (block 618). The consumer interface 30           and a plurality of consumers;
304 may send to the automobile market information process­            receiving, via a consumer interface, a first request for a
ing system 302 a selection of a bid indicating that the con­             response regarding a first automobile, the first request
sumer wants to purchase or lease the automobile based on the             made by a consumer located at a first location and
selected bid (block 620). The automobile market information              including geolocation information of the consumer;
processing system 302 receives and processes the consumer 35          executing instructions, by at least one processing device,
bid selection (block 622). For example, the automobile mar­              to:
ket information processing system 302 may send the bid                   determine, using the information, that the consumer is
selection to the dealer interface 306 (block 624). The dealer               located at the first location;
may receive the bid selection and coordinate a sale by, for              determine, based on a determination that the consumer is
example, transporting the automobile from one dealer loca- 40               located at the first location, that the consumer is
tion to the dealer location selected for delivery (block 626).              located at a first dealer;
Also, for example, the dealer may provide contract or loan               generate, based on the first dealer, an in-market dealer
documents, collect a deposit or down payment, or the like. As               area proximately located to the first dealer;
discussed above, in each of blocks 606, 614, 626, and 634, the           determine that a second dealer is located at a second
automobile market information processing system 302 may 45                  location within the in-market dealer area;
update the automobile market information in the database                 provide first automobile market data to the second
system 310 based on the information received from the con­                  dealer, based on the first request, via a dealer inter­
sumer, dealer, and/or manufacturer.                                         face;
   For exemplary purposes, the present disclosure discusses a            request, via the dealer interface from the second dealer,
various examples relating to a purchase of a car. However, it 50            a bid to sell the first automobile based on the first
should be appreciated that the disclosed system, methods, and               request; and
apparatus may be advantageously used in relation to various              receive, via the dealer interface, a first bid from the
automobiles other than cars including, for example, trucks,                 second dealer located at the second location within
vans, sport utility vehicles, jeeps, motorcycles, commercial                the in-market dealer area;
vehicles, and/or automobiles that have a VIN and require a 55            generate, based on receiving the first bid, driving direc­
license plate to operate.                                                   tions from the first location to the second location;
   It will be appreciated that all of the disclosed methods and          provide the response including the first bid via the con­
procedures described herein can be implemented using one or                 sumer interface, the first bid including at least a price
more computer programs or components. These components                      for the first automobile, and the response including
may be provided as a series of computer instructions on any 60              the driving directions from the first location to the
conventional computer-readable medium, including RAM,                       second location; and
ROM, flash memory, magnetic or optical disks, optical                 receiving a consumer selection of the first bid.
memory, or other storage media. The instructions may be               2. The method of claim 1, wherein the pricing data includes
configured to be executed by a processor, which when execut­       normal listing prices, sale prices, manufacturer incentives,
ing the series of computer instructions performs or facilitates 65 actual prices of executed transactions, and consumer offers.
the performance of all or part of the disclosed methods and           3. The method of claim 1, wherein the inventory data
procedures.                                                        includes at least one of inventory data by location, inventory

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in transit data, production lead time data, production schedule          20. The method of claim 1, further comprising:
data, and shipping schedule data.                                        executing instructions, by the at least one processing
   4. The method ofclaim 1, wherein the first request includes              device, to provide a manufacturer response via the con­
a vehicle identification number that is manually entered by                 sumer interface including at least one of a verification, a
the consumer using at least one graphical user interface com- 5             confirmation, and an offer indicating that the first auto­
ponent.                                                                     mobile can be provided for the consumer.
   5. The method of claim 1, wherein the first request is made           21. The method of claim 1, wherein the first automobile
by the consumer using a mobile device which takes a picture           market data provides a recommended deal of the day.
of a vehicle identification number.                                      22. The method of claim 1, wherein the first bid includes a
   6. The method of claim 5, wherein the vehicle identifica­ 10 first delivery option which specifies a first pickup location at
tion number is recognized using optical character recogni­            the second dealer and a second delivery option which speci­
tion.                                                                 fies a different second pickup location, wherein the consumer
   7. The method of claim 1, wherein the first automobile is          selection indicates a consumer intention to purchase the first
one of a particular type of car with a specific set of features       automobile based on the first bid and specifies one of the first
and a particular car with a specific vehicle identification num­ 15 delivery option and the second delivery option.
ber.                                                                     23. The method ofclaim 1, wherein the first request is made
   8. The method of claim 1, wherein the first automobile             by the consumer using a mobile device which takes a picture
market data provided to the second dealer consists of at least        of a vehicle identification number at the first dealer, and in the
one of the first request and a suggested bid price.                   first bid from the second dealer, the first automobile is an
   9. The method of claim 1, wherein the first automobile 20 interbrand comparable car which is located at the second
market data is based on real-time automobile market data and          dealer.
actual sales data for comparable automobiles within a prede­             24. A system comprising:
termined time period and within a predetermined geographic               a computer readable medium storing automobile market
area.                                                                       data which is representative ofrecent automobile market
   10. The method of claim 1, wherein the first bid is an 25                characteristics, including at least pricing data and inven­
inventoryless bid requiring the first automobile to be at least             tory data, wherein the automobile market data includes
one of manufactured and transferred from the inventory of                   information received from a plurality of dealers and a
another entity to the second dealer.                                        plurality of consumers; and
   11. The method ofclaim 1, wherein the consumer selection              at least one processing device operably coupled to the
of the first bid indicates that the consumer intends to lease the 30        computer readable medium, the at least one processing
first automobile.                                                           device executing instructions to:
   12. The method of claim 1, further comprising:                           receive, via a consumer interface, a first request for a
   executing instructions, by the at least one processing                      response regarding a first automobile, the first request
      device, to process the consumer selection of the first bid               made by a consumer located at a first location and
      to facilitate executing a sale including at least one of 35              including geolocation information of the consumer;
      providing for electronic signature ofdocuments and pro­               determine, using the information, that the consumer is
      viding for an electronic funds transfer.                                 located at the first location;
   13. The method ofclaim 12, wherein the first automobile is               determine, based on a determination that the consumer is
made available for pickup at the second dealer according to a                  located at the first location, that the consumer is
consumer selected first delivery option.                           40          located at a first dealer;
   14. The method of claim 1, further comprising:                           generate, based on the first dealer, an in-market dealer
   executing instructions, by the at least one processing                      area proximately located to the first dealer;
      device, based on a request from the dealer interface, to              determine that a second dealer is located at a second
      request data via a consumer interface from a plurality of                location within the in-market dealer area;
      consumers.                                                   45       provide first automobile market data to the second
   15. The method of claim 1, further comprising:                              dealer, based on the first request, via a dealer inter­
   executing instructions, by the at least one processing                      face;
      device, based on a request from the dealer interface, to              request, via the dealer interface from the second dealer,
      request data via a manufacturer interface from at least                  a bid to sell the first automobile based on the first
      one manufacturer.                                            50          request;
   16. The method of claim 1, further comprising:                           receive, via the dealer interface, a first bid from the
   executing instructions, by the at least one processing                      second dealer located at the second location within
      device, to include in the response at least one of a financ­             the in-market dealer area;
      ing plan, a service plan, an insurance plan, a warranty,              generate, based on receiving the first bid, driving direc­
      and a hard add accessory, for at least the first automobile, 55          tions from the first location to the second location;
      which is at least one of provided and offered by the                  provide the response including the first bid via the con­
      second dealer.                                                           sumer interface, the first bid including at least a price
   17. The method of claim 1, wherein the second dealer is at                  for the first automobile, and the response including
least one ofa franchise dealer and a non-franchise distribution                the driving directions from the first location to the
location.                                                          60          second location; and
   18. The method of claim 1, wherein the automobile market              receiving a consumer selection of the first bid.
data includes consumer interest data.                                    25. A non-transitory computer readable medium storing
   19. The method of claim 1, further comprising:                     instructions which, when executed, are configured to cause an
   executing instructions, by the at least one processing             information processing apparatus to:
      device, to provide a manufacturer response via the con- 65         store automobile market data which is representative of
      sumer interface including an acknowledgement ofinter-                 recent automobile market characteristics, including at
      est.                                                                  least pricing data and inventory data, wherein the auto-

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  mobile market data includes information received from
   a plurality of dealers and a plurality of consumers;
receive, via a consumer interface, a first request for a
  response regarding a first automobile, the first request
  made by a consumer located at a first location and 5
   including geolocation information of the consumer;
determine, using the geolocation information, that the con­
   sumer is located at the first location;
determine, based on a determination that the consumer is
  located at the first location, that the consumer is located 10
   at a first dealer;
generate, based on the first dealer, an in-market dealer area
  proximately located to the first dealer;
determine that a second dealer is located at a second loca-
  tion within the in-market dealer area;                         15
provide first automobile market data to the second dealer,
   based on the first request, via a dealer interface;
request, via the dealer interface from the second dealer, a
   bid to sell the first automobile based on the first request;
receive, via the dealer interface, a first bid from the second 20
   dealer located at the second location within the in-mar­
   ket dealer area;
generate, based on receiving the first bid, driving directions
   from the first location to the second location;
provide the response including the first bid via the con- 25
   sumer interface, the first bid including at least a price for
  the first automobile, and the response including the driv­
   ing directions from the first location to the second loca­
  tion; and
receive a consumer selection of the first bid.                   30
                     * * * * *




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c12)   United States Patent                                                                                                      (IO) Patent No.:                                 US 9,460,467 B2
       Seergy et al.                                                                                                             (45) Date of Patent:                                          Oct. 4, 2016

(54)   USED AUTOMOBILE TRANSACT ION                                                                                   (58) Field of Classification Search
       FACILITATION FOR A SPECIFIC USED                                                                                    CPC .... G06Q 30/08; G06Q 30/06; G06Q 10/087;
       AUTOMOBILE                                                                                                                       G06Q 30/0275; G06Q 30/0283; G06Q
                                                                                                                                                                                   30/0625
(71)   Applicant: Sidekick Technology LLC, Pine Brook,                                                                     USPC ...................................... 705/26.1, 26.4, 27.1
                  NJ (US)                                                                                                  See application file for complete search history.
                                                                                                                      (56)                                            References Cited
(72)   Inventors: Michael J. Seergy, Pine Brook, NJ
                  (US); Benjamin N. S. Brown, Pine                                                                                                               U.S. PATENT DOCUMENTS
                  Brook, NJ (US)
                                                                                                                                        5,970,472 A                   10/1999 Allsop et al.
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(73)   Assignee: Sidekick Technology LLC, Pine Brook,                                                                                   6,321,221 Bl                  11/2001 Bieganski
                 NJ (US)                                                                                                                                                 (Continued)

( *)   Notice:      Subject to any disclaimer, the term ofthis                                                                                                    OTHER PUBLICATIONS
                    patent is extended or adjusted under 35
                    U.S.C. 154(b) by O days.                                                                          AutoTrader.com, Inc . .- Private Company Information-Business
                                                                                                                      Week, http://investing.businessweek.corn/research/stocks/private/
(21)   Appl. No.: 14/841,157                                                                                          snapshot.asp?privcapid�92642.
                                                                                                                                                                         (Continued)
(22)   Filed:       Aug. 31, 2015
                                                                                                                      Primary Examiner - Brandy A Zukanovich
(65)                  Prior Publication Data                                                                          (74) Attorney, Agent, or Firm - K&L Gates LLP

       US 2015/0371323 Al           Dec. 24, 2015                                                                     (57)                     ABSTRACT
                                                                                                                      A system, methods, and apparatus for performing used
                                                                                                                      automobile transactions are disclosed. In an example
                Related U.S. Application Data                                                                         embodiment, automobile market data representative of cur­
                                                                                                                      rent automobile market characteristics is stored. The auto­
(63)   Continuation of application No. 14/176,700, filed on                                                           mobile market data may include pricing and consumer
       Feb. 10, 2014, now Pat. No. 9,123,075, which is a                                                              interest information received from consumers, dealers, and
       continuation of application No. 13/207,858, filed on                                                           manufacturers. A consumer seller or manufacturer off-lease
       Aug. 11, 2011, now Pat. No. 8,650,093, which is a                                                              seller may provide a request for a response regarding a
                         (Continued)                                                                                  specific used automobile with a specific a vehicle identifi­
                                                                                                                      cation number. Automobile market data may be provided to
                                                                                                                      a used automobile buyer based on the request. Bids to
(51)   Int. Cl.                                                                                                       purchase the specific used automobile may be requested
       G06Q 30/00              (2012.01)                                                                              from used automobile buyers based on the request. Buyer
       G06Q 30/08              (2012.01)                                                                              bids may be provided to the consumer seller or manufacturer
                         (Continued)                                                                                  off-lease seller with prices and a delivery options. The
(52)   U.S. Cl.                                                                                                       consumer seller or manufacturer off-lease seller may select
                                                                                                                      a bid to sell the specific used automobile based on the bid.
       CPC ............... G06Q 30/08 (2013.01); G0JC 21134
                             (2013.01); G06Q 30/06 (2013.01)                                                                                                     20 Claims, 7 Drawing Sheets




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                                                         Appx981
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                                                                                                                             •
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                           System 100
                                         \



                                                                                              108
                                                                                                          r------------
                     Client Device                                                                        :            108
                                                                                     Server               I
                                                                                                          I
                                                                                                          I
                                                                         106                              I
                     103                                                                                  1   Server
                                                                                                          I
                                                                                                          I
                                                                                                          I            108
                                                 Internet and/or other
                                                      network(s)
                      Mobile Device                                                  Host Device                             rJJ
                                                                                                              Server
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                                                                                                                             =­
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Appx982
                                                                                                                       108   ....
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                                                                                                                             -....J
                                                                                                              Server
                                 112


                           Display

                                                     Client
                                                     Device
          User 114                                                          Fig. 1
                               Case: 23-1362                        Document: 30                    Page: 170                       Filed: 12/05/2023




                                                                                                                                                                                     e
                                                                                                                                                                                     •
                                                                                                Computing Device                                                                     00
                                                                                     . r·· 102, 104
                                                                                                                                                                                     •
                                                                     214
                                                                                 -                                                                                                   ~
                                                                                                                                                                                     ~
                                           Keyboard, mouse,                                                                                                                          ~
                                           and/or other input                                                                                                                        ~

                                               device(s}                                                                                                                             ~
                                                                                                                                                                                     =
                                                                                           22                           Netv.rork
          Main Unit 202 -,                                                                                               device
                    r 210
                                   11-206
             Other PC                                                                                                                                                                (')
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              circuits    --                                                                                                                                                         ~
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             Memory                                                                          Ir
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                                                       Interface       -                                net and/or other 1""'               •--.,.,.,,
                                                                      -..       ~    \
                                                        circuits                                        network(s)       ;
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            Processor                                                                               '-------/-..'----/                                                               ('D
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Appx983
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                   Display                 speaker(s), and/or                                       D(s),                                      Databases, programs,
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                                                                            Fig, 2                                                                                                   0--,
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                                                                                ;   302

               Automobile Market Information Processing System
                              /310                                1      312

              Database System                    Recommendation Engine


                              /314                                /316
            Vehicle Identification
                                                 Interface Generation Unit
             Number Processor


              .~                         .~                             .~
              1•   r .. 304              ,   . r.   305                  •      r .. 308



         Consumer                     Dealer                   Manufacturer
          Interface                  Interface                  Interface




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           If\,\
           ,., d
         User 114
                                      0i/\.\
                                     User 114
                                                                   r    A\
                                                                      ,./ \.\
                                                                 User 114




                                     Fig. 3A



                                     Appx984
      Case: 23-1362        Document: 30      Page: 172         Filed: 12/05/2023


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              Automobile Market Information Processing System
                              r·· 310                              /'.. 312

              Database System                 Recommendation Engine


                              /314                                 1316
           Vehicle Identification
                                              Interface Generation Unit
            Number Processor


                   Jl                              j~                    j ~




                   H         1304                    '     ,-306        1J         /   3 08
                                                                   Manufacturer
         Consumer Interface               Dealer Interface
                                                                    Interface
          ;-318              ;-320                   ,-322
                                                     I
                                                                          ,324
      Used Auto         Used Auto           Used Auto               Off-Lease
         Seller            Buyer               Buyer                  Seller
       Interface         Interface           Interface              Interface


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       User 114
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                                                                       u \J
                                                                    User 114


                                      Fig. 3B




                                        Appx985
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                                      (       Start   )        /400
                                          ~




                                               .                               /402
    Automobile market data including at least pricing data is stored in a database
      system (e.g., data from consumers, dealers, manufacturers, and industry                 .,..._
     analysts, regarding pricing, inventory, insurance information, quality ratings,
       safely ratings, and other ratings is collected and stored in a database)

                                               t
      A request for a response regarding a used automobile is received from a
                                                                                ,~404

   consumer seller (e.g., a used car seller takes a picture of the VIN of a used car
                                                                                     ----ti»
    and fills in price parameters and other information into a mobile application to
                    receive a response based on current market data)

                                               t
     Automobile market data is provided to used automobile buyers based on the
                                                                               /406

   consumer seller request (e.g., a group of consumers and dealers receive a real-
   time report including local used car sales data, inventory data, quality and safety
      ratings data, insurance dala, and gas mileage data of ihe specific used car)

                                               t
     A bid to purchase the automobile from the consumer seller is requested from
                                                                                ,~408

   used automobile buyers (e.g., a group of consumers and dealers within a certain ----ti»
     radius of the used car seller receive a bid request based on buyer searches)

                                               +
    Buyer bids are provided to the consumer seller (e.g., several consumers and
                                                                                ,..-----410

    dealers provide bids based on current pricing data, options information on the
   specific used car, and potential pickup locations, so several different prices and
                                                                                              ------•
               delivery options may be available to the used car seller)

                                               t                                /~412
    The consurner seller selects a buyer bid including a price and a delivery option
   (e.g., the used car seller chooses to sell the used car based on the price and the ----JI>,
                        pickup location of a consumer buyer bid)

                                               t
      The consumer seller and used automobile buyer execute the sale of the
                                                                                ,~414

      automobile (e.g., the used car buyer e-signs a contract and electronically              ----ti»
          transfers funds to the used car seller based on the consumer bid)
                                                                       ,..----- 416
                                       +
   The consumer seller makes the purchased used automobile available according
    to the consumer seller bid selection (e.g., the seller drives the used car to the
       pickup location if the pickup location is not the used car seller's location)

                                         t                             /418
   The used automobile buyer receives tl1e purchased used automobile according
      to the consumer seller selected delivery option (e.g., the used car buyer
   receives the used car at the pickup location the same day the sale is executed)                Fi g.4




                                                Appx986
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                            ;O                                                     ro
          Interface Data                                     Administrative Data



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                                       ~            ~




                                                          Account           Access and
                                                        Information          Security

                 l                                                      l


                1F                           ;506                      ,.
                              Automobile Market Data

                           ;-508                                      ;510


           Executed Sales Data                           Consumer Data



                           r-··· 512                                  r .. s14

                Dealer Data                             Manufacturer Data



                           ;516                                       ;-518


              Statistical Data                           Historical Data




                                           Fig. 5




                                           Appx987
                            Case: 23-1362             Document: 30          Page: 175          Filed: 12/05/2023




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                        ;602 604                                       r - 606                                        ;610
                                                                       I            6?B~L ,                                         ~
            Seller takes a                                  System receives          Bid request\         Used auto buyers
                                                                                                                                    =
                                         Seller            seller request and         and auto           receive bid request
           picture of a VIN
                                        Request                 prepares                market             and automobile
          and enters pricing
             parameters                                    automobile market         information ,·      market information
                                                           data based on the                             to determine prices        (')

                                                                 request                                     and delivery
                                                                                                                                    ~
                                                                                                                                    ...0...
                                                                                                            options for the
                                                                                                                                    N
                                                                                                            used auto and           0
                                                                       ;----- 614                  612       prepare and
                                                                                                                                    ....
                                                                                                                                    O'I

                                                            System receives                              provide bids for the
                                              /----- 616                              Buyer bid
                                                             and processes                                 used auto seller
                            618      Buyer bids              buyer bids and
                        1                                                                                                           rJJ
                                      and auto             prepares bids and
             Seller receives                                                                                                        ('D
                                                                                                                                    =-
                                       market                                                                                       ('D
             buyer bids and                                automobile market                                                        ....




Appx988
                                    information
                                       ------r---            data for seller                                                        -...J
           automobile market
                                                                                                                                    0
            information and                                                                                                         ....
              selects a bid                                                                                                         -...J
          including a delivery
                                                                                                                       ,..... 626
            option based on       620                                  r·· 622 624                                   I
           automobile market                                System receives                              Buyer receives bid
                                        Selection          and processes bid •        Selection            selection and
               information
                                                               selection     ,                           coordinates a sale
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                                                               Fig. 6                                                               =
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                                                    US 9,460,467 B2
                              1                                                                 2
        USED AUTOMOBILE TRANSACTION                               turer off-lease seller may not be able to receive the full
       FACILITATION FOR A SPECIFIC USED                           market value of a used off-lease automobile.
                 AUTOMOBILE
                                                                                           SUMMARY
         CROSS REFERENCE TO RELATED
       APPLICATIONS AND PRIORITY CLAIM                                The present disclosure provides a new and innovative
                                                                   system, methods and apparatus for providing automobile
   This application is a continuation of U.S. patent applica-      market information and facilitating used automobile trans-
tion Ser. No. 14/176,700, filed Feb. 10, 2014, which is a          actions. In an example embodiment, automobile market data
continuation of U.S. patent application Ser. No. 13/207,858, 10 representative of current automobile market characteristics
filed on Aug. 11, 2011, which is a continuation-in-part of the     is stored. The automobile market data may include pricing
following co-pending commonly-owned patent applications            and consumer interest information received from consum-
filed on Jul. 5, 2011, entitled "AUTOMOBILE TRANSAC-               ers, dealers, and manufacturers. A consumer seller or manu-
TION FACILITATION USING A MANUFACTURER                             facturer off-lease seller may provide a request for a response
RESPONSE," application Ser. No. 13/176,497, and entitled 15 regarding a specific used automobile with a specific a
"AUTOMOBILE             TRANSACTION          FACILITATION          vehicle identification number. Automobile market data may
BASED ON CUSTOMER SELECTION OF A SPECIFIC                          be provided to a used automobile buyer based on the request.
AUTOMOBILE," application Ser. No. 13/176,525, now                  Bids to purchase the specific used automobile may be
U.S. Pat. No. 8,744,925, issued Jun. 3, 2014, the entire           requested from used automobile buyers based on the
content of each of which is incorporated by reference herein. 20 request. Buyer bids may be provided to the consumer seller
                                                                   or manufacturer off-lease seller with prices and a delivery
                       BACKGROUND                                  options. The consumer seller or manufacturer off-lease seller
                                                                   may select a bid to sell the specific used automobile based
   In the used automobile market, consumers typically sell         on the bid.
or trade in used automobiles to dealers or dealerships, or 25         Additional features and advantages of the disclosed
privately sell to other consumers, for example, through            method and apparatus are described in, and will be apparent
personal advertisements. Dealers often purchase used auto-         from, the following Detailed Description and the Figures.
mobiles from consumers as part of a deal for a new auto-
mobile, typically referred to as a trade in. Typically, a                   BRIEF DESCRIPTION OF THE FIGURES
description of a used automobile in a personal advertisement 30
may include the make, model, and mileage of an automobile,            FIG. 1 is a high level block diagram of an example
but certain other relevant descriptive information may not be      network communicating system, according to an example
available to a potential buyer. Further, a dealer making a         embodiment of the present invention.
trade in offer for a used automobile may not have certain             FIG. 2 is a detailed block diagram showing an example of
relevant descriptive information on that used automobile. In 35 a computing device, according to an example embodiment
many cases, the negotiation process for a used automobile          of the present invention.
may include a large degree of uncertainty for consumers,              FIGS. 3A and 3B provide a block diagram showing an
including both a selling consumer and a purchasing con-            example automobile transaction network structure, accord-
sumer. A consumer seller may be particularly disadvantaged         ing to an example embodiment of the present invention.
when negotiating with a dealer for a trade in value, as dealers 40    FIG. 4 is a flowchart illustrating an example process for
typically have great knowledge and experience with the             facilitating a used automobile transaction, according to an
process, while consumers typically do not. Generally, the          example embodiment of the present invention.
negotiation process is a zero sum process, and because a              FIG. 5 is a block diagram showing an example data
consumer seller of a used automobile and a used automobile         architecture, according to an example embodiment of the
buyer are each trying to get a better deal, there is typically 45 present invention.
some lack of trust during the negotiation. Accordingly, used          FIG. 6 is flow diagram illustrating an example process for
automobile buyers and sellers, including consumers and             facilitating a used automobile transaction, according to an
dealers, often base the negotiations on established market         example embodiment of the present invention.
prices. However, market prices can fluctuate rapidly depend-
ing a variety of factors. For example, consumer demand may 50              DETAILED DESCRIPTION OF EXAMPLE
be affected by economic factors, such as changes in gasoline                              EMBODIMENTS
prices, unemployment rates, government sponsored tax
rebates for automobile purchases, etc.                                The present disclosure relates in general to a system for
   In many cases, a consumer seller of a used automobile           facilitating used automobile transactions and, in particular,
may have concerns that a buyer may not offer a fair and 55 to an automobile transaction for a specific used automobile.
competitive price. Various products and services have              Briefly, in an example embodiment, a system is provided
become available that allow sellers and buyers, including          which allows a consumer seller or a manufacturer off-lease
consumers and dealers, to perform research on market prices        seller of a used automobile to request bids and information
for used automobiles. Typically, the highest possible value        regarding a specific automobile identified with a specific
available to a consumer seller may be through a sale to 60 vehicle identification number. For example, a consumer may
another consumer, as opposed to trading in the used auto-          use a mobile device to take a picture of a vehicle identifi-
mobile to a dealer.                                                cation number and may enter a desired price range or
   In addition to consumers and dealers, automobile manu-          minimum asking price. The specific automobile may be
facturers may also have an interest in the resale values of        identified using optical character recognition to provide, for
used automobiles. Further, in many cases, a manufacturer 65 example, a full list of the original manufacturer features and
may want to sell used off-lease automobiles which have been        options, and the original manufacturer suggested retail price
returned by consumer lessees. In many cases, a manufac-            and invoice information, for that specific used automobile

                                                          Appx989
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                              3                                                                  4
based on the vehicle identification number. Accordingly, the      further detail below, users 114 of the presently disclosed
consumer seller need not enter all of this information, but       system may include a consumer, a dealer, and/or a manu-
may request bids and information in real-time for that            facturer.
specific used automobile. Used automobile buyers may                 Typically, host devices 104 and servers 108 store one or
include consumers and/or dealers which may provide bids 5 more of a plurality of files, programs, databases, and/or web
based on the consumer seller request using real-time auto-        pages in one or more memories for use by the client devices
mobile market information. A consumer seller may select a         102, and/or other host devices 104 or servers 108. A host
buyer bid to sell a used automobile based on the prices and       device 104 or server 108 may be configured according to its
delivery options available. Accordingly, typically unavail-       particular operating system, applications, memory, hard-
                                                               10 ware, etc., and may provide various options for managing
able or difficult to obtain data may be provided for offering
                                                                  the execution of the programs and applications, as well as
a used automobile for sale, including a full listing of the
                                                                  various administrative tasks. A host device 104 or server
manufacturer features and options, EPA mileage, safety
                                                                  may interact via one or more networks with one or more
ratings, recalls, quality reports, estimated insurance costs,     other host devices 104 or servers 108, which may be
etc. In an example embodiment, a manufacturer off-lease 15 operated independently. For example, host devices 104 and
seller may select a buyer bid based on the prices and delivery    servers 108 operated by a separate and distinct entities may
options to maximize value, for example, by reducing costs         interact together according to some agreed upon protocol.
typically associated with selling an off-lease automobile.           A detailed block diagram of the electrical systems of an
The used automobile market is presently approximately             example computing device (e.g., a client device 102, and a
three times the size of the new automobile market in the 20 host device 104) is illustrated in FIG. 2. In this example, the
United States, as approximately 40 million used automobiles       computing device 102, 104 includes a main unit 202 which
are sold each year. Accordingly, the present disclosure may       preferably includes one or more processors 204 electrically
be helpful for facilitating large numbers of used automobile      coupled by an address/data bus 206 to one or more memory
transactions. In an example embodiment, the disclosed sys-        devices 208, other computer circuitry 210, and one or more
tem matches seller and buyer parameters, such as price and 25 interface circuits 212. The processor 204 may be any suit-
pickup location, to facilitate a live bidding process, which      able processor, such as a microprocessor from the INTEL
allows a used automobile seller to accept or reject bids using    PENTIUM® family of microprocessors. The memory 208
a great deal of information not typically available. In a         preferably includes volatile memory and non-volatile
non-limiting example embodiment, certain features dis-            memory. Preferably, the memory 208 stores a software
                                                               30 program that interacts with the other devices in the system
closed in the present patent application may be commer-
                                                                  100 as described below. This program may be executed by
cially embodied in products and services offered by Sidekick
                                                                  the processor 204 in any suitable mamier. In an example
Technology LLC, the assignee of the present application.
                                                                  embodiment, memory 208 may be part of a "cloud" such
   The present system may be readily realized in a network
                                                                  that cloud computing may be utilized by a computing
communications system. A high level block diagram of an 35 devices 102, 104. The memory 208 may also store digital
example network communications system 100 is illustrated          data indicative of documents, files, programs, web pages,
in FIG. 1. The illustrated system 100 includes one or more        etc. retrieved from a computing device 102, 104 and/or
client devices 102, and one or more host devices 104. The         loaded via an input device 214.
system 100 may include a variety of client devices 102, such         The interface circuit 212 may be implemented using any
as desktop computers and the like, which typically include 40 suitable interface standard, such as an Ethernet interface
a display 112, which is a user display for providing infor-       and/or a Universal Serial Bus (USB) interface. One or more
mation to users 114, and various interface elements as will       input devices 214 may be connected to the interface circuit
be discussed in further detail below. A client device 102 may     212 for entering data and commands into the main unit 202.
be a mobile device 103, which may be a cellular phone, a          For example, the input device 214 may be a keyboard,
personal digital assistant, a laptop computer, a tablet com- 45 mouse, touch screen, track pad, track ball, isopoint, image
puter, etc. The client devices 102 may communicate with the       sensor, character recognition, barcode scanner, microphone,
host device 104 via a connection to one or more communi-          and/or a speech/voice recognition system.
cations chamiels 106 such as the Internet or some other data         One or more displays 112, printers, speakers, and/or other
network, including, but not limited to, any suitable wide area    output devices 216 may also be connected to the main unit
network or local area network. It should be appreciated that 50 202 via the interface circuit 212. The display 112 may be a
any of the devices described herein may be directly con-          cathode ray tube (CRTs), a liquid crystal display (LCD), or
nected to each other instead of over a network. Typically,        any other type of display. The display 112 generates visual
one or more servers 108 may be part of the network                displays generated during operation of the computing device
communications system 100, and may communicate with               102, 104. For example, the display 112 may provide a user
host servers 104 and client devices 102.                       55 interface, which will be described in further detail below,
   One host device 104 may interact with a large number of        and may display one or more web pages received from a
users 114 at a plurality of different client devices 102.         computing device 102, 104. A user interface may include
Accordingly, each host device 104 is typically a high end         prompts for human input from a user 114 including links,
computer with a large storage capacity, one or more fast          buttons, tabs, checkboxes, thumbnails, text fields, drop
microprocessors, and one or more high speed network 60 down boxes, etc., and may provide various outputs in
connections. Conversely, relative to a typical host device        response to the user inputs, such as text, still images, videos,
104, each client device 102 typically includes less storage       audio, and animations.
capacity, a single microprocessor, and a single network              One or more storage devices 218 may also be connected
connection. It should be appreciated that a user 114 as           to the main unit 202 via the interface circuit 212. For
described herein may include any person or entity which 65 example, a hard drive, CD drive, DVD drive, and/or other
uses the presently disclosed system and may include a wide        storage devices may be connected to the main unit 202. The
variety of parties. For example, as will be discussed in          storage devices 218 may store any type of data, such as

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pncmg data, transaction data, operations data, inventory              reconnnendation engine 312 may provide reconnnendations
data, connnission data, manufacturing data, image data,               for consumers, dealers, and manufacturers. A vehicle iden-
video data, audio data, tagging data, historical access or            tification number processor 314 may be used for making
usage data, statistical data, security data, etc., which may be       requests regarding specific automobiles and automobiles
used by the computing device 102, 104.                             5 with specific sets of features. For example, a vehicle iden-
    The computing device 102, 104 may also exchange data              tification number processor 314 may determine a specific set
with other network devices 220 via a connection to the                of features that a specific car has based on a picture of that
network 106. Network devices 220 may include one or more              specific car's vehicle identification number. Interface gen-
servers 226, which may be used to store certain types of              eration unit 316 may provide, for example, HTML files
data, and particularly large volumes of data which may be 10 which are used at the consumer interface 304, dealer inter-
stored in one or more data repository 222. A server 226 may           face 306, and manufacturer interface 308 interface to pro-
include any kind of data 224 including databases, programs,           vide information to the users 114. It should be appreciated
files, libraries, pricing data, transaction data, operations data,    that he the consumer interface 304, dealer interface 306, and
inventory data, connnission data, manufacturing data, con-            manufacturer interface 308 may be considered to be part of
figuration data, index or tagging data, historical access or 15 the automobile market information processing system 302,
usage data, statistical data, security data, etc. A server 226        however, for discussion purposes, the consumer interface
may store and operate various applications relating to                304, dealer interface 306, and manufacturer interface 308
receiving, transmitting, processing, and storing the large            may be referred to as separate from the automobile market
volumes of data. It should be appreciated that various                information processing system 302.
configurations of one or more servers 226 may be used to 20              For example, a user 114 may interact with a consumer
support and maintain the system 100. For example, servers             interface 304 to research new or used automobiles the user
226 may be operated by various different entities, including          114 is interested in buying and/or selling. For example, a
automobile manufacturers, brokerage services, automobile              consumer may be looking for a four door sedan with specific
information services, etc. Also, certain data may be stored in        features, including a global positioning system (GPS), a
a client device 102 which is also stored on the server 226, 25 sunroof, tinted windows, rated for at least thirty miles per
either temporarily or permanently, for example in memory              gallon, four wheel drive, etc. The consumer may interact
208 or storage device 218. The network connection may be              with the consumer interface 304 by inputting required and/or
any type of network connection, such as an Ethernet con-              desired features, monthly budget or full price, etc. The
nection, digital subscriber line (DSL), telephone line,               consumer interface 304 may provide a wide variety of
coaxial cable, wireless connection, etc.                           30 features and specifications which the consumer may choose
   Access to a computing device 102, 104 can be controlled            from in providing a request. Based on the information put
by appropriate security software or security measures. An             into the consumer interface 304 from the consumer, the
individual users' 114 access can be defined by the comput-            consumer interface 304 may provide one or more reports or
ing device 102, 104 and limited to certain data and/or                offers to the consumer. As will be discussed in further detail
actions. Accordingly, users 114 of the system 100 may be 35 below, the information provided by the consumer interface
required to register with one or more computing devices               304 may include current market prices for automobiles,
102, 104. For example, registered users 114 may be able to            including information relating to additional features, and
request or manipulate data, such as submitting requests for           may include information on specific automobiles, for
pricing information or providing an offer or a bid.                   example, which may be en route to a dealer near the
   As noted previously, various options for managing data 40 consumer's present location or may be already owned by the
located within the computing device 102, 104 and/or in a              consumer. The automobile market information processing
server 226 may be implemented. A management system may                system 302 may process data received by the consumer
manage security of data and accomplish various tasks such             interface 304, as well as the dealer interface 306 and/or the
as facilitating a data backup process. A management system            manufacturer interface 308, to respond to a request from a
may be implemented in a client 102, a host device 104, and 45 consumer. For example, data from database system 310 may
a server 226. The management system may update, store,                be queried for use in a report, or a reconnnendation may be
and back up data locally and/or remotely. A management                provided by reconnnendation engine 312 according to the
system may remotely store data using any suitable method              consumer request and current market data. The automobile
of data transmission, such as via the Internet and/or other           market information processing system 302 may integrate
networks 106.                                                      50 data received from consumer interface 304, dealer interface
    FIGS. 3A and 3B provide a block diagram showing an                306, and manufacturer interface 308 to provide current and
example automobile transaction network structure 300. As              accurate information relating to the automobile market.
illustrated in FIG. 3A, the example automobile transaction               It should be appreciated that the consumer interface 304
network structure 300 includes an automobile market infor-            may be specific to one particular manufacturer or may
mation processing system 302, a consumer interface 304, a 55 provide information for automobiles manufactured by mul-
dealer interface 306, and a manufacturer interface 308. The           tiple different manufacturers. For example, a consumer
example automobile market information processing system               interface 304 may be a website with information for many
302 may be implemented on one or more host devices 104                manufacturers. For example, the consumer interface 304
accessing one or more servers 108, 226. In an example                 may access or link to the manufacturer specific websites
embodiment, the automobile market information processing 60 (e.g., Ford), particularly with regard to new automobile
system 302 includes a database system 310, a reconnnen-               information, but also for used automobile information. Also,
dation engine 312, a vehicle identification number processor          for example, a consumer interface 304 may be implemented
314, and an interface generation unit 316. A user 114 may be          as an automobile manufacturer's website. Typically, a manu-
a consumer, a dealer, or a manufacturer that interacts with           facturer's website may provide consumers with a catalog
the consumer interface 304, dealer interface 306, or manu- 65 like feature that provides information on different automo-
facturer interface 308, respectively. A database system 310           bile models with any available options or features. For
may include a wide variety of automobile market data. A               example, a manufacturer website may allow a consumer to

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select options that are desired to "build" a particular new        face 304 may provide a purchase checklist, for example, of
automobile, and may provide price comparisons using sug-           ten steps to buying a car. A qualitative checklist may allow
gested retail prices, which may consumers use for initial          a user to ask the right questions and get the right answers
research into what pricing the dealer may offer for a par-         from a dealer. Additional tips may be provided, such as a list
ticular automobile with a particular feature set. Also, typi- 5 of products or services dealers may attempt to sell to a
cally, the consumer may enter information, including, for          consumer with an analysis of the value of these products or
example, name, an address or zip code, and telephone               services and a recommendation to accept or decline these
number. This information may be passed on from the                 dealer offers. Further, beyond analysis relating to automo-
manufacturer to a nearby dealer and/or nearby dealer infor-        biles, additional analysis or reports may be provided, for
mation may be provided to the consumer (e.g., the dealer in 10 example, relating to dealer reviews, other supplemental
or nearest to the consumer's entered zip code). Accordingly,       products, financial entities that may provide financing, etc.
the dealer may contact the consumer, or the consumer may           For example, dealer reviews may provide a consumer with
inquire with the dealer, regarding the specific automobiles        information the consumer may use in addition to automobile
available on that dealer's lot and particular pricing being        pricing and delivery options. Moreover, the consumer inter-
offered, etc. In many cases, consumers may not inquire with 15 face 304 may provide a wide variety of useful information
dealers that the manufacturer may recommend, and simi-             to a consumer, for at home research and preparation, and/or
larly, dealers may not diligently follow up with consumers         in a dealer location while shopping as a negotiating tool that
that have an interest in purchasing an automobile. Further, it     may provide confirmation on pricing, useful tips, and the
should be appreciated that the information provided via a          like. As will be discussed in FIG. 3B in further detail below,
consumer interface 304 and/or a manufacturer website may 20 the consumer interface 304 may include a used automobile
be very useful to consumers. For example, in the past,             seller interface 318 and a used automobile buyer interface
dealers often provided brochures with all the information on       320.
a manufacturer's available car models, including all the              In an example embodiment, a dealer interface 306 may
features and options information. However, dealers typically       provide a user 114, such as a dealer employee, information
do not provide comprehensive information brochures, which 25 relating to the current automobile market. The dealer inter-
may be relatively expensive to produce, and rather, that           face 306 allows a dealer to interact with automobile market
information is typically located on a manufacturer website         information processing system 302 to provide the dealer
and/or a consumer interface 304. It should also be appreci-        with a wide variety of information, including, for example,
ated that information on a manufacturer website and/or a           current market pricing. Other automobile market informa-
consumer interface 304 may be directed to both new and 30 tion a dealer may receive on a dealer interface 306 includes
used automobiles. For example, historical and statistical          information relating to lot inventory, turnover rates, auto-
information which demonstrates favorable safety ratings,           mobile transportation and/or shipping costs, incentives, and
quality and reliability data, low maintenance costs, low           various ratings, such as ratings relating to quality, safety,
insurance prices, low emissions, high gas mileage, etc. based      insurance, a consumer credit score, dealer ratings, residual
on specific models for specific years, and/or groups of 35 or resale values, etc. A dealer may input information into
models and years may be provided on a manufacturer                 dealer interface 306 relating to sales data, including current
website and/or a consumer interface 304.                           pricing offered, special sales offers, actual transaction data,
   Accordingly, the consumer interface 304 may provide a           inventory data, etc. In an example embodiment, the dealer
wide range of information, for example, based on any               may provide information through dealer interface 306 which
searches or queries performed by a user 114. In an example 40 will be used by automobile market information processing
embodiment, based on a user search or request for a                system 302 to prepare reports or offers to consumers and/or
response, the consumer interface 304 will display a quality        manufacturers. It should be appreciated that a dealer is
index or value index based on normalized calculations for an       typically a franchise entity, while a distribution location may
automobile. The recommendation engine 312 may provide              not be a franchise entity. For brevity, throughout this speci-
recommendations to a consumer based on the current auto- 45 fication, the term dealer may be used to describe both
mobile market data stored in the automobile market infor-          franchise entity dealers and non-franchise entity distribution
mation processing system 302. For example, metrics on gas          location. Accordingly, as used in this disclosure, the term
mileage, emissions, operating and maintenance costs, safety        dealer does not indicate whether an entity is a franchise
ratings, etc. may be benchmarked against comparable auto-          entity. Moreover, a franchise dealer or a non-franchise
mobiles of the same and different manufacturers. Similar 50 distribution location may utilize a dealer interface 306 as
purchase options to a specific search may also be provided,        described herein.
based on feature matching, price range, consumer popular-             In an example embodiment, a manufacturer interface 308
ity, etc. Information including price ranges, including            may provide a user 114, such as a manufacturer employee,
MSRP, invoice prices, inventory levels, the user's 114 credit      information relating to the current automobile market,
ratings (e.g., FICO score), may be provided which may 55 including consumer requests. For example, an manufacturer
include monthly payment estimates or projections. It should        interface 308 may provide a manufacturer a request received
be appreciated that such data may be provided for both new         from a consumer interface 304. Additionally, the manufac-
and used automobiles. For example, a financing calculator          turer interface 308 may provide information such as a report
may help a user 114 determine what financing rate is               that allows the manufacturer to provide a response to the
appropriate for an automobile purchase. It should be appre- 60 requesting consumer. A report may include information from
ciated that dealers may mislead consumers into believing           database system 310 relating to current market pricing,
that a higher financing rate will be required to secure a loan.    recent sales figures and trends, current manufacturer incen-
Further, for example, a lease vs. buy calculator may be            tives, current inventory, including dealer inventory, inven-
provided which may use current market data including               tory in transit, and/or build times or lead times for a desired
prices, interest rates, incentives, estimated mileage per year, 65 automobile, etc. The manufacturer may use this information
etc. for providing an analysis for a particular consumer           to provide a response to a consumer request. The manufac-
regarding purchasing or leasing. Also, the consumer inter-         turer may provide the manufacturer interface 308 with

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information to provide a confirmation, a verification, or an      For example, a used automobile buyer interface 322 may be
offer to a consumer via consumer interface 304. For               used by dealers similarly to the way that the used automobile
example, a confirmation number associated with the par-           buyer interface 320 may be used by consumers. It should be
ticular consumer request may be provided for the consumer.        appreciated that in an example embodiment, the used auto-
Also, a recommendation may be provided from the recom- 5 mobile buyer interfaces 320, 322 may be similar or the same,
mendation engine 312 to the manufacturer in relation to
                                                                  and/or may integrated as part of single website or applica-
automobile pricing, responding to a specific request, manu-
facturer incentives, inventory management, production             tion. In an example embodiment, a dealer may use the used
schedules, shipping schedules, etc. It should be appreciated      automobile buyer interface 322 to facilitate bringing a
that a manufacturer may be referred to as an OEM or               consumer in to purchase a new automobile based on pro-
original equipment manufacturer. Further, it should be IO viding a competitive bid to purchase a used automobile as a
appreciated that a manufacturer may include various related       trade in.
affiliate entities all doing business as, or operating under, the    A manufacturer interface 308 may include a used auto-
same manufacturer name. For example, a manufacturer               mobile off-lease interface 324. For example, a manufacturer
typically may include a manufacturing company (e.g., oper-        may use a manufacturer interface 308 primarily for facili-
ating the manufacturing plant), a sales company (e.g., aper- 15
                                                                  tating sales of new automobiles, however, the manufacturer
ating automobile sales activities), and a captive finance
company (e.g., operating financing and leasing activities).       interface 308 may also be used to facilitate selling off-lease
The manufacturer interface 308 may provide a manufacturer         automobiles   which have been returned by a consumer lessor
with a real-time lens into the automobile market which may        whose lease is expiring. For example, an off-lease seller
allow the manufacturer to adjust production schedules, pric- 20 interface 324 may be used by a manufacturer, typically, a
ing plans, marketing activities, etc., which may provide a        captive finance company of the manufacturer, similarly to
significant advantage for manufacturers.                          the way that the used automobile seller interface 318 may be
   As illustrated in FIG. 3B, a consumer interface 304 may        used by consumers. It should be appreciated that, a manu-
include a used automobile seller interface 318 and a used         facturer off-lease seller may have limited options to sell a
automobile buyer interface 320. The used automobile seller 25 used off-lease automobile and may have time constraints
interface 318 may be used by consumer sellers to sell used        that are may be typically imposed on a consumer seller of a
automobiles, while the used automobile buyer interface 320        used automobile. Typically, an off-lease automobile may be
may be used by consumers to buy used automobiles. It              dropped off by a consumer lessee at any one of a variety of
should be appreciated that consumers may be able to access        dealer locations. The manufacturer lessor may then wish to
both interfaces 318 and 320 from consumer interface 304. In 30 sell the used off-lease automobile, however, the dealer where
an example embodiment, the used automobile seller inter-          the off-lease automobile was dropped off may have a sig-
face 318 and a used automobile buyer interface 320 may be         nificant bargaining advantage to purchase that automobile,
integrated within a single website or application, or for         as the manufacturer may need to sell the off-lease automo-
example, may be implemented as distinct websites. Simi-           bile quickly and may have limited options. Typically, the
larly, in an example embodiment, a used automobile buyer 35 dealer may not offer the manufacturer off-lease seller full
interface 320 may be integrated with features of a consumer       market value for the off-lease automobile. It should be
interface 304 for searching both new and used automobiles         appreciated that the manufacturer off-lease seller may trans-
for purchase, or new and used automobiles may not be              port the car to an auction in an attempt to obtain a higher
simultaneously searchable on a particular implementation of       price. However, transportation costs, auction fees, and delay
a consumer interface 304. As will be discussed further 40 in selling the off-lease automobile may cause the manufac-
below, a used automobile seller interface 318 may be used         turer off-lease seller to accept less than market value for the
by a consumer seller of a specific used automobile to receive     off-lease automobile from the dealer, or otherwise not maxi-
information on the specific automobile and request bids for       mize the value of the off-lease automobile. For example,
the specific automobile. Similarly, a used automobile buyer       typically, an off-lease automobile sold at auction for near or
interface 320 may be used for used automobile buyers to 45 even above the current market value is significantly offset by
receive information on a used automobile and place a bid on       transportation costs and auction fees.
that specific automobile.                                            The off-lease seller interface 324 may provide a manu-
   It should be appreciated that, for example, a consumer         facturer off-lease seller with leverage, not only through the
seller of a used automobile may be considered different than      ability to obtain bids to purchase the off-lease automobile,
a dealer seller of a used automobile in some respects. For 50 but through the ability to determine the number of matches
example, a consumer seller of a used automobile is often          or search hits for an off-lease automobile. The dealer that has
selling through different channels, such as offering for sale     the off-lease automobile may know that the manufacturer
in classified advertisements versus from a dealer lot. It         may have the ability to track searches for the off-lease
should be appreciated that such differences may be relevant       automobile performed by consumers and/or other dealers.
to the ability to maximize the value of a sale or purchase of 55 The manufacturer off-lease seller may provide the dealer in
a used automobile. Accordingly, where appropriate, the            possession of an off-lease automobile with matches and/or
present disclosure may distinguish a consumer seller from a       bids, which may provide the dealer with firm evidence of
dealer seller, or distinguish a consumer buyer from a dealer      current demand or interest in the off-lease automobile. The
buyer. Also, as discussed in further detail below, a manu-        dealer may be able to use this information to determine an
facturer off-lease seller of a used automobile may also be 60 appropriate price, and possibly even more profitably than the
considered different from a consumer seller and/or a dealer       manufacturer. Accordingly, a dealer may often be inclined to
seller.                                                           make a significantly more competitive bid for an off-lease
   A dealer interface 306 may include a used automobile           automobile. It should be appreciated that the manufacturer
buyer interface 322. For example, a typical dealer may use        may use the off-lease seller interface 324 to identify in-
a dealer interface 306 primarily for facilitating sales of new 65 market buyers, and even without receiving bids from those
and used automobiles, however, the dealer interface 306           buyers, the manufacturer's bargaining power may improve,
may also be used to facilitate purchasing used automobiles.       resulting in a greater value for off-lease sales.

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   Accordingly, information may be provided to the auto-         facturers regarding pricing, inventory, insurance informa-
mobile market information processing system 302 from             tion, quality ratings, safety ratings, and other ratings is
consumers, dealers, and manufacturers with a very high           collected and stored in a database. For example, inventory
degree of granularity, as every transaction that occurs and      data may include data regarding off-lease automobiles,
even every request or search may be stored and used by the 5 including scheduled drop off dates of automobiles with
automobile market information processing system 302. This        expiring leases. In an example embodiment, a wide variety
allows the automobile market information processing sys-         of data is stored in a database system 310. Automobile
tem 302 to use the most current automobile market data to        market data may include various relevant ratings, reports,
provide information to consumers, dealers, and manufactur-       awards, or other information, including quality information,
ers. It should be appreciated that market prices can change 10
                                                                 safety information, insurance information, consumer credit
relatively quickly, particularly when major events drive
                                                                 information, dealer rating information, incentive informa-
consumer behavior or manufacturer production, such as
                                                                 tion, residual value information, and/or any other data which
natural disasters. Accordingly, reports and recommendations
provided by the automobile market information processing         may   be relevant to consumers. For example, ratings data
system 302 may be highly accurate, reliable, and sensitive to 15 may include information from the National Highway Traffic
market changes.                                                  Safety Administration (NHTSA), the Environmental Protec-
   It should be appreciated that the users 114 of the auto-      tion Agency (EPA), and/or the Insurance Institute for High-
mobile market information processing system 302, includ-         way Safety (IIHS). The data may include information from
ing consumers, dealers, and manufacturers, and buyers and        a consumer interface 304, such as data in consumer searches
sellers of new and used automobiles, may be required to 20 or requests, information from a dealer interface 306, such as
agree to and/or execute a terms of use agreement or terms of     currently offered dealer pricing, transaction data for final-
service agreement. Various forms of enforcing the agree-         ized sales, current inventory data, transport or shipping
ment may be implemented, including a transaction deposit         costs, and information from a manufacturer interface 308,
policy, which may require a deposit or a credit card hold, or    such as current manufacturer prices and suggested pricing,
the like, and a standard schedule of fees or default payment 25 manufacturer incentives, and current inventory including
schedule for infractions such as improper condition of an        finished inventory on hand, production scheduling, shipment
automobile, delay in delivery, etc. Accordingly, all parties     scheduling, inventory in transit, and manufacturing lead
may be protected from another party breaching the agree-         times. The automobile market data may be comprised solely
ment.                                                            of information received from the consumer interface 304,
   It should be appreciated that certain functions described 30
                                                                 dealer interface 306, and manufacturer interface 308, or may
as performed, for example, at automobile market informa-
                                                                 include additional information received from other sources,
tion processing system 302, may instead be performed
                                                                 for example, industry analysts, consumer reports groups,
locally at consumer interface 304, dealer interface 306, and
                                                                 government agencies, etc. It should be appreciated that
manufacturer interface 308, or vice versa. Further, in certain
cases, tasks may be performed using consumer interface 35        various  methods of storing the automobile market data may
304, dealer interface 306, and manufacturer interface 308 or,    be employed according to the system requirements. For
for example, performed in person, such as a consumer             example, database system 310 may be organized according
signing documents at a dealer location, or a dealer commu-       to different manufacturers or dealers, automobile make and
nicating with a manufacturer using a telephone. It should be     model, different information categories (e.g., suggested pric-
appreciated that the consumer interface 304, dealer interface 40 ing, market prices, production, shipping, lot inventory), etc.,
306, and manufacturer interface 308 may be implemented,          and may consist of one or more databases on one or more
for example, in a web browser using an HTML file received        servers 108, 226 which may be remotely located from each
from the automobile market information processing system         other and/or a host device 104 of the automobile market
302. In an example embodiment, the consumer interface            information processing system 302. As will be discussed
304, dealer interface 306, and manufacturer interface 308 45 further below, the automobile market data may be continu-
may be located on a website, and may further be imple-           ally updated as new data is provided to the automobile
mented as a secure website. Also, consumer interface 304,        market information processing system 302.
dealer interface 306, and manufacturer interface 308 may            The automobile market data may be used by any or all
require a local application, for example, which a manufac-       parties involved in a used automobile transaction, including
turer or dealer may pay for to have access to, for example, 50 used automobile sellers including consumer sellers and
information from the automobile market information pro-          manufacturer off-lease sellers, and used automobile buyers
cessing system 302 such as requests from consumers.              including consumer buyers and dealer buyers. In the
   FIG. 4 is a flowchart of an example process 400 for           example process 400, as discussed further below, the used
facilitating a used automobile transaction. Although the         automobile seller described by way of example as a con-
process 400 is described with reference to the flowchart 55 sumer seller. It should be appreciated that the example
illustrated in FIG. 4, it will be appreciated that many other    process 400 may work similarly or the same for a manu-
methods of performing the acts associated with the process       facturer off-lease seller. In an example embodiment, the
400 may be used. For example, the order of many of the           consumer used automobile seller interface 318 and manu-
blocks may be changed, certain blocks may be combined            facturer off-lease seller interface 324 may be provided as a
with other blocks, and many of the blocks described are 60 combined interface. Certain aspects of the disclosed
optional.                                                        example process 400 may be of greater or lesser advantage
   The example process 400 for facilitating a used automo-       to a manufacturer off-lease seller compared with a consumer
bile transaction may allow users 114 to efficiently sell and     seller. For example, consumer sellers typically sell used
purchase automobiles. The example process 400 may begin          automobiles infrequently, while manufacturer off-lease sell-
with automobile market data including at least pricing data 65 ers may be selling thousands of used off-lease automobiles
is stored in a database system (block 402). For example,         each month. Accordingly, the goals of the user 114 may vary
automobile market data from dealers, consumers, and manu-        between consumer sellers and manufacturer off-lease sellers.

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Certain notable aspects that may be distinguishable between     manufacturer off-lease seller may find that providing a
a consumer seller and manufacturer off-lease seller will be     request for a response prior to the consumer lessee actually
discussed below.                                                dropping off an off-lease automobile may significantly
   The example process 400 continues with a consumer            improve the value of off-lease automobiles. It should be
seller providing a request for a response (block 404). For 5 appreciated that the dealer where the consumer lessee drops
example, a used car seller takes a picture of the vehicle       off the off-lease automobile may be bargaining without any
identification number (VIN) of a used car and fills in price    particular advantage because the manufacturer off-lease
parameters and other information into a mobile application      seller may have multiple interested used automobile buyers
to receive a response based on current market data. In an       that, based on search parameters, have received the off-lease
example embodiment, the seller's request may be transmit- 10 automobile as a match, and/or bids from used automobile
ted from used automobile seller interface 318, 324 via the      buyers.
internet to the automobile market information processing           Used car buyers may perform a search with used auto-
system 302. For example, using an application stored on a       mobile buyer interfaces 320, 322, and may typically include
mobile device 103, the used car seller takes a picture of the   parameters limiting the search to a specific automobile type,
VIN on the used car and fills in a minimum bid price, 15 make, or model, certain options or features, a price range,
delivery parameters, etc. The seller's parameters may           and a pickup location or area. Further, for example, the
specify a pickup location by distance from an address, an       buyer may take a picture of a VIN anywhere or manually
area code, etc., which allows for matching the seller with      type in a VIN number, including at automobile trade shows,
buyers that are in-market. The picture of the VIN may be        mall displays, or anywhere new or used cars are for sale. The
processed using optical character recognition, which allows 20 buyer may even take a picture of a car parked in the street
the automobile market information processing system 302 to      as the buyer walks down the street. Any request or query
determine the make and model of the car, along with various     communicated from the consumer interface 304 may be
other characteristics of the car. Also, for example, the used   stored, for example, in database system 310, thereby updat-
car seller may take a picture of the odometer, and the          ing the automobile market information processing system
mileage may be determined using optical character recog- 25 302 with current automobile market data.
nition. It should be appreciated that the VIN may include          The example process 400 may continue with providing
human readable characters, a bar code, or any other graphi-     automobile market data to used automobile buyers based on
cal or machine readable information which acts as a vehicle     the consumer seller request (block 406). For example, a
identification number.                                          group of consumers and dealers receive a real-time report
   Also, the used car seller may input into a mobile appli- 30 including local used car sales data, inventory data, quality
cation or website a wide variety of additional information      and safety ratings data, insurance data, and gas mileage data
about the used car. For example, pictures of the used car may   of the specific used car which is identified based on the VIN.
be uploaded with the request. In an example embodiment,         The group of consumers and dealers that receive a real-time
pictures of the exterior, interior, dashboard, and/or odometer  report may be based on prior searches conducted by con-
may be provided. Also, for example, service records, own- 35 sumers on used automobile buyer interface 320 and searches
ership records, and other documents or information may be       conducted by dealers with used automobile buyer interface
included with a request. Further, a written description of the  322. In an example embodiment, a report may include
car may be provided. Accordingly, because the used car          quality information, safety information, insurance informa-
seller can provide information such as pictures, in addition    tion, recall information, EPA gas mileage and emissions
to information which the seller may not have access to, such 40 information, consumer credit information (e.g., buyer FICO
as the original manufacturer specifications of the used car,    score), dealer rating information, incentive information,
potential buyers may have access to a great deal of infor-      residual value information, and/or any other data which may
mation on the used car. Further, in an example embodiment,      be relevant to consumers and/or dealers. In an example
a mobile application may include the geolocation of a used      embodiment, a report may include a specific history infor-
car seller, so the seller does not need to enter such infor- 45 mation for the specific used car, such as a CARFAX report.
mation. Accordingly, the buyer may perform research, for        The request and/or the report may be provided in real-time
example, while at home or while shopping at a dealer            and may also provide real-time data. Data reported based on
location. It should be appreciated that certain used car        a real-time updates in the automobile market information
buyers may be highly interested in the geolocation of the       processing system 302 may provide significant advantages,
consumer seller. For example, a dealer may find the con- 50 for example, when pricing conditions may change quickly
sumer seller's geolocation to be more important than a          due to unforeseen market conditions. The recommendation
consumer buyer, because a dealer may require a minimal          engine 312 may provide recommendations to a used auto-
cost for picking up a car to ensure profitability, and to       mobile buyer based on the current automobile market data.
optimize the opportunity for creating a new customer rela-      For example, a report may indicate various estimated sales
tionship. Similarly, certain used automobile sellers may be 55 probabilities for different prices that the used automobile
very interested in the geolocation of the used automobile       buyer may offer or bid. In an example embodiment, a
buyer. For example, a manufacturer off-lease seller may         estimated sale price or range may be provided. For example,
have a high interest in determining the amount of in-market     a probability analysis may be provided with prices and
interest or demand for an off-lease automobile.                 corresponding probabilities may be estimated as, e.g., 80%
   In an example embodiment, a manufacturer off-lease 60 chance to purchase at $6,000; 60% chance to purchase at
seller may provide a request for a response for an automobile   $5,500; 30% chance to purchase at $5,000; 10% chance to
that will be dropped off by a consumer lessee in the near       purchase at $4,500. Such information may be illustrated in
future. For example, a manufacturer user 114 may input a        various ways, such as a bell curve graph or a chart. Further,
VIN into off-lease seller interface 324 by typing, speaking,    for example, the recommendation engine may provide daily
or providing an image of the VIN. The manufacturer off- 65 suggestions (e.g., a deal of the day) for dealers and/or
lease seller may provide a parameter that the used off-lease    consumers. Consumers may use such suggestions to save
automobile will be available only after a certain date. The     money or get a better value on a used car purchase by buying

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from another consumer rather than a dealer. Dealers may use      generally do not trust the sellers. It should also be appreci-
such suggestions to purchase used cars at good deals, and/or     ated that a buyer may not select any add-ons offered by third
to attract consumers to visit the dealer in person or online,    parties and/or the automobile market information processing
as well as prepare responses or bids to other consumer           system 302. A used automobile seller may have no interest
requests. Dealers or consumers may customize the used 5 in whether a buyer selects any add-ons, or the seller may
automobile buyer interface 320, 322 to provide information       receive additional compensation if an add-on is selected, so
in a pre-specified manner to suit the particular needs of the    a buyer selection of add-ons may or may not affect a seller's
specific dealer or consumer. In an example embodiment, a         value associated with the buyer's bid.
manufacturer off-lease seller may receive automobile mar-           One or more buyer bids are provided to the consumer
ket data including inventory information including data 10 seller (block 410). For example, several consumers and
regarding off-lease cars which have been dropped off at          dealers provide bids based on current pricing data, options
dealer locations and cars which will soon be coming off-         information of the specific used car, and potential pickup
lease. Further, dealers and/or consumers may be able to          locations, so several different prices and delivery options
receive information regarding off-lease cars as well. For        may be available to the used car seller via the used auto-
example, information may include a specific automobile 15 mobile seller interface 318. Typically, the bid will include at
identified by a VIN with an expected drop off location and       least a specified price and pickup time and location. In an
date based on a lease expiration.                                example embodiment, a used car seller that has taken a
   A bid to purchase the used automobile from the consumer       picture of a VIN with a mobile device and entered some
seller is requested from used automobile buyers (block 408).     basic information such as an odometer reading may receive
For example, a group of consumers and dealers within a 20 used car buyer bids within minutes or seconds on the mobile
certain radius of the used car seller location may receive a     device. Accordingly, the bids may be used in real-time as the
bid request based on used automobile buyer searches via          consumer seller may be actively selling a used car or
used automobile buyer interfaces 320, 322. Each used             shopping for a new or used car, for example, on a dealer lot.
automobile buyer's bid may include, for example, a price         Typically, a pickup location will be at the consumer seller
and a delivery option or delivery suggestion. The used 25 location, a consumer buyer location, or at a dealer lot or
automobile buyer interfaces 320, 322 may provide for             distribution location. In an example embodiment, the con-
simple input of necessary and optional data. Further, a used     sumer buyer location may be determined using the geolo-
automobile buyer's bid may contain certain limitations,          cation of the buyer's mobile device 103. It should be
restrictions, or conditions. For example, a dealer may pro-      appreciated that some consumers may be flexible as to the
vide a bid with the condition that a new car be purchased and 30 delivery options and that some dealers may have multiple
the used car be traded in at the bid price.                      locations which could serve as a pickup location. In an
   In an example embodiment, the request may provide one         example embodiment, the automobile market data may
or more options, products, services, or add-ons for a used       indicate that the particular used car that a consumer seller
automobile buyer to select from. For example, used auto-         has requested bids for should be priced at, for example,
mobile buyers may be able to select financing options, 35 $6,000. However, various factors may affect the bid or offer
warranties, extended service contracts, insurance plans, or      that a consumer or dealer may make for the specific used car.
other hard add accessories. These selectable options may be      For example, for a consumer, personal preference for certain
offered directly from the used automobile seller or may be       features or looks, convenience, insurance implications, gas
offered through the automobile market information process-       mileage, and/or service records, may play a large role in
ing system 302. Accordingly, a seller may not be offering 40 pricing a bid above or below a suggested bid price. For
any options for a buyer to select, but the system may            example, for a dealer, the potential for forming a customer
automatically provide the option to purchase further add-        relationship, the value of potential other sales, add-on prod-
ons. In an example embodiment, automobile market infor-          ucts, and/or services, or competition with other parties. All
mation processing system 302 may provide for third party         used automobile buyers that are interested may place a bid
providers of add-ons to provide live auction bids for a used 45 for a used car seller's consideration.
automobile buyer to select for inclusion in a bid. Accord-          It should be appreciated that various alternative delivery
ingly, for example, several insurance companies may pro-         options may be provided from several used automobile
vide a bid for key insurance, or several financial companies     buyers' bids, for example, based on preferences or param-
may provide bids for a loan. It should be appreciated that       eters indicated by the consumer seller of the used automo-
certain bids may depend on the particular buyer, so for 50 bile. For example, the used automobile seller interface 318
example, a buyer's credit or driving record may cause            may provide several different bids with different delivery
different buyers to receive different third party bids for       options and prices to the used car seller, for example, a price
add-ons. For example, a particular buyer may be able to          of $6,000 to drop off the car at an out of state dealer the next
increase a bid to purchase a used automobile if third party      day or a price of $5,500 to drop off the car at a local
add-ons are particularly advantageous, which may benefit a 55 consumer buyer location in five days. For example, a
consumer seller or manufacturer off-lease seller. For            consumer buyer may determine the cost of picking up the
example, a buyer may receive a better than expected interest     used car from the consumer seller and provide two pricing
rate and insurance price, and therefore be able to offer an      and delivery options, for example, $5,500 to pick up the
additional $1,000 to the seller, while staying within the        used car from the consumer seller or $5,800 to have the used
buyer's predetermined monthly budget. It should be appre- 60 car delivered to the consumer buyer's home. For example, a
ciated that third parties may include dealers which may be       manufacturer off-lease seller may review bid prices and
otherwise involved in a transaction. Also, in an example         delivery options on a number factors on used automobile
embodiment, the automobile market information processing         seller interface 324, but may be very interested in finding an
system 302 may provide at no charge to the buyers or sellers,    in-market buyer to eliminate transportation costs. A manu-
certain add-ons, such as a limited thirty day warranty. 65 facturer off-lease seller may often have somewhat different
Accordingly, the automobile market information processing        concerns than a consumer seller. For example, to meet a
system 302 may gain trust from buyers even if the buyers         quarterly budget, a manufacturer off-lease seller may be

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primarily interested eliminating a high back log of off-lease    select an offer with a specified price and delivery option on
cars even if selling cars at a significant discount is required. the used automobile seller interface 318, 324. The used car
   Further, for example, used automobile buyers may use          seller may have been weighing two or more different deliv-
information such as ratings data to optimize their bids. For     ery options, price differences, etc., based on the response(s)
example, if gasoline prices are increasing, mileage ratings 5 received through the used automobile seller interface 318,
for a particular car may dictate increasing or decreasing a      324. As noted above, the used automobile seller interface
bid. If a vehicle has very good gas mileage, and gas prices      318 may organize received bids and other helpful informa-
are skyrocketing, that car may have an increasing demand as      tion in a variety of ways, which may make the information
gas prices increase, or vice versa. Similarly, safety ratings of easier for a consumer seller to digest. It should be appreci-
vehicles may be important to consumer demand if high 10 ated that a consumer seller will typically want to deliver a
profile problems have appeared for a particular automobile       used car at a convenient location, often at or near the seller's
style, make, or model. As discussed above, various automo-       home. Accordingly, used automobile buyers may attempt to
bile market information may be used by a used automobile         provide delivery options tailored towards maximizing profit
buyer including safety information, insurance information,       and convenience, while still providing a superior bid to other
consumer credit information, dealer rating information, 15 used automobile buyers. By providing multiple bids with
incentive information, residual value information, and/or        different delivery options, the consumer seller may be
any other data which may be relevant.                            allowed to make extra money or save time based on the
   The used automobile seller interface 318, 324 may orga-       seller's particular situation. It should be appreciated that the
nize used automobile buyer bids based on a variety of factors    consumer seller selection of a bid may, for example, occur
and may provide supplemental information. For example, 20 simultaneously with the consumer seller and used automo-
certain buyer bids may be selected as the best options, all      bile buyer executing the sale or providing a deposit or down
buyer bids may be summarized, various additional ratings,        payment, or the like (see, e.g., block 414). Accordingly, in
reviews, or popularity information, special offers, etc. may     an example embodiment, once a consumer seller or manu-
also be provided to a consumer along with any used auto-         facturer off-lease seller selects a bid, the used automobile
mobile buyer bids. The recommendation engine 312 may 25 buyer has effectively purchased the car, and both parties do
provide recommendations to a consumer seller based on the        not need to worry about the other party backing out of the
current automobile market data. For example, of ten used         deal.
automobile buyer bids provided with a response, three bids          It should be appreciated that a consumer seller may not
may be recommended, for example, as "Great Deals!" It            want to drive to a distant pickup location without first
should be appreciated that in some cases, a particular used 30 receiving some form of deposit, or likewise, a used auto-
car seller request may not return any buyer bids, for            mobile buyer may not want to go to a distant pickup location
example, if the used car for sale is in low demand or a unique   to without assurance that the used automobile will actually
item with a limited market. Also, for example, if only one or    be available for pickup and in good working order. Like-
two bids are received, the recommendation engine 312 may         wise, a manufacturer off-lease seller may be concerned with
recommend that a consumer seller wait for a better bid 35 obtaining maximum value for an off-lease automobile within
because the bids provided are not competitive offers based       the required time constraints, but transportation costs may
on the current automobile market data stored in the database     be strictly budgeted. The automobile market information
system 310. Further, in an example embodiment, buyer bids        processing system 302 may accommodate for deposits to
may be organized according to distance to a pickup location,     provide any reasonable or necessary assurances to both
highest price, closest match to the consumer seller entered 40 buyers and sellers. For example, the automobile market
criteria, a normalized quality index or value index, etc. The    information processing system 302 may provide and/or
consumer seller or manufacturer off-lease seller may be able     require the use of a terms of service agreement, which the
to toggle between different viewing options for buyer bids.      consumer seller or manufacturer off-lease seller and the used
   Further, in an example embodiment, a consumer seller          automobile buyer may sign and agree to the terms provided
may be at a dealer lot (e.g., a Nissan dealer) and take a 45 therein. For example, a credit card could be charged a
picture of a VIN on a used car (e.g., a Maxima), which the       default payment in the event that either party breaches the
consumer seller intends to trade in. A bid from a competing      terms of service agreement. In an example embodiment, a
dealer (e.g., a Toyota dealer) across the street may be          schedule of various breaches may require different default
received on the mobile device within seconds and include         payments, for example, if a buyer determines a headlight
information for a competing trade in value, and may have 50 does not work, a standard $30 fee may be assessed from the
further information relating to other new or used cars which     consumer seller. Also, a variable default agreement may be
may be intended to cause the consumer seller to go to the        based on a distance between a seller and a buyer, so that a
competing dealer, for example, including various price com-      party which travels a great distance may be compensated if
parisons, gas mileage ratings, safety ratings, residual value,   the other party breaches the agreement. Also, for example,
driving directions to the competing dealer, etc. Accordingly, 55 a time period for inspection may be specified in a request
a consumer seller may weigh the pros and cons of various         and/or a bid. A bid may be conditional based on one or more
used automobile buyer bids from consumers and/or dealers,        seller representations. Moreover, a terms of service agree-
based on delivery options, pricing, and any other relevant       ment may provide assurances for any issues which may arise
variants. Any bids communicated from used automobile             in the sale of a used car, and may provide one or more
buyer interfaces 320, 322 may be stored, for example, in 60 options based on a breach, including payment of fees or
database system 310, to further update the automobile            nullification of a bid acceptance and/or sale execution. Any
market information processing system 302 with current            consumer seller selections, counter offers, or additional
automobile market data.                                          requests or responses may be stored in database system 310,
   The consumer seller selects a buyer bid including a price     as the communications are processed by automobile market
and a delivery option (block 412). For example, the used car 65 information processing system 302, providing further data
seller chooses to sell the used car based on the price and the   updates. Accordingly, in an example embodiment, a con-
pickup location of a consumer buyer bid. The seller may          sumer seller may select a bid in order to sell the used car, and

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that sale information may then be provided to another               the telephone, with the consumer seller or manufacturer
consumer searching for information regarding the same type          off-lease seller. For example, the used car buyer may arrive
of car with similar features, for example, the next day.            at the pickup location, show identification and provide a
   The consumer seller and the used automobile buyer                proof of purchase, and be provided the keys to the car by the
execute the sale of the used automobile (block 414). For 5 seller. The parties may sign paperwork indicating or con-
example, the used automobile buyer electronically signs a           firming the car has been picked up. Proof of purchase
contract and performs an electronic funds transfer or credit        documentation may include any or all documents that are
card payment. After a buyer bid is selected, an electronic          legally required for an automobile sale for a given jurisdic-
contract may be prepared by the automobile market infor-            tion, for example, the title, odometer statement, or any other
mation processing system 302 and provided for the used 10 document required by the Department of Motor Vehicles.
automobile buyer who may e-sign the contract or other               For example, the consumer seller or manufacturer off-lease
documentation as needed. Similarly, the consumer seller             seller may be required to provide any legally required
may e-sign the contract or other documentation as needed,           documents to fully execute and record the sale of the used
either prior to selecting a bid, at the time of selecting a bid,    car.
or at a later time. A contract may be e-signed through the 15          Further, in an example embodiment, a consumer seller or
used automobile seller interface 318, 324, and the used             manufacturer off-lease seller may offer various insurance
automobile buyer interface 320, 322, respectively. In               policies or service contracts to a used car buyer, for example,
another example embodiment, paper copies of a contract              etch insurance, key insurance, gap insurance, or a ninety day
may be signed, for example, after the used automobile buyer         warranty may be provided. For example, a consumer seller
prints them or receives them through the mail. In an example 20 or manufacturer off-lease seller may purchase insurance
embodiment, the used automobile buyer may provide cash              through the automobile market information processing sys-
or a paper check. It should be appreciated that the process of      tem 302 in placing a request for bids, which may increase
executing a contract may take some time. Also, it should be         interest from buyers. Also, for example, an insurance policy
appreciated that, for example, the consumer seller selection        or service contract may be provided for a used car being sold
of a bid discussed above (see, e.g., block 412) may occur 25 at no charge to the consumer seller or manufacturer off-lease
simultaneously with the consumer executing the sale. Once           seller, for example, as a convenience to all users 114 using
the sale is completed, the actual transaction data including        the disclosed system. For example, key insurance may be
the final sale price, may be provided to and stored in              provided at no cost to both the consumer seller and the used
database system 310. Accordingly, the automobile market             car buyer. It should be appreciated that, for example, using
information processing system 302 may be updated with 30 options provided through the automobile market informa-
current automobile market data from every step in the used          tion processing system 302, a consumer seller or manufac-
car sales process between a consumer seller or manufacturer         turer off-lease seller may sell or provide any add-on products
off-lease seller and a used automobile buyer. In an example         or services that a dealer would typically offer or provide in
embodiment, the updates provided to the automobile market           the sale of a used automobile. Also, if the used automobile
information processing system 302 are provided in real- 35 buyer is a dealer, additional products or services may be
time, for example, data may be transmitted and processed            offered to the consumer seller at the time of pickup. For
within seconds or minutes. Further, for example, it should be       example, the dealer may offer new or used cars, including
appreciated that certain data may be provided to the auto-          related financing options, warranties, service plans, insur-
mobile market information processing system 302 according           ance plans, and hard add accessories to the buyer, as
to a batch processing schedule.                                  40 discussed in further detail above.
   Next, the consumer seller makes the purchased used                  Accordingly, it should be appreciated that consumers,
automobile available according to the consumer seller bid           manufacturers, and dealers, may receive significant benefits
selection (block 416). For example, the seller drives the used      from the method of facilitating a used automobile transac-
car to the pickup location if the pickup location is not the        tion disclosed herein. Consumers that are selling and buying
used car seller's location. It should be appreciated that the 45 used automobiles may benefit from more competitive pric-
consumer seller or a manufacturer off-lease seller and the          ing, piece of mind knowing that a fair market price is being
used automobile buyer may use a wide variety of locations           offered for prospective purchases or sales, and improved
as a pickup location, and may work out a delivery option            delivery options that allow the consumer to weigh the
which is convenient for both parties. A consumer seller may         benefits and drawbacks of different delivery options, pricing,
interact with the automobile market information processing 50 and other variables. In an example embodiment, consumers
system 302 using used automobile seller interface 318, for          can view prices paid for comparable cars in specific loca-
example, to provide notification that a car is at the pickup        tions based on the automobile market data in the automobile
location and ready for delivery. A manufacturer off-lease           market information processing system 302, for example,
seller may interact with the automobile market information          within a certain time frame such as one month and within a
processing system 302 using used automobile seller inter- 55 certain proximity to the consumer. Manufacturers selling
face 324, for example, to provide notification that a car has       off-lease automobiles may benefit from reduced transporta-
been dropped off by a consumer lessee and is at the pickup          tion costs, saving auction fees, and an improved bargaining
location and ready for delivery to the buyer. Similarly, a          position with a dealer in possession of an off-lease automo-
notification may be sent via used automobile buyer interface        bile. For example, the ability to identify in-market buyers
322, 322 to the used car buyer that the used car is available 60 may be particularly advantageous to manufacturer off-lease
for pickup at the specified location.                               sellers, which may be able to identify matching searches of
   Finally, the used automobile buyer receives the purchased        in-market buyers. Also, dealers and/or various third parties
used automobile according to the consumer seller selected           may benefit from the opportunity to sell insurance, credit,
delivery option (block 418). For example, the used car buyer        service contracts, hard add accessories, and other add-ons
receives the used car at the pickup location the same day the 65 with used automobiles. Moreover, various inefficiencies in
sale is executed. The used car buyer may pick up the car            the automobile industry may be minimized utilizing the
without ever having to talk to or negotiate, in person or over      presently disclosed system and method.

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   FIG. 5 illustrates a block diagram of an example data             analyst data may include historical data 518 and statistical
architecture 500. In the example data architecture 500,              data 516 relating to safety or quality reports, efficiency data,
interface data 502, administrative data 504, and automobile          recall data, and the like for used automobiles, which may be
market data 506 interact with each other, for example, based         organized or re-organized under various categories of auto-
on user commands or requests. The interface data 502, 5 mobile market data 506 as time passes or as supplemental
administrative data 504, and automobile market data 506              data is provided to the automobile market information
may be stored on any suitable storage medium (e.g., server           processing system 302. It should be appreciated that a
226). It should be appreciated that different types of data          system administrator may load data into the automobile
may use different data formats, storage mechanisms, etc.             market information processing system 302 as it becomes
Further, various applications may be associated with pro- 10 available. For example, annual, quarterly, and/or monthly
cessing interface data 502, administrative data 504, and             reports relating to safety, insurance, etc., may be input into
automobile market data 506. Various other or different types         automobile market data 506 on a regular basis. It should also
of data may be included in the example data architecture             be appreciated that automobile market data 506 may be
500.                                                                 tailored for a particular manufacturer and/or dealer, for
   Interface data 502 may include input and output data of 15 example, a manufacturer may request that a specific type of
various kinds. For example, input data may include mouse             data that is not normally stored or used be stored in the
click data, scrolling data, hover data, keyboard data, touch         database system 310. Accordingly, for example, customized
screen data, voice recognition data, etc., while output data         reports may be provided to a manufacturer interface 308
may include image data, text data, video data, audio data,           using that specific data for the manufacturer, for example,
etc. Interface data 502 may include formatting, user inter- 20 relating to resale values of used automobiles.
face options, links or access to other websites or applica-             The integration of the various types of automobile market
tions, and the like. Interface data 502 may include applica-         data 506 received from the consumer interface 304, dealer
tions used to provide or monitor interface activities and            interface 306, and manufacturer interface 308 may provide
handle input and output data.                                        a synergistic and optimal resource for consumers, dealers,
   Administrative data 504 may include data and applica- 25 and manufacturers alike. In an example embodiment, a used
tions regarding user accounts. For example, administrative           automobile seller and a used automobile buyer may benefit
data 504 may include information used for updating                   greatly from using an application in a mobile device 103 to
accounts, such as creating or modifying consumer accounts            provide a request for buyer bids on a used automobile by
and/or dealer accounts. Further, administrative data 504 may         taking a picture of the VIN of the used automobile, for
include access data and/or security data. Administrative data 30 example, using used automobile seller interface 318, 324.
504 may include a terms of service agreement. Administra-            Used automobile buyers may search for used automobiles
tive data 504 may interact with interface data in various            for sale by consumer sellers, for example, using used
manners, providing a user interface 304, 306, 308 with               automobile buyer interface 320. The used automobile buyers
administrative features, such as implementing a user login           may receive intrabrand and/or interbrand seller request
and the like.                                                     35 information in real-time. The intrabrand and interbrand
   Automobile market data 506 may include, for example,              information provided on the used automobile buyer interface
executed sales data 508, consumer data 510, dealer data 512,         320 may allow the best automobile options for a particular
manufacturer data 514, statistical data 516, and/or historical       consumer to be provided to that consumer, and may allow
data 518. Executed sales data 508 may include actual                 consumer sellers, manufacturer off-lease sellers, and dealers
negotiated prices for manufacturer and dealer sales, differ- 40 to compete with each other taking into account a greater
ences in list prices to negotiated prices, sales demographics,       amount of automobile market information, which may result
etc. Consumer data 510 may include consumer search activ-            in a more efficient automobile market. Consumers that are
ity, consumer requests and offers, consumer feedback, etc.           selling used automobiles and consumers that are buying
Dealer data 512 may include dealer pricing, including list           used automobiles may similarly receive benefits from the
prices, sale prices for limited time dealer offers or deals of 45 presently disclosed system. Also, as discussed above, manu-
the day, negotiation information such as bottom line pricing,        facturer off-lease sellers may benefit greatly from the pres-
offers received, foot traffic activity, and dealer inventory         ently disclosed system, for example, using bids and/or
data, including current on location data, automobile turnover        matches or search hits for an off-lease automobile to
rates, etc. Manufacturer data 514 may include manufacturer           improve bargaining power with a dealer in possession of the
pricing, including suggested pricing, preferred dealer pric- 50 off-lease automobile and other dealers and/or consumers.
ing, etc., manufacturer incentives including cash rebates,              Automobile market data 506 may be maintained in vari-
special lease rates, special APR rates, zero down offers,            ous servers 108, in databases or other files. It should be
lifetime warranties, guaranteed trade-in offers, etc., and           appreciated that, for example, a host device 104 may
inventory information including dealer inventory, inventory          manipulate automobile market data 506 in accordance with
by location, inventory in transit, manufacturing or produc- 55 the administrative data 504 and interface data 502 to provide
tion lead times or build times, production scheduling, ship-         requests or reports to users 114 including consumers, deal-
ping scheduling, lease information, etc. Statistical data 516        ers, and manufacturers, and perform other associated tasks.
may include information used for providing reports includ-           It should also be appreciated that automobile market data
ing graphs, forecasts, recommendations, calculators, depre-          506 represents automobile market information, and that
ciation schedules, tax information, etc., including equations 60 these terms may be used interchangeably in this disclosure
and other data used for statistical analysis. Historical data        depending upon the context.
518 may include past sales data, such as historical list prices,        FIG. 6 is flow diagram illustrating an example process
actual sale prices, manufacturer and dealer margins, oper-           600 for facilitating a used automobile transaction, according
ating costs, service costs or profitability, loyalty information,    to an example embodiment of the present invention.
etc. It should be appreciated that data may fall under one or 65 Although the process 600 is described with reference to the
more categories of automobile market data 506, and/or                flow diagram illustrated in FIG. 6, it will be appreciated that
change with the passage of time. For example, industry               many other methods of performing the acts associated with

                                                           Appx999
              Case: 23-1362                Document: 30              Page: 187           Filed: 12/05/2023


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                             23                                                                 24
the process 600 may be used. For example, the order of            tion processing system 302 receives and processes buyer
many of the blocks may be changed, certain blocks may be          bids and prepares the bids and automobile market data for
combined with other blocks, and many of the blocks                the consumer seller or manufacturer off-lease seller (block
described are optional.                                           614).
   In the example process 600, data may flow between the 5           The automobile market information processing system
automobile market information processing system 302 and a         302 may send buyer bids and automobile market informa-
used automobile seller interface 318, 324 and a used auto-        tion to the used automobile seller interface 318, 324 (block
mobile buyer interface 320, 322, as discussed above based         616). It should be appreciated that automobile market infor-
on used automobile seller and buyer interaction with the          mation may be provided to the consumer seller or manu-
automobile market information processing system 302. As 10 facturer off-lease seller before buyer bids are provided,
discussed above, a used automobile seller interface 318 and       and/or concurrently with buyer bids. The seller may receive
used automobile buyer interface 320 may be included in a          the buyer bids and automobile market information and may
consumer interface 304, a used automobile buyer interface         select a bid including a delivery option based on the auto-
322 may be included a dealer interface 306, and a used            mobile market information (block 618). The used automo-
automobile seller interface 324 may be included in a manu- 15 bile seller interface 318, 324 may send to the automobile
facturer interface 308. It should be appreciated that the         market information processing system 302 a selection of a
automobile market information processing system 302 may           bid indicating that the consumer seller or manufacturer
update the automobile market information stored in the            off-lease seller wants to sell the used automobile based on
database system 310 when automobile market information is         the selected bid (block 620). The automobile market infor-
received from a buyer or seller, and/or a consumer, a dealer, 20 mation processing system 302 receives and processes the
a manufacturer, an industry analyst, and/or from any other        seller bid selection (block 622). For example, the automobile
information source. Accordingly, the automobile market            market information processing system 302 may send the bid
information may remain current and/or provide sufficiently        selection to the used automobile buyer interface 320, 322
recent data for the benefit of consumers, dealers, and/or         (block 624). The used automobile buyer may receive the bid
manufacturers.                                                 25 selection and coordinate a sale by, for example, setting up a
   The example process 600 may begin with a consumer              pick up time and location for the used automobile at the
seller or a manufacturer off-lease seller of a used automobile    seller location or the buyer location (block 626). Also, for
taking a picture of the VIN using a mobile phone application      example, the automobile market information processing
and entering in information such as pricing parameters            system 302 may provide contract or loan documents, collect
(block 602). The used automobile seller interface 318, 324 30 a deposit or down payment, or the like, from the consumer
may use OCR to determine and provide the VIN and pricing          seller, the manufacturer off-lease seller, and/or the used
parameters to the automobile market information processing        automobile buyer. As discussed above, in each of blocks
system 302 as a consumer seller request or a manufacturer         606, 614, and 622, the automobile market information
off-lease seller request (block 604). It should be appreciated    processing system 302 may update the automobile market
that OCR may occur in the automobile market information 35 information in the database system 310 based on the infor-
processing system 302 or at the used automobile seller            mation received from the consumer, manufacturer, and/or
interface 318, 324. The automobile market information             dealer.
processing system 302 receives the seller request and pre-           For exemplary purposes, the present disclosure discusses
pares automobile market information based on the seller           a various examples relating to a purchase of a used car.
request (block 606). The automobile market information 40 However, it should be appreciated that the disclosed system,
processing system 302 may send a bid request and automo-          methods, and apparatus may be advantageously used in
bile market information based on the seller request to the        relation to various used automobiles other than cars includ-
used auto buyer interface 320, 322 for one or more con-           ing, for example, trucks, vans, sport utility vehicles, jeeps,
sumers and/or dealers (block 608). It should be appreciated       motorcycles, commercial vehicles, and/or automobiles that
that while the seller request is automobile market informa- 45 have a VIN and require a license plate to operate.
tion, typically, additional automobile market information            It will be appreciated that all of the disclosed methods and
would be provided with the seller request. For example,           procedures described herein can be implemented using one
typically, data relating to recent sales of similar used auto-    or more computer programs or components. These compo-
mobiles and/or comparable automobiles may be provided. In         nents may be provided as a series of computer instructions
an example embodiment, a target price or "true" value of the 50 on any conventional computer-readable medium, including
used automobile, or an expected price range, may be pro-          RAM, ROM, flash memory, magnetic or optical disks,
vided. Also, for example, various gas mileage data, safety        optical memory, or other storage media. The instructions
ratings, recall information, quality reports, estimated insur-    may be configured to be executed by a processor, which
ance costs, and the like may be provided. Further, add-on         when executing the series of computer instructions performs
products or services, such as insurance, credit, warranties, 55 or facilitates the performance of all or part of the disclosed
service contracts, or hard add accessories, which may be          methods and procedures.
determined based on a third party bidding process, may also          Further, it will be appreciated that the presently disclosed
be provided. One or more used automobile buyers, including        system, methods, and apparatus for performing used auto-
consumers and/or dealers, receive the bid request and auto-       mobile transactions may be utilized in conjunction with
mobile market information, determine prices and delivery 60 other systems or methods. For example, the presently dis-
options for the used automobile using the automobile market       closed system, methods, and apparatus may be used in
information, and prepare and provide bids for the consumer        conjunction with the disclosure in the co-pending com-
seller or a manufacturer off-lease seller (block 610). A buyer    monly-owned patent applications filed on Jul. 5, 2011,
bid may be sent from the used automobile buyer interface          entitled "AUTOMOBILE TRANSACTION FACILITA-
320, 322 to the automobile market information processing 65 TION USING A MANUFACTURER RESPONSE," appli-
system 302 for each consumer and/or dealer that wants to          cation Ser. No. 13/176,497, and entitled "AUTOMOBILE
provide a bid (block 612). The automobile market informa-         TRANSACTION FACILITATION BASED ON CUS-

                                                         Appx1000
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                               25                                                                     26
TOMER SELECTION OF A SPECIFIC AUTOMOBILE,"                                   10. The method of claim 1, further comprising:
application Ser. No. 13/176,525, the entire contents of each                 storing, on a computer readable medium, automobile
of which is incorporated by reference herein, and in an                         market data that is representative of recent automobile
example embodiment, the features of which may be com-                           market characteristics, wherein the automobile market
bined with the features of the present disclosure.                              data is based on real-time automobile market data.
   It should be understood that various changes and modi-                    11. The method of claim 1, wherein the first request
fications to the example embodiments described herein will                includes a picture of at least one of the exterior of the
be apparent to those skilled in the art. Such changes and                 automobile, the interior of the automobile, the dashboard of
modifications can be made without departing from the spirit               the automobile, the odometer of the automobile, service
and scope of the present subject matter and without dimin- 10 records of the automobile, and ownership records of the
ishing its intended advantages. It is therefore intended that             automobile.
such changes and modifications be covered by the appended                    12. The method of claim 1, wherein the first request
claims.                                                                   includes data provided with at least one graphical user
                                                                          interface component.
   The invention is claimed as follows:                                15    13. The method of claim 1, wherein the first request
   1. A method comprising:                                                includes at least one price parameter.
   receiving, via a used automobile consumer seller inter-                   14. The method of claim 1, further comprising:
      face, a first request for a response regarding a first used            storing, on a computer readable medium, pricing data
      automobile, the first request made by a consumer used                     including used automobile data and new automobile
      automobile seller located at a first location and includ- 20              data, including actual prices of executed transactions,
      ing a vehicle identifier and geolocation information of                   dealer listing prices, dealer sale prices, manufacturer
      the consumer used automobile seller;                                      incentives, dealer bids, consumer bids, and consumer
   executing instructions, by at least one processing device,                   pricing parameters.
      to:                                                                    15. The method of claim 1, further comprising executing
      determine, based on the geolocation information, that 25 instructions, by the at least one processing device, to:
          the consumer used automobile seller is located at the              process the consumer used automobile seller selection of
          first location;                                                       the first bid to facilitate executing a sale including at
      generate, based on the determined first location, an                      least one of providing for electronic signature of docu-
          in-market used automobile buyer area;                                 ments and providing for an electronic funds transfer.
      determine that at least one used automobile buyer is 30                16. The method of claim 1, wherein an add-on, including
          located within the in-market used automobile buyer              at least one of insurance, financing, a service contract, a
          area;                                                           warranty, and a hard-add accessory, is provided by a third
      receive, via a used automobile buyer interface, a first             party to the first used automobile buyer with the first request,
          bid from a first used automobile buyer located at a             via the used automobile buyer interface, wherein the third
          second location within the in-market used automo- 35 party is different from the consumer used automobile seller
          bile buyer area;                                                and the first used automobile buyer.
      generate, based on receiving the first bid, driving                    17. The method of claim 16, wherein the add-on is
          directions from the first location to the second loca-          selected for inclusion in the first bid by the first used
          tion; and                                                       automobile buyer.
      provide, via the used automobile consumer seller inter- 40             18. The method of claim 1, further comprising executing
          face, the first bid including at least a price for the first    instructions, by the at least one processing device, to:
          used automobile and the driving directions from the                receive, via the used automobile buyer interface, a second
          first location to the second location.                                bid from a second used automobile buyer located at a
   2. The method of claim 1, further comprising:                                third location within the in-market used automobile
   receiving, via a used automobile consumer seller inter- 45                   buyer area;
      face, a consumer used automobile seller selection of the               generate, based on receiving the second bid, second
      first bid, wherein the consumer used automobile seller                    driving directions from the first location to the third
      selection indicates a consumer used automobile seller                     location; and
      intention to sell the first used automobile based on the               provide, via the used automobile consumer seller inter-
      first bid to the first used automobile buyer.                    50       face, the second bid including at least a second price for
   3. The method of claim 1, wherein the first request is made                  the first used automobile and the second driving direc-
by the consumer used automobile seller on a website.                            tions from the first location to the third location.
   4. The method of claim 1, wherein the vehicle identifier                  19. A system comprising:
is manually entered by the consumer used automobile seller.                  a computer readable medium storing instructions;
   5. The method of claim 1, wherein the first request is made 55            at least one processing device operably coupled to the
by the consumer used automobile seller using a mobile                           computer readable medium, the at least one processing
device which takes a picture of a vehicle identifier.                           device executing the instructions to:
   6. The method of claim 5, wherein the vehicle identifier                     receive, via a used automobile consumer seller inter-
is recognized using optical character recognition.                                 face, a first request for a response regarding a first
   7. The method of claim 1, wherein the first request is made 60                  used automobile, the first request made by a con-
by the consumer used automobile seller using a mobile                              sumer used automobile seller located at a first loca-
device including a microphone, and the vehicle identifier is                       tion and including a vehicle identifier and geoloca-
input via the microphone.                                                          tion information of the consumer used automobile
   8. The method of claim 7, wherein the vehicle identifier                        seller;
is recognized using speech recognition.                                65       determine, based on the geolocation information, that
   9. The method of claim 1, wherein the first used automo-                        the consumer used automobile seller is located at the
bile buyer is one of a consumer and a dealer.                                      first location;

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      generate, based on the determined first location, an                    ing a vehicle identifier and geolocation information of
         in-market used automobile buyer area;                                the consumer used automobile seller;
      determine that at least one used automobile buyer is                 determine, based on the geolocation information, that the
         located within the in-market used automobile buyer                   consumer used automobile seller is located at the first
         area;                                                        5       location;
      receive, via a used automobile buyer interface, a first              generate, based on the determined first location, an in-
         bid from a first used automobile buyer located at a                  market used automobile buyer area;
         second location within the in-market used automo-                 determine that at least one used automobile buyer is
         bile buyer area;                                                     located within the in-market used automobile buyer
   generate, based on receiving the first bid, driving direc- 10
                                                                              area;
      tions from the first location to the second location; and
                                                                           receive, via a used automobile buyer interface, a first bid
      provide, via the used automobile consumer seller inter-
                                                                              from a first used automobile buyer located at a second
         face, the first bid including at least a price for the first
         used automobile and the driving directions from the                  location within the in-market used automobile buyer
         first location to the second location.                       15
                                                                              area;
   20. A non-transitory computer readable medium storing
                                                                           generate, based on receiving the first bid, driving direc-
instructions which, when executed, are configured to cause                    tions from the first location to the second location; and
an information processing apparatus to:                                    provide, via the used automobile consumer seller inter-
   receive, via a used automobile consumer seller interface,                  face, the first bid including at least a price for the first
      a first request for a response regarding a first used 20                used automobile and the driving directions from the
      automobile, the first request made by a consumer used                   first location to the second location.
      automobile seller located at a first location and includ-                                 * * * * *




                                                              Appx1002
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                                                                                                                         US009626704B2


c12)   United States Patent                                                                    (IO) Patent No.:     US 9,626,704 B2
       Seergy et al.                                                                           (45) Date of Patent:    *Apr. 18, 2017

(54)   AUTOMOBILE TRANSACTION                                                             (58)      Field of Classification Search
       FACILITATION BASED ON A CUSTOMER                                                             CPC ....................... G06Q 30/0206; G06Q 30/0601
       SELECTION OF A SPECIFIC AUTOMOBILE
                                                                                                                           (Continued)
(71)   Applicant: Sidekick Technology LLC, Pine Brook,
                  NJ (US)                                                                 (56)                               References Cited

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                 NJ (US)
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( *)   Notice:         Subject to any disclaimer, the term ofthis
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                       This patent is subject to a terminal dis-                                                                (Continued)
                       claimer.
                                                                                          Primary Examiner - Brandy A Zukanovich
(21)   Appl. No.: 14/868,091
                                                                                          (74) Attorney, Agent, or Firm - K&L Gates LLP
(22)   Filed:          Sep. 28, 2015
                                                                                          (57)                                 ABSTRACT
(65)                     Prior Publication Data                                           A system, methods, and apparatus for performing automo-
       US 2016/0155168 Al              Jun. 2, 2016                                       bile transactions are disclosed. In an example embodiment,
                                                                                          automobile market data representative of current automobile
                Related U.S. Application Data                                             market characteristics is stored. The automobile market data
(63)   Continuation of application No. 14/293,665, filed on                               may include pricing, inventory, and consumer interest infor-
       Jun. 2, 2014, now Pat. No. 9,147,216, which is a                                   mation received from dealers, manufacturers, and consum-
                                                                                          ers. A consumer may provide a request for a response
                        (Continued)
                                                                                          regarding a specific automobile using an image of a vehicle
                                                                                          identification number or a graphical user interface. Automo-
(51)   Int. Cl.
                                                                                          bile market data may be provided to a dealer based on the
       G06Q 30/00                 (2012.01)
                                                                                          request. Bids to sell the specific automobile may be
       G06Q 30/06                 (2012.01)
                                                                                          requested from dealers based on the request. Dealer bids
                            (Continued)                                                   may be provided to the consumer with prices and a delivery
(52)   U.S. Cl.                                                                           options. The consumer may select a bid which specifies a
       CPC .........     G06Q 30/0611 (2013.01); G0JC 21134                               pickup location at a first dealer.
                            (2013.01); G06Q 30/06 (2013.01);
                           (Continued)                                                                          38 Claims, 7 Drawing Sheets

                                                            300----,.

                                                                                                                      302

                                                      Automobi!e Market Information Processing System

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                                                                        ~o                                    ~2



                                                                        314
                                                  Vehicle Identification
                                                                                          Interface Generation Unit
                                                   Number Processor




                                                                                            306                        308


                                               Consumer                        Dealer                   Manufacturer
                                                Interface                     Interface                   Interface




                                                User 114                      User 114                    User114




                                                                    Appx1003
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                                                                     Page 2


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(58)   Field of Classification Search                                         2009/0187513 Al      7/2009   Noy et al.
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                                                                   Computing Device                                             •
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                                     and/or other input
                                         device(s)                                                                              =~

                                                                     220        Network
                                                                                device

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                 Display             speaker(s), and/or       CD(s), DVD(s),                      Databases, programs,
                                        other output            and/or other                   files, configuration, index,
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                                                            Fig. 2                                                              =~


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                                                                          ;   302

               Automobile Market Information Processing System
                           1   310                                /312

           Database System                       Recommendation Engine


                           ;   314                                /316
          Vehicle Identification
                                                 Interface Generation Unit
           Number Processor


           Al                           a                            il




           '   .   /304                 H'   /306                    H    / 3 08


       Consumer                       Dealer                   Manufacturer
        Interface                    Interface                  Interface




       User 114                      User 114                    User 114




                                     Fig. 3




                                     Appx1007
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                                          Start                  ;-400
                                                                                  402
    Automobile market data including at least pricing data and inventory data is
      stored in a database system (e.g., data from dealers, consurners, and
   manufacturers, regarding pricing, lot inventory, turnover rates, transport costs,
    and quality, safety, and other ratings is collected and stored in a database)
                                                                                  404
   A request for a response regarding an automobile is received from a consumer
   (e.g., a car buyer fills in a request form on a website or takes a picture of a VIN
            at a dealer to receive a response based on current mar·ket data)
                                                                                  406
   Automobile market data is provided to dealers based on the consumer request
    (e.g., a group of dealers receives a real-time report including local car sales
    data, inventory data, ratings data, and transport cost data of the subject car)
                                                                                  408
   A bid to sell tr1e automobile to the consumer is requested from dealers (e.g., a
     group of dealers within a certain radius of the buyer receive a bid request)


    Dealer bids are provided to the consumer (e.g., several dealers provide bids
  based on current pricing data, dealer pickup locations, and potential add-ons, so
   several different prices and delivery options may be available to the car buyer)
                                                                                  412
  The consumer selects a bid including a delivery option which specifies a pickup
   location (e.g., the car buyer chooses to pickup at a nearby dealer in five days)
                                                                                  414
  The dealer provides t~1e automobile al the dealer according lo the consurr1er bid
   selection (e.g., the dealer notifies a commonly owned dealer that the car must
   be transported to the dealer pickup location for delivery in less than five days)
                                                                                  416
  The consumer and dealer execute the sale of the autornobile (e.g., ihe car buyer
     e-signs a loan application and contract, and electronically transfers funds)



                Fig. 4A                 Fig. 4B




                                         Appx1008
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                                      C Fig. 4A      l
                                                              ;-400


                                             •
       The dealer makes the purchased automobile available according to the
                                                                                /418

    consurner bid selection (e.g., the dealer transports the car from the cornrnonly
    owned dealer location to the dealer pickup location selected by the car buyer if
             the car is not already located at tile dealer pickup location)

                                             ~                                  ;-420
     The consumer picks up the purchased automobile according to ti1e consumer
    selected delivery option at ti1e dealer (e.g., the car buyer picks up the car at the
                 nearby dealer five days after the car sa!e is executed)


                                       Fig. 48




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                                          r-500
                         I     502                                                I     504
        Interface Data                                     Adrninistrative Data

                                  --            --
   B G        ,.
                                                         Account
                                                       Information

                                                                       •
                                                                           Access and
                                                                            Security



              1'                         r-·-- 506                    1.


                             Automobile Market Data

                         ,508                                        ,510


         Executed Sales Data                            Consumer Data



                         /512                                        /514


              Dealer Data                              Manufacturer Data



                         ,516                                        ,518


            Statistical Data                            Historical Data




                                       Fig. 5




                                        Appx1010
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                                                                                                                                                              e
                                                                                                                                                              •
           600 \              ;-304                                                        ;-302                                                              00
                                                                                                                                            ;-306             •
                                                               I                                                       I     '                                ~
                                                               I                                                       I     !\
                                                                                                                                                              ~
                                                                                                1606 608 ~ I                 !\                    1610       ~
                                                                                                          ~--         '~~· '                                  ~
                            602 6~04                       L. . . . J\                System receives             Bid request\        Dealers receive bid
           Consumer takes a I                    Consumer \                             request and                and auto \                                 ~
                                                                                                                                          request and         =
            picture of a VIN                      Request /                               prepares                  market     /      automobile market
                                                                       I
                                                                           /         automobile market            information/           information to
                                                                   I

                                                                                     data based on the                 I
                                                                                                                             i/        determine prices
                                                                                                                             !/                               >
                                                                                                                                                             "e
                                                                                           request                     I     [/           and delivery
                                                                                                                       I                                      :-:
                                                                                                                       I                options for the       ....
                                                                                                                       I                                     ,..CIO
                                                                                                                       I                automobile and
                                                                                                                                                              N
                                                                                                                                          prepare and         0
                                                   1,14
                                                                                    ~---·r::: 614 /L............L.~ 2
                                                                                                              I
                                                                                                                                      provide bids for the
                                                                                                                                                              ....
                                                                                                                                                              -....J
                                                                                      System receives     (        Dealer bid
                                             /        1        ,
                                                              c616
                                         I            ,.-•••
                                                           L.                  I                                                           consumer
                                                                                       and processes          \\~----
                        /618         I
                                      / Dealer bids                                   dealer bids and
                                    /    and auto                                                                                                             rJJ
           Consumer receives                                                         prepares bids and
                                                                                                                                                              ('D
                                                                                                                                                              =-
                                    \      market                                    automobile market                                                        ('D
             dealer bids and                                                                                                                                  .....
                                      \ information                                  data for consumer                                                        -....J




Appx1011
           automobile market             '
                                                                                                                                                              0
             information and                     \i\'I                                                                                                        ....
                                                   ~                                                                                                          -....J
               selects a bid
           including a delivery
             option based on       620                                                              622                                                626
           automobile market                                                          System receives     624 ~.L.·-·-··J\            Dealer receives bid
                                                  Selection                          and processes bid    I        Selection , )        selection and
                information
                                                                                         selection                                    coordinates a sale
                                                                                                                                  V
                                                                                                                                                              d
                                                                                                                                                              r.,;_
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                                                                                                                                                              0--,
                                                                                                                                                              N
                                                                                                                                                              0--,
                                                                                                                                                             ~
                                                                                         Fig. 6                                                               =
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                                                    US 9,626,704 B2
                              1                                                                   2
         AUTOMOBILE TRANSACTION                                     a graphical user interface. Automobile market data may be
     FACILITATION BASED ON A CUSTOMER                               provided to a dealer based on the request. Bids to sell the
    SELECTION OF A SPECIFIC AUTOMOBILE                              specific automobile may be requested from dealers based on
                                                                    the request. Dealer bids may be provided to the consumer
     PRIORITY CLAIM AND CROSS REFERENCE                         5   with prices and a delivery options. The consumer may select
           TO RELATED APPLICATIONS                                  a bid which specifies a pickup location at a particular dealer.
                                                                       Additional features and advantages of the disclosed
   This application is a continuation of U.S. patent applica-       method and apparatus are described in, and will be apparent
tion Ser. No. 14/293,665, filed Jun. 2, 2014, which is a            from, the following Detailed Description and the Figures.
continuation of U.S. patent application Ser. No. 13/176,525, 10
filed on Jul. 5, 2011, which is related to the commonly-                       BRIEF DESCRIPTION OF THE FIGURES
owned patent application, also filed on Jul. 5, 2011, entitled
"AUTOMOBILE             TRANSACTION              FACILITATION            FIG. 1 is a high level block diagram of an example
USING A MANUFACTURER RESPONSE," U.S. applica-                         network communicating system, according to an example
tion Ser. No. 13/176,497, the entire content of each of which 15 embodiment of the present invention.
is incorporated by reference herein.                                     FIG. 2 is a detailed block diagram showing an example of
                                                                      a computing device, according to an example embodiment
                        BACKGROUND                                    of the present invention.
                                                                         FIG. 3 is a block diagram showing an example automobile
   In the automobile industry, consumers typically purchase 20 transaction network structure, according to an example
automobiles from dealers or dealerships. Dealers often pur-           embodiment of the present invention.
chase new automobiles from several manufacturers, to sell                FIGS. 4A and 4B include a flowchart illustrating an
to consumers. Consumers typically negotiate a lower price             example process for facilitating an automobile transaction,
than the manufacturer suggested retail price typically                according to an example embodiment of the present inven-
referred to as the "sticker price" and/or the price the dealer 25 tion.
initially offers. In many cases, the negotiation process for an          FIG. 5 is a block diagram showing an example data
automobile may include a large degree of uncertainty for the          architecture, according to an example embodiment of the
consumer. Generally, the negotiation process is a zero sum            present invention.
process, and because the consumer and the dealer are each                FIG. 6 is flow diagram illustrating an example process for
trying to get a better deal, there is typically some lack of trust 30 facilitating an automobile transaction, according to an
during the negotiation. Accordingly, both dealers and con-            example embodiment of the present invention.
sumers often base the negotiations on established market
prices. However, market prices can fluctuate rapidly depend-                  DETAILED DESCRIPTION OF EXAMPLE
ing a variety of factors. For example, consumer demand may                                   EMBODIMENTS
be affected by economic factors, such as changes in gasoline 35
prices, unemployment rates, government sponsored tax                     The present disclosure relates in general to a system for
rebates for automobile purchases, etc.                                facilitating automobile transactions and, in particular, to
   In many cases, a consumer may have concerns that a                 automobile transaction based on a consumer selection of a
dealer may not offer a fair and competitive price. Various            specific automobile. Briefly, in an example embodiment, a
products and services have become available that allow 40 system is provided which allows a consumer to request
consumers to perform research on market prices for auto-              information regarding a specific car including dealer bids.
mobiles. Similarly, dealers negotiating an automobile sale            For example, a consumer may use a mobile device to take
generally do not know the maximum price a consumer will               a picture of a vehicle identification number. The specific
be willing to pay for a particular automobile, or how long it         vehicle may be identified using optical character recognition
will take to sell an automobile in inventory for a given price. 45 to request real-time information on that automobile. Dealers
Accordingly, dealers also use products and services for               may provide bids based on the consumer request using
determining and/or tracking market prices. Further, automo-           real-time automobile market information, including intra-
bile manufacturers may also have an interest in the market            brand bids and interbrand bids. A consumer may select a
prices for automobiles, because the market activity captured          dealer bid to purchase or lease an automobile based on the
as automobile market information may allow the manufac- 50 prices and delivery options available. Also, the presently
turer to, for example, more profitably determine which                disclosed system may advantageously allow for inventory-
automobiles to manufacture, what prices the manufacture               less bidding by dealers. For example, a dealer that does not
should offer to dealers, and whether manufacturer incentives          have an automobile in its inventory (e.g., on the dealer lot)
should be offered on existing dealer automobile inventory.            can make a bid to sell that automobile, and then have that
                                                                   55 automobile produced by a manufacturer or transported to the
                          SUMMARY                                     dealer lot. In a non-limiting example embodiment, certain
                                                                      features disclosed in the present patent application may be
   The present disclosure provides a new and innovative               commercially embodied in products and services offered by
system, methods and apparatus for providing automobile                Sidekick Technology LLC, the assignee of the present
market information and performing automobile transactions. 60 application.
In an example embodiment, automobile market data repre-                  The present system may be readily realized in a network
sentative of recent automobile market characteristics is              communications system. A high level block diagram of an
stored. The automobile market data may include pricing,               example network communications system 100 is illustrated
inventory, and consumer interest information received from            in FIG. 1. The illustrated system 100 includes one or more
dealers, manufacturers, and consumers. A consumer may 65 client devices 102, and one or more host devices 104. The
provide a request for a response regarding a specific auto-           system 100 may include a variety of client devices 102, such
mobile using an image of a vehicle identification number or           as desktop computers and the like, which typically include

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a display 112, which is a user display for providing infor-        and/or a Universal Serial Bus (USB) interface. One or more
mation to users 114, and various interface elements as will        input devices 214 may be connected to the interface circuit
be discussed in further detail below. A client device 102 may      212 for entering data and commands into the main unit 202.
be a mobile device 103, which may be a cellular phone, a           For example, the input device 214 may be a keyboard,
personal digital assistant, a laptop computer, a tablet com- 5 mouse, touch screen, track pad, track ball, isopoint, image
puter, etc. The client devices 102 may communicate with the        sensor, character recognition, barcode scanner, and/or a
host device 104 via a connection to one or more communi-           voice recognition system.
cations charmels 106 such as the Internet or some other data          One or more displays 112, printers, speakers, and/or other
network, including, but not limited to, any suitable wide area     output devices 216 may also be connected to the main unit
network or local area network. It should be appreciated that 10
                                                                   202 via the interface circuit 212. The display 112 may be a
any of the devices described herein may be directly con-
                                                                   cathode ray tube (CRTs), a liquid crystal display (LCD), or
nected to each other instead of over a network. Typically,
                                                                   any other type of display. The display 112 generates visual
one or more servers 108 may be part of the network
communications system 100, and may communicate with                displays generated during operation of the computing device
host servers 104 and client devices 102.                        15
                                                                   102, 104. For example, the display 112 may provide a user
   One host device 104 may interact with a large number of         interface,   which will be described in further detail below,
users 114 at a plurality of different client devices 102.          and may display one or more web pages received from a
Accordingly, each host device 104 is typically a high end          computing device 102, 104. A user interface may include
computer with a large storage capacity, one or more fast           prompts for human input from a user 114 including links,
microprocessors, and one or more high speed network 20 buttons, tabs, checkboxes, thumbnails, text fields, drop
connections. Conversely, relative to a typical host device         down boxes, etc., and may provide various outputs in
104, each client device 102 typically includes less storage        response to the user inputs, such as text, still images, videos,
capacity, a single microprocessor, and a single network            audio, and animations.
connection. It should be appreciated that a user 114 as               One or more storage devices 218 may also be connected
described herein may include any person or entity which 25 to the main unit 202 via the interface circuit 212. For
uses the presently disclosed system and may include a wide         example, a hard drive, CD drive, DVD drive, and/or other
variety of parties. For example, as will be discussed in           storage devices may be connected to the main unit 202. The
further detail below, users 114 of the presently disclosed         storage devices 218 may store any type of data, such as
system may include a consumer, a dealer, and/or a manu-            pricing data, transaction data, operations data, inventory
facturer.                                                       30 data, commission data, manufacturing data, image data,
   Typically, host devices 104 and servers 108 store one or        video data, audio data, tagging data, historical access or
more of a plurality of files, programs, databases, and/or web      usage data, statistical data, security data, etc., which may be
pages in one or more memories for use by the client devices        used by the computing device 102, 104.
102, and/or other host devices 104 or servers 108. A host             The computing device 102, 104 may also exchange data
device 104 or server 108 may be configured according to its 35 with other network devices 220 via a connection to the
particular operating system, applications, memory, hard-           network 106. Network devices 220 may include one or more
ware, etc., and may provide various options for managing           servers 226, which may be used to store certain types of
the execution of the programs and applications, as well as         data, and particularly large volumes of data which may be
various administrative tasks. A host device 104 or server          stored in one or more data repository 222. A server 226 may
may interact via one or more networks with one or more 40 include any kind of data 224 including databases, programs,
other host devices 104 or servers 108, which may be                files, libraries, pricing data, transaction data, operations data,
operated independently. For example, host devices 104 and          inventory data, commission data, manufacturing data, con-
servers 108 operated by a separate and distinct entities may       figuration data, index or tagging data, historical access or
interact together according to some agreed upon protocol.          usage data, statistical data, security data, etc. A server 226
   A detailed block diagram of the electrical systems of an 45 may store and operate various applications relating to
example computing device (e.g., a client device 102, and a         receiving, transmitting, processing, and storing the large
host device 104) is illustrated in FIG. 2. In this example, the    volumes of data. It should be appreciated that various
computing device 102, 104 includes a main unit 202 which           configurations of one or more servers 226 may be used to
preferably includes one or more processors 204 electrically        support and maintain the system 100. For example, servers
coupled by an address/data bus 206 to one or more memory 50 226 may be operated by various different entities, including
devices 208, other computer circuitry 210, and one or more         automobile manufacturers, brokerage services, automobile
interface circuits 212. The processor 204 may be any suit-         information services, etc. Also, certain data may be stored in
able processor, such as a microprocessor from the INTEL            a client device 102 which is also stored on the server 226,
PENTIUM® family of microprocessors. The memory 208                 either temporarily or permanently, for example in memory
preferably includes volatile memory and non-volatile 55 208 or storage device 218. The network connection may be
memory. Preferably, the memory 208 stores a software               any type of network connection, such as an Ethernet con-
program that interacts with the other devices in the system        nection, digital subscriber line (DSL), telephone line,
100 as described below. This program may be executed by            coaxial cable, wireless connection, etc.
the processor 204 in any suitable marmer. In an example               Access to a computing device 102, 104 can be controlled
embodiment, memory 208 may be part of a "cloud" such 60 by appropriate security software or security measures. An
that cloud computing may be utilized by a computing                individual users' 114 access can be defined by the comput-
devices 102, 104. The memory 208 may also store digital            ing device 102, 104 and limited to certain data and/or
data indicative of documents, files, programs, web pages,          actions. Accordingly, users 114 of the system 100 may be
etc. retrieved from a computing device 102, 104 and/or             required to register with one or more computing devices
loaded via an input device 214.                                 65 102, 104. For example, registered users 114 may be able to
   The interface circuit 212 may be implemented using any          request or manipulate data, such as submitting requests for
suitable interface standard, such as an Ethernet interface         pricing information or providing an offer or a bid.

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   As noted previously, various options for managing data         dealer interface 306 and/or the manufacturer interface 308,
located within the computing device 102, 104 and/or in a          to respond to a request from a consumer. For example, data
server 226 may be implemented. A management system may            from database system 310 may be queried for use in a report,
manage security of data and accomplish various tasks such         or a recommendation may be provided by recommendation
as facilitating a data backup process. A management system 5 engine 312 according to the consumer request and current
may be implemented in a client 102, a host device 104, and        market data. The automobile market information processing
a server 226. The management system may update, store,            system 302 may integrate data received from consumer
and back up data locally and/or remotely. A management            interface 304, dealer interface 306, and manufacturer inter-
system may remotely store data using any suitable method          face 308 to provide current and accurate information relating
of data transmission, such as via the Internet and/or other 10 to the automobile market.
networks 106.                                                        It should be appreciated that the consumer interface 304
    FIG. 3 is a block diagram showing an example automobile       may be specific to one particular manufacturer or may
transaction network structure 300 which includes an auto-         provide information for multiple different manufacturers.
mobile market information processing system 302, a con-           For example, a consumer interface 304 may be a website
sumer interface 304, a dealer interface 306, and a manufac- 15 with information on many manufacturers, and further, the
turer interface 308. The example automobile market                consumer interface 304 may access or link to the manufac-
information processing system 302 may be implemented on           turer specific websites (e.g., Ford). Also, for example, a
one or more host devices 104 accessing one or more servers        consumer interface 304 may be implemented as an automo-
108, 226. In an example embodiment, the automobile mar-           bile manufacturer's website. Typically, a manufacturer's
ket information processing system 302 includes a database 20 website may provide consumers with a catalog like feature
system 310, a recommendation engine 312, a vehicle iden-          that provides information on different automobile models
tification number processor 314, and an interface generation      with any available options or features. For example, a
unit 316. A user 114 may be a consumer, a dealer, or a            manufacturer website may allow a consumer to select
manufacturer that interacts with the consumer interface 304,      options that are desired to "build" a particular automobile,
dealer interface 306, or manufacturer interface 308, respec- 25 and may provide price comparisons using suggested retail
tively. A database system 310 may include a wide variety of       prices, which may consumers use for initial research into
automobile market data. A recommendation engine 312 may           what pricing the dealer may offer for a particular automobile
provide recommendations for consumers, dealers, and               with a particular feature set. Also, typically, the consumer
manufacturers. A vehicle identification number processor          may enter information, including, for example, name, an
314 may be used for making requests regarding specific 30 address or zip code, and telephone number. This information
automobiles and automobiles with specific sets of features.       may be passed on from the manufacturer to a nearby dealer
For example, a vehicle identification number processor 314        and/or nearby dealer information may be provided to the
may determine a specific set of features that a specific car      consumer (e.g., the dealer in or nearest to the consumer's
has based on a picture of that specific car's vehicle identi-     entered zip code). Accordingly, the dealer may contact the
fication number. Interface generation unit 316 may provide, 35 consumer, or the consumer may inquire with the dealer,
for example, HTML files which are used at the consumer            regarding the specific automobiles available on that dealer's
interface 304, dealer interface 306, and manufacturer inter-      lot and particular pricing being offered, etc. In many cases,
face 308 interface to provide information to the users 114. It    consumers may not inquire with dealers that the manufac-
should be appreciated that he the consumer interface 304,         turer may recommend, and similarly, dealers may not dili-
dealer interface 306, and manufacturer interface 308 may be 40 gently follow up with consumers that have an interest in
considered to be part of the automobile market information        purchasing an automobile. Further, it should be appreciated
processing system 302, however, for discussion purposes,          that the information provided via a consumer interface 304
the consumer interface 304, dealer interface 306, and manu-       and/or a manufacturer website may be very useful to con-
facturer interface 308 may be referred to as separate from the    sumers. For example, in the past, dealers often provided
automobile market information processing system 302.           45 brochures with all the information on a manufacturer's
    For example, a user 114 may interact with a consumer          available car models, including all the features and options
interface 304 to research automobiles the user 114 is inter-      information. However, dealers typically do not provide
ested in buying. For example, a consumer may be looking           comprehensive information brochures, which may be rela-
for a four door sedan with specific features, including a         tively expensive to produce, and rather, that information is
global positioning system (GPS), a sunroof, tinted windows, 50 typically located on a manufacturer website and/or a con-
rated for at least thirty miles per gallon, four wheel drive,     sumer interface 304.
etc. The consumer may interact with the consumer interface           Accordingly, the consumer interface 304 may provide a
304 by inputting required and/or desired features, monthly        wide range of information, for example, based on any
budget or full price, etc. The consumer interface 304 may         searches or queries performed by a user 114. In an example
provide a wide variety of features and specifications which 55 embodiment, based on a user search or request for a
the consumer may choose from in providing a request.              response, the consumer interface 304 will display a quality
Based on the information put into the consumer interface          index or value index based on normalized calculations for an
304 from the consumer, the consumer interface 304 may             automobile. The recommendation engine 312 may provide
provide one or more reports or offers to the consumer. As         recommendations to a consumer based on the current auto-
will be discussed in further detail below, the information 60 mobile market data stored in the automobile market infor-
provided by the consumer interface 304 may include current        mation processing system 302. For example, metrics on gas
market prices for automobiles, including information relat-       mileage, emissions, operating and maintenance costs, safety
ing to additional features, and may include information on        ratings, etc. may be benchmarked against comparable auto-
specific automobiles, for example, which may be en route to       mobiles of the same and different manufacturers. Similar
a dealer near the consumer's present location. The automo- 65 purchase options to a specific search may also be provided,
bile market information processing system 302 may process         based on feature matching, price range, consumer popular-
data received by the consumer interface 304, as well as the       ity, etc. Information including price ranges, including

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MSRP, invoice prices, inventory levels, the user's 114 credit      that allows the manufacturer to provide a response to the
ratings (e.g., FICO score), may be provided which may              requesting consumer. A report may include information from
include monthly payment estimates or projections. For              database system 310 relating to current market pricing,
example, a financing calculator may help a user 114 deter-         recent sales figures and trends, current manufacturer incen-
mine what financing rate is appropriate. It should be appre- 5 tives, current inventory, including dealer inventory, inven-
ciated that dealers may mislead consumers into believing           tory in transit, and/or build times or lead times for a desired
that a higher financing rate will be required to secure a loan.    automobile, etc. The manufacturer may use this information
Further, for example, a lease vs. buy calculator may be            to provide a response to a consumer request. The manufac-
provided which may use current market data including               turer may provide the manufacturer interface 308 with
prices, interest rates, incentives, estimated mileage per year, 10 information to provide a confirmation, a verification, or an
etc. for providing an analysis for a particular consumer           offer to a consumer via consumer interface 304. For
regarding purchasing or leasing. Also, the consumer inter-         example, a confirmation number associated with the par-
face 304 may provide a purchase checklist, for example, of         ticular consumer request may be provided for the consumer.
ten steps to buying a car. A qualitative checklist may allow       Also, a recommendation may be provided from the recom-
a user to ask the right questions and get the right answers 15 mendation engine 312 to the manufacturer in relation to
from a dealer. Additional tips may be provided, such as a list     automobile pricing, responding to a specific request, manu-
of products or services dealers may attempt to sell to a           facturer incentives, inventory management, production
consumer with an analysis of the value of these products or        schedules, shipping schedules, etc. It should be appreciated
services and a recommendation to accept or decline these           that a manufacturer may be referred to as an OEM or
dealer offers. Further, beyond analysis relating to automo- 20 original equipment manufacturer. The manufacturer inter-
biles, additional analysis or reports may be provided, for         face 308 may provide a manufacturer with a real-time lens
example, relating to dealer reviews, other supplemental            into the automobile market which may allow the manufac-
products, financial entities that may provide financing, etc.      turer to adjust production schedules, pricing plans, market-
For example, dealer reviews may provide a consumer with            ing activities, etc., which may provide a significant advan-
information the consumer may use in addition to automobile 25 tage for manufacturers.
pricing and delivery options. Moreover, the consumer inter-           Accordingly, information may be provided to the auto-
face 304 may provide a wide variety of useful information          mobile market information processing system 302 from
to a consumer, for at home research and preparation, and/or        consumers, dealers, and manufacturers with a very high
in a dealer location while shopping as a negotiating tool that     degree of granularity, as every transaction that occurs and
may provide confirmation on pricing, useful tips, and the 30 even every request or search may be stored and used by the
like.                                                              automobile market information processing system 302. This
   In an example embodiment, a dealer interface 306 may            allows the automobile market information processing sys-
provide a user 114, such as a dealer employee, information         tem 302 to use the most current automobile market data to
relating to the current automobile market. The dealer inter-       provide information to consumers, dealers, and manufactur-
face 306 allows a dealer to interact with automobile market 35 ers. It should be appreciated that market prices can change
information processing system 302 to provide the dealer            relatively quickly, particularly when major events drive
with a wide variety of information, including, for example,        consumer behavior or manufacturer production, such as
current market pricing. Other automobile market informa-           natural disasters. Accordingly, reports and recommendations
tion a dealer may receive on a dealer interface 306 includes       provided by the automobile market information processing
information relating to lot inventory, turnover rates, auto- 40 system 302 may be highly accurate, reliable, and sensitive to
mobile transportation and/or shipping costs, incentives, and       market changes.
various ratings, such as ratings relating to quality, safety,         It should be appreciated that certain functions described
insurance, a consumer credit score, dealer ratings, residual       as performed, for example, at automobile market informa-
or resale values, etc. A dealer may input information into         tion processing system 302, may instead be performed
dealer interface 306 relating to sales data, including current 45 locally at consumer interface 304, dealer interface 306, and
pricing offered, special sales offers, actual transaction data,    manufacturer interface 308, or vice versa. Further, in certain
inventory data, etc. In an example embodiment, the dealer          cases, tasks may be performed using consumer interface
may provide information through dealer interface 306 which         304, dealer interface 306, and manufacturer interface 308 or,
will be used by automobile market information processing           for example, performed in person, such as a consumer
system 302 to prepare reports or offers to consumers and/or 50 signing documents at a dealer location, or a dealer commu-
manufacturers. It should be appreciated that a dealer is           nicating with a manufacturer using a telephone. It should be
typically a franchise entity, while a distribution location may    appreciated that the consumer interface 304, dealer interface
not be a franchise entity. For brevity, throughout this speci-     306, and manufacturer interface 308 may be implemented,
fication, the term dealer may be used to describe both             for example, in a web browser using an HTML file received
franchise entity dealers and non-franchise entity distribution 55 from the automobile market information processing system
location. Accordingly, as used in this disclosure, the term        302. In an example embodiment, the consumer interface
dealer does not indicate whether an entity is a franchise          304, dealer interface 306, and manufacturer interface 308
entity. Moreover, a franchise dealer or a non-franchise            may be located on a website, and may further be imple-
distribution location may utilize a dealer interface 306 as        mented as a secure website. Also, consumer interface 304,
described herein.                                               60 dealer interface 306, and manufacturer interface 308 may
   In an example embodiment, a manufacturer interface 308          require a local application, for example, which a manufac-
may provide a user 114, such as a manufacturer employee,           turer may pay for to have access to, for example, information
information relating to the current automobile market,             from the automobile market information processing system
including consumer requests. For example, an manufacturer          302 such as requests from consumers.
interface 308 may provide a manufacturer a request received 65        FIGS. 4A and 4B include a flowchart of an example
from a consumer interface 304. Additionally, the manufac-          process 400 for facilitating an automobile transaction.
turer interface 308 may provide information such as a report       Although the process 400 is described with reference to the

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flowchart illustrated in FIGS. 4A and 4B, it will be appre-          In another example embodiment, a car buyer takes a picture
ciated that many other methods of performing the acts                of a vehicle identification number (VIN) on a car that the
associated with the process 400 may be used. For example,            buyer would like to receive information for. For example,
the order of many of the blocks may be changed, certain              using an application stored on a mobile device 103, the
blocks may be combined with other blocks, and many of the 5 buyer may be located at a dealer location and take a picture
blocks described are optional.                                       of the VIN on a car. The buyer may want information on that
   The example process 400 for facilitating an automobile            specific car or on other comparable cars with the same or
transaction may allow users 114, including dealers and               similar features and/or options. The picture of the VIN may
consumers, as well as manufacturers, to efficiently sell and         be processed using optical character recognition, which
purchase automobiles, respectively. The example process 10 allows the automobile market information processing sys-
400 may begin with automobile market data including at               tem 302 to determine the make and model of the car, along
least pricing data and inventory data stored in a database           with various other characteristics of the car. It should be
system (block 402). For example, automobile market data              appreciated that the VIN may include human readable
from dealers, consumers, and manufacturers regarding pric-           characters, a bar code, or any other graphical or machine
ing, lot inventory, turnover rates, transport costs, and quality, 15 readable information which acts as a vehicle identification
safety, and/or other ratings is collected and stored in a            number. Accordingly, the buyer may perform research, for
database. In an example embodiment, a wide variety of data           example, while at home or while shopping at a dealer
is stored in a database system 310. For example, transport           location. Further, for example, the buyer may take a picture
costs may include manufacturer to dealer shipping costs              of a VIN anywhere, including at automobile trade shows,
and/or dealer to dealer costs for shipping or transporting an 20 mall displays, or anywhere new cars or cars for sale are
automobile (e.g., a dealer with multiple locations may drive         displayed. The buyer may even take a picture of a car parked
automobiles between locations if necessary). Automobile              in the street as the buyer walks down the street. Any request
market data may include various relevant ratings, reports,           or query communicated from the consumer interface 304
awards, or other information, including quality information,         may be stored, for example, in database system 310, thereby
safety information, insurance information, consumer credit 25 updating the automobile market information processing sys-
information, dealer rating information, incentive informa-           tem 302 with current automobile market data.
tion, residual value information, and/or any other data which           The example process 400 may continue with providing
may be relevant to consumers. For example, ratings data              automobile market data to dealers based on the consumer
may include information from the National Highway Traffic            request (block 406). For example, a group of dealers
Safety Administration (NHTSA), the Environmental Protec- 30 receives a real-time report including local car sales data,
tion Agency (EPA), and/or the Insurance Institute for High-          inventory data, ratings data, and transport cost data of the
way Safety (IIHS). The data may include information from             consumer's requested car. In an example embodiment, a
a consumer interface 304, such as data in consumer searches          report may include quality information, safety information,
or requests, information from a dealer interface 306, such as        insurance information, consumer credit information (e.g.,
currently offered dealer pricing, transaction data for final- 35 buyer FICO score), dealer rating information, incentive
ized sales, current inventory data, transport or shipping            information, residual value information, and/or any other
costs, and information from a manufacturer interface 308,            data which may be relevant to consumers. The report may be
such as current manufacturer prices and suggested pricing,           provided through dealer interface 306 and include the con-
manufacturer incentives, and current inventory including             sumer requirements and preferences. The request and/or the
finished inventory on hand, production scheduling, shipment 40 report may be provided in real-time and may provide
scheduling, inventory in transit, and manufacturing lead             real-time data. Data reported based on a real-time updates in
times. The automobile market data may be comprised solely            the automobile market information processing system 302
of information received from the consumer interface 304,             may provide significant advantages, for example, when
dealer interface 306, and manufacturer interface 308, or may         pricing conditions may change quickly due to unforeseen
include additional information received from other sources. 45 market conditions. The recommendation engine 312 may
It should be appreciated that various methods of storing the         provide recommendations to a dealer based on the current
automobile market data may be employed according to the              automobile market data. For example, a report may indicate
system requirements. For example, database system 310                various estimated sales probabilities for different prices that
may be organized according to different manufacturers or             the dealer may offer or bid. In an example embodiment, a
dealers, automobile make and model, different information 50 probability to sell within a time frame may be provided, for
categories (e.g., suggested pricing, market prices, produc-          example, for a 24 hour period, probabilities and prices may
tion, shipping, lot inventory), etc., and may consist of one or      be estimated as, e.g., 80% chance to sell at $22,000; 60%
more databases on one or more servers 108, 226 which may             chance to sell at $23,000; 50% chance to sell at $24,000;
be remotely located from each other and/or a host device 104         20% chance to sell at $25,000. Such information may be
of the automobile market information processing system 55 illustrated in various ways, such as a bell curve graph or a
302. As will be discussed further below, the automobile              chart. Further, the recommendation engine may provide
market data may be continually updated as new data is                daily suggestions (e.g., a deal of the day). Dealers may use
provided to the automobile market information processing             such information to attract consumers to visit the dealer in
system 302.                                                          person or online as well as prepare responses or bids to
   The example process 400 continues with a consumer 60 consumer requests. In an example embodiment the dealer
providing a request for a response of whether an automobile          interface 306 may provide information that is limited to cars
can be provided (block 404). For example, a car buyer fills          which meet the consumer request requirements. Dealers
in a request form on a website or takes a picture of a VIN           may customize the dealer interface 306 to provide informa-
at a dealer to receive a response based on current market            tion in a pre-specified manner to suit the dealers particular
data. In an example embodiment, the buyer's request may be 65 needs.
transmitted from consumer interface 304 via the internet to             A bid to sell the automobile to the consumer is requested
the automobile market information processing system 302.             from dealers (block 408). For example, a group of dealers

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within a certain radius of the buyer location may receive a        but if a two wheel drive car that meets all the other buyer
bid request. Each dealer's bid may include a price, for            criteria is immediately available at a nearby dealer, the
example, a price with no additional add-on products or             dealer may provide an offer to the buyer for this car, possibly
services, such as service contracts, warranties, aftermarket       at a significantly lower price, such as $23,000 instead of
accessories, etc. For example, add-on products may provide 5 $26,000 for a four wheel drive car as requested. Further, for
substantial value to a dealer, above and beyond the profit         example, dealers may use information such as ratings data to
margin for the sale of the requested car. A dealer may profit      optimize their bids. For example, if gasoline prices are
from selling financing options, for example, if a consumer         increasing, mileage ratings for a particular car may dictate
needs financing, the financier may pay the dealer for sourc-       increasing or decreasing a bid. If a vehicle has very good gas
ing the loan. A dealer may sell service plans or maintenance 10 mileage, and gas prices are skyrocketing, that car may have
packages (e.g., an extended service contract), selling war-        an increasing demand as gas prices increase, or vice versa.
ranties (e.g., a lifetime warranty), or selling insurance plans    Similarly, safety ratings of vehicles may be important to
(e.g., life, accident, and health insurance, liability insurance,  consumer demand if high profile problems have appeared
comprehensive insurance, etc.). Also, a dealer may also sell       for a particular automobile style, make, or model. As dis-
various hard add accessories, for example, bicycle racks, 15 cussed above, various automobile market information may
hitches, commercial accessories (e.g., lights and sirens), or      be used by a dealer including safety information, insurance
any aftermarket products or modifications (e.g., sunroof).         information, consumer credit information, dealer rating
   One or more dealer bids are provided to the consumer            information, incentive information, residual value informa-
(block 410). For example, several dealers provide bids based       tion, and/or any other data which may be relevant to
on current pricing data, dealer pickup locations, and paten- 20 consumers.
tial add-ons, so several different prices and delivery options        The consumer interface 304 may organize dealer bids
may be available to the car buyer. Typically, the bid will         based on a variety of factors and may provide supplemental
include at least a specified price and pickup time and             information. For example, certain dealer bids may be
location. In an example embodiment, a buyer that has taken         selected as the best options, all dealer bids may be summa-
a picture of a VIN with a mobile device may receive dealer 25 rized, various additional ratings, reviews, or popularity
bids within minutes or seconds on the mobile device.               information, financing information, etc. may also be pro-
Accordingly, the bids may be used in real-time as the buyer        vided to a consumer along with any dealer bids. The
may be actively shopping for a car on a dealer lot. Typically,     recommendation engine 312 may provide recommendations
a pickup location will be a dealer lot or distribution location.   to a consumer based on the current automobile market data.
It should be appreciated that some dealers may have mu!- 30 For example, of ten dealer bids provided with a response,
tiple locations which could serve as a pickup location. In an      three bids may be recommended, for example, as "Great
example embodiment, the automobile market data may                 Deals!" It should be appreciated that in some cases, a
indicate that the particular car requested by a consumer           particular consumer search may not return any dealer bids,
should be priced at, for example, $26,000. However, various        for example, if consumer search requirements are unrealistic
factors may affect the bid or offer that a dealer will make for 35 for the consumer's required price range. Also, for example,
the particular car. For example, the potential for forming a       if only one or two bids are received, the recommendation
customer relationship, the value of potential add-on products      engine 312 may recommend that a consumer wait for a
and services, or competition with other dealers may cause a        better bid because the bids provided are not competitive
dealer to bid lower than normal. In such a case, the dealer        offers based on the current automobile market data stored in
may bid $25,000 in an effort to create a customer relation- 40 the database system 310. Further, in an example embodi-
ship, sell add-on products, and/or undercut the competition        ment, dealer bids may be organized according to distance to
pricing. Other factors, such as the buyer's credit score (e.g.,    a dealer pickup location, lowest price, closest match to the
FICO score), may be used by a dealer in determining a bid,         consumer entered criteria, a normalized quality index or
as this may affect the profitability of a sale.                    value index, etc. The consumer may be able to toggle
   Further, for example, the particular automobile requested 45 between different viewing options for dealer bids or search
may not be available for immediate pickup near the buyer,          results.
and various alternative delivery options may be provided              Further, in an example embodiment, a buyer may be at a
from several dealers' bids. For example, a car that is located     dealer lot (e.g., a Nissan dealer) and take a picture of a VIN
at an out of state dealer may be transported to a dealer near      on a car (e.g., a Maxima). A bid from a competing dealer
the buyer. Therefore, for example, the consumer interface 50 (e.g., a Toyota dealer) across the street may be received on
304 may provide several different bids with different deliv-       the mobile device within seconds and include information
ery options and prices to the buyer, for example, a price of       for a comparable car (e.g., an Avalon) relating to, for
$26,000 to pick up the car at an out of state dealer the next      example, gas mileage, safety ratings, price comparisons,
day or a price of $26,500 to pick up the car at a local dealer     residual value, driving directions to the competing dealer,
in five days. For example, a dealer may determine a cost to 55 etc. In an example embodiment, a dealer may use the
transport a car from one dealer location to another based on       geolocation of the buyer, such as in instances when the buyer
the automobile market data such as current market pricing,         is physically located close to the dealer. Accordingly, com-
current inventory levels, current shipping costs, and the like.    peting dealer bids may be interbrand or intrabrand in nature,
Accordingly, a dealer response may be adjusted by current          and may be tailored to the buyer's particular situation, which
automobile market conditions. An offer to provide or ship a 60 a consumer may find highly advantageous. For example, the
particular car to a dealer location near a consumer may be         buyer may have a bid for a car the buyer wants to test drive
authorized through the dealer interface 306. Inventoryless         as well as a bid for a comparable car across the street before
bidding may be highly beneficial when dealers that do not          a salesman from the dealer even introduces himself. Accord-
have a requested automobile in inventory can still profitably      ingly, a consumer may weigh the pros and cons of various
provide a bid. Further, for example, cars that are not exactly 65 dealer bids, based on delivery options, pricing, and any other
what the buyer requested may also be offered to the buyer.         relevant variants. Any bids communicated from a dealer
For example, the buyer may request a four wheel drive car,         interface 306 may be stored, for example, in database system

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310, to further update the automobile market information             The consumer and the dealer execute the sale of the
processing system 302 with current automobile market data.        automobile (block 416). For example, the consumer elec-
   The consumer selects a bid including a delivery option         tronically signs documentation such as loan application and
which specifies a pickup location (block 412). For example,       a contract and performs an electronic funds transfer or credit
the car buyer chooses a delivery option of picking up the car 5 card payment. After the delivery option is selected, an
at a nearby dealer in five days. As noted above, a dealer may     electronic contract may be provided by the dealer for the
be a franchise dealer entity or a non-franchise distribution      buyer who may e-sign the contract, and/or any other loan
location. The buyer may select an offer with a specified          applications or other documentation as needed. In another
delivery option on the consumer interface 304. The car            example embodiment, paper copies of a contract may be
buyer may have been weighing two or more different 10
                                                                  signed, for example, after the buyer prints them or receives
delivery options and/or different features, price differences,
                                                                  them from a nearby dealer or through the mail. In an
etc., based on the response(s) received through the consumer
                                                                  example embodiment, the buyer may provide cash or a paper
interface 304. As noted above, the consumer interface may
organize bids and other helpful information in a variety of       check. It should be appreciated that the process of executing
ways, which may make the information easier for a con- 15 a contract may take some time. For example, the process
sumer to digest. It should be appreciated that a buyer will       may occur in several steps, as loan processing may be
typically want to pick up a new car at a convenient location,     required prior to executing a contract for sale of a car. Also,
often near the buyer's home. Accordingly, dealers may             it should be appreciated that, for example, the consumer
attempt to provide delivery options tailored towards maxi-        selection of a bid discussed above (see, e.g., block 412) may
mizing profit for the dealer while also maximizing conve- 20 occur simultaneously with the consumer executing the sale.
nience to the buyer, while also providing a superior bid to       Once the sale is completed, the actual transaction data
other dealers. By providing multiple bids with different          including the final negotiated price, may be provided to and
delivery options, the buyer may be allowed to save time or        stored in database system 310. Accordingly, the automobile
money based on the buyer's particular needs. In an example        market information processing system 302 may be updated
embodiment, the buyer may provide a counter offer or 25 with current automobile market data from every step in the
different request via the consumer interface 304 to a dealer      negotiation process between a consumer and a manufacturer.
via the dealer interface 306. Accordingly, the dealer may         In an example embodiment, the updates provided to the
respond in kind, and may update delivery options or other         automobile market information processing system 302 are
terms. It should be appreciated that the consumer selection       provided in real-time, for example, data may be transmitted
of a bid may, for example, occur simultaneously with the 30 and processed within seconds or minutes. Further, for
consumer executing the sale or providing a deposit or down        example, it should be appreciated that certain data may be
payment, or the like (see, e.g., block 416). Accordingly, in      provided to the automobile market information processing
an example embodiment, once the buyer selects a bid, the          system 302 according to a batch processing schedule.
buyer has effectively purchased the car, and the dealer does         Next, the dealer makes the purchased automobile avail-
need to worry about the buyer backing out of the deal. Any 35 able according to the consumer bid selection (block 418).
consumer selections, counter offers, or additional requests or    For example, the dealer transports the car from the com-
responses may be stored in database system 310, as the            monly owned dealer location to the dealer pickup location
communications are processed by automobile market infor-          selected by the car buyer if the car is not already located at
mation processing system 302, providing further data              the dealer pickup location. When a purchased car is already
updates. Accordingly, in an example embodiment, a con- 40 at the dealer location where the buyer has agreed to pick the
sumer may select a bid to purchase a car, and that purchase       car up, the car does not need to be transported. Many dealers
information may then be provided to another consumer              have multiple locations under the same ownership, and these
searching for the same type of car with similar features, for     dealers may drive or ship cars from one dealer location to
example, the next day.                                            another if the cost of transporting the car is justifiable. If a
   Once a bid with a specific delivery option has been 45 buyer chooses a quicker delivery option, the car may then be
selected, the dealer provides the automobile at the selected      transported from a different dealer location to the selected
dealer according to the consumer bid selection (block 414).       dealer pickup location. A dealer may interact with the
For example, the dealer notifies a commonly owned dealer          automobile market information processing system 302 using
that the car must be transported to the dealer pickup location    dealer interface 306, for example, to receive notification that
for delivery in less than five days. In a typical example, the 50 a car will be picked up by a buyer, and to report that a car
dealer may already have the car in question on the dealer lot,    has been delivered to the dealer pickup location. A notifi-
so the car would not need to be transported. In an example        cation may also be sent via consumer interface 304 to the
embodiment, the dealer may send a notification or instruc-        buyer that the car is available for pickup at the specified
tion message through the dealer interface 306, which would        dealer.
be received by a commonly owned dealer in another city or 55         Finally, the consumer picks up the purchased automobile
state. It should be appreciated that the specific marmer of       according to the consumer selected delivery option at the
notification or instruction may be changed based on the           dealer (block 420). For example, the car buyer picks up the
particular application, for example, the automobile market        car at the nearby dealer five days after the car sale is
information processing system 302 may automatically pro-          executed. The buyer may pick up the car without ever having
vide a notification or instruction to a dealer to produce or 60 to talk to or negotiate, in person or over the telephone, with
transport a car based on inventory data. It should also be        the dealer. For example, the buyer may arrive at the dealer,
appreciated that particular events may be required to trigger     show identification and proof of purchase, and be provided
instructing a car to be delivered to a dealer, such as a deposit, the keys to the car. The buyer may sign paperwork indicating
financing approval, etc. Further, the consumer may be             the car has been picked up. Also, the dealer may offer or
required to send an instruction message from the consumer 65 provide additional products or services to the buyer when
interface 304 to the dealer interface 306 affirming that the      the buyer goes to the dealer to pick up the car. For example,
buyer has agreed to purchase the car from the dealer.             the dealer may offer financing options, warranties, service

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plans, insurance plans, and hard add accessories to the buyer,    data, including current on location data, automobile turnover
as discussed in further detail above.                             rates, etc. Manufacturer data 514 may include manufacturer
   Accordingly, it should be appreciated that consumers,          pricing, including suggested pricing, preferred dealer pric-
dealers, and manufacturers may receive significant benefits       ing, etc., manufacturer incentives including cash rebates,
from the method of facilitating an automobile transaction 5 special lease rates, special APR rates, zero down offers,
disclosed herein. For example, price setting, inventory man-      lifetime warranties, guaranteed trade-in offers, etc., and
agement, and production scheduling, may be greatly                inventory information including dealer inventory, inventory
improved for dealers and manufacturers by utilizing the           by location, inventory in transit, manufacturing or produc-
disclosed system and method. Consumers may benefit from           tion lead times or build times, production scheduling, ship-
more competitive pricing, piece of mind knowing that a fair
                                                               IO ping scheduling, etc. Statistical data 516 may include infor-
market price is being offered for prospective purchases, and
                                                                  mation used for providing reports including graphs,
improved delivery options that allow the consumer to weigh
                                                                  forecasts, recommendations, calculators, depreciation
the benefits and drawbacks of different delivery options,
pricing, and other variables. In an example embodiment,           schedules, tax information, etc., including equations and
consumers can view prices paid for comparable cars in 15 other data used for statistical analysis. Historical data 508
specific locations based on the automobile market data in the     may include past sales data, such as historical list prices,
automobile market information processing system 302, for          actual sale prices, manufacturer and dealer margins, oper-
example, within a certain time frame such as one month and        ating costs, service costs or profitability, loyalty information,
within a certain proximity to the consumer. Moreover,             etc. It should be appreciated that data may fall under
various inefficiencies in the automobile industry may be 20 multiple categories of automobile market data 506, or
minimized utilizing the presently disclosed system and            change with the passage of time. It should also be appreci-
method.                                                           ated that automobile market data 506 may be tailored for a
   FIG. 5 illustrates a block diagram of an example data          particular manufacturer or dealer, for example, a manufac-
architecture 500. In the example data architecture 500,           turer may request that a specific type of data that is not
interface data 502, administrative data 504, and automobile 25 normally stored or used be stored in the database system
market data 506 interact with each other, for example, based      310. Accordingly, for example, customized reports may be
on user commands or requests. The interface data 502,             provided to a manufacturer interface 308 using that specific
administrative data 504, and automobile market data 506           data for the manufacturer.
may be stored on any suitable storage medium (e.g., server           The integration of the various types of automobile market
226). It should be appreciated that different types of data 30 data 506 received from the consumer interface 304, dealer
may use different data formats, storage mechanisms, etc.
                                                                  interface 306, and manufacturer interface 308 may provide
Further, various applications may be associated with pro-
                                                                  a synergistic and optimal resource for consumers, dealers,
cessing interface data 502, administrative data 504, and
                                                                  and manufacturers alike. In an example embodiment, a
automobile market data 506. Various other or different types
of data may be included in the example data architecture 35 consumer may benefit greatly from using an application in
500.                                                              a mobile device 103 to receive both intrabrand information
   Interface data 502 may include input and output data of        and interbrand information in real-time, based only on
various kinds. For example, input data may include mouse          taking a picture of VIN. Dealers and manufacturers may be
click data, scrolling data, hover data, keyboard data, touch      able to provide information to the consumer in a marmer that
screen data, voice recognition data, etc., while output data 40 highlights the benefits of the products the respective dealer
may include image data, text data, video data, audio data,        or manufacturer would like to sell. The intrabrand and
etc. Interface data 502 may include formatting, user inter-       interbrand information provided on a consumer interface
face options, links or access to other websites or applica-       304 may allow the best automobile options for a particular
tions, and the like. Interface data 502 may include applica-      consumer to be provided to that consumer, may allow
tions used to provide or monitor interface activities and 45 dealers to compete with other dealers taking into account a
handle input and output data.                                     greater amount of automobile market information, and may
   Administrative data 504 may include data and applica-          allow manufacturers to better follow through with opportu-
tions regarding user accounts. For example, administrative        nities for sales, which may result in a more efficient auto-
data 504 may include information used for updating                mobile market.
accounts, such as creating or modifying manufacturer 50              Automobile market data 506 may be maintained in vari-
accounts or dealer accounts. Further, administrative data 504     ous servers 108, in databases or other files. It should be
may include access data and/or security data. Administrative      appreciated that, for example, a host device 104 may
data 504 may interact with interface data in various manners,     manipulate automobile market data 506 in accordance with
providing a user interface 304, 306, 308 with administrative      the administrative data 504 and interface data 502 to provide
features, such as implementing a user login and the like.      55 requests or reports to users 114 including consumers, deal-
   Automobile market data 506 may include, for example,           ers, and manufacturers, and perform other associated tasks.
executed sales data 508, consumer data 510, dealer data 512,      It should also be appreciated that automobile market data
manufacturer data 514, statistical data 516, and/or historical    506 represents automobile market information, and that
data 518. Executed sales data 508 may include actual              these terms may be used interchangeably in this disclosure
negotiated prices for manufacturer and dealer sales, differ- 60 depending upon the context.
ences in list prices to negotiated prices, sales demographics,       FIG. 6 is flow diagram illustrating an example process
etc. Consumer data 510 may include consumer search activ-         600 for facilitating an automobile transaction, according to
ity, consumer requests and offers, consumer feedback, etc.        an example embodiment of the present invention. Although
Dealer data 512 may include dealer pricing, including list        the process 600 is described with reference to the flow
prices, sale prices for limited time dealer offers or deals of 65 diagram illustrated in FIG. 6, it will be appreciated that
the day, negotiation information such as bottom line pricing,     many other methods of performing the acts associated with
offers received, foot traffic activity, and dealer inventory      the process 600 may be used. For example, the order of

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many of the blocks may be changed, certain blocks may be       and coordinate a sale by, for example, transporting the
combined with other blocks, and many of the blocks             automobile from one dealer location to the dealer location
described are optional.                                        selected for delivery (block 626). Also, for example, the
   In the example process 600, data may flow between the       dealer may provide contract or loan documents, collect a
automobile market information processing system 302 and a 5 deposit or down payment, or the like. As discussed above, in
consumer interface 304 and a dealer interface 306, as          each of blocks 606, 614, 626, and 634, the automobile
discussed above based on consumer and dealer interaction       market information processing system 302 may update the
with the automobile market information processing system       automobile market information in the database system 310
302. It should be appreciated that the automobile market       based on the information received from the consumer,
information processing system 302 may update the automo- 10 dealer, and/or manufacturer.
bile market information stored in the database system 310         For exemplary purposes, the present disclosure discusses
when automobile market information is received from a          a various examples relating to a purchase of a car. However,
consumer, a dealer, or a manufacturer, or from any other       it should be appreciated that the disclosed system, methods,
information source. Accordingly, the automobile market         and apparatus may be advantageously used in relation to
information may remain current and/or provide sufficiently 15 various automobiles other than cars including, for example,
recent data for the benefit of consumers, dealers, and/or      trucks, vans, sport utility vehicles, jeeps, motorcycles, com-
manufacturers.                                                 mercial vehicles, and/or automobiles that have a VIN and
   The example process 600 may begin with a consumer           require a license plate to operate.
taking a picture of a VIN using a mobile phone application        It will be appreciated that all of the disclosed methods and
(block 602). The consumer interface 304 may use OCR to 20 procedures described herein can be implemented using one
determine and provide the VIN to the automobile market         or more computer programs or components. These compo-
information processing system 302 to provide a consumer        nents may be provided as a series of computer instructions
request (block 604). It should be appreciated that OCR may     on any conventional computer-readable medium, including
occur in the automobile market information processing          RAM, ROM, flash memory, magnetic or optical disks,
system 302 or at the consumer interface 304. The automo- 25 optical memory, or other storage media. The instructions
bile market information processing system 302 receives the     may be configured to be executed by a processor, which
consumer request and prepares automobile market informa-       when executing the series of computer instructions performs
tion based on the request (block 606). The automobile          or facilitates the performance of all or part of the disclosed
market information processing system 302 may send a bid        methods and procedures.
request and automobile market information based on the 30         Further, it will be appreciated that the presently disclosed
consumer request to the dealer interface 306 for one or more   system, methods, and apparatus for performing automobile
dealers (block 608). It should be appreciated that while the   transactions may be utilized in conjunction with other sys-
consumer request is automobile market information, typi-       tems or methods. For example, the presently disclosed
cally, additional automobile market information would be       system, methods, and apparatus may be used in conjunction
provided with the consumer request. For example, typically, 35 with the disclosure in the co-pending commonly-owned
data relating to recent sales of the requested automobile      patent application filed on Jul. 5, 2011, entitled "AUTO-
and/or comparable automobiles may be provided. In an           MOBILE TRANSACTION FACILITATION USING A
example embodiment, a target price or "true" value of the      MANUFACTURER RESPONSE," U.S. application Ser.
requested automobile may be provided. One or more dealers      No. 13/176,497, the entire contents of which are hereby
receive the bid request and automobile market information, 40 incorporated by reference herein, and in an example embodi-
determine prices and delivery options for the automobile       ment, the features of which may be combined with the
using the automobile market information, and prepare and       features of the present disclosure.
provide bids for the consumer (block 610). A dealer bid may       It should be understood that various changes and modi-
be sent from the dealer interface 306 to the automobile        fications to the example embodiments described herein will
market information processing system 302 for each dealer 45 be apparent to those skilled in the art. Such changes and
that wants to provide a bid (block 612). The automobile        modifications can be made without departing from the spirit
market information processing system 302 receives and          and scope of the present subject matter and without dimin-
processes dealer bids and prepares the bids and automobile     ishing its intended advantages. It is therefore intended that
market data for the consumer (block 614).                      such changes and modifications be covered by the appended
   The automobile market information processing system 50 claims.
302 may send dealer bids and automobile market informa-
tion to the consumer interface 304 (block 616). It should be      The invention is claimed as follows:
appreciated that automobile market information may be             1. A method comprising:
provided to the consumer before dealer bids are provided,         receiving, via a consumer interface, a first request for a
and/or concurrently with dealer bids. The consumer may 55            response regarding a first automobile, the first request
receive the dealer bids and automobile market information            made by a consumer located at a first location and
and may select a bid including a delivery option based on the        including geolocation information of the consumer;
automobile market information (block 618). The consumer           executing instructions, by at least one processing device,
interface 304 may send to the automobile market informa-             to:
tion processing system 302 a selection of a bid indicating 60        determine, based on the geolocation information, that
that the consumer wants to purchase or lease the automobile              the consumer is located at the first location;
based on the selected bid (block 620). The automobile                generate, based on the first location, an in-market
market information processing system 302 receives and                    dealer area proximately located to the first location;
processes the consumer bid selection (block 622). For                determine that a first dealer is located at a second
example, the automobile market information processing 65                 location within the in-market dealer area;
system 302 may send the bid selection to the dealer interface        request, via a dealer interface from the first dealer, a bid
306 (block 624). The dealer may receive the bid selection                to sell the first automobile based on the first request;

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                                                      US 9,626,704 B2
                              19                                                                    20
      receive, via the dealer interface, a first bid from the first       15. The method of claim 1, wherein the first dealer is at
         dealer located at the second location within the              least one of a franchise dealer and a non-franchise distribu-
         in-market dealer area;                                        tion location.
      generate, based on receiving the first bid, driving                 16. The method of claim 1, further comprising:
         directions from the first location to the second loca- 5         causing executing instructions, by the at least one pro-
         tion; and                                                           cessing device, to provide a manufacturer response via
      provide the first bid and the driving directions via the               the consumer interface including an acknowledgement
         consumer interface, the first bid including at least a              of interest.
         price for the first automobile.                                  17. The method of claim 1, further comprising:
                                                                    10
   2. The method of claim 1, wherein the first request                    causing executing instructions, by the at least one pro-
includes a vehicle identification number that is manually                    cessing device, to provide a manufacturer response via
entered by the consumer using at least one graphical user                    the consumer interface including at least one of a
interface component.                                                         verification, a confirmation, and an offer indicating that
   3. The method of claim 1, wherein the first request is made 15            the first automobile can be provided for the consumer.
by the consumer using a mobile device which takes a picture               18. The method of claim 1, wherein the first request is
of a vehicle identification number.                                    made by the consumer using a mobile device which takes a
   4. The method of claim 3, wherein the vehicle identifi-             picture of a vehicle identification number, and in the first bid
cation number is recognized using optical character recog-             from the first dealer, the first automobile is an interbrand
nition.                                                             20 comparable car which is located at the first dealer.
   5. The method of claim 1, wherein the first automobile is              19. The method of claim 1, further comprising:
one of a particular type of car with a specific set of features           determine that a second dealer is located at a third location
and a particular car with a specific vehicle identification                  within the in-market dealer area;
number.                                                                   request, via the dealer interface from the second dealer, a
   6. The method of claim 1, wherein the first bid is an 25                  second bid to sell the first automobile based on the first
inventory less bid requiring the first automobile to be at least             request;
one of manufactured and transferred from the inventory of                 receive, via the dealer interface, the second bid from the
another entity to the first dealer.                                          second dealer located at the third location within the
   7. The method of claim 1, further comprising receiving a                  in-market dealer area;
consumer selection of the first bid.                                30
                                                                          generate, based on receiving the second bid, second
   8. The method of claim 7, wherein the first bid includes
                                                                             driving directions from the first location to the third
a first delivery option which specifies a first pickup location
                                                                             location; and
at the first dealer and a second delivery option which
                                                                          provide the second bid and the second driving directions
specifies a different second pickup location, wherein the
consumer selection indicates a consumer intention to pur- 35                 via the consumer interface, the second bid including at
chase the first automobile based on the first bid and specifies              least a price for the first automobile.
one of the first delivery option and the second delivery                  20. The method of claim 1, wherein the consumer is a
option.                                                                person.
   9. The method of claim 7, wherein the consumer selection               21. The method of claim 1, wherein the consumer is an
of the first bid indicates that the consumer intends to lease 40 entity.
the first automobile.                                                     22. The method of claim 1, wherein the consumer chooses
   10. The method of claim 7, further comprising:                      a pickup location.
   causing executing instructions, by the at least one pro-               23. The method of claim 1, wherein the first dealer is a
      cessing device, to process the consumer selection of the         franchise entity.
      first bid to facilitate executing a sale including at least 45      24. The method of claim 1, wherein the first dealer is a
      one of providing for electronic signature of documents           non-franchise entity distribution location.
      and providing for an electronic funds transfer.                     25. The method of claim 24, wherein the consumer
   11. The method of claim 10, wherein the first automobile            chooses a pickup location.
is made available for pickup at the first dealer according to             26. The method of claim 25, wherein the first automobile
a consumer selected first delivery option.                          50 is at the consumer's chosen pickup location, such that the
   12. The method of claim 1, further comprising:                      first automobile does not need to be transported to the
   executing instructions, by the at least one processing              consumer's chosen pickup location.
      device, based on a request from the dealer interface, to            27. The method of claim 25, wherein the consumer
      request data via a consumer interface from a plurality           submits a request to the first dealer to change a first delivery
      of consumers.                                                 55 option to include the consumer's chosen pickup location.
   13. The method of claim 1, further comprising:                         28. The method of claim 27, wherein, based on the
   executing instructions, by the at least one processing              consumer's request to change the first delivery option, the
      device, based on a request from the dealer interface, to         first dealer provides a second delivery option including the
      request data via a manufacturer interface from at least          consumer's chosen pickup location.
      one manufacturer.                                             60    29. The method of claim 28, wherein a notification is sent
   14. The method of claim 1, further comprising:                      to the consumer that the first automobile is available for
   executing instructions, by the at least one processing              pickup at the consumer's chosen pickup location.
      device, to provide via the consumer interface at least              30. The method of claim 29, wherein the consumer picks
      one of a financing plan, a service plan, an insurance            up the first automobile at the consumer's chosen pickup
      plan, a warranty, and a hard add accessory, for at least 65 location.
      the first automobile, which is at least one of provided             31. The method of claim 28, wherein the first automobile
      and offered by the first dealer.                                 is transported to the consumer's chosen pickup location.

                                                           Appx1021
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                                                       US 9,626,704 B2
                               21                                                                      22
  32. The method of claim 31, wherein the first automobile                  receive, via the dealer interface, a first bid from the first
is transported directly from a third location to the consum-                   dealer located at the second location within the
er's chosen pickup location.                                                   in-market dealer area;
   33. The method of claim 32, wherein a second dealer is                   generate, based on receiving the first bid, driving
located at the third location.                                                 directions from the first location to the second loca-
                                                                               tion; and
   34. The method of claim 33, wherein the first dealer and
                                                                            provide the first bid and the driving directions via the
the second dealer are commonly owned.                                          consumer interface, the first bid including at least a
   35. The method of claim 32, wherein a manufacturer is                       price for the first automobile.
located at the third location.                                           38. A non-transitory computer readable medium storing
                                                                   10
   36. The method of claim 1, wherein the first dealer                instructions which, when executed, are configured to cause
provides the first automobile to the consumer at a pickup             an information processing apparatus to:
location by one of (i) having the first automobile transported           receive, via a consumer interface, a first request for a
to the pickup location and (ii) having a manufacturer pro-                  response regarding a first automobile, the first request
duce the first automobile.                                                  made by a consumer located at a first location and
                                                                   15
   37. A system comprising:                                                 including geolocation information of the consumer;
   a computer readable medium storing instructions; and                  determine, using the geolocation information, that the
   at least one processing device operably coupled to the                   consumer is located at the first location;
      computer readable medium, the at least one processing              generate,  based on the first location, an in-market dealer
      device the executing instructions to:                                 area proximately located to the first location;
                                                                   20
      receive, via a consumer interface, a first request for a           determine that a first dealer is located at a second location
                                                                            within the in-market dealer area;
         response regarding a first automobile, the first
         request made by a consumer located at a first loca-             request,  via a dealer interface from the first dealer, a bid
         tion and including geolocation information of the                  to sell the first automobile based on the first request;
         consumer;                                                       receive, via the dealer interface, a first bid from the first
                                                                   25
                                                                            dealer located at the second location within the in-
      determine, using the geolocation information, that the
         consumer is located at the first location;                         market   dealer area;
      generate, based on the first location, an in-market                generate, based on receiving the first bid, driving direc-
         dealer area proximately located to the first location;             tions from the first location to the second location; and
      determine that a first dealer is located at a second 30            provide the first bid and the driving directions via the
         location within the in-market dealer area;                         consumer interface, the first bid including at least a
      request, via a dealer interface from the first dealer, a bid          price for the first automobile.
        to sell the first automobile based on the first request;                               *   *   *    *   *




                                                            Appx1022
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c12)   United States Patent                                                                (IO) Patent No.:                           US 9,665,897 B2
       Seergy et al.                                                                       (45) Date of Patent:                              *May 30, 2017

(54)   AUTOMOBILE TRANSACTION                                                         (58)      Field of Classification Search
       FACILITATION USING A MANUFACTURER                                                        CPC ....................... G06Q 30/0206; G06Q 30/0601
       RESPONSE                                                                                                        (Continued)
(71)   Applicant: Sidekick Technology LLC, Pine Brook,                                (56)                              References Cited
                  NJ (US)
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(72)   Inventors: Michael J. Seergy, Pine Brook, NJ                                           5,970,472 A                10/ 1999 Allsop et al.
                  (US); Benjamin N. S. Brown, Pine                                            6,006,201 A                l 2/ 1999 Berent et al.
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(73)   Assignee: Sidekick Technology LLC, Pine Brook,
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                                                                                  Auto Trader.com, Inc ... : Private Company Information-Business
( *)   Notice:      Subject to any disclaimer, the term ofthis                    Week, http://investing.businessweek.corn/research/stocks/private/
                    patent is extended or adjusted under 35                       snapshot.asp?privcapid~92642.
                    U.S.C. 154(b) by O days.
                                                                                                                            (Continued)
                    This patent is subject to a terminal dis-
                                                                                  Primary Examiner - Brandy A Zukanovich
                    claimer.
                                                                                  (74) Attorney, Agent, or Firm - K&L Gates LLP
(21)   Appl. No.: 14/860,229                                                      (57)                    ABSTRACT
(22)   Filed:       Sep. 21, 2015                                                 A system, methods, and apparatus for performing automo-
                                                                                  bile transactions are disclosed. In an example embodiment,
(65)                  Prior Publication Data                                      automobile market data representative of current automobile
                                                                                  market characteristics is stored. The automobile market data
       US 2016/0148290 Al           May 26, 2016                                  may include pricing, inventory, and consumer interest infor-
                                                                                  mation received from manufacturers, dealers, and consum-
                                                                                  ers. A consumer may provide a request for a manufacturer
                Related U.S. Application Data                                     response indicating whether a specific automobile can be
(63)   Continuation of application No. 13/176,497, filed on                       provided. Automobile market data may be provided to a
       Jul. 5, 2011, now Pat. No. 9,141,984.                                      manufacturer based on the request and a manufacturer
                                                                                  response provides a verification, confirmation, or offer indi-
(51)   Int. Cl.                                                                   cating that the specific automobile can be provided for the
       G06Q 30/00           (2012.01)                                             consumer. Bids to sell the specific automobile may be
       G06Q 30/06           (2012.01)                                             requested from dealers based on the manufacturer response.
(52)   U.S. Cl.                                                                   Dealer bids may be provided to the consumer with prices
       CPC ..... G06Q 30/0609 (2013.01); G06Q 30/0605                             and a delivery options. The consumer may select a bid which
                    (2013.01); G06Q 30/0611 (2013.01);                            specifies a pickup location at a first dealer.
                      (Continued)                                                                            40 Claims, 7 Drawing Sheets


                                                          300\

                                                                                                                  302

                                                  Automobile Market Information Processing System

                                             ----~-
                                                 Database System
                                                                 310                              312

                                                                                      Recommendation Engine


                                                                    314                                   316
                                                Vehicle Identification
                                                                                      Interface Generation Unit
                                                 Number Processor




                                                          304                           306                       308


                                             Consumer                      Dealer                   Manufacturer
                                              Interface                   Interface                  Interface




                                               u u u
                                             User 114                     User 114                    User 114




                                                                 Appx1023
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(58)   Field of Classification Search                                         2009/0076896 Al      3/2009   DeWitt et al.
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                                                                      Computing Device                                          •
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                                    Keyboard, mouse,                                                                            ~
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                                    and/or other input
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                                        device(s)                                                                               =
                                                                     220        Network
                                                                                 device

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           Other PC                                                                                                             ~
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           Memory                        Interface                   Internet and/or other
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              Automobile Market Information Processing System
                             ;310                                 /312

              Database System                Recommendation Engine


                             ;-314                                ;-316

            Vehicle Identification
                                                 Interface Generation Unit
             Number Processor


              l                         Jl                           h




              , ;304                    ,, ;306                      1'   ; 308



         Consumer                     Dealer                   Manufacturer
          Interface                  Interface                  Interface




         User 114                    User 114                    User 114




                                     Fig. 3




                                     Appx1027
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                                            Start
                                                                1400


                                              •
        stored in a database system (e.g., data from manufacturers, dealers, and
                                                                                  r-402
       Automobile market data including at least pricing data and inventory data is

     consumers regarding pricing, lot inventory, production scheduling, and shipment
                                                                                     ~

                     scheduling is collected and stored in a database)


                                              •                                  ;-404
      A request for a response of whether an automobile can be provided is received
     from a consumer (e.g., a car buyer fills in a request form on a website or takes a f----+
     picture of a VIN to receive a verification that a car can be produced or delivered)


                                              •
       Automobile market data is provided to a manufacturer based on the consumer
                                                                                  r-406

      request (e.g., the car maker receives a real-time report including local car sales
     data, inventory data, car delivery data, and car build time data of the subject car)

                                           +                               r-408
         A manufacturer response is provided to the consumer indicating that the
       automobile can be provided for the consumer (e.g., the car maker provides a
                                                                                        f----+
     verification that a car can be produced, shipped, or is already in inventory based
          on current pricing data, car locations, and build times for the subject car)


                                          •                                      ;-410
     A bid to sell the automobile to the consumer is requested from dealers based on
       the manufacturer response (e.g., several dealers provide bids based on the
     verification, current pricing data, dealer pickup locations, and potential add-ons)


                                          •                                       r-412
     Dealer bids are provided to the consumer (e.g., several dealers provide bids, s o ~
     several different prices and delivery options may be available to the car buyer)


                                          •                                       r-414
     The consumer selects a bid including a delivery option which specifies a pickup ~
      location (e.g., the car buyer chooses to pickup at a nearby dealer in five days)


                                          •                                      ;-416
      The manufacturer is instructed to provide the automobile to a dealer according
     to the consumer bid selection (e.g., the car maker is instructed to re-route a car
     already in transit to the dealer pickup location for delivery in less than five days)


                                          •                                       r-418
     The consumer and dealer execute the sale of the automobile (e.g., the car buyer~
        e-signs a loan application and contract, and electronically transfers funds)



                   Fig.4A               ( • )
                                           Fig. 4B




                                           Appx1028
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                                       ( Fig. 4A               1400


                                             •
    The manufacturer provides the dealer with the purchased automobile according
                                                                                 ;420

      to the consumer bid selection (e.g., the car maker re-routes a car en route to
    delivery at another dealer to the dealer pickup location selected by the car buyer
        or transports the car directly from the factory to the dealer pickup location)


                                             •
      The consumer picks up the purchased automobile according to the consumer
                                                                                ;422

     selected delivery option at the dealer (e.g., the car buyer picks up the car at the
                  nearby dealer five days after the car sale is executed)


                                        Fig. 48




                                         Appx1029
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                                               1500
                              I     502                                           I     504
           Interface Data                                   Administrative Data



     B G
                                       ~            ~

                                       ~            ~

                                                          Account          Access and
                                                        Information         Security


                   •                                                   l
                  ,,                         /506                     ,,
                                  Automobile Market Data

                            /508                                      /510


              Executed Sales Data                        Consumer Data



                            /512                                      /514


                  Dealer Data                           Manufacturer Data



                            r-516                                     /518


                Statistical Data                         Historical Data




                                           Fig. 5




                                          Appx1030
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                                                                                                                                               •
                                                                                                                                                00
           600 \                                                                                                                                •
                               1304                            1302                                                       1308                  ~
                                                                                        I                                                       ~
                                                                                        I                                                       ~
                         /602                          - - - - ~ C__
                                                                  - 6~0~ ?08 ~ :                                                 /610           ~
                                   604
                                                         System receives                              \                Manufacturer
                                                                                Request and\                                                    ~
           Consumer takes a            Consumer            request and                                              determines that an
                                                                                                                                               =
            picture of a VIN            Request                                 auto market /
                                                             prepares                                               automobile can be
                                                                                 information I /
                                                        automobile market                                              provided and
                                                                                            -·--! /
                                                        data based on the                                                prepares
                                                                                              l/1                                               ~
                                                              request                                                   verification
                                                                                                                      information for
                                                                                                                                               ~
                                                                                                                                                ~
                         /618                                       /614
                                                                                                                      consumer and             '"o
                                                         System receives                                                  dealers               N
           Consumer receives                                                     Verification                                                   0
                                                          and processes                                                                         ....
           verification that the                                                                                                                -....J
                                                           manufacturer                 I
           automobile can be                                                            I
                                                          response with                 1 -----------------                                -
                 provided                                                               I
                                                         verification and               I                                 1306
                                                           prepares and                 I
                                                                                                                                                rJJ
                                                             provides                                 !\
                                                                                                                                                ('D
                                                                              620=:\ II               i \                        /622           =-
                                                                                                            \                                   ('D
                                                          information for        Bid request                    )   Dealers receive bid         .....
                                                          consumer and                                                                          -....J




Appx1031
                Fig. 6                                                                                                 request and
                                                              dealers                                                                           0
                                                                                                                     determine prices           ....
                                                                                                                       and delivery             -....J
                                              ~8                    /626
                                       Dealer bids                                                                    options for the
                         /630                            System receives
                                         and auto                                                                     automobile and
                                                          and processes
           Consumer receives                                                                                           prepare and
                                          market         dealer bids and
            dealer bids based                                                                                       provide bids for the
                                       information      prepares bids and
            on the verification                                                                                          consumer
                                             I          automobile market
             and selects a bid               I
                                             I
                                                        data for consumer                                                                       d
           including a delivery                                                                                                                 r.,;_
             option based on       632   :=\:                      ~        4 636                                                /638
            automobile market                                                                                                                  '"'-.0
                                   [     Selection       System receives                                            Dealer receives bid         0--,
                information                                                         Selection                                                   0--,
                                                        and processes bid                                             selection and             UI
                                                            selection                                               coordinates a sale         00
                                                                                                                                                '-.0
                                                                                                                                                -....l

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                                                     US 9,665,897 B2
                               1                                                                   2
         AUTOMOBILE TRANSACTION                                     request and a manufacturer response may provide a verifi-
    FACILITATION USING A MANUFACTURER                               cation, confirmation, or offer indicating that the specific
                 RESPONSE                                           automobile can be provided for the consumer. Bids to sell
                                                                    the specific automobile may be requested from dealers based
           CROSS REFERENCE TO RELATED                            5 on the manufacturer response. Dealer bids may be provided
                  APPLICATIONS                                      to the consumer with prices and a delivery options. The
                                                                    consumer may select a bid which specifies a pickup location
  This application is a continuation of U.S. application Ser.       at a particular dealer.
No. 13/176,497, filed Jul. 5, 2011, which is related to the            Additional features and advantages of the disclosed
commonly-owned patent application filed on Jul. 5, 2011,         10 method and apparatus are described in, and will be apparent
entitled "AUTOMOBILE TRANSACTION FACILITA-                          from, the following Detailed Description and the Figures.
TION BASED ON CUSTOMER SELECTION OF A SPE-
CIFIC AUTOMOBILE," U.S. application Ser. No. 13/176,                         BRIEF DESCRIPTION OF THE FIGURES
525, now U.S. Pat. No. 8,744,925, the entire content of each
of which is hereby incorporated by reference herein.          15         FIG. 1 is a high level block diagram of an example
                                                                      network communicating system, according to an example
                        BACKGROUND                                    embodiment of the present invention.
                                                                         FIG. 2 is a detailed block diagram showing an example of
   In the automobile industry, consumers typically purchase           a computing device, according to an example embodiment
automobiles from dealers or dealerships. Dealers often pur- 20 of the present invention.
chase new automobiles from several manufacturers, to sell                FIG. 3 is a block diagram showing an example automobile
to consumers. Consumers typically negotiate a lower price             transaction network structure, according to an example
than the manufacturer suggested retail price typically                embodiment of the present invention.
referred to as the "sticker price" and/or the price the dealer           FIGS. 4A and 4B include a flowchart illustrating an
initially offers. In many cases, the negotiation process for an 25 example process for facilitating an automobile transaction,
automobile may include a large degree of uncertainty for the          according to an example embodiment of the present inven-
consumer. Generally, the negotiation process is a zero sum            tion.
process, and because the consumer and the dealer are each                FIG. 5 is a block diagram showing an example data
trying to get a better deal, there is typically some lack of trust    architecture, according to an example embodiment of the
during the negotiation. Accordingly, both dealers and con- 30 present invention.
sumers often base the negotiations on established market                 FIG. 6 is flow diagram illustrating an example process for
prices. However, market prices can fluctuate rapidly depend-          facilitating an automobile transaction, according to an
ing a variety of factors. For example, consumer demand may            example embodiment of the present invention.
be affected by economic factors, such as changes in gasoline
prices, unemployment rates, government sponsored tax 35                       DETAILED DESCRIPTION OF EXAMPLE
rebates for automobile purchases, etc.                                                       EMBODIMENTS
   In many cases, a consumer may have concerns that a
dealer may not offer a fair and competitive price. Various               The present disclosure relates in general to a system for
products and services have become available that allow                facilitating automobile transactions and, in particular, to
consumers to perform research on market prices for auto- 40 automobile transaction facilitation using a manufacturer
mobiles. Similarly, dealers negotiating an automobile sale            response. Briefly, in an example embodiment, a system is
generally do not kuow the maximum price a consumer will               provided which allows a consumer to request a verification
be willing to pay for a particular automobile, or how long it         that a specific car can be obtained. For example, a consumer
will take to sell an automobile in inventory for a given price.       may use a mobile device to take a picture of a vehicle
Accordingly, dealers also use products and services for 45 identification number and using optical character recogni-
determining and/or tracking market prices. Further, automo-           tion, request real-time information on that automobile. For
bile manufacturers may also have an interest in the market            example, a manufacturer can provide a verification to the
prices for automobiles, because the market activity captured          consumer and dealers that the automobile can be provided,
as automobile market information may allow the manufac-               along with specific logistics for delivery. Dealers may pro-
turer to, for example, more profitably determine which 50 vide bids based on the consumer request and the manufac-
automobiles to manufacture, what prices the manufacture               turer verification, including intrabrand bids and interbrand
should offer to dealers, and whether manufacturer incentives          bids. A consumer may select a dealer bid to purchase or lease
should be offered on existing dealer automobile inventory.            an automobile based on the prices and delivery options
                                                                      available. Also, the presently disclosed system may advan-
                          SUMMARY                                  55 tageously allow for inventoryless bidding by dealers. For
                                                                      example, a dealer does not need to have an automobile in its
   The present disclosure provides a new and innovative               inventory (e.g., on the dealer lot), but can make a bid to sell
system, methods and apparatus for providing automobile                that automobile anyways, and then have that automobile
market information and performing automobile transactions.            produced by a manufacturer or transported to the dealer lot.
In an example embodiment, automobile market data repre- 60 In a non-limiting example embodiment, certain features
sentative of recent automobile market characteristics is              disclosed in the present patent application may be commer-
stored. The automobile market data may include pricing,               cially embodied in products and services offered by Sidekick
inventory, and consumer interest information received from            Technology LLC, the assignee of the present application.
manufacturers, dealers, and consumers. A consumer may                    The present system may be readily realized in a network
provide a request for a manufacturer response indicating 65 communications system. A high level block diagram of an
whether a specific automobile can be provided. Automobile             example network communications system 100 is illustrated
market data may be provided to a manufacturer based on the            in FIG. 1. The illustrated system 100 includes one or more

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client devices 102, and one or more host devices 104. The          etc. retrieved from a computing device 102, 104 and/or
system 100 may include a variety of client devices 102, such       loaded via an input device 214.
as desktop computers and the like, which typically include            The interface circuit 212 may be implemented using any
a display 112, which is a user display for providing infor-        suitable interface standard, such as an Ethernet interface
mation to users 114, and various interface elements as will 5 and/or a Universal Serial Bus (USB) interface. One or more
be discussed in further detail below. A client device 102 may      input devices 214 may be connected to the interface circuit
be a mobile device 103, which may be a cellular phone, a           212 for entering data and commands into the main unit 202.
personal digital assistant, a laptop computer, a tablet com-       For example, the input device 214 may be a keyboard,
puter, etc. The client devices 102 may communicate with the        mouse, touch screen, track pad, track ball, isopoint, image
                                                                10 sensor, character recognition, barcode scanner, and/or a
host device 104 via a connection to one or more communi-
                                                                   voice recognition system.
cations charmels 106 such as the Internet or some other data
                                                                      One or more displays 112, printers, speakers, and/or other
network, including, but not limited to, any suitable wide area
                                                                   output devices 216 may also be connected to the main unit
network or local area network. It should be appreciated that       202 via the interface circuit 212. The display 112 may be a
any of the devices described herein may be directly con- 15 cathode ray tube (CRTs), a liquid crystal display (LCD), or
nected to each other instead of over a network. Typically,         any other type of display. The display 112 generates visual
one or more servers 108 may be part of the network                 displays generated during operation of the computing device
communications system 100, and may communicate with                102, 104. For example, the display 112 may provide a user
host servers 104 and client devices 102.                           interface, which will be described in further detail below,
   One host device 104 may interact with a large number of 20 and may display one or more web pages received from a
users 114 at a plurality of different client devices 102.          computing device 102, 104. A user interface may include
Accordingly, each host device 104 is typically a high end          prompts for human input from a user 114 including links,
computer with a large storage capacity, one or more fast           buttons, tabs, checkboxes, thumbnails, text fields, drop
microprocessors, and one or more high speed network                down boxes, etc., and may provide various outputs in
connections. Conversely, relative to a typical host device 25 response to the user inputs, such as text, still images, videos,
104, each client device 102 typically includes less storage        audio, and animations.
capacity, a single microprocessor, and a single network               One or more storage devices 218 may also be connected
connection. It should be appreciated that a user 114 as            to the main unit 202 via the interface circuit 212. For
described herein may include any person or entity which            example, a hard drive, CD drive, DVD drive, and/or other
uses the presently disclosed system and may include a wide 30 storage devices may be connected to the main unit 202. The
variety of parties. For example, as will be discussed in           storage devices 218 may store any type of data, such as
further detail below, users 114 of the presently disclosed         pricing data, transaction data, operations data, inventory
system may include a consumer, a dealer, and/or a manu-            data, commission data, manufacturing data, image data,
facturer.                                                          video data, audio data, tagging data, historical access or
   Typically, host devices 104 and servers 108 store one or 35 usage data, statistical data, security data, etc., which may be
more of a plurality of files, programs, databases, and/or web      used by the computing device 102, 104.
pages in one or more memories for use by the client devices           The computing device 102, 104 may also exchange data
102, and/or other host devices 104 or servers 108. A host          with other network devices 220 via a connection to the
device 104 or server 108 may be configured according to its        network 106. Network devices 220 may include one or more
particular operating system, applications, memory, hard- 40 servers 226, which may be used to store certain types of
ware, etc., and may provide various options for managing           data, and particularly large volumes of data which may be
the execution of the programs and applications, as well as         stored in one or more data repository 222. A server 226 may
various administrative tasks. A host device 104 or server          include any kind of data 224 including databases, programs,
may interact via one or more networks with one or more             files, libraries, pricing data, transaction data, operations data,
other host devices 104 or servers 108, which may be 45 inventory data, commission data, manufacturing data, con-
operated independently. For example, host devices 104 and          figuration data, index or tagging data, historical access or
servers 108 operated by a separate and distinct entities may       usage data, statistical data, security data, etc. A server 226
interact together according to some agreed upon protocol.          may store and operate various applications relating to
   A detailed block diagram of the electrical systems of an        receiving, transmitting, processing, and storing the large
example computing device (e.g., a client device 102, and a 50 volumes of data. It should be appreciated that various
host device 104) is illustrated in FIG. 2. In this example, the    configurations of one or more servers 226 may be used to
computing device 102, 104 includes a main unit 202 which           support and maintain the system 100. For example, servers
preferably includes one or more processors 204 electrically        226 may be operated by various different entities, including
coupled by an address/data bus 206 to one or more memory           automobile manufacturers, brokerage services, automobile
devices 208, other computer circuitry 210, and one or more 55 information services, etc. Also, certain data may be stored in
interface circuits 212. The processor 204 may be any suit-         a client device 102 which is also stored on the server 226,
able processor, such as a microprocessor from the INTEL            either temporarily or permanently, for example in memory
PENTIUM® family of microprocessors. The memory 208                 208 or storage device 218. The network connection may be
preferably includes volatile memory and non-volatile               any type of network connection, such as an Ethernet con-
memory. Preferably, the memory 208 stores a software 60 nection, digital subscriber line (DSL), telephone line,
program that interacts with the other devices in the system        coaxial cable, wireless connection, etc.
100 as described below. This program may be executed by               Access to a computing device 102, 104 can be controlled
the processor 204 in any suitable marmer. In an example            by appropriate security software or security measures. An
embodiment, memory 208 may be part of a "cloud" such               individual users' 114 access can be defined by the comput-
that cloud computing may be utilized by a computing 65 ing device 102, 104 and limited to certain data and/or
devices 102, 104. The memory 208 may also store digital            actions. Accordingly, users 114 of the system 100 may be
data indicative of documents, files, programs, web pages,          required to register with one or more computing devices

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102, 104. For example, registered users 114 may be able to      a dealer near the consumer's present location. The automo-
request or manipulate data, such as submitting requests for     bile market information processing system 302 may process
pricing information or providing an offer or a bid.             data received by the consumer interface 304, as well as the
   As noted previously, various options for managing data       dealer interface 306 and/or the manufacturer interface 308,
located within the computing device 102, 104 and/or in a 5 to respond to a request from a consumer. For example, data
server 226 may be implemented. A management system may          from database system 310 may be queried for use in a report,
manage security of data and accomplish various tasks such       or a recommendation may be provided by recommendation
as facilitating a data backup process. A management system      engine 312 according to the consumer request and current
may be implemented in a client 102, a host device 104, and      market data. The automobile market information processing
a server 226. The management system may update, store, 10 system 302 may integrate data received from consumer
and back up data locally and/or remotely. A management          interface 304, dealer interface 306, and manufacturer inter-
system may remotely store data using any suitable method        face 308 to provide current and accurate information relating
of data transmission, such as via the Internet and/or other     to the automobile market.
networks 106.                                                      It should be appreciated that the consumer interface 304
    FIG. 3 is a block diagram showing an example automobile 15 may be specific to one particular manufacturer or may
transaction network structure 300 which includes an auto-       provide information for multiple different manufacturers.
mobile market information processing system 302, a con-         For example, a consumer interface 304 may be a website
sumer interface 304, a dealer interface 306, and a manufac-     with information on many manufacturers, and further, the
turer interface 308. The example automobile market              consumer interface 304 may access or link to the manufac-
information processing system 302 may be implemented on 20 turer specific websites (e.g., Ford). Also, for example, a
one or more host devices 104 accessing one or more servers      consumer interface 304 may be implemented as an automo-
108, 226. In an example embodiment, the automobile mar-         bile manufacturer's website. Typically, a manufacturer's
ket information processing system 302 includes a database       website may provide consumers with a catalog like feature
system 310, a recommendation engine 312, a vehicle iden-        that provides information on different automobile models
tification number processor 314, and an interface generation 25 with any available options or features. For example, a
unit 316. A user 114 may be a consumer, a dealer, or a          manufacturer website may allow a consumer to select
manufacturer that interacts with the consumer interface 304,    options that are desired to "build" a particular automobile,
dealer interface 306, or manufacturer interface 308, respec-    and may provide price comparisons using suggested retail
tively. A database system 310 may include a wide variety of     prices, which may consumers use for initial research into
automobile market data. A recommendation engine 312 may 30 what pricing the dealer may offer for a particular automobile
provide recommendations for consumers, dealers, and             with a particular feature set. Also, typically, the consumer
manufacturers. A vehicle identification number processor        may enter information, including, for example, name, an
314 may be used for making requests regarding specific          address or zip code, and telephone number. This information
automobiles and automobiles with specific sets of features.     may be passed on from the manufacturer to a nearby dealer
For example, a vehicle identification number processor 314 35 and/or nearby dealer information may be provided to the
may determine a specific set of features that a specific car    consumer (e.g., the dealer in or nearest to the consumer's
has based on a picture of that specific car's vehicle identi-   entered zip code). Accordingly, the dealer may contact the
fication number. Interface generation unit 316 may provide,     consumer, or the consumer may inquire with the dealer,
for example, HTML files which are used at the consumer          regarding the specific automobiles available on that dealer's
interface 304, dealer interface 306, and manufacturer inter- 40 lot and particular pricing being offered, etc. In many cases,
face 308 interface to provide information to the users 114. It  consumers may not inquire with dealers that the manufac-
should be appreciated that he the consumer interface 304,       turer may recommend, and similarly, dealers may not dili-
dealer interface 306, and manufacturer interface 308 may be     gently follow up with consumers that have an interest in
considered to be part of the automobile market information      purchasing an automobile. Further, it should be appreciated
processing system 302, however, for discussion purposes, 45 that the information provided via a consumer interface 304
the consumer interface 304, dealer interface 306, and manu-     and/or a manufacturer website may be very useful to con-
facturer interface 308 may be referred to as separate from the  sumers. For example, in the past, dealers often provided
automobile market information processing system 302.            brochures with all the information on a manufacturer's
    For example, a user 114 may interact with a consumer        available car models, including all the features and options
interface 304 to research automobiles the user 114 is inter- 50 information. However, dealers typically do not provide
ested in buying. For example, a consumer may be looking         comprehensive information brochures, which may be rela-
for a four door sedan with specific features, including a       tively expensive to produce, and rather, that information is
global positioning system (GPS), a sunroof, tinted windows,     typically located on a manufacturer website and/or a con-
rated for at least thirty miles per gallon, four wheel drive,   sumer interface 304.
etc. The consumer may interact with the consumer interface 55      Accordingly, the consumer interface 304 may provide a
304 by inputting required and/or desired features, monthly      wide range of information, for example, based on any
budget or full price, etc. The consumer interface 304 may       searches or queries performed by a user 114. In an example
provide a wide variety of features and specifications which     embodiment, based on a user search or request for a
the consumer may choose from in providing a request.            response, the consumer interface 304 will display a quality
Based on the information put into the consumer interface 60 index or value index based on normalized calculations for an
304 from the consumer, the consumer interface 304 may           automobile. The recommendation engine 312 may provide
provide one or more reports or offers to the consumer. As       recommendations to a consumer based on the current auto-
will be discussed in further detail below, the information      mobile market data stored in the automobile market infor-
provided by the consumer interface 304 may include current      mation processing system 302. For example, metrics on gas
market prices for automobiles, including information relat- 65 mileage, emissions, operating and maintenance costs, safety
ing to additional features, and may include information on      ratings, etc. may be benchmarked against comparable auto-
specific automobiles, for example, which may be en route to     mobiles of the same and different manufacturers. Similar

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purchase options to a specific search may also be provided,        interface 308 may provide a manufacturer a request received
based on feature matching, price range, consumer popular-          from a consumer interface 304. Additionally, the manufac-
ity, etc. Information including price ranges, including            turer interface 308 may provide information such as a report
MSRP, invoice prices, inventory levels, the user's 114 credit      that allows the manufacturer to provide a response to the
ratings (e.g., FICO score), may be provided which may 5 requesting consumer. A report may include information from
include monthly payment estimates or projections. For              database system 310 relating to current market pricing,
example, a financing calculator may help a user 114 deter-         recent sales figures and trends, current manufacturer incen-
mine what financing rate is appropriate. It should be appre-       tives, current inventory, including dealer inventory, inven-
ciated that dealers may mislead consumers into believing           tory in transit, and/or build times or lead times for a desired
that a higher financing rate will be required to secure a loan. 10 automobile, etc. The manufacturer may use this information
Further, for example, a lease vs. buy calculator may be            to provide a response to a consumer request. The manufac-
provided which may use current market data including               turer may provide the manufacturer interface 308 with
prices, interest rates, incentives, estimated mileage per year,    information to provide a confirmation, a verification, or an
etc. for providing an analysis for a particular consumer           offer to a consumer via consumer interface 304. For
regarding purchasing or leasing. Also, the consumer inter- 15 example, a confirmation number associated with the par-
face 304 may provide a purchase checklist, for example, of         ticular consumer request may be provided for the consumer.
ten steps to buying a car. A qualitative checklist may allow       Also, a recommendation may be provided from the recom-
a user to ask the right questions and get the right answers        mendation engine 312 to the manufacturer in relation to
from a dealer. Additional tips may be provided, such as a list     automobile pricing, responding to a specific request, manu-
of products or services dealers may attempt to sell to a 20 facturer incentives, inventory management, production
consumer with an analysis of the value of these products or        schedules, shipping schedules, etc. It should be appreciated
services and a recommendation to accept or decline these           that a manufacturer may be referred to as an OEM or
dealer offers. Further, beyond analysis relating to automo-        original equipment manufacturer. The manufacturer inter-
biles, additional analysis or reports may be provided, for         face 308 may provide a manufacturer with a real-time lens
example, relating to dealer reviews, other supplemental 25 into the automobile market which may allow the manufac-
products, financial entities that may provide financing, etc.      turer to adjust production schedules, pricing plans, market-
For example, dealer reviews may provide a consumer with            ing activities, etc., which may provide a significant advan-
information the consumer may use in addition to automobile         tage for manufacturers.
pricing and delivery options. Moreover, the consumer inter-           Accordingly, information may be provided to the auto-
face 304 may provide a wide variety of useful information 30 mobile market information processing system 302 from
to a consumer, for at home research and preparation, and/or        consumers, dealers, and manufacturers with a very high
in a dealer location while shopping as a negotiating tool that     degree of granularity, as every transaction that occurs and
may provide confirmation on pricing, useful tips, and the          even every request or search may be stored and used by the
like.                                                              automobile market information processing system 302. This
   In an example embodiment, a dealer interface 306 may 35 allows the automobile market information processing sys-
provide a user 114, such as a dealer employee, information         tem 302 to use the most current automobile market data to
relating to the current automobile market. The dealer inter-       provide information to consumers, dealers, and manufactur-
face 306 allows a dealer to interact with automobile market        ers. It should be appreciated that market prices can change
information processing system 302 to provide the dealer            relatively quickly, particularly when major events drive
with a wide variety of information, including, for example, 40 consumer behavior or manufacturer production, such as
current market pricing. Other automobile market informa-           natural disasters. Accordingly, reports and recommendations
tion a dealer may receive on a dealer interface 306 includes       provided by the automobile market information processing
information relating to lot inventory, turnover rates, auto-       system 302 may be highly accurate, reliable, and sensitive to
mobile transportation and/or shipping costs, incentives, and       market changes.
various ratings, such as ratings relating to quality, safety, 45      It should be appreciated that certain functions described
insurance, a consumer credit score, dealer ratings, residual       as performed, for example, at automobile market informa-
or resale values, etc. A dealer may input information into         tion processing system 302, may instead be performed
dealer interface 306 relating to sales data, including current     locally at consumer interface 304, dealer interface 306, and
pricing offered, special sales offers, actual transaction data,    manufacturer interface 308, or vice versa. Further, in certain
inventory data, etc. In an example embodiment, the dealer 50 cases, tasks may be performed using consumer interface
may provide information through dealer interface 306 which         304, dealer interface 306, and manufacturer interface 308 or,
will be used by automobile market information processing           for example, performed in person, such as a consumer
system 302 to prepare reports or offers to consumers and/or        signing documents at a dealer location, or a dealer commu-
manufacturers. It should be appreciated that a dealer is           nicating with a manufacturer using a telephone. It should be
typically a franchise entity, while a distribution location may 55 appreciated that the consumer interface 304, dealer interface
not be a franchise entity. For brevity, throughout this speci-     306, and manufacturer interface 308 may be implemented,
fication, the term dealer may be used to describe both             for example, in a web browser using an HTML file received
franchise entity dealers and non-franchise entity distribution     from the automobile market information processing system
location. Accordingly, as used in this disclosure, the term        302. In an example embodiment, the consumer interface
dealer does not indicate whether an entity is a franchise 60 304, dealer interface 306, and manufacturer interface 308
entity. Moreover, a franchise dealer or a non-franchise            may be located on a website, and may further be imple-
distribution location may utilize a dealer interface 306 as        mented as a secure website. Also, consumer interface 304,
described herein.                                                  dealer interface 306, and manufacturer interface 308 may
   In an example embodiment, a manufacturer interface 308          require a local application, for example, which a manufac-
may provide a user 114, such as a manufacturer employee, 65 turer may pay for to have access to, for example, information
information relating to the current automobile market,             from the automobile market information processing system
including consumer requests. For example, an manufacturer          302 such as requests from consumers.

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   FIGS. 4A and 4B include a flowchart of an example              cation number (VIN) on a car that the buyer would like to
process 400 for facilitating an automobile transaction.           receive information for. For example, using an application
Although the process 400 is described with reference to the       stored on a mobile device 103, the buyer may take a picture
flowchart illustrated in FIGS. 4A and 4B, it will be appre-       of the VIN on a car. The buyer may want information on that
ciated that many other methods of performing the acts 5 specific car or on other comparable cars with the same or
associated with the process 400 may be used. For example,         similar features and/or options. The picture of the VIN may
the order of many of the blocks may be changed, certain           be processed using optical character recognition, which
blocks may be combined with other blocks, and many of the         allows the automobile market information processing sys-
blocks described are optional.                                    tem 302 to determine the make and model of the car, along
   The example process 400 for facilitating an automobile 10 with various other characteristics of the car. It should be
transaction may allow users 114, including manufacturers          appreciated that the VIN may include human readable
and consumers, as well as dealers, to efficiently sell and        characters, a bar code, or any other graphical or machine
purchase automobiles, respectively. The example process           readable information which acts as a vehicle identification
400 may begin with automobile market data including at            number. Accordingly, the buyer may perform research, for
least pricing data and inventory data stored in a database 15 example, while at home or while shopping at a dealer
system (block 402). For example, automobile market data           location. Further, for example, the buyer may take a picture
from manufacturers, dealers, and consumers regarding pric-        of a VIN anywhere, including at automobile trade shows,
ing, lot inventory, production scheduling, and shipment           mall displays, or anywhere new cars or cars for sale are
scheduling is collected and stored in a database. In an           displayed. The buyer may even take a picture of a car parked
example embodiment, a wide variety of data is stored in a 20 in the street as the buyer walks down the street. Any request
database system 310. Automobile market data may include           or query communicated from the consumer interface 304
various relevant ratings, reports, awards, or other informa-      may be stored, for example, in database system 310, thereby
tion, including quality information, safety information,          updating the automobile market information processing sys-
insurance information, consumer credit information, dealer        tem 302 with current automobile market data.
rating information, incentive information, residual value 25         The example process 400 may continue with providing
information, and/or any other data which may be relevant to       automobile market data to a manufacturer based on the
consumers. For example, ratings data may include informa-         consumer request (block 406). For example, the car manu-
tion from the National Highway Traffic Safety Administra-         facturer receives a real-time report including local car sales
tion (NHTSA), the Environmental Protection Agency                 data, inventory data, car delivery data, and car build time
(EPA), and/or the Insurance Institute for Highway Safety 30 data of the consumer's requested car. In an example embodi-
(IIHS). The data may include information from a consumer          ment, a report may include quality information, safety
interface 304, such as data in consumer searches or requests,     information, insurance information, consumer credit infor-
information from a dealer interface 306, such as currently        mation (e.g., buyer FICO score), dealer rating information,
offered dealer pricing, transaction data for finalized sales,     incentive information, residual value information, and/or
current inventory data, shipping costs, and information from 35 any other data which may be relevant to consumers. The
a manufacturer interface 308, such as current manufacturer        report may be provided through manufacturer interface 308
prices and suggested pricing, manufacturer incentives, and        and include the consumer requirements and preferences. The
current inventory including finished inventory on hand,           request and/or the report may be provided in real-time and
production scheduling, shipment scheduling, inventory in          may provide real-time data. Data reported based on a
transit, and manufacturing lead times. The automobile mar- 40 real-time updates in the automobile market information
ket data may be comprised solely of information received          processing system 302 may provide significant advantages,
from the consumer interface 304, dealer interface 306, and        for example, when pricing conditions may change quickly
manufacturer interface 308, or may include additional infor-      due to unforeseen market conditions. The recommendation
mation received from other sources. It should be appreciated      engine 312 may provide recommendations to a manufacturer
that various methods of storing the automobile market data 45 based on the current automobile market data. For example,
may be employed according to the system requirements. For         a report may indicate various estimated sales probabilities
example, database system 310 may be organized according           for different prices that a dealer may offer or bid, which can
to different manufacturers, automobile make and model,            be very useful information for a manufacturer. In an example
different information categories (e.g., suggested pricing,        embodiment, a probability for a manufacturer or dealer to
market prices, production, shipping, lot inventory), etc., and 50 sell a certain lot of automobiles within a time frame may be
may consist of one or more databases on one or more servers       provided. Such information may be illustrated in various
108, 226 which may be remotely located from each other            ways, such as a bell curve graph or a chart. Further, the
and/or a host device 104 of the automobile market informa-        recommendation engine may provide suggestions regarding
tion processing system 302. As will be discussed further          manufacturer incentives or other factors which affect the
below, the automobile market data may be continually 55 automobile market. Manufacturers may use such informa-
updated as new data is provided to the automobile market          tion in making important decisions, such as setting pricing,
information processing system 302.                                setting or modifying production schedules, marketing direc-
   The example process 400 continues with a consumer              tives, future product features and focus, and the like. Also,
providing a request to a manufacturer for a response of           in an example embodiment, the manufacturer interface 308
whether an automobile can be provided (block 404). For 60 may provide information that is limited to cars which meet
example, a car buyer fills in a request form on a website to      the consumer request requirements. The manufacturer may
receive a verification that a car can be produced or delivered.   customize the manufacturer interface 308 to provide infor-
In this example embodiment, the buyer's request may be            mation in a pre-specified manner to suit the manufacturers
transmitted from consumer interface 304 via the internet to       needs.
the automobile market information processing system 302. 65          A manufacturer response is provided to the consumer
In another example embodiment, a car buyer may be located         indicating that the automobile can be provided for the
at a dealer location and take a picture of a vehicle identifi-    consumer (block 408). For example, the car maker provides

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a verification that a car can be produced, shipped, or is           which could serve as a pickup location. In an example
already in inventory based on current pricing data, car             embodiment, the automobile market data may indicate that
locations, and build times for the subject car. The manufac-        the particular car requested by a consumer should be priced
turer interface 308 may be used to communicate a verifica-          at, for example, $26,000. However, various factors may
tion, or a confirmation or offer to a buyer. For example, a 5 affect the bid or offer that a dealer will make for the
verification may state that a particular car with specific          particular car. For example, the potential for forming a
features may be produced within forty-five days if the buyer        customer relationship, the value of potential add-on products
purchases that car and may provide a confirmation number            and services, or competition with other dealers may cause a
associated with the verification. In another example, a             dealer to bid lower than normal. In such a case, the dealer
particular car currently being shipped to New York may be 10 may bid $25,000 in an effort to create a customer relation-
re-routed to Illinois. The automobile market data may               ship, sell add-on products, and/or undercut the competition
include, for example, shipping costs that the manufacturer          pricing. Other factors, such as the buyer's credit score (e.g.,
may use for determining if an automobile should be re-              FICO score), may be used by a dealer in determining a bid,
routed. An offer to produce or ship a particular car to a dealer    as this may affect the profitability of a sale.
location near a consumer may be authorized through the 15              Further, for example, the particular automobile requested
manufacturer interface 308. In an example embodiment, the           may not be available for immediate pickup near the buyer,
automobile market information processing system 302 may             and various alternative delivery options may be provided
be pre-authorized by a manufacturer to provide a confirma-          from several dealers' bids. A car that is in transit to an out
tion of specific model with specific feature sets. A manu-          of state dealer may be re-routed to a dealer near the buyer,
facturer may determine whether it is profitable to produce a 20 or a new car may be built to the buyer's desired specifica-
car from scratch based on the automobile market data such           tions and delivered to a dealer near the buyer. Therefore, for
as current market pricing, current inventory levels, and the        example, the consumer interface 304 may provide several
like. Accordingly, a manufacturer response may be adjusted          different bids with different delivery options and prices to
by current automobile market conditions. In an example              the buyer, for example, a price of $26,000 to pick up the car
embodiment, a manufacturer response may not require the 25 at an out of state dealership the next day, a price of $26,000
use of manufacturer interface 308, for example, a manufac-          to pick up the car at a local dealer in two months, or a price
turer may otherwise provide a consumer with a verification,         of $26,500 to pick up the car at a local dealer in five days.
which may be provided by the consumer for use in the                For example, the costs of re-routing a car already in ship-
automobile market information processing system 302. Any            ment may be factored into dealer bids. Inventory less bidding
verification, confirmation, offer, and/or response communi- 30 may be highly beneficial when dealers that do not have a
cated from a manufacturer interface 308 may be stored, for          requested automobile in inventory can still profitably pro-
example, in database system 310, to further update the              vide a bid. Further, for example, cars that are not exactly
automobile market information processing system 302 with            what the buyer requested may also be offered to the buyer.
current automobile market data.                                     For example, the buyer may request a four wheel drive car,
   Then, a bid to sell the automobile to the consumer is 35 but if a two wheel drive car that meets all the other buyer
requested from dealers based on the manufacturer response           criteria is immediately available at a nearby dealer, the
(block 410). For example, several dealers provide bids based        dealer may provide an offer to the buyer for this car, possibly
on the verification, current pricing data, dealer pickup loca-      at a significantly lower price, such as $23,000 instead of
tions, and potential add-ons. Each dealer's bid may include         $26,000 for a four wheel drive car as requested. Further, for
a price, for example, a price with no additional add-on 40 example, dealers may use information such as ratings data to
products or services, such as service contracts, warranties,        optimize their bids. For example, if gasoline prices are
aftermarket accessories, etc. For example, add-on products          increasing, mileage ratings for a particular car may dictate
may provide substantial value to a dealer, above and beyond         increasing or decreasing a bid. If a vehicle has very good gas
the profit margin for the sale of the requested car. A dealer       mileage, and gas prices are skyrocketing, that car may have
may profit from selling financing options, for example, if a 45 an increasing demand as gas prices increase, or vice versa.
consumer needs financing, the financier may pay the dealer          Similarly, safety ratings of vehicles may be important to
for sourcing the loan. A dealer may sell service plans or           consumer demand if high profile problems have appeared
maintenance packages (e.g., an extended service contract),          for a particular automobile style, make, or model. As dis-
selling warranties (e.g., a lifetime warranty), or selling          cussed above, various automobile market information may
insurance plans (e.g., life, accident, and health insurance, 50 be used by a dealer including safety information, insurance
liability insurance, comprehensive insurance, etc.). Also, a        information, consumer credit information, dealer rating
dealer may also sell various hard add accessories, for              information, incentive information, residual value informa-
example, bicycle racks, hitches, commercial accessories             tion, and/or any other data which may be relevant to
(e.g., lights and sirens), or any aftermarket products or           consumers.
modifications (e.g., sunroof).                                   55    The consumer interface 304 may organize dealer bids
   One or more dealer bids are provided to the consumer             based on a variety of factors and may provide supplemental
(block 412). For example, several dealers provide bids, so          information. For example, certain dealer bids may be
several different prices and delivery options may be avail-         selected as the best options, all dealer bids may be summa-
able to the car buyer. Typically, the bid will include at least     rized, various additional ratings, reviews, or popularity
a specified price and pickup time and location. Typically, a 60 information, financing information, etc. may also be pro-
pickup location will be a dealer lot or distribution location.      vided to a consumer along with any dealer bids. The
In an example embodiment, a buyer that has taken a picture          recommendation engine 312 may provide recommendations
of a VIN with a mobile device may receive dealer bids               to a consumer based on the current automobile market data.
within minutes or seconds on the mobile device. Accord-             For example, of ten dealer bids provided with a response,
ingly, the bids may be used in real-time as the buyer may be 65 three bids may be recommended, for example, as "Great
actively shopping for a car on a dealer lot. It should be           Deals!" It should be appreciated that in some cases, a
appreciated that some dealers may have multiple locations           particular consumer search may not return any dealer bids,

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for example, if consumer search requirements are unrealistic      buyer has effectively purchased the car, and the dealer does
for the consumer's required price range. Also, for example,       need to worry about the buyer backing out of the deal. Any
if only one or two bids are received, the recommendation          consumer selections, counter offers, or additional requests or
engine 312 may recommend that a consumer wait for a               responses may be stored in database system 310, as the
better bid because the bids provided are not competitive 5 communications are processed by automobile market infor-
offers based on the current automobile market data stored in      mation processing system 302, providing further data
the database system 310. Further, in an example embodi-           updates. Accordingly, in an example embodiment, a con-
ment, dealer bids may be organized according to distance to       sumer may select a bid to purchase a car, and that purchase
a dealer pickup location, lowest price, closest match to the      information may then be provided to another consumer
consumer entered criteria, a normalized quality index or 10 searching for the same type of car with similar features, for
value index, etc. The consumer may be able to toggle              example, the next day.
between different viewing options for dealer bids or search          Once a bid with a specific delivery option has been
results.                                                          selected, the manufacturer is instructed to provide the auto-
   Further, in an example embodiment, a buyer may be at a         mobile to a dealer according to the consumer bid selection
dealer lot (e.g., a Nissan dealer) and take a picture of a VIN 15 (block 416). For example, the car maker is instructed to
on a car (e.g., a Maxima). A bid from a competing dealer          re-route a car already in transit to the dealer pickup location
(e.g., a Toyota dealer) across the street may be received on      for delivery in less than five days. In an example embodi-
the mobile device within seconds and include information          ment, the dealer may be required to send an instruction
for a comparable car (e.g., an Avalon) relating to, for           message from the dealer interface 306 to the manufacturer
example, gas mileage, safety ratings, price comparisons, 20 interface 308. It should be appreciated that the specific
residual value, driving directions to the competing dealer,       manner of instruction may be changed based on the particu-
etc. In an example embodiment, a dealer may use the               lar application, for example, the automobile market infor-
geolocation of the buyer, such as in instances when the buyer     mation processing system 302 may automatically provide an
is physically located close to the dealer. Accordingly, com-      instruction to a manufacturer to produce a car or re-route a
peting dealer bids may be interbrand or intrabrand in nature, 25 car. It should also be appreciated that particular events may
and may be tailored to the buyer's particular situation, which    be required to trigger instructing a car to be delivered to a
a consumer may find highly advantageous. For example, the         dealer, such as a deposit, financing approval, etc. Further, the
buyer may have a bid for a car the buyer wants to test drive      consumer may be required to send an instruction message
as well as a bid for a comparable car across the street before    from the consumer interface 304 to the manufacturer inter-
a salesman from the dealer even introduces himself. Accord- 30 face 308 affirming that the buyer has agreed to purchase the
ingly, a consumer may weigh the pros and cons of various          car from the dealer.
dealer bids, based on delivery options, pricing, and any other       The consumer and the dealer execute the sale of the
relevant variants. Any bids communicated from a dealer            automobile (block 418). For example, the consumer elec-
interface 306 may be stored, for example, in database system      tronically signs documentation such as loan application and
310, to further update the automobile market information 35 a contract and performs an electronic funds transfer or credit
processing system 302 with current automobile market data.        card payment. After the delivery option is selected, an
   The consumer selects a bid including a delivery option         electronic contract may be provided by the manufacturer for
which specifies a pickup location (block 414). For example,       the buyer who may e-sign the contract, and/or any other loan
the car buyer chooses a delivery option of picking up the car     applications or other documentation as needed. In another
at a nearby dealer in five days. As noted above, a dealer may 40 example embodiment, paper copies of a contract may be
be a franchise dealer entity or a non-franchise distribution      signed, for example, after the buyer prints them or receives
location. The buyer may select an offer with a specified          them from a nearby dealer or through the mail. In an
delivery option on the consumer interface 304. The car            example embodiment, the buyer may provide cash or a paper
buyer may have been weighing two or more different                check. It should be appreciated that the process of executing
delivery options and/or different features, price differences, 45 a contract may take some time. For example, the process
etc., based on the response(s) received through the consumer      may occur in several steps, as loan processing may be
interface 304. As noted above, the consumer interface 304         required prior to executing a contract for sale of a car. Also,
may organize bids and other helpful information in a variety      it should be appreciated that, for example, the consumer
of ways, which may make the information easier for a              selection of a bid discussed above (see, e.g., block 414) may
consumer to digest. It should be appreciated that a buyer will 50 occur simultaneously with the consumer executing the sale.
typically want to pick up a new car at a convenient location,     Once the sale is completed, the actual transaction data
often near the buyer's home. Accordingly, dealers may             including the final negotiated price, may be provided to and
attempt to provide delivery options tailored towards maxi-        stored in database system 310. Accordingly, the automobile
mizing profit for the dealer while also maximizing conve-         market information processing system 302 may be updated
nience to the buyer, while also providing a superior bid to 55 with current automobile market data from every step in the
other dealers. By providing multiple bids with different          negotiation process between a consumer and a manufacturer.
delivery options, the buyer may be allowed to save time or        In an example embodiment, the updates provided to the
money based on the buyer's particular needs. In an example        automobile market information processing system 302 are
embodiment, the buyer may provide a counter offer or              provided in real-time, for example, data may be transmitted
different request via the consumer interface 304 to a dealer 60 and processed within seconds or minutes. Further, for
via the dealer interface 306. Accordingly, the dealer may         example, it should be appreciated that certain data may be
respond in kind, and may update delivery options or other         provided to the automobile market information processing
terms. It should be appreciated that the consumer selection       system 302 according to a batch processing schedule.
of a bid may, for example, occur simultaneously with the             Next, the manufacturer provides the dealer with the
consumer executing the sale or providing a deposit or down 65 purchased automobile according to the consumer bid selec-
payment, or the like (see, e.g., block 418). Accordingly, in      tion (block 420). For example, the car maker re-routes a car
an example embodiment, once the buyer selects a bid, the          en route to delivery at another dealer to the dealer pickup

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location selected by the car buyer or transports the car          click data, scrolling data, hover data, keyboard data, touch
directly from the factory to the dealer pickup location. If a     screen data, voice recognition data, etc., while output data
buyer chooses a quicker delivery option, the car may need         may include image data, text data, video data, audio data,
to be re-routed from a different destination to the selected      etc. Interface data 502 may include data relating to format-
dealer pickup location. If a buyer does not urgently need to s ting, user interface options, links or access to other websites
have a car, a new car may be built to the buyer's exact           or applications, and the like. Interface data 502 may include
specifications and delivered to the selected dealer pickup        applications used to provide or monitor interface activities
location. Also, for example, a purchased car may be already       and handle input and output data.
at a dealer which the buyer has agreed to pick the car up, in        Administrative data 504 may include data and applica-
which case, the car does not need to be provided to the 10 tions regarding user accounts. For example, administrative
dealer. A dealer may interact with the automobile market          data 504 may include information used for updating
information processing system 302 using dealer interface          accounts, such as creating or modifying manufacturer
306, for example, to receive notification that a car will be      accounts or dealer accounts. Further, administrative data 504
picked up by a buyer, and to report that a car has been           may include access data and/or security data. Administrative
delivered to the dealer. A notification may also be sent via 15 data 504 may interact with interface data in various manners,
consumer interface 304 to the buyer that the car is available     providing a user interface 304, 306, 308 with administrative
for pickup at the specified dealer.                               features, such as implementing a user login and the like.
   Finally, the consumer picks up the purchased automobile           Automobile market data 506 may include, for example,
according to the consumer selected delivery option at the         executed sales data 508, consumer data 510, dealer data 512,
dealer (block 422). For example, the car buyer picks up the 20 manufacturer data 514, statistical data 516, and/or historical
car at the nearby dealer five days after the car sale is          data 518. Executed sales data 508 may include actual
executed. The buyer may pick up the car without ever having       negotiated prices for manufacturer and dealer sales, differ-
to talk to or negotiate, in person or over the telephone, with    ences in list prices to negotiated prices, sales demographics,
the dealer. For example, the buyer may arrive at the dealer,      etc. Consumer data 510 may include consumer search activ-
show identification and proof of purchase, and be provided 25 ity, consumer requests and offers, consumer feedback, etc.
the keys to the car. The buyer may sign paperwork indicating      Dealer data 512 may include dealer pricing, including list
the car has been picked up. Also, the dealer may offer or         prices, sale prices for limited time dealer offers or deals of
provide additional products or services to the buyer when         the day, negotiation information such as bottom line pricing,
the buyer goes to the dealer to pick up the car. For example,     offers received, foot traffic activity, and dealer inventory
the dealer may offer financing options, warranties, service 30 data, including current on location data, automobile turnover
plans, insurance plans, and hard add accessories to the buyer,    rates, etc. Manufacturer data 514 may include manufacturer
as discussed in further detail above.                             pricing, including suggested pricing, preferred dealer pric-
   Accordingly, it should be appreciated that manufacturers,      ing, etc., manufacturer incentives including cash rebates,
consumers, and dealers may receive significant benefits           special lease rates, special APR rates, zero down offers,
from the method of facilitating an automobile transaction 35 lifetime warranties, guaranteed trade-in offers, etc., and
disclosed herein. For example, production scheduling, price       inventory information including dealer inventory, inventory
setting, inventory management, may be greatly improved for        by location, inventory in transit, manufacturing or produc-
manufacturers and dealers by utilizing the disclosed system       tion lead times or build times, production scheduling, ship-
and method. Consumers may benefit from more competitive           ping scheduling, etc. Statistical data 516 may include infor-
pricing, piece of mind knowing that a fair market price is 40 mation used for providing reports including graphs,
being offered for prospective purchases, and improved             forecasts, recommendations, calculators, depreciation
delivery options that allow the consumer to weigh the             schedules, tax information, etc., including equations and
benefits and drawbacks of different delivery options, pricing,    other data used for statistical analysis. Historical data 508
and other variables. In an example embodiment, consumers          may include past sales data, such as historical list prices,
can view prices paid for comparable cars in specific loca- 45 actual sale prices, manufacturer and dealer margins, oper-
tions based on the automobile market data in the automobile       ating costs, service costs or profitability, loyalty information,
market information processing system 302, for example,            etc. It should be appreciated that data may fall under
within a certain time frame such as one month and within a        multiple categories of automobile market data 506, or
certain proximity to the consumer. Moreover, various inef-        change with the passage of time. It should also be appreci-
ficiencies in the automobile industry may be minimized 50 ated that automobile market data 506 may be tailored for a
utilizing the presently disclosed system and method.              particular manufacturer or dealer, for example, a manufac-
   FIG. 5 illustrates a block diagram of an example data          turer may request that a specific type of data that is not
architecture 500. In the example data architecture 500,           normally stored or used be stored in the database system
interface data 502, administrative data 504, and automobile       310. Accordingly, for example, customized reports may be
market data 506 interact with each other, for example, based 55 provided to a manufacturer interface 308 using that specific
on user commands or requests. The interface data 502,             data for the manufacturer.
administrative data 504, and automobile market data 506              The integration of the various types of automobile market
may be stored on any suitable storage medium (e.g., server        data 506 received from the consumer interface 304, dealer
226). It should be appreciated that different types of data       interface 306, and manufacturer interface 308 may provide
may use different data formats, storage mechanisms, etc. 60 a synergistic and optimal resource for consumers, dealers,
Further, various applications may be associated with pro-         and manufacturers alike. In an example embodiment, a
cessing interface data 502, administrative data 504, and          consumer may benefit greatly from using an application in
automobile market data 506. Various other or different types      a mobile device 103 to receive both intrabrand information
of data may be included in the example data architecture          and interbrand information in real-time, based only on
500.                                                           65 taking a picture of VIN. Dealers and manufacturers may be
   Interface data 502 may include input and output data of        able to provide information to the consumer in a marmer that
various kinds. For example, input data may include mouse          highlights the benefits of the products the respective dealer

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or manufacturer would like to sell. The intrabrand and            provided and prepares and provides verification information
interbrand information provided on a consumer interface           for consumer and dealers (block 610). A manufacturer
304 may allow the best automobile options for a particular        response with the verification information may be provided
consumer to be provided to that consumer, may allow               from the manufacturer interface 308 to the automobile
manufacturers to better follow through with opportunities 5 market information processing system 302 (block 612). The
for sales, and may allow dealers to compete with other            automobile market information processing system 302
dealers taking into account a greater amount of automobile        receives and processes the manufacturer response with the
market information, all of which may result in a more             verification and prepares and provides information for con-
efficient automobile market.                                      sumer and dealers (block 614). The manufacturer response
   Automobile market data 506 may be maintained in vari- 10
                                                                  with a verification may be sent from the automobile market
ous servers 108, in databases or other files. It should be
                                                                  information processing system 302 to the consumer inter-
appreciated that, for example, a host device 104 may
                                                                  face 304 (block 616). It should be appreciated that other
manipulate automobile market data 506 in accordance with
the administrative data 504 and interface data 502 to provide     automobile market information may be provided to the
requests or reports to users 114 including consumers, deal- 15 consumer interface 304 with a verification, for example,
ers, and manufacturers, and perform other associated tasks.       suggested pricing, ratings information, etc. The consumer
It should also be appreciated that automobile market data         interface 304 receives the verification that the automobile
506 represents automobile market information, and that            can be provided, for example, as a confirmation message on
these terms may be used interchangeably in this disclosure        the mobile device (block 618).
depending upon the context.                                    20    The automobile market information processing system
   FIG. 6 is flow diagram illustrating an example process         302 may also send to the dealer interface 306 a bid request
600 for facilitating an automobile transaction, according to      for one or more dealers (block 620). One or more dealers
an example embodiment of the present invention. Although          receive a bid request, determine prices and delivery options
the process 600 is described with reference to the flow           for the automobile, and prepare and provide bids for the
diagram illustrated in FIG. 6, it will be appreciated that 25 consumer (block 622). A dealer bid may be sent from the
many other methods of performing the acts associated with         dealer interface 306 to the automobile market information
the process 600 may be used. For example, the order of            processing system 302 for each dealer that wants to provide
many of the blocks may be changed, certain blocks may be          a bid (block 624). The automobile market information
combined with other blocks, and many of the blocks                processing system 302 receives and processes dealer bids
described are optional.                                        30 and prepares the bids and automobile market data for the
   In the example process 600, data may flow between the          consumer (block 626). The automobile market information
automobile market information processing system 302 and a         processing system 302 may send dealer bids and automobile
consumer interface 304, a manufacturer interface 308, and a       market information to the consumer interface 304 (block
dealer interface 306, as discussed above based on consumer,       628). It should be appreciated that automobile market infor-
manufacturer, and dealer interaction with the automobile 35 mation may be provided to the consumer before dealer bids
market information processing system 302. It should be            are provided, and/or concurrently with dealer bids. Also, it
appreciated that the automobile market information process-       should be appreciated that blocks 616 and 628 may be
ing system 302 may update the automobile market informa-          combined, particularly if the dealer bidding process can
tion stored in the database system 310 when automobile            occur quickly, for example, in real-time. The consumer may
market information is received from a consumer, a dealer, or 40 receive dealer bids based on the verification and select a bid
a manufacturer, or from any other information source.             including a delivery option based on automobile market
Accordingly, the automobile market information may                information (block 630). The consumer interface 304 may
remain current and/or provide sufficiently recent data for the    send to the automobile market information processing sys-
benefit of consumers, dealers, and/or manufacturers.              tem 302 a selection of a bid indicating that the consumer
   The example process 600 may begin with a consumer 45 wants to purchase or lease the automobile based on the
taking a picture of a VIN using a mobile phone application        selected bid (block 632). The automobile market informa-
(block 602). The consumer interface 304 may use OCR to            tion processing system 302 receives and processes the
determine and provide the VIN to the automobile market            consumer bid selection (block 634). For example, the auto-
information processing system 302 to provide a consumer           mobile market information processing system 302 may send
request (block 604). It should be appreciated that OCR may 50 the bid selection to the dealer interface 306 (block 636). The
occur in the automobile market information processing             dealer may receive the bid selection and coordinate a sale by,
system 302 or at the consumer interface 304. The automo-          for example, instructing the manufacturer to produce and
bile market information processing system 302 receives the        ship the automobile to the dealer location for delivery to the
consumer request and prepares automobile market informa-          consumer (block 638). Also, for example, the dealer may
tion based on the request (block 606). The automobile 55 provide contract or loan documents, collect a deposit or
market information processing system 302 may send the             down payment, or the like. As discussed above, in each of
consumer request and automobile market information based          blocks 606, 614, 626, and 634, the automobile market
on the consumer request to the manufacturer interface 308         information processing system 302 may update the automo-
(block 608). It should be appreciated that while the con-         bile market information in the database system 310 based on
sumer request is automobile market information, typically, 60 the information received from the consumer, dealer, and/or
additional automobile market information would be pro-            manufacturer.
vided with the consumer request. For example, typically,             For exemplary purposes, the present disclosure discusses
data relating to recent sales of the requested automobile         a various examples relating to a purchase of a car. However,
and/or comparable automobiles may be provided. In an              it should be appreciated that the disclosed system, methods,
example embodiment, a target price or "true" value of the 65 and apparatus may be advantageously used in relation to
requested automobile may be provided. The manufacturer            various automobiles other than cars including, for example,
receives the request, determines that an automobile can be        trucks, vans, sport utility vehicles, jeeps, motorcycles, com-

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mercial vehicles, and/or automobiles that have a VIN and                    provide a first manufacturer response via the consumer
require a license plate to operate.                                            interface, the first manufacturer response including
   It will be appreciated that all of the disclosed methods and                the at least one of the verification indicating that the
procedures described herein can be implemented using one                       first automobile can be provided for the consumer,
or more computer programs or components. These compo- 5                        the confirmation indicating that the first automobile
nents may be provided as a series of computer instructions                     can be provided for the consumer, and the offer
on any conventional computer-readable medium, including                        indicating that the first automobile can be provided
RAM, ROM, flash memory, magnetic or optical disks,                             for the consumer;
optical memory, or other storage media. The instructions                    request, from the first dealer, via a dealer interface, a
may be configured to be executed by a processor, which 10                      bid to sell the first automobile based on the first
when executing the series of computer instructions performs                    manufacturer response;
or facilitates the performance of all or part of the disclosed              receive, from the first dealer located at the second
methods and procedures.                                                        location, the bid to provide the first automobile;
   Further, it will be appreciated that the presently disclosed             generate driving directions from the first location to the
system, methods, and apparatus for performing automobile 15                    second location; and
transactions may be utilized in conjunction with other sys-                 provide the bid and the driving directions to the con-
tems or methods. For example, the presently disclosed                          sumer interface, the bid including at least a price and
system, methods, and apparatus may be used in conjunction                      a delivery option.
with the disclosure in the co-pending commonly-owned                     2. The method of claim 1, wherein the current inventory
patent application filed on Jul. 5, 2011, entitled "AUTO- 20 data includes at least one of inventory data by location,
MOBILE TRANSACTION FACILITATION BASED ON                              inventory in transit data, production lead time data, produc-
CUSTOMER SELECTION OF A SPECIFIC AUTOMO-                              tion schedule data, and shipping schedule data.
BILE," application Ser. No. 13/176,525, the entire contents              3. The method of claim 1, wherein the first request is made
of which are hereby incorporated by reference herein, and in          by a consumer on a website using a request form including
an example embodiment, the features of which may be 25 at least one of a text box and a drop down list.
combined with the features of the present disclosure.                    4. The method of claim 1, wherein the first request is made
   It should be understood that various changes and modi-             by a consumer using a mobile device which takes a picture
fications to the example embodiments described herein will            of a vehicle identification number.
be apparent to those skilled in the art. Such changes and                5. The method of claim 4, wherein the vehicle identifi-
modifications can be made without departing from the spirit 30 cation number is recognized using optical character recog-
and scope of the present subject matter and without dimin-            nition.
ishing its intended advantages. It is therefore intended that            6. The method of claim 1, wherein the first automobile is
such changes and modifications be covered by the appended             one of a particular type of car with a specific set of features
claims.                                                               and a particular car with a specific vehicle identification
   The invention is claimed as follows:                            35 number.
   1. A method comprising:                                               7. The method of claim 1, further comprising providing
   receiving, via a consumer interface, a first request for a         first automobile market data to the first manufacturer includ-
      response regarding a first automobile, which is manu-           ing a suggested bid price.
      factured by a first manufacturer, the first request made           8. The method of claim 7, wherein the first automobile
      by a consumer located at a first location and including 40 market data is based on real-time automobile market data.
      geolocation information of the consumer;                           9. The method of claim 1, further comprising:
   executing instructions, by at least one processing device,            executing instructions, by the at least one processing
      to:                                                                   device, to process the consumer selection of the bid to
      determine current inventory data of the first automo-                 facilitate:
          bile, wherein the current inventory data of the first 45          instructing the first manufacturer to provide the first
          automobile includes a plurality of dealer inventories                automobile to the first dealer based on a consumer
          of a plurality of dealers, with each respective dealer               selection of the bid; and
          of the plurality of dealers having a respective dealer            executing a sale, including at least one of providing for
          inventory;                                                           electronic signature of documents and providing for
      provide the current inventory data of the first automo- 50               an electronic funds transfer.
          bile to the first manufacturer, based on the first             10. The method of claim 1, wherein the manufacturer
          request, via a manufacturer interface;                      interface allows a manufacturer to at least one of request
      generate, based on the current inventory data of the first      data via the consumer interface from a plurality of consum-
          automobile, via the manufacturer interface, at least        ers and request data via the dealer interface from a plurality
          one of a verification indicating that the first automo- 55 of dealers.
          bile can be provided for the consumer, a confirma-             11. The method of claim 1, wherein the first dealer at least
          tion indicating that the first automobile can be pro-       one of provides and offers at least one of a financing plan,
          vided for the consumer, and an offer indicating that        a service plan, an insurance plan, a warranty, and a hard add
          the first automobile can be provided for the con-           accessory, for at least the first automobile.
          sumer;                                                   60    12. The method of claim 1, wherein the first dealer is at
      determine, based on the geolocation information, that           least one of a franchise dealer and a non-franchise distribu-
          the consumer is located at the first location;              tion location.
      generate, based on the first location, an in-market                13. The method of claim 1, wherein the first manufacturer
          dealer area proximately located to the first location;      response includes an acknowledgement of interest.
      determine that at least a first dealer is located within the 65    14. The method of claim 1, wherein the first automobile
          in-market dealer area, the first dealer located at a        is yet to be manufactured at the time the bid is received from
          second location;                                            the first dealer.

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   15. The method of claim 1, wherein the first automobile             35. The method of claim 34, wherein the first automobile
is in the inventory of an entity other than the first dealer at     is transported directly from a third location to the consum-
the time the bid is received from the first dealer.                 er's chosen pickup location.
   16. The method of claim 1, further comprising receiving             36. The method of claim 35, wherein a second dealer is
a consumer selection of the bid including a first delivery 5 located at the third location.
option which specifies a pickup location at the first dealer,          37. The method of claim 35, wherein a manufacturer is
and the first automobile is made available for pickup at the        located at the third location.
first dealer.                                                          38. The method of claim 1, wherein the first dealer
   17. The method of claim 1, wherein the consumer selec-           provides the first automobile to the consumer at a pickup
                                                                 10
tion of the bid indicates a consumer intention to purchase the      location by one of (i) having the first automobile transported
first automobile.                                                   to the pickup location and (ii) having a manufacturer pro-
   18. The method of claim 1, wherein the consumer selec-           duce the first automobile.
tion of the bid indicates a consumer intention to lease the            39. A system comprising:
first automobile.                                                15
                                                                       a computer readable medium storing instructions; and
   19. The method of claim 1, wherein the bid includes a first         at least one processing device operably coupled to the
price corresponding to a first delivery option and a second               computer readable medium, the at least one processing
price corresponding to a second delivery option.                          device executing the instructions to:
   20. The method of claim 1, further comprising executing                receive, via a consumer interface, a first request for a
instructions, by the at least one processing device, to:         20          response regarding a first automobile, which is
   request, from a second dealer located at a third location                 manufactured by a first manufacturer, the first
      within the in-market dealer area, a second bid to sell the             request made by a consumer located at a first loca-
      first automobile based on the first manufacturer                       tion and including geolocation information of the
      response;                                                              consumer;
   receive, from the second dealer, the second bid to sell the 25         determine current inventory data of the first automo-
      first automobile based on the first manufacturer                       bile, wherein the current inventory data of the first
      response;                                                              automobile includes a plurality of dealer inventories
   generate second driving directions from the first location                of a plurality of dealers, with each respective dealer
      to the third location; and                                             of the plurality of dealers having a respective dealer
   provide the second bid and the second driving directions 30               inventory;
      to the consumer interface, the second bid including at
                                                                          provide the current inventory data of the first automo-
      least a second price and a second delivery option.
                                                                             bile to the first manufacturer, based on the first
   21. The method of claim 1, wherein the consumer is a
                                                                             request, via a manufacturer interface;
person.
   22. The method of claim 1, wherein the consumer is an 35               generate, based on the current inventory data of the first
entity.                                                                      automobile, via the manufacturer interface, at least
   23. The method of claim 1, wherein the consumer chooses                   one of a verification indicating that the first automo-
a pickup location.                                                           bile can be provided for the consumer, a confirma-
   24. The method of claim 1, wherein the delivery option                    tion indicating that the first automobile can be pro-
includes a first pickup location.                                40          vided for the consumer, and an offer indicating that
   25. The method of claim 24, wherein the consumer                          the first automobile can be provided for the con-
chooses the first pickup location.                                           sumer;
   26. The method of claim 1, wherein the first dealer is a               determine, based on the geolocation information, that
franchise entity.                                                            the consumer is located at the first location;
   27. The method of claim 1, wherein the first dealer is a 45            generate, based on the first location, an in-market
non-franchise entity distribution location.                                  dealer area proximately located to the first location;
   28. The method of claim 27, wherein the consumer                       determine that at least a first dealer is located within the
chooses a pickup location.                                                   in-market dealer area, the first dealer located at a
   29. The method of claim 28, wherein the first automobile                  second location;
is at the consumer's chosen pickup location, such that the 50             provide a first manufacturer response via the consumer
first automobile does not need to be transported to the                      interface, the first manufacturer response including
consumer's chosen pickup location.                                           the at least one of the verification indicating that the
   30. The method of claim 28, wherein the consumer                          first automobile can be provided for the consumer,
submits a request to the first dealer to change a first delivery             the confirmation indicating that the first automobile
option to include the consumer's chosen pickup location. 55                  can be provided for the consumer, and the offer
   31. The method of claim 30, wherein, based on the                         indicating that the first automobile can be provided
consumer's request to change the first delivery option, the                  for the consumer;
first dealer provides a second delivery option including the              request, from the first dealer, via a dealer interface, a
consumer's chosen pickup location.                                           bid to sell the first automobile based on the first
   32. The method of claim 31, wherein a notification is sent 60             manufacturer response;
to the consumer that the first automobile is available for                receive, from the first dealer located at the second
pickup at the consumer's chosen pickup location.                             location, the bid to provide the first automobile;
   33. The method of claim 32, wherein the consumer picks                 generate driving directions from the first location to the
up the first automobile at the consumer's chosen pickup                      second location; and
location.                                                        65       provide the bid and the driving directions via the
   34. The method of claim 31, wherein the first automobile                  consumer interface, the bid including at least a price
is transported to the consumer's chosen pickup location.                     and a delivery option.

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  40. A non-transitory computer readable medium storing              determine, based on the geolocation information, that the
software instructions which, when executed, cause an infor-             consumer is located at the first location;
mation processing apparatus to:                                      generate, based on the first location, an in-market dealer
  receive, via a consumer interface, a first request for a              area proximately located to the first location;
     response regarding a first automobile, which is manu- 5         determine that at least a first dealer is located within the
                                                                        in-market dealer area, the first dealer located at a
     factured by a first manufacturer, the first request made
                                                                        second location;
     by a consumer located at a first location and including         provide a first manufacturer response via the consumer
     geolocation information of the consumer;                           interface, the first manufacturer response including the
  determine current inventory data of the first automobile,             at least one of the verification indicating that the first
                                                                10
     wherein the current inventory data of the first automo-            automobile can be provided for the consumer, the
     bile includes a plurality of dealer inventories of a               confirmation indicating that the first automobile can be
     plurality of dealers, with each respective dealer of the           provided for the consumer, and the offer indicating that
     plurality of dealers having a respective dealer inven-             the first automobile can be provided for the consumer;
     tory;                                                           request, from the first dealer, via a dealer interface, a bid
                                                                15
  provide the current inventory data of the first automobile            to sell the first automobile based on the first manufac-
     to the first manufacturer, based on the first request, via         turer response;
     a manufacturer interface;                                       receive, from the first dealer located at the second loca-
  generate, based on the current inventory data of the first            tion, the bid to provide the first automobile;
     automobile, via the manufacturer interface, at least one 20     generate driving directions from the first location to the
     of a verification indicating that the first automobile can         second location; and
     be provided for the consumer, a confirmation indicating         provide the bid and the driving directions via the con-
     that the first automobile can be provided for the con-             sumer interface, the bid including at least a price and a
     sumer, and an offer indicating that the first automobile           delivery option.
     can be provided for the consumer;                                                   * * * * *




                                                         Appx1043
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                                                                                                      USO 10140655B2


c12)   United States Patent                                                         (IO) Patent No.:                     US 10,140,655 B2
       Seergy et al.                                                                (45) Date of Patent:                           *Nov. 27, 2018

(54)   USED AUTOMOBILE TRANSACTION                                            (58)          Field of Classification Search
       FACILITATION FOR A SPECIFIC USED                                                     CPC ...... G06Q 30/08; G06Q 30/06; G06Q 10/087;
       AUTOMOBILE                                                                                        G06Q 30/0275; G06Q 30/0283; G06Q
                                                                                                                                   30/0625
(71)   Applicant: Sidekick Technology LLC, Pine Brook,                                                       (Continued)
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( *)   Notice:      Subject to any disclaimer, the term ofthis                                            OTHER PUBLICATIONS
                    patent is extended or adjusted under 35
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                    This patent is subject to a terminal dis-                 snapshot.asp?privcapid~92642.
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(21)   Appl. No.: 15/284,181                                                  Primary Examiner - Brandy A Zukanovich
                                                                              (74) Attorney, Agent, or Firm - K&L Gates LLP
(22)   Filed:       Oct. 3, 2016
                                                                              (57)                               ABSTRACT
(65)                  Prior Publication Data                                  A system, methods, and apparatus for performing used
       US 2017/0154378 Al          Jun. 1, 2017                               automobile transactions are disclosed. In an example
                                                                              embodiment, automobile market data representative of cur-
                                                                              rent automobile market characteristics is stored. The auto-
                Related U.S. Application Data                                 mobile market data may include pricing and consumer
                                                                              interest information received from consumers, dealers, and
(63)   Continuation of application No. 14/841,157, filed on                   manufacturers. A consumer seller or manufacturer off-lease
       Aug. 31, 2015, now Pat. No. 9,460,467, which is a                      seller may provide a request for a response regarding a
                        (Continued)                                           specific used automobile with a specific a vehicle identifi-
                                                                              cation number. Automobile market data may be provided to
(51)   Int. Cl.                                                               a used automobile buyer based on the request. Bids to
       G06Q 30/00              (2012.01)                                      purchase the specific used automobile may be requested
       G06Q 30/08              (2012.01)                                      from used automobile buyers based on the request. Buyer
                                                                              bids may be provided to the consumer seller or manufacturer
                         (Continued)
                                                                              off-lease seller with prices and a delivery options. The
(52)   U.S. Cl.                                                               consumer seller or manufacturer off-lease seller may select
       CPC ............. G06Q 30/08 (2013.01); G0lC 21134                     a bid to sell the specific used automobile based on the bid.
                         (2013.01); G0lC 2113679 (2013.01);
                           (Continued)                                                                   28 Claims, 7 Drawing Sheets


                                                                                                         302

                                                  Automobile Market Information Processing System

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                                                                                              Manufacturer
                                              Consumer Interface         Dealer Interface
                                                                                               Interface




                                              uu u u
                                             User114     User114            User 114           User 114



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                                                                    Computing Device
                                                                                                                            •
                                                    214       ~ 102, 104                                                    ~
                                                                                                                            ~
                                                                                                                            ~
                                   Keyboard, mouse,                                                                         ~
                                   and/or other input
                                                                                                                            ~
                                                                                                                            =
                                       device(s)
                                                                   220        Network
                                                                              device
                                                                                                                            z
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           Other PC                                                                                                         ~
                                                                                                                            N
            circuits                                                                                                      '"-....J
                                                                                                                            N
                       208                                                                                                  0
                                                                                                                            ....
                                                                                                                            QO
           Memory                      Interface                   Internet and/or other
                                        circuits                        network(s)
                       204
                                                                                                                            rJJ
                                                                                                                            ('D
                                                                                                                            =-
           Processor                                                                                                        ('D
                                                                                                                            .....
                                                                                                                            N




Appx1047
                                                                                        222                                 0
                                                                                                                            ....
                                                                                                                            -....J



                             112                    216
                                       Printer(s),           Hard drive(s),                         _e_224
                 Display           speaker(s), and/or       CD(s), DVD(s),                    Databases, programs,          d
                                                                                                                            r.,;_
                                      other output            and/or other                 files, configuration, index,
                                        devices             storage devices                    tags, access, usage,
                                                                                             statistical, security data
                                                                                                                            ~
                                                                                                                          '""'"'="""'"'
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                                                                                                                          O'I
                                                          Fig. 2                                                            UI
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                                                                                302

                Automobile Market Information Processing System
                                                                            '
                              ,310                                  ,312

               Database System                 Recommendation Engine


                              ,314                                  ,316
              Vehicle Identification
                                                   Interface Generation Unit
               Number Processor


               j ~                        ,l                           il




               ,, ,304                    ,, ,306                      ,'   , 308


         Consumer                       Dealer                   Manufacturer
          Interface                    Interface                  Interface




          User 114                     User 114                    User 114




                                       Fig. 3A




                                       Appx1048
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                                                                          t 302
                Automobile Market Information Processing System
                                ,310                            ,312

               Database System                 Recommendation Engine


                                ,314                            ,316

              Vehicle Identification
                                               Interface Generation Unit
               Number Processor


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                     ' l




                               ,304               1•    ,306         1J    , 308
                                                                Manufacturer
          Consumer Interface               Dealer Interface
                                                                 Interface
              ,318             ,320                ,322               ,324
       Used Auto           Used Auto         Used Auto           Off-Lease
          Seller              Buyer             Buyer              Seller
        Interface           Interface         Interface          Interface




        User 114           User 114           User 114            User 114


                                        Fig. 38




                                        Appx1049
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                                       (    Start   )          1400

                                             •                                  ;402
      Automobile market data including at least pricing data is stored in a database
        system (e.g., data from consumers, dealers, manufacturers, and industry            ....._
       analysts, regarding pricing, inventory, insurance information, quality ratings,
         safety ratings, and other ratings is collected and stored in a database)


                                             •
        A request for a response regarding a used automobile is received from a
                                                                                ;404

     consumer seller (e.g., a used car seller takes a picture of the VIN of a used car
      and fills in price parameters and other information into a mobile application to
                                                                                       -+
                      receive a response based on current market data)


                                             •
       Automobile market data is provided to used automobile buyers based on the
                                                                                ;406

     consumer seller request (e.g., a group of consumers and dealers receive a real-
     time report including local used car sales data, inventory data, quality and safety
        ratings data, insurance data, and gas mileage data of the specific used car)


                                             •                                  ;408
       A bid to purchase the automobile from the consumer seller is requested from
     used automobile buyers (e.g., a group of consumers and dealers within a certain -+
       radius of the used car seller receive a bid request based on buyer searches)


                                             •                                  ;410
      Buyer bids are provided to the consumer seller (e.g., several consumers and
      dealers provide bids based on current pricing data, options information on the
     specific used car, and potential pickup locations, so several different prices and
                                                                                        -+
                 delivery options may be available to the used car seller)


                                             •                                  ;412
      The consumer seller selects a buyer bid including a price and a delivery option
     (e.g., the used car seller chooses to sell the used car based on the price and the -+
                          pickup location of a consumer buyer bid)


                                             •
        The consumer seller and used automobile buyer execute the sale of the
                                                                                ;414

        automobile (e.g., the used car buyer e-signs a contract and electronically
           transfers funds to the used car seller based on the consumer bid)
                                                                                           -+


                                         +                               ;416
     The consumer seller makes the purchased used automobile available according
      to the consumer seller bid selection (e.g., the seller drives the used car to the
         pickup location if the pickup location is not the used car seller's location)


                                             •
     The used automobile buyer receives the purchased used automobile according
                                                                                ;418

        to the consumer seller selected delivery option (e.g., the used car buyer
     receives the used car at the pickup location the same day the sale is executed)          Fi g.4




                                             Appx1050
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                                                   ;-500
                                 t     502                                             t     504
           Interface Data                                        Administrative Data
                                          --            --
      B G             l
                                                               Account
                                                             Information


                                                                           "
                                                                                Access and
                                                                                 Security



                  1                              /506                      "
                                     Automobile Market Data

                                /508                                       /510


              Executed Sales Data                             Consumer Data



                                /512                                       /514


                  Dealer Data                                Manufacturer Data



                                /516                                       /518


                Statistical Data                              Historical Data




                                               Fig. 5




                                             Appx1051
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           600~             r-318,324                          r-302                                           r-320,322         ~
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           ,---------~L_6_02 604            I
                                                                    /606 608,L                 \                      /610
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                                                                                                                                 =
              Seller takes a                             System receives      Bid request\                Used auto buyers
                                                                                          \
             picture of a VIN            Seller         seller request and     and auto \).              receive bid request
            and enters pricing          Request              prepares           market      .              and automobile
               parameters                               automobile market     information/                market information     z
                                                                                                                                 0
                                                        data based on the                                to determine prices     ~
                                                              request                     v                  and delivery         N
                                                                                                            options for the     ...---:i
                                                                                                                                  N
                                                                                                            used auto and        0
                                                                    /614                           612       prepare and
                                                                                                                                 ....
                                                                                                                                 QO

                                                         System receives                                 provide bids for the
                                                                               Buyer bid
                                                          and processes                                    used auto seller
                        /618         Buyer bids           buyer bids and
                                      and auto                                                                                   rJJ
              Seller receives                           prepares bids and                                                        ('D
                                                                                                                                 =-
                                       market           automobile market                                                        ('D
              buyer bids and                                                                                                     .....
                                    information
                                       r-·~r·-·~·-~       data for seller                                                        -...J




Appx1052
            automobile market
             information and                                                                                                     0
                                                                                                                                 ....
               selects a bid                                                                                                     -...J
           including a delivery
             option based on      620                               /622                                              /626
            automobile market                            System receives     6~24~--J\                   Buyer receives bid
                                        Selection       and processes bid      Selection            ;>     selection and
                information
                                                            selection                                    coordinates a sale
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                                                            Fig. 6                   I                                           =
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                                                   US 10,140,655 B2
                              1                                                                 2
        USED AUTOMOBILE TRANSACTION                               may want to sell used off-lease automobiles which have been
       FACILITATION FOR A SPECIFIC USED                           returned by consumer lessees. In many cases, a manufac-
                 AUTOMOBILE                                       turer off-lease seller may not be able to receive the full
                                                                  market value of a used off-lease automobile.
         CROSS REFERENCE TO RELATED
       APPLICATIONS AND PRIORITY CLAIM                                                     SUMMARY

   This application is a continuation of U.S. patent applica-         The present disclosure provides a new and innovative
tion Ser. No. 14/841,157, filed Aug. 31, 2015, which is a          system, methods and apparatus for providing automobile
continuation of Ser. No. 14/176,700, filed Feb. 10, 2014, 10 market information and facilitating used automobile trans-
which is a continuation of U.S. patent application Ser. No.        actions. In an example embodiment, automobile market data
13/207,858, filed on Aug. 11, 2011, which is a continuation-       representative of current automobile market characteristics
in-part of the following co-pending commonly-owned pat-            is stored. The automobile market data may include pricing
ent applications filed on Jul. 5, 2011, entitled "AUTOMO-          and consumer interest information received from consum-
BILE TRANSACTION FACILITATION USING A 15 ers, dealers, and manufacturers. A consumer seller or manu-
MANUFACTURER RESPONSE," application Ser. No.                       facturer off-lease seller may provide a request for a response
13/176,497, and entitled "AUTOMOBILE TRANSAC-                      regarding a specific used automobile with a specific a
TION FACILITATION BASED ON CUSTOMER SELEC-                         vehicle identification number. Automobile market data may
TION OF A SPECIFIC AUTOMOBILE," application Ser.                   be provided to a used automobile buyer based on the request.
No. 13/176,525, now U.S. Pat. No. 8,744,925, issued Jun. 3, 20 Bids to purchase the specific used automobile may be
2014, the entire content of each of which is incorporated by       requested from used automobile buyers based on the
reference herein.                                                  request. Buyer bids may be provided to the consumer seller
                                                                   or manufacturer off-lease seller with prices and a delivery
                       BACKGROUND                                  options. The consumer seller or manufacturer off-lease seller
                                                                25 may select a bid to sell the specific used automobile based
   In the used automobile market, consumers typically sell         on the bid.
or trade in used automobiles to dealers or dealerships, or            Additional features and advantages of the disclosed
privately sell to other consumers, for example, through            method and apparatus are described in, and will be apparent
personal advertisements. Dealers often purchase used auto-         from, the following Detailed Description and the Figures.
mobiles from consumers as part of a deal for a new auto- 30
mobile, typically referred to as a trade in. Typically, a                   BRIEF DESCRIPTION OF THE FIGURES
description of a used automobile in a personal advertisement
may include the make, model, and mileage of an automobile,            FIG. 1 is a high level block diagram of an example
but certain other relevant descriptive information may not be      network communicating system, according to an example
available to a potential buyer. Further, a dealer making a 35 embodiment of the present invention.
trade in offer for a used automobile may not have certain             FIG. 2 is a detailed block diagram showing an example of
relevant descriptive information on that used automobile. In       a computing device, according to an example embodiment
many cases, the negotiation process for a used automobile          of the present invention.
may include a large degree of uncertainty for consumers,              FIGS. 3A and 3B provide a block diagram, each showing
including both a selling consumer and a purchasing con- 40 an example automobile transaction network structure,
sumer. A consumer seller may be particularly disadvantaged         according to an example embodiment of the present inven-
when negotiating with a dealer for a trade in value, as dealers    tion.
typically have great knowledge and experience with the                FIG. 4 is a flowchart illustrating an example process for
process, while consumers typically do not. Generally, the          facilitating a used automobile transaction, according to an
negotiation process is a zero sum process, and because a 45 example embodiment of the present invention.
consumer seller of a used automobile and a used automobile            FIG. 5 is a block diagram showing an example data
buyer are each trying to get a better deal, there is typically     architecture, according to an example embodiment of the
some lack of trust during the negotiation. Accordingly, used       present invention.
automobile buyers and sellers, including consumers and                FIG. 6 is flow diagram illustrating an example process for
dealers, often base the negotiations on established market 50 facilitating a used automobile transaction, according to an
prices. However, market prices can fluctuate rapidly depend-       example embodiment of the present invention.
ing a variety of factors. For example, consumer demand may
be affected by economic factors, such as changes in gasoline               DETAILED DESCRIPTION OF EXAMPLE
prices, unemployment rates, government sponsored tax                                      EMBODIMENTS
rebates for automobile purchases, etc.                          55
   In many cases, a consumer seller of a used automobile              The present disclosure relates in general to a system for
may have concerns that a buyer may not offer a fair and            facilitating used automobile transactions and, in particular,
competitive price. Various products and services have              to an automobile transaction for a specific used automobile.
become available that allow sellers and buyers, including          Briefly, in an example embodiment, a system is provided
consumers and dealers, to perform research on market prices 60 which allows a consumer seller or a manufacturer off-lease
for used automobiles. Typically, the highest possible value        seller of a used automobile to request bids and information
available to a consumer seller may be through a sale to            regarding a specific automobile identified with a specific
another consumer, as opposed to trading in the used auto-          vehicle identification number. For example, a consumer may
mobile to a dealer.                                                use a mobile device to take a picture of a vehicle identifi-
   In addition to consumers and dealers, automobile manu- 65 cation number and may enter a desired price range or
facturers may also have an interest in the resale values of        minimum asking price. The specific automobile may be
used automobiles. Further, in many cases, a manufacturer           identified using optical character recognition to provide, for

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example, a full list of the original manufacturer features and    variety of parties. For example, as will be discussed in
options, and the original manufacturer suggested retail price     further detail below, users 114 of the presently disclosed
and invoice information, for that specific used automobile        system may include a consumer, a dealer, and/or a manu-
based on the vehicle identification number. Accordingly, the      facturer.
consumer seller need not enter all of this information, but 5        Typically, host devices 104 and servers 108 store one or
may request bids and information in real-time for that            more of a plurality of files, programs, databases, and/or web
specific used automobile. Used automobile buyers may              pages in one or more memories for use by the client devices
include consumers and/or dealers which may provide bids           102, and/or other host devices 104 or servers 108. A host
based on the consumer seller request using real-time auto-        device 104 or server 108 may be configured according to its
mobile market information. A consumer seller may select a 10 particular operating system, applications, memory, hard-
buyer bid to sell a used automobile based on the prices and       ware, etc., and may provide various options for managing
delivery options available. Accordingly, typically unavail-       the execution of the programs and applications, as well as
able or difficult to obtain data may be provided for offering     various administrative tasks. A host device 104 or server
a used automobile for sale, including a full listing of the       may interact via one or more networks with one or more
manufacturer features and options, EPA mileage, safety 15 other host devices 104 or servers 108, which may be
ratings, recalls, quality reports, estimated insurance costs,     operated independently. For example, host devices 104 and
etc. In an example embodiment, a manufacturer off-lease           servers 108 operated by a separate and distinct entities may
seller may select a buyer bid based on the prices and delivery    interact together according to some agreed upon protocol.
options to maximize value, for example, by reducing costs            A detailed block diagram of the electrical systems of an
typically associated with selling an off-lease automobile. 20 example computing device (e.g., a client device 102, and a
The used automobile market is presently approximately             host device 104) is illustrated in FIG. 2. In this example, the
three times the size of the new automobile market in the          computing device 102, 104 includes a main unit 202 which
United States, as approximately 40 million used automobiles       preferably includes one or more processors 204 electrically
are sold each year. Accordingly, the present disclosure may       coupled by an address/data bus 206 to one or more memory
be helpful for facilitating large numbers of used automobile 25 devices 208, other computer circuitry 210, and one or more
transactions. In an example embodiment, the disclosed sys-        interface circuits 212. The processor 204 may be any suit-
tem matches seller and buyer parameters, such as price and        able processor, such as a microprocessor from the INTEL
pickup location, to facilitate a live bidding process, which      PENTIUM® family of microprocessors. The memory 208
allows a used automobile seller to accept or reject bids using    preferably includes volatile memory and non-volatile
a great deal of information not typically available. In a 30 memory. Preferably, the memory 208 stores a software
non-limiting example embodiment, certain features dis-            program that interacts with the other devices in the system
closed in the present patent application may be commer-           100 as described below. This program may be executed by
cially embodied in products and services offered by Sidekick      the processor 204 in any suitable manner. In an example
Technology LLC, the assignee of the present application.          embodiment, memory 208 may be part of a "cloud" such
   The present system may be readily realized in a network 35 that cloud computing may be utilized by a computing
communications system. A high level block diagram of an           devices 102, 104. The memory 208 may also store digital
example network communications system 100 is illustrated          data indicative of documents, files, programs, web pages,
in FIG. 1. The illustrated system 100 includes one or more        etc. retrieved from a computing device 102, 104 and/or
client devices 102, and one or more host devices 104. The         loaded via an input device 214.
system 100 may include a variety of client devices 102, such 40      The interface circuit 212 may be implemented using any
as desktop computers and the like, which typically include        suitable interface standard, such as an Ethernet interface
a display 112, which is a user display for providing infor-       and/or a Universal Serial Bus (USB) interface. One or more
mation to users 114, and various interface elements as will       input devices 214 may be connected to the interface circuit
be discussed in further detail below. A client device 102 may     212 for entering data and commands into the main unit 202.
be a mobile device 103, which may be a cellular phone, a 45 For example, the input device 214 may be a keyboard,
personal digital assistant, a laptop computer, a tablet com-      mouse, touch screen, track pad, track ball, isopoint, image
puter, etc. The client devices 102 may communicate with the       sensor, character recognition, barcode scanner, microphone,
host device 104 via a connection to one or more communi-          and/or a speech/voice recognition system.
cations channels 106 such as the Internet or some other data         One or more displays 112, printers, speakers, and/or other
network, including, but not limited to, any suitable wide area 50 output devices 216 may also be connected to the main unit
network or local area network. It should be appreciated that      202 via the interface circuit 212. The display 112 may be a
any of the devices described herein may be directly con-          cathode ray tube (CRTs), a liquid crystal display (LCD), or
nected to each other instead of over a network. Typically,        any other type of display. The display 112 generates visual
one or more servers 108 may be part of the network                displays generated during operation of the computing device
communications system 100, and may communicate with 55 102, 104. For example, the display 112 may provide a user
host servers 104 and client devices 102.                          interface, which will be described in further detail below,
   One host device 104 may interact with a large number of        and may display one or more web pages received from a
users 114 at a plurality of different client devices 102.         computing device 102, 104. A user interface may include
Accordingly, each host device 104 is typically a high end         prompts for human input from a user 114 including links,
computer with a large storage capacity, one or more fast 60 buttons, tabs, checkboxes, thumbnails, text fields, drop
microprocessors, and one or more high speed network               down boxes, etc., and may provide various outputs in
connections. Conversely, relative to a typical host device        response to the user inputs, such as text, still images, videos,
104, each client device 102 typically includes less storage       audio, and animations.
capacity, a single microprocessor, and a single network              One or more storage devices 218 may also be connected
connection. It should be appreciated that a user 114 as 65 to the main unit 202 via the interface circuit 212. For
described herein may include any person or entity which           example, a hard drive, CD drive, DVD drive, and/or other
uses the presently disclosed system and may include a wide        storage devices may be connected to the main unit 202. The

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storage devices 218 may store any type of data, such as               system 310 may include a wide variety of automobile
pricing data, transaction data, operations data, inventory            market data. A recommendation engine 312 may provide
data, commission data, manufacturing data, image data,                recommendations for consumers, dealers, and manufactur-
video data, audio data, tagging data, historical access or            ers. A vehicle identification number processor 314 may be
usage data, statistical data, security data, etc., which may be 5 used for making requests regarding specific automobiles and
used by the computing device 102, 104.                                automobiles with specific sets of features. For example, a
    The computing device 102, 104 may also exchange data              vehicle identification number processor 314 may determine
with other network devices 220 via a connection to the                a specific set of features that a specific car has based on a
network 106. Network devices 220 may include one or more              picture of that specific car's vehicle identification number.
servers 226, which may be used to store certain types of 10 Interface generation unit 316 may provide, for example,
data, and particularly large volumes of data which may be             HTML files which are used at the consumer interface 304,
stored in one or more data repository 222. A server 226 may           dealer interface 306, and manufacturer interface 308 inter-
include any kind of data 224 including databases, programs,           face to provide information to the users 114. It should be
files, libraries, pricing data, transaction data, operations data,    appreciated that he the consumer interface 304, dealer
inventory data, commission data, manufacturing data, con- 15 interface 306, and manufacturer interface 308 may be con-
figuration data, index or tagging data, historical access or          sidered to be part of the automobile market information
usage data, statistical data, security data, etc. A server 226        processing system 302, however, for discussion purposes,
may store and operate various applications relating to                the consumer interface 304, dealer interface 306, and manu-
receiving, transmitting, processing, and storing the large            facturer interface 308 may be referred to as separate from the
volumes of data. It should be appreciated that various 20 automobile market information processing system 302.
configurations of one or more servers 226 may be used to                 For example, a user 114 may interact with a consumer
support and maintain the system 100. For example, servers             interface 304 to research new or used automobiles the user
226 may be operated by various different entities, including          114 is interested in buying and/or selling. For example, a
automobile manufacturers, brokerage services, automobile              consumer may be looking for a four door sedan with specific
information services, etc. Also, certain data may be stored in 25 features, including a global positioning system (GPS), a
a client device 102 which is also stored on the server 226,           sunroof, tinted windows, rated for at least thirty miles per
either temporarily or permanently, for example in memory              gallon, four wheel drive, etc. The consumer may interact
208 or storage device 218. The network connection may be              with the consumer interface 304 by inputting required and/or
any type of network connection, such as an Ethernet con-              desired features, monthly budget or full price, etc. The
nection, digital subscriber line (DSL), telephone line, 30 consumer interface 304 may provide a wide variety of
coaxial cable, wireless connection, etc.                              features and specifications which the consumer may choose
   Access to a computing device 102, 104 can be controlled            from in providing a request. Based on the information put
by appropriate security software or security measures. An             into the consumer interface 304 from the consumer, the
individual users' 114 access can be defined by the comput-            consumer interface 304 may provide one or more reports or
ing device 102, 104 and limited to certain data and/or 35 offers to the consumer. As will be discussed in further detail
actions. Accordingly, users 114 of the system 100 may be              below, the information provided by the consumer interface
required to register with one or more computing devices               304 may include current market prices for automobiles,
102, 104. For example, registered users 114 may be able to            including information relating to additional features, and
request or manipulate data, such as submitting requests for           may include information on specific automobiles, for
pricing information or providing an offer or a bid.                40 example, which may be en route to a dealer near the
   As noted previously, various options for managing data             consumer's present location or may be already owned by the
located within the computing device 102, 104 and/or in a              consumer. The automobile market information processing
server 226 may be implemented. A management system may                system 302 may process data received by the consumer
manage security of data and accomplish various tasks such             interface 304, as well as the dealer interface 306 and/or the
as facilitating a data backup process. A management system 45 manufacturer interface 308, to respond to a request from a
may be implemented in a client 102, a host device 104, and            consumer. For example, data from database system 310 may
a server 226. The management system may update, store,                be queried for use in a report, or a recommendation may be
and back up data locally and/or remotely. A management                provided by recommendation engine 312 according to the
system may remotely store data using any suitable method              consumer request and current market data. The automobile
of data transmission, such as via the Internet and/or other 50 market information processing system 302 may integrate
networks 106.                                                         data received from consumer interface 304, dealer interface
    FIGS. 3A and 3B provide block diagrams, each showing              306, and manufacturer interface 308 to provide current and
an example automobile transaction network structure 300.              accurate information relating to the automobile market.
As illustrated in FIG. 3A, the example automobile transac-               It should be appreciated that the consumer interface 304
tion network structure 300 includes an automobile market 55 may be specific to one particular manufacturer or may
information processing system 302, a consumer interface               provide information for automobiles manufactured by mul-
304, a dealer interface 306, and a manufacturer interface             tiple different manufacturers. For example, a consumer
308. The example automobile market information process-               interface 304 may be a website with information for many
ing system 302 may be implemented on one or more host                 manufacturers. For example, the consumer interface 304
devices 104 accessing one or more servers 108, 226. In an 60 may access or link to the manufacturer specific websites
example embodiment, the automobile market information                 (e.g., Ford), particularly with regard to new automobile
processing system 302 includes a database system 310, a               information, but also for used automobile information. Also,
recommendation engine 312, a vehicle identification number            for example, a consumer interface 304 may be implemented
processor 314, and an interface generation unit 316. A user           as an automobile manufacturer's website. Typically, a manu-
114 may be a consumer, a dealer, or a manufacturer that 65 facturer's website may provide consumers with a catalog
interacts with the consumer interface 304, dealer interface           like feature that provides information on different automo-
306, or manufacturer interface 308, respectively. A database          bile models with any available options or features. For

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example, a manufacturer website may allow a consumer to          regarding purchasing or leasing. Also, the consumer inter-
select options that are desired to "build" a particular new      face 304 may provide a purchase checklist, for example, of
automobile, and may provide price comparisons using sug-         ten steps to buying a car. A qualitative checklist may allow
gested retail prices, which may consumers use for initial        a user to ask the right questions and get the right answers
research into what pricing the dealer may offer for a par- 5 from a dealer. Additional tips may be provided, such as a list
ticular automobile with a particular feature set. Also, typi-    of products or services dealers may attempt to sell to a
cally, the consumer may enter information, including, for        consumer with an analysis of the value of these products or
example, name, an address or zip code, and telephone             services and a recommendation to accept or decline these
number. This information may be passed on from the               dealer offers. Further, beyond analysis relating to automo-
manufacturer to a nearby dealer and/or nearby dealer infor- 10 biles, additional analysis or reports may be provided, for
mation may be provided to the consumer (e.g., the dealer in      example, relating to dealer reviews, other supplemental
or nearest to the consumer's entered zip code). Accordingly,     products, financial entities that may provide financing, etc.
the dealer may contact the consumer, or the consumer may         For example, dealer reviews may provide a consumer with
inquire with the dealer, regarding the specific automobiles      information the consumer may use in addition to automobile
available on that dealer's lot and particular pricing being 15 pricing and delivery options. Moreover, the consumer inter-
offered, etc. In many cases, consumers may not inquire with      face 304 may provide a wide variety of useful information
dealers that the manufacturer may recommend, and simi-           to a consumer, for at home research and preparation, and/or
larly, dealers may not diligently follow up with consumers       in a dealer location while shopping as a negotiating tool that
that have an interest in purchasing an automobile. Further, it   may provide confirmation on pricing, useful tips, and the
should be appreciated that the information provided via a 20 like. As will be discussed in FIG. 3B in further detail below,
consumer interface 304 and/or a manufacturer website may         the consumer interface 304 may include a used automobile
be very useful to consumers. For example, in the past,           seller interface 318 and a used automobile buyer interface
dealers often provided brochures with all the information on     320.
a manufacturer's available car models, including all the            In an example embodiment, a dealer interface 306 may
features and options information. However, dealers typically 25 provide a user 114, such as a dealer employee, information
do not provide comprehensive information brochures, which        relating to the current automobile market. The dealer inter-
may be relatively expensive to produce, and rather, that         face 306 allows a dealer to interact with automobile market
information is typically located on a manufacturer website       information processing system 302 to provide the dealer
and/or a consumer interface 304. It should also be appreci-      with a wide variety of information, including, for example,
ated that information on a manufacturer website and/or a 30 current market pricing. Other automobile market informa-
consumer interface 304 may be directed to both new and           tion a dealer may receive on a dealer interface 306 includes
used automobiles. For example, historical and statistical        information relating to lot inventory, turnover rates, auto-
information which demonstrates favorable safety ratings,         mobile transportation and/or shipping costs, incentives, and
quality and reliability data, low maintenance costs, low         various ratings, such as ratings relating to quality, safety,
insurance prices, low emissions, high gas mileage, etc. based 35 insurance, a consumer credit score, dealer ratings, residual
on specific models for specific years, and/or groups of          or resale values, etc. A dealer may input information into
models and years may be provided on a manufacturer               dealer interface 306 relating to sales data, including current
website and/or a consumer interface 304.                         pricing offered, special sales offers, actual transaction data,
   Accordingly, the consumer interface 304 may provide a         inventory data, etc. In an example embodiment, the dealer
wide range of information, for example, based on any 40 may provide information through dealer interface 306 which
searches or queries performed by a user 114. In an example       will be used by automobile market information processing
embodiment, based on a user search or request for a              system 302 to prepare reports or offers to consumers and/or
response, the consumer interface 304 will display a quality      manufacturers. It should be appreciated that a dealer is
index or value index based on normalized calculations for an     typically a franchise entity, while a distribution location may
automobile. The recommendation engine 312 may provide 45 not be a franchise entity. For brevity, throughout this speci-
recommendations to a consumer based on the current auto-         fication, the term dealer may be used to describe both
mobile market data stored in the automobile market infor-        franchise entity dealers and non-franchise entity distribution
mation processing system 302. For example, metrics on gas        location. Accordingly, as used in this disclosure, the term
mileage, emissions, operating and maintenance costs, safety      dealer does not indicate whether an entity is a franchise
ratings, etc. may be benchmarked against comparable auto- 50 entity. Moreover, a franchise dealer or a non-franchise
mobiles of the same and different manufacturers. Similar         distribution location may utilize a dealer interface 306 as
purchase options to a specific search may also be provided,      described herein.
based on feature matching, price range, consumer popular-           In an example embodiment, a manufacturer interface 308
ity, etc. Information including price ranges, including          may provide a user 114, such as a manufacturer employee,
MSRP, invoice prices, inventory levels, the user's 114 credit 55 information relating to the current automobile market,
ratings (e.g., FICO score), may be provided which may            including consumer requests. For example, an manufacturer
include monthly payment estimates or projections. It should      interface 308 may provide a manufacturer a request received
be appreciated that such data may be provided for both new       from a consumer interface 304. Additionally, the manufac-
and used automobiles. For example, a financing calculator        turer interface 308 may provide information such as a report
may help a user 114 determine what financing rate is 60 that allows the manufacturer to provide a response to the
appropriate for an automobile purchase. It should be appre-      requesting consumer. A report may include information from
ciated that dealers may mislead consumers into believing         database system 310 relating to current market pricing,
that a higher financing rate will be required to secure a loan.  recent sales figures and trends, current manufacturer incen-
Further, for example, a lease vs. buy calculator may be          tives, current inventory, including dealer inventory, inven-
provided which may use current market data including 65 tory in transit, and/or build times or lead times for a desired
prices, interest rates, incentives, estimated mileage per year,  automobile, etc. The manufacturer may use this information
etc. for providing an analysis for a particular consumer         to provide a response to a consumer request. The manufac-

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turer may provide the manufacturer interface 308 with             and used automobiles, however, the dealer interface 306
information to provide a confirmation, a verification, or an      may also be used to facilitate purchasing used automobiles.
offer to a consumer via consumer interface 304. For               For example, a used automobile buyer interface 322 may be
example, a confirmation number associated with the par-           used by dealers similarly to the way that the used automobile
ticular consumer request may be provided for the consumer. 5 buyer interface 320 may be used by consumers. It should be
Also, a recommendation may be provided from the recom-            appreciated that in an example embodiment, the used auto-
mendation engine 312 to the manufacturer in relation to           mobile buyer interfaces 320, 322 may be similar or the same,
automobile pricing, responding to a specific request, manu-       and/or may integrated as part of single website or applica-
facturer incentives, inventory management, production             tion. In an example embodiment, a dealer may use the used
schedules, shipping schedules, etc. It should be appreciated 10
                                                                  automobile buyer interface 322 to facilitate bringing a
that a manufacturer may be referred to as an OEM or
                                                                  consumer in to purchase a new automobile based on pro-
original equipment manufacturer. Further, it should be
                                                                  viding a competitive bid to purchase a used automobile as a
appreciated that a manufacturer may include various related
affiliate entities all doing business as, or operating under, the trade in.
same manufacturer name. For example, a manufacturer 15               A manufacturer interface 308 may include a used auto-
typically may include a manufacturing company (e.g., oper-        mobile   off-lease interface 324. For example, a manufacturer
ating the manufacturing plant), a sales company (e.g., oper-      may use a manufacturer interface 308 primarily for facili-
ating automobile sales activities), and a captive finance         tating sales of new automobiles, however, the manufacturer
company (e.g., operating financing and leasing activities).       interface 308 may also be used to facilitate selling off-lease
The manufacturer interface 308 may provide a manufacturer 20 automobiles which have been returned by a consumer lessor
with a real-time lens into the automobile market which may        whose lease is expiring. For example, an off-lease seller
allow the manufacturer to adjust production schedules, pric-      interface 324 may be used by a manufacturer, typically, a
ing plans, marketing activities, etc., which may provide a        captive finance company of the manufacturer, similarly to
significant advantage for manufacturers.                          the way that the used automobile seller interface 318 may be
   As illustrated in FIG. 3B, a consumer interface 304 may 25 used by consumers. It should be appreciated that, a manu-
include a used automobile seller interface 318 and a used         facturer off-lease seller may have limited options to sell a
automobile buyer interface 320. The used automobile seller        used off-lease automobile and may have time constraints
interface 318 may be used by consumer sellers to sell used        that are may be typically imposed on a consumer seller of a
automobiles, while the used automobile buyer interface 320        used automobile. Typically, an off-lease automobile may be
may be used by consumers to buy used automobiles. It 30 dropped off by a consumer lessee at any one of a variety of
should be appreciated that consumers may be able to access        dealer locations. The manufacturer lessor may then wish to
both interfaces 318 and 320 from consumer interface 304. In       sell the used off-lease automobile, however, the dealer where
an example embodiment, the used automobile seller inter-          the off-lease automobile was dropped off may have a sig-
face 318 and a used automobile buyer interface 320 may be         nificant bargaining advantage to purchase that automobile,
integrated within a single website or application, or for 35 as the manufacturer may need to sell the off-lease automo-
example, may be implemented as distinct websites. Simi-           bile quickly and may have limited options. Typically, the
larly, in an example embodiment, a used automobile buyer          dealer may not offer the manufacturer off-lease seller full
interface 320 may be integrated with features of a consumer       market value for the off-lease automobile. It should be
interface 304 for searching both new and used automobiles         appreciated that the manufacturer off-lease seller may trans-
for purchase, or new and used automobiles may not be 40 port the car to an auction in an attempt to obtain a higher
simultaneously searchable on a particular implementation of       price. However, transportation costs, auction fees, and delay
a consumer interface 304. As will be discussed further            in selling the off-lease automobile may cause the manufac-
below, a used automobile seller interface 318 may be used         turer off-lease seller to accept less than market value for the
by a consumer seller of a specific used automobile to receive     off-lease automobile from the dealer, or otherwise not maxi-
information on the specific automobile and request bids for 45 mize the value of the off-lease automobile. For example,
the specific automobile. Similarly, a used automobile buyer       typically, an off-lease automobile sold at auction for near or
interface 320 may be used for used automobile buyers to           even above the current market value is significantly offset by
receive information on a used automobile and place a bid on       transportation costs and auction fees.
that specific automobile.                                            The off-lease seller interface 324 may provide a manu-
   It should be appreciated that, for example, a consumer 50 facturer off-lease seller with leverage, not only through the
seller of a used automobile may be considered different than      ability to obtain bids to purchase the off-lease automobile,
a dealer seller of a used automobile in some respects. For        but through the ability to determine the number of matches
example, a consumer seller of a used automobile is often          or search hits for an off-lease automobile. The dealer that has
selling through different channels, such as offering for sale     the off-lease automobile may know that the manufacturer
in classified advertisements versus from a dealer lot. It 55 may have the ability to track searches for the off-lease
should be appreciated that such differences may be relevant       automobile performed by consumers and/or other dealers.
to the ability to maximize the value of a sale or purchase of     The manufacturer off-lease seller may provide the dealer in
a used automobile. Accordingly, where appropriate, the            possession of an off-lease automobile with matches and/or
present disclosure may distinguish a consumer seller from a       bids, which may provide the dealer with firm evidence of
dealer seller, or distinguish a consumer buyer from a dealer 60 current demand or interest in the off-lease automobile. The
buyer. Also, as discussed in further detail below, a manu-        dealer may be able to use this information to determine an
facturer off-lease seller of a used automobile may also be        appropriate price, and possibly even more profitably than the
considered different from a consumer seller and/or a dealer       manufacturer. Accordingly, a dealer may often be inclined to
seller.                                                           make a significantly more competitive bid for an off-lease
   A dealer interface 306 may include a used automobile 65 automobile. It should be appreciated that the manufacturer
buyer interface 322. For example, a typical dealer may use        may use the off-lease seller interface 324 to identify in-
a dealer interface 306 primarily for facilitating sales of new    market buyers, and even without receiving bids from those

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buyers, the manufacturer's bargaining power may improve,        is stored in a database system (block 402). For example,
resulting in a greater value for off-lease sales.               automobile market data from dealers, consumers, and manu-
   Accordingly, information may be provided to the auto-        facturers regarding pricing, inventory, insurance informa-
mobile market information processing system 302 from            tion, quality ratings, safety ratings, and other ratings is
consumers, dealers, and manufacturers with a very high 5 collected and stored in a database. For example, inventory
degree of granularity, as every transaction that occurs and     data may include data regarding off-lease automobiles,
even every request or search may be stored and used by the      including scheduled drop off dates of automobiles with
automobile market information processing system 302. This       expiring leases. In an example embodiment, a wide variety
allows the automobile market information processing sys-        of data is stored in a database system 310. Automobile
tem 302 to use the most current automobile market data to 10 market data may include various relevant ratings, reports,
provide information to consumers, dealers, and manufactur-      awards, or other information, including quality information,
ers. It should be appreciated that market prices can change     safety information, insurance information, consumer credit
relatively quickly, particularly when major events drive        information, dealer rating information, incentive informa-
consumer behavior or manufacturer production, such as           tion, residual value information, and/or any other data which
natural disasters. Accordingly, reports and recommendations 15 may be relevant to consumers. For example, ratings data
provided by the automobile market information processing        may include information from the National Highway Traffic
system 302 may be highly accurate, reliable, and sensitive to   Safety Administration (NHTSA), the Environmental Protec-
market changes.                                                 tion Agency (EPA), and/or the Insurance Institute for High-
   It should be appreciated that the users 114 of the auto-     way Safety (IIHS). The data may include information from
mobile market information processing system 302, includ- 20 a consumer interface 304, such as data in consumer searches
ing consumers, dealers, and manufacturers, and buyers and       or requests, information from a dealer interface 306, such as
sellers of new and used automobiles, may be required to         currently offered dealer pricing, transaction data for final-
agree to and/or execute a terms of use agreement or terms of    ized sales, current inventory data, transport or shipping
service agreement. Various forms of enforcing the agree-        costs, and information from a manufacturer interface 308,
ment may be implemented, including a transaction deposit 25 such as current manufacturer prices and suggested pricing,
policy, which may require a deposit or a credit card hold, or   manufacturer incentives, and current inventory including
the like, and a standard schedule of fees or default payment    finished inventory on hand, production scheduling, shipment
schedule for infractions such as improper condition of an       scheduling, inventory in transit, and manufacturing lead
automobile, delay in delivery, etc. Accordingly, all parties    times. The automobile market data may be comprised solely
may be protected from another party breaching the agree- 30 of information received from the consumer interface 304,
ment.                                                           dealer interface 306, and manufacturer interface 308, or may
   It should be appreciated that certain functions described    include additional information received from other sources,
as performed, for example, at automobile market informa-        for example, industry analysts, consumer reports groups,
tion processing system 302, may instead be performed            goverrnnent agencies, etc. It should be appreciated that
locally at consumer interface 304, dealer interface 306, and 35 various methods of storing the automobile market data may
manufacturer interface 308, or vice versa. Further, in certain  be employed according to the system requirements. For
cases, tasks may be performed using consumer interface          example, database system 310 may be organized according
304, dealer interface 306, and manufacturer interface 308 or,   to different manufacturers or dealers, automobile make and
for example, performed in person, such as a consumer            model, different information categories (e.g., suggested pric-
signing documents at a dealer location, or a dealer commu- 40 ing, market prices, production, shipping, lot inventory), etc.,
nicating with a manufacturer using a telephone. It should be    and may consist of one or more databases on one or more
appreciated that the consumer interface 304, dealer interface   servers 108, 226 which may be remotely located from each
306, and manufacturer interface 308 may be implemented,         other and/or a host device 104 of the automobile market
for example, in a web browser using an HTML file received       information processing system 302. As will be discussed
from the automobile market information processing system 45 further below, the automobile market data may be continu-
302. In an example embodiment, the consumer interface           ally updated as new data is provided to the automobile
304, dealer interface 306, and manufacturer interface 308       market information processing system 302.
may be located on a website, and may further be imple-             The automobile market data may be used by any or all
mented as a secure website. Also, consumer interface 304,       parties involved in a used automobile transaction, including
dealer interface 306, and manufacturer interface 308 may 50 used automobile sellers including consumer sellers and
require a local application, for example, which a manufac-      manufacturer off-lease sellers, and used automobile buyers
turer or dealer may pay for to have access to, for example,     including consumer buyers and dealer buyers. In the
information from the automobile market information pro-         example process 400, as discussed further below, the used
cessing system 302 such as requests from consumers.             automobile seller described by way of example as a con-
   FIG. 4 is a flowchart of an example process 400 for 55 sumer seller. It should be appreciated that the example
facilitating a used automobile transaction. Although the        process 400 may work similarly or the same for a manu-
process 400 is described with reference to the flowchart        facturer off-lease seller. In an example embodiment, the
illustrated in FIG. 4, it will be appreciated that many other   consumer used automobile seller interface 318 and manu-
methods of performing the acts associated with the process      facturer off-lease seller interface 324 may be provided as a
400 may be used. For example, the order of many of the 60 combined interface. Certain aspects of the disclosed
blocks may be changed, certain blocks may be combined           example process 400 may be of greater or lesser advantage
with other blocks, and many of the blocks described are         to a manufacturer off-lease seller compared with a consumer
optional.                                                       seller. For example, consumer sellers typically sell used
   The example process 400 for facilitating a used automo-      automobiles infrequently, while manufacturer off-lease sell-
bile transaction may allow users 114 to efficiently sell and 65 ers may be selling thousands of used off-lease automobiles
purchase automobiles. The example process 400 may begin         each month. Accordingly, the goals of the user 114 may vary
with automobile market data including at least pricing data     between consumer sellers and manufacturer off-lease sellers.

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Certain notable aspects that may be distinguishable between     manufacturer off-lease seller may find that providing a
a consumer seller and manufacturer off-lease seller will be     request for a response prior to the consumer lessee actually
discussed below.                                                dropping off an off-lease automobile may significantly
   The example process 400 continues with a consumer            improve the value of off-lease automobiles. It should be
seller providing a request for a response (block 404). For 5 appreciated that the dealer where the consumer lessee drops
example, a used car seller takes a picture of the vehicle       off the off-lease automobile may be bargaining without any
identification number (VIN) of a used car and fills in price    particular advantage because the manufacturer off-lease
parameters and other information into a mobile application      seller may have multiple interested used automobile buyers
to receive a response based on current market data. In an       that, based on search parameters, have received the off-lease
example embodiment, the seller's request may be transmit- 10 automobile as a match, and/or bids from used automobile
ted from used automobile seller interface 318, 324 via the      buyers.
internet to the automobile market information processing           Used car buyers may perform a search with used auto-
system 302. For example, using an application stored on a       mobile buyer interfaces 320, 322, and may typically include
mobile device 103, the used car seller takes a picture of the   parameters limiting the search to a specific automobile type,
VIN on the used car and fills in a minimum bid price, 15 make, or model, certain options or features, a price range,
delivery parameters, etc. The seller's parameters may           and a pickup location or area. Further, for example, the
specify a pickup location by distance from an address, an       buyer may take a picture of a VIN anywhere or manually
area code, etc., which allows for matching the seller with      type in a VIN number, including at automobile trade shows,
buyers that are in-market. The picture of the VIN may be        mall displays, or anywhere new or used cars are for sale. The
processed using optical character recognition, which allows 20 buyer may even take a picture of a car parked in the street
the automobile market information processing system 302 to      as the buyer walks down the street. Any request or query
determine the make and model of the car, along with various     communicated from the consumer interface 304 may be
other characteristics of the car. Also, for example, the used   stored, for example, in database system 310, thereby updat-
car seller may take a picture of the odometer, and the          ing the automobile market information processing system
mileage may be determined using optical character recog- 25 302 with current automobile market data.
nition. It should be appreciated that the VIN may include          The example process 400 may continue with providing
human readable characters, a bar code, or any other graphi-     automobile market data to used automobile buyers based on
cal or machine readable information which acts as a vehicle     the consumer seller request (block 406). For example, a
identification number.                                          group of consumers and dealers receive a real-time report
   Also, the used car seller may input into a mobile appli- 30 including local used car sales data, inventory data, quality
cation or website a wide variety of additional information      and safety ratings data, insurance data, and gas mileage data
about the used car. For example, pictures of the used car may   of the specific used car which is identified based on the VIN.
be uploaded with the request. In an example embodiment,         The group of consumers and dealers that receive a real-time
pictures of the exterior, interior, dashboard, and/or odometer  report may be based on prior searches conducted by con-
may be provided. Also, for example, service records, own- 35 sumers on used automobile buyer interface 320 and searches
ership records, and other documents or information may be       conducted by dealers with used automobile buyer interface
included with a request. Further, a written description of the  322. In an example embodiment, a report may include
car may be provided. Accordingly, because the used car          quality information, safety information, insurance informa-
seller can provide information such as pictures, in addition    tion, recall information, EPA gas mileage and emissions
to information which the seller may not have access to, such 40 information, consumer credit information (e.g., buyer FICO
as the original manufacturer specifications of the used car,    score), dealer rating information, incentive information,
potential buyers may have access to a great deal of infor-      residual value information, and/or any other data which may
mation on the used car. Further, in an example embodiment,      be relevant to consumers and/or dealers. In an example
a mobile application may include the geolocation of a used      embodiment, a report may include a specific history infor-
car seller, so the seller does not need to enter such infor- 45 mation for the specific used car, such as a CARFAX report.
mation. Accordingly, the buyer may perform research, for        The request and/or the report may be provided in real-time
example, while at home or while shopping at a dealer            and may also provide real-time data. Data reported based on
location. It should be appreciated that certain used car        a real-time updates in the automobile market information
buyers may be highly interested in the geolocation of the       processing system 302 may provide significant advantages,
consumer seller. For example, a dealer may find the con- 50 for example, when pricing conditions may change quickly
sumer seller's geolocation to be more important than a          due to unforeseen market conditions. The recommendation
consumer buyer, because a dealer may require a minimal          engine 312 may provide recommendations to a used auto-
cost for picking up a car to ensure profitability, and to       mobile buyer based on the current automobile market data.
optimize the opportunity for creating a new customer rela-      For example, a report may indicate various estimated sales
tionship. Similarly, certain used automobile sellers may be 55 probabilities for different prices that the used automobile
very interested in the geolocation of the used automobile       buyer may offer or bid. In an example embodiment, a
buyer. For example, a manufacturer off-lease seller may         estimated sale price or range may be provided. For example,
have a high interest in determining the amount of in-market     a probability analysis may be provided with prices and
interest or demand for an off-lease automobile.                 corresponding probabilities may be estimated as, e.g., 80%
   In an example embodiment, a manufacturer off-lease 60 chance to purchase at $6,000; 60% chance to purchase at
seller may provide a request for a response for an automobile   $5,500; 30% chance to purchase at $5,000; 10% chance to
that will be dropped off by a consumer lessee in the near       purchase at $4,500. Such information may be illustrated in
future. For example, a manufacturer user 114 may input a        various ways, such as a bell curve graph or a chart. Further,
VIN into off-lease seller interface 324 by typing, speaking,    for example, the recommendation engine may provide daily
or providing an image of the VIN. The manufacturer off- 65 suggestions (e.g., a deal of the day) for dealers and/or
lease seller may provide a parameter that the used off-lease    consumers. Consumers may use such suggestions to save
automobile will be available only after a certain date. The     money or get a better value on a used car purchase by buying

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from another consumer rather than a dealer. Dealers may use      generally do not trust the sellers. It should also be appreci-
such suggestions to purchase used cars at good deals, and/or     ated that a buyer may not select any add-ons offered by third
to attract consumers to visit the dealer in person or online,    parties and/or the automobile market information processing
as well as prepare responses or bids to other consumer           system 302. A used automobile seller may have no interest
requests. Dealers or consumers may customize the used 5 in whether a buyer selects any add-ons, or the seller may
automobile buyer interface 320, 322 to provide information       receive additional compensation if an add-on is selected, so
in a pre-specified manner to suit the particular needs of the    a buyer selection of add-ons may or may not affect a seller's
specific dealer or consumer. In an example embodiment, a         value associated with the buyer's bid.
manufacturer off-lease seller may receive automobile mar-           One or more buyer bids are provided to the consumer
ket data including inventory information including data 10 seller (block 410). For example, several consumers and
regarding off-lease cars which have been dropped off at          dealers provide bids based on current pricing data, options
dealer locations and cars which will soon be coming off-         information of the specific used car, and potential pickup
lease. Further, dealers and/or consumers may be able to          locations, so several different prices and delivery options
receive information regarding off-lease cars as well. For        may be available to the used car seller via the used auto-
example, information may include a specific automobile 15 mobile seller interface 318. Typically, the bid will include at
identified by a VIN with an expected drop off location and       least a specified price and pickup time and location. In an
date based on a lease expiration.                                example embodiment, a used car seller that has taken a
   A bid to purchase the used automobile from the consumer       picture of a VIN with a mobile device and entered some
seller is requested from used automobile buyers (block 408).     basic information such as an odometer reading may receive
For example, a group of consumers and dealers within a 20 used car buyer bids within minutes or seconds on the mobile
certain radius of the used car seller location may receive a     device. Accordingly, the bids may be used in real-time as the
bid request based on used automobile buyer searches via          consumer seller may be actively selling a used car or
used automobile buyer interfaces 320, 322. Each used             shopping for a new or used car, for example, on a dealer lot.
automobile buyer's bid may include, for example, a price         Typically, a pickup location will be at the consumer seller
and a delivery option or delivery suggestion. The used 25 location, a consumer buyer location, or at a dealer lot or
automobile buyer interfaces 320, 322 may provide for             distribution location. In an example embodiment, the con-
simple input of necessary and optional data. Further, a used     sumer buyer location may be determined using the geolo-
automobile buyer's bid may contain certain limitations,          cation of the buyer's mobile device 103. It should be
restrictions, or conditions. For example, a dealer may pro-      appreciated that some consumers may be flexible as to the
vide a bid with the condition that a new car be purchased and 30 delivery options and that some dealers may have multiple
the used car be traded in at the bid price.                      locations which could serve as a pickup location. In an
   In an example embodiment, the request may provide one         example embodiment, the automobile market data may
or more options, products, services, or add-ons for a used       indicate that the particular used car that a consumer seller
automobile buyer to select from. For example, used auto-         has requested bids for should be priced at, for example,
mobile buyers may be able to select financing options, 35 $6,000. However, various factors may affect the bid or offer
warranties, extended service contracts, insurance plans, or      that a consumer or dealer may make for the specific used car.
other hard add accessories. These selectable options may be      For example, for a consumer, personal preference for certain
offered directly from the used automobile seller or may be       features or looks, convenience, insurance implications, gas
offered through the automobile market information process-       mileage, and/or service records, may play a large role in
ing system 302. Accordingly, a seller may not be offering 40 pricing a bid above or below a suggested bid price. For
any options for a buyer to select, but the system may            example, for a dealer, the potential for forming a customer
automatically provide the option to purchase further add-        relationship, the value of potential other sales, add-on prod-
ons. In an example embodiment, automobile market infor-          ucts, and/or services, or competition with other parties. All
mation processing system 302 may provide for third party         used automobile buyers that are interested may place a bid
providers of add-ons to provide live auction bids for a used 45 for a used car seller's consideration.
automobile buyer to select for inclusion in a bid. Accord-          It should be appreciated that various alternative delivery
ingly, for example, several insurance companies may pro-         options may be provided from several used automobile
vide a bid for key insurance, or several financial companies     buyers' bids, for example, based on preferences or param-
may provide bids for a loan. It should be appreciated that       eters indicated by the consumer seller of the used automo-
certain bids may depend on the particular buyer, so for 50 bile. For example, the used automobile seller interface 318
example, a buyer's credit or driving record may cause            may provide several different bids with different delivery
different buyers to receive different third party bids for       options and prices to the used car seller, for example, a price
add-ons. For example, a particular buyer may be able to          of $6,000 to drop off the car at an out of state dealer the next
increase a bid to purchase a used automobile if third party      day or a price of $5,500 to drop off the car at a local
add-ons are particularly advantageous, which may benefit a 55 consumer buyer location in five days. For example, a
consumer seller or manufacturer off-lease seller. For            consumer buyer may determine the cost of picking up the
example, a buyer may receive a better than expected interest     used car from the consumer seller and provide two pricing
rate and insurance price, and therefore be able to offer an      and delivery options, for example, $5,500 to pick up the
additional $1,000 to the seller, while staying within the        used car from the consumer seller or $5,800 to have the used
buyer's predetermined monthly budget. It should be appre- 60 car delivered to the consumer buyer's home. For example, a
ciated that third parties may include dealers which may be       manufacturer off-lease seller may review bid prices and
otherwise involved in a transaction. Also, in an example         delivery options on a number factors on used automobile
embodiment, the automobile market information processing         seller interface 324, but may be very interested in finding an
system 302 may provide at no charge to the buyers or sellers,    in-market buyer to eliminate transportation costs. A manu-
certain add-ons, such as a limited thirty day warranty. 65 facturer off-lease seller may often have somewhat different
Accordingly, the automobile market information processing        concerns than a consumer seller. For example, to meet a
system 302 may gain trust from buyers even if the buyers         quarterly budget, a manufacturer off-lease seller may be

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primarily interested eliminating a high back log of off-lease    select an offer with a specified price and delivery option on
cars even if selling cars at a significant discount is required. the used automobile seller interface 318, 324. The used car
   Further, for example, used automobile buyers may use          seller may have been weighing two or more different deliv-
information such as ratings data to optimize their bids. For     ery options, price differences, etc., based on the response(s)
example, if gasoline prices are increasing, mileage ratings 5 received through the used automobile seller interface 318,
for a particular car may dictate increasing or decreasing a      324. As noted above, the used automobile seller interface
bid. If a vehicle has very good gas mileage, and gas prices      318 may organize received bids and other helpful informa-
are skyrocketing, that car may have an increasing demand as      tion in a variety of ways, which may make the information
gas prices increase, or vice versa. Similarly, safety ratings of easier for a consumer seller to digest. It should be appreci-
vehicles may be important to consumer demand if high 10 ated that a consumer seller will typically want to deliver a
profile problems have appeared for a particular automobile       used car at a convenient location, often at or near the seller's
style, make, or model. As discussed above, various automo-       home. Accordingly, used automobile buyers may attempt to
bile market information may be used by a used automobile         provide delivery options tailored towards maximizing profit
buyer including safety information, insurance information,       and convenience, while still providing a superior bid to other
consumer credit information, dealer rating information, 15 used automobile buyers. By providing multiple bids with
incentive information, residual value information, and/or        different delivery options, the consumer seller may be
any other data which may be relevant.                            allowed to make extra money or save time based on the
   The used automobile seller interface 318, 324 may orga-       seller's particular situation. It should be appreciated that the
nize used automobile buyer bids based on a variety of factors    consumer seller selection of a bid may, for example, occur
and may provide supplemental information. For example, 20 simultaneously with the consumer seller and used automo-
certain buyer bids may be selected as the best options, all      bile buyer executing the sale or providing a deposit or down
buyer bids may be summarized, various additional ratings,        payment, or the like (see, e.g., block 414). Accordingly, in
reviews, or popularity information, special offers, etc. may     an example embodiment, once a consumer seller or manu-
also be provided to a consumer along with any used auto-         facturer off-lease seller selects a bid, the used automobile
mobile buyer bids. The recommendation engine 312 may 25 buyer has effectively purchased the car, and both parties do
provide recommendations to a consumer seller based on the        not need to worry about the other party backing out of the
current automobile market data. For example, of ten used         deal.
automobile buyer bids provided with a response, three bids          It should be appreciated that a consumer seller may not
may be recommended, for example, as "Great Deals!" It            want to drive to a distant pickup location without first
should be appreciated that in some cases, a particular used 30 receiving some form of deposit, or likewise, a used auto-
car seller request may not return any buyer bids, for            mobile buyer may not want to go to a distant pickup location
example, if the used car for sale is in low demand or a unique   to without assurance that the used automobile will actually
item with a limited market. Also, for example, if only one or    be available for pickup and in good working order. Like-
two bids are received, the recommendation engine 312 may         wise, a manufacturer off-lease seller may be concerned with
recommend that a consumer seller wait for a better bid 35 obtaining maximum value for an off-lease automobile within
because the bids provided are not competitive offers based       the required time constraints, but transportation costs may
on the current automobile market data stored in the database     be strictly budgeted. The automobile market information
system 310. Further, in an example embodiment, buyer bids        processing system 302 may accommodate for deposits to
may be organized according to distance to a pickup location,     provide any reasonable or necessary assurances to both
highest price, closest match to the consumer seller entered 40 buyers and sellers. For example, the automobile market
criteria, a normalized quality index or value index, etc. The    information processing system 302 may provide and/or
consumer seller or manufacturer off-lease seller may be able     require the use of a terms of service agreement, which the
to toggle between different viewing options for buyer bids.      consumer seller or manufacturer off-lease seller and the used
   Further, in an example embodiment, a consumer seller          automobile buyer may sign and agree to the terms provided
may be at a dealer lot (e.g., a Nissan dealer) and take a 45 therein. For example, a credit card could be charged a
picture of a VIN on a used car (e.g., a Maxima), which the       default payment in the event that either party breaches the
consumer seller intends to trade in. A bid from a competing      terms of service agreement. In an example embodiment, a
dealer (e.g., a Toyota dealer) across the street may be          schedule of various breaches may require different default
received on the mobile device within seconds and include         payments, for example, if a buyer determines a headlight
information for a competing trade in value, and may have 50 does not work, a standard $30 fee may be assessed from the
further information relating to other new or used cars which     consumer seller. Also, a variable default agreement may be
may be intended to cause the consumer seller to go to the        based on a distance between a seller and a buyer, so that a
competing dealer, for example, including various price com-      party which travels a great distance may be compensated if
parisons, gas mileage ratings, safety ratings, residual value,   the other party breaches the agreement. Also, for example,
driving directions to the competing dealer, etc. Accordingly, 55 a time period for inspection may be specified in a request
a consumer seller may weigh the pros and cons of various         and/or a bid. A bid may be conditional based on one or more
used automobile buyer bids from consumers and/or dealers,        seller representations. Moreover, a terms of service agree-
based on delivery options, pricing, and any other relevant       ment may provide assurances for any issues which may arise
variants. Any bids communicated from used automobile             in the sale of a used car, and may provide one or more
buyer interfaces 320, 322 may be stored, for example, in 60 options based on a breach, including payment of fees or
database system 310, to further update the automobile            nullification of a bid acceptance and/or sale execution. Any
market information processing system 302 with current            consumer seller selections, counter offers, or additional
automobile market data.                                          requests or responses may be stored in database system 310,
   The consumer seller selects a buyer bid including a price     as the communications are processed by automobile market
and a delivery option (block 412). For example, the used car 65 information processing system 302, providing further data
seller chooses to sell the used car based on the price and the   updates. Accordingly, in an example embodiment, a con-
pickup location of a consumer buyer bid. The seller may          sumer seller may select a bid in order to sell the used car, and

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that sale information may then be provided to another               the telephone, with the consumer seller or manufacturer
consumer searching for information regarding the same type          off-lease seller. For example, the used car buyer may arrive
of car with similar features, for example, the next day.            at the pickup location, show identification and provide a
   The consumer seller and the used automobile buyer                proof of purchase, and be provided the keys to the car by the
execute the sale of the used automobile (block 414). For 5 seller. The parties may sign paperwork indicating or con-
example, the used automobile buyer electronically signs a           firming the car has been picked up. Proof of purchase
contract and performs an electronic funds transfer or credit        documentation may include any or all documents that are
card payment. After a buyer bid is selected, an electronic          legally required for an automobile sale for a given jurisdic-
contract may be prepared by the automobile market infor-            tion, for example, the title, odometer statement, or any other
mation processing system 302 and provided for the used 10 document required by the Department of Motor Vehicles.
automobile buyer who may e-sign the contract or other               For example, the consumer seller or manufacturer off-lease
documentation as needed. Similarly, the consumer seller             seller may be required to provide any legally required
may e-sign the contract or other documentation as needed,           documents to fully execute and record the sale of the used
either prior to selecting a bid, at the time of selecting a bid,    car.
or at a later time. A contract may be e-signed through the 15          Further, in an example embodiment, a consumer seller or
used automobile seller interface 318, 324, and the used             manufacturer off-lease seller may offer various insurance
automobile buyer interface 320, 322, respectively. In               policies or service contracts to a used car buyer, for example,
another example embodiment, paper copies of a contract              etch insurance, key insurance, gap insurance, or a ninety day
may be signed, for example, after the used automobile buyer         warranty may be provided. For example, a consumer seller
prints them or receives them through the mail. In an example 20 or manufacturer off-lease seller may purchase insurance
embodiment, the used automobile buyer may provide cash              through the automobile market information processing sys-
or a paper check. It should be appreciated that the process of      tem 302 in placing a request for bids, which may increase
executing a contract may take some time. Also, it should be         interest from buyers. Also, for example, an insurance policy
appreciated that, for example, the consumer seller selection        or service contract may be provided for a used car being sold
of a bid discussed above (see, e.g., block 412) may occur 25 at no charge to the consumer seller or manufacturer off-lease
simultaneously with the consumer executing the sale. Once           seller, for example, as a convenience to all users 114 using
the sale is completed, the actual transaction data including        the disclosed system. For example, key insurance may be
the final sale price, may be provided to and stored in              provided at no cost to both the consumer seller and the used
database system 310. Accordingly, the automobile market             car buyer. It should be appreciated that, for example, using
information processing system 302 may be updated with 30 options provided through the automobile market informa-
current automobile market data from every step in the used          tion processing system 302, a consumer seller or manufac-
car sales process between a consumer seller or manufacturer         turer off-lease seller may sell or provide any add-on products
off-lease seller and a used automobile buyer. In an example         or services that a dealer would typically offer or provide in
embodiment, the updates provided to the automobile market           the sale of a used automobile. Also, if the used automobile
information processing system 302 are provided in real- 35 buyer is a dealer, additional products or services may be
time, for example, data may be transmitted and processed            offered to the consumer seller at the time of pickup. For
within seconds or minutes. Further, for example, it should be       example, the dealer may offer new or used cars, including
appreciated that certain data may be provided to the auto-          related financing options, warranties, service plans, insur-
mobile market information processing system 302 according           ance plans, and hard add accessories to the buyer, as
to a batch processing schedule.                                  40 discussed in further detail above.
   Next, the consumer seller makes the purchased used                  Accordingly, it should be appreciated that consumers,
automobile available according to the consumer seller bid           manufacturers, and dealers, may receive significant benefits
selection (block 416). For example, the seller drives the used      from the method of facilitating a used automobile transac-
car to the pickup location if the pickup location is not the        tion disclosed herein. Consumers that are selling and buying
used car seller's location. It should be appreciated that the 45 used automobiles may benefit from more competitive pric-
consumer seller or a manufacturer off-lease seller and the          ing, piece of mind knowing that a fair market price is being
used automobile buyer may use a wide variety of locations           offered for prospective purchases or sales, and improved
as a pickup location, and may work out a delivery option            delivery options that allow the consumer to weigh the
which is convenient for both parties. A consumer seller may         benefits and drawbacks of different delivery options, pricing,
interact with the automobile market information processing 50 and other variables. In an example embodiment, consumers
system 302 using used automobile seller interface 318, for          can view prices paid for comparable cars in specific loca-
example, to provide notification that a car is at the pickup        tions based on the automobile market data in the automobile
location and ready for delivery. A manufacturer off-lease           market information processing system 302, for example,
seller may interact with the automobile market information          within a certain time frame such as one month and within a
processing system 302 using used automobile seller inter- 55 certain proximity to the consumer. Manufacturers selling
face 324, for example, to provide notification that a car has       off-lease automobiles may benefit from reduced transporta-
been dropped off by a consumer lessee and is at the pickup          tion costs, saving auction fees, and an improved bargaining
location and ready for delivery to the buyer. Similarly, a          position with a dealer in possession of an off-lease automo-
notification may be sent via used automobile buyer interface        bile. For example, the ability to identify in-market buyers
322, 322 to the used car buyer that the used car is available 60 may be particularly advantageous to manufacturer off-lease
for pickup at the specified location.                               sellers, which may be able to identify matching searches of
   Finally, the used automobile buyer receives the purchased        in-market buyers. Also, dealers and/or various third parties
used automobile according to the consumer seller selected           may benefit from the opportunity to sell insurance, credit,
delivery option (block 418). For example, the used car buyer        service contracts, hard add accessories, and other add-ons
receives the used car at the pickup location the same day the 65 with used automobiles. Moreover, various inefficiencies in
sale is executed. The used car buyer may pick up the car            the automobile industry may be minimized utilizing the
without ever having to talk to or negotiate, in person or over      presently disclosed system and method.

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   FIG. 5 illustrates a block diagram of an example data             analyst data may include historical data 518 and statistical
architecture 500. In the example data architecture 500,              data 516 relating to safety or quality reports, efficiency data,
interface data 502, administrative data 504, and automobile          recall data, and the like for used automobiles, which may be
market data 506 interact with each other, for example, based         organized or re-organized under various categories of auto-
on user commands or requests. The interface data 502, 5 mobile market data 506 as time passes or as supplemental
administrative data 504, and automobile market data 506              data is provided to the automobile market information
may be stored on any suitable storage medium (e.g., server           processing system 302. It should be appreciated that a
226). It should be appreciated that different types of data          system administrator may load data into the automobile
may use different data formats, storage mechanisms, etc.             market information processing system 302 as it becomes
Further, various applications may be associated with pro- 10 available. For example, annual, quarterly, and/or monthly
cessing interface data 502, administrative data 504, and             reports relating to safety, insurance, etc., may be input into
automobile market data 506. Various other or different types         automobile market data 506 on a regular basis. It should also
of data may be included in the example data architecture             be appreciated that automobile market data 506 may be
500.                                                                 tailored for a particular manufacturer and/or dealer, for
   Interface data 502 may include input and output data of 15 example, a manufacturer may request that a specific type of
various kinds. For example, input data may include mouse             data that is not normally stored or used be stored in the
click data, scrolling data, hover data, keyboard data, touch         database system 310. Accordingly, for example, customized
screen data, voice recognition data, etc., while output data         reports may be provided to a manufacturer interface 308
may include image data, text data, video data, audio data,           using that specific data for the manufacturer, for example,
etc. Interface data 502 may include formatting, user inter- 20 relating to resale values of used automobiles.
face options, links or access to other websites or applica-             The integration of the various types of automobile market
tions, and the like. Interface data 502 may include applica-         data 506 received from the consumer interface 304, dealer
tions used to provide or monitor interface activities and            interface 306, and manufacturer interface 308 may provide
handle input and output data.                                        a synergistic and optimal resource for consumers, dealers,
   Administrative data 504 may include data and applica- 25 and manufacturers alike. In an example embodiment, a used
tions regarding user accounts. For example, administrative           automobile seller and a used automobile buyer may benefit
data 504 may include information used for updating                   greatly from using an application in a mobile device 103 to
accounts, such as creating or modifying consumer accounts            provide a request for buyer bids on a used automobile by
and/or dealer accounts. Further, administrative data 504 may         taking a picture of the VIN of the used automobile, for
include access data and/or security data. Administrative data 30 example, using used automobile seller interface 318, 324.
504 may include a terms of service agreement. Administra-            Used automobile buyers may search for used automobiles
tive data 504 may interact with interface data in various            for sale by consumer sellers, for example, using used
manners, providing a user interface 304, 306, 308 with               automobile buyer interface 320. The used automobile buyers
administrative features, such as implementing a user login           may receive intrabrand and/or interbrand seller request
and the like.                                                     35 information in real-time. The intrabrand and interbrand
   Automobile market data 506 may include, for example,              information provided on the used automobile buyer interface
executed sales data 508, consumer data 510, dealer data 512,         320 may allow the best automobile options for a particular
manufacturer data 514, statistical data 516, and/or historical       consumer to be provided to that consumer, and may allow
data 518. Executed sales data 508 may include actual                 consumer sellers, manufacturer off-lease sellers, and dealers
negotiated prices for manufacturer and dealer sales, differ- 40 to compete with each other taking into account a greater
ences in list prices to negotiated prices, sales demographics,       amount of automobile market information, which may result
etc. Consumer data 510 may include consumer search activ-            in a more efficient automobile market. Consumers that are
ity, consumer requests and offers, consumer feedback, etc.           selling used automobiles and consumers that are buying
Dealer data 512 may include dealer pricing, including list           used automobiles may similarly receive benefits from the
prices, sale prices for limited time dealer offers or deals of 45 presently disclosed system. Also, as discussed above, manu-
the day, negotiation information such as bottom line pricing,        facturer off-lease sellers may benefit greatly from the pres-
offers received, foot traffic activity, and dealer inventory         ently disclosed system, for example, using bids and/or
data, including current on location data, automobile turnover        matches or search hits for an off-lease automobile to
rates, etc. Manufacturer data 514 may include manufacturer           improve bargaining power with a dealer in possession of the
pricing, including suggested pricing, preferred dealer pric- 50 off-lease automobile and other dealers and/or consumers.
ing, etc., manufacturer incentives including cash rebates,              Automobile market data 506 may be maintained in vari-
special lease rates, special APR rates, zero down offers,            ous servers 108, in databases or other files. It should be
lifetime warranties, guaranteed trade-in offers, etc., and           appreciated that, for example, a host device 104 may
inventory information including dealer inventory, inventory          manipulate automobile market data 506 in accordance with
by location, inventory in transit, manufacturing or produc- 55 the administrative data 504 and interface data 502 to provide
tion lead times or build times, production scheduling, ship-         requests or reports to users 114 including consumers, deal-
ping scheduling, lease information, etc. Statistical data 516        ers, and manufacturers, and perform other associated tasks.
may include information used for providing reports includ-           It should also be appreciated that automobile market data
ing graphs, forecasts, recommendations, calculators, depre-          506 represents automobile market information, and that
ciation schedules, tax information, etc., including equations 60 these terms may be used interchangeably in this disclosure
and other data used for statistical analysis. Historical data        depending upon the context.
518 may include past sales data, such as historical list prices,        FIG. 6 is flow diagram illustrating an example process
actual sale prices, manufacturer and dealer margins, oper-           600 for facilitating a used automobile transaction, according
ating costs, service costs or profitability, loyalty information,    to an example embodiment of the present invention.
etc. It should be appreciated that data may fall under one or 65 Although the process 600 is described with reference to the
more categories of automobile market data 506, and/or                flow diagram illustrated in FIG. 6, it will be appreciated that
change with the passage of time. For example, industry               many other methods of performing the acts associated with

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the process 600 may be used. For example, the order of            tion processing system 302 receives and processes buyer
many of the blocks may be changed, certain blocks may be          bids and prepares the bids and automobile market data for
combined with other blocks, and many of the blocks                the consumer seller or manufacturer off-lease seller (block
described are optional.                                           614).
   In the example process 600, data may flow between the 5           The automobile market information processing system
automobile market information processing system 302 and a         302 may send buyer bids and automobile market informa-
used automobile seller interface 318, 324 and a used auto-        tion to the used automobile seller interface 318, 324 (block
mobile buyer interface 320, 322, as discussed above based         616). It should be appreciated that automobile market infor-
on used automobile seller and buyer interaction with the          mation may be provided to the consumer seller or manu-
automobile market information processing system 302. As 10 facturer off-lease seller before buyer bids are provided,
discussed above, a used automobile seller interface 318 and       and/or concurrently with buyer bids. The seller may receive
used automobile buyer interface 320 may be included in a          the buyer bids and automobile market information and may
consumer interface 304, a used automobile buyer interface         select a bid including a delivery option based on the auto-
322 may be included a dealer interface 306, and a used            mobile market information (block 618). The used automo-
automobile seller interface 324 may be included in a manu- 15 bile seller interface 318, 324 may send to the automobile
facturer interface 308. It should be appreciated that the         market information processing system 302 a selection of a
automobile market information processing system 302 may           bid indicating that the consumer seller or manufacturer
update the automobile market information stored in the            off-lease seller wants to sell the used automobile based on
database system 310 when automobile market information is         the selected bid (block 620). The automobile market infor-
received from a buyer or seller, and/or a consumer, a dealer, 20 mation processing system 302 receives and processes the
a manufacturer, an industry analyst, and/or from any other        seller bid selection (block 622). For example, the automobile
information source. Accordingly, the automobile market            market information processing system 302 may send the bid
information may remain current and/or provide sufficiently        selection to the used automobile buyer interface 320, 322
recent data for the benefit of consumers, dealers, and/or         (block 624). The used automobile buyer may receive the bid
manufacturers.                                                 25 selection and coordinate a sale by, for example, setting up a
   The example process 600 may begin with a consumer              pick up time and location for the used automobile at the
seller or a manufacturer off-lease seller of a used automobile    seller location or the buyer location (block 626). Also, for
taking a picture of the VIN using a mobile phone application      example, the automobile market information processing
and entering in information such as pricing parameters            system 302 may provide contract or loan documents, collect
(block 602). The used automobile seller interface 318, 324 30 a deposit or down payment, or the like, from the consumer
may use OCR to determine and provide the VIN and pricing          seller, the manufacturer off-lease seller, and/or the used
parameters to the automobile market information processing        automobile buyer. As discussed above, in each of blocks
system 302 as a consumer seller request or a manufacturer         606, 614, and 622, the automobile market information
off-lease seller request (block 604). It should be appreciated    processing system 302 may update the automobile market
that OCR may occur in the automobile market information 35 information in the database system 310 based on the infor-
processing system 302 or at the used automobile seller            mation received from the consumer, manufacturer, and/or
interface 318, 324. The automobile market information             dealer.
processing system 302 receives the seller request and pre-           For exemplary purposes, the present disclosure discusses
pares automobile market information based on the seller           a various examples relating to a purchase of a used car.
request (block 606). The automobile market information 40 However, it should be appreciated that the disclosed system,
processing system 302 may send a bid request and automo-          methods, and apparatus may be advantageously used in
bile market information based on the seller request to the        relation to various used automobiles other than cars includ-
used auto buyer interface 320, 322 for one or more con-           ing, for example, trucks, vans, sport utility vehicles, jeeps,
sumers and/or dealers (block 608). It should be appreciated       motorcycles, commercial vehicles, and/or automobiles that
that while the seller request is automobile market informa- 45 have a VIN and require a license plate to operate.
tion, typically, additional automobile market information            It will be appreciated that all of the disclosed methods and
would be provided with the seller request. For example,           procedures described herein can be implemented using one
typically, data relating to recent sales of similar used auto-    or more computer programs or components. These compo-
mobiles and/or comparable automobiles may be provided. In         nents may be provided as a series of computer instructions
an example embodiment, a target price or "true" value of the 50 on any conventional computer-readable medium, including
used automobile, or an expected price range, may be pro-          RAM, ROM, flash memory, magnetic or optical disks,
vided. Also, for example, various gas mileage data, safety        optical memory, or other storage media. The instructions
ratings, recall information, quality reports, estimated insur-    may be configured to be executed by a processor, which
ance costs, and the like may be provided. Further, add-on         when executing the series of computer instructions performs
products or services, such as insurance, credit, warranties, 55 or facilitates the performance of all or part of the disclosed
service contracts, or hard add accessories, which may be          methods and procedures.
determined based on a third party bidding process, may also          Further, it will be appreciated that the presently disclosed
be provided. One or more used automobile buyers, including        system, methods, and apparatus for performing used auto-
consumers and/or dealers, receive the bid request and auto-       mobile transactions may be utilized in conjunction with
mobile market information, determine prices and delivery 60 other systems or methods. For example, the presently dis-
options for the used automobile using the automobile market       closed system, methods, and apparatus may be used in
information, and prepare and provide bids for the consumer        conjunction with the disclosure in the co-pending com-
seller or a manufacturer off-lease seller (block 610). A buyer    monly-owned patent applications filed on Jul. 5, 2011,
bid may be sent from the used automobile buyer interface          entitled "AUTOMOBILE TRANSACTION FACILITA-
320, 322 to the automobile market information processing 65 TION USING A MANUFACTURER RESPONSE," appli-
system 302 for each consumer and/or dealer that wants to          cation Ser. No. 13/176,497, and entitled "AUTOMOBILE
provide a bid (block 612). The automobile market informa-         TRANSACTION FACILITATION BASED ON CUS-

                                                         Appx1064
               Case: 23-1362                Document: 30               Page: 252            Filed: 12/05/2023


                                                    US 10,140,655 B2
                              25                                                                   26
TOMER SELECTION OF A SPECIFIC AUTOMOBILE,"                              10. The method of claim 1, further comprising:
application Ser. No. 13/176,525, the entire contents of each            storing, on a computer readable medium, automobile
of which is incorporated by reference herein, and in an                    market data that is representative of recent automobile
example embodiment, the features of which may be com-                      market characteristics, wherein the automobile market
bined with the features of the present disclosure.                         data is based on real-time automobile market data.
   It should be understood that various changes and modi-               11. The method of claim 1, wherein the first request
fications to the example embodiments described herein will           includes a picture of at least one of the exterior of the
be apparent to those skilled in the art. Such changes and            automobile, the interior of the automobile, the dashboard of
modifications can be made without departing from the spirit          the automobile, the odometer of the automobile, service
and scope of the present subject matter and without dimin- 10 records of the automobile, and ownership records of the
ishing its intended advantages. It is therefore intended that        automobile.
such changes and modifications be covered by the appended               12. The method of claim 1, wherein the first request
claims.                                                              includes data provided with at least one graphical user
   The invention is claimed as follows:                              interface component.
   1. A method comprising:                                        15    13. The method of claim 1, wherein the first request
   receiving, via a used automobile seller interface, a first        includes at least one price parameter.
      request for a response regarding a first used automo-             14. The method of claim 1, further comprising:
      bile, the first request made by a used automobile seller          storing, on a computer readable medium, pricing data
      located at a first location and including a vehicle                  including used automobile data and new automobile
      identifier and geolocation information of the used auto- 20          data, including actual prices of executed transactions,
      mobile;                                                              dealer listing prices, dealer sale prices, manufacturer
   executing instructions, by at least one processing device,              incentives, dealer bids, consumer bids, and consumer
      to:                                                                  pricing parameters.
      determine, based on the geolocation information, that             15. The method of claim 1, further comprising executing
          the used automobile is located at the first location; 25 instructions, by the at least one processing device, to:
      generate, based on the determined first location, an              process a used automobile seller selection of the first bid
          in-market used automobile buyer area;                            to facilitate executing a sale including at least one of
      determine that at least one used automobile buyer is                 providing for electronic signature of documents and
          located within the in-market used automobile buyer               providing for an electronic funds transfer.
          area;                                                   30    16. The method of claim 1, wherein an add-on, including
      receive, via a used automobile buyer interface, a first        at least one of insurance, financing, a service contract, a
          bid from a first used automobile buyer located at a        warranty, and a hard-add accessory, is provided by a third
          second location within the in-market used automo-          party to the first used automobile buyer with the first request,
          bile buyer area;                                           via the used automobile buyer interface, wherein the third
      generate, based on receiving the first bid, driving 35 party is different from the used automobile seller and the first
          directions from the first location to the second loca-     used automobile buyer.
          tion; and                                                     17. The method of claim 16, wherein the add-on is
      provide, via the used automobile seller interface, the         selected for inclusion in the first bid by the first used
          first bid including at least a price for the first used    automobile buyer.
          automobile and the driving directions from the first 40       18. The method of claim 1, further comprising executing
          location to the second location.                           instructions, by the at least one processing device, to:
   2. The method of claim 1, wherein the used automobile                receive, via the used automobile buyer interface, a second
seller interface is a manufacturer off-lease seller interface,             bid from a second used automobile buyer located at a
   further comprising:                                                     third location within the in-market used automobile
   receiving, via the manufacturer off-lease seller interface, 45          buyer area;
      a manufacturer used automobile seller selection of the            generate, based on receiving the second bid, second
      first bid, wherein the manufacturer used automobile                  driving directions from the first location to the third
      seller selection indicates a manufacturer used automo-               location; and
      bile seller intention to sell the first used automobile           provide, via the used automobile seller interface, the
      based on the first bid to the first used automobile buyer. 50        second bid including at least a second price for the first
   3. The method of claim 1, wherein the first request is made             used automobile and the second driving directions from
by the used automobile seller on a website.                                the first location to the third location.
   4. The method of claim 1, wherein the vehicle identifier             19. A system comprising:
is manually entered by the used automobile seller.                      a computer readable medium storing instructions;
   5. The method of claim 1, wherein the first request is made 55       at least one processing device operably coupled to the
by the used automobile seller using a mobile device which                  computer readable medium, the at least one processing
takes a picture of a vehicle identifier.                                   device executing the instructions to:
   6. The method of claim 5, wherein the vehicle identifier                receive, via a used automobile seller interface, a first
is recognized using optical character recognition.                            request for a response regarding a first used auto-
   7. The method of claim 1, wherein the first request is made 60             mobile, the first request made by a used automobile
by the used automobile seller using a mobile device includ-                   seller located at a first location and including a
ing a microphone, and the vehicle identifier is input via the                 vehicle identifier and geolocation information of the
microphone.                                                                   used automobile seller;
   8. The method of claim 7, wherein the vehicle identifier                determine, based on the geolocation information, that
is recognized using speech recognition.                           65          the used automobile is located at the first location;
   9. The method of claim 1, wherein the first used automo-                generate, based on the determined first location, an
bile buyer is one of a consumer and a dealer.                                 in-market used automobile buyer area;

                                                          Appx1065
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                                                    US 10,140,655 B2
                             27                                                                   28
      determine that at least one used automobile buyer is             26. The system of claim 22, wherein the manufacturer
         located within the in-market used automobile buyer         off-lease seller interface receives a parameter that the first
         area;                                                      used automobile will be available for pickup only after a
      receive, via a used automobile buyer interface, a first       certain date.
         bid from a first used automobile buyer located at a 5         27. The system of claim 22, wherein the used automobile
         second location within the in-market used automo-          seller interface and the used automobile buyer interface are
                                                                    integrated within at least one of a single website and a single
         bile buyer area;
                                                                    application.
   generate, based on receiving the first bid, driving direc-          28. A non-transitory computer readable medium storing
      tions from the first location to the second location; and     instructions which, when executed, are configured to cause
                                                                 10
      provide, via the used automobile seller interface, the        an information processing apparatus to:
         first bid including at least a price for the first used       receive, via a used automobile seller interface, a first
         automobile and the driving directions from the first             request for a response regarding a first used automo-
         location to the second location.                                 bile, the first request made by a used automobile seller
   20. The system of claim 19, wherein the system includes 15             located at a first location and including a vehicle
                                                                          identifier and geolocation information of the used auto-
a used automobile seller interface and a manufacturer off-
                                                                          mobile;
lease seller interface that is different from the used automo-
                                                                       determine, based on the geolocation information, that the
bile seller interface.                                                    used automobile is located at the first location;
   21. The system of claim 19, wherein the first used                  generate, based on the determined first location, an in-
automobile is an off-lease automobile, and the first location 20          market used automobile buyer area;
is a dealer in possession of the first used automobile.                determine that at least one used automobile buyer is
   22. The system of claim 19, wherein the used automobile                located within the in-market used automobile buyer
seller interface is a manufacturer off-lease seller interface.            area;
                                                                       receive, via a used automobile buyer interface, a first bid
   23. The system of claim 22, wherein the manufacturer
                                                                 25       from a first used automobile buyer located at a second
off-lease seller interface includes a number of matches or
                                                                          location within the in-market used automobile buyer
search hits for the first used automobile.                                area;
   24. The system of claim 22, wherein a manufacturer user             generate, based on receiving the first bid, driving direc-
inputs the vehicle identifier into the manufacturer off-lease             tions from the first location to the second location; and
seller interface by one of typing, speaking, or providing an           provide, via the used automobile seller interface, the first
                                                                 30
image of the vehicle identifier.                                          bid including at least a price for the first used automo-
   25. The system of claim 22, wherein the manufacturer                   bile and the driving directions from the first location to
off-lease seller interface includes information regarding                 the second location.
automobiles that are coming off-lease.                                                       * * * * *




                                                          Appx1066
                 Case: 23-1362                   Document: 30                  Page: 254                  Filed: 12/05/2023
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c12)   United States Patent                                                     (IO) Patent No.:                   US 10,223,720 B2
       Seergy et al.                                                            (45) Date of Patent:                                 *Mar. 5, 2019

(54)   AUTOMOBILE TRANSACTION                                              (58)       Field of Classification Search
       FACILITATION USING A MANUFACTURER                                              CPC ....................... G06Q 30/0206; G06Q 30/0601
       RESPONSE                                                                                              (Continued)

(71)   Applicant: Sidekick Technology LLC, Pine Brook,                     (56)                          References Cited
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(72)   Inventors: Michael J. Seergy, Pine Brook, NJ
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                    This patent is subject to a terminal dis-
                    claimer.                                               Primary Examiner - Brandy A Zukanovich
                                                                           (74) Attorney, Agent, or Firm - K&L Gates LLP
(21)   Appl. No.: 15/606,733
                                                                           (57)                            ABSTRACT
(22)   Filed:       May 26, 2017                                           A system, methods, and apparatus for performing automo-
                                                                           bile transactions are disclosed. In an example embodiment,
(65)                  Prior Publication Data                               automobile market data representative of current automobile
       US 2018/0018722 Al              Jan. 18, 2018                       market characteristics is stored. The automobile market data
                                                                           may include pricing, inventory, and consumer interest infor-
                                                                           mation received from manufacturers, dealers, and consum-
                Related U.S. Application Data                              ers. A consumer may provide a request for a manufacturer
(63)   Continuation of application No. 14/860,229, filed on                response indicating whether a specific automobile can be
       Sep. 21, 2015, now Pat. No. 9,665,897, which is a                   provided. Automobile market data may be provided to a
                                                                           manufacturer based on the request and a manufacturer
                        (Continued)
                                                                           response provides a verification, confirmation, or offer indi-
                                                                           cating that the specific automobile can be provided for the
(51)   Int. Cl.
                                                                           consumer. Bids to sell the specific automobile may be
       G06Q 30/00           (2012.01)
                                                                           requested from dealers based on the manufacturer response.
       G06Q 30/06           (2012.01)
                                                                           Dealer bids may be provided to the consumer with prices
(52)   U.S. Cl.                                                            and a delivery options. The consumer may select a bid which
       CPC ..... G06Q 30/0609 (2013.01); G06Q 30/0605                      specifies a pickup location at a first dealer.
                    (2013.01); G06Q 30/0611 (2013.01);
                      (Continued)                                                             34 Claims, 7 Drawing Sheets


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                Case: 23-1362                    Document: 30                 Page: 255            Filed: 12/05/2023


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(58)   Field of Classification Search                                         2009/0171761 Al      7/2009   Noy et al.
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                                   Case: 23-1362    Document: 30       Page: 256     Filed: 12/05/2023




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                             Case: 23-1362           Document: 30      Page: 257          Filed: 12/05/2023




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                                    Keyboard, mouse,                                                                         ~
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                                    and/or other input
                                        device(s)                                                                           =~
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      Case: 23-1362      Document: 30          Page: 258    Filed: 12/05/2023


U.S. Patent         Mar.5,2019             Sheet 3 of 7           US 10,223,720 B2




                    300\

                                                                        I   302

            Automobile Market Information Processing System
                          /310                                  /312

           Database System                    Recommendation Engine


                          /314                                  /316

          Vehicle Identification
                                               Interface Generation Unit
           Number Processor


           Jl                         J•                           Jl




           H    /304                  1'     /306                  1'   /30 8


       Consumer                     Dealer                   Manufacturer
        Interface                  Interface                  Interface




       User 114                    User 114                    User 114




                                   Fig. 3




                                   Appx1071
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                                        (    Start    )          ;-400


                                               •
         stored in a database system (e.g., data from manufacturers, dealers, and
                                                                                  r-402
        Automobile market data including at least pricing data and inventory data is

      consumers regarding pricing, lot inventory, production scheduling, and shipment
                                                                                      ~

                      scheduling is collected and stored in a database)


                                               •                                 ;-404
       A request for a response of whether an automobile can be provided is received
      from a consumer (e.g., a car buyer fills in a request form on a website or takes a f-----+
      picture of a VIN to receive a verification that a car can be produced or delivered)


                                               •                                 r-406
        Automobile market data is provided to a manufacturer based on the consumer
       request (e.g., the car maker receives a real-time report including local car sales
      data, inventory data, car delivery data, and car build time data of the subject car)


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           A manufacturer response is provided to the consumer indicating that the
       automobile can be provided for the consumer (e.g., the car maker provides a
                                                                                  r-408


      verification that a car can be produced, shipped, or is already in inventory based
                                                                                         f-----+
           on current pricing data, car locations, and build times for the subject car)


                                          •                                       ;-410
      A bid to sell the automobile to the consumer is requested from dealers based on
        the manufacturer response (e.g., several dealers provide bids based on the
      verification, current pricing data, dealer pickup locations, and potential add-ons)


                                          •                                       r-412
      Dealer bids are provided to the consumer (e.g., several dealers provide bids, s o ~
      several different prices and delivery options may be available to the car buyer)


                                          •                                       r-414
       The consumer selects a bid including a delivery option which specifies a pickup ~
        location (e.g., the car buyer chooses to pickup at a nearby dealer in five days)


                                          •                                         r-416
       The manufacturer is instructed to provide the automobile to a dealer according
      to the consumer bid selection (e.g., the car maker is instructed to re-route a car
      already in transit to the dealer pickup location for delivery in less than five days)


                                          •                                       ;-418
      The consumer and dealer execute the sale of the automobile (e.g., the car buyer~
         e-signs a loan application and contract, and electronically transfers funds)



                    Fig. 4A             ( • )
                                            Fig. 4B




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                                          Fig. 4A              ;-400


                                             •
    The manufacturer provides the dealer with the purchased automobile according
                                                                                ,420

      to the consumer bid selection (e.g., the car maker re-routes a car en route to
    delivery at another dealer to the dealer pickup location selected by the car buyer
        or transports the car directly from the factory to the dealer pickup location)


                                             •
      The consumer picks up the purchased automobile according to the consumer
                                                                                ,422

     selected delivery option at the dealer (e.g., the car buyer picks up the car at the
                  nearby dealer five days after the car sale is executed)


                                        Fig. 4B




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                                                1500
                                     502                                                  504
          Interface Data       '                              Administrative Data   '
                                        --            -
     B G          J~
                                                            Account
                                                          Information

                                                                        Ja
                                                                             Access and
                                                                              Security



                  ,   ,                        /506                     1•


                                   Automobile Market Data

                              ,508                                      ,510


              Executed Sales Data                          Consumer Data



                              ,512                                      ,514


                  Dealer Data                             Manufacturer Data



                              /516                                      /518


                Statistical Data                           Historical Data




                                             Fig. 5




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           600\
                                                                                                                                            e
                                                                                                                                            •
                               ;-304                                    ;-302                                              ;-308            00
                                                 I
                                                                                                                                            •
                                                 I                                                                                          ~
                         1602                                                    606 608           i I                            /610      ~
                                   604 ---, : )
                                              I                                                                                             ~
                                                                  System rece'les      I R.;~st ~nd                     Manufacturer        ~
           Consumer takes a                                                                                          determines that an
                                             Request.                request and           auto market
            picture of a VIN                                                                                                                ~
                                                                                                                                            =
                                                                       prepares                                      automobile can be
                                                                                           information
                                                 I      i         automobile market                                     provided and
                                                 I      '
                                                 I                data based on the                : lvi.                 prepares
                                                 I                      request                    I    i
                                                 I                                                 I
                                                                                                                         verification
                                                 I                                                                     information for      ~
                                                                                                                                            ~
                         1618                    I                           1614                                                           :-:
                                                                                       l················Lc.. ~.~.2     consumer and
                                       ;1        : c:616          System receives                                                           ~Ul
           Consumer receives                                                           \    Verifi cation                  dealers
                                                                   and processes                                                             N
           verification that the   \        Verification                                                                                    0
                                                                    manufacturer                   1                                        ....
           automobile can be                     I                                                 I                                        1,0
                                                                   response with                   ,------- - -- ------------
                 provided                                                                          1
                                                                  verification and                 I                       ;-306
                                                                    prepares and                   I
                                                                                                                                            rJJ
                                                                      provides         6207:                I\                    1622      ('D
                                                                                                                                            =-
                                                                   information for                                                          ('D
                                                                                           Bid request )             Dealers receive bid    .....
                                                                   consumer and        '------~!                                            -....J




Appx1075
                Fig. 6                                                                             I
                                                                                                                        request and
                                                                       dealers                     I        l/        determine prices      0
                                                                                                   I
                                                                                                                                            ....
                                                            628                                                         and delivery        -....J
                                                                             1626
                                                                                       )           : c:624             options for the
                         1630               Dealer bids            System receives
                                              and auto                                 \     Dealerbid                 automobile and
                                                                    and processes
           Consumer receives                                                                                            prepare and
                                               market              dealer bids and
            dealer bids based                                                                      I
                                                                                                                     provide bids for the
                                            information           prepares bids and
            on the verification                                                                    I                      consumer
                                                                  automobile market                I                                        d
             and selects a bid                                                                     I                                        rJl.
                                                                  data for consumer                I
           including a delivery                                                                    I
                                   632                                                                                                      ""'"'
             option based on                                                     634                                                  638    =
            automobile market               Selection                                  636   7:             I;                              'N
                                                                   System receives                                   Dealer receives bid     N
                information                                       and processes bid          Selection                 selection and
                                                                                                                                             w
                                                                                                                                            ~
                                                                      selection                    I        I        coordinates a sale     N
                                                                                                   '                                        =
                                                                                                                                            N
                                                                                                                                            =
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                               1                                                                   2
         AUTOMOBILE TRANSACTION                                       market data may be provided to a manufacturer based on the
    FACILITATION USING A MANUFACTURER                                 request and a manufacturer response may provide a verifi-
                 RESPONSE                                             cation, confirmation, or offer indicating that the specific
                                                                      automobile can be provided for the consumer. Bids to sell
            CROSS REFERENCE TO RELATED                              5 the specific automobile may be requested from dealers based
                        APPLICATIONS                                  on the manufacturer response. Dealer bids may be provided
                                                                      to the consumer with prices and a delivery options. The
   This application is a continuation of U.S. application Ser.        consumer may select a bid which specifies a pickup location
No. 14/860,229, filed Sep. 21, 2015, which is a continuation          at a particular dealer.
of U.S. application Ser. No. 13/176,497, filed Jul. 5, 2011, 10          Additional features and advantages of the disclosed
which is related to the commonly-owned patent application             method and apparatus are described in, and will be apparent
filed on Jul. 5, 2011, entitled "AUTOMOBILE TRANSAC-                  from, the following Detailed Description and the Figures.
TION FACILITATION BASED ON CUSTOMER SELEC-
TION OF A SPECIFIC AUTOMOBILE," U.S. application                               BRIEF DESCRIPTION OF THE FIGURES
Ser. No. 13/176,525, and the entire content of each of which 15
is hereby incorporated by reference herein.                              FIG. 1 is a high level block diagram of an example
                                                                      network communicating system, according to an example
                        BACKGROUND                                    embodiment of the present invention.
                                                                         FIG. 2 is a detailed block diagram showing an example of
   In the automobile industry, consumers typically purchase 20 a computing device, according to an example embodiment
automobiles from dealers or dealerships. Dealers often pur-           of the present invention.
chase new automobiles from several manufacturers, to sell                FIG. 3 is a block diagram showing an example automobile
to consumers. Consumers typically negotiate a lower price             transaction network structure, according to an example
than the manufacturer suggested retail price typically                embodiment of the present invention.
referred to as the "sticker price" and/or the price the dealer 25        FIGS. 4A and 4B include a flowchart illustrating an
initially offers. In many cases, the negotiation process for an       example process for facilitating an automobile transaction,
automobile may include a large degree of uncertainty for the          according to an example embodiment of the present inven-
consumer. Generally, the negotiation process is a zero sum            tion.
process, and because the consumer and the dealer are each                FIG. 5 is a block diagram showing an example data
trying to get a better deal, there is typically some lack of trust 30 architecture, according to an example embodiment of the
during the negotiation. Accordingly, both dealers and con-            present invention.
sumers often base the negotiations on established market                 FIG. 6 is flow diagram illustrating an example process for
prices. However, market prices can fluctuate rapidly depend-          facilitating an automobile transaction, according to an
ing a variety of factors. For example, consumer demand may            example embodiment of the present invention.
be affected by economic factors, such as changes in gasoline 35
prices, unemployment rates, government sponsored tax                          DETAILED DESCRIPTION OF EXAMPLE
rebates for automobile purchases, etc.                                                       EMBODIMENTS
   In many cases, a consumer may have concerns that a
dealer may not offer a fair and competitive price. Various               The present disclosure relates in general to a system for
products and services have become available that allow 40 facilitating automobile transactions and, in particular, to
consumers to perform research on market prices for auto-              automobile transaction facilitation using a manufacturer
mobiles. Similarly, dealers negotiating an automobile sale            response. Briefly, in an example embodiment, a system is
generally do not kuow the maximum price a consumer will               provided which allows a consumer to request a verification
be willing to pay for a particular automobile, or how long it         that a specific car can be obtained. For example, a consumer
will take to sell an automobile in inventory for a given price. 45 may use a mobile device to take a picture of a vehicle
Accordingly, dealers also use products and services for               identification number and using optical character recogni-
determining and/or tracking market prices. Further, automo-           tion, request real-time information on that automobile. For
bile manufacturers may also have an interest in the market            example, a manufacturer can provide a verification to the
prices for automobiles, because the market activity captured          consumer and dealers that the automobile can be provided,
as automobile market information may allow the manufac- 50 along with specific logistics for delivery. Dealers may pro-
turer to, for example, more profitably determine which                vide bids based on the consumer request and the manufac-
automobiles to manufacture, what prices the manufacture               turer verification, including intrabrand bids and interbrand
should offer to dealers, and whether manufacturer incentives          bids. A consumer may select a dealer bid to purchase or lease
should be offered on existing dealer automobile inventory.            an automobile based on the prices and delivery options
                                                                   55 available. Also, the presently disclosed system may advan-
                          SUMMARY                                     tageously allow for inventoryless bidding by dealers. For
                                                                      example, a dealer does not need to have an automobile in its
   The present disclosure provides a new and innovative               inventory (e.g., on the dealer lot), but can make a bid to sell
system, methods and apparatus for providing automobile                that automobile anyways, and then have that automobile
market information and performing automobile transactions. 60 produced by a manufacturer or transported to the dealer lot.
In an example embodiment, automobile market data repre-               In a non-limiting example embodiment, certain features
sentative of recent automobile market characteristics is              disclosed in the present patent application may be commer-
stored. The automobile market data may include pricing,               cially embodied in products and services offered by Sidekick
inventory, and consumer interest information received from            Technology LLC, the assignee of the present application.
manufacturers, dealers, and consumers. A consumer may 65                 The present system may be readily realized in a network
provide a request for a manufacturer response indicating              communications system. A high level block diagram of an
whether a specific automobile can be provided. Automobile             example network communications system 100 is illustrated

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in FIG. 1. The illustrated system 100 includes one or more      etc. retrieved from a computing device 102, 104 and/or
client devices 102, and one or more host devices 104. The       loaded via an input device 214.
system 100 may include a variety of client devices 102, such       The interface circuit 212 may be implemented using any
as desktop computers and the like, which typically include      suitable interface standard, such as an Ethernet interface
a display 112, which is a user display for providing infor- 5 and/or a Universal Serial Bus (USB) interface. One or more
mation to users 114, and various interface elements as will     input devices 214 may be connected to the interface circuit
be discussed in further detail below. A client device 102 may   212 for entering data and commands into the main unit 202.
be a mobile device 103, which may be a cellular phone, a        For example, the input device 214 may be a keyboard,
personal digital assistant, a laptop computer, a tablet com-    mouse, touch screen, track pad, track ball, isopoint, image
puter, etc. The client devices 102 may communicate with the 10 sensor, character recognition, barcode scanner, and/or a
host device 104 via a connection to one or more communi-        voice recognition system.
cations channels 106 such as the Internet or some other data       One or more displays 112, printers, speakers, and/or other
network, including, but not limited to, any suitable wide area  output devices 216 may also be connected to the main unit
network or local area network. It should be appreciated that    202 via the interface circuit 212. The display 112 may be a
any of the devices described herein may be directly con- 15 cathode ray tube (CRTs), a liquid crystal display (LCD), or
nected to each other instead of over a network. Typically,      any other type of display. The display 112 generates visual
one or more servers 108 may be part of the network              displays generated during operation of the computing device
communications system 100, and may communicate with             102, 104. For example, the display 112 may provide a user
host servers 104 and client devices 102.                        interface, which will be described in further detail below,
   One host device 104 may interact with a large number of 20 and may display one or more web pages received from a
users 114 at a plurality of different client devices 102.       computing device 102, 104. A user interface may include
Accordingly, each host device 104 is typically a high end       prompts for human input from a user 114 including links,
computer with a large storage capacity, one or more fast        buttons, tabs, checkboxes, thumbnails, text fields, drop
microprocessors, and one or more high speed network             down boxes, etc., and may provide various outputs in
connections. Conversely, relative to a typical host device 25 response to the user inputs, such as text, still images, videos,
104, each client device 102 typically includes less storage     audio, and animations.
capacity, a single microprocessor, and a single network            One or more storage devices 218 may also be connected
connection. It should be appreciated that a user 114 as         to the main unit 202 via the interface circuit 212. For
described herein may include any person or entity which         example, a hard drive, CD drive, DVD drive, and/or other
uses the presently disclosed system and may include a wide 30 storage devices may be connected to the main unit 202. The
variety of parties. For example, as will be discussed in        storage devices 218 may store any type of data, such as
further detail below, users 114 of the presently disclosed      pricing data, transaction data, operations data, inventory
system may include a consumer, a dealer, and/or a manu-         data, commission data, manufacturing data, image data,
facturer.                                                       video data, audio data, tagging data, historical access or
   Typically, host devices 104 and servers 108 store one or 35 usage data, statistical data, security data, etc., which may be
more of a plurality of files, programs, databases, and/or web   used by the computing device 102, 104.
pages in one or more memories for use by the client devices        The computing device 102, 104 may also exchange data
102, and/or other host devices 104 or servers 108. A host       with other network devices 220 via a connection to the
device 104 or server 108 may be configured according to its     network 106. Network devices 220 may include one or more
particular operating system, applications, memory, hard- 40 servers 226, which may be used to store certain types of
ware, etc., and may provide various options for managing        data, and particularly large volumes of data which may be
the execution of the programs and applications, as well as      stored in one or more data repository 222. A server 226 may
various administrative tasks. A host device 104 or server       include any kind of data 224 including databases, programs,
may interact via one or more networks with one or more          files, libraries, pricing data, transaction data, operations data,
other host devices 104 or servers 108, which may be 45 inventory data, commission data, manufacturing data, con-
operated independently. For example, host devices 104 and       figuration data, index or tagging data, historical access or
servers 108 operated by a separate and distinct entities may    usage data, statistical data, security data, etc. A server 226
interact together according to some agreed upon protocol.       may store and operate various applications relating to
   A detailed block diagram of the electrical systems of an     receiving, transmitting, processing, and storing the large
example computing device (e.g., a client device 102, and a 50 volumes of data. It should be appreciated that various
host device 104) is illustrated in FIG. 2. In this example, the configurations of one or more servers 226 may be used to
computing device 102, 104 includes a main unit 202 which        support and maintain the system 100. For example, servers
preferably includes one or more processors 204 electrically     226 may be operated by various different entities, including
coupled by an address/data bus 206 to one or more memory        automobile manufacturers, brokerage services, automobile
devices 208, other computer circuitry 210, and one or more 55 information services, etc. Also, certain data may be stored in
interface circuits 212. The processor 204 may be any suit-      a client device 102 which is also stored on the server 226,
able processor, such as a microprocessor from the INTEL         either temporarily or permanently, for example in memory
PENTIUM® family of microprocessors. The memory 208              208 or storage device 218. The network connection may be
preferably includes volatile memory and non-volatile            any type of network connection, such as an Ethernet con-
memory. Preferably, the memory 208 stores a software 60 nection, digital subscriber line (DSL), telephone line,
program that interacts with the other devices in the system     coaxial cable, wireless connection, etc.
100 as described below. This program may be executed by            Access to a computing device 102, 104 can be controlled
the processor 204 in any suitable manner. In an example         by appropriate security software or security measures. An
embodiment, memory 208 may be part of a "cloud" such            individual users' 114 access can be defined by the comput-
that cloud computing may be utilized by a computing 65 ing device 102, 104 and limited to certain data and/or
devices 102, 104. The memory 208 may also store digital         actions. Accordingly, users 114 of the system 100 may be
data indicative of documents, files, programs, web pages,       required to register with one or more computing devices

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102, 104. For example, registered users 114 may be able to      a dealer near the consumer's present location. The automo-
request or manipulate data, such as submitting requests for     bile market information processing system 302 may process
pricing information or providing an offer or a bid.             data received by the consumer interface 304, as well as the
   As noted previously, various options for managing data       dealer interface 306 and/or the manufacturer interface 308,
located within the computing device 102, 104 and/or in a 5 to respond to a request from a consumer. For example, data
server 226 may be implemented. A management system may          from database system 310 may be queried for use in a report,
manage security of data and accomplish various tasks such       or a recommendation may be provided by recommendation
as facilitating a data backup process. A management system      engine 312 according to the consumer request and current
may be implemented in a client 102, a host device 104, and      market data. The automobile market information processing
a server 226. The management system may update, store, 10 system 302 may integrate data received from consumer
and back up data locally and/or remotely. A management          interface 304, dealer interface 306, and manufacturer inter-
system may remotely store data using any suitable method        face 308 to provide current and accurate information relating
of data transmission, such as via the Internet and/or other     to the automobile market.
networks 106.                                                      It should be appreciated that the consumer interface 304
    FIG. 3 is a block diagram showing an example automobile 15 may be specific to one particular manufacturer or may
transaction network structure 300 which includes an auto-       provide information for multiple different manufacturers.
mobile market information processing system 302, a con-         For example, a consumer interface 304 may be a website
sumer interface 304, a dealer interface 306, and a manufac-     with information on many manufacturers, and further, the
turer interface 308. The example automobile market              consumer interface 304 may access or link to the manufac-
information processing system 302 may be implemented on 20 turer specific websites (e.g., Ford). Also, for example, a
one or more host devices 104 accessing one or more servers      consumer interface 304 may be implemented as an automo-
108, 226. In an example embodiment, the automobile mar-         bile manufacturer's website. Typically, a manufacturer's
ket information processing system 302 includes a database       website may provide consumers with a catalog like feature
system 310, a recommendation engine 312, a vehicle iden-        that provides information on different automobile models
tification number processor 314, and an interface generation 25 with any available options or features. For example, a
unit 316. A user 114 may be a consumer, a dealer, or a          manufacturer website may allow a consumer to select
manufacturer that interacts with the consumer interface 304,    options that are desired to "build" a particular automobile,
dealer interface 306, or manufacturer interface 308, respec-    and may provide price comparisons using suggested retail
tively. A database system 310 may include a wide variety of     prices, which may consumers use for initial research into
automobile market data. A recommendation engine 312 may 30 what pricing the dealer may offer for a particular automobile
provide recommendations for consumers, dealers, and             with a particular feature set. Also, typically, the consumer
manufacturers. A vehicle identification number processor        may enter information, including, for example, name, an
314 may be used for making requests regarding specific          address or zip code, and telephone number. This information
automobiles and automobiles with specific sets of features.     may be passed on from the manufacturer to a nearby dealer
For example, a vehicle identification number processor 314 35 and/or nearby dealer information may be provided to the
may determine a specific set of features that a specific car    consumer (e.g., the dealer in or nearest to the consumer's
has based on a picture of that specific car's vehicle identi-   entered zip code). Accordingly, the dealer may contact the
fication number. Interface generation unit 316 may provide,     consumer, or the consumer may inquire with the dealer,
for example, HTML files which are used at the consumer          regarding the specific automobiles available on that dealer's
interface 304, dealer interface 306, and manufacturer inter- 40 lot and particular pricing being offered, etc. In many cases,
face 308 interface to provide information to the users 114. It  consumers may not inquire with dealers that the manufac-
should be appreciated that he the consumer interface 304,       turer may recommend, and similarly, dealers may not dili-
dealer interface 306, and manufacturer interface 308 may be     gently follow up with consumers that have an interest in
considered to be part of the automobile market information      purchasing an automobile. Further, it should be appreciated
processing system 302, however, for discussion purposes, 45 that the information provided via a consumer interface 304
the consumer interface 304, dealer interface 306, and manu-     and/or a manufacturer website may be very useful to con-
facturer interface 308 may be referred to as separate from the  sumers. For example, in the past, dealers often provided
automobile market information processing system 302.            brochures with all the information on a manufacturer's
    For example, a user 114 may interact with a consumer        available car models, including all the features and options
interface 304 to research automobiles the user 114 is inter- 50 information. However, dealers typically do not provide
ested in buying. For example, a consumer may be looking         comprehensive information brochures, which may be rela-
for a four door sedan with specific features, including a       tively expensive to produce, and rather, that information is
global positioning system (GPS), a sunroof, tinted windows,     typically located on a manufacturer website and/or a con-
rated for at least thirty miles per gallon, four wheel drive,   sumer interface 304.
etc. The consumer may interact with the consumer interface 55      Accordingly, the consumer interface 304 may provide a
304 by inputting required and/or desired features, monthly      wide range of information, for example, based on any
budget or full price, etc. The consumer interface 304 may       searches or queries performed by a user 114. In an example
provide a wide variety of features and specifications which     embodiment, based on a user search or request for a
the consumer may choose from in providing a request.            response, the consumer interface 304 will display a quality
Based on the information put into the consumer interface 60 index or value index based on normalized calculations for an
304 from the consumer, the consumer interface 304 may           automobile. The recommendation engine 312 may provide
provide one or more reports or offers to the consumer. As       recommendations to a consumer based on the current auto-
will be discussed in further detail below, the information      mobile market data stored in the automobile market infor-
provided by the consumer interface 304 may include current      mation processing system 302. For example, metrics on gas
market prices for automobiles, including information relat- 65 mileage, emissions, operating and maintenance costs, safety
ing to additional features, and may include information on      ratings, etc. may be benchmarked against comparable auto-
specific automobiles, for example, which may be en route to     mobiles of the same and different manufacturers. Similar

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purchase options to a specific search may also be provided,        interface 308 may provide a manufacturer a request received
based on feature matching, price range, consumer popular-          from a consumer interface 304. Additionally, the manufac-
ity, etc. Information including price ranges, including            turer interface 308 may provide information such as a report
MSRP, invoice prices, inventory levels, the user's 114 credit      that allows the manufacturer to provide a response to the
ratings (e.g., FICO score), may be provided which may 5 requesting consumer. A report may include information from
include monthly payment estimates or projections. For              database system 310 relating to current market pricing,
example, a financing calculator may help a user 114 deter-         recent sales figures and trends, current manufacturer incen-
mine what financing rate is appropriate. It should be appre-       tives, current inventory, including dealer inventory, inven-
ciated that dealers may mislead consumers into believing           tory in transit, and/or build times or lead times for a desired
that a higher financing rate will be required to secure a loan. 10 automobile, etc. The manufacturer may use this information
Further, for example, a lease vs. buy calculator may be            to provide a response to a consumer request. The manufac-
provided which may use current market data including               turer may provide the manufacturer interface 308 with
prices, interest rates, incentives, estimated mileage per year,    information to provide a confirmation, a verification, or an
etc. for providing an analysis for a particular consumer           offer to a consumer via consumer interface 304. For
regarding purchasing or leasing. Also, the consumer inter- 15 example, a confirmation number associated with the par-
face 304 may provide a purchase checklist, for example, of         ticular consumer request may be provided for the consumer.
ten steps to buying a car. A qualitative checklist may allow       Also, a recommendation may be provided from the recom-
a user to ask the right questions and get the right answers        mendation engine 312 to the manufacturer in relation to
from a dealer. Additional tips may be provided, such as a list     automobile pricing, responding to a specific request, manu-
of products or services dealers may attempt to sell to a 20 facturer incentives, inventory management, production
consumer with an analysis of the value of these products or        schedules, shipping schedules, etc. It should be appreciated
services and a recommendation to accept or decline these           that a manufacturer may be referred to as an OEM or
dealer offers. Further, beyond analysis relating to automo-        original equipment manufacturer. The manufacturer inter-
biles, additional analysis or reports may be provided, for         face 308 may provide a manufacturer with a real-time lens
example, relating to dealer reviews, other supplemental 25 into the automobile market which may allow the manufac-
products, financial entities that may provide financing, etc.      turer to adjust production schedules, pricing plans, market-
For example, dealer reviews may provide a consumer with            ing activities, etc., which may provide a significant advan-
information the consumer may use in addition to automobile         tage for manufacturers.
pricing and delivery options. Moreover, the consumer inter-           Accordingly, information may be provided to the auto-
face 304 may provide a wide variety of useful information 30 mobile market information processing system 302 from
to a consumer, for at home research and preparation, and/or        consumers, dealers, and manufacturers with a very high
in a dealer location while shopping as a negotiating tool that     degree of granularity, as every transaction that occurs and
may provide confirmation on pricing, useful tips, and the          even every request or search may be stored and used by the
like.                                                              automobile market information processing system 302. This
   In an example embodiment, a dealer interface 306 may 35 allows the automobile market information processing sys-
provide a user 114, such as a dealer employee, information         tem 302 to use the most current automobile market data to
relating to the current automobile market. The dealer inter-       provide information to consumers, dealers, and manufactur-
face 306 allows a dealer to interact with automobile market        ers. It should be appreciated that market prices can change
information processing system 302 to provide the dealer            relatively quickly, particularly when major events drive
with a wide variety of information, including, for example, 40 consumer behavior or manufacturer production, such as
current market pricing. Other automobile market informa-           natural disasters. Accordingly, reports and recommendations
tion a dealer may receive on a dealer interface 306 includes       provided by the automobile market information processing
information relating to lot inventory, turnover rates, auto-       system 302 may be highly accurate, reliable, and sensitive to
mobile transportation and/or shipping costs, incentives, and       market changes.
various ratings, such as ratings relating to quality, safety, 45      It should be appreciated that certain functions described
insurance, a consumer credit score, dealer ratings, residual       as performed, for example, at automobile market informa-
or resale values, etc. A dealer may input information into         tion processing system 302, may instead be performed
dealer interface 306 relating to sales data, including current     locally at consumer interface 304, dealer interface 306, and
pricing offered, special sales offers, actual transaction data,    manufacturer interface 308, or vice versa. Further, in certain
inventory data, etc. In an example embodiment, the dealer 50 cases, tasks may be performed using consumer interface
may provide information through dealer interface 306 which         304, dealer interface 306, and manufacturer interface 308 or,
will be used by automobile market information processing           for example, performed in person, such as a consumer
system 302 to prepare reports or offers to consumers and/or        signing documents at a dealer location, or a dealer commu-
manufacturers. It should be appreciated that a dealer is           nicating with a manufacturer using a telephone. It should be
typically a franchise entity, while a distribution location may 55 appreciated that the consumer interface 304, dealer interface
not be a franchise entity. For brevity, throughout this speci-     306, and manufacturer interface 308 may be implemented,
fication, the term dealer may be used to describe both             for example, in a web browser using an HTML file received
franchise entity dealers and non-franchise entity distribution     from the automobile market information processing system
location. Accordingly, as used in this disclosure, the term        302. In an example embodiment, the consumer interface
dealer does not indicate whether an entity is a franchise 60 304, dealer interface 306, and manufacturer interface 308
entity. Moreover, a franchise dealer or a non-franchise            may be located on a website, and may further be imple-
distribution location may utilize a dealer interface 306 as        mented as a secure website. Also, consumer interface 304,
described herein.                                                  dealer interface 306, and manufacturer interface 308 may
   In an example embodiment, a manufacturer interface 308          require a local application, for example, which a manufac-
may provide a user 114, such as a manufacturer employee, 65 turer may pay for to have access to, for example, information
information relating to the current automobile market,             from the automobile market information processing system
including consumer requests. For example, an manufacturer          302 such as requests from consumers.

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   FIGS. 4A and 4B include a flowchart of an example              cation number (VIN) on a car that the buyer would like to
process 400 for facilitating an automobile transaction.           receive information for. For example, using an application
Although the process 400 is described with reference to the       stored on a mobile device 103, the buyer may take a picture
flowchart illustrated in FIGS. 4A and 4B, it will be appre-       of the VIN on a car. The buyer may want information on that
ciated that many other methods of performing the acts 5 specific car or on other comparable cars with the same or
associated with the process 400 may be used. For example,         similar features and/or options. The picture of the VIN may
the order of many of the blocks may be changed, certain           be processed using optical character recognition, which
blocks may be combined with other blocks, and many of the         allows the automobile market information processing sys-
blocks described are optional.                                    tem 302 to determine the make and model of the car, along
   The example process 400 for facilitating an automobile 10 with various other characteristics of the car. It should be
transaction may allow users 114, including manufacturers          appreciated that the VIN may include human readable
and consumers, as well as dealers, to efficiently sell and        characters, a bar code, or any other graphical or machine
purchase automobiles, respectively. The example process           readable information which acts as a vehicle identification
400 may begin with automobile market data including at            number. Accordingly, the buyer may perform research, for
least pricing data and inventory data stored in a database 15 example, while at home or while shopping at a dealer
system (block 402). For example, automobile market data           location. Further, for example, the buyer may take a picture
from manufacturers, dealers, and consumers regarding pric-        of a VIN anywhere, including at automobile trade shows,
ing, lot inventory, production scheduling, and shipment           mall displays, or anywhere new cars or cars for sale are
scheduling is collected and stored in a database. In an           displayed. The buyer may even take a picture of a car parked
example embodiment, a wide variety of data is stored in a 20 in the street as the buyer walks down the street. Any request
database system 310. Automobile market data may include           or query communicated from the consumer interface 304
various relevant ratings, reports, awards, or other informa-      may be stored, for example, in database system 310, thereby
tion, including quality information, safety information,          updating the automobile market information processing sys-
insurance information, consumer credit information, dealer        tem 302 with current automobile market data.
rating information, incentive information, residual value 25         The example process 400 may continue with providing
information, and/or any other data which may be relevant to       automobile market data to a manufacturer based on the
consumers. For example, ratings data may include informa-         consumer request (block 406). For example, the car manu-
tion from the National Highway Traffic Safety Administra-         facturer receives a real-time report including local car sales
tion (NHTSA), the Environmental Protection Agency                 data, inventory data, car delivery data, and car build time
(EPA), and/or the Insurance Institute for Highway Safety 30 data of the consumer's requested car. In an example embodi-
(IIHS). The data may include information from a consumer          ment, a report may include quality information, safety
interface 304, such as data in consumer searches or requests,     information, insurance information, consumer credit infor-
information from a dealer interface 306, such as currently        mation (e.g., buyer FICO score), dealer rating information,
offered dealer pricing, transaction data for finalized sales,     incentive information, residual value information, and/or
current inventory data, shipping costs, and information from 35 any other data which may be relevant to consumers. The
a manufacturer interface 308, such as current manufacturer        report may be provided through manufacturer interface 308
prices and suggested pricing, manufacturer incentives, and        and include the consumer requirements and preferences. The
current inventory including finished inventory on hand,           request and/or the report may be provided in real-time and
production scheduling, shipment scheduling, inventory in          may provide real-time data. Data reported based on a
transit, and manufacturing lead times. The automobile mar- 40 real-time updates in the automobile market information
ket data may be comprised solely of information received          processing system 302 may provide significant advantages,
from the consumer interface 304, dealer interface 306, and        for example, when pricing conditions may change quickly
manufacturer interface 308, or may include additional infor-      due to unforeseen market conditions. The recommendation
mation received from other sources. It should be appreciated      engine 312 may provide recommendations to a manufacturer
that various methods of storing the automobile market data 45 based on the current automobile market data. For example,
may be employed according to the system requirements. For         a report may indicate various estimated sales probabilities
example, database system 310 may be organized according           for different prices that a dealer may offer or bid, which can
to different manufacturers, automobile make and model,            be very useful information for a manufacturer. In an example
different information categories (e.g., suggested pricing,        embodiment, a probability for a manufacturer or dealer to
market prices, production, shipping, lot inventory), etc., and 50 sell a certain lot of automobiles within a time frame may be
may consist of one or more databases on one or more servers       provided. Such information may be illustrated in various
108, 226 which may be remotely located from each other            ways, such as a bell curve graph or a chart. Further, the
and/or a host device 104 of the automobile market informa-        recommendation engine may provide suggestions regarding
tion processing system 302. As will be discussed further          manufacturer incentives or other factors which affect the
below, the automobile market data may be continually 55 automobile market. Manufacturers may use such informa-
updated as new data is provided to the automobile market          tion in making important decisions, such as setting pricing,
information processing system 302.                                setting or modifying production schedules, marketing direc-
   The example process 400 continues with a consumer              tives, future product features and focus, and the like. Also,
providing a request to a manufacturer for a response of           in an example embodiment, the manufacturer interface 308
whether an automobile can be provided (block 404). For 60 may provide information that is limited to cars which meet
example, a car buyer fills in a request form on a website to      the consumer request requirements. The manufacturer may
receive a verification that a car can be produced or delivered.   customize the manufacturer interface 308 to provide infor-
In this example embodiment, the buyer's request may be            mation in a pre-specified manner to suit the manufacturers
transmitted from consumer interface 304 via the internet to       needs.
the automobile market information processing system 302. 65          A manufacturer response is provided to the consumer
In another example embodiment, a car buyer may be located         indicating that the automobile can be provided for the
at a dealer location and take a picture of a vehicle identifi-    consumer (block 408). For example, the car maker provides

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a verification that a car can be produced, shipped, or is           which could serve as a pickup location. In an example
already in inventory based on current pricing data, car             embodiment, the automobile market data may indicate that
locations, and build times for the subject car. The manufac-        the particular car requested by a consumer should be priced
turer interface 308 may be used to communicate a verifica-          at, for example, $26,000. However, various factors may
tion, or a confirmation or offer to a buyer. For example, a 5 affect the bid or offer that a dealer will make for the
verification may state that a particular car with specific          particular car. For example, the potential for forming a
features may be produced within forty-five days if the buyer        customer relationship, the value of potential add-on products
purchases that car and may provide a confirmation number            and services, or competition with other dealers may cause a
associated with the verification. In another example, a             dealer to bid lower than normal. In such a case, the dealer
particular car currently being shipped to New York may be 10 may bid $25,000 in an effort to create a customer relation-
re-routed to Illinois. The automobile market data may               ship, sell add-on products, and/or undercut the competition
include, for example, shipping costs that the manufacturer          pricing. Other factors, such as the buyer's credit score (e.g.,
may use for determining if an automobile should be re-              FICO score), may be used by a dealer in determining a bid,
routed. An offer to produce or ship a particular car to a dealer    as this may affect the profitability of a sale.
location near a consumer may be authorized through the 15              Further, for example, the particular automobile requested
manufacturer interface 308. In an example embodiment, the           may not be available for immediate pickup near the buyer,
automobile market information processing system 302 may             and various alternative delivery options may be provided
be pre-authorized by a manufacturer to provide a confirma-          from several dealers' bids. A car that is in transit to an out
tion of specific model with specific feature sets. A manu-          of state dealer may be re-routed to a dealer near the buyer,
facturer may determine whether it is profitable to produce a 20 or a new car may be built to the buyer's desired specifica-
car from scratch based on the automobile market data such           tions and delivered to a dealer near the buyer. Therefore, for
as current market pricing, current inventory levels, and the        example, the consumer interface 304 may provide several
like. Accordingly, a manufacturer response may be adjusted          different bids with different delivery options and prices to
by current automobile market conditions. In an example              the buyer, for example, a price of $26,000 to pick up the car
embodiment, a manufacturer response may not require the 25 at an out of state dealership the next day, a price of $26,000
use of manufacturer interface 308, for example, a manufac-          to pick up the car at a local dealer in two months, or a price
turer may otherwise provide a consumer with a verification,         of $26,500 to pick up the car at a local dealer in five days.
which may be provided by the consumer for use in the                For example, the costs of re-routing a car already in ship-
automobile market information processing system 302. Any            ment may be factored into dealer bids. Inventory less bidding
verification, confirmation, offer, and/or response communi- 30 may be highly beneficial when dealers that do not have a
cated from a manufacturer interface 308 may be stored, for          requested automobile in inventory can still profitably pro-
example, in database system 310, to further update the              vide a bid. Further, for example, cars that are not exactly
automobile market information processing system 302 with            what the buyer requested may also be offered to the buyer.
current automobile market data.                                     For example, the buyer may request a four wheel drive car,
   Then, a bid to sell the automobile to the consumer is 35 but if a two wheel drive car that meets all the other buyer
requested from dealers based on the manufacturer response           criteria is immediately available at a nearby dealer, the
(block 410). For example, several dealers provide bids based        dealer may provide an offer to the buyer for this car, possibly
on the verification, current pricing data, dealer pickup loca-      at a significantly lower price, such as $23,000 instead of
tions, and potential add-ons. Each dealer's bid may include         $26,000 for a four wheel drive car as requested. Further, for
a price, for example, a price with no additional add-on 40 example, dealers may use information such as ratings data to
products or services, such as service contracts, warranties,        optimize their bids. For example, if gasoline prices are
aftermarket accessories, etc. For example, add-on products          increasing, mileage ratings for a particular car may dictate
may provide substantial value to a dealer, above and beyond         increasing or decreasing a bid. If a vehicle has very good gas
the profit margin for the sale of the requested car. A dealer       mileage, and gas prices are skyrocketing, that car may have
may profit from selling financing options, for example, if a 45 an increasing demand as gas prices increase, or vice versa.
consumer needs financing, the financier may pay the dealer          Similarly, safety ratings of vehicles may be important to
for sourcing the loan. A dealer may sell service plans or           consumer demand if high profile problems have appeared
maintenance packages (e.g., an extended service contract),          for a particular automobile style, make, or model. As dis-
selling warranties (e.g., a lifetime warranty), or selling          cussed above, various automobile market information may
insurance plans (e.g., life, accident, and health insurance, 50 be used by a dealer including safety information, insurance
liability insurance, comprehensive insurance, etc.). Also, a        information, consumer credit information, dealer rating
dealer may also sell various hard add accessories, for              information, incentive information, residual value informa-
example, bicycle racks, hitches, commercial accessories             tion, and/or any other data which may be relevant to
(e.g., lights and sirens), or any aftermarket products or           consumers.
modifications (e.g., sunroof).                                   55    The consumer interface 304 may organize dealer bids
   One or more dealer bids are provided to the consumer             based on a variety of factors and may provide supplemental
(block 412). For example, several dealers provide bids, so          information. For example, certain dealer bids may be
several different prices and delivery options may be avail-         selected as the best options, all dealer bids may be summa-
able to the car buyer. Typically, the bid will include at least     rized, various additional ratings, reviews, or popularity
a specified price and pickup time and location. Typically, a 60 information, financing information, etc. may also be pro-
pickup location will be a dealer lot or distribution location.      vided to a consumer along with any dealer bids. The
In an example embodiment, a buyer that has taken a picture          recommendation engine 312 may provide recommendations
of a VIN with a mobile device may receive dealer bids               to a consumer based on the current automobile market data.
within minutes or seconds on the mobile device. Accord-             For example, of ten dealer bids provided with a response,
ingly, the bids may be used in real-time as the buyer may be 65 three bids may be recommended, for example, as "Great
actively shopping for a car on a dealer lot. It should be           Deals!" It should be appreciated that in some cases, a
appreciated that some dealers may have multiple locations           particular consumer search may not return any dealer bids,

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for example, if consumer search requirements are unrealistic      buyer has effectively purchased the car, and the dealer does
for the consumer's required price range. Also, for example,       need to worry about the buyer backing out of the deal. Any
if only one or two bids are received, the recommendation          consumer selections, counter offers, or additional requests or
engine 312 may recommend that a consumer wait for a               responses may be stored in database system 310, as the
better bid because the bids provided are not competitive 5 communications are processed by automobile market infor-
offers based on the current automobile market data stored in      mation processing system 302, providing further data
the database system 310. Further, in an example embodi-           updates. Accordingly, in an example embodiment, a con-
ment, dealer bids may be organized according to distance to       sumer may select a bid to purchase a car, and that purchase
a dealer pickup location, lowest price, closest match to the      information may then be provided to another consumer
consumer entered criteria, a normalized quality index or 10 searching for the same type of car with similar features, for
value index, etc. The consumer may be able to toggle              example, the next day.
between different viewing options for dealer bids or search          Once a bid with a specific delivery option has been
results.                                                          selected, the manufacturer is instructed to provide the auto-
   Further, in an example embodiment, a buyer may be at a         mobile to a dealer according to the consumer bid selection
dealer lot (e.g., a Nissan dealer) and take a picture of a VIN 15 (block 416). For example, the car maker is instructed to
on a car (e.g., a Maxima). A bid from a competing dealer          re-route a car already in transit to the dealer pickup location
(e.g., a Toyota dealer) across the street may be received on      for delivery in less than five days. In an example embodi-
the mobile device within seconds and include information          ment, the dealer may be required to send an instruction
for a comparable car (e.g., an Avalon) relating to, for           message from the dealer interface 306 to the manufacturer
example, gas mileage, safety ratings, price comparisons, 20 interface 308. It should be appreciated that the specific
residual value, driving directions to the competing dealer,       manner of instruction may be changed based on the particu-
etc. In an example embodiment, a dealer may use the               lar application, for example, the automobile market infor-
geolocation of the buyer, such as in instances when the buyer     mation processing system 302 may automatically provide an
is physically located close to the dealer. Accordingly, com-      instruction to a manufacturer to produce a car or re-route a
peting dealer bids may be interbrand or intrabrand in nature, 25 car. It should also be appreciated that particular events may
and may be tailored to the buyer's particular situation, which    be required to trigger instructing a car to be delivered to a
a consumer may find highly advantageous. For example, the         dealer, such as a deposit, financing approval, etc. Further, the
buyer may have a bid for a car the buyer wants to test drive      consumer may be required to send an instruction message
as well as a bid for a comparable car across the street before    from the consumer interface 304 to the manufacturer inter-
a salesman from the dealer even introduces himself. Accord- 30 face 308 affirming that the buyer has agreed to purchase the
ingly, a consumer may weigh the pros and cons of various          car from the dealer.
dealer bids, based on delivery options, pricing, and any other       The consumer and the dealer execute the sale of the
relevant variants. Any bids communicated from a dealer            automobile (block 418). For example, the consumer elec-
interface 306 may be stored, for example, in database system      tronically signs documentation such as loan application and
310, to further update the automobile market information 35 a contract and performs an electronic funds transfer or credit
processing system 302 with current automobile market data.        card payment. After the delivery option is selected, an
   The consumer selects a bid including a delivery option         electronic contract may be provided by the manufacturer for
which specifies a pickup location (block 414). For example,       the buyer who may e-sign the contract, and/or any other loan
the car buyer chooses a delivery option of picking up the car     applications or other documentation as needed. In another
at a nearby dealer in five days. As noted above, a dealer may 40 example embodiment, paper copies of a contract may be
be a franchise dealer entity or a non-franchise distribution      signed, for example, after the buyer prints them or receives
location. The buyer may select an offer with a specified          them from a nearby dealer or through the mail. In an
delivery option on the consumer interface 304. The car            example embodiment, the buyer may provide cash or a paper
buyer may have been weighing two or more different                check. It should be appreciated that the process of executing
delivery options and/or different features, price differences, 45 a contract may take some time. For example, the process
etc., based on the response(s) received through the consumer      may occur in several steps, as loan processing may be
interface 304. As noted above, the consumer interface 304         required prior to executing a contract for sale of a car. Also,
may organize bids and other helpful information in a variety      it should be appreciated that, for example, the consumer
of ways, which may make the information easier for a              selection of a bid discussed above (see, e.g., block 414) may
consumer to digest. It should be appreciated that a buyer will 50 occur simultaneously with the consumer executing the sale.
typically want to pick up a new car at a convenient location,     Once the sale is completed, the actual transaction data
often near the buyer's home. Accordingly, dealers may             including the final negotiated price, may be provided to and
attempt to provide delivery options tailored towards maxi-        stored in database system 310. Accordingly, the automobile
mizing profit for the dealer while also maximizing conve-         market information processing system 302 may be updated
nience to the buyer, while also providing a superior bid to 55 with current automobile market data from every step in the
other dealers. By providing multiple bids with different          negotiation process between a consumer and a manufacturer.
delivery options, the buyer may be allowed to save time or        In an example embodiment, the updates provided to the
money based on the buyer's particular needs. In an example        automobile market information processing system 302 are
embodiment, the buyer may provide a counter offer or              provided in real-time, for example, data may be transmitted
different request via the consumer interface 304 to a dealer 60 and processed within seconds or minutes. Further, for
via the dealer interface 306. Accordingly, the dealer may         example, it should be appreciated that certain data may be
respond in kind, and may update delivery options or other         provided to the automobile market information processing
terms. It should be appreciated that the consumer selection       system 302 according to a batch processing schedule.
of a bid may, for example, occur simultaneously with the             Next, the manufacturer provides the dealer with the
consumer executing the sale or providing a deposit or down 65 purchased automobile according to the consumer bid selec-
payment, or the like (see, e.g., block 418). Accordingly, in      tion (block 420). For example, the car maker re-routes a car
an example embodiment, once the buyer selects a bid, the          en route to delivery at another dealer to the dealer pickup

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location selected by the car buyer or transports the car          click data, scrolling data, hover data, keyboard data, touch
directly from the factory to the dealer pickup location. If a     screen data, voice recognition data, etc., while output data
buyer chooses a quicker delivery option, the car may need         may include image data, text data, video data, audio data,
to be re-routed from a different destination to the selected      etc. Interface data 502 may include data relating to format-
dealer pickup location. If a buyer does not urgently need to s ting, user interface options, links or access to other websites
have a car, a new car may be built to the buyer's exact           or applications, and the like. Interface data 502 may include
specifications and delivered to the selected dealer pickup        applications used to provide or monitor interface activities
location. Also, for example, a purchased car may be already       and handle input and output data.
at a dealer which the buyer has agreed to pick the car up, in        Administrative data 504 may include data and applica-
which case, the car does not need to be provided to the 10 tions regarding user accounts. For example, administrative
dealer. A dealer may interact with the automobile market          data 504 may include information used for updating
information processing system 302 using dealer interface          accounts, such as creating or modifying manufacturer
306, for example, to receive notification that a car will be      accounts or dealer accounts. Further, administrative data 504
picked up by a buyer, and to report that a car has been           may include access data and/or security data. Administrative
delivered to the dealer. A notification may also be sent via 15 data 504 may interact with interface data in various manners,
consumer interface 304 to the buyer that the car is available     providing a user interface 304, 306, 308 with administrative
for pickup at the specified dealer.                               features, such as implementing a user login and the like.
   Finally, the consumer picks up the purchased automobile           Automobile market data 506 may include, for example,
according to the consumer selected delivery option at the         executed sales data 508, consumer data 510, dealer data 512,
dealer (block 422). For example, the car buyer picks up the 20 manufacturer data 514, statistical data 516, and/or historical
car at the nearby dealer five days after the car sale is          data 518. Executed sales data 508 may include actual
executed. The buyer may pick up the car without ever having       negotiated prices for manufacturer and dealer sales, differ-
to talk to or negotiate, in person or over the telephone, with    ences in list prices to negotiated prices, sales demographics,
the dealer. For example, the buyer may arrive at the dealer,      etc. Consumer data 510 may include consumer search activ-
show identification and proof of purchase, and be provided 25 ity, consumer requests and offers, consumer feedback, etc.
the keys to the car. The buyer may sign paperwork indicating      Dealer data 512 may include dealer pricing, including list
the car has been picked up. Also, the dealer may offer or         prices, sale prices for limited time dealer offers or deals of
provide additional products or services to the buyer when         the day, negotiation information such as bottom line pricing,
the buyer goes to the dealer to pick up the car. For example,     offers received, foot traffic activity, and dealer inventory
the dealer may offer financing options, warranties, service 30 data, including current on location data, automobile turnover
plans, insurance plans, and hard add accessories to the buyer,    rates, etc. Manufacturer data 514 may include manufacturer
as discussed in further detail above.                             pricing, including suggested pricing, preferred dealer pric-
   Accordingly, it should be appreciated that manufacturers,      ing, etc., manufacturer incentives including cash rebates,
consumers, and dealers may receive significant benefits           special lease rates, special APR rates, zero down offers,
from the method of facilitating an automobile transaction 35 lifetime warranties, guaranteed trade-in offers, etc., and
disclosed herein. For example, production scheduling, price       inventory information including dealer inventory, inventory
setting, inventory management, may be greatly improved for        by location, inventory in transit, manufacturing or produc-
manufacturers and dealers by utilizing the disclosed system       tion lead times or build times, production scheduling, ship-
and method. Consumers may benefit from more competitive           ping scheduling, etc. Statistical data 516 may include infor-
pricing, piece of mind knowing that a fair market price is 40 mation used for providing reports including graphs,
being offered for prospective purchases, and improved             forecasts, recommendations, calculators, depreciation
delivery options that allow the consumer to weigh the             schedules, tax information, etc., including equations and
benefits and drawbacks of different delivery options, pricing,    other data used for statistical analysis. Historical data 508
and other variables. In an example embodiment, consumers          may include past sales data, such as historical list prices,
can view prices paid for comparable cars in specific loca- 45 actual sale prices, manufacturer and dealer margins, oper-
tions based on the automobile market data in the automobile       ating costs, service costs or profitability, loyalty information,
market information processing system 302, for example,            etc. It should be appreciated that data may fall under
within a certain time frame such as one month and within a        multiple categories of automobile market data 506, or
certain proximity to the consumer. Moreover, various inef-        change with the passage of time. It should also be appreci-
ficiencies in the automobile industry may be minimized 50 ated that automobile market data 506 may be tailored for a
utilizing the presently disclosed system and method.              particular manufacturer or dealer, for example, a manufac-
   FIG. 5 illustrates a block diagram of an example data          turer may request that a specific type of data that is not
architecture 500. In the example data architecture 500,           normally stored or used be stored in the database system
interface data 502, administrative data 504, and automobile       310. Accordingly, for example, customized reports may be
market data 506 interact with each other, for example, based 55 provided to a manufacturer interface 308 using that specific
on user commands or requests. The interface data 502,             data for the manufacturer.
administrative data 504, and automobile market data 506              The integration of the various types of automobile market
may be stored on any suitable storage medium (e.g., server        data 506 received from the consumer interface 304, dealer
226). It should be appreciated that different types of data       interface 306, and manufacturer interface 308 may provide
may use different data formats, storage mechanisms, etc. 60 a synergistic and optimal resource for consumers, dealers,
Further, various applications may be associated with pro-         and manufacturers alike. In an example embodiment, a
cessing interface data 502, administrative data 504, and          consumer may benefit greatly from using an application in
automobile market data 506. Various other or different types      a mobile device 103 to receive both intrabrand information
of data may be included in the example data architecture          and interbrand information in real-time, based only on
500.                                                           65 taking a picture of VIN. Dealers and manufacturers may be
   Interface data 502 may include input and output data of        able to provide information to the consumer in a marmer that
various kinds. For example, input data may include mouse          highlights the benefits of the products the respective dealer

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or manufacturer would like to sell. The intrabrand and            provided and prepares and provides verification information
interbrand information provided on a consumer interface           for consumer and dealers (block 610). A manufacturer
304 may allow the best automobile options for a particular        response with the verification information may be provided
consumer to be provided to that consumer, may allow               from the manufacturer interface 308 to the automobile
manufacturers to better follow through with opportunities 5 market information processing system 302 (block 612). The
for sales, and may allow dealers to compete with other            automobile market information processing system 302
dealers taking into account a greater amount of automobile        receives and processes the manufacturer response with the
market information, all of which may result in a more             verification and prepares and provides information for con-
efficient automobile market.                                      sumer and dealers (block 614). The manufacturer response
   Automobile market data 506 may be maintained in vari- 10
                                                                  with a verification may be sent from the automobile market
ous servers 108, in databases or other files. It should be
                                                                  information processing system 302 to the consumer inter-
appreciated that, for example, a host device 104 may
                                                                  face 304 (block 616). It should be appreciated that other
manipulate automobile market data 506 in accordance with
the administrative data 504 and interface data 502 to provide     automobile market information may be provided to the
requests or reports to users 114 including consumers, deal- 15 consumer interface 304 with a verification, for example,
ers, and manufacturers, and perform other associated tasks.       suggested pricing, ratings information, etc. The consumer
It should also be appreciated that automobile market data         interface 304 receives the verification that the automobile
506 represents automobile market information, and that            can be provided, for example, as a confirmation message on
these terms may be used interchangeably in this disclosure        the mobile device (block 618).
depending upon the context.                                    20    The automobile market information processing system
   FIG. 6 is flow diagram illustrating an example process         302 may also send to the dealer interface 306 a bid request
600 for facilitating an automobile transaction, according to      for one or more dealers (block 620). One or more dealers
an example embodiment of the present invention. Although          receive a bid request, determine prices and delivery options
the process 600 is described with reference to the flow           for the automobile, and prepare and provide bids for the
diagram illustrated in FIG. 6, it will be appreciated that 25 consumer (block 622). A dealer bid may be sent from the
many other methods of performing the acts associated with         dealer interface 306 to the automobile market information
the process 600 may be used. For example, the order of            processing system 302 for each dealer that wants to provide
many of the blocks may be changed, certain blocks may be          a bid (block 624). The automobile market information
combined with other blocks, and many of the blocks                processing system 302 receives and processes dealer bids
described are optional.                                        30 and prepares the bids and automobile market data for the
   In the example process 600, data may flow between the          consumer (block 626). The automobile market information
automobile market information processing system 302 and a         processing system 302 may send dealer bids and automobile
consumer interface 304, a manufacturer interface 308, and a       market information to the consumer interface 304 (block
dealer interface 306, as discussed above based on consumer,       628). It should be appreciated that automobile market infor-
manufacturer, and dealer interaction with the automobile 35 mation may be provided to the consumer before dealer bids
market information processing system 302. It should be            are provided, and/or concurrently with dealer bids. Also, it
appreciated that the automobile market information process-       should be appreciated that blocks 616 and 628 may be
ing system 302 may update the automobile market informa-          combined, particularly if the dealer bidding process can
tion stored in the database system 310 when automobile            occur quickly, for example, in real-time. The consumer may
market information is received from a consumer, a dealer, or 40 receive dealer bids based on the verification and select a bid
a manufacturer, or from any other information source.             including a delivery option based on automobile market
Accordingly, the automobile market information may                information (block 630). The consumer interface 304 may
remain current and/or provide sufficiently recent data for the    send to the automobile market information processing sys-
benefit of consumers, dealers, and/or manufacturers.              tem 302 a selection of a bid indicating that the consumer
   The example process 600 may begin with a consumer 45 wants to purchase or lease the automobile based on the
taking a picture of a VIN using a mobile phone application        selected bid (block 632). The automobile market informa-
(block 602). The consumer interface 304 may use OCR to            tion processing system 302 receives and processes the
determine and provide the VIN to the automobile market            consumer bid selection (block 634). For example, the auto-
information processing system 302 to provide a consumer           mobile market information processing system 302 may send
request (block 604). It should be appreciated that OCR may 50 the bid selection to the dealer interface 306 (block 636). The
occur in the automobile market information processing             dealer may receive the bid selection and coordinate a sale by,
system 302 or at the consumer interface 304. The automo-          for example, instructing the manufacturer to produce and
bile market information processing system 302 receives the        ship the automobile to the dealer location for delivery to the
consumer request and prepares automobile market informa-          consumer (block 638). Also, for example, the dealer may
tion based on the request (block 606). The automobile 55 provide contract or loan documents, collect a deposit or
market information processing system 302 may send the             down payment, or the like. As discussed above, in each of
consumer request and automobile market information based          blocks 606, 614, 626, and 634, the automobile market
on the consumer request to the manufacturer interface 308         information processing system 302 may update the automo-
(block 608). It should be appreciated that while the con-         bile market information in the database system 310 based on
sumer request is automobile market information, typically, 60 the information received from the consumer, dealer, and/or
additional automobile market information would be pro-            manufacturer.
vided with the consumer request. For example, typically,             For exemplary purposes, the present disclosure discusses
data relating to recent sales of the requested automobile         a various examples relating to a purchase of a car. However,
and/or comparable automobiles may be provided. In an              it should be appreciated that the disclosed system, methods,
example embodiment, a target price or "true" value of the 65 and apparatus may be advantageously used in relation to
requested automobile may be provided. The manufacturer            various automobiles other than cars including, for example,
receives the request, determines that an automobile can be        trucks, vans, sport utility vehicles, jeeps, motorcycles, com-

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mercial vehicles, and/or automobiles that have a VIN and                    generate driving directions between the first location
require a license plate to operate.                                            and the second location; and
   It will be appreciated that all of the disclosed methods and             provide the bid and the driving directions to the con-
procedures described herein can be implemented using one                       sumer interface, the bid including at least a price.
or more computer programs or components. These compo- 5                  2. The method of claim 1, wherein the current inventory
nents may be provided as a series of computer instructions            data includes at least one of inventory data by location,
on any conventional computer-readable medium, including               inventory in transit data, production lead time data, produc-
RAM, ROM, flash memory, magnetic or optical disks,                    tion schedule data, and shipping schedule data.
optical memory, or other storage media. The instructions                 3. The method of claim 1, wherein the first request is made
may be configured to be executed by a processor, which 10 by a consumer using a mobile device which takes a picture
when executing the series of computer instructions performs           of a vehicle identification number, which is recognized using
or facilitates the performance of all or part of the disclosed        optical character recognition.
methods and procedures.                                                  4. The method of claim 1, wherein the first automobile is
   Further, it will be appreciated that the presently disclosed       one of a particular type of car with a specific set of features
system, methods, and apparatus for performing automobile 15 and a particular car with a specific vehicle identification
transactions may be utilized in conjunction with other sys-           number.
tems or methods. For example, the presently disclosed                    5. The method of claim 1, further comprising providing
system, methods, and apparatus may be used in conjunction             first automobile market data to the first manufacturer includ-
with the disclosure in the co-pending commonly-owned                  ing a suggested bid price, wherein the first automobile
patent application filed on Jul. 5, 2011, entitled "AUTO- 20 market data is based on real-time automobile market data.
MOBILE TRANSACTION FACILITATION BASED ON                                 6. The method of claim 1, further comprising:
CUSTOMER SELECTION OF A SPECIFIC AUTOMO-                                 executing instructions, by the at least one processing
BILE," application Ser. No. 13/176,525, the entire content                  device, to process a consumer selection of the bid to
of which is hereby incorporated by reference herein, and in                 facilitate:
an example embodiment, the features of which may be 25                      instructing the first manufacturer to provide the first
combined with the features of the present disclosure.                          automobile to the first dealer based on the consumer
   It should be understood that various changes and modi-                      selection of the bid; and
fications to the example embodiments described herein will                  executing a sale, including at least one of providing for
be apparent to those skilled in the art. Such changes and                      electronic signature of documents and providing for
modifications can be made without departing from the spirit 30                 an electronic funds transfer.
and scope of the present subject matter and without dimin-               7. The method of claim 1, wherein a manufacturer inter-
ishing its intended advantages. It is therefore intended that         face allows a manufacturer to at least one of request data via
such changes and modifications be covered by the appended             the consumer interface from a plurality of consumers and
claims.                                                               request data via a dealer interface from a plurality of dealers.
   The invention is claimed as follows:                            35    8. The method of claim 1, wherein the first dealer at least
   1. A method comprising:                                            one of provides and offers at least one of a financing plan,
   receiving, via a consumer interface, a first request for a         a service plan, an insurance plan, a warranty, and a hard add
      response regarding a first automobile, which is manu-           accessory, for at least the first automobile.
      factured by a first manufacturer, the first request made           9. The method of claim 1, wherein the first dealer is at
      by a consumer located at a first location and including 40 least one of a franchise dealer and a non-franchise distribu-
      geolocation information of the consumer;                        tion location.
   executing instructions, by at least one processing device,            10. The method of claim 1, wherein the first manufacturer
      to:                                                             response includes an acknowledgement of interest.
      generate, based on current inventory data of the first             11. The method of claim 1, wherein the first automobile
          automobile at least one of a verification indicating 45 is yet to be manufactured at the time the bid is received from
          that the first automobile can be provided for the           the first dealer.
          consumer, a confirmation indicating that the first             12. The method of claim 1, wherein the first automobile
          automobile can be provided for the consumer, and an         is in the inventory of an entity other than the first dealer at
          offer indicating that the first automobile can be           the time the bid is received from the first dealer.
          provided for the consumer;                               50    13. The method of claim 1, further comprising receiving
      determine, based on the geolocation information, that           a consumer selection of the bid including a delivery option
          the consumer is located at the first location;              which specifies a pickup location at the first dealer, and the
      generate, based on the first location, an in-market             first automobile is made available for picknp at the first
          dealer area proximately located to the first location;      dealer.
      determine that at least a first dealer is located within the 55    14. The method of claim 1, wherein the consumer selec-
          in-market dealer area, the first dealer located at a        tion of the bid indicates a consumer intention to one of
          second location;                                            purchase the first automobile and lease the first automobile.
      provide a first manufacturer response via the consumer             15. The method of claim 1, wherein the bid includes a first
          interface, the first manufacturer response including        price corresponding to a first delivery option and a second
          the at least one of the verification indicating that the 60 price corresponding to a second delivery option.
          first automobile can be provided for the consumer,             16. The method of claim 1, wherein the consumer is at
          the confirmation indicating that the first automobile       least one of a person and an entity.
          can be provided for the consumer, and the offer                17. The method of claim 1, wherein the consumer chooses
          indicating that the first automobile can be provided        a picknp location.
          for the consumer;                                        65    18. The method of claim 1, wherein the bid includes a
      receive, from the first dealer located at the second            delivery option that includes a first pickup location, and the
          location, the bid to provide the first automobile;          consumer chooses the first pickup location.

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  19. The method of claim 1, wherein the first dealer                   determine that at least a first dealer is located within the
provides a first delivery option and is one of a franchise                 in-market dealer area, the first dealer located at a
entity and a non-franchise entity distribution location.                   second location;
   20. The method of claim 19, wherein the first automobile             provide a first manufacturer response via the consumer
is at a consumer's chosen pickup location, such that the first 5           interface, the first manufacturer response including
automobile does not need to be transported to the consum-                  the at least one of the verification indicating that the
er's chosen pickup location.                                               first automobile can be provided for the consumer,
   21. The method of claim 19, wherein the consumer                        the confirmation indicating that the first automobile
submits a request to the first dealer to change the first                  can be provided for the consumer, and the offer
delivery option to include the consumer's chosen pickup 10                 indicating that the first automobile can be provided
location.                                                                  for  the consumer;
   22. The method of claim 21, wherein based on the                     receive, from the first dealer located at the second
consumer's request to change the first delivery option, the                location, the bid to provide the first automobile;
first dealer provides a second delivery option including the            generate driving directions between the first location
consumer's chosen pickup location.                             15
                                                                           and the second location; and
   23. The method of claim 22, wherein a notification is sent           provide the bid and the driving directions via the
to the consumer that the first automobile is available for                 consumer interface, the bid including at least a price.
pickup at the consumer's chosen pickup location.                     30. The system of claim 29, wherein the consumer inter-
   24. The method of claim 23, wherein the consumer picks         face only receives as an input a picture, from an image
up the first automobile at the consumer's chosen pickup 20 sensor, to generate a request.
location.                                                            31. The system of claim 29, wherein the consumer inter-
   25. The method of claim 22, wherein the first automobile       face is configured to receive input from at least one of a
is transported to the consumer's chosen pickup location.          touch screen and a barcode scanner.
   26. The method of claim 25, wherein the first automobile          32. The system of claim 29, wherein the consumer inter-
is transported directly from a third location to the consum- 25   fac~   is configured to toggle between different viewing
er' s chosen pickup location, wherein at least one of a second    opt10ns.
dealer and a manufacturer is located at the third location.          ~3. The system of claim 29, wherein one or more appli-
   27. The method of claim 1, wherein the first dealer            cat10ns are configured to handle input or output data.
provi_des the first automobile to the consumer at a pickup           34. A non-transitory computer readable medium storing
locat10n_by one of (i) having the first automobile transported 30 software instructions which, when executed, cause an infor-
to the pickup location and (ii) having a manufacturer pro-        mation processing apparatus to:
duce the first automobile.                                           receive, via a consumer interface, a first request for a
. 28. T_he method of claim 1, further comprising executing              response regarding a first automobile, which is manu-
mstruct10ns, by the at least one processing device, to:                 factured by a first manufacturer, the first request made
   receive, from a second dealer located at a third location 35         by  a consumer located at a first location and including
      within the in-market dealer area, the second bid to sell          geolocation information of the consumer
      the first automobile;                                          generate, based on current inventory dat; of the first
   generate second driving directions between the first loca-           automobile at least one of a verification indicating that
      tion and the third location; and                                  the first automobile can be provided for the consumer,
   provide the second bid and the second driving directions 40          a confirmation indicating that the first automobile can
      to the consumer interface, the second bid including at            be  provided for the consumer, and an offer indicating
      least a second price.                                             that the first automobile can be provided for the con-
   29. A system comprising:                                             sumer;
   a computer readable medium storing instructions; and              determine, based on the geolocation information, that the
   at least one processing device operably coupled to the 45            consumer is located at the first location-
      co11:puter readable medium, the at least one processing        generate, based on the first location, an in:market dealer
      device executing the instructions to:                             area proximately located to the first location;
      receive, via a consumer interface, a first request for a       determine that at least a first dealer is located within the
         response regarding a first automobile, which is                in-market dealer area, the first dealer located at a
         manufactured by a first manufacturer, the first 50             second location;
         request made by a consumer located at a first loca-         provide a first manufacturer response via the consumer
         tion and including geolocation information of the              interface, the first manufacturer response including the
         consumer;                                                      at least one of the verification indicating that the first
      generate, based on current inventory data of the first           automobile can be provided for the consumer, the
         automobile at least one of a verification indicating 55       confirmation indicating that the first automobile can be
         that the first automobile can be provided for the             provided for the consumer, and the offer indicating that
         consumer, a confirmation indicating that the first            the first automobile can be provided for the consumer
         automobile can be provided for the consumer, and an        receive,    from the first dealer located at the second loca:
         offer indicating that the first automobile can be             tion, the bid to provide the first automobile;
         provided for the consumer;                            60
                                                                     generate driving directions between the first location and
      determine, based on the geolocation information, that            the second location; and
         the consumer is located at the first location-             provide    the bid and the driving directions via the con-
      generate, based on the first location, an id-market               sumer interface, the bid including at least a price.
       dealer area proximately located to the first location;
                                                                                           * * * * *


                                                          Appx1086
                 Case: 23-1362              Document: 30 Page: 274 Filed: 12/05/2023
                                                       I 1111111111111111 1111111111 111111111111111 111111111111111 IIIIII IIII IIII IIII
                                                                                                                                  USO 10223 722B2


c12)   United States Patent                                                                         (IO) Patent No.:                          US 10,223,722 B2
       Seergy et al.                                                                                (45) Date of Patent:                                  *Mar. 5, 2019

(54)   AUTOMOBILE TRANSACTION                                                               (58)          Field of Classification Search
       FACILITATION BASED ON A CUSTOMER                                                                   CPC ....................... G06Q 30/0206; G06Q 30/0601
       SELECTION OF A SPECIFIC AUTOMOBILE
                                                                                                                                 (Continued)
(71)   Applicant: Sidekick Technology LLC, Pine Brook,
                  NJ (US)                                                                   (56)                                   References Cited

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                    patent is extended or adjusted under 35
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                    This patent is subject to a terminal dis-                                                                          (Continued)
                    claimer.
                                                                                            Primary Examiner - Brandy A Zukanovich
(21)   Appl. No.: 15/489,280
                                                                                            (74) Attorney, Agent, or Firm - K&L Gates LLP
(22)   Filed:       Apr. 17, 2017
                                                                                            (57)                                      ABSTRACT
(65)                  Prior Publication Data                                                A system, methods, and apparatus for performing automo-
       US 2017/0352080 Al           Dec. 7, 2017                                            bile transactions are disclosed. In an example embodiment,
                                                                                            automobile market data representative of current automobile
                Related U.S. Application Data                                               market characteristics is stored. The automobile market data
(63)   Continuation of application No. 14/868,091, filed on                                 may include pricing, inventory, and consumer interest infor-
       Sep. 28, 2015, now Pat. No. 9,626,704, which is a                                    mation received from dealers, manufacturers, and consum-
                                                                                            ers. A consumer may provide a request for a response
                        (Continued)
                                                                                            regarding a specific automobile using an image of a vehicle
                                                                                            identification number or a graphical user interface. Automo-
(51)   Int. Cl.
                                                                                            bile market data may be provided to a dealer based on the
       G06Q 30/00              (2012.01)
                                                                                            request. Bids to sell the specific automobile may be
       G06Q 30/06              (2012.01)
                                                                                            requested from dealers based on the request. Dealer bids
                         (Continued)                                                        may be provided to the consumer with prices and a delivery
(52)   U.S. Cl.                                                                             options. The consumer may select a bid which specifies a
       CPC ........ . G06Q 30/0611 (2013.01); G0JC 21134                                    pickup location at a first dealer.
                         (2013.01); G06Q 30/06 (2013.01);
                        (Continued)                                                                                        33 Claims, 7 Drawing Sheets


                                                                                                     ;-400
                                                                                                                          402
                                             Automobile mark.et data including at least pricing data ano inventory data is
                                               storeo in a daiabase system (e.g., oata from dealers, consumers, and
                                            manufacturers, regarding pricing, lot inventory, turnover rates, transport costs,
                                             and uali ,safe! ,andotherratin sis collected and stored in a database


                                           A request for a response regarding an automobile 1s received from a consumer
                                           (e.g., a carbuyerf1lis 1n a request form on a website or takes a picture of a VIN
                                                   at a dealer to receive a response based on current market data)


                                           Automob,le ma 0 ket data 1s provided to dealers based on the consumer request
                                            (e,g., a group of dealers receives a real-time report 1rcluding local car sales
                                            data, inventory data, ratings data, and transport cost data of the subject car)


                                            A bid to sell the automobile to the consumer is requested from dealers (e.g., a
                                              group of dealers within a certain radius of the buyer receive a bid request)


                                             Dealer bids are provided to the consc1mer (e.g., several dealers provide bids
                                           based on current pricing data, dealer picJt.up locations, and potential add-ons, so
                                            severaldifferentpricesanddeliveryoptionsrnaybeavailabletothecarbuyer)


                                           The consumer selects a bid including a delivery option which specifies a pickup
                                            location (e.g., the car buyer chooses to pickup at a nearby dealer in five days)
                                                                                                                          414
                                           The dealer provides the automobile at the dealer according to 1'18 consumer bid
                                            seiection (e.g., the dealer notifies a common1y owned dealer that the car must
                                            be transported to the dealer pickup location for delivery 1n less than five days)




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Appx1089
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           User 114                                                                            Fig. 1                                           ~
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                                    Keyboard, mouse,                                                                         ~
                                    and/or other input                                                                       ~

                                        device(s)                                                                           =~
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                                                                                device

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           Memory                        Interface                   Internet and/or other
                                          circuits                        network(s)
                       204
                                                                                                                             rJJ
                                                                                                                             ('D
                                                                                                                             =-
           Processor                                                                                                         ('D
                                                                                                                  226        .....
                                                                                                                             N




Appx1090
                                                                                           222                               0
                                                                                                                             ....
                                                                                                                             -....J



                             112                      216

                                        Printer(s),            Hard drive(s),
                 Display            speaker( s ), and/or      CD{s), DVD(s),                    Databases, programs,         d
                                                                                                                             r.,;_
                                       other output             and/or other                 files, configuration, index,
                                         devices              storage devices                    tags, access, usage,        "'""'
                                                                                               statistical, security data
                                                                                                                             =
                                                                                                                            'N
                                                                                                                             N
                                                                                                                            w
                                                                                                                            ~
                                                            Fig. 2                                                           N
                                                                                                                             N

                                                                                                                            =N
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                                                                         I   302

            Automobile Market Information Processing System
                          /310                                  /312

           Database System                     Recommendation Engine


                          /314                                  /316
          Vehicle Identification
                                               Interface Generation Unit
           Number Processor


           Al                         Al                           J l




           1J   /304                  ,~ /306                      p     / 3 08


       Consumer                     Dealer                   Manufacturer
        Interface                  Interface                  Interface




       User 114                    User 114                    User 114




                                   Fig. 3



                                   Appx1091
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                                          Start
                                                             1400
                                                                                  402
     Automobile market data including at least pricing data and inventory data is
       stored in a database system (e.g., data from dealers, consumers, and
    manufacturers, regarding pricing, lot inventory, turnover rates, transport costs,
     and quality, safety, and other ratings is collected and stored in a database)
                                                                                  404
   A request for a response regarding an automobile is received from a consumer
   (e.g., a car buyer fills in a request form on a website or takes a picture of a VIN
            at a deaier to receive a response based on current market data)
                                                                                  406
   Automobile market data is provided to dealers based on the consumer request
    (e.g., a group of dealers receives a real-time report including local car sales
    data, inventory data, ratings data, and transport cost data of the subject car)
                                                                                  408
    A bid to sell the automobile to the consumer is requested from dealers (e.g., a
      group of dealers within a certain radius of tt1e buyer receive a bid request)
                                                                                  410
     Dealer bids are provided to the consumer (e.g., several dealers provide bids
   based on current pricing data, dealer pickup locations, and potential add-ons, so
    several different prices and delivery options may be available to the car buyer)
                                                                                  412
   The consumer selects a bid including a delivery option whic!1 specifies a pickup
    location (e.g., the car buyer chooses to pickup at a nearby dealer in five days) 1
                                                                                  414
   The dealer provides the automobile at the dealer according to the consumer bid
    selection (e.g., the dealer notifies a commonly owned dealer that the car must
    be transported to the dealer pickup location for delivery in less than five days)
                                                                                  416
   The consumer and dealer execute the sale of the autornobile (e.g., the car buyer
      e-signs a loan application and contract, and electronically transfers funds)



                 Fig. 4A                Fig. 48




                                         Appx1092
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                                     ( Fig. 4A               /400


                                           •
      The dealer makes the purchased automobile available according to the
                                                                              /418

   consumer bid selection (e.g., the dealer transports the car from the commonly
   owned dealer location to the dealer pickup location selected by the car buyer if
           the car is not already located at the dealer pickup location)


                                           •
    The consumer picks up the purchased automobile according to the consumer
                                                                              /420

   selected delivery option at the dealer (e.g., the car buyer picks up the car at the
                nearby dealer five days after the car sale is executed)


                                      Fig. 48




                                       Appx1093
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                                           ;-500
                           r-- 502                                             r-· 504
         Interface Data                                  Administrative Data
                                  -             -
   B EJ        a
                                  ·~            ~


                                                      Account
                                                    information


                                                                  -~
                                                                        Access and
                                                                         Security



               11'                        .r-506                  1'



                             Automobile Market Data

                          /508                                    /510


          Executed Sales Data                        Consumer Data



                          r-512                                   r-514


               Dealer Data                          Manufacturer Data



                          /516                                    /518


              Statistical Data                       Historical Data




                                       Fig. 5




                                       Appx1094
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                                                                                                                                                         e
                                                                                                                                                         •
           600\                                                                                                                                           00
                              ;-304                            ;-302                                               ;-306                                  •
                                                                                       I    ,,                                                            ~
                                                                                                                                                          ~
                            602                                         606 6os                                                                610        ~
                                    604                                           7 Li\             ·--··--··--··-··--··-----·-··--··-----·--··-·--·-7    ~
                                                         System receives      Bid request\,         Dealers receive bid
           Consurner takes a           Consumer                                                                                                           ~
                                                           request and         and auto                 request and
                                                                                                                                                         =
            picture of a VIN            Request              prepares           market     /        automobile market
                                                        automobile market     information/             information to
                                                                                     --T -----: /
                                                        data based on the              l      ! /    determine prices
                                                                                       I    :/                                                            ~
                                                              request                                   and delivery                                      ~
                                                                                       I    /                                                            :-:
                                                                                       I              options for the
                                                                                       I                                                                 ~Ul
                                                                                       I              automobile and                                      N
                                                                   _r--614             I                                                                  0
                                                                                      1C 612            prepare and                                       ....
                                                                                                                                                          1,0
                                                         System receives                            provide bids for
                                                                                  Dealer bid
                                                          and processes                                  consumer
                            618        Dealer bids       dealer bids and
                                        and auto                                                                                                          rJJ
           Consumer receives                            prepares bids and                                                                                 ('D
                                                                                                                                                          =-
                                         market                                                                                                           ('D
             dealer bids and                            automobile market                                                                                 .....
                                                                                                                                                          -....J




Appx1095
           automobile market                            data for consumer
                                                                                                                                                          0
             information and                                                                                                                              ....
                                                                                                                                                          -....J
               selects a bid
           including a delivery
             option based on        620                ~~~~~~6~22 624                                                                          626
           automobile market                             System receives                            Dealer receives bid
                                          Selection     and processes bid I       Selection           selection and
                information
                                                            selection                               coordinates a sale                                    d
                                                                                                                                                          rJl.
                                                                                                                                                          "'""'
                                                                                                                                                          =
                                                                                                                                                         'N
                                                                                                                                                          N
                                                                                                                                                         w
                                                                                                                                                         ~
                                                                                                                                                          N
                                                            Fig. 6                                                                                        N

                                                                                                                                                         =N
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                                                    US 10,223,722 B2
                               1                                                                   2
         AUTOMOBILE TRANSACTION                                       provide a request for a response regarding a specific auto-
     FACILITATION BASED ON A CUSTOMER                                 mobile using an image of a vehicle identification number or
    SELECTION OF A SPECIFIC AUTOMOBILE                                a graphical user interface. Automobile market data may be
                                                                      provided to a dealer based on the request. Bids to sell the
      PRIORITY CLAIM AND CROSS REFERENCE                           5 specific automobile may be requested from dealers based on
               TO RELATED APPLICATIONS                                the request. Dealer bids may be provided to the consumer
                                                                      with prices and a delivery options. The consumer may select
   This application is a continuation of U.S. patent applica-         a bid which specifies a pickup location at a particular dealer.
tion Ser. No. 14/868,091, filed Sep. 28, 2015, which is a                Additional features and advantages of the disclosed
continuation of U.S. patent application Ser. No. 14/293,665, 10 method and apparatus are described in, and will be apparent
filed Jun. 2, 2014, which is a continuation of U.S. patent            from, the following Detailed Description and the Figures.
application Ser. No. 13/176,525, filed on Jul. 5, 2011, which
is related to the commonly-owned patent application, also                      BRIEF DESCRIPTION OF THE FIGURES
filed on Jul. 5, 2011, entitled "AUTOMOBILE TRANSAC-
TION FACILITATION USING A MANUFACTURER 15                                FIG. 1 is a high level block diagram of an example
RESPONSE," U.S. application Ser. No. 13/176,497, the                  network communicating system, according to an example
entire content of each of which is incorporated by reference          embodiment of the present invention.
herein.                                                                  FIG. 2 is a detailed block diagram showing an example of
                                                                      a computing device, according to an example embodiment
                        BACKGROUND                                 20 of the present invention.
                                                                         FIG. 3 is a block diagram showing an example automobile
   In the automobile industry, consumers typically purchase           transaction network structure, according to an example
automobiles from dealers or dealerships. Dealers often pur-           embodiment of the present invention.
chase new automobiles from several manufacturers, to sell                FIGS. 4A and 4B include a flowchart illustrating an
to consumers. Consumers typically negotiate a lower price 25 example process for facilitating an automobile transaction,
than the manufacturer suggested retail price typically                according to an example embodiment of the present inven-
referred to as the "sticker price" and/or the price the dealer        tion.
initially offers. In many cases, the negotiation process for an          FIG. 5 is a block diagram showing an example data
automobile may include a large degree of uncertainty for the          architecture, according to an example embodiment of the
consumer. Generally, the negotiation process is a zero sum 30 present invention.
process, and because the consumer and the dealer are each                FIG. 6 is flow diagram illustrating an example process for
trying to get a better deal, there is typically some lack of trust    facilitating an automobile transaction, according to an
during the negotiation. Accordingly, both dealers and con-            example embodiment of the present invention.
sumers often base the negotiations on established market
prices. However, market prices can fluctuate rapidly depend- 35               DETAILED DESCRIPTION OF EXAMPLE
ing a variety of factors. For example, consumer demand may                                   EMBODIMENTS
be affected by economic factors, such as changes in gasoline
prices, unemployment rates, government sponsored tax                     The present disclosure relates in general to a system for
rebates for automobile purchases, etc.                                facilitating automobile transactions and, in particular, to
   In many cases, a consumer may have concerns that a 40 automobile transaction based on a consumer selection of a
dealer may not offer a fair and competitive price. Various            specific automobile. Briefly, in an example embodiment, a
products and services have become available that allow                system is provided which allows a consumer to request
consumers to perform research on market prices for auto-              information regarding a specific car including dealer bids.
mobiles. Similarly, dealers negotiating an automobile sale            For example, a consumer may use a mobile device to take
generally do not know the maximum price a consumer will 45 a picture of a vehicle identification number. The specific
be willing to pay for a particular automobile, or how long it         vehicle may be identified using optical character recognition
will take to sell an automobile in inventory for a given price.       to request real-time information on that automobile. Dealers
Accordingly, dealers also use products and services for               may provide bids based on the consumer request using
determining and/or tracking market prices. Further, automo-           real-time automobile market information, including intra-
bile manufacturers may also have an interest in the market 50 brand bids and interbrand bids. A consumer may select a
prices for automobiles, because the market activity captured          dealer bid to purchase or lease an automobile based on the
as automobile market information may allow the manufac-               prices and delivery options available. Also, the presently
turer to, for example, more profitably determine which                disclosed system may advantageously allow for inventory-
automobiles to manufacture, what prices the manufacture               less bidding by dealers. For example, a dealer that does not
should offer to dealers, and whether manufacturer incentives 55 have an automobile in its inventory (e.g., on the dealer lot)
should be offered on existing dealer automobile inventory.            can make a bid to sell that automobile, and then have that
                                                                      automobile produced by a manufacturer or transported to the
                          SUMMARY                                     dealer lot. In a non-limiting example embodiment, certain
                                                                      features disclosed in the present patent application may be
   The present disclosure provides a new and innovative 60 commercially embodied in products and services offered by
system, methods and apparatus for providing automobile                Sidekick Technology LLC, the assignee of the present
market information and performing automobile transactions.            application.
In an example embodiment, automobile market data repre-                  The present system may be readily realized in a network
sentative of recent automobile market characteristics is              communications system. A high level block diagram of an
stored. The automobile market data may include pricing, 65 example network communications system 100 is illustrated
inventory, and consumer interest information received from            in FIG. 1. The illustrated system 100 includes one or more
dealers, manufacturers, and consumers. A consumer may                 client devices 102, and one or more host devices 104. The

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system 100 may include a variety of client devices 102, such       The interface circuit 212 may be implemented using any
as desktop computers and the like, which typically include      suitable interface standard, such as an Ethernet interface
a display 112, which is a user display for providing infor-     and/or a Universal Serial Bus (USB) interface. One or more
mation to users 114, and various interface elements as will     input devices 214 may be connected to the interface circuit
be discussed in further detail below. A client device 102 may 5 212 for entering data and commands into the main unit 202.
be a mobile device 103, which may be a cellular phone, a        For example, the input device 214 may be a keyboard,
personal digital assistant, a laptop computer, a tablet com-    mouse, touch screen, track pad, track ball, isopoint, image
puter, etc. The client devices 102 may communicate with the     sensor, character recognition, barcode scanner, and/or a
host device 104 via a connection to one or more communi-
                                                                voice recognition system.
cations channels 106 such as the Internet or some other data 10
                                                                   One or more displays 112, printers, speakers, and/or other
network, including, but not limited to, any suitable wide area
                                                                output devices 216 may also be connected to the main unit
network or local area network. It should be appreciated that
                                                                202 via the interface circuit 212. The display 112 may be a
any of the devices described herein may be directly con-
nected to each other instead of over a network. Typically,      cathode    ray tube (CRTs), a liquid crystal display (LCD), or
one or more servers 108 may be part of the network 15 any other type of display. The display 112 generates visual
communications system 100, and may communicate with             displays generated during operation of the computing device
host servers 104 and client devices 102.                        102, 104. For example, the display 112 may provide a user
   One host device 104 may interact with a large number of      interface,   which will be described in further detail below,
users 114 at a plurality of different client devices 102.       and may display one or more web pages received from a
Accordingly, each host device 104 is typically a high end 20 computing device 102, 104. A user interface may include
computer with a large storage capacity, one or more fast        prompts for human input from a user 114 including links,
microprocessors, and one or more high speed network             buttons, tabs, checkboxes, thumbnails, text fields, drop
connections. Conversely, relative to a typical host device      down boxes, etc., and may provide various outputs in
104, each client device 102 typically includes less storage     response to the user inputs, such as text, still images, videos,
capacity, a single microprocessor, and a single network 25 audio, and animations.
connection. It should be appreciated that a user 114 as            One or more storage devices 218 may also be connected
described herein may include any person or entity which         to the main unit 202 via the interface circuit 212. For
uses the presently disclosed system and may include a wide      example, a hard drive, CD drive, DVD drive, and/or other
variety of parties. For example, as will be discussed in        storage devices may be connected to the main unit 202. The
further detail below, users 114 of the presently disclosed 30 storage devices 218 may store any type of data, such as
system may include a consumer, a dealer, and/or a manu-         pricing data, transaction data, operations data, inventory
facturer.                                                       data, commission data, manufacturing data, image data,
   Typically, host devices 104 and servers 108 store one or     video data, audio data, tagging data, historical access or
more of a plurality of files, programs, databases, and/or web   usage data, statistical data, security data, etc., which may be
pages in one or more memories for use by the client devices 35 used by the computing device 102, 104.
102, and/or other host devices 104 or servers 108. A host          The computing device 102, 104 may also exchange data
device 104 or server 108 may be configured according to its     with other network devices 220 via a connection to the
particular operating system, applications, memory, hard-        network 106. Network devices 220 may include one or more
ware, etc., and may provide various options for managing        servers 226, which may be used to store certain types of
the execution of the programs and applications, as well as 40 data, and particularly large volumes of data which may be
various administrative tasks. A host device 104 or server       stored in one or more data repository 222. A server 226 may
may interact via one or more networks with one or more          include any kind of data 224 including databases, programs,
other host devices 104 or servers 108, which may be             files, libraries, pricing data, transaction data, operations data,
operated independently. For example, host devices 104 and       inventory data, commission data, manufacturing data, con-
servers 108 operated by a separate and distinct entities may 45 figuration data, index or tagging data, historical access or
interact together according to some agreed upon protocol.       usage data, statistical data, security data, etc. A server 226
   A detailed block diagram of the electrical systems of an     may store and operate various applications relating to
example computing device (e.g., a client device 102, and a      receiving, transmitting, processing, and storing the large
host device 104) is illustrated in FIG. 2. In this example, the volumes of data. It should be appreciated that various
computing device 102, 104 includes a main unit 202 which 50 configurations of one or more servers 226 may be used to
preferably includes one or more processors 204 electrically     support and maintain the system 100. For example, servers
coupled by an address/data bus 206 to one or more memory        226 may be operated by various different entities, including
devices 208, other computer circuitry 210, and one or more      automobile manufacturers, brokerage services, automobile
interface circuits 212. The processor 204 may be any suit-      information services, etc. Also, certain data may be stored in
able processor, such as a microprocessor from the INTEL 55 a client device 102 which is also stored on the server 226,
PENTIUM® family of microprocessors. The memory 208              either temporarily or permanently, for example in memory
preferably includes volatile memory and non-volatile            208 or storage device 218. The network connection may be
memory. Preferably, the memory 208 stores a software            any type of network connection, such as an Ethernet con-
program that interacts with the other devices in the system     nection, digital subscriber line (DSL), telephone line,
100 as described below. This program may be executed by 60 coaxial cable, wireless connection, etc.
the processor 204 in any suitable manner. In an example            Access to a computing device 102, 104 can be controlled
embodiment, memory 208 may be part of a "cloud" such            by appropriate security software or security measures. An
that cloud computing may be utilized by a computing             individual users' 114 access can be defined by the comput-
devices 102, 104. The memory 208 may also store digital         ing device 102, 104 and limited to certain data and/or
data indicative of documents, files, programs, web pages, 65 actions. Accordingly, users 114 of the system 100 may be
etc. retrieved from a computing device 102, 104 and/or          required to register with one or more computing devices
loaded via an input device 214.                                 102, 104. For example, registered users 114 may be able to

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request or manipulate data, such as submitting requests for       bile market information processing system 302 may process
pricing information or providing an offer or a bid.               data received by the consumer interface 304, as well as the
   As noted previously, various options for managing data         dealer interface 306 and/or the manufacturer interface 308,
located within the computing device 102, 104 and/or in a          to respond to a request from a consumer. For example, data
server 226 may be implemented. A management system may 5 from database system 310 may be queried for use in a report,
manage security of data and accomplish various tasks such         or a recommendation may be provided by recommendation
as facilitating a data backup process. A management system        engine 312 according to the consumer request and current
may be implemented in a client 102, a host device 104, and        market data. The automobile market information processing
a server 226. The management system may update, store,            system 302 may integrate data received from consumer
and back up data locally and/or remotely. A management 10 interface 304, dealer interface 306, and manufacturer inter-
system may remotely store data using any suitable method          face 308 to provide current and accurate information relating
of data transmission, such as via the Internet and/or other       to the automobile market.
networks 106.                                                        It should be appreciated that the consumer interface 304
    FIG. 3 is a block diagram showing an example automobile       may be specific to one particular manufacturer or may
transaction network structure 300 which includes an auto- 15 provide information for multiple different manufacturers.
mobile market information processing system 302, a con-           For example, a consumer interface 304 may be a website
sumer interface 304, a dealer interface 306, and a manufac-       with information on many manufacturers, and further, the
turer interface 308. The example automobile market                consumer interface 304 may access or link to the manufac-
information processing system 302 may be implemented on           turer specific websites (e.g., Ford). Also, for example, a
one or more host devices 104 accessing one or more servers 20 consumer interface 304 may be implemented as an automo-
108, 226. In an example embodiment, the automobile mar-           bile manufacturer's website. Typically, a manufacturer's
ket information processing system 302 includes a database         website may provide consumers with a catalog like feature
system 310, a recommendation engine 312, a vehicle iden-          that provides information on different automobile models
tification number processor 314, and an interface generation      with any available options or features. For example, a
unit 316. A user 114 may be a consumer, a dealer, or a 25 manufacturer website may allow a consumer to select
manufacturer that interacts with the consumer interface 304,      options that are desired to "build" a particular automobile,
dealer interface 306, or manufacturer interface 308, respec-      and may provide price comparisons using suggested retail
tively. A database system 310 may include a wide variety of       prices, which may consumers use for initial research into
automobile market data. A recommendation engine 312 may           what pricing the dealer may offer for a particular automobile
provide recommendations for consumers, dealers, and 30 with a particular feature set. Also, typically, the consumer
manufacturers. A vehicle identification number processor          may enter information, including, for example, name, an
314 may be used for making requests regarding specific            address or zip code, and telephone number. This information
automobiles and automobiles with specific sets of features.       may be passed on from the manufacturer to a nearby dealer
For example, a vehicle identification number processor 314        and/or nearby dealer information may be provided to the
may determine a specific set of features that a specific car 35 consumer (e.g., the dealer in or nearest to the consumer's
has based on a picture of that specific car's vehicle identi-     entered zip code). Accordingly, the dealer may contact the
fication number. Interface generation unit 316 may provide,       consumer, or the consumer may inquire with the dealer,
for example, HTML files which are used at the consumer            regarding the specific automobiles available on that dealer's
interface 304, dealer interface 306, and manufacturer inter-      lot and particular pricing being offered, etc. In many cases,
face 308 interface to provide information to the users 114. It 40 consumers may not inquire with dealers that the manufac-
should be appreciated that he the consumer interface 304,         turer may recommend, and similarly, dealers may not dili-
dealer interface 306, and manufacturer interface 308 may be       gently follow up with consumers that have an interest in
considered to be part of the automobile market information        purchasing an automobile. Further, it should be appreciated
processing system 302, however, for discussion purposes,          that the information provided via a consumer interface 304
the consumer interface 304, dealer interface 306, and manu- 45 and/or a manufacturer website may be very useful to con-
facturer interface 308 may be referred to as separate from the    sumers. For example, in the past, dealers often provided
automobile market information processing system 302.              brochures with all the information on a manufacturer's
    For example, a user 114 may interact with a consumer          available car models, including all the features and options
interface 304 to research automobiles the user 114 is inter-      information. However, dealers typically do not provide
ested in buying. For example, a consumer may be looking 50 comprehensive information brochures, which may be rela-
for a four door sedan with specific features, including a         tively expensive to produce, and rather, that information is
global positioning system (GPS), a sunroof, tinted windows,       typically located on a manufacturer website and/or a con-
rated for at least thirty miles per gallon, four wheel drive,     sumer interface 304.
etc. The consumer may interact with the consumer interface           Accordingly, the consumer interface 304 may provide a
304 by inputting required and/or desired features, monthly 55 wide range of information, for example, based on any
budget or full price, etc. The consumer interface 304 may         searches or queries performed by a user 114. In an example
provide a wide variety of features and specifications which       embodiment, based on a user search or request for a
the consumer may choose from in providing a request.              response, the consumer interface 304 will display a quality
Based on the information put into the consumer interface          index or value index based on normalized calculations for an
304 from the consumer, the consumer interface 304 may 60 automobile. The recommendation engine 312 may provide
provide one or more reports or offers to the consumer. As         recommendations to a consumer based on the current auto-
will be discussed in further detail below, the information        mobile market data stored in the automobile market infor-
provided by the consumer interface 304 may include current        mation processing system 302. For example, metrics on gas
market prices for automobiles, including information relat-       mileage, emissions, operating and maintenance costs, safety
ing to additional features, and may include information on 65 ratings, etc. may be benchmarked against comparable auto-
specific automobiles, for example, which may be en route to       mobiles of the same and different manufacturers. Similar
a dealer near the consumer's present location. The automo-        purchase options to a specific search may also be provided,

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based on feature matching, price range, consumer popular-         from a consumer interface 304. Additionally, the manufac-
ity, etc. Information including price ranges, including           turer interface 308 may provide information such as a report
MSRP, invoice prices, inventory levels, the user's 114 credit     that allows the manufacturer to provide a response to the
ratings (e.g., FICO score), may be provided which may             requesting consumer. A report may include information from
include monthly payment estimates or projections. For 5 database system 310 relating to current market pricing,
example, a financing calculator may help a user 114 deter-        recent sales figures and trends, current manufacturer incen-
mine what financing rate is appropriate. It should be appre-      tives, current inventory, including dealer inventory, inven-
ciated that dealers may mislead consumers into believing          tory in transit, and/or build times or lead times for a desired
that a higher financing rate will be required to secure a loan.   automobile, etc. The manufacturer may use this information
Further, for example, a lease vs. buy calculator may be 10
                                                                  to provide a response to a consumer request. The manufac-
provided which may use current market data including
                                                                  turer may provide the manufacturer interface 308 with
prices, interest rates, incentives, estimated mileage per year,
                                                                  information to provide a confirmation, a verification, or an
etc. for providing an analysis for a particular consumer
regarding purchasing or leasing. Also, the consumer inter-        offer   to a consumer via consumer interface 304. For
face 304 may provide a purchase checklist, for example, of 15 example, a confirmation number associated with the par-
ten steps to buying a car. A qualitative checklist may allow      ticular consumer request may be provided for the consumer.
a user to ask the right questions and get the right answers       Also, a recommendation may be provided from the recom-
from a dealer. Additional tips may be provided, such as a list    mendation engine 312 to the manufacturer in relation to
of products or services dealers may attempt to sell to a          automobile pricing, responding to a specific request, manu-
consumer with an analysis of the value of these products or 20 facturer incentives, inventory management, production
services and a recommendation to accept or decline these          schedules, shipping schedules, etc. It should be appreciated
dealer offers. Further, beyond analysis relating to automo-       that a manufacturer may be referred to as an OEM or
biles, additional analysis or reports may be provided, for        original equipment manufacturer. The manufacturer inter-
example, relating to dealer reviews, other supplemental           face 308 may provide a manufacturer with a real-time lens
products, financial entities that may provide financing, etc. 25 into the automobile market which may allow the manufac-
For example, dealer reviews may provide a consumer with           turer to adjust production schedules, pricing plans, market-
information the consumer may use in addition to automobile        ing activities, etc., which may provide a significant advan-
pricing and delivery options. Moreover, the consumer inter-       tage for manufacturers.
face 304 may provide a wide variety of useful information            Accordingly, information may be provided to the auto-
to a consumer, for at home research and preparation, and/or 30 mobile market information processing system 302 from
in a dealer location while shopping as a negotiating tool that    consumers, dealers, and manufacturers with a very high
may provide confirmation on pricing, useful tips, and the         degree of granularity, as every transaction that occurs and
like.                                                             even every request or search may be stored and used by the
   In an example embodiment, a dealer interface 306 may           automobile market information processing system 302. This
provide a user 114, such as a dealer employee, information 35 allows the automobile market information processing sys-
relating to the current automobile market. The dealer inter-      tem 302 to use the most current automobile market data to
face 306 allows a dealer to interact with automobile market       provide information to consumers, dealers, and manufactur-
information processing system 302 to provide the dealer           ers. It should be appreciated that market prices can change
with a wide variety of information, including, for example,       relatively quickly, particularly when major events drive
current market pricing. Other automobile market informa- 40 consumer behavior or manufacturer production, such as
tion a dealer may receive on a dealer interface 306 includes      natural disasters. Accordingly, reports and recommendations
information relating to lot inventory, turnover rates, auto-      provided by the automobile market information processing
mobile transportation and/or shipping costs, incentives, and      system 302 may be highly accurate, reliable, and sensitive to
various ratings, such as ratings relating to quality, safety,     market changes.
insurance, a consumer credit score, dealer ratings, residual 45      It should be appreciated that certain functions described
or resale values, etc. A dealer may input information into        as performed, for example, at automobile market informa-
dealer interface 306 relating to sales data, including current    tion processing system 302, may instead be performed
pricing offered, special sales offers, actual transaction data,   locally at consumer interface 304, dealer interface 306, and
inventory data, etc. In an example embodiment, the dealer         manufacturer interface 308, or vice versa. Further, in certain
may provide information through dealer interface 306 which 50 cases, tasks may be performed using consumer interface
will be used by automobile market information processing          304, dealer interface 306, and manufacturer interface 308 or,
system 302 to prepare reports or offers to consumers and/or       for example, performed in person, such as a consumer
manufacturers. It should be appreciated that a dealer is          signing documents at a dealer location, or a dealer commu-
typically a franchise entity, while a distribution location may   nicating with a manufacturer using a telephone. It should be
not be a franchise entity. For brevity, throughout this speci- 55 appreciated that the consumer interface 304, dealer interface
fication, the term dealer may be used to describe both            306, and manufacturer interface 308 may be implemented,
franchise entity dealers and non-franchise entity distribution    for example, in a web browser using an HTML file received
location. Accordingly, as used in this disclosure, the term       from the automobile market information processing system
dealer does not indicate whether an entity is a franchise         302. In an example embodiment, the consumer interface
entity. Moreover, a franchise dealer or a non-franchise 60 304, dealer interface 306, and manufacturer interface 308
distribution location may utilize a dealer interface 306 as       may be located on a website, and may further be imple-
described herein.                                                 mented as a secure website. Also, consumer interface 304,
   In an example embodiment, a manufacturer interface 308         dealer interface 306, and manufacturer interface 308 may
may provide a user 114, such as a manufacturer employee,          require a local application, for example, which a manufac-
information relating to the current automobile market, 65 turer may pay for to have access to, for example, information
including consumer requests. For example, an manufacturer         from the automobile market information processing system
interface 308 may provide a manufacturer a request received       302 such as requests from consumers.

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   FIGS. 4A and 4B include a flowchart of an example               data. In an example embodiment, the buyer's request may be
process 400 for facilitating an automobile transaction.            transmitted from consumer interface 304 via the internet to
Although the process 400 is described with reference to the        the automobile market information processing system 302.
flowchart illustrated in FIGS. 4A and 4B, it will be appre-        In another example embodiment, a car buyer takes a picture
ciated that many other methods of performing the acts 5 of a vehicle identification number (VIN) on a car that the
associated with the process 400 may be used. For example,          buyer would like to receive information for. For example,
the order of many of the blocks may be changed, certain            using an application stored on a mobile device 103, the
blocks may be combined with other blocks, and many of the          buyer may be located at a dealer location and take a picture
blocks described are optional.                                     of the VIN on a car. The buyer may want information on that
   The example process 400 for facilitating an automobile 10
                                                                   specific car or on other comparable cars with the same or
transaction may allow users 114, including dealers and
                                                                   similar features and/or options. The picture of the VIN may
consumers, as well as manufacturers, to efficiently sell and
                                                                   be processed using optical character recognition, which
purchase automobiles, respectively. The example process
400 may begin with automobile market data including at             allows the automobile market information processing sys-
least pricing data and inventory data stored in a database 15 tem 302 to determine the make and model of the car, along
system (block 402). For example, automobile market data            with various other characteristics of the car. It should be
from dealers, consumers, and manufacturers regarding pric-         appreciated that the VIN may include human readable
ing, lot inventory, turnover rates, transport costs, and quality,  characters, a bar code, or any other graphical or machine
safety, and/or other ratings is collected and stored in a          readable information which acts as a vehicle identification
database. In an example embodiment, a wide variety of data 20 number. Accordingly, the buyer may perform research, for
is stored in a database system 310. For example, transport         example, while at home or while shopping at a dealer
costs may include manufacturer to dealer shipping costs            location. Further, for example, the buyer may take a picture
and/or dealer to dealer costs for shipping or transporting an      of a VIN anywhere, including at automobile trade shows,
automobile (e.g., a dealer with multiple locations may drive       mall displays, or anywhere new cars or cars for sale are
automobiles between locations if necessary). Automobile 25 displayed. The buyer may even take a picture of a car parked
market data may include various relevant ratings, reports,         in the street as the buyer walks down the street. Any request
awards, or other information, including quality information,       or query communicated from the consumer interface 304
safety information, insurance information, consumer credit         may be stored, for example, in database system 310, thereby
information, dealer rating information, incentive informa-         updating the automobile market information processing sys-
tion, residual value information, and/or any other data which 30 tem 302 with current automobile market data.
may be relevant to consumers. For example, ratings data
                                                                      The example process 400 may continue with providing
may include information from the National Highway Traffic
                                                                   automobile market data to dealers based on the consumer
Safety Administration (NHTSA), the Environmental Protec-
                                                                   request (block 406). For example, a group of dealers
tion Agency (EPA), and/or the Insurance Institute for High-
way Safety (IIHS). The data may include information from 35 receives a real-time report including local car sales data,
a consumer interface 304, such as data in consumer searches        inventory data, ratings data, and transport cost data of the
or requests, information from a dealer interface 306, such as      consumer's requested car. In an example embodiment, a
currently offered dealer pricing, transaction data for final-      report may include quality information, safety information,
ized sales, current inventory data, transport or shipping          insurance information, consumer credit information (e.g.,
costs, and information from a manufacturer interface 308, 40 buyer FICO score), dealer rating information, incentive
such as current manufacturer prices and suggested pricing,         information, residual value information, and/or any other
manufacturer incentives, and current inventory including           data which may be relevant to consumers. The report may be
finished inventory on hand, production scheduling, shipment        provided through dealer interface 306 and include the con-
scheduling, inventory in transit, and manufacturing lead           sumer requirements and preferences. The request and/or the
times. The automobile market data may be comprised solely 45 report may be provided in real-time and may provide
of information received from the consumer interface 304,           real-time data. Data reported based on a real-time updates in
dealer interface 306, and manufacturer interface 308, or may       the automobile market information processing system 302
include additional information received from other sources.        may provide significant advantages, for example, when
It should be appreciated that various methods of storing the       pricing conditions may change quickly due to unforeseen
automobile market data may be employed according to the 50 market conditions. The recommendation engine 312 may
system requirements. For example, database system 310              provide recommendations to a dealer based on the current
may be organized according to different manufacturers or           automobile market data. For example, a report may indicate
dealers, automobile make and model, different information          various estimated sales probabilities for different prices that
categories (e.g., suggested pricing, market prices, produc-        the dealer may offer or bid. In an example embodiment, a
tion, shipping, lot inventory), etc., and may consist of one or 55 probability to sell within a time frame may be provided, for
more databases on one or more servers 108, 226 which may           example, for a 24 hour period, probabilities and prices may
be remotely located from each other and/or a host device 104       be estimated as, e.g., 80% chance to sell at $22,000; 60%
of the automobile market information processing system             chance to sell at $23,000; 50% chance to sell at $24,000;
302. As will be discussed further below, the automobile            20% chance to sell at $25,000. Such information may be
market data may be continually updated as new data is 60 illustrated in various ways, such as a bell curve graph or a
provided to the automobile market information processing           chart. Further, the recommendation engine may provide
system 302.                                                        daily suggestions (e.g., a deal of the day). Dealers may use
   The example process 400 continues with a consumer               such information to attract consumers to visit the dealer in
providing a request for a response of whether an automobile        person or online as well as prepare responses or bids to
can be provided (block 404). For example, a car buyer fills 65 consumer requests. In an example embodiment the dealer
in a request form on a website or takes a picture of a VIN         interface 306 may provide information that is limited to cars
at a dealer to receive a response based on current market          which meet the consumer request requirements. Dealers

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may customize the dealer interface 306 to provide informa-         bidding may be highly beneficial when dealers that do not
tion in a pre-specified manner to suit the dealers particular      have a requested automobile in inventory can still profitably
needs.                                                             provide a bid. Further, for example, cars that are not exactly
   A bid to sell the automobile to the consumer is requested       what the buyer requested may also be offered to the buyer.
from dealers (block 408). For example, a group of dealers 5 For example, the buyer may request a four wheel drive car,
within a certain radius of the buyer location may receive a        but if a two wheel drive car that meets all the other buyer
bid request. Each dealer's bid may include a price, for            criteria is immediately available at a nearby dealer, the
example, a price with no additional add-on products or             dealer may provide an offer to the buyer for this car, possibly
services, such as service contracts, warranties, aftermarket       at a significantly lower price, such as $23,000 instead of
accessories, etc. For example, add-on products may provide 10 $26,000 for a four wheel drive car as requested. Further, for
substantial value to a dealer, above and beyond the profit         example, dealers may use information such as ratings data to
margin for the sale of the requested car. A dealer may profit      optimize their bids. For example, if gasoline prices are
from selling financing options, for example, if a consumer         increasing, mileage ratings for a particular car may dictate
needs financing, the financier may pay the dealer for sourc-       increasing or decreasing a bid. If a vehicle has very good gas
ing the loan. A dealer may sell service plans or maintenance 15 mileage, and gas prices are skyrocketing, that car may have
packages (e.g., an extended service contract), selling war-        an increasing demand as gas prices increase, or vice versa.
ranties (e.g., a lifetime warranty), or selling insurance plans    Similarly, safety ratings of vehicles may be important to
(e.g., life, accident, and health insurance, liability insurance,  consumer demand if high profile problems have appeared
comprehensive insurance, etc.). Also, a dealer may also sell       for a particular automobile style, make, or model. As dis-
various hard add accessories, for example, bicycle racks, 20 cussed above, various automobile market information may
hitches, commercial accessories (e.g., lights and sirens), or      be used by a dealer including safety information, insurance
any aftermarket products or modifications (e.g., sunroof).         information, consumer credit information, dealer rating
   One or more dealer bids are provided to the consumer            information, incentive information, residual value informa-
(block 410). For example, several dealers provide bids based       tion, and/or any other data which may be relevant to
on current pricing data, dealer pickup locations, and paten- 25 consumers.
tial add-ons, so several different prices and delivery options        The consumer interface 304 may organize dealer bids
may be available to the car buyer. Typically, the bid will         based on a variety of factors and may provide supplemental
include at least a specified price and pickup time and             information. For example, certain dealer bids may be
location. In an example embodiment, a buyer that has taken         selected as the best options, all dealer bids may be summa-
a picture of a VIN with a mobile device may receive dealer 30 rized, various additional ratings, reviews, or popularity
bids within minutes or seconds on the mobile device.               information, financing information, etc. may also be pro-
Accordingly, the bids may be used in real-time as the buyer        vided to a consumer along with any dealer bids. The
may be actively shopping for a car on a dealer lot. Typically,     recommendation engine 312 may provide recommendations
a pickup location will be a dealer lot or distribution location.   to a consumer based on the current automobile market data.
It should be appreciated that some dealers may have mu!- 35 For example, of ten dealer bids provided with a response,
tiple locations which could serve as a pickup location. In an      three bids may be recommended, for example, as "Great
example embodiment, the automobile market data may                 Deals!" It should be appreciated that in some cases, a
indicate that the particular car requested by a consumer           particular consumer search may not return any dealer bids,
should be priced at, for example, $26,000. However, various        for example, if consumer search requirements are unrealistic
factors may affect the bid or offer that a dealer will make for 40 for the consumer's required price range. Also, for example,
the particular car. For example, the potential for forming a       if only one or two bids are received, the recommendation
customer relationship, the value of potential add-on products      engine 312 may recommend that a consumer wait for a
and services, or competition with other dealers may cause a        better bid because the bids provided are not competitive
dealer to bid lower than normal. In such a case, the dealer        offers based on the current automobile market data stored in
may bid $25,000 in an effort to create a customer relation- 45 the database system 310. Further, in an example embodi-
ship, sell add-on products, and/or undercut the competition        ment, dealer bids may be organized according to distance to
pricing. Other factors, such as the buyer's credit score (e.g.,    a dealer pickup location, lowest price, closest match to the
FICO score), may be used by a dealer in determining a bid,         consumer entered criteria, a normalized quality index or
as this may affect the profitability of a sale.                    value index, etc. The consumer may be able to toggle
   Further, for example, the particular automobile requested 50 between different viewing options for dealer bids or search
may not be available for immediate pickup near the buyer,          results.
and various alternative delivery options may be provided              Further, in an example embodiment, a buyer may be at a
from several dealers' bids. For example, a car that is located     dealer lot (e.g., a Nissan dealer) and take a picture of a VIN
at an out of state dealer may be transported to a dealer near      on a car (e.g., a Maxima). A bid from a competing dealer
the buyer. Therefore, for example, the consumer interface 55 (e.g., a Toyota dealer) across the street may be received on
304 may provide several different bids with different deliv-       the mobile device within seconds and include information
ery options and prices to the buyer, for example, a price of       for a comparable car (e.g., an Avalon) relating to, for
$26,000 to pick up the car at an out of state dealer the next      example, gas mileage, safety ratings, price comparisons,
day or a price of $26,500 to pick up the car at a local dealer     residual value, driving directions to the competing dealer,
in five days. For example, a dealer may determine a cost to 60 etc. In an example embodiment, a dealer may use the
transport a car from one dealer location to another based on       geolocation of the buyer, such as in instances when the buyer
the automobile market data such as current market pricing,         is physically located close to the dealer. Accordingly, com-
current inventory levels, current shipping costs, and the like.    peting dealer bids may be interbrand or intrabrand in nature,
Accordingly, a dealer response may be adjusted by current          and may be tailored to the buyer's particular situation, which
automobile market conditions. An offer to provide or ship a 65 a consumer may find highly advantageous. For example, the
particular car to a dealer location near a consumer may be         buyer may have a bid for a car the buyer wants to test drive
authorized through the dealer interface 306. Inventoryless         as well as a bid for a comparable car across the street before

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a salesman from the dealer even introduces himself. Accord-       instructing a car to be delivered to a dealer, such as a deposit,
ingly, a consumer may weigh the pros and cons of various          financing approval, etc. Further, the consumer may be
dealer bids, based on delivery options, pricing, and any other    required to send an instruction message from the consumer
relevant variants. Any bids communicated from a dealer            interface 304 to the dealer interface 306 affirming that the
interface 306 may be stored, for example, in database system 5 buyer has agreed to purchase the car from the dealer.
310, to further update the automobile market information             The consumer and the dealer execute the sale of the
processing system 302 with current automobile market data.        automobile (block 416). For example, the consumer elec-
   The consumer selects a bid including a delivery option         tronically signs documentation such as loan application and
which specifies a pickup location (block 412). For example,       a contract and performs an electronic funds transfer or credit
the car buyer chooses a delivery option of picking up the car 10 card payment. After the delivery option is selected, an
at a nearby dealer in five days. As noted above, a dealer may     electronic contract may be provided by the dealer for the
be a franchise dealer entity or a non-franchise distribution      buyer who may e-sign the contract, and/or any other loan
location. The buyer may select an offer with a specified          applications or other documentation as needed. In another
delivery option on the consumer interface 304. The car            example embodiment, paper copies of a contract may be
buyer may have been weighing two or more different 15 signed, for example, after the buyer prints them or receives
delivery options and/or different features, price differences,    them from a nearby dealer or through the mail. In an
etc., based on the response(s) received through the consumer      example embodiment, the buyer may provide cash or a paper
interface 304. As noted above, the consumer interface may         check. It should be appreciated that the process of executing
organize bids and other helpful information in a variety of       a contract may take some time. For example, the process
ways, which may make the information easier for a con- 20 may occur in several steps, as loan processing may be
sumer to digest. It should be appreciated that a buyer will       required prior to executing a contract for sale of a car. Also,
typically want to pick up a new car at a convenient location,     it should be appreciated that, for example, the consumer
often near the buyer's home. Accordingly, dealers may             selection of a bid discussed above (see, e.g., block 412) may
attempt to provide delivery options tailored towards maxi-        occur simultaneously with the consumer executing the sale.
mizing profit for the dealer while also maximizing conve- 25 Once the sale is completed, the actual transaction data
nience to the buyer, while also providing a superior bid to       including the final negotiated price, may be provided to and
other dealers. By providing multiple bids with different          stored in database system 310. Accordingly, the automobile
delivery options, the buyer may be allowed to save time or        market information processing system 302 may be updated
money based on the buyer's particular needs. In an example        with current automobile market data from every step in the
embodiment, the buyer may provide a counter offer or 30 negotiation process between a consumer and a manufacturer.
different request via the consumer interface 304 to a dealer      In an example embodiment, the updates provided to the
via the dealer interface 306. Accordingly, the dealer may         automobile market information processing system 302 are
respond in kind, and may update delivery options or other         provided in real-time, for example, data may be transmitted
terms. It should be appreciated that the consumer selection       and processed within seconds or minutes. Further, for
of a bid may, for example, occur simultaneously with the 35 example, it should be appreciated that certain data may be
consumer executing the sale or providing a deposit or down        provided to the automobile market information processing
payment, or the like (see, e.g., block 416). Accordingly, in      system 302 according to a batch processing schedule.
an example embodiment, once the buyer selects a bid, the             Next, the dealer makes the purchased automobile avail-
buyer has effectively purchased the car, and the dealer does      able according to the consumer bid selection (block 418).
need to worry about the buyer backing out of the deal. Any 40 For example, the dealer transports the car from the com-
consumer selections, counter offers, or additional requests or    monly owned dealer location to the dealer pickup location
responses may be stored in database system 310, as the            selected by the car buyer if the car is not already located at
communications are processed by automobile market infor-          the dealer pickup location. When a purchased car is already
mation processing system 302, providing further data              at the dealer location where the buyer has agreed to pick the
updates. Accordingly, in an example embodiment, a con- 45 car up, the car does not need to be transported. Many dealers
sumer may select a bid to purchase a car, and that purchase       have multiple locations under the same ownership, and these
information may then be provided to another consumer              dealers may drive or ship cars from one dealer location to
searching for the same type of car with similar features, for     another if the cost of transporting the car is justifiable. If a
example, the next day.                                            buyer chooses a quicker delivery option, the car may then be
   Once a bid with a specific delivery option has been 50 transported from a different dealer location to the selected
selected, the dealer provides the automobile at the selected      dealer pickup location. A dealer may interact with the
dealer according to the consumer bid selection (block 414).       automobile market information processing system 302 using
For example, the dealer notifies a commonly owned dealer          dealer interface 306, for example, to receive notification that
that the car must be transported to the dealer pickup location    a car will be picked up by a buyer, and to report that a car
for delivery in less than five days. In a typical example, the 55 has been delivered to the dealer pickup location. A notifi-
dealer may already have the car in question on the dealer lot,    cation may also be sent via consumer interface 304 to the
so the car would not need to be transported. In an example        buyer that the car is available for pickup at the specified
embodiment, the dealer may send a notification or instruc-        dealer.
tion message through the dealer interface 306, which would           Finally, the consumer picks up the purchased automobile
be received by a commonly owned dealer in another city or 60 according to the consumer selected delivery option at the
state. It should be appreciated that the specific manner of       dealer (block 420). For example, the car buyer picks up the
notification or instruction may be changed based on the           car at the nearby dealer five days after the car sale is
particular application, for example, the automobile market        executed. The buyer may pick up the car without ever having
information processing system 302 may automatically pro-          to talk to or negotiate, in person or over the telephone, with
vide a notification or instruction to a dealer to produce or 65 the dealer. For example, the buyer may arrive at the dealer,
transport a car based on inventory data. It should also be        show identification and proof of purchase, and be provided
appreciated that particular events may be required to trigger     the keys to the car. The buyer may sign paperwork indicating

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the car has been picked up. Also, the dealer may offer or         Dealer data 512 may include dealer pricing, including list
provide additional products or services to the buyer when         prices, sale prices for limited time dealer offers or deals of
the buyer goes to the dealer to pick up the car. For example,     the day, negotiation information such as bottom line pricing,
the dealer may offer financing options, warranties, service       offers received, foot traffic activity, and dealer inventory
plans, insurance plans, and hard add accessories to the buyer, 5 data, including current on location data, automobile turnover
as discussed in further detail above.                             rates, etc. Manufacturer data 514 may include manufacturer
   Accordingly, it should be appreciated that consumers,          pricing, including suggested pricing, preferred dealer pric-
dealers, and manufacturers may receive significant benefits       ing, etc., manufacturer incentives including cash rebates,
from the method of facilitating an automobile transaction         special lease rates, special APR rates, zero down offers,
disclosed herein. For example, price setting, inventory man- 10 lifetime warranties, guaranteed trade-in offers, etc., and
agement, and production scheduling, may be greatly                inventory information including dealer inventory, inventory
improved for dealers and manufacturers by utilizing the           by location, inventory in transit, manufacturing or produc-
disclosed system and method. Consumers may benefit from           tion lead times or build times, production scheduling, ship-
more competitive pricing, piece of mind knowing that a fair       ping scheduling, etc. Statistical data 516 may include infor-
market price is being offered for prospective purchases, and 15 mation used for providing reports including graphs,
improved delivery options that allow the consumer to weigh        forecasts, recommendations, calculators, depreciation
the benefits and drawbacks of different delivery options,         schedules, tax information, etc., including equations and
pricing, and other variables. In an example embodiment,           other data used for statistical analysis. Historical data 508
consumers can view prices paid for comparable cars in             may include past sales data, such as historical list prices,
specific locations based on the automobile market data in the 20 actual sale prices, manufacturer and dealer margins, oper-
automobile market information processing system 302, for          ating costs, service costs or profitability, loyalty information,
example, within a certain time frame such as one month and        etc. It should be appreciated that data may fall under
within a certain proximity to the consumer. Moreover,             multiple categories of automobile market data 506, or
various inefficiencies in the automobile industry may be          change with the passage of time. It should also be appreci-
minimized utilizing the presently disclosed system and 25 ated that automobile market data 506 may be tailored for a
method.                                                           particular manufacturer or dealer, for example, a manufac-
   FIG. 5 illustrates a block diagram of an example data          turer may request that a specific type of data that is not
architecture 500. In the example data architecture 500,           normally stored or used be stored in the database system
interface data 502, administrative data 504, and automobile       310. Accordingly, for example, customized reports may be
market data 506 interact with each other, for example, based 30 provided to a manufacturer interface 308 using that specific
on user commands or requests. The interface data 502,             data for the manufacturer.
administrative data 504, and automobile market data 506              The integration of the various types of automobile market
may be stored on any suitable storage medium (e.g., server        data 506 received from the consumer interface 304, dealer
226). It should be appreciated that different types of data       interface 306, and manufacturer interface 308 may provide
may use different data formats, storage mechanisms, etc. 35 a synergistic and optimal resource for consumers, dealers,
Further, various applications may be associated with pro-         and manufacturers alike. In an example embodiment, a
cessing interface data 502, administrative data 504, and          consumer may benefit greatly from using an application in
automobile market data 506. Various other or different types      a mobile device 103 to receive both intrabrand information
of data may be included in the example data architecture          and interbrand information in real-time, based only on
500.                                                           40 taking a picture of VIN. Dealers and manufacturers may be
   Interface data 502 may include input and output data of        able to provide information to the consumer in a marmer that
various kinds. For example, input data may include mouse          highlights the benefits of the products the respective dealer
click data, scrolling data, hover data, keyboard data, touch      or manufacturer would like to sell. The intrabrand and
screen data, voice recognition data, etc., while output data      interbrand information provided on a consumer interface
may include image data, text data, video data, audio data, 45 304 may allow the best automobile options for a particular
etc. Interface data 502 may include formatting, user inter-       consumer to be provided to that consumer, may allow
face options, links or access to other websites or applica-       dealers to compete with other dealers taking into account a
tions, and the like. Interface data 502 may include applica-      greater amount of automobile market information, and may
tions used to provide or monitor interface activities and         allow manufacturers to better follow through with opportu-
handle input and output data.                                  50 nities for sales, which may result in a more efficient auto-
   Administrative data 504 may include data and applica-          mobile market.
tions regarding user accounts. For example, administrative           Automobile market data 506 may be maintained in vari-
data 504 may include information used for updating                ous servers 108, in databases or other files. It should be
accounts, such as creating or modifying manufacturer              appreciated that, for example, a host device 104 may
accounts or dealer accounts. Further, administrative data 504 55 manipulate automobile market data 506 in accordance with
may include access data and/or security data. Administrative      the administrative data 504 and interface data 502 to provide
data 504 may interact with interface data in various manners,     requests or reports to users 114 including consumers, deal-
providing a user interface 304, 306, 308 with administrative      ers, and manufacturers, and perform other associated tasks.
features, such as implementing a user login and the like.         It should also be appreciated that automobile market data
   Automobile market data 506 may include, for example, 60 506 represents automobile market information, and that
executed sales data 508, consumer data 510, dealer data 512,      these terms may be used interchangeably in this disclosure
manufacturer data 514, statistical data 516, and/or historical    depending upon the context.
data 518. Executed sales data 508 may include actual                 FIG. 6 is flow diagram illustrating an example process
negotiated prices for manufacturer and dealer sales, differ-      600 for facilitating an automobile transaction, according to
ences in list prices to negotiated prices, sales demographics, 65 an example embodiment of the present invention. Although
etc. Consumer data 510 may include consumer search activ-         the process 600 is described with reference to the flow
ity, consumer requests and offers, consumer feedback, etc.        diagram illustrated in FIG. 6, it will be appreciated that

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many other methods of performing the acts associated with       system 302 may send the bid selection to the dealer interface
the process 600 may be used. For example, the order of          306 (block 624). The dealer may receive the bid selection
many of the blocks may be changed, certain blocks may be        and coordinate a sale by, for example, transporting the
combined with other blocks, and many of the blocks              automobile from one dealer location to the dealer location
described are optional.                                       5 selected for delivery (block 626). Also, for example, the
   In the example process 600, data may flow between the        dealer may provide contract or loan documents, collect a
automobile market information processing system 302 and a       deposit or down payment, or the like. As discussed above, in
consumer interface 304 and a dealer interface 306, as           each of blocks 606, 614, 626, and 634, the automobile
discussed above based on consumer and dealer interaction        market information processing system 302 may update the
with the automobile market information processing system 10 automobile market information in the database system 310
302. It should be appreciated that the automobile market        based on the information received from the consumer,
information processing system 302 may update the automo-        dealer, and/or manufacturer.
bile market information stored in the database system 310          For exemplary purposes, the present disclosure discusses
when automobile market information is received from a           a various examples relating to a purchase of a car. However,
consumer, a dealer, or a manufacturer, or from any other 15 it should be appreciated that the disclosed system, methods,
information source. Accordingly, the automobile market          and apparatus may be advantageously used in relation to
information may remain current and/or provide sufficiently      various automobiles other than cars including, for example,
recent data for the benefit of consumers, dealers, and/or       trucks, vans, sport utility vehicles, jeeps, motorcycles, com-
manufacturers.                                                  mercial vehicles, and/or automobiles that have a VIN and
   The example process 600 may begin with a consumer 20 require a license plate to operate.
taking a picture of a VIN using a mobile phone application         It will be appreciated that all of the disclosed methods and
(block 602). The consumer interface 304 may use OCR to          procedures described herein can be implemented using one
determine and provide the VIN to the automobile market          or more computer programs or components. These compo-
information processing system 302 to provide a consumer         nents may be provided as a series of computer instructions
request (block 604). It should be appreciated that OCR may 25 on any conventional computer-readable medium, including
occur in the automobile market information processing           RAM, ROM, flash memory, magnetic or optical disks,
system 302 or at the consumer interface 304. The automo-        optical memory, or other storage media. The instructions
bile market information processing system 302 receives the      may be configured to be executed by a processor, which
consumer request and prepares automobile market informa-        when executing the series of computer instructions performs
tion based on the request (block 606). The automobile 30 or facilitates the performance of all or part of the disclosed
market information processing system 302 may send a bid         methods and procedures.
request and automobile market information based on the             Further, it will be appreciated that the presently disclosed
consumer request to the dealer interface 306 for one or more    system, methods, and apparatus for performing automobile
dealers (block 608). It should be appreciated that while the    transactions may be utilized in conjunction with other sys-
consumer request is automobile market information, typi- 35 terns or methods. For example, the presently disclosed
cally, additional automobile market information would be        system, methods, and apparatus may be used in conjunction
provided with the consumer request. For example, typically,     with the disclosure in the co-pending commonly-owned
data relating to recent sales of the requested automobile       patent application filed on Jul. 5, 2011, entitled "AUTO-
and/or comparable automobiles may be provided. In an            MOBILE TRANSACTION FACILITATION USING A
example embodiment, a target price or "true" value of the 40 MANUFACTURER RESPONSE," U.S. application Ser.
requested automobile may be provided. One or more dealers       No. 13/176,497, the entire contents of which are hereby
receive the bid request and automobile market information,      incorporated by reference herein, and in an example embodi-
determine prices and delivery options for the automobile        ment, the features of which may be combined with the
using the automobile market information, and prepare and        features of the present disclosure.
provide bids for the consumer (block 610). A dealer bid may 45     It should be understood that various changes and modi-
be sent from the dealer interface 306 to the automobile         fications to the example embodiments described herein will
market information processing system 302 for each dealer        be apparent to those skilled in the art. Such changes and
that wants to provide a bid (block 612). The automobile         modifications can be made without departing from the spirit
market information processing system 302 receives and           and scope of the present subject matter and without dimin-
processes dealer bids and prepares the bids and automobile 50 ishing its intended advantages. It is therefore intended that
market data for the consumer (block 614).                       such changes and modifications be covered by the appended
   The automobile market information processing system          claims.
302 may send dealer bids and automobile market informa-
tion to the consumer interface 304 (block 616). It should be       The invention is claimed as follows:
appreciated that automobile market information may be 55           1. A method comprising:
provided to the consumer before dealer bids are provided,          receiving, via a consumer interface, a first request for a
and/or concurrently with dealer bids. The consumer may                response regarding a first automobile, the first request
receive the dealer bids and automobile market information             made by a consumer located at a first location and
and may select a bid including a delivery option based on the         including geolocation information of the consumer;
automobile market information (block 618). The consumer 60         executing instructions, by at least one processing device,
interface 304 may send to the automobile market informa-              to:
tion processing system 302 a selection of a bid indicating            determine, based on the geolocation information, that
that the consumer wants to purchase or lease the automobile               the consumer is located at the first location;
based on the selected bid (block 620). The automobile                 generate, based on the first location, an in-market
market information processing system 302 receives and 65                  dealer area proximately located to the first location;
processes the consumer bid selection (block 622). For                 determine that a first dealer is located at a second
example, the automobile market information processing                     location within the in-market dealer area;

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                                                     US 10,223,722 B2
                              19                                                                    20
      receive, via a dealer interface, a first bid from the first       15. The method of claim 14, wherein the first automobile
         dealer located at the second location within the            is at a consumer's chosen pickup location, such that the first
         in-market dealer area;                                      automobile does not need to be transported to the consum-
      generate, after receiving the first bid, driving directions    er's chosen picknp location.
         between the first location and the second location; 5          16. The method of claim 14, wherein the consumer
         and                                                         submits a request to the first dealer to change a first delivery
      provide the first bid and the driving directions via the       option to include the consumer's chosen pickup location.
         consumer interface, the first bid including at least a         17. The method of claim 16, wherein, based on the
         price for the first automobile.                             consumer's request to change the first delivery option, the
   2. The method of claim 1, wherein the first automobile is 10 first dealer provides a second delivery option including the
one of a particular type of car with a specific set of features      consumer's chosen pickup location.
and a particular car with a specific vehicle identification             18. The method of claim 17, wherein a notification is sent
number.                                                              to the consumer that the first automobile is available for
   3. The method of claim 1, wherein the first bid is an             picknp at the consumer's chosen pickup location.
inventory less bid requiring the first automobile to be at least 15     19. The method of claim 18, wherein the consumer picks
one of manufactured and transferred from the inventory of            up the first automobile at the consumer's chosen pickup
another entity to the first dealer.                                  location.
   4. The method of claim 1, wherein the first bid includes             20. The method of claim 17, wherein the first automobile
a first delivery option which specifies a first pickup location      is transported to the consumer's chosen pickup location.
at the first dealer and a second delivery option which 20               21. The method of claim 20, wherein the first automobile
specifies a different second pickup location, wherein a              is transported directly from a third location to the consum-
consumer selection indicates a consumer intention to pur-            er's chosen picknp location.
chase the first automobile based on the first bid and specifies         22. The method of claim 21, wherein a second dealer is
one of the first delivery option and the second delivery             located at the third location.
option.                                                           25    23. The method of claim 22, wherein the first dealer and
   5. The method of claim 1, further comprising:                     the second dealer are commonly owned.
   executing instructions, by the at least one processing               24. The method of claim 21, wherein a manufacturer is
      device, to process a consumer selection of the first bid       located at the third location.
      to facilitate executing a sale including at least one of          25. The method of claim 1, wherein the first dealer
      providing for electronic signature of documents and 30 provides the first automobile to the consumer at a pickup
      providing for an electronic funds transfer.                    location by one of (i) having the first automobile transported
   6. The method of claim 5, wherein the first automobile is         to the pickup location and (ii) having a manufacturer pro-
made available for pickup at the first dealer according to a         duce the first automobile.
consumer selected first delivery option.                                26. The method of claim 1, further comprising:
   7. The method of claim 1, further comprising:                  35    determine that a second dealer is located at a third location
   executing instructions, by the at least one processing                  within the in-market dealer area;
      device, to provide via the consumer interface at least            receive, via the dealer interface, the second bid from the
      one of a financing plan, a service plan, an insurance                second dealer located at the third location within the
      plan, a warranty, and a hard add accessory, for at least             in-market dealer area;
      the first automobile, which is at least one of provided 40        generate, after receiving the second bid, second driving
      and offered by the first dealer.                                     directions between the first location and the third
   8. The method of claim 1, wherein the first dealer is at                location; and
least one of a franchise dealer and a non-franchise distribu-           provide the second bid and the second driving directions
tion location.                                                             via the consumer interface, the second bid including at
   9. The method of claim 1, further comprising:                  45       least a price for the first automobile.
   executing instructions, by the at least one processing               27. A system comprising:
      device, to provide a manufacturer response via the                a computer readable medium storing instructions; and
      consumer interface including an acknowledgement of                at least one processing device operably coupled to the
      interest.                                                            computer readable medium, the at least one processing
   10. The method of claim 1, further comprising:                 50       device the executing instructions to:
   executing instructions, by the at least one processing                  receive, via a consumer interface, a first request for a
      device, to provide a manufacturer response via the                      response regarding a first automobile, the first
      consumer interface including at least one of a verifi-                  request made by a consumer located at a first loca-
      cation, a confirmation, and an offer indicating that the                tion and including geolocation information of the
      first automobile can be provided for the consumer.          55          consumer;
   11. The method of claim 1, wherein the first request is                 determine, using the geolocation information, that the
made by the consumer using a mobile device which takes a                      consumer is located at the first location;
picture of a vehicle identification number, and in the first bid           generate, based on the first location, an in-market
from the first dealer, the first automobile is an interbrand                  dealer area proximately located to the first location;
comparable car which is located at the first dealer.              60       determine that a first dealer is located at a second
   12. The method of claim 1, wherein the consumer is at                      location within the in-market dealer area;
least one of a person and an entity.                                       receive, via a dealer interface, a first bid from the first
   13. The method of claim 1, wherein the consumer chooses                    dealer located at the second location within the
a pickup location.                                                            in-market dealer area;
   14. The method of claim 1, wherein the first dealer is one 65           generate, after receiving the first bid, driving directions
of a franchise entity and a non-franchise entity distribution                 between the first location and the second location;
location.                                                                     and

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                             21                                                                 22
     provide the first bid and the driving directions via the        receive, via a consumer interface, a first request for a
         consumer interface, the first bid including at least a        response regarding a first automobile, the first request
         price for the first automobile.                                made by a consumer located at a first location and
   28. The system of claim 27, wherein the consumer inter­              including geolocation information of the consumer;
face only receives as an input a picture, from an image 5            determine, using the geolocation information, that the
sensor, to generate a request.                                          consumer is located at the first location;
   29. The system of claim 27, wherein the consumer inter­
face is configured to receive input from at least one of a           generate, based on the first location, an in-market dealer
touch screen and a barcode scanner.                                     area proximately located to the first location;
   30. The system of claim 27, wherein the consumer inter-           determine that a first dealer is located at a second location
                                                                10
face is configured to toggle between different viewing                 within the in-market dealer area;
options.                                                             receive, via a dealer interface, a first bid from the first
   31. The system of claim 27, wherein one or more appli­               dealer located at the second location within the in­
cations are confi gured to handle input or output data.                 market dealer area;
   32. The system of claim 27, wherein the consumer inter­           generate, after receiving the first bid, driving directions
face is provided on a mobile device that stores an application 15       between the first location and the second location; and
configured to take a picture of a vehicle identification
number.                                                              provide the first bid and the driving directions via the
   33. A non-transitory computer readable medium storing                consumer interface, the first bid including at least a
instructions which, when executed, are confi gured to cause             price for the first automobile.
an information processing apparatus to:                                                  * * * * *




                                                         Appx1106
                 Case: 23-1362              Document: 30 Page: 294 Filed: 12/05/2023
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c12)   United States Patent                                                         (IO) Patent No.:                        US 10,796,362 B2
       Seergy et al.                                                                (45) Date of Patent:                                    *Oct. 6, 2020

(54)   USED AUTOMOBILE TRANSACTION                                             (58)        Field of Classification Search
       FACILITATION FOR A SPECIFIC USED                                                    CPC ................. G06Q 30/0601-0645; G06Q 30/80
       AUTOMOBILE                                                                                                (Continued)

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                    This patent is subject to a terminal dis-
                    claimer.                                                  Primary Examiner - Brandy A Zukanovich
                                                                              (74) Attorney, Agent, or Firm - K&L Gates LLP
(21)   Appl. No.: 16/200,078
                                                                               (57)                                   ABSTRACT
(22)   Filed:       Nov. 26, 2018                                              A system, methods, and apparatus for performing used
                                                                               automobile transactions are disclosed. In an example
(65)                  Prior Publication Data                                   embodiment, automobile market data representative of cur-
       US 2019/0095987 Al           Mar. 28, 2019                              rent automobile market characteristics is stored. The auto-
                                                                               mobile market data may include pricing and consumer
                Related U.S. Application Data                                  interest information received from consumers, dealers, and
(63)   Continuation of application No. 15/284,181, filed on                    manufacturers. A consumer seller or manufacturer off-lease
       Oct. 3, 2016, now Pat. No. 10,140,655, which is a                       seller may provide a request for a response regarding a
                                                                               specific used automobile with a specific a vehicle identifi-
                        (Continued)
                                                                               cation number. Automobile market data may be provided to
(51)   Int. Cl.                                                                a used automobile buyer based on the request. Bids to
       G06Q 30/00              (2012.01)                                       purchase the specific used automobile may be requested
       G06Q 30/08              (2012.01)                                       from used automobile buyers based on the request. Buyer
                                                                               bids may be provided to the consumer seller or manufacturer
                         (Continued)                                           off-lease seller with prices and a delivery options. The
(52)   U.S. Cl.                                                                consumer seller or manufacturer off-lease seller may select
       CPC ............. G06Q 30/08 (2013.01); G0lC 21134                      a bid to sell the specific used automobile based on the bid.
                         (2013.01); G0lC 2113679 (2013.01);
                           (Continued)                                                                63 Claims, 7 Drawing Sheets

                                                        300----,.

                                                                                                           302

                                                  Automobile Market Information Processing System

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                                                                    ~o                              ~2

                                                 Database System              Recommendation Engine


                                                                    314                             316
                                                Vehicle Identification
                                                                              Interface Generation Unit
                                                 Number Processor




                                                                   304                     306                  308
                                                                                                 Manufacturer
                                             Consumer Interface           Dealer Interface
                                                                                                  Interface
                                                  318              320               322                  324
                                           Used Auto      Used Auto         Used Auto             Off-Lease
                                             Seller          Buyer             Buyer                 Seller
                                           Interface       Interface         Interface             Interface




                                             uu u u
                                           User 114       User 114



                                                                  Appx1107
                                                                             User 114             User 114
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                                                                         Computing Device                                               e
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                                                         214       ¥     102,104                                                        00
                                                                                                                                        •
                                        Keyboard, mouse,                                                                                 ~
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                                        and/or other input                                                                               ~
                                                                                                                                        ~
                                            device(s)
                                                                        220        Network                                              =~

           Main Unit 202                                                           device
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                                        speaker(s), and/or                                                                              r.,;_
                    Display                                      CD(s), DVD(s),                   Databases, programs,
                                           other output            and/or other                files, configuration, index,              ""'"'
                                             devices             storage devices                   tags, access, usage,
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                                                                                                 statistical, security data
                                                                                                                                       w0--,
                                                                                                                                         N
                                                               Fig. 2                                                                   =N
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                                                                        t 302
            Automobile Market Information Processing System
                          /310                                  /312

           Database System                     Recommendation Engine


                          /314                                  /316
          Vehicle Identification
                                               Interface Generation Unit
           Number Processor


           ' I
                                      j~                           a



           ,, /304                    ,, /306                      ,,   / 3 08


       Consumer                     Dealer                   Manufacturer
        Interface                  Interface                  Interface




       User 114                    User 114                    User 114




                                   Fig. 3A



                                    Appx1111
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                                                                             t 302
            Automobile Market Information Processing System
                               /310                                /312

            Database System                     Recommendation Engine


                               /314                                /316
          Vehicle Identification
                                                Interface Generation Unit
           Number Processor


                  j   l                            j   l                Jl




                  '   .        /304                '   .   /306         H     / 3 08
                                                                  Manufacturer
       Consumer Interface                   Dealer Interface
                                                                   Interface
          /318                /320                     /322              /324
     Used Auto            Used Auto           Used Auto             Off-Lease
        Seller               Buyer               Buyer                Seller
      Interface            Interface           Interface            Interface




     User 114             User 114             User 114             User 114


                                         Fig. 38



                                          Appx1112
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                                   (    Start   )          ;-400

                                         +                                  ,402
  Automobile market data including at least pricing data is stored in a database
    system (e.g., data from consumers, dealers, manufacturers, and industry           .,_
   analysts, regarding pricing, inventory, insurance information, quality ratings,
     safety ratings, and other ratings is collected and stored in a database)

                                         t
    A request for a response regarding a used automobile is received from a
                                                                            ,404

 consumer seller (e.g., a used car seller takes a picture of the VIN of a used car    __..,.
  and fills in price parameters and other information into a mobile application to
                  receive a response based on current market data)

                                         t
  Automobile market data is provided to used automobile buyers based on the
                                                                            ,406

consumer seller request (e.g., a group of consumers and dealers receive a real-
time report including local used car sales data, inventory data, quality and safety
   ratings data, insurance data, and gas mileage data of the specific used car)

                                         t                                  ,408
  A bid to purchase the automobile from the consumer seller is requested from
used automobile buyers (e.g., a group of consumers and dealers within a certain       __..,.
  radius of the used car seller receive a bid request based on buyer searches)

                                         +                                  r-410
  Buyer bids are provided to the consumer seller (e.g., several consumers and
  dealers provide bids based on current pricing data, options information on the      __..,.
 specific used car, and potential pickup locations, so several different prices and
             delivery options may be available to the used car seller)

                                       +                                 r-412
 The consumer seller selects a buyer bid including a price and a delivery option
(e.g., the used car seller chooses to sell the used car based on the price and the    __..,.
                     pickup location of a consumer buyer bid)

                                     +                               r-414
    The consumer seller and used automobile buyer execute the sale of the
    automobile (e.g., the used car buyer e-signs a contract and electronically        __..,.
       transfers funds to the used car seller based on the consumer bid)

                                     t                               ,416
 The consumer seller makes the purchased used automobile available according
  to the consumer seller bid selection (e.g., the seller drives the used car to the
     pickup location if the pickup location is not the used car seller's location)

                                      +                             r-418
 The used automobile buyer receives the purchased used automobile according
    to the consumer seller selected delivery option (e.g., the used car buyer
 receives the used car at the pickup location the same day the sale is executed)         Fi g.4


                                           Appx1113
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                                           !500
                        t     502                                              t     504
       Interface Data                                    Administrative Data
                                   -

 E G          Jl
                                   ~

                                                --     Account
                                                     Information

                                                                   Jl
                                                                        Access and
                                                                         Security



              ,,                         /506                      ,,
                            Automobile Market Data

                        /508                                       /510


        Executed Sales Data                           Consumer Data



                        /512                                       /514


              Dealer Data                            Manufacturer Data



                        /516                                       /518


           Statistical Data                           Historical Data




                                       Fig. 5



                                       Appx1114
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           600\            ;-318, 324                                ;-302                                             ;-320, 322
                                                                                                                                         e
                                                                                                                                         •
                                                                                                                                         00
                                            I                                                   I
                                                                                                                                         •
                                            I                                                                                            ~
                            602 604         I                             /606 608                                            /610
                                                                                            \! I\                                        ~
                                            I                                                                                            ~
             Seller takes a                                    System receives             Bid request\\          Used auto buyers       ~

            picture of a VIN             Seller               seller request and            and auto     )       receive bid request     ~
                                                                                                                                         =
           and enters pricing           Request                    prepares                  market    ;           and automobile
              parameters                                      automobile market            information/           market information
                                                              data based on the                 I                to determine prices
                                                                    request                     I                    and delivery        (')
                                                                                                I
                                                                                                I                   options for the      ...0
                                                                                                                                        ,..a--
                                                                                                I
                                                                                                I                   used auto and        N
                                                                          /614                                                           0
                                                                                       i!l_l_c612                    prepare and         N
                                                                                                                                         0
                                                               System receives                                   provide bids for the
                                    1   /1 : c616                                  \        Buyer bid
                                                                and processes                                      used auto seller
                        /618        / Buyer bids         I      buyer bids and         \
                                  /    and auto          I                                                                               rJJ
              Seller receives                                 prepares bids and                                                          ('D
                                                                                                                                         =-
                                  \     market                                                                                           ('D
              buyer bids and                                  automobile market                                                          .....
                                    ~nformation                                                                                          -....J




Appx1115
            automobile market                                   data for seller
                                                                                                                                         0
             information and                                                                                                             ....
                                        \~                                                                                               -....J
               selects a bid                I
           including a delivery             I

             option based on                                 ,------L-6_22 624                                                /626
                                  ?20   =:\:        '\         System receives              \   !       ~\       Buyer receives bid
            automobile market
                                        Selection    )        and proce~ses bid             Selection        )     selection and
                information             -~--1                                      1
                                                                  selection        L__-~~-               ,
                                                                                                                 coordinates a sale      d
                                                                                                                                         r.,;_

                                                                                                                                         "'""'
                                                                                                                                        --=
                                                                                                                                         -....l
                                                                                                                                         \0
                                                                                                                                         0--,
                                                                                                                                        w0--,
                                                                                                                                         N
                                                                  Fig. 6                                                                 N
                                                                                                                                         =
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                                                   US 10,796,362 B2
                              1                                                                 2
        USED AUTOMOBILE TRANSACTION                                used automobiles. Further, in many cases, a manufacturer
       FACILITATION FOR A SPECIFIC USED                            may want to sell used off-lease automobiles which have been
                 AUTOMOBILE                                        returned by consumer lessees. In many cases, a manufac-
                                                                   turer off-lease seller may not be able to receive the full
         CROSS REFERENCE TO RELATED                            5   market value of a used off-lease automobile.
       APPLICATIONS AND PRIORITY CLAIM
                                                                                             SUMMARY
   This application is a continuation of U.S. patent applica-
tion Ser. No. 15/284,181, filed on Oct. 3, 2016, which a              The present disclosure provides a new and innovative
continuation of Ser. No. 14/841,157, filed Aug. 31, 2015, 10 system, methods and apparatus for providing automobile
which is a continuation of Ser. No. 14/176,700, filed Feb. 10,     market information and facilitating used automobile trans-
2014, which is a continuation of U.S. patent application Ser.      actions. In an example embodiment, automobile market data
No. 13/207,858, filed on Aug. 11, 2011, which is a continu-        representative of current automobile market characteristics
ation-in-part of the following co-pending commonly-owned           is stored. The automobile market data may include pricing
patent applications filed on Jul. 5, 2011, entitled "AUTO- 15 and consumer interest information received from consum-
MOBILE TRANSACTION FACILITATION USING A                            ers, dealers, and manufacturers. A consumer seller or manu-
MANUFACTURER RESPONSE," application Ser. No.                       facturer off-lease seller may provide a request for a response
13/176,497, and entitled "AUTOMOBILE TRANSAC-                      regarding a specific used automobile with a specific a
TION FACILITATION BASED ON CUSTOMER SELEC-                         vehicle identification number. Automobile market data may
TION OF A SPECIFIC AUTOMOBILE," application Ser. 20 be provided to a used automobile buyer based on the request.
No. 13/176,525, now U.S. Pat. No. 8,744,925, issued Jun. 3,        Bids to purchase the specific used automobile may be
2014, the entire content of each of which is incorporated by       requested from used automobile buyers based on the
reference herein.                                                  request. Buyer bids may be provided to the consumer seller
                                                                   or manufacturer off-lease seller with prices and a delivery
                       BACKGROUND                               25 options. The consumer seller or manufacturer off-lease seller
                                                                   may select a bid to sell the specific used automobile based
   In the used automobile market, consumers typically sell         on the bid.
or trade in used automobiles to dealers or dealerships, or            Additional features and advantages of the disclosed
privately sell to other consumers, for example, through            method and apparatus are described in, and will be apparent
personal advertisements. Dealers often purchase used auto- 30 from, the following Detailed Description and the Figures.
mobiles from consumers as part of a deal for a new auto-
mobile, typically referred to as a trade in. Typically, a                   BRIEF DESCRIPTION OF THE FIGURES
description of a used automobile in a personal advertisement
may include the make, model, and mileage of an automobile,            FIG. 1 is a high level block diagram of an example
but certain other relevant descriptive information may not be 35 network communicating system, according to an example
available to a potential buyer. Further, a dealer making a         embodiment of the present invention.
trade in offer for a used automobile may not have certain             FIG. 2 is a detailed block diagram showing an example of
relevant descriptive information on that used automobile. In       a computing device, according to an example embodiment
many cases, the negotiation process for a used automobile          of the present invention.
may include a large degree of uncertainty for consumers, 40           FIGS. 3A and 3B provide a block diagram, each showing
including both a selling consumer and a purchasing con-            an example automobile transaction network structure,
sumer. A consumer seller may be particularly disadvantaged         according to an example embodiment of the present inven-
when negotiating with a dealer for a trade in value, as dealers    tion.
typically have great knowledge and experience with the                FIG. 4 is a flowchart illustrating an example process for
process, while consumers typically do not. Generally, the 45 facilitating a used automobile transaction, according to an
negotiation process is a zero sum process, and because a           example embodiment of the present invention.
consumer seller of a used automobile and a used automobile            FIG. 5 is a block diagram showing an example data
buyer are each trying to get a better deal, there is typically     architecture, according to an example embodiment of the
some lack of trust during the negotiation. Accordingly, used       present invention.
automobile buyers and sellers, including consumers and 50             FIG. 6 is flow diagram illustrating an example process for
dealers, often base the negotiations on established market         facilitating a used automobile transaction, according to an
prices. However, market prices can fluctuate rapidly depend-       example embodiment of the present invention.
ing a variety of factors. For example, consumer demand may
be affected by economic factors, such as changes in gasoline               DETAILED DESCRIPTION OF EXAMPLE
prices, unemployment rates, government sponsored tax 55                                   EMBODIMENTS
rebates for automobile purchases, etc.
   In many cases, a consumer seller of a used automobile              The present disclosure relates in general to a system for
may have concerns that a buyer may not offer a fair and            facilitating used automobile transactions and, in particular,
competitive price. Various products and services have              to an automobile transaction for a specific used automobile.
become available that allow sellers and buyers, including 60 Briefly, in an example embodiment, a system is provided
consumers and dealers, to perform research on market prices        which allows a consumer seller or a manufacturer off-lease
for used automobiles. Typically, the highest possible value        seller of a used automobile to request bids and information
available to a consumer seller may be through a sale to            regarding a specific automobile identified with a specific
another consumer, as opposed to trading in the used auto-          vehicle identification number. For example, a consumer may
mobile to a dealer.                                             65 use a mobile device to take a picture of a vehicle identifi-
   In addition to consumers and dealers, automobile manu-          cation number and may enter a desired price range or
facturers may also have an interest in the resale values of        minimum asking price. The specific automobile may be

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identified using optical character recognition to provide, for    uses the presently disclosed system and may include a wide
example, a full list of the original manufacturer features and    variety of parties. For example, as will be discussed in
options, and the original manufacturer suggested retail price     further detail below, users 114 of the presently disclosed
and invoice information, for that specific used automobile        system may include a consumer, a dealer, and/or a manu-
based on the vehicle identification number. Accordingly, the 5 facturer.
consumer seller need not enter all of this information, but          Typically, host devices 104 and servers 108 store one or
may request bids and information in real-time for that            more of a plurality of files, programs, databases, and/or web
specific used automobile. Used automobile buyers may              pages in one or more memories for use by the client devices
include consumers and/or dealers which may provide bids           102, and/or other host devices 104 or servers 108. A host
based on the consumer seller request using real-time auto- 10 device 104 or server 108 may be configured according to its
mobile market information. A consumer seller may select a         particular operating system, applications, memory, hard-
buyer bid to sell a used automobile based on the prices and       ware, etc., and may provide various options for managing
delivery options available. Accordingly, typically unavail-       the execution of the programs and applications, as well as
able or difficult to obtain data may be provided for offering     various administrative tasks. A host device 104 or server
a used automobile for sale, including a full listing of the 15 may interact via one or more networks with one or more
manufacturer features and options, EPA mileage, safety            other host devices 104 or servers 108, which may be
ratings, recalls, quality reports, estimated insurance costs,     operated independently. For example, host devices 104 and
etc. In an example embodiment, a manufacturer off-lease           servers 108 operated by a separate and distinct entities may
seller may select a buyer bid based on the prices and delivery    interact together according to some agreed upon protocol.
options to maximize value, for example, by reducing costs 20         A detailed block diagram of the electrical systems of an
typically associated with selling an off-lease automobile.        example computing device (e.g., a client device 102, and a
The used automobile market is presently approximately             host device 104) is illustrated in FIG. 2. In this example, the
three times the size of the new automobile market in the          computing device 102, 104 includes a main unit 202 which
United States, as approximately 40 million used automobiles       preferably includes one or more processors 204 electrically
are sold each year. Accordingly, the present disclosure may 25 coupled by an address/data bus 206 to one or more memory
be helpful for facilitating large numbers of used automobile      devices 208, other computer circuitry 210, and one or more
transactions. In an example embodiment, the disclosed sys-        interface circuits 212. The processor 204 may be any suit-
tem matches seller and buyer parameters, such as price and        able processor, such as a microprocessor from the INTEL
pickup location, to facilitate a live bidding process, which      PENTIUM® family of microprocessors. The memory 208
allows a used automobile seller to accept or reject bids using 30 preferably includes volatile memory and non-volatile
a great deal of information not typically available. In a         memory. Preferably, the memory 208 stores a software
non-limiting example embodiment, certain features dis-            program that interacts with the other devices in the system
closed in the present patent application may be commer-           100 as described below. This program may be executed by
cially embodied in products and services offered by Sidekick      the processor 204 in any suitable marmer. In an example
Technology LLC, the assignee of the present application. 35 embodiment, memory 208 may be part of a "cloud" such
   The present system may be readily realized in a network        that cloud computing may be utilized by a computing
communications system. A high level block diagram of an           devices 102, 104. The memory 208 may also store digital
example network communications system 100 is illustrated          data indicative of documents, files, programs, web pages,
in FIG. 1. The illustrated system 100 includes one or more        etc. retrieved from a computing device 102, 104 and/or
client devices 102, and one or more host devices 104. The 40 loaded via an input device 214.
system 100 may include a variety of client devices 102, such         The interface circuit 212 may be implemented using any
as desktop computers and the like, which typically include        suitable interface standard, such as an Ethernet interface
a display 112, which is a user display for providing infor-       and/or a Universal Serial Bus (USB) interface. One or more
mation to users 114, and various interface elements as will       input devices 214 may be connected to the interface circuit
be discussed in further detail below. A client device 102 may 45 212 for entering data and commands into the main unit 202.
be a mobile device 103, which may be a cellular phone, a          For example, the input device 214 may be a keyboard,
personal digital assistant, a laptop computer, a tablet com-      mouse, touch screen, track pad, track ball, isopoint, image
puter, etc. The client devices 102 may communicate with the       sensor, character recognition, barcode scanner, microphone,
host device 104 via a connection to one or more communi-          and/or a speech/voice recognition system.
cations charmels 106 such as the Internet or some other data 50      One or more displays 112, printers, speakers, and/or other
network, including, but not limited to, any suitable wide area    output devices 216 may also be connected to the main unit
network or local area network. It should be appreciated that      202 via the interface circuit 212. The display 112 may be a
any of the devices described herein may be directly con-          cathode ray tube (CRTs), a liquid crystal display (LCD), or
nected to each other instead of over a network. Typically,        any other type of display. The display 112 generates visual
one or more servers 108 may be part of the network 55 displays generated during operation of the computing device
communications system 100, and may communicate with               102, 104. For example, the display 112 may provide a user
host servers 104 and client devices 102.                          interface, which will be described in further detail below,
   One host device 104 may interact with a large number of        and may display one or more web pages received from a
users 114 at a plurality of different client devices 102.         computing device 102, 104. A user interface may include
Accordingly, each host device 104 is typically a high end 60 prompts for human input from a user 114 including links,
computer with a large storage capacity, one or more fast          buttons, tabs, checkboxes, thumbnails, text fields, drop
microprocessors, and one or more high speed network               down boxes, etc., and may provide various outputs in
connections. Conversely, relative to a typical host device        response to the user inputs, such as text, still images, videos,
104, each client device 102 typically includes less storage       audio, and animations.
capacity, a single microprocessor, and a single network 65           One or more storage devices 218 may also be connected
connection. It should be appreciated that a user 114 as           to the main unit 202 via the interface circuit 212. For
described herein may include any person or entity which           example, a hard drive, CD drive, DVD drive, and/or other

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storage devices may be connected to the main unit 202. The            306, or manufacturer interface 308, respectively. A database
storage devices 218 may store any type of data, such as               system 310 may include a wide variety of automobile
pricing data, transaction data, operations data, inventory            market data. A recommendation engine 312 may provide
data, commission data, manufacturing data, image data,                recommendations for consumers, dealers, and manufactur-
video data, audio data, tagging data, historical access or 5 ers. A vehicle identification number processor 314 may be
usage data, statistical data, security data, etc., which may be       used for making requests regarding specific automobiles and
used by the computing device 102, 104.                                automobiles with specific sets of features. For example, a
    The computing device 102, 104 may also exchange data              vehicle identification number processor 314 may determine
with other network devices 220 via a connection to the                a specific set of features that a specific car has based on a
network 106. Network devices 220 may include one or more 10 picture of that specific car's vehicle identification number.
servers 226, which may be used to store certain types of              Interface generation unit 316 may provide, for example,
data, and particularly large volumes of data which may be             HTML files which are used at the consumer interface 304,
stored in one or more data repository 222. A server 226 may           dealer interface 306, and manufacturer interface 308 inter-
include any kind of data 224 including databases, programs,           face to provide information to the users 114. It should be
files, libraries, pricing data, transaction data, operations data, 15 appreciated that he the consumer interface 304, dealer
inventory data, commission data, manufacturing data, con-             interface 306, and manufacturer interface 308 may be con-
figuration data, index or tagging data, historical access or          sidered to be part of the automobile market information
usage data, statistical data, security data, etc. A server 226        processing system 302, however, for discussion purposes,
may store and operate various applications relating to                the consumer interface 304, dealer interface 306, and manu-
receiving, transmitting, processing, and storing the large 20 facturer interface 308 may be referred to as separate from the
volumes of data. It should be appreciated that various                automobile market information processing system 302.
configurations of one or more servers 226 may be used to                 For example, a user 114 may interact with a consumer
support and maintain the system 100. For example, servers             interface 304 to research new or used automobiles the user
226 may be operated by various different entities, including          114 is interested in buying and/or selling. For example, a
automobile manufacturers, brokerage services, automobile 25 consumer may be looking for a four door sedan with specific
information services, etc. Also, certain data may be stored in        features, including a global positioning system (GPS), a
a client device 102 which is also stored on the server 226,           sunroof, tinted windows, rated for at least thirty miles per
either temporarily or permanently, for example in memory              gallon, four wheel drive, etc. The consumer may interact
208 or storage device 218. The network connection may be              with the consumer interface 304 by inputting required and/or
any type of network connection, such as an Ethernet con- 30 desired features, monthly budget or full price, etc. The
nection, digital subscriber line (DSL), telephone line,               consumer interface 304 may provide a wide variety of
coaxial cable, wireless connection, etc.                              features and specifications which the consumer may choose
   Access to a computing device 102, 104 can be controlled            from in providing a request. Based on the information put
by appropriate security software or security measures. An             into the consumer interface 304 from the consumer, the
individual users' 114 access can be defined by the comput- 35 consumer interface 304 may provide one or more reports or
ing device 102, 104 and limited to certain data and/or                offers to the consumer. As will be discussed in further detail
actions. Accordingly, users 114 of the system 100 may be              below, the information provided by the consumer interface
required to register with one or more computing devices               304 may include current market prices for automobiles,
102, 104. For example, registered users 114 may be able to            including information relating to additional features, and
request or manipulate data, such as submitting requests for 40 may include information on specific automobiles, for
pricing information or providing an offer or a bid.                   example, which may be en route to a dealer near the
   As noted previously, various options for managing data             consumer's present location or may be already owned by the
located within the computing device 102, 104 and/or in a              consumer. The automobile market information processing
server 226 may be implemented. A management system may                system 302 may process data received by the consumer
manage security of data and accomplish various tasks such 45 interface 304, as well as the dealer interface 306 and/or the
as facilitating a data backup process. A management system            manufacturer interface 308, to respond to a request from a
may be implemented in a client 102, a host device 104, and            consumer. For example, data from database system 310 may
a server 226. The management system may update, store,                be queried for use in a report, or a recommendation may be
and back up data locally and/or remotely. A management                provided by recommendation engine 312 according to the
system may remotely store data using any suitable method 50 consumer request and current market data. The automobile
of data transmission, such as via the Internet and/or other           market information processing system 302 may integrate
networks 106.                                                         data received from consumer interface 304, dealer interface
    FIGS. 3A and 3B provide block diagrams, each showing              306, and manufacturer interface 308 to provide current and
an example automobile transaction network structure 300.              accurate information relating to the automobile market.
As illustrated in FIG. 3A, the example automobile transac- 55            It should be appreciated that the consumer interface 304
tion network structure 300 includes an automobile market              may be specific to one particular manufacturer or may
information processing system 302, a consumer interface               provide information for automobiles manufactured by mul-
304, a dealer interface 306, and a manufacturer interface             tiple different manufacturers. For example, a consumer
308. The example automobile market information process-               interface 304 may be a website with information for many
ing system 302 may be implemented on one or more host 60 manufacturers. For example, the consumer interface 304
devices 104 accessing one or more servers 108, 226. In an             may access or link to the manufacturer specific websites
example embodiment, the automobile market information                 (e.g., Ford), particularly with regard to new automobile
processing system 302 includes a database system 310, a               information, but also for used automobile information. Also,
recommendation engine 312, a vehicle identification number            for example, a consumer interface 304 may be implemented
processor 314, and an interface generation unit 316. A user 65 as an automobile manufacturer's website. Typically, a manu-
114 may be a consumer, a dealer, or a manufacturer that               facturer's website may provide consumers with a catalog
interacts with the consumer interface 304, dealer interface           like feature that provides information on different automo-

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bile models with any available options or features. For           etc. for providing an analysis for a particular consumer
example, a manufacturer website may allow a consumer to           regarding purchasing or leasing. Also, the consumer inter-
select options that are desired to "build" a particular new       face 304 may provide a purchase checklist, for example, of
automobile, and may provide price comparisons using sug-          ten steps to buying a car. A qualitative checklist may allow
gested retail prices, which may consumers use for initial 5 a user to ask the right questions and get the right answers
research into what pricing the dealer may offer for a par-        from a dealer. Additional tips may be provided, such as a list
ticular automobile with a particular feature set. Also, typi-     of products or services dealers may attempt to sell to a
cally, the consumer may enter information, including, for         consumer with an analysis of the value of these products or
example, name, an address or zip code, and telephone              services and a recommendation to accept or decline these
number. This information may be passed on from the 10 dealer offers. Further, beyond analysis relating to automo-
manufacturer to a nearby dealer and/or nearby dealer infor-       biles, additional analysis or reports may be provided, for
mation may be provided to the consumer (e.g., the dealer in       example, relating to dealer reviews, other supplemental
or nearest to the consumer's entered zip code). Accordingly,      products, financial entities that may provide financing, etc.
the dealer may contact the consumer, or the consumer may          For example, dealer reviews may provide a consumer with
inquire with the dealer, regarding the specific automobiles 15 information the consumer may use in addition to automobile
available on that dealer's lot and particular pricing being       pricing and delivery options. Moreover, the consumer inter-
offered, etc. In many cases, consumers may not inquire with       face 304 may provide a wide variety of useful information
dealers that the manufacturer may recommend, and simi-            to a consumer, for at home research and preparation, and/or
larly, dealers may not diligently follow up with consumers        in a dealer location while shopping as a negotiating tool that
that have an interest in purchasing an automobile. Further, it 20 may provide confirmation on pricing, useful tips, and the
should be appreciated that the information provided via a         like. As will be discussed in FIG. 3B in further detail below,
consumer interface 304 and/or a manufacturer website may          the consumer interface 304 may include a used automobile
be very useful to consumers. For example, in the past,            seller interface 318 and a used automobile buyer interface
dealers often provided brochures with all the information on      320.
a manufacturer's available car models, including all the 25          In an example embodiment, a dealer interface 306 may
features and options information. However, dealers typically      provide a user 114, such as a dealer employee, information
do not provide comprehensive information brochures, which         relating to the current automobile market. The dealer inter-
may be relatively expensive to produce, and rather, that          face 306 allows a dealer to interact with automobile market
information is typically located on a manufacturer website        information processing system 302 to provide the dealer
and/or a consumer interface 304. It should also be appreci- 30 with a wide variety of information, including, for example,
ated that information on a manufacturer website and/or a          current market pricing. Other automobile market informa-
consumer interface 304 may be directed to both new and            tion a dealer may receive on a dealer interface 306 includes
used automobiles. For example, historical and statistical         information relating to lot inventory, turnover rates, auto-
information which demonstrates favorable safety ratings,          mobile transportation and/or shipping costs, incentives, and
quality and reliability data, low maintenance costs, low 35 various ratings, such as ratings relating to quality, safety,
insurance prices, low emissions, high gas mileage, etc. based     insurance, a consumer credit score, dealer ratings, residual
on specific models for specific years, and/or groups of           or resale values, etc. A dealer may input information into
models and years may be provided on a manufacturer                dealer interface 306 relating to sales data, including current
website and/or a consumer interface 304.                          pricing offered, special sales offers, actual transaction data,
   Accordingly, the consumer interface 304 may provide a 40 inventory data, etc. In an example embodiment, the dealer
wide range of information, for example, based on any              may provide information through dealer interface 306 which
searches or queries performed by a user 114. In an example        will be used by automobile market information processing
embodiment, based on a user search or request for a               system 302 to prepare reports or offers to consumers and/or
response, the consumer interface 304 will display a quality       manufacturers. It should be appreciated that a dealer is
index or value index based on normalized calculations for an 45 typically a franchise entity, while a distribution location may
automobile. The recommendation engine 312 may provide             not be a franchise entity. For brevity, throughout this speci-
recommendations to a consumer based on the current auto-          fication, the term dealer may be used to describe both
mobile market data stored in the automobile market infor-         franchise entity dealers and non-franchise entity distribution
mation processing system 302. For example, metrics on gas         location. Accordingly, as used in this disclosure, the term
mileage, emissions, operating and maintenance costs, safety 50 dealer does not indicate whether an entity is a franchise
ratings, etc. may be benchmarked against comparable auto-         entity. Moreover, a franchise dealer or a non-franchise
mobiles of the same and different manufacturers. Similar          distribution location may utilize a dealer interface 306 as
purchase options to a specific search may also be provided,       described herein.
based on feature matching, price range, consumer popular-            In an example embodiment, a manufacturer interface 308
ity, etc. Information including price ranges, including 55 may provide a user 114, such as a manufacturer employee,
MSRP, invoice prices, inventory levels, the user's 114 credit     information relating to the current automobile market,
ratings (e.g., FICO score), may be provided which may             including consumer requests. For example, an manufacturer
include monthly payment estimates or projections. It should       interface 308 may provide a manufacturer a request received
be appreciated that such data may be provided for both new        from a consumer interface 304. Additionally, the manufac-
and used automobiles. For example, a financing calculator 60 turer interface 308 may provide information such as a report
may help a user 114 determine what financing rate is              that allows the manufacturer to provide a response to the
appropriate for an automobile purchase. It should be appre-       requesting consumer. A report may include information from
ciated that dealers may mislead consumers into believing          database system 310 relating to current market pricing,
that a higher financing rate will be required to secure a loan.   recent sales figures and trends, current manufacturer incen-
Further, for example, a lease vs. buy calculator may be 65 tives, current inventory, including dealer inventory, inven-
provided which may use current market data including              tory in transit, and/or build times or lead times for a desired
prices, interest rates, incentives, estimated mileage per year,   automobile, etc. The manufacturer may use this information

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to provide a response to a consumer request. The manufac-            a dealer interface 306 primarily for facilitating sales of new
turer may provide the manufacturer interface 308 with                and used automobiles, however, the dealer interface 306
information to provide a confirmation, a verification, or an         may also be used to facilitate purchasing used automobiles.
offer to a consumer via consumer interface 304. For                  For example, a used automobile buyer interface 322 may be
example, a confirmation number associated with the par- 5 used by dealers similarly to the way that the used automobile
ticular consumer request may be provided for the consumer.           buyer interface 320 may be used by consumers. It should be
Also, a recommendation may be provided from the recom-               appreciated that in an example embodiment, the used auto-
mendation engine 312 to the manufacturer in relation to              mobile buyer interfaces 320, 322 may be similar or the same,
automobile pricing, responding to a specific request, manu-          and/or may integrated as part of single website or applica-
facturer incentives, inventory management, production 10 tion. In an example embodiment, a dealer may use the used
schedules, shipping schedules, etc. It should be appreciated         automobile buyer interface 322 to facilitate bringing a
that a manufacturer may be referred to as an OEM or                  consumer in to purchase a new automobile based on pro-
original equipment manufacturer. Further, it should be               viding a competitive bid to purchase a used automobile as a
appreciated that a manufacturer may include various related          trade in.
affiliate entities all doing business as, or operating under, the 15    A manufacturer interface 308 may include a used auto-
same manufacturer name. For example, a manufacturer                  mobile off-lease interface 324. For example, a manufacturer
typically may include a manufacturing company (e.g., oper-           may use a manufacturer interface 308 primarily for facili-
ating the manufacturing plant), a sales company (e.g., oper-         tating sales of new automobiles, however, the manufacturer
ating automobile sales activities), and a captive finance            interface 308 may also be used to facilitate selling off-lease
company (e.g., operating financing and leasing activities). 20 automobiles which have been returned by a consumer lessor
The manufacturer interface 308 may provide a manufacturer            whose lease is expiring. For example, an off-lease seller
with a real-time lens into the automobile market which may           interface 324 may be used by a manufacturer, typically, a
allow the manufacturer to adjust production schedules, pric-         captive finance company of the manufacturer, similarly to
ing plans, marketing activities, etc., which may provide a           the way that the used automobile seller interface 318 may be
significant advantage for manufacturers.                          25 used by consumers. It should be appreciated that, a manu-
   As illustrated in FIG. 3B, a consumer interface 304 may           facturer off-lease seller may have limited options to sell a
include a used automobile seller interface 318 and a used            used off-lease automobile and may have time constraints
automobile buyer interface 320. The used automobile seller           that are may be typically imposed on a consumer seller of a
interface 318 may be used by consumer sellers to sell used           used automobile. Typically, an off-lease automobile may be
automobiles, while the used automobile buyer interface 320 30 dropped off by a consumer lessee at any one of a variety of
may be used by consumers to buy used automobiles. It                 dealer locations. The manufacturer lessor may then wish to
should be appreciated that consumers may be able to access           sell the used off-lease automobile, however, the dealer where
both interfaces 318 and 320 from consumer interface 304. In          the off-lease automobile was dropped off may have a sig-
an example embodiment, the used automobile seller inter-             nificant bargaining advantage to purchase that automobile,
face 318 and a used automobile buyer interface 320 may be 35 as the manufacturer may need to sell the off-lease automo-
integrated within a single website or application, or for            bile quickly and may have limited options. Typically, the
example, may be implemented as distinct websites. Simi-              dealer may not offer the manufacturer off-lease seller full
larly, in an example embodiment, a used automobile buyer             market value for the off-lease automobile. It should be
interface 320 may be integrated with features of a consumer          appreciated that the manufacturer off-lease seller may trans-
interface 304 for searching both new and used automobiles 40 port the car to an auction in an attempt to obtain a higher
for purchase, or new and used automobiles may not be                 price. However, transportation costs, auction fees, and delay
simultaneously searchable on a particular implementation of          in selling the off-lease automobile may cause the manufac-
a consumer interface 304. As will be discussed further               turer off-lease seller to accept less than market value for the
below, a used automobile seller interface 318 may be used            off-lease automobile from the dealer, or otherwise not maxi-
by a consumer seller of a specific used automobile to receive 45 mize the value of the off-lease automobile. For example,
information on the specific automobile and request bids for          typically, an off-lease automobile sold at auction for near or
the specific automobile. Similarly, a used automobile buyer          even above the current market value is significantly offset by
interface 320 may be used for used automobile buyers to              transportation costs and auction fees.
receive information on a used automobile and place a bid on             The off-lease seller interface 324 may provide a manu-
that specific automobile.                                         50 facturer off-lease seller with leverage, not only through the
   It should be appreciated that, for example, a consumer            ability to obtain bids to purchase the off-lease automobile,
seller of a used automobile may be considered different than         but through the ability to determine the number of matches
a dealer seller of a used automobile in some respects. For           or search hits for an off-lease automobile. The dealer that has
example, a consumer seller of a used automobile is often             the off-lease automobile may know that the manufacturer
selling through different channels, such as offering for sale 55 may have the ability to track searches for the off-lease
in classified advertisements versus from a dealer lot. It            automobile performed by consumers and/or other dealers.
should be appreciated that such differences may be relevant          The manufacturer off-lease seller may provide the dealer in
to the ability to maximize the value of a sale or purchase of        possession of an off-lease automobile with matches and/or
a used automobile. Accordingly, where appropriate, the               bids, which may provide the dealer with firm evidence of
present disclosure may distinguish a consumer seller from a 60 current demand or interest in the off-lease automobile. The
dealer seller, or distinguish a consumer buyer from a dealer         dealer may be able to use this information to determine an
buyer. Also, as discussed in further detail below, a manu-           appropriate price, and possibly even more profitably than the
facturer off-lease seller of a used automobile may also be           manufacturer. Accordingly, a dealer may often be inclined to
considered different from a consumer seller and/or a dealer          make a significantly more competitive bid for an off-lease
seller.                                                           65 automobile. It should be appreciated that the manufacturer
   A dealer interface 306 may include a used automobile              may use the off-lease seller interface 324 to identify in-
buyer interface 322. For example, a typical dealer may use           market buyers, and even without receiving bids from those

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buyers, the manufacturer's bargaining power may improve,        is stored in a database system (block 402). For example,
resulting in a greater value for off-lease sales.               automobile market data from dealers, consumers, and manu-
   Accordingly, information may be provided to the auto-        facturers regarding pricing, inventory, insurance informa-
mobile market information processing system 302 from            tion, quality ratings, safety ratings, and other ratings is
consumers, dealers, and manufacturers with a very high 5 collected and stored in a database. For example, inventory
degree of granularity, as every transaction that occurs and     data may include data regarding off-lease automobiles,
even every request or search may be stored and used by the      including scheduled drop off dates of automobiles with
automobile market information processing system 302. This       expiring leases. In an example embodiment, a wide variety
allows the automobile market information processing sys-        of data is stored in a database system 310. Automobile
tem 302 to use the most current automobile market data to 10 market data may include various relevant ratings, reports,
provide information to consumers, dealers, and manufactur-      awards, or other information, including quality information,
ers. It should be appreciated that market prices can change     safety information, insurance information, consumer credit
relatively quickly, particularly when major events drive        information, dealer rating information, incentive informa-
consumer behavior or manufacturer production, such as           tion, residual value information, and/or any other data which
natural disasters. Accordingly, reports and recommendations 15 may be relevant to consumers. For example, ratings data
provided by the automobile market information processing        may include information from the National Highway Traffic
system 302 may be highly accurate, reliable, and sensitive to   Safety Administration (NHTSA), the Environmental Protec-
market changes.                                                 tion Agency (EPA), and/or the Insurance Institute for High-
   It should be appreciated that the users 114 of the auto-     way Safety (IIHS). The data may include information from
mobile market information processing system 302, includ- 20 a consumer interface 304, such as data in consumer searches
ing consumers, dealers, and manufacturers, and buyers and       or requests, information from a dealer interface 306, such as
sellers of new and used automobiles, may be required to         currently offered dealer pricing, transaction data for final-
agree to and/or execute a terms of use agreement or terms of    ized sales, current inventory data, transport or shipping
service agreement. Various forms of enforcing the agree-        costs, and information from a manufacturer interface 308,
ment may be implemented, including a transaction deposit 25 such as current manufacturer prices and suggested pricing,
policy, which may require a deposit or a credit card hold, or   manufacturer incentives, and current inventory including
the like, and a standard schedule of fees or default payment    finished inventory on hand, production scheduling, shipment
schedule for infractions such as improper condition of an       scheduling, inventory in transit, and manufacturing lead
automobile, delay in delivery, etc. Accordingly, all parties    times. The automobile market data may be comprised solely
may be protected from another party breaching the agree- 30 of information received from the consumer interface 304,
ment.                                                           dealer interface 306, and manufacturer interface 308, or may
   It should be appreciated that certain functions described    include additional information received from other sources,
as performed, for example, at automobile market informa-        for example, industry analysts, consumer reports groups,
tion processing system 302, may instead be performed            goverrnnent agencies, etc. It should be appreciated that
locally at consumer interface 304, dealer interface 306, and 35 various methods of storing the automobile market data may
manufacturer interface 308, or vice versa. Further, in certain  be employed according to the system requirements. For
cases, tasks may be performed using consumer interface          example, database system 310 may be organized according
304, dealer interface 306, and manufacturer interface 308 or,   to different manufacturers or dealers, automobile make and
for example, performed in person, such as a consumer            model, different information categories (e.g., suggested pric-
signing documents at a dealer location, or a dealer commu- 40 ing, market prices, production, shipping, lot inventory), etc.,
nicating with a manufacturer using a telephone. It should be    and may consist of one or more databases on one or more
appreciated that the consumer interface 304, dealer interface   servers 108, 226 which may be remotely located from each
306, and manufacturer interface 308 may be implemented,         other and/or a host device 104 of the automobile market
for example, in a web browser using an HTML file received       information processing system 302. As will be discussed
from the automobile market information processing system 45 further below, the automobile market data may be continu-
302. In an example embodiment, the consumer interface           ally updated as new data is provided to the automobile
304, dealer interface 306, and manufacturer interface 308       market information processing system 302.
may be located on a website, and may further be imple-             The automobile market data may be used by any or all
mented as a secure website. Also, consumer interface 304,       parties involved in a used automobile transaction, including
dealer interface 306, and manufacturer interface 308 may 50 used automobile sellers including consumer sellers and
require a local application, for example, which a manufac-      manufacturer off-lease sellers, and used automobile buyers
turer or dealer may pay for to have access to, for example,     including consumer buyers and dealer buyers. In the
information from the automobile market information pro-         example process 400, as discussed further below, the used
cessing system 302 such as requests from consumers.             automobile seller described by way of example as a con-
   FIG. 4 is a flowchart of an example process 400 for 55 sumer seller. It should be appreciated that the example
facilitating a used automobile transaction. Although the        process 400 may work similarly or the same for a manu-
process 400 is described with reference to the flowchart        facturer off-lease seller. In an example embodiment, the
illustrated in FIG. 4, it will be appreciated that many other   consumer used automobile seller interface 318 and manu-
methods of performing the acts associated with the process      facturer off-lease seller interface 324 may be provided as a
400 may be used. For example, the order of many of the 60 combined interface. Certain aspects of the disclosed
blocks may be changed, certain blocks may be combined           example process 400 may be of greater or lesser advantage
with other blocks, and many of the blocks described are         to a manufacturer off-lease seller compared with a consumer
optional.                                                       seller. For example, consumer sellers typically sell used
   The example process 400 for facilitating a used automo-      automobiles infrequently, while manufacturer off-lease sell-
bile transaction may allow users 114 to efficiently sell and 65 ers may be selling thousands of used off-lease automobiles
purchase automobiles. The example process 400 may begin         each month. Accordingly, the goals of the user 114 may vary
with automobile market data including at least pricing data     between consumer sellers and manufacturer off-lease sellers.

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Certain notable aspects that may be distinguishable between     manufacturer off-lease seller may find that providing a
a consumer seller and manufacturer off-lease seller will be     request for a response prior to the consumer lessee actually
discussed below.                                                dropping off an off-lease automobile may significantly
   The example process 400 continues with a consumer            improve the value of off-lease automobiles. It should be
seller providing a request for a response (block 404). For 5 appreciated that the dealer where the consumer lessee drops
example, a used car seller takes a picture of the vehicle       off the off-lease automobile may be bargaining without any
identification number (VIN) of a used car and fills in price    particular advantage because the manufacturer off-lease
parameters and other information into a mobile application      seller may have multiple interested used automobile buyers
to receive a response based on current market data. In an       that, based on search parameters, have received the off-lease
example embodiment, the seller's request may be transmit- 10 automobile as a match, and/or bids from used automobile
ted from used automobile seller interface 318, 324 via the      buyers.
internet to the automobile market information processing           Used car buyers may perform a search with used auto-
system 302. For example, using an application stored on a       mobile buyer interfaces 320, 322, and may typically include
mobile device 103, the used car seller takes a picture of the   parameters limiting the search to a specific automobile type,
VIN on the used car and fills in a minimum bid price, 15 make, or model, certain options or features, a price range,
delivery parameters, etc. The seller's parameters may           and a pickup location or area. Further, for example, the
specify a pickup location by distance from an address, an       buyer may take a picture of a VIN anywhere or manually
area code, etc., which allows for matching the seller with      type in a VIN number, including at automobile trade shows,
buyers that are in-market. The picture of the VIN may be        mall displays, or anywhere new or used cars are for sale. The
processed using optical character recognition, which allows 20 buyer may even take a picture of a car parked in the street
the automobile market information processing system 302 to      as the buyer walks down the street. Any request or query
determine the make and model of the car, along with various     communicated from the consumer interface 304 may be
other characteristics of the car. Also, for example, the used   stored, for example, in database system 310, thereby updat-
car seller may take a picture of the odometer, and the          ing the automobile market information processing system
mileage may be determined using optical character recog- 25 302 with current automobile market data.
nition. It should be appreciated that the VIN may include          The example process 400 may continue with providing
human readable characters, a bar code, or any other graphi-     automobile market data to used automobile buyers based on
cal or machine readable information which acts as a vehicle     the consumer seller request (block 406). For example, a
identification number.                                          group of consumers and dealers receive a real-time report
   Also, the used car seller may input into a mobile appli- 30 including local used car sales data, inventory data, quality
cation or website a wide variety of additional information      and safety ratings data, insurance data, and gas mileage data
about the used car. For example, pictures of the used car may   of the specific used car which is identified based on the VIN.
be uploaded with the request. In an example embodiment,         The group of consumers and dealers that receive a real-time
pictures of the exterior, interior, dashboard, and/or odometer  report may be based on prior searches conducted by con-
may be provided. Also, for example, service records, own- 35 sumers on used automobile buyer interface 320 and searches
ership records, and other documents or information may be       conducted by dealers with used automobile buyer interface
included with a request. Further, a written description of the  322. In an example embodiment, a report may include
car may be provided. Accordingly, because the used car          quality information, safety information, insurance informa-
seller can provide information such as pictures, in addition    tion, recall information, EPA gas mileage and emissions
to information which the seller may not have access to, such 40 information, consumer credit information (e.g., buyer FICO
as the original manufacturer specifications of the used car,    score), dealer rating information, incentive information,
potential buyers may have access to a great deal of infor-      residual value information, and/or any other data which may
mation on the used car. Further, in an example embodiment,      be relevant to consumers and/or dealers. In an example
a mobile application may include the geolocation of a used      embodiment, a report may include a specific history infor-
car seller, so the seller does not need to enter such infor- 45 mation for the specific used car, such as a CARFAX report.
mation. Accordingly, the buyer may perform research, for        The request and/or the report may be provided in real-time
example, while at home or while shopping at a dealer            and may also provide real-time data. Data reported based on
location. It should be appreciated that certain used car        a real-time updates in the automobile market information
buyers may be highly interested in the geolocation of the       processing system 302 may provide significant advantages,
consumer seller. For example, a dealer may find the con- 50 for example, when pricing conditions may change quickly
sumer seller's geolocation to be more important than a          due to unforeseen market conditions. The recommendation
consumer buyer, because a dealer may require a minimal          engine 312 may provide recommendations to a used auto-
cost for picking up a car to ensure profitability, and to       mobile buyer based on the current automobile market data.
optimize the opportunity for creating a new customer rela-      For example, a report may indicate various estimated sales
tionship. Similarly, certain used automobile sellers may be 55 probabilities for different prices that the used automobile
very interested in the geolocation of the used automobile       buyer may offer or bid. In an example embodiment, a
buyer. For example, a manufacturer off-lease seller may         estimated sale price or range may be provided. For example,
have a high interest in determining the amount of in-market     a probability analysis may be provided with prices and
interest or demand for an off-lease automobile.                 corresponding probabilities may be estimated as, e.g., 80%
   In an example embodiment, a manufacturer off-lease 60 chance to purchase at $6,000; 60% chance to purchase at
seller may provide a request for a response for an automobile   $5,500; 30% chance to purchase at $5,000; 10% chance to
that will be dropped off by a consumer lessee in the near       purchase at $4,500. Such information may be illustrated in
future. For example, a manufacturer user 114 may input a        various ways, such as a bell curve graph or a chart. Further,
VIN into off-lease seller interface 324 by typing, speaking,    for example, the recommendation engine may provide daily
or providing an image of the VIN. The manufacturer off- 65 suggestions (e.g., a deal of the day) for dealers and/or
lease seller may provide a parameter that the used off-lease    consumers. Consumers may use such suggestions to save
automobile will be available only after a certain date. The     money or get a better value on a used car purchase by buying

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from another consumer rather than a dealer. Dealers may use      generally do not trust the sellers. It should also be appreci-
such suggestions to purchase used cars at good deals, and/or     ated that a buyer may not select any add-ons offered by third
to attract consumers to visit the dealer in person or online,    parties and/or the automobile market information processing
as well as prepare responses or bids to other consumer           system 302. A used automobile seller may have no interest
requests. Dealers or consumers may customize the used 5 in whether a buyer selects any add-ons, or the seller may
automobile buyer interface 320, 322 to provide information       receive additional compensation if an add-on is selected, so
in a pre-specified manner to suit the particular needs of the    a buyer selection of add-ons may or may not affect a seller's
specific dealer or consumer. In an example embodiment, a         value associated with the buyer's bid.
manufacturer off-lease seller may receive automobile mar-           One or more buyer bids are provided to the consumer
ket data including inventory information including data 10 seller (block 410). For example, several consumers and
regarding off-lease cars which have been dropped off at          dealers provide bids based on current pricing data, options
dealer locations and cars which will soon be coming off-         information of the specific used car, and potential pickup
lease. Further, dealers and/or consumers may be able to          locations, so several different prices and delivery options
receive information regarding off-lease cars as well. For        may be available to the used car seller via the used auto-
example, information may include a specific automobile 15 mobile seller interface 318. Typically, the bid will include at
identified by a VIN with an expected drop off location and       least a specified price and pickup time and location. In an
date based on a lease expiration.                                example embodiment, a used car seller that has taken a
   A bid to purchase the used automobile from the consumer       picture of a VIN with a mobile device and entered some
seller is requested from used automobile buyers (block 408).     basic information such as an odometer reading may receive
For example, a group of consumers and dealers within a 20 used car buyer bids within minutes or seconds on the mobile
certain radius of the used car seller location may receive a     device. Accordingly, the bids may be used in real-time as the
bid request based on used automobile buyer searches via          consumer seller may be actively selling a used car or
used automobile buyer interfaces 320, 322. Each used             shopping for a new or used car, for example, on a dealer lot.
automobile buyer's bid may include, for example, a price         Typically, a pickup location will be at the consumer seller
and a delivery option or delivery suggestion. The used 25 location, a consumer buyer location, or at a dealer lot or
automobile buyer interfaces 320, 322 may provide for             distribution location. In an example embodiment, the con-
simple input of necessary and optional data. Further, a used     sumer buyer location may be determined using the geolo-
automobile buyer's bid may contain certain limitations,          cation of the buyer's mobile device 103. It should be
restrictions, or conditions. For example, a dealer may pro-      appreciated that some consumers may be flexible as to the
vide a bid with the condition that a new car be purchased and 30 delivery options and that some dealers may have multiple
the used car be traded in at the bid price.                      locations which could serve as a pickup location. In an
   In an example embodiment, the request may provide one         example embodiment, the automobile market data may
or more options, products, services, or add-ons for a used       indicate that the particular used car that a consumer seller
automobile buyer to select from. For example, used auto-         has requested bids for should be priced at, for example,
mobile buyers may be able to select financing options, 35 $6,000. However, various factors may affect the bid or offer
warranties, extended service contracts, insurance plans, or      that a consumer or dealer may make for the specific used car.
other hard add accessories. These selectable options may be      For example, for a consumer, personal preference for certain
offered directly from the used automobile seller or may be       features or looks, convenience, insurance implications, gas
offered through the automobile market information process-       mileage, and/or service records, may play a large role in
ing system 302. Accordingly, a seller may not be offering 40 pricing a bid above or below a suggested bid price. For
any options for a buyer to select, but the system may            example, for a dealer, the potential for forming a customer
automatically provide the option to purchase further add-        relationship, the value of potential other sales, add-on prod-
ons. In an example embodiment, automobile market infor-          ucts, and/or services, or competition with other parties. All
mation processing system 302 may provide for third party         used automobile buyers that are interested may place a bid
providers of add-ons to provide live auction bids for a used 45 for a used car seller's consideration.
automobile buyer to select for inclusion in a bid. Accord-          It should be appreciated that various alternative delivery
ingly, for example, several insurance companies may pro-         options may be provided from several used automobile
vide a bid for key insurance, or several financial companies     buyers' bids, for example, based on preferences or param-
may provide bids for a loan. It should be appreciated that       eters indicated by the consumer seller of the used automo-
certain bids may depend on the particular buyer, so for 50 bile. For example, the used automobile seller interface 318
example, a buyer's credit or driving record may cause            may provide several different bids with different delivery
different buyers to receive different third party bids for       options and prices to the used car seller, for example, a price
add-ons. For example, a particular buyer may be able to          of $6,000 to drop off the car at an out of state dealer the next
increase a bid to purchase a used automobile if third party      day or a price of $5,500 to drop off the car at a local
add-ons are particularly advantageous, which may benefit a 55 consumer buyer location in five days. For example, a
consumer seller or manufacturer off-lease seller. For            consumer buyer may determine the cost of picking up the
example, a buyer may receive a better than expected interest     used car from the consumer seller and provide two pricing
rate and insurance price, and therefore be able to offer an      and delivery options, for example, $5,500 to pick up the
additional $1,000 to the seller, while staying within the        used car from the consumer seller or $5,800 to have the used
buyer's predetermined monthly budget. It should be appre- 60 car delivered to the consumer buyer's home. For example, a
ciated that third parties may include dealers which may be       manufacturer off-lease seller may review bid prices and
otherwise involved in a transaction. Also, in an example         delivery options on a number factors on used automobile
embodiment, the automobile market information processing         seller interface 324, but may be very interested in finding an
system 302 may provide at no charge to the buyers or sellers,    in-market buyer to eliminate transportation costs. A manu-
certain add-ons, such as a limited thirty day warranty. 65 facturer off-lease seller may often have somewhat different
Accordingly, the automobile market information processing        concerns than a consumer seller. For example, to meet a
system 302 may gain trust from buyers even if the buyers         quarterly budget, a manufacturer off-lease seller may be

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primarily interested eliminating a high back log of off-lease    select an offer with a specified price and delivery option on
cars even if selling cars at a significant discount is required. the used automobile seller interface 318, 324. The used car
   Further, for example, used automobile buyers may use          seller may have been weighing two or more different deliv-
information such as ratings data to optimize their bids. For     ery options, price differences, etc., based on the response(s)
example, if gasoline prices are increasing, mileage ratings 5 received through the used automobile seller interface 318,
for a particular car may dictate increasing or decreasing a      324. As noted above, the used automobile seller interface
bid. If a vehicle has very good gas mileage, and gas prices      318 may organize received bids and other helpful informa-
are skyrocketing, that car may have an increasing demand as      tion in a variety of ways, which may make the information
gas prices increase, or vice versa. Similarly, safety ratings of easier for a consumer seller to digest. It should be appreci-
vehicles may be important to consumer demand if high 10 ated that a consumer seller will typically want to deliver a
profile problems have appeared for a particular automobile       used car at a convenient location, often at or near the seller's
style, make, or model. As discussed above, various automo-       home. Accordingly, used automobile buyers may attempt to
bile market information may be used by a used automobile         provide delivery options tailored towards maximizing profit
buyer including safety information, insurance information,       and convenience, while still providing a superior bid to other
consumer credit information, dealer rating information, 15 used automobile buyers. By providing multiple bids with
incentive information, residual value information, and/or        different delivery options, the consumer seller may be
any other data which may be relevant.                            allowed to make extra money or save time based on the
   The used automobile seller interface 318, 324 may orga-       seller's particular situation. It should be appreciated that the
nize used automobile buyer bids based on a variety of factors    consumer seller selection of a bid may, for example, occur
and may provide supplemental information. For example, 20 simultaneously with the consumer seller and used automo-
certain buyer bids may be selected as the best options, all      bile buyer executing the sale or providing a deposit or down
buyer bids may be summarized, various additional ratings,        payment, or the like (see, e.g., block 414). Accordingly, in
reviews, or popularity information, special offers, etc. may     an example embodiment, once a consumer seller or manu-
also be provided to a consumer along with any used auto-         facturer off-lease seller selects a bid, the used automobile
mobile buyer bids. The recommendation engine 312 may 25 buyer has effectively purchased the car, and both parties do
provide recommendations to a consumer seller based on the        not need to worry about the other party backing out of the
current automobile market data. For example, of ten used         deal.
automobile buyer bids provided with a response, three bids          It should be appreciated that a consumer seller may not
may be recommended, for example, as "Great Deals!" It            want to drive to a distant pickup location without first
should be appreciated that in some cases, a particular used 30 receiving some form of deposit, or likewise, a used auto-
car seller request may not return any buyer bids, for            mobile buyer may not want to go to a distant pickup location
example, if the used car for sale is in low demand or a unique   to without assurance that the used automobile will actually
item with a limited market. Also, for example, if only one or    be available for pickup and in good working order. Like-
two bids are received, the recommendation engine 312 may         wise, a manufacturer off-lease seller may be concerned with
recommend that a consumer seller wait for a better bid 35 obtaining maximum value for an off-lease automobile within
because the bids provided are not competitive offers based       the required time constraints, but transportation costs may
on the current automobile market data stored in the database     be strictly budgeted. The automobile market information
system 310. Further, in an example embodiment, buyer bids        processing system 302 may accommodate for deposits to
may be organized according to distance to a pickup location,     provide any reasonable or necessary assurances to both
highest price, closest match to the consumer seller entered 40 buyers and sellers. For example, the automobile market
criteria, a normalized quality index or value index, etc. The    information processing system 302 may provide and/or
consumer seller or manufacturer off-lease seller may be able     require the use of a terms of service agreement, which the
to toggle between different viewing options for buyer bids.      consumer seller or manufacturer off-lease seller and the used
   Further, in an example embodiment, a consumer seller          automobile buyer may sign and agree to the terms provided
may be at a dealer lot (e.g., a Nissan dealer) and take a 45 therein. For example, a credit card could be charged a
picture of a VIN on a used car (e.g., a Maxima), which the       default payment in the event that either party breaches the
consumer seller intends to trade in. A bid from a competing      terms of service agreement. In an example embodiment, a
dealer (e.g., a Toyota dealer) across the street may be          schedule of various breaches may require different default
received on the mobile device within seconds and include         payments, for example, if a buyer determines a headlight
information for a competing trade in value, and may have 50 does not work, a standard $30 fee may be assessed from the
further information relating to other new or used cars which     consumer seller. Also, a variable default agreement may be
may be intended to cause the consumer seller to go to the        based on a distance between a seller and a buyer, so that a
competing dealer, for example, including various price com-      party which travels a great distance may be compensated if
parisons, gas mileage ratings, safety ratings, residual value,   the other party breaches the agreement. Also, for example,
driving directions to the competing dealer, etc. Accordingly, 55 a time period for inspection may be specified in a request
a consumer seller may weigh the pros and cons of various         and/or a bid. A bid may be conditional based on one or more
used automobile buyer bids from consumers and/or dealers,        seller representations. Moreover, a terms of service agree-
based on delivery options, pricing, and any other relevant       ment may provide assurances for any issues which may arise
variants. Any bids communicated from used automobile             in the sale of a used car, and may provide one or more
buyer interfaces 320, 322 may be stored, for example, in 60 options based on a breach, including payment of fees or
database system 310, to further update the automobile            nullification of a bid acceptance and/or sale execution. Any
market information processing system 302 with current            consumer seller selections, counter offers, or additional
automobile market data.                                          requests or responses may be stored in database system 310,
   The consumer seller selects a buyer bid including a price     as the communications are processed by automobile market
and a delivery option (block 412). For example, the used car 65 information processing system 302, providing further data
seller chooses to sell the used car based on the price and the   updates. Accordingly, in an example embodiment, a con-
pickup location of a consumer buyer bid. The seller may          sumer seller may select a bid in order to sell the used car, and

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that sale information may then be provided to another               the telephone, with the consumer seller or manufacturer
consumer searching for information regarding the same type          off-lease seller. For example, the used car buyer may arrive
of car with similar features, for example, the next day.            at the pickup location, show identification and provide a
   The consumer seller and the used automobile buyer                proof of purchase, and be provided the keys to the car by the
execute the sale of the used automobile (block 414). For 5 seller. The parties may sign paperwork indicating or con-
example, the used automobile buyer electronically signs a           firming the car has been picked up. Proof of purchase
contract and performs an electronic funds transfer or credit        documentation may include any or all documents that are
card payment. After a buyer bid is selected, an electronic          legally required for an automobile sale for a given jurisdic-
contract may be prepared by the automobile market infor-            tion, for example, the title, odometer statement, or any other
mation processing system 302 and provided for the used 10 document required by the Department of Motor Vehicles.
automobile buyer who may e-sign the contract or other               For example, the consumer seller or manufacturer off-lease
documentation as needed. Similarly, the consumer seller             seller may be required to provide any legally required
may e-sign the contract or other documentation as needed,           documents to fully execute and record the sale of the used
either prior to selecting a bid, at the time of selecting a bid,    car.
or at a later time. A contract may be e-signed through the 15          Further, in an example embodiment, a consumer seller or
used automobile seller interface 318, 324, and the used             manufacturer off-lease seller may offer various insurance
automobile buyer interface 320, 322, respectively. In               policies or service contracts to a used car buyer, for example,
another example embodiment, paper copies of a contract              etch insurance, key insurance, gap insurance, or a ninety day
may be signed, for example, after the used automobile buyer         warranty may be provided. For example, a consumer seller
prints them or receives them through the mail. In an example 20 or manufacturer off-lease seller may purchase insurance
embodiment, the used automobile buyer may provide cash              through the automobile market information processing sys-
or a paper check. It should be appreciated that the process of      tem 302 in placing a request for bids, which may increase
executing a contract may take some time. Also, it should be         interest from buyers. Also, for example, an insurance policy
appreciated that, for example, the consumer seller selection        or service contract may be provided for a used car being sold
of a bid discussed above (see, e.g., block 412) may occur 25 at no charge to the consumer seller or manufacturer off-lease
simultaneously with the consumer executing the sale. Once           seller, for example, as a convenience to all users 114 using
the sale is completed, the actual transaction data including        the disclosed system. For example, key insurance may be
the final sale price, may be provided to and stored in              provided at no cost to both the consumer seller and the used
database system 310. Accordingly, the automobile market             car buyer. It should be appreciated that, for example, using
information processing system 302 may be updated with 30 options provided through the automobile market informa-
current automobile market data from every step in the used          tion processing system 302, a consumer seller or manufac-
car sales process between a consumer seller or manufacturer         turer off-lease seller may sell or provide any add-on products
off-lease seller and a used automobile buyer. In an example         or services that a dealer would typically offer or provide in
embodiment, the updates provided to the automobile market           the sale of a used automobile. Also, if the used automobile
information processing system 302 are provided in real- 35 buyer is a dealer, additional products or services may be
time, for example, data may be transmitted and processed            offered to the consumer seller at the time of pickup. For
within seconds or minutes. Further, for example, it should be       example, the dealer may offer new or used cars, including
appreciated that certain data may be provided to the auto-          related financing options, warranties, service plans, insur-
mobile market information processing system 302 according           ance plans, and hard add accessories to the buyer, as
to a batch processing schedule.                                  40 discussed in further detail above.
   Next, the consumer seller makes the purchased used                  Accordingly, it should be appreciated that consumers,
automobile available according to the consumer seller bid           manufacturers, and dealers, may receive significant benefits
selection (block 416). For example, the seller drives the used      from the method of facilitating a used automobile transac-
car to the pickup location if the pickup location is not the        tion disclosed herein. Consumers that are selling and buying
used car seller's location. It should be appreciated that the 45 used automobiles may benefit from more competitive pric-
consumer seller or a manufacturer off-lease seller and the          ing, piece of mind knowing that a fair market price is being
used automobile buyer may use a wide variety of locations           offered for prospective purchases or sales, and improved
as a pickup location, and may work out a delivery option            delivery options that allow the consumer to weigh the
which is convenient for both parties. A consumer seller may         benefits and drawbacks of different delivery options, pricing,
interact with the automobile market information processing 50 and other variables. In an example embodiment, consumers
system 302 using used automobile seller interface 318, for          can view prices paid for comparable cars in specific loca-
example, to provide notification that a car is at the pickup        tions based on the automobile market data in the automobile
location and ready for delivery. A manufacturer off-lease           market information processing system 302, for example,
seller may interact with the automobile market information          within a certain time frame such as one month and within a
processing system 302 using used automobile seller inter- 55 certain proximity to the consumer. Manufacturers selling
face 324, for example, to provide notification that a car has       off-lease automobiles may benefit from reduced transporta-
been dropped off by a consumer lessee and is at the pickup          tion costs, saving auction fees, and an improved bargaining
location and ready for delivery to the buyer. Similarly, a          position with a dealer in possession of an off-lease automo-
notification may be sent via used automobile buyer interface        bile. For example, the ability to identify in-market buyers
322, 322 to the used car buyer that the used car is available 60 may be particularly advantageous to manufacturer off-lease
for pickup at the specified location.                               sellers, which may be able to identify matching searches of
   Finally, the used automobile buyer receives the purchased        in-market buyers. Also, dealers and/or various third parties
used automobile according to the consumer seller selected           may benefit from the opportunity to sell insurance, credit,
delivery option (block 418). For example, the used car buyer        service contracts, hard add accessories, and other add-ons
receives the used car at the pickup location the same day the 65 with used automobiles. Moreover, various inefficiencies in
sale is executed. The used car buyer may pick up the car            the automobile industry may be minimized utilizing the
without ever having to talk to or negotiate, in person or over      presently disclosed system and method.

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   FIG. 5 illustrates a block diagram of an example data             analyst data may include historical data 518 and statistical
architecture 500. In the example data architecture 500,              data 516 relating to safety or quality reports, efficiency data,
interface data 502, administrative data 504, and automobile          recall data, and the like for used automobiles, which may be
market data 506 interact with each other, for example, based         organized or re-organized under various categories of auto-
on user commands or requests. The interface data 502, 5 mobile market data 506 as time passes or as supplemental
administrative data 504, and automobile market data 506              data is provided to the automobile market information
may be stored on any suitable storage medium (e.g., server           processing system 302. It should be appreciated that a
226). It should be appreciated that different types of data          system administrator may load data into the automobile
may use different data formats, storage mechanisms, etc.             market information processing system 302 as it becomes
Further, various applications may be associated with pro- 10 available. For example, annual, quarterly, and/or monthly
cessing interface data 502, administrative data 504, and             reports relating to safety, insurance, etc., may be input into
automobile market data 506. Various other or different types         automobile market data 506 on a regular basis. It should also
of data may be included in the example data architecture             be appreciated that automobile market data 506 may be
500.                                                                 tailored for a particular manufacturer and/or dealer, for
   Interface data 502 may include input and output data of 15 example, a manufacturer may request that a specific type of
various kinds. For example, input data may include mouse             data that is not normally stored or used be stored in the
click data, scrolling data, hover data, keyboard data, touch         database system 310. Accordingly, for example, customized
screen data, voice recognition data, etc., while output data         reports may be provided to a manufacturer interface 308
may include image data, text data, video data, audio data,           using that specific data for the manufacturer, for example,
etc. Interface data 502 may include formatting, user inter- 20 relating to resale values of used automobiles.
face options, links or access to other websites or applica-             The integration of the various types of automobile market
tions, and the like. Interface data 502 may include applica-         data 506 received from the consumer interface 304, dealer
tions used to provide or monitor interface activities and            interface 306, and manufacturer interface 308 may provide
handle input and output data.                                        a synergistic and optimal resource for consumers, dealers,
   Administrative data 504 may include data and applica- 25 and manufacturers alike. In an example embodiment, a used
tions regarding user accounts. For example, administrative           automobile seller and a used automobile buyer may benefit
data 504 may include information used for updating                   greatly from using an application in a mobile device 103 to
accounts, such as creating or modifying consumer accounts            provide a request for buyer bids on a used automobile by
and/or dealer accounts. Further, administrative data 504 may         taking a picture of the VIN of the used automobile, for
include access data and/or security data. Administrative data 30 example, using used automobile seller interface 318, 324.
504 may include a terms of service agreement. Administra-            Used automobile buyers may search for used automobiles
tive data 504 may interact with interface data in various            for sale by consumer sellers, for example, using used
manners, providing a user interface 304, 306, 308 with               automobile buyer interface 320. The used automobile buyers
administrative features, such as implementing a user login           may receive intrabrand and/or interbrand seller request
and the like.                                                     35 information in real-time. The intrabrand and interbrand
   Automobile market data 506 may include, for example,              information provided on the used automobile buyer interface
executed sales data 508, consumer data 510, dealer data 512,         320 may allow the best automobile options for a particular
manufacturer data 514, statistical data 516, and/or historical       consumer to be provided to that consumer, and may allow
data 518. Executed sales data 508 may include actual                 consumer sellers, manufacturer off-lease sellers, and dealers
negotiated prices for manufacturer and dealer sales, differ- 40 to compete with each other taking into account a greater
ences in list prices to negotiated prices, sales demographics,       amount of automobile market information, which may result
etc. Consumer data 510 may include consumer search activ-            in a more efficient automobile market. Consumers that are
ity, consumer requests and offers, consumer feedback, etc.           selling used automobiles and consumers that are buying
Dealer data 512 may include dealer pricing, including list           used automobiles may similarly receive benefits from the
prices, sale prices for limited time dealer offers or deals of 45 presently disclosed system. Also, as discussed above, manu-
the day, negotiation information such as bottom line pricing,        facturer off-lease sellers may benefit greatly from the pres-
offers received, foot traffic activity, and dealer inventory         ently disclosed system, for example, using bids and/or
data, including current on location data, automobile turnover        matches or search hits for an off-lease automobile to
rates, etc. Manufacturer data 514 may include manufacturer           improve bargaining power with a dealer in possession of the
pricing, including suggested pricing, preferred dealer pric- 50 off-lease automobile and other dealers and/or consumers.
ing, etc., manufacturer incentives including cash rebates,              Automobile market data 506 may be maintained in vari-
special lease rates, special APR rates, zero down offers,            ous servers 108, in databases or other files. It should be
lifetime warranties, guaranteed trade-in offers, etc., and           appreciated that, for example, a host device 104 may
inventory information including dealer inventory, inventory          manipulate automobile market data 506 in accordance with
by location, inventory in transit, manufacturing or produc- 55 the administrative data 504 and interface data 502 to provide
tion lead times or build times, production scheduling, ship-         requests or reports to users 114 including consumers, deal-
ping scheduling, lease information, etc. Statistical data 516        ers, and manufacturers, and perform other associated tasks.
may include information used for providing reports includ-           It should also be appreciated that automobile market data
ing graphs, forecasts, recommendations, calculators, depre-          506 represents automobile market information, and that
ciation schedules, tax information, etc., including equations 60 these terms may be used interchangeably in this disclosure
and other data used for statistical analysis. Historical data        depending upon the context.
518 may include past sales data, such as historical list prices,        FIG. 6 is flow diagram illustrating an example process
actual sale prices, manufacturer and dealer margins, oper-           600 for facilitating a used automobile transaction, according
ating costs, service costs or profitability, loyalty information,    to an example embodiment of the present invention.
etc. It should be appreciated that data may fall under one or 65 Although the process 600 is described with reference to the
more categories of automobile market data 506, and/or                flow diagram illustrated in FIG. 6, it will be appreciated that
change with the passage of time. For example, industry               many other methods of performing the acts associated with

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the process 600 may be used. For example, the order of            tion processing system 302 receives and processes buyer
many of the blocks may be changed, certain blocks may be          bids and prepares the bids and automobile market data for
combined with other blocks, and many of the blocks                the consumer seller or manufacturer off-lease seller (block
described are optional.                                           614).
   In the example process 600, data may flow between the 5           The automobile market information processing system
automobile market information processing system 302 and a         302 may send buyer bids and automobile market informa-
used automobile seller interface 318, 324 and a used auto-        tion to the used automobile seller interface 318, 324 (block
mobile buyer interface 320, 322, as discussed above based         616). It should be appreciated that automobile market infor-
on used automobile seller and buyer interaction with the          mation may be provided to the consumer seller or manu-
automobile market information processing system 302. As 10 facturer off-lease seller before buyer bids are provided,
discussed above, a used automobile seller interface 318 and       and/or concurrently with buyer bids. The seller may receive
used automobile buyer interface 320 may be included in a          the buyer bids and automobile market information and may
consumer interface 304, a used automobile buyer interface         select a bid including a delivery option based on the auto-
322 may be included a dealer interface 306, and a used            mobile market information (block 618). The used automo-
automobile seller interface 324 may be included in a manu- 15 bile seller interface 318, 324 may send to the automobile
facturer interface 308. It should be appreciated that the         market information processing system 302 a selection of a
automobile market information processing system 302 may           bid indicating that the consumer seller or manufacturer
update the automobile market information stored in the            off-lease seller wants to sell the used automobile based on
database system 310 when automobile market information is         the selected bid (block 620). The automobile market infor-
received from a buyer or seller, and/or a consumer, a dealer, 20 mation processing system 302 receives and processes the
a manufacturer, an industry analyst, and/or from any other        seller bid selection (block 622). For example, the automobile
information source. Accordingly, the automobile market            market information processing system 302 may send the bid
information may remain current and/or provide sufficiently        selection to the used automobile buyer interface 320, 322
recent data for the benefit of consumers, dealers, and/or         (block 624). The used automobile buyer may receive the bid
manufacturers.                                                 25 selection and coordinate a sale by, for example, setting up a
   The example process 600 may begin with a consumer              pick up time and location for the used automobile at the
seller or a manufacturer off-lease seller of a used automobile    seller location or the buyer location (block 626). Also, for
taking a picture of the VIN using a mobile phone application      example, the automobile market information processing
and entering in information such as pricing parameters            system 302 may provide contract or loan documents, collect
(block 602). The used automobile seller interface 318, 324 30 a deposit or down payment, or the like, from the consumer
may use OCR to determine and provide the VIN and pricing          seller, the manufacturer off-lease seller, and/or the used
parameters to the automobile market information processing        automobile buyer. As discussed above, in each of blocks
system 302 as a consumer seller request or a manufacturer         606, 614, and 622, the automobile market information
off-lease seller request (block 604). It should be appreciated    processing system 302 may update the automobile market
that OCR may occur in the automobile market information 35 information in the database system 310 based on the infor-
processing system 302 or at the used automobile seller            mation received from the consumer, manufacturer, and/or
interface 318, 324. The automobile market information             dealer.
processing system 302 receives the seller request and pre-           For exemplary purposes, the present disclosure discusses
pares automobile market information based on the seller           a various examples relating to a purchase of a used car.
request (block 606). The automobile market information 40 However, it should be appreciated that the disclosed system,
processing system 302 may send a bid request and automo-          methods, and apparatus may be advantageously used in
bile market information based on the seller request to the        relation to various used automobiles other than cars includ-
used auto buyer interface 320, 322 for one or more con-           ing, for example, trucks, vans, sport utility vehicles, jeeps,
sumers and/or dealers (block 608). It should be appreciated       motorcycles, commercial vehicles, and/or automobiles that
that while the seller request is automobile market informa- 45 have a VIN and require a license plate to operate.
tion, typically, additional automobile market information            It will be appreciated that all of the disclosed methods and
would be provided with the seller request. For example,           procedures described herein can be implemented using one
typically, data relating to recent sales of similar used auto-    or more computer programs or components. These compo-
mobiles and/or comparable automobiles may be provided. In         nents may be provided as a series of computer instructions
an example embodiment, a target price or "true" value of the 50 on any conventional computer-readable medium, including
used automobile, or an expected price range, may be pro-          RAM, ROM, flash memory, magnetic or optical disks,
vided. Also, for example, various gas mileage data, safety        optical memory, or other storage media. The instructions
ratings, recall information, quality reports, estimated insur-    may be configured to be executed by a processor, which
ance costs, and the like may be provided. Further, add-on         when executing the series of computer instructions performs
products or services, such as insurance, credit, warranties, 55 or facilitates the performance of all or part of the disclosed
service contracts, or hard add accessories, which may be          methods and procedures.
determined based on a third party bidding process, may also          Further, it will be appreciated that the presently disclosed
be provided. One or more used automobile buyers, including        system, methods, and apparatus for performing used auto-
consumers and/or dealers, receive the bid request and auto-       mobile transactions may be utilized in conjunction with
mobile market information, determine prices and delivery 60 other systems or methods. For example, the presently dis-
options for the used automobile using the automobile market       closed system, methods, and apparatus may be used in
information, and prepare and provide bids for the consumer        conjunction with the disclosure in the co-pending com-
seller or a manufacturer off-lease seller (block 610). A buyer    monly-owned patent applications filed on Jul. 5, 2011,
bid may be sent from the used automobile buyer interface          entitled "AUTOMOBILE TRANSACTION FACILITA-
320, 322 to the automobile market information processing 65 TION USING A MANUFACTURER RESPONSE," appli-
system 302 for each consumer and/or dealer that wants to          cation Ser. No. 13/176,497, and entitled "AUTOMOBILE
provide a bid (block 612). The automobile market informa-         TRANSACTION FACILITATION BASED ON CUS-

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TOMER SELECTION OF A SPECIFIC AUTOMOBILE,"                       the automobile, the odometer of the automobile, service
application Ser. No. 13/176,525, the entire contents of each     records of the automobile, and ownership records of the
of which is incorporated by reference herein, and in an          automobile.
example embodiment, the features of which may be com-               7. The method of claim 1, further comprising storing, on
bined with the features of the present disclosure.            5 a computer readable medium, pricing data including used
   It should be understood that various changes and modi-        automobile data and new automobile data, including actual
fications to the example embodiments described herein will       prices of executed transactions, dealer listing prices, dealer
be apparent to those skilled in the art. Such changes and        sale prices, manufacturer incentives, dealer bids, consumer
modifications can be made without departing from the spirit      bids, and consumer pricing parameters.
                                                              10    8. The method of claim 1, wherein an add-on, including
and scope of the present subject matter and without dimin-
                                                                 at least one of insurance, financing, a service contract, a
ishing its intended advantages. It is therefore intended that
                                                                 warranty, and a hard-add accessory, is provided by a third
such changes and modifications be covered by the appended
                                                                 party to the first used automobile buyer with the first request,
claims.                                                          via the used automobile buyer interface, wherein the third
                                                                  15 party is different from the used automobile seller and the first
   The invention is claimed as follows:                              used automobile buyer.
   1. A method comprising:                                              9. The method of claim 8, wherein the add-on is selected
   receiving, via a used automobile seller interface, a first        for inclusion in the first bid by the first used automobile
      request for a response regarding a first used automo-          buyer.
      bile, the first request made by a used automobile seller 20       10. The method of claim 1, further comprising providing
      located at a first location and including a vehicle            second driving directions between the first location and a
      identifier and geolocation information of the first used       third location.
      automobile;                                                       11. The method of claim 1, further comprising providing
   determining, based on the geolocation information, that           a plurality of pickup locations, each having different driving
      the first used automobile is located at the first location; 25 directions.
   generating, based on the determined first location, an               12. The method of claim 1, wherein a consumer receives
      in-market used automobile buyer area;                          at least one of an insurance policy and a service contract at
   determining that at least one used automobile buyer is            no charge.
      located within the in-market used automobile buyer                13. The method of claim 1, wherein the first used auto-
      area;                                                       30 mobile is an off-lease automobile, and the first location is a
   receiving, via a used automobile buyer interface, a first         dealer in possession of the first used automobile.
      bid from a first used automobile buyer located at a               14. The method of claim 1, wherein the used automobile
      second location within the in-market used automobile           seller interface is a manufacturer off-lease seller interface.
      buyer area;                                                       15. The method of claim 14, wherein the manufacturer
   generating, based on receiving the first bid, driving direc- 35 off-lease seller interface includes a number of matches or
      tions between the first location and the second location;      search hits for the first used automobile.
      and                                                               16. The method of claim 14, wherein a manufacturer user
   providing, via the used automobile seller interface, the          inputs the vehicle identifier into the manufacturer off-lease
      first bid including at least a price for the first used        seller interface by one of typing, speaking, or providing an
      automobile and the driving directions between the first 40 image of the vehicle identifier.
      location and the second location.                                 17. The method of claim 14, wherein the manufacturer
   2. The method of claim 1, wherein the used automobile             off-lease seller interface receives a parameter that the first
seller interface is a manufacturer off-lease seller interface,       used automobile will be available for pickup only after a
   further comprising:                                               certain date.
   receiving, via the manufacturer off-lease seller interface, 45       18. The method of claim 1, wherein the used automobile
      a manufacturer used automobile seller selection of the         seller interface and the used automobile buyer interface are
      first bid, wherein the manufacturer used automobile            integrated within at least one of a single website and a single
      seller selection indicates a manufacturer used automo-         application.
      bile seller intention to sell the first used automobile           19. The method of claim 1, further comprising:
      based on the first bid to the first used automobile buyer. 50     receiving, via the used automobile buyer interface, a
   3. The method of claim 1, wherein the first request is made             second bid from a second used automobile buyer
by the used automobile seller using a mobile device which                  located at a third location within the in-market used
takes a picture of a vehicle identifier, and the vehicle                   automobile buyer area;
identifier is recognized using optical character recognition.           generating, based on receiving the second bid, second
   4. The method of claim 1, wherein the first request is made 55          driving directions between the first location and the
by the used automobile seller using a mobile device includ-                third location; and
ing a microphone, and the vehicle identifier is input via the           providing, via the used automobile seller interface, the
microphone, and the vehicle identifier is recognized using                 second bid including at least a second price for the first
speech recognition.                                                        used automobile and the second driving directions
   5. The method of claim 1, further comprising storing, on 60             between the first location and the third location.
a computer readable medium, automobile market data that is              20. The method of claim 1, wherein the used automobile
representative of recent automobile market characteristics,          seller is an original equipment manufacturer.
wherein the automobile market data is based on real-time                21. The method of claim 1, wherein the used automobile
automobile market data.                                              seller is not an original equipment manufacturer.
   6. The method of claim 1, wherein the first request 65               22. The method of claim 1, wherein a third party sells a
includes a picture of at least one of the exterior of the            plurality of used automobiles via the used automobile seller
automobile, the interior of the automobile, the dashboard of         interface.

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  23. The method of claim 22, wherein sales by the third            including a microphone, and the vehicle identifier is input
party are made at negotiated prices.                                via the microphone, and the vehicle identifier is recognized
   24. The method of claim 22, wherein the used automobile          using speech recognition.
seller interface includes lot inventory of the third party.            36. The system of claim 32, wherein the computer read-
   25. The method of claim 22, wherein the used automobile 5 able medium stores automobile market data that is repre-
buyer interface includes lot inventory of the third party.          sentative of recent automobile market characteristics,
   26. The method of claim 1, wherein the used automobile           wherein the automobile market data is based on real-time
seller is a company that operates at least one leasing activity.    automobile market data.
   27. The method of claim 1, wherein the used automobile
                                                                       37. The system of claim 32, wherein the first request
seller is a company that operates at least one financing 10
                                                                    includes a picture of at least one of the exterior of the
activity.
                                                                    automobile, the interior of the automobile, the dashboard of
   28. The method of claim 1, wherein the used automobile
                                                                    the automobile, the odometer of the automobile, service
seller is a captive finance company.
   29. The method of claim 1, further comprising, receiving
                                                                    records of the automobile, and ownership records of the
an auction bid from a third party.                               15
                                                                    automobile.
   30. The method of claim 1, further comprising, providing            38. The system of claim 32, wherein the computer read-
an auction bid to the used automobile buyer interface.              able medium stores pricing data including used automobile
   31. The method of claim 1, wherein the used automobile           data and new automobile data, including actual prices of
seller interface and the used automobile buyer interface are        executed transactions, dealer listing prices, dealer sale
provided by at least one webpage.                                20 prices, manufacturer incentives, dealer bids, consumer bids,
   32. A system comprising:                                         and consumer pricing parameters.
   a computer readable medium storing instructions;                    39. The system of claim 32, wherein an add-on, including
   at least one processing device operably coupled to the           at least one of insurance, financing, a service contract, a
      computer readable medium, the at least one processing         warranty, and a hard-add accessory, is provided by a third
      device executing the instructions to:                      25 party to the first used automobile buyer with the first request,
      receive, via a used automobile seller interface, a first      via the used automobile buyer interface, wherein the third
         request for a response regarding a first used auto-        party is different from the used automobile seller and the first
         mobile, the first request made by a used automobile        used automobile buyer.
         seller located at a first location and including a            40. The system of claim 39, wherein the add-on is selected
         vehicle identifier and geolocation information of the 30 for inclusion in the first bid by the first used automobile
         first used automobile;
                                                                    buyer.
      determine, based on the geolocation information, that
                                                                       41. The system of claim 32, wherein second driving
         the first used automobile is located at the first loca-
                                                                    directions are provided between the first location and a third
         tion;
      generate, based on the determined first location, an 35 location.
         in-market used automobile buyer area;                         42. The system of claim 32, wherein a plurality of pickup
      determine that at least one used automobile buyer is          locations, each having different driving directions, are pro-
         located within the in-market used automobile buyer         vided.
         area;                                                         43. The system of claim 32, wherein a consumer receives
      receive, via a used automobile buyer interface, a first 40 at least one of an insurance policy and a service contract at
         bid from a first used automobile buyer located at a        no charge.
         second location within the in-market used automo-             44. The system of claim 32, wherein the first used
         bile buyer area;                                           automobile is an off-lease automobile, and the first location
      generate, based on receiving the first bid, driving           is a dealer in possession of the first used automobile.
         directions between the first location and the second 45       45. The system of claim 32, wherein the used automobile
         location; and                                              seller interface is a manufacturer off-lease seller interface.
      provide, via the used automobile seller interface, the           46. The system of claim 45, wherein the manufacturer
         first bid including at least a price for the first used    off-lease seller interface includes a number of matches or
         automobile and the driving directions between the          search hits for the first used automobile.
         first location and the second location.                 50    47. The system of claim 45, wherein a manufacturer user
   33. The system of claim 32, wherein the used automobile          inputs the vehicle identifier into the manufacturer off-lease
seller interface is a manufacturer off-lease seller interface,      seller interface by one of typing, speaking, or providing an
and                                                                 image of the vehicle identifier.
   wherein the at least one processing device further                  48. The system of claim 45, wherein the manufacturer
      executes the instructions to:                              55 off-lease seller interface receives a parameter that the first
   receive, via the manufacturer off-lease seller interface, a      used automobile will be available for pickup only after a
      manufacturer used automobile seller selection of the          certain date.
      first bid, wherein the manufacturer used automobile              49. The system of claim 32, wherein the used automobile
      seller selection indicates a manufacturer used automo-        seller interface and the used automobile buyer interface are
      bile seller intention to sell the first used automobile 60 integrated within at least one of a single website and a single
      based on the first bid to the first used automobile buyer.    application.
   34. The system of claim 32, wherein the first request is            50. The system of claim 32, wherein the at least one
made by the used automobile seller using a mobile device            processing device further executes the instructions to:
which takes a picture of a vehicle identifier, and the vehicle         receive, via the used automobile buyer interface, a second
identifier is recognized using optical character recognition. 65          bid from a second used automobile buyer located at a
   35. The system of claim 32, wherein the first request is               third location within the in-market used automobile
made by the used automobile seller using a mobile device                  buyer area;

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                              29                                                                    30
   generate, based on rece1vmg the second bid, second                  62. The system of claim 32, wherein the used automobile
      driving directions between the first location and the         seller interface and the used automobile buyer interface are
      third location; and                                           provided by at least one webpage.
   provide, via the used automobile seller interface the               63. A non-transitory computer readable medium storing
      second bid including at least a second price for th~ first 5 instructions which, when executed, are configured to cause
      used automobile and the second driving directions             an information processing apparatus to:
      between the first location and the third location.              receive, via a used automobile seller interface, a first
   51. The system of claim 32, wherein the used automobile               request for a response regarding a first used automo-
seller is an original equipment manufacturer.                            bile, the first request made by a used automobile seller
   52. The system of claim 32, wherein the used automobile
                                                                 10      located at a first location and including a vehicle
seller is not an original equipment manufacturer.                        identifier and geolocation information of the first used
   53. The system of claim 32, wherein a third party sells a
                                                                         automobile;
plurality of used automobiles via the used automobile seller          determine, based on the geolocation information, that the
                                                                         first used automobile is located at the first location·
interface.
   54. The system of claim 53, wherein sales by the third
                                                                 15   generate, based on the determined first location an in-
                                                                         market used automobile buyer area;                  '
party are made at negotiated prices.
   55. The system of claim 53, wherein the used automobile
                                                                      determine that at least one used automobile buyer is
seller interface includes lot inventory of the third party.              located within the in-market used automobile buyer
   56. The system of claim 53, wherein the used automobile
                                                                         area;
buyer interface includes lot inventory of the third party.       20   receive, via a used automobile buyer interface, a first bid
   57. The system of claim 32, wherein the used automobile
                                                                         from a first used automobile buyer located at a second
seller is a company that operates at least one leasing activity.         location within the in-market used automobile buyer
   58. The system of claim 32, wherein the used automobile
                                                                         area;
sel)e~ is a company that operates at least one financing              generate, based on receiving the first bid, driving direc-
activity.                                                        25      tions between the first location and the second location·
                                                                         and                                                         '
   59. The system of claim 32, wherein the used automobile
seller is a captive finance company.                                  provide,   via the  used automobile  seller interface  the first
                                                                         bid including at least a price for the first used' automo-
   60. The system of claim 32, wherein an auction bid is
received from a third party.                                             bile  and the driving directions between the first location
   61. The system of claim 32, wherein an auction bid is
                                                                 30      and   the second location.
provided to the used automobile buyer interface.                                             * * * * *




                                                           Appx1130
